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                             EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  HELIOS STREAMING, LLC, and IDEAHUB,
  INC.,

                  Plaintiffs,

                v.                         C. A. No. 1:19-cv-01792-CFC/SRF

  VUDU, LLC                                JURY TRIAL DEMANDED

                  Defendant.


  HELIOS STREAMING, LLC, and IDEAHUB,      C.A. No. 1:19-cv-01978-CFC/SRF
  INC.,
                                           JURY TRIAL DEMANDED
                     Plaintiffs,

                v.



  SHOWTIME DIGITAL INC., and
  SHOWTIME NETWORKS INC.,

                     Defendants.



      LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
  PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING
        OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS
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                                   15599



  SENDER                                       The Honorable Sherry R. Fallon
                                               U.S. District Court for the District of Delaware
                                               J. Caleb Boggs Federal Building
                                               844 N. King Street
                                               Unit 14
                                               Room 6100
                                               Wilmington, DE 19801-3555
                                               United States of America

  CENTRAL AUTHORITY OF                         National Court Administration
  THE REQUESTED STATE                          Attn.: Director of International Affairs
                                               Seocho-daero 219
                                               Seocho-gu
                                               SEOUL 06590
                                               Republic of Korea

  PERSON TO WHOM THE                           This Court; the representatives of the parties as
  EXECUTED REQUEST IS TO BE                    indicated below; the witness from whom evidence is
  RETURNED                                     requested as indicated below; and such person(s) that
                                               you deem proper.

  SPECIFICATION OF THE DATE                    As soon as practicable.
  BY WHICH THE REQUESTING
  AUTHORITY REQUIRES
  RECEIPT OF THE RESPONSE
  TO THE LETTER OF REQUEST

                                               ***

 IN CONFORMANCE WITH ARTICLE 3 OF THE HAGUE CONVENTION ON THE
 TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS (“HAGUE
 CONVENTION”), THE UNDERSIGNED APPLICANT HAS THE HONOUR TO SUBMIT
 THE FOLLOWING REQUEST:

 I.     REQUESTING JUDICIAL AUTHORITY (Article 3, a)

 The Honorable Sherry R. Fallon
 United States District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street
 Unit 14
 Room 6100
 Wilmington, DE 19801-3555
 United States of America




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 II.    TO THE COMPETENT AUTHORITY OF (Article 3, a)

 Republic of Korea

 III.   NAME OF CASE AND ANY IDENTIFYING NUMBER

 Helios Streaming, LLC and Ideahub, Inc. v. Vudu, LLC, C.A. No. 1:19-cv-01792-CFC/SRF,
 United States District Court for the District of Delaware

 Helios Streaming, LLC and Ideahub, Inc. v. Showtime Digital Inc. and Showtime Networks Inc.,
 C.A. No. 1:19-cv-01978-CFC/SRF, United States District Court for the District of Delaware

 IV.    NAMES AND ADDRESSES OF THE PARTIES AND THEIR
        REPRESENTATIVES (Article 3, b)

        A.     Plaintiffs

 Helios Streaming, LLC and Ideahub, Inc, which are represented by:

        Timothy Devlin (#4241)
        Veronica M. Schad (#6734)
        DEVLIN LAW FIRM LLC
        1526 Gilpin Avenue
        Wilmington, DE 19801
        (302) 449-9010
        tdevlin@devlinlawfirm.com
        vschad@devlinlawfirm.com

        B.     Defendants

 Vudu, LLC (“Vudu”), which is represented by:

        Jack B. Blumenfeld (#1014)
        Andrew M. Moshos (#6685)
        MORRIS, NICHOLS, ARSHT & TUNNELL LLP
        1201 North Market Street
        P.O. Box 1347
        Wilmington, DE 19899
        (302) 658-9200
        jblumenfeld@morrisnichols.com
        amoshos@morrisnichols.com

        Steven Lieberman
        Sharon L. Davis
        Brian S. Rosenbloom
        Jennifer B. Maisel
        Nicole DeAbrantes



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                                   15601



         ROTHWELL, FIGG, ERNST & MANBECK, P.C.
         607 14th Street N.W., Suite 800
         Washington, DC 20005
         (202) 783-6040
         slieberman@rothwellfigg.com
         sdavis@rothwellfigg.com
         brosenbloom@rothwellfigg.com
         jmaisel@rothwellfigg.com
         ndeabrantes@rothwellfigg.com

 Showtime Digital Inc. and Showtime Networks Inc. (collectively, “Showtime”), which are
 represented by:

         John W. Shaw (#3362)
         Karen E. Keller (#4489)
         David M. Fry (#5486)
         Nathan R. Hoeschen (#6232)
         SHAW KELLER LLP
         I.M. Pei Building
         1105 North Market Street, 12th Floor
         Wilmington, DE 19801
         (302) 298-0700
         jshaw@shawkeller.com
         kkeller@shawkeller.com
         dfry@shawkeller.com
         nhoeschen@shawkeller.com

         Edward R. Reines
         WEIL, GOTSHAL & MANGES LLP
         201 Redwood Shores Parkway
         Redwood Shores, CA 94065-1175
         (650) 802-3000
         edward.reines@weil.com

         W. Sutton Ansley
         WEIL, GOTSHAL & MANGES LLP
         2001 M Street NW, Suite 600
         Washington, DC 20036
         (202) 682-7018
         sutton.ansley@weil.com

         C.     Other Parties

 None.




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 V.     NATURE OF THE PROCEEDINGS (Article 3, c)

 This is a civil action alleging patent infringement under the patent laws of the United States.

 VI.    SUMMARY OF COMPLAINT

 In the complaints, Plaintiffs allege, inter alia, that Showtime and Vudu (collectively,
 “Defendants”) infringe U.S. Patent Nos. 8,645,562 (“the ’562 Patent”), 8,909,805 (“the ’805
 Patent”), 9,325,558 (“the ’558 Patent”), 9,467,493 (“the ’493 Patent”), 10,027,736 (“the ’736
 Patent”), 10,270,830 (“the ’830 Patent”), 10,277,660 (“the ’660 Patent”), 10,313,414 (“the ’414
 Patent”), 10,356,145 (“the ’145 Patent”), and 10,362,130 (“the ’130 Patent”) (collectively, “the
 Asserted Patents”).1 See Ex. B (Complaint against Vudu), Ex. C (Complaint against Showtime).

 Plaintiffs contend that Vudu directly or indirectly infringes at least one claim from each of the
 Asserted Patents by providing internet video streaming services that comply with the MPEG-
 DASH standard (ISO/IEC 23009-1).

 Plaintiffs contend that Showtime directly or indirectly infringes at least one claim from each of the
 Asserted Patents by providing internet video streaming services that comply with the MPEG-
 DASH standard (ISO/IEC 23009-1).

 Plaintiffs allege that they have suffered monetary damages and demand that Defendants pay “the
 maximum available reasonable royalty damages to compensate for [Defendants’] infringing
 activities.” Ex. B at 147, Ex. C at 34.

 VII.   SUMMARY OF DEFENSE AND COUNTERCLAIM

 Defendants contend, inter alia, that they do not infringe any of the claims of the Asserted Patents.
 Defendants further contend that the Asserted Patents are invalid and unenforceable.

 Defendants further contend that the Asserted Patents are encumbered by a commitment to license
 the Asserted Patents on fair, reasonable, and non-discriminatory (“FRAND”) terms, and that
 Defendants have breached their obligation to license the Asserted Patents on these terms, and/or
 should be estopped from licensing the Asserted Patents on terms that are not FRAND.

 VIII. OTHER NECESSARY INFORMATION OR DOCUMENTS

 To the extent the testimony given by any of the witnesses is deemed confidential in nature, there
 is a protective order in this case to protect the confidentiality of such testimony. The protective
 order is Exhibit D to this Letter of Request.




 1
   Plaintiffs also asserted U.S. Patent No. 10,375,373 against Defendants but dismissed this patent
 from the lawsuit.




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 IX.    EVIDENCE TO BE OBTAINED OR OTHER JUDICIAL ACT TO BE
        PERFORMED (Article 3, d)

 Deposition testimony.

 X.     PURPOSE OF THE EVIDENCE OR JUDICIAL ACT SOUGHT

 The witnesses identified herein are identified as inventors of at least one of the Asserted Patents.
 As named inventors of the Asserted Patents, these witnesses possess critical information regarding
 the research and development of the technology leading to the Asserted Patents, the prosecution
 of those patents before the United States Patent and Trademark Office, the scope of the claimed
 subject matter, the existence and knowledge of the prior art related to the claimed subject matter,
 the development and adoption of the ISO/IEC 23009-1 standard as it relates to the claimed subject
 matter, among other areas. Their testimony will be used to support Defendants’ defenses,
 counterclaims, and damages contentions at the trials in the above-captioned matters. Some of
 these uses are described below.

 In order to present a defense that the Asserted Patents are invalid, and because a patent may be
 held invalid under U.S. law for incorrectly listing the true inventors of a patent, Defendants seek
 information related to the inventive contributions of each individual to the claimed subject matter
 of the Asserted Patents.

 In order to present a defense that the Asserted Patents are invalid over prior art in existence before
 the earliest filing dates of the Asserted Patents, and not an earlier date as permitted under U.S.
 patent law, Defendants seek information related to the dates that the inventors allegedly conceived
 of the claimed subject matter of the Asserted Patents, the dates that said subject matter was reduced
 to practice, and the facts and circumstances as to any reasonably continuous activity from the
 conception date(s) to the reduction to practice the date(s).

 In order to present a defense that the Asserted Patents are invalid over prior art in existence before
 the earliest filing date of U.S. non-provisional applications leading to the Asserted Patents, and not
 before the earliest filing date of provisional applications or Korean applications leading to the
 Asserted Patents, Defendants seek information about the content and scope of provisional and
 Korean applications relative to the Asserted Patents.

 In order to present a defense that the Asserted Patents are invalid because they were invented by
 others, Defendants seek information regarding the facts and circumstances that gave rise to
 conceiving the claimed subject matter of the Asserted Claims.

 In order to present a defense that the Asserted Patents are invalid over the prior art, Defendants
 seek information regarding the existence and scope of prior art.

 In order to present a defense that the Asserted Patents are unenforceable because the applicants for
 the Asserted Patents committed inequitable conduct before the United States Patent and Trademark
 Office, Defendants seek information related to the prior art known to the named inventors,
 prosecuting attorneys, Electronics and Telecommunications Research Institute (“ETRI”), and
 Industry University Cooperation Foundation Korea Aerospace University (“KAU”) when the



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 applications leading to the Asserted Patents were filed.

 In order to present defenses that the Asserted Patents are invalid over the prior art and are not
 infringed, Defendants seek information regarding the technical information on the scope of the
 alleged inventions described in the Asserted Patents.

 In order to support Defendants’ position on the appropriate amount of damages attributable to any
 alleged infringement of the Asserted Patents, Defendants seek monetary and value information
 related to the Asserted Patents, including payments that the witnesses have received in connection
 with their alleged inventions and their knowledge of the value of the technology underlying the
 Asserted Patents and/or ISO/IEC 23009-1.

 In order to present a defense regarding whether the Asserted Patents are standard-essential and
 subject to FRAND terms, Defendants seek information related to the technical aspects of the
 Asserted Patents as they relate to ISO/IEC 23009-1.

 In order to present a defense regarding whether the Asserted Patents are standard-essential and
 subject to FRAND terms, Defendants seek information related to the named inventors’
 involvement and contribution to the development and adoption of ISO/IEC 23009-1.

 To further clarify the evidence sought, attached as Exhibit A is a list of topics about which counsel
 for Defendants intends to inquire of the witnesses to be examined.

 XI.    IDENTITY AND ADDRESS OF ANY PERSON TO BE EXAMINED (Article 3, e)

 Jin Young Lee
 c/o Electronics and Telecommunications Research Institute
 218 Gajeong-ro, Yuseong-gu
 Daejeon, 34129
 Korea
 Tel +82-1466-38

 Seong Jun Bae
 c/o Electronics and Telecommunications Research Institute
 218 Gajeong-ro, Yuseong-gu
 Daejeon, 34129
 Korea
 Tel +82-1466-38

 Jung Won Kang
 c/o Electronics and Telecommunications Research Institute
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 Daejeon, 34129
 Korea
 Tel +82-1466-38

 Soon Heung Jung



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 c/o Electronics and Telecommunications Research Institute
 218 Gajeong-ro, Yuseong-gu
 Daejeon, 34129
 Korea
 Tel +82-1466-38

 Sang Taick Park
 c/o Electronics and Telecommunications Research Institute
 218 Gajeong-ro, Yuseong-gu
 Daejeon, 34129
 Korea
 Tel +82-1466-38

 Jae Gon Kim
 c/o Korea Aerospace University
 76 Hanggongdaehang-ro, Deogyang-gu
 Goyang-si, Gyeonggi-do, 412-791
 Korea
 Tel +82-2-300-0114

 XII.   QUESTIONS TO BE PUT TO THE PERSONS TO BE EXAMINED OR
        STATEMENT OF THE SUBJECT MATTER ABOUT WHICH THEY ARE TO
        BE EXAMINED (Article 3, f)

 See Exhibit A.

 XIII. ANY REQUIREMENT THAT THE EVIDENCE BE GIVEN ON OATH OR
       AFFIRMATION AND ANY SPECIAL FORM TO BE USED (Article 3, h)

 This Court respectfully requests that the testimony be taken under oath.

 XIV. SPECIAL METHODS OR PROCEDURES TO BE FOLLOWED (Article 3, i) and
      9)

 This Court respectfully requests that the witnesses be directed to appear for deposition as soon as
 practicable.

 This Court respectfully requests that the witnesses be directed to answer such questions as
 Defendants and their counsel desire, relating to matters outlined in Exhibit A.

 This Court respectfully requests that the examination be conducted in accordance with the United
 States Federal Rules of Evidence, and the Federal Rules of Civil Procedure.

 This Court respectfully requests that the testimony be recorded by stenographer and videographer.

 In view of the travel and person-to-person contact restrictions either mandated or advised during
 the ongoing COVID-19 pandemic, this Court respectfully requests that the witnesses appear via



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  Zoom or another suitable online video-communication platform.

  This Court respectfully requests that the testimony be taken in the English language if the
  examined person(s) agree, and that, if need be, simultaneous translation be provided.

  Costs incurred for complying with the Federal Rules of Evidence (court reporter, video recorder,
  simultaneous translation) shall be at Defendants’ expense in accordance with the provisions of the
  Hague Convention.

  XV.    REQUEST FOR NOTIFICATION OF THE TIME AND PLACE FOR THE
         EXECUTION OF THE REQUEST AND IDENTITY AND ADDRESS OF ANY
         PERSON TO BE NOTIFIED (Article 7)

  This Court respectfully requests that you notify this Court; the representatives of the parties as
  indicated above; the witness from whom evidence is requested as indicated above; and such
  person(s) that you deem proper.

  XVI. REQUEST FOR ATTENDANCE OR PARTICIPATION OF JUDICIAL
       PERSONNEL OF THE REQUESTING AUTHORITY AT THE EXECUTION OF
       THE LETTER OF REQUEST (Article 8)

  No judicial personnel of the requesting authority will attend or participate.

  XVII. SPECIFICATION OF PRIVILEGE OR DUTY TO REFUSE TO GIVE
        EVIDENCE UNDER THE LAW OF THE STATE OF ORIGIN (Article 11, b)

  Defendants believe that the witnesses do not benefit from any privilege, and do not endorse the
  assertion of any such privilege or duty.

  XVIII. THE FEES AND COSTS INCURRED WHICH ARE REIMBURSABLE UNDER
         THE SECOND PARAGRAPH OF ARTICLE 14 OR UNDER ARTICLE 26 OF
         THE CONVENTION WILL BE BORNE BY

  Defendants will bear the reimbursable costs associated with this request in accordance with the
  provisions of the Hague Convention.



  So ORDERED and SIGNED this ______ day of _________________, 2021.




                                                        The Honorable Sherry R. Fallon
                                                        United States District Magistrate Judge




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                             EXHIBIT A
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                                                 Exhibit A

         Defendants respectfully request to ask specific questions on the topics identified below of

  Jin Young Lee, Seong Jun Bae, Jung Won Kang, Soon Heung Jung, Sang Taick Park, and Jae Gon

  Kim along with any follow up questions that may arise from the answers given.

                                             DEFINITIONS

         1. “Named Inventors” means Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung

  Won Kang, Soon Heung Jung, Sang Taick Park, Won Ryu, Jae Gon Kim, and Nam Ho Hur.

         2. “MPEG” means the Moving Pictures Expert Group, a working group of the

  International Organization for Standardization (ISO) and the International Electrotechnical

  Commission (IEC), including, without limitation, all organizational partners and members.

         3. “ISO/IEC 23009-1” shall mean, individually and collectively, ISO/IEC 23009-1:2014,

  ISO/IEC 23009-1:2014/Amd 1:2015, ISO/IEC 23009-1:2014/Cor 1:2015, ISO/IEC 23009-

  1:2014/Amd 2:2015, ISO/IEC 23009-1:2014/Cor 2:2015, ISO/IEC 23009-1:2014/Amd 3:2016,

  and ISO/IEC 23009-1:2019, including any amendments or corrections thereto.

         4. “3GPP” means the 3rd Generation Partnership Project, including, without limitation,

  all organizational partners, including telecommunications standard development organizations,

  and members.

         5.   “Asserted Patents” means individually or collectively U.S. Patent Nos. 10,027,736;

  10,270,830; 10,277,660; 10,313,414; 10,356,145; 10,362,130; 8,645,562; 8,909,805; 9,325,558;

  and 9,467,493.

         6. “Asserted Claims” means individually or collectively:

   Claims                                                               Patent
   1, 3, 5, 6, 8, 11, 12, 13, 15, 18, 19, and 21                        U.S. Patent No. 10,270,830
   1, 2, 3, 4, 8, 10, 11, 12, 13, 14, 18, 20, and 21                    U.S. Patent No. 10,277,660
   1, 2, 4, 5, 6, 7, 8, 9, 10, 11, 12, 14, 15, 16, 17, 18, 19, and 20   U.S. Patent No. 10,313,414


                                                      1
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   1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, and 17        U.S. Patent No. 10,356,145
   1, 2, 4, and 5                                                       U.S. Patent No. 10,362,130
   1, 2, 4, 5, 7, and 8                                                 U.S. Patent No. 8,645,562
   Claims 1, 2, 3, and 4                                                U.S. Patent No. 8,909,805
   1, 2, 3, 4, and 5                                                    U.S. Patent No. 9,325,558
   1, 2 and 4                                                           U.S. Patent No. 9,467,493
   1, 4, 5, 6, 7, 8, 9, 12, 13, 14, 15, and 16                          U.S. Patent No. 10,027,736


         7.       The words “and” and “or” shall be read in the conjunctive and in the disjunctive

  wherever they appear, and neither of these words shall be interpreted to limit the scope of a request

  for information.

         8.       The use of a verb in any tense shall be construed as the use of a verb in all other

  tenses, and the singular form shall be deemed to include the plural and vice versa. The singular

  and masculine form of a noun or pronoun shall embrace, and shall be read and applied as, the

  plural and/or the feminine or neutral, as the particular context makes appropriate.

         9.       Unless the context requires otherwise, the terms “any” and “each” include and

  encompass “all.”

         10.      “Include” or “including” mean including without limitation.

         11.      “Person” means any natural person or legal entity, including individuals,

  corporations, businesses, firms, joint ventures, partnerships, sole proprietorships, governments,

  agencies or instrumentalities of governments, unincorporated associations, and cooperatives.

                                                  TOPICS

  TOPIC NO. 1

         Your contribution to the conception and development of each alleged invention of the

  Asserted Claims.




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  TOPIC NO. 2

         The identity of the person or persons who conceived of each alleged invention of the

  Asserted Claims.

  TOPIC NO. 3

         The date(s) on which each alleged invention of the Asserted Claims was conceived.

  TOPIC NO. 4

         The facts and circumstances that gave rise to the conception of each alleged invention of

  the Asserted Claims.

  TOPIC NO. 5

         The date(s) on which each alleged invention of the Asserted Claims was reduced to

  practice.

  TOPIC NO. 6

         The facts and circumstances as to any reasonably continuous activity from the date(s) on

  which each alleged invention of the Asserted Claims was conceived to the date(s) on which each

  alleged invention of the Asserted Claims was reduced to practice.

  TOPIC NO. 7

         Your knowledge of any public use or disclosure of each alleged invention of the Asserted

  Claims before the application(s) that eventually issued as the Asserted Patents were filed, including

  your knowledge of any prior art, including but not limited to:

              1. 3rd Generation Partnership Project; Technical Specification Group Services and

                 System Aspects; Transparent end-to-end Packet-switched Streaming Services

                 (PSS); Protocols and codecs, 3GPP Technical Specification 26.234 V9.2.0 (Mar.

                 2010).

              2. Ericsson, “Media Presentation Description in HTTP Streaming,” 3GPPSA4

                 Meeting #57, TDoc S4-100080 (25-29 Jan 2010, St. Julian, Malta).

              3. Information Technology – MPEG systems technologies – Part 6: Dynamic adaptive

                 streaming over HTTP (DASH), ISO/IEC JTC 1/SC29 (January 28, 2011) (FCD



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              23001-6)

           4. Information technology — Dynamic adaptive streaming over HTTP (DASH) —

              Part 1: Media presentation description and segment formats, Draft International

              Standard, ISO/IEC DIS 23009-1 (Aug. 30, 2011)

           5. Information technology — Dynamic adaptive streaming over HTTP (DASH) —

              Part 1: Media presentation description and segment formats, International Standard,

              ISO/IEC 23009-1:2012(E) (Apr. 1, 2012)

           6. Mazhar, Compliance Procedures for Dynamic Adaptive Streaming over HTTP

              (DASH), Master’s Degree Project, KTH Royal Institute of Technology (July 30,

              2011)

           7. MPEG DASH Subgroup, Short Tutorial on MPEG-DASH, Dynamic Adaptive

              Streaming Over Internet, ISO/IEC 23009-1 (Nov. 2011).

           8. Qualcomm, “Use cases for Rel-10 Adaptive HTTP Streaming,” 3GPP TSG-

              SA4#60, TDoc S4-100580 (1-20 Aug. 2010, Erlangen, Germany)

           9. Qualcomm Incorporated et al., Change Request, “Updates to Adaptive HTTP

              Streaming,” 3GPP TSG-SA4 Meeting #57, TDoc S4-100185 (St. Julian, Malta, Jan.

              2010)

           10. R. Pantos, Ed., “HTTP Live Streaming,” Apple Inc. (May 1, 2009 Draft)

           11. Stockhammer, “3GPP Dynamic Adaptive Streaming over HTTP – Standard and

              Design Principles”, Published in MMSys ’11 proceeding of second annual ACM

              conference on Multimedia Systems, ACM New York NY, USA 2011, Pages 133-

              144

           12. Stockhammer, MPEG's Dynamic Adaptive Streaming over HTTP (DASH) –

              Enabling Formats for Video Streaming over the Open Internet, Qualcomm

              Incorporated, Webinar at EBU (Nov. 22, 2011)

           13. “Synchronized Multimedia Integration Language (SMIL) 1.0 Specification,” W3C

              Recommendation (June 15, 1998).



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             14. Universal Mobile Telecommunications System (UMTS); LTE; Transparent end-to-

                 end Packet-switched Streaming Service (PSS); Protocols and codecs (3GPP TS

                 26.234 version 9.3.0 Release 9), ETSI Technical Specification 126 234 V9.3.0 (Jun.

                 2010)

             15. U.S. Patent Publication No. 2012/0233345 (Hannuksela)

             16. U.S. Patent Publication No. 2012/0290644 (Gabin)

             17. U.S. Patent No. 7,895,525 (Rees)

             18. U.S. Patent No. 10,007,668 (Courtemanche)

             19. U.S. Patent Publication No. 2012/0042050 (Chen 050)

             20. U.S. Patent Publication No. 2012/0016965 (Chen 965)

             21. U.S. Patent Publication No. 2011/0099594 (Chen 594)

  TOPIC NO. 8

         Payments you received in connection with the alleged inventions of the Asserted Patents,

  including payments resulting from filing and/or obtaining patents on the alleged inventions,

  payments resulting from licenses for the use of the alleged inventions, and payments resulting from

  any commercialization or other use of the alleged inventions.

  TOPIC NO. 9

         Any payments you may receive as a result of Helios’s and Ideahub’s assertion of the

  Asserted Patents.

  TOPIC NO. 10

         The Named Inventors’ role in the development and adoption of the ISO/IEC 23009-1

  standard, including attendance and/or participation in any of the MPEG meetings related to the

  development of ISO/IEC 23009-1 standard.

  TOPIC NO. 11

         The Named Inventors’ role in the development and adoption of 3GPP Technical

  Specification 26.234 and/or 3GP-DASH, including attendance and/or participation in any of the

  3GPP meetings related to the development of 3GPP Technical Specification 26.234.



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  TOPIC NO. 12

          The content of the provisional and Korean applications to which the Asserted Patents claim

  priority.

  TOPIC NO. 13

          The identity, location, and description of any documents supporting your testimony to any

  of the foregoing topics.




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                             EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


  HELIOS STREAMING, LLC, and
  IDEAHUB, INC.,
                                                       Civil Action No. 1:19-cv-01792-
                        Plaintiffs,                    CFC/SRF
         v.

  VUDU, INC.,                                          JURY TRIAL DEMANDED

                        Defendant.


              FIRST AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiffs Helios Streaming, LLC (“Helios”), and Ideahub, Inc. (“Ideahub”), (collectively

  “Plaintiffs”), for its First Amended Complaint (“Amended Complaint”) against Defendant Vudu,

  Inc. (referred to herein as “Vudu” or “Defendant”), alleges the following:

                                      NATURE OF THE ACTION

         1.      This is an action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

         2.      Plaintiff Helios is a limited liability company organized under the laws of the

  State of Delaware with a place of business at 9880 Irvine Center Drive, Suite 200, Irvine,

  California 92618.

         3.      Plaintiff Ideahub is a corporation organized under the laws of the Republic of

  Korea with a place of business at 7 Heolleungro, Seocho-gu, Seoul 06792 Republic of Korea.

         4.      Upon information and belief, Vudu is a corporation organized under the laws of

  the State of Delaware with a place of business at 600 W. California Ave., Sunnyvale, California

  94086. Upon information and belief, Vudu sells, offers to sell, and/or uses products and services


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  throughout the United States, including in this judicial district, and introduces infringing

  products and services into the stream of commerce knowing that they would be sold and/or used

  in this judicial district and elsewhere in the United States.

                                   JURISDICTION AND VENUE

         5.      This is an action for patent infringement arising under the Patent Laws of the

  United States, Title 35 of the United States Code.

         6.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

         7.      Venue is proper in this judicial district under 28 U.S.C. § 1400(b).

         8.      This Court has personal jurisdiction over Vudu under the laws of the State of

  Delaware, due at least to their substantial business in Delaware and in this judicial district,

  directly or through intermediaries, including: (i) at least a portion of the infringements alleged

  herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses of

  conduct and/or deriving substantial revenue from goods and services provided to individuals in

  the State of Delaware. Further, this Court has personal jurisdiction and proper authority to

  exercise venue over Vudu because it is incorporated in Delaware and by doing so has purposely

  availed itself of the privileges and benefits of the laws of the State of Delaware.

                                            BACKGROUND

         9.      This action involves eleven patents, described in detail in the counts below

  (collectively, the “Asserted Patents”).

         10.     U.S. Patent No. 10,027,736 (“the ’736 patent”) claims technologies for providing

  streaming Hypertext Transfer Protocol (“HTTP”) media content using adaptive streaming

  methods that were developed in the early 2010s by inventors Truong Cong Thang, Jin Young

  Lee, Seong Jun Bae, Jung Won Kang, Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae

  Gon Kim.


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         11.    U.S. Patent No. 10,270,830 (“the ’830 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang and Jin Young Lee.

         12.    U.S. Patent No. 10,277,660 (“the ’660 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         13.    U.S. Patent No. 10,313,414 (“the ’414 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang and Jin Young Lee.

         14.    U.S. Patent No. 10,356,145 (“the ’145 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, and Won Ryu.

         15.    U.S. Patent No. 10,362,130 (“the ’130 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         16.    U.S. Patent No. 10,375,373 (“the ’373 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Jin Young Lee and Nam Ho Hur.

         17.    U.S. Patent No. 8,645,562 (“the ’562 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the




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  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         18.     U.S. Patent No. 8,909,805 (“the ’805 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         19.     U.S. Patent No. 9,325,558 (“the ’558 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         20.     U.S. Patent No. 9,467,493 (“the ’493 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         21.     Most inventors on the Asserted Patents were researchers of the Electronics and

  Telecommunications Research Institute (“ETRI”), the national leader in Korea in the research

  and development of information technologies. Since its inception in 1976, ETRI has developed

  new technologies in 4M DRAM computer memory, CDMA and 4G LTE cellular phone

  communications, LCD displays, Video Coding, and Media Transport & Delivery, the technology

  at issue in this case. ETRI employs over 1,800 research/technical staff, of whom 94% hold a

  post-graduate degree and 50% have earned a doctoral degree in their technological field. Over

  the last five years, ETRI produced 1,524 SCI papers and has 467 standard experts, applied for a

  total of 16,062 patents, has contributed 7,309 proposals that have been adopted by international




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  and domestic standard organizations (ISO, IEC, ITU, 3GPP, JTC, IEEE etc.). Dr. Truong Cong

  Thang and Dr. Jae Gon Kim among the inventors were employees of ETRI and currently

  Professors in the University of Aizu, Japan, and Korea Aerospace University, respectively.

         22.     The Asserted Patents claim technologies fundamental to Dynamic Adaptive

  Streaming over HTTP (“DASH”), a media-streaming model for delivering media content.

         23.     DASH technology has been standardized in the ISO/IEC 23009 standards, which

  were developed and published by the International Organization for Standardization (“ISO”) and

  the International Electrotechnical Commission (“IEC”).

         24.     The claimed inventions of the Asserted Patents have been incorporated into the

  standard for dynamic adaptive streaming delivery of MPEG media over HTTP, ISO/IEC 23009-

  1:2014, and subsequent versions of this standard (collectively, these standards are referred to

  throughout as “MPEG-DASH”). The patents are thus standard essential.

         25.     MPEG-DASH technologies, including those of the claimed inventions of the

  Asserted Patents, facilitate high-quality streaming of media content by breaking media content—

  a movie, for example—into smaller parts that are each made available at a variety of bitrates. As

  a user plays back downloaded parts of the media content, the user’s device employs an algorithm

  to select subsequent media parts with the highest possible bitrate that can be downloaded in time

  for playback without causing delays in the user’s viewing and listening experience.

         26.     The MPEG-DASH standard, including the claimed inventions of the Asserted

  Patents, therefore enables high-quality streaming of media content over the internet delivered

  from conventional HTTP web servers, which was not previously possible on a large scale with

  prior art techniques and devices.




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            27.   Between approximately June and August of 2018, Plaintiff Ideahub acquired the

  Asserted Patents.

            28.   In or about August of 2018, Plaintiff Helios obtained an exclusive license to the

  Asserted Patents.

            29.   On September 24, 2019, Plaintiffs filed a complaint for patent infringement

  (“Original Complaint”).

                  COUNT I – INFRINGEMENT OF U.S. PATENT NO. 10,027,736

            30.   The allegations set forth in the foregoing paragraphs 1 through 29 are

  incorporated into this First Claim for Relief.

            31.   On July 17, 2018, the ’736 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Content.” A true and correct copy of the ’736 patent is attached as Exhibit 1. 1

            32.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’736

  patent.

            33.   Helios holds the exclusive right to assert all causes of action arising under the

  ’736 patent and the right to collect any remedies for infringement of it.

            34.   Upon information and belief, Vudu has and continues to directly infringe at least

  claims 9, 12, 13, 14, 15, and 16, and to induce the direct infringement of at least claims 1, 4, 5, 6,

  7, and 8 of the ’736 patent by selling, offering to sell, making, using, and/or providing and

  causing to be used streaming media content in accordance with the MPEG-DASH standard (the

  “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as those




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   All exhibit numbers in this First Amended Complaint refer to the exhibits filed with the
  Original Complaint.


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  available at https://www.vudu.com/content/movies/home, as set forth in detail in the preliminary

  and exemplary claim chart attached as Exhibit 2.

         35.    Upon information and belief, the Accused Instrumentalities perform methods for

  providing media content by a server performed by a processor, the method comprising: receiving

  a request for a segment of the media content using a URL of the segment from a terminal, the

  URL being generated based on the selected BaseURL element; providing the segment to the

  terminal, wherein the terminal selects a BaseURL element from the multiple BaseURL elements

  based on the metadata of the media content, wherein the metadata is Media Presentation

  Description (MPD), wherein the MPD describes one or more periods, wherein the period

  includes one or more groups, wherein the group includes one or more representation, wherein the

  representation includes one or more segments of the media content, wherein the receiver receives

  identical segments that are accessible at multiple locations indicated by URLs resolved with

  respect to the respective BaseURL elements, and a first BaseURL element among BaseURL

  elements is used as a base Universal Resource Indicator (URI).

         36.    Upon information and belief, the Accused Instrumentalities perform methods for

  receiving media content in a terminal performed by a processor, the method comprising:

  receiving metadata of media content, the metadata comprising an attribute with multiple

  BaseURL elements, selecting a BaseURL element from the multiple BaseURL elements; sending

  a request for a segment of the media content using a URL of the segment to a server, the URL

  being generated based on the selected BaseURL element; receiving the segment from the server,

  wherein the metadata is Media Presentation Description (MPD), wherein the MPD describes one

  or more periods, wherein the period includes one or more groups, wherein the group includes

  one or more representation, wherein the representation includes one or more segments of the




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  media content, wherein the receiver receives identical segments that are accessible at multiple

  locations indicated by URLs resolved with respect to the respective BaseURL elements, and a

  first BaseURL element among the BaseURL elements is used as a base Universal Resource

  Indicator (URI).

          37.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 4, 5, 6, 7, 8, 9, 12, 13, 14, 15, and 16

  of the ’736 patent during the pendency of the ’736 patent.

          38.     Since at least approximately August 23, 2018, Vudu has had actual notice that it is

  directly infringing and/or inducing others to infringe the ’736 patent.

          39.     On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.

          40.     On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

          41.     The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed




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  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

          42.     The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, including the ’736 patent, and as the MPEG-DASH

  standard utilized by Vudu in its streaming VOD offerings.

          43.     The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

          44.     Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents were essential to Vudu’s use of this technology.

          45.     Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “DASH Patent

  Portfolio,” a table titled “U.S. DASH Patents,” which explicitly identified the ’736 patent by

  patent number, among 11 other U.S. patents. Five of the twelve “U.S. DASH Patents” identified

  in this table are asserted in this action.

          46.     In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to




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  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         47.     It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         48.     Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the ’736 patent, had knowledge that

  Helios was alleging that the ’736 patent was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the ’736 patent was standard-essential to MPEG-DASH, there was a

  high likelihood that Vudu’s providing and encouraging its customers to stream DASH-enabled

  VOD, including VOD offered through Vudu’s website and apps, infringed and induced the

  infringement of the ’736 patent.

         49.     Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents, which

  Helios would share with Vudu if Vudu entered into an NDA.

         50.     Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio, including the ’736 patent, on allegedly “fair and

  reasonable terms,” consistent with the licensing of standard-essential patents.




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            51.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

            52.   Helios received no reply to its September 11, 2018 email.

            53.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

            54.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

            55.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

            56.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patents identified in the Notice Letter (including the ’736

  patent) and whether Vudu’s provision of DASH-enabled streaming VOD via its website and

  apps infringed and induced the infringement of those MPEG-DASH patents, including the ’736

  patent.




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         57.     Based on the above facts, to the extent it is not reasonable to draw the inferences

  set forth in paragraphs 43-44 and 47-50 of this First Amended Complaint as of approximately

  August 23, 2018, it is reasonable to draw the inferences set forth in paragraphs 43-44 and 47-50

  of this First Amended Complaint as of at least October 12, 2018.

         58.     Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the ’736 patent.

         59.     On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         60.     Helios received no reply to its October 15, 2018 email.

         61.     On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         62.     Helios received no reply to its October 31, 2018 email.

         63.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew Helios had further details regarding Vudu’s infringement of the ’736 patent,

  which Helios would share with Vudu if Vudu entered into an NDA.

         64.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu directly infringed and induced the infringement of the ’736 patent. It is also

  reasonable to infer that, by not responding to Vudu’s October 31, 2018 communication and by




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  refusing to enter into an NDA with Helios, Vudu was actively avoiding learning additional

  information about its infringement.

         65.     On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the ’736 patent, pertained.

  Helios also informed Vudu that Helios “confirmed that Vudu utilizes the DASH standard.” In

  support of this point, Helios attached screenshots to the February 19, 2019 email that

  demonstrated with pictorial evidence Vudu’s use of MPEG-DASH in its streaming VOD.

         66.     In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         67.     Based on the above facts, it is reasonable to infer that, as of February 19, 2019,

  Vudu had either been investigating Helios’s MPEG-DASH patents for over four months or had

  affirmatively misled Helios about its investigation of Helios’s MPEG-DASH patents to avoid

  learning the details of how Vudu’s DASH-enabled VOD infringed Helios’s MPEG-DASH

  patents, including the ’736 patent.

         68.     Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents in its MPEG-DASH patent portfolio (including the ’736 patent) were

  standard-essential to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of

  Helios’s February 19, 2019 email.




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         69.     Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew that if the ’736 patent

  was standard-essential to MPEG-DASH there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’736 patent.

         70.     On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and confirmed that Vudu had investigated patents identified in the Notice

  Letter. Vudu also alleged that Helios’s identified patents “appear to be assigned to entities other

  than Helios” and that “it is not clear to us that Helios Streaming has any standing to engage in

  these discussions.” Vudu also explicitly stated that “Vudu is not interested in receiving any

  confidential information, and anything you choose to send would be considered

  nonconfidential.”

         71.     Helios responded the next day, on February 28, 2019, stating that “Helios

  Streaming was granted an exclusive license from the current assignee, Ideahub, with rights to

  sublicense the DASH patents.” To support these statements, Helios attached screenshots from

  the publicly available U.S. Patent and Trademark Office website to its email response, and these

  screenshots showed that all 12 MPEG-DASH patents identified in the Notice Letter, including

  the ’736 patent, were assigned to Ideahub and were exclusively licensed to Helios Streaming.

         72.     Helios also reiterated in its February 28, 2019 email that it required an NDA to

  enter into substantive licensing discussions with Vudu in order to “provide [Vudu] with claim

  charts, licensing terms, and so forth. . . . Without the NDA, we cannot have any meaningful or

  substantive discussions to determine whether a license is appropriate, thereby foreclosing the




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  possibility to resolve this matter amicably.” Helios offered times it was available to discuss

  these issues on the phone with Vudu.

         73.     Helios received no response to its February 28, 2019 communication.

         74.     Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’736 patent. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patents (including the ’736 patent) were standard-essential to MPEG-

  DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided

  evidence of this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to

  provide confidential claim charts demonstrating how Vudu was directly infringing and inducing

  the direct infringement of Helios’s MPEG-DASH patents (including the ’736 patent) and how

  Helios’s patents were standard essential to MPEG-DASH.

         75.     Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents, including the ’736 patent.

         76.     On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         77.     Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.




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         78.     On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         79.     Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 4, 5, 6, 7, and 8 of the ’736 patent under 35 U.S.C. § 271(b) by, among

  other things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 4, 5, 6, 7, and 8 of the ’736

  patent. Vudu has induced and continues to induce others to infringe at least claims 1, 4, 5, 6, 7,

  and 8 of the ’736 patent since at least receiving the Notice Letter on or about August 23, 2018;

  or, if not then, since confirming its receipt of the Notice letter and confirming it was

  investigating Helios’s MPEG-DASH patents on or about October 12, 2018; or, if not then, since

  on or about February 19, 2019, when Helios emailed screenshots showing that Vudu’s streaming

  VOD utilized MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-

  essential to MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter

  and Exhibit 2 thereto, which, in combination with Vudu’s extensive knowledge of and

  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’736 patent.

         80.     In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,




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  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         81.     For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’736 patent by the customers. (Ex. 2 at 2, 16-17.) The claimed

  methods of claims 1, 4, 5, 6, 7, and 8 of the ’736 patent are necessarily performed by the

  customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2,

  16-17), and this constitutes direct infringement as set forth in Exhibit 2.

         82.     As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’736 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)




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         83.     On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of the ’736 patent and that its acts were

  inducing infringement of the ’736 patent since at least the time of receiving the Notice Letter on

  or about August 23, 2018; or, if not then, since confirming its receipt of the Notice letter and

  confirming it was investigating Helios’s MPEG-DASH patents on or about October 12, 2018; or,

  if not then, since on or about February 19, 2019, when Helios emailed screenshots showing that

  Vudu’s streaming VOD utilized MPEG-DASH and Helios reiterated that its MPEG-DASH

  patents were standard-essential to MPEG-DASH; or, if not then, since receiving the Original

  Complaint in this matter and Exhibit 2 thereto, which, in combination with Vudu’s extensive

  knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it was

  encouraging its partners, customers, and users to stream its DASH-enabled VOD and the parties’

  pre-suit communications regarding the patents and Vudu’s website and apps, detailed how Vudu

  directly infringed and induced the direct infringement of the asserted claims of the ’736 patent.

         84.     Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’736 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’736 patent.

         85.     Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’736 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the ’736 patent as a “U.S. DASH Patent” within its “DASH Patent




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  Portfolio” and clearly and consistently identified MPEG-DASH as the standard to which its

  MPEG-DASH patents (including the ’736 patent) pertained since at least approximately August

  23, 2018. Helios explicitly stated that its MPEG-DASH patents were essential to MPEG-DASH

  and provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         86.     Despite the facts set forth in paragraph 85 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’736 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents, but this was

  a deliberate attempt to mislead Helios. When confronted with additional information and

  evidence that its DASH-enabled streaming VOD was infringing Helios’s MPEG-DASH patents,

  and presented with the opportunity to review more detailed confidential information regarding

  Vudu’s infringement, Vudu stated that “Vudu is not interested in receiving any confidential

  information” and then cut off all further communication to avoid learning of its infringement.

         87.     On information and belief, based on the facts and inferences set forth in

  paragraphs 30-86 above, Vudu’s infringement has been and continues to be willful.

         88.     Plaintiffs have been harmed by Vudu’s infringing activities.

               COUNT II – INFRINGEMENT OF U.S. PATENT NO. 10,270,830

         89.     The allegations set forth in the foregoing paragraphs 1 through 88 are

  incorporated into this Second Claim for Relief.

         90.     On April 23, 2019, the ’830 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing




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  Streaming Content Using Representations.” A true and correct copy of the ’830 patent is

  attached as Exhibit 3.

            91.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’830

  patent.

            92.   Helios holds the exclusive right to assert all causes of action arising under the

  ’830 patent and the right to collect any remedies for infringement of it.

            93.   Upon information and belief, Vudu has and continues to directly infringe at least

  claims 8, 12, and 13, and to induce the direct infringement of at least claims 1, 5, 6, 15, and 18 of

  the ’830 patent by selling, offering to sell, making, using, and/or providing and causing to be

  used streaming media content in accordance with the MPEG-DASH standard (the “Accused

  Instrumentalities”), including one or more videos on demand (“VOD”) such as those available at

  https://www.vudu.com/content/movies/home, as set forth in detail in the preliminary and

  exemplary claim chart attached as Exhibit 4.

            94.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: transmitting a

  Media Presentation Description (MPD) of a media content to a client; receiving a request, from

  the client, for a segment of the media content; transmitting the media content to the client,

  wherein the MPD includes one or more periods, wherein each of the periods includes one or

  more adaptation sets, wherein each of the adaptation sets includes one or more representations,

  wherein each of the representations includes one or more segments, wherein the MPD includes

  one or more attributes or elements that are common to each of the periods, each of the adaptation

  sets, each of the representations, and each of the segments, wherein the period includes one or

  more attributes or elements that are common to each of the adaptation sets, each of the




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  representations, and each of the segments for that period, wherein the adaptation set includes one

  or more attributes or elements that are common to each of the representations and each of the

  segments for that adaptation set, and wherein the representation includes one or more attributes

  or elements that are common to each of the segments for that representation.

         95.     Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a DASH (Dynamic Adaptive Streaming over HTTP)

  client, the method comprising: receiving a Media Presentation Description (MPD) of a media

  content; and accessing segments of the media content based on information provided by the

  MPD, wherein the MPD includes one or more periods, wherein each of the periods includes one

  or more adaptation sets, wherein each of the adaptation sets includes one or more

  representations, wherein each of the representations includes one or more segments, wherein the

  MPD includes one or more attributes or elements that are common to each of the periods, each of

  the adaptation sets, each of the representations, and each of the segments, wherein the period

  includes one or more attributes or elements that are common to each of the adaptation sets, each

  of the representations, and each of the segments for that period, wherein the adaptation set

  includes one or more attributes or elements that are common to each of the representations and

  each of the segments for that adaptation set, and wherein the representation includes one or more

  attributes or elements that are common to each of the segments for that representation.

         96.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 5, 6, 8, 12, 13, 15, and 18 of the ’830

  patent during the pendency of the ’830 patent.

         97.     Since at least the time of receiving the Original Complaint, Vudu has had actual

  notice that it is directly infringing and/or inducing others to infringe the ’830 patent.




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         98.     On or about August 23, 2018, Helios sent Vudu a notice letter addressed to Ms.

  Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and belief, as of

  approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms. Chung had

  authority to discuss Helios’s proposal on Vudu’s behalf.

         99.     On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         100.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         101.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

         102.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,




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  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

          103.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

          104.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 15/834,702 that issued through a continuation as the ’830 patent,

  among eight other U.S. patent applications. Five of the eight “U.S. DASH Pending Patent

  Applications” identified in this table issued, directly or through continuation applications, as

  patents asserted in this action.

          105.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

          106.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting




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  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         107.      Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that issued

  through a continuation as the ’830 patent, Vudu had knowledge that Helios was alleging that the

  application that issued through a continuation as the ’830 patent claimed technology that was

  standard-essential for MPEG-DASH, and that Vudu subjectively knew that if the application that

  issued through a continuation as the ’830 patent claimed technology that was standard-essential

  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and

  apps, would infringe and induce the infringement of the claims of the ’830 patent once those

  claims issued.

         108.      Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

         109.      Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

         110.      On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.




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          111.   Helios received no reply to its September 11, 2018 email.

          112.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          113.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          114.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

          115.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued through a continuation as the ’830 patent) and whether Vudu’s

  provision of DASH-enabled streaming VOD via its website and apps would infringe and induce

  the infringement of the claims of those MPEG-DASH patent applications once they issued.

          116.   Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding




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  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued through a continuation as the ’830 patent.

         117.     On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         118.     Helios received no reply to its October 15, 2018 email.

         119.     On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         120.     Helios received no reply to its October 31, 2018 email.

         121.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued through a continuation as the ’830 patent, including claim

  charts, which Helios would share with Vudu if Vudu entered into an NDA.

         122.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe and induce the infringement of the claims of the

  patent application that issued through a continuation as the ’830 patent. It is also reasonable to

  infer that, by not responding to Vudu’s October 31, 2018 communication and by refusing to

  enter into an NDA with Helios, Vudu was actively avoiding learning about its likely

  infringement.




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         123.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued through a continuation as the ’830 patent, pertained. Helios also informed Vudu that

  Helios “confirmed that Vudu utilizes the DASH standard.” In support of this point, Helios

  attached screenshots to the February 19, 2019 email that demonstrated with pictorial evidence

  Vudu’s use of MPEG-DASH in its streaming VOD.

         124.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         125.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.

         126.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued through a continuation as the ’830 patent claimed technology that was standard-essential

  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and




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  apps, would infringe and induce the infringement of the claims of the ’830 patent once those

  claims issued.

         127.      On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         128.      Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby

  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         129.      Helios received no response to its February 28, 2019 communication.

         130.      Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the

  application that issued through a continuation as the ’830 patent once those claims issued. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patent applications were standard-essential to MPEG-DASH, (2)

  Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided evidence of

  this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to provide

  confidential claim charts demonstrating how Vudu would directly infringe and induce the direct

  infringement of Helios’s MPEG-DASH patent applications (including the application that issued




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  through a continuation as the ’830 patent) and how Helios’s patents and patent applications were

  standard essential to MPEG-DASH.

            131.   Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued through a continuation as the ’830 patent.

            132.   On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

            133.   Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

            134.   On April 23, 2019, the ’830 patent issued.

            135.   At least as of April 23, 2019, Vudu should have had knowledge of the ’830 patent

  and knowledge of how Vudu was infringing and inducing infringement of the ’830 patent. Since

  at least approximately August 23, 2018, however, Vudu consistently and deliberately acted to

  avoid learning of its likely infringement and induced infringement of the claims in the

  application that issued through a continuation as the ’830 patent, despite Vudu’s subjective belief

  that there was a high probability that its providing and causing to be used DASH-enabled

  streaming VOD would infringe and induce the infringement of the claims that issued in the ’830

  patent.




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         136.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         137.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 5, 6, 15, and 18 of the ’830 patent under 35 U.S.C. § 271(b) by, among

  other things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 5, 6, 15, and 18 of the ’830

  patent. Vudu has induced and continues to induce others to infringe at least claims 1, 5, 6, 15,

  and 18 of the ’830 patent since at least the April 23, 2019 issue date of the ’830 patent; or, if not

  then, since at least the time of receiving the Original Complaint in this matter and Exhibit 4

  thereto, which, in combination with Vudu’s extensive knowledge of and experience with MPEG-

  DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and users to

  stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the patents

  and Vudu’s website and apps, detailed how Vudu directly infringed and induced the direct

  infringement of the asserted claims of the ’830 patent.

         138.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         139.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its




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  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’830 patent by the customers. (Ex. 4 at 2, 12, and 22.) The

  claimed methods of claims 1, 5, 6, 15, and 18 of the ’830 patent are necessarily performed by the

  customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2,

  12-22), and this constitutes direct infringement as set forth in Exhibit 4.

         140.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’830 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         141.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of or should have had actual knowledge of

  the ’830 patent and that its acts were inducing infringement of the ’830 patent since at least the




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  April 23, 2019 issue date of the ’830 patent; or, if not then, since at least the time of receiving the

  Original Complaint in this matter and Exhibit 4 thereto, which, in combination with Vudu’s

  extensive knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it

  was encouraging its partners, customers, and users to stream its DASH-enabled VOD and the

  parties’ pre-suit communications regarding the patents and Vudu’s website and apps, detailed

  how Vudu directly infringed and induced the direct infringement of the asserted claims of the

  ’830 patent.

         142.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’830 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’830 patent.

         143.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’830 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the application that issued through a continuation as the ’830 patent as

  one of Helios’s “U.S. DASH Pending Patent Applications” within its “DASH Patent Portfolio”

  and clearly and consistently identified MPEG-DASH as the standard to which its MPEG-DASH

  patent applications pertained since at least approximately August 23, 2018. Helios explicitly

  stated that its MPEG-DASH patents and applications were essential to MPEG-DASH and

  provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential




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  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

            144.    Despite the facts set forth in paragraph 143 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’830 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents and

  applications, but this was a deliberate attempt to mislead Helios. When confronted with

  additional information and evidence that its DASH-enabled streaming VOD was infringing

  Helios’s MPEG-DASH patents, and presented with the opportunity to review more detailed

  confidential information regarding Vudu’s infringement, Vudu stated that “Vudu is not interested

  in receiving any confidential information” and then cut off all further communication to avoid

  learning of its infringement.

            145.    On information and belief, based on the facts and inferences set forth in

  paragraphs 89-144 above, Vudu’s infringement has been and continues to be willful.

            146.    Plaintiffs have been harmed by Vudu’s infringing activities.

                   COUNT III – INFRINGEMENT OF U.S. PATENT NO. 10,277,660

            147.    The allegations set forth in the foregoing paragraphs 1 through 146 are

  incorporated into this Third Claim for Relief.

            148.    On April 30, 2019, the ’660 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’660 patent is attached as Exhibit 5.

            149.    Ideahub is the assignee and owner of the right, title, and interest in and to the ’660

  patent.

            150.    Helios holds the exclusive right to assert all causes of action arising under the

  ’660 patent and the right to collect any remedies for infringement of it.


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         151.    Upon information and belief, Vudu has and continues to directly infringe at least

  claims 1, 2, 3, 4, 8, 10, 20, and 21 and to induce the direct infringement of at least claims 11, 12,

  13, 14, and 18 of the ’660 patent by selling, offering to sell, making, using, and/or providing and

  causing to be used streaming media content in accordance with the MPEG-DASH standard (the

  “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as those

  available at https://www.vudu.com/content/movies/home, as set forth in detail in the preliminary

  and exemplary claim chart attached as Exhibit 6.

         152.    Upon information and belief, the Accused Instrumentalities perform methods for

  providing a media content performed by a server or multiple servers, comprising: receiving, from

  a client, a Uniform Resource Locator (URL) request for a segment of the media content based on

  metadata of the media content, wherein the metadata comprises multiple BaseURL elements and

  wherein identical segments are accessible at locations indicated by URLs resolved with respect

  to the multiple BaseURL elements; and sending the requested segment of the media content to

  the client, wherein the URL of the requested segment is generated based on a selected BaseURL

  element among the multiple BaseURL elements.

         153.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing a media content performed by a client, comprising: transmitting to a server, a request

  for a segment of the media content based on a metadata, wherein the metadata comprises

  multiple BaseURL elements and wherein identical segments are accessible at locations indicated

  by URLs resolved with respect to the multiple BaseURL elements; and receiving the requested

  segment of the media content from the server, wherein the URL of the requested segment is

  generated based on a selected BaseURL element among the multiple BaseURL elements.




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          154.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, 8, 10, 11, 12, 13, 14, 18, 20,

  and 21 of the ’660 patent during the pendency of the ’660 patent.

          155.    Since at least the time of receiving the Original Complaint, Vudu has had actual

  notice that it is directly infringing and/or inducing others to infringe the ’660 patent.

          156.    On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.

          157.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

          158.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”




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          159.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

          160.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

          161.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

          162.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 16/036,703 that issued through a continuation as the ’660 patent,

  among eight other U.S. patent applications. Five of the eight “U.S. DASH Pending Patent

  Applications” identified in this table issued, directly or through continuation applications, as

  patents asserted in this action.

          163.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to




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  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         164.      It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         165.      Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that through a

  continuation issued as the ’660 patent, Vudu had knowledge that Helios was alleging that the

  application that issued through a continuation as the ’660 patent claimed technology that was

  standard-essential for MPEG-DASH, and that Vudu subjectively knew that if the application that

  issued through a continuation as the ’660 patent claimed technology that was standard-essential

  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and

  apps, would infringe and induce the infringement of the claims of the ’660 patent once those

  claims issued.

         166.      Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

         167.      Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to




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  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

          168.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          169.   Helios received no reply to its September 11, 2018 email.

          170.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          171.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          172.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

          173.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued through a continuation as the ’660 patent) and whether Vudu’s




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  provision of DASH-enabled streaming VOD via its website and apps would infringe and induce

  the infringement of the claims of those MPEG-DASH patent applications once they issued.

         174.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued through a continuation as the ’660 patent.

         175.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         176.    Helios received no reply to its October 15, 2018 email.

         177.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         178.    Helios received no reply to its October 31, 2018 email.

         179.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued through a continuation as the ’660 patent, including claim

  charts, which Helios would share with Vudu if Vudu entered into an NDA.

         180.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe and induce the infringement of the claims of the

  patent application that issued through a continuation as the ’660 patent. It is also reasonable to




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  infer that, by not responding to Vudu’s October 31, 2018 communication and by refusing to

  enter into an NDA with Helios, Vudu was actively avoiding learning about its likely

  infringement.

         181.     On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued through a continuation as the ’660 patent, pertained. Helios also informed Vudu that

  Helios “confirmed that Vudu utilizes the DASH standard.” In support of this point, Helios

  attached screenshots to the February 19, 2019 email that demonstrated with pictorial evidence

  Vudu’s use of MPEG-DASH in its streaming VOD.

         182.     In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         183.     Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.

         184.     Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued through a continuation as the ’660 patent claimed technology that was standard-essential




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  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and

  apps, would infringe and induce the infringement of the claims of the ’660 patent once those

  claims issued.

         185.      On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         186.      Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby

  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         187.      Helios received no response to its February 28, 2019 communication.

         188.      Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the

  application that issued through a continuation as the ’660 patent once those claims issued. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patent applications were standard-essential to MPEG-DASH, (2)

  Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided evidence of

  this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to provide




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  confidential claim charts demonstrating how Vudu would directly infringe and induce the direct

  infringement of Helios’s MPEG-DASH patent applications (including the application that issued

  through a continuation as the ’660 patent) and how Helios’s patents and patent applications were

  standard essential to MPEG-DASH.

            189.   Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued through a continuation as the ’660 patent.

            190.   On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

            191.   Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

            192.   On April 30, 2019, the ’660 patent issued.

            193.   At least as of April 30, 2019, Vudu should have had knowledge of the ’660 patent

  and knowledge of how Vudu was infringing and inducing infringement of the ’660 patent. Since

  at least approximately August 23, 2018, however, Vudu consistently and deliberately acted to

  avoid learning of its likely infringement and induced infringement of the claims in the

  application that issued through a continuation as the ’660 patent, despite Vudu’s subjective belief

  that there was a high probability that its providing and causing to be used DASH-enabled

  streaming VOD would infringe and induce the infringement of the claims that issued in the ’660

  patent.




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         194.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         195.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 11, 12, 13, 14, and 18 of the ’660 patent under 35 U.S.C. § 271(b) by,

  among other things, and with specific intent or willful blindness, actively aiding and abetting

  others to infringe, including but not limited to Vudu’s partners and customers, whose use of the

  Accused Instrumentalities constitutes direct infringement of at least claims 11, 12, 13, 14, and 18

  of the ’660 patent. Vudu has induced and continues to induce others to infringe at least claims

  11, 12, 13, 14, and 18 of the ’660 patent since at least the April 30, 2019 issue date of the ’660

  patent; or, if not then, since at least the time of receiving the Original Complaint in this matter

  and Exhibit 6 thereto, which, in combination with Vudu’s extensive knowledge of and

  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’660 patent.

         196.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         197.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its




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  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’660 patent by the customers. (Ex. 6 at 2, 10, 17, and 21.) The

  claimed methods of claims 11, 12, 13, 14, and 18 of the ’660 patent are necessarily performed by

  the customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id.

  at 2, 10, 17, and 21), and this constitutes direct infringement as set forth in Exhibit 6.

         198.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’660 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         199.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of or should have had actual knowledge of

  the ’660 patent and that its acts were inducing infringement of the ’660 patent since at least the




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  April 30, 2019 issue date of the ’660 patent; or, if not then, since at least the time of receiving the

  Original Complaint in this matter and Exhibit 6 thereto, which, in combination with Vudu’s

  extensive knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it

  was encouraging its partners, customers, and users to stream its DASH-enabled VOD and the

  parties’ pre-suit communications regarding the patents and Vudu’s website and apps, detailed

  how Vudu directly infringed and induced the direct infringement of the asserted claims of the

  ’660 patent.

         200.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’660 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’660 patent.

         201.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’660 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the application that issued through a continuation as the ’660 patent as

  one of Helios’s “U.S. DASH Pending Patent Applications” within its “DASH Patent Portfolio”

  and clearly and consistently identified MPEG-DASH as the standard to which its MPEG-DASH

  patent applications pertained since at least approximately August 23, 2018. Helios explicitly

  stated that its MPEG-DASH patents and applications were essential to MPEG-DASH and

  provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential




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  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

            202.    Despite the facts set forth in paragraph 201 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’660 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents and

  applications, but this was a deliberate attempt to mislead Helios. When confronted with

  additional information and evidence that its DASH-enabled streaming VOD was infringing

  Helios’s MPEG-DASH patents, and presented with the opportunity to review more detailed

  confidential information regarding Vudu’s infringement, Vudu stated that “Vudu is not interested

  in receiving any confidential information” and then cut off all further communication to avoid

  learning of its infringement.

            203.    On information and belief, based on the facts and inferences set forth in

  paragraphs 147-202 above, Vudu’s infringement has been and continues to be willful.

            204.    Plaintiffs have been harmed by Vudu’s infringing activities.

                   COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 10,313,414

            205.    The allegations set forth in the foregoing paragraphs 1 through 204 are

  incorporated into this Fourth Claim for Relief.

            206.    On June 4, 2019, the ’414 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Content Using Representations.” A true and correct copy of the ’414 patent is attached as

  Exhibit 7.

            207.    Ideahub is the assignee and owner of the right, title, and interest in and to the ’414

  patent.




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         208.    Helios holds the exclusive right to assert all causes of action arising under the

  ’414 patent and the right to collect any remedies for infringement of it.

         209.    Upon information and belief, Vudu has and continues to directly infringe at least

  claims 11, 12, 17, 18, 19, and 20 and to induce the direct infringement of at least claims 1, 2, 7,

  8, 9, and 10 of the ’414 patent by selling, offering to sell, making, using, and/or providing and

  causing to be used streaming media content in accordance with the MPEG-DASH standard (the

  “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as those

  available at https://www.vudu.com/content/movies/home, as set forth in detail in the preliminary

  and exemplary claim chart attached as Exhibit 8.

         210.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: transmitting a

  Media Presentation Description (MPD) of a media content to a client; receiving a request, from

  the client, for a segment of the media content; transmitting the media content to the client,

  wherein the MPD includes one or more periods, wherein each of the periods includes one or

  more adaptation sets, wherein each of the adaptation sets includes one or more representations,

  wherein each of the representations includes one or more segments, wherein the MPD, the

  period, the adaptation set, the representation or the segments includes one or more attributes or

  elements, and, wherein the adaptation set includes one or more attributes or elements that are

  common to each of the representations for that adaptation set.

         211.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a DASH (Dynamic Adaptive Streaming over HTTP)

  client, the method comprising: receiving a Media Presentation Description (MPD) of a media

  content; and accessing segments of the media content based on information provided by the




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  MPD, wherein the MPD includes one or more periods, wherein each of the periods includes one

  or more adaptation sets, wherein each of the adaptation sets includes one or more

  representations, wherein each of the representations includes one or more segments, wherein the

  MPD, the period, the adaptation set, the representation, or the segments includes one or more

  attributes or elements, and wherein the adaptation set includes one or more attributes or elements

  that are common to each of the representations for that adaptation set.

         212.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 7, 8, 9, 10, 11, 12, 17, 18, 19, and

  20 of the ’414 patent during the pendency of the ’414 patent.

         213.    Since at least the time of receiving the Original Complaint, Vudu has had actual

  notice that it is directly infringing and/or inducing the infringement of the ’414 patent.

         214.    On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.

         215.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.




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         216.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         217.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

         218.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

         219.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

         220.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 15/834,702 that issued through continuations as the ’414 patent,

  among eight other U.S. patent applications. Five of the eight “U.S. DASH Pending Patent




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  Applications” identified in this table issued, directly or through continuation applications, as

  patents asserted in this action.

          221.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

          222.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

          223.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that issued

  through continuations as the ’414 patent, Vudu had knowledge that Helios was alleging that the

  application that issued through continuations as the ’414 patent claimed technology that was

  standard-essential for MPEG-DASH, and that Vudu subjectively knew that if the application that

  issued through continuations as the ’414 patent claimed technology that was standard-essential to

  MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its customers

  to stream DASH-enabled VOD, including VOD offered through Vudu’s website and apps, would

  infringe and induce the infringement of the claims of the ’414 patent once those claims issued.

          224.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely




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  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

         225.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

          226.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          227.   Helios received no reply to its September 11, 2018 email.

          228.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          229.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          230.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”




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         231.    Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued through continuations as the ’414 patent) and whether Vudu’s

  provision of DASH-enabled streaming VOD via its website and apps would infringe and induce

  the infringement of the claims of those MPEG-DASH patent applications once they issued.

         232.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued through continuations as the ’414 patent.

         233.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         234.    Helios received no reply to its October 15, 2018 email.

         235.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         236.    Helios received no reply to its October 31, 2018 email.

         237.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued through continuations as the ’414 patent, including claim

  charts, which Helios would share with Vudu if Vudu entered into an NDA.




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         238.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe and induce the infringement of the claims of the

  patent application that issued through continuations as the ’414 patent. It is also reasonable to

  infer that, by not responding to Vudu’s October 31, 2018 communication and by refusing to

  enter into an NDA with Helios, Vudu was actively avoiding learning about its likely

  infringement.

         239.     On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued through continuations as the ’414 patent, pertained. Helios also informed Vudu that

  Helios “confirmed that Vudu utilizes the DASH standard.” In support of this point, Helios

  attached screenshots to the February 19, 2019 email that demonstrated with pictorial evidence

  Vudu’s use of MPEG-DASH in its streaming VOD.

         240.     In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         241.     Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.




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         242.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued through continuations as the ’414 patent claimed technology that was standard-essential to

  MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its customers

  to stream DASH-enabled VOD, including VOD offered through Vudu’s website and apps, would

  infringe and induce the infringement of the claims of the ’414 patent once those claims issued.

         243.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         244.    Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby

  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         245.    Helios received no response to its February 28, 2019 communication.

         246.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the

  application that issued through continuations as the ’414 patent once those claims issued. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was




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  alleging its MPEG-DASH patent applications were standard-essential to MPEG-DASH, (2)

  Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided evidence of

  this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to provide

  confidential claim charts demonstrating how Vudu would directly infringe and induce the direct

  infringement of Helios’s MPEG-DASH patent applications (including the application that issued

  through continuations as the ’414 patent) and how Helios’s patents and patent applications were

  standard essential to MPEG-DASH.

         247.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued through continuations as the ’414 patent.

         248.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         249.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         250.    On June 4, 2019, the ’414 patent issued.

         251.    At least as of June 4, 2019, Vudu should have had knowledge of the ’414 patent

  and knowledge of how Vudu was infringing and inducing infringement of the ’414 patent. Since

  at least approximately August 23, 2018, however, Vudu consistently and deliberately acted to

  avoid learning of its likely infringement and induced infringement of the claims in the

  application that issued through continuations as the ’414 patent, despite Vudu’s subjective belief




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  that there was a high probability that its providing and causing to be used DASH-enabled

  streaming VOD would infringe and induce the infringement of the claims that issued in the ’414

  patent.

            252.   On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

            253.   Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 2, 7, 8, 9, and 10 of the ’414 patent under 35 U.S.C. § 271(b) by,

  among other things, and with specific intent or willful blindness, actively aiding and abetting

  others to infringe, including but not limited to Vudu’s partners and customers, whose use of the

  Accused Instrumentalities constitutes direct infringement of at least claims 1, 2, 7, 8, 9, and 10 of

  the ’414 patent. Vudu has induced and continues to induce others to infringe at least claims 1, 2,

  7, 8, 9, and 10 of the ’414 patent since at least the June 4, 2019 issue date of the ’414 patent; or,

  if not then, since at least the time of receiving the Original Complaint in this matter and Exhibit 8

  thereto, which, in combination with Vudu’s extensive knowledge of and experience with MPEG-

  DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and users to

  stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the patents

  and Vudu’s website and apps, detailed how Vudu directly infringed and induced the direct

  infringement of the asserted claims of the ’414 patent.

            254.   In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,




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  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         255.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’414 patent by the customers. (Ex. 8 at 3, 13.) The claimed

  methods of claims 1, 2, 7, 8, 9, and 10 of the ’414 patent are necessarily performed by the

  customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 3,

  13), and this constitutes direct infringement as set forth in Exhibit 8.

         256.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’414 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)




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         257.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of or should have had actual knowledge of

  the ’414 patent and that its acts were inducing infringement of the ’414 patent since at least the

  June 4, 2019 issue date of the ’414 patent; or, if not then, since at least the time of receiving the

  Original Complaint in this matter and Exhibit 8 thereto, which, in combination with Vudu’s

  extensive knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it

  was encouraging its partners, customers, and users to stream its DASH-enabled VOD and the

  parties’ pre-suit communications regarding the patents and Vudu’s website and apps, detailed

  how Vudu directly infringed and induced the direct infringement of the asserted claims of the

  ’414 patent.

         258.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’414 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’414 patent.

         259.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’414 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the application that issued through continuations as the ’414 patent as

  one of Helios’s “U.S. DASH Pending Patent Applications” within its “DASH Patent Portfolio”

  and clearly and consistently identified MPEG-DASH as the standard to which its MPEG-DASH

  patent applications pertained since at least approximately August 23, 2018. Helios explicitly




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  stated that its MPEG-DASH patents and applications were essential to MPEG-DASH and

  provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         260.    Despite the facts set forth in paragraph 259 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’414 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents and

  applications, but this was a deliberate attempt to mislead Helios. When confronted with

  additional information and evidence that its DASH-enabled streaming VOD was infringing

  Helios’s MPEG-DASH patents, and presented with the opportunity to review more detailed

  confidential information regarding Vudu’s infringement, Vudu stated that “Vudu is not interested

  in receiving any confidential information” and then cut off all further communication to avoid

  learning of its infringement.

         261.    On information and belief, based on the facts and inferences set forth in

  paragraphs 205-260 above, Vudu’s infringement has been and continues to be willful.

         262.    Plaintiffs have been harmed by Vudu’s infringing activities.

                COUNT V – INFRINGEMENT OF U.S. PATENT NO. 10,356,145

         263.    The allegations set forth in the foregoing paragraphs 1 through 262 are

  incorporated into this Fifth Claim for Relief.

         264.    On July 16, 2019, the ’145 Patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Method and Device for Providing Streaming

  Content.” A true and correct copy of the ’145 patent is attached as Exhibit 9.




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            265.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’145

  patent.

            266.   Helios holds the exclusive right to assert all causes of action arising under the

  ’145 patent and the right to collect any remedies for infringement of it.

            267.   Upon information and belief, Vudu has and continues to directly infringe at least

  claims 1, 2, 11, 12, 13, 14, 15, and 16, and to induce the direct infringement of at least claims 3,

  4, 5, 6, 7, 8, 9, and 10 of the ’145 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content (the “Accused Instrumentalities”),

  including one or more videos on demand (“VOD”) such as those available at

  https://www.vudu.com/content/movies/home, as set forth in detail in the preliminary and

  exemplary claim chart attached as Exhibit 10.

            268.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: receiving a

  request for the media content from a client based on a media presentation description (MPD)

  with respect to the media content; and providing a segment of media content through streaming

  to the client in response to the request, wherein the MPD includes one or more periods, wherein

  the period includes one or more groups, wherein the group includes one or more representations,

  wherein the representation includes one or more segments, wherein the group includes one or

  more group elements for each of the groups, and wherein a group element provides a summary

  of values of all representations with a group.

            269.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a client, the method comprising: transmitting a request for

  the media content to a server based on a media presentation description (MPD) with respect to




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  the media content; and receiving a segment of media content through streaming from the server

  in response to the request, wherein the MPD includes one or more periods, wherein the period

  includes one or more groups, wherein the group includes one or more representations, wherein

  the representation includes one or more segments, wherein the group includes one or more group

  elements for each of the groups, and wherein a group element provides a summary of values of

  all representations within a group.

          270.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14,

  15, and 16 of the ’145 patent during the pendency of the ’145 patent.

          271.    On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.

          272.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

          273.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed




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  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

          274.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

          275.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

          276.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

          277.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 15/785,275 that issued through a continuation as the ’145 patent,

  among eight other U.S. patent applications. Five of the eight “U.S. DASH Pending Patent

  Applications” identified in this table issued, directly or through continuation applications, as

  patents asserted in this action.




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         278.      In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         279.      It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         280.      Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that issued

  through a continuation as the ’145 patent, Vudu had knowledge that Helios was alleging that the

  application that issued through a continuation as the ’145 patent claimed technology that was

  standard-essential for MPEG-DASH, and that Vudu subjectively knew that if the application that

  issued through a continuation as the ’145 patent claimed technology that was standard-essential

  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and

  apps, would infringe and induce the infringement of the claims of the ’145 patent once those

  claims issued.

         281.      Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely




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  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

          282.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

          283.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          284.   Helios received no reply to its September 11, 2018 email.

          285.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          286.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          287.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”




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         288.    Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued through a continuation as the ’145 patent) and whether Vudu’s

  provision of DASH-enabled streaming VOD via its website and apps would infringe and induce

  the infringement of the claims of those MPEG-DASH patent applications once they issued.

         289.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued through a continuation as the ’145 patent.

         290.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         291.    Helios received no reply to its October 15, 2018 email.

         292.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         293.    Helios received no reply to its October 31, 2018 email.

         294.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued through a continuation as the ’145 patent, including claim

  charts, which Helios would share with Vudu if Vudu entered into an NDA.




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         295.     Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe and induce the infringement of the claims of the

  patent application that issued through a continuation as the ’145 patent. It is also reasonable to

  infer that, by not responding to Vudu’s October 31, 2018 communication and by refusing to

  enter into an NDA with Helios, Vudu was actively avoiding learning about its likely

  infringement.

         296.     On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued through a continuation as the ’145 patent, pertained. Helios also informed Vudu that

  Helios “confirmed that Vudu utilizes the DASH standard.” In support of this point, Helios

  attached screenshots to the February 19, 2019 email that demonstrated with pictorial evidence

  Vudu’s use of MPEG-DASH in its streaming VOD.

         297.     In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         298.     Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.




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         299.      Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued through a continuation as the ’145 patent claimed technology that was standard-essential

  to MPEG-DASH, there was a high likelihood that Vudu’s providing and encouraging its

  customers to stream DASH-enabled VOD, including VOD offered through Vudu’s website and

  apps, would infringe and induce the infringement of the claims of the ’145 patent once those

  claims issued.

         300.      On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         301.      Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby

  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         302.      Helios received no response to its February 28, 2019 communication.

         303.      Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the

  application that issued through a continuation as the ’145 patent once those claims issued. The




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  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patent applications were standard-essential to MPEG-DASH, (2)

  Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided evidence of

  this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to provide

  confidential claim charts demonstrating how Vudu would directly infringe and induce the direct

  infringement of Helios’s MPEG-DASH patent applications (including the application that issued

  through a continuation as the ’145 patent) and how Helios’s patents and patent applications were

  standard essential to MPEG-DASH.

         304.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued through a continuation as the ’145 patent.

         305.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         306.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         307.    On July 16, 2019, the ’145 patent issued.

         308.    At least as of July 19, 2019, Vudu should have had knowledge of the ’145 patent

  and knowledge of how Vudu was infringing and inducing infringement of the ’145 patent. Since

  at least approximately August 23, 2018, however, Vudu consistently and deliberately acted to

  avoid learning of its likely infringement and induced infringement of the claims in the




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  application that issued through a continuation as the ’145 patent, despite Vudu’s subjective belief

  that there was a high probability that its providing and causing to be used DASH-enabled

  streaming VOD would infringe and induce the infringement of the claims that issued in the ’145

  patent.

            309.   On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

            310.   Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 3, 4, 5, 6, 7, 8, 9, and 10 of the ’145 patent under 35 U.S.C. § 271(b) by,

  among other things, and with specific intent or willful blindness, actively aiding and abetting

  others to infringe, including but not limited to Vudu’s partners and customers, whose use of the

  Accused Instrumentalities constitutes direct infringement of at least claims 3, 4, 5, 6, 7, 8, 9, and

  10 of the ’145 patent. Vudu has induced and continues to induce others to infringe at least

  claims 3, 4, 5, 6, 7, 8, 9, and 10 of the ’145 patent since at least the July 16, 2019 issue date of

  the ’145 patent; or, if not then, since at least the time of receiving the Original Complaint in this

  matter and Exhibit 6 thereto, which, in combination with Vudu’s extensive knowledge of and

  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’145 patent.

            311.   In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,




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  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         312.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’145 patent by the customers. (Ex. 10 at 2, 16, 30, and 65.) The

  claimed methods of claims 3, 4, 5, 6, 7, 8, 9, and 10 of the ’145 patent are necessarily performed

  by the customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons

  (id. at 2, 16, 30, and 65), and this constitutes direct infringement as set forth in Exhibit 10.

         313.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’145 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)




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         314.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of or should have had actual knowledge of

  the ’145 patent and that its acts were inducing infringement of the ’145 patent since at least the

  July 16, 2019 issue date of the ’145 patent; or, if not then, since at least the time of receiving the

  Original Complaint in this matter and Exhibit 10 thereto, which, in combination with Vudu’s

  extensive knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it

  was encouraging its partners, customers, and users to stream its DASH-enabled VOD and the

  parties’ pre-suit communications regarding the patents and Vudu’s website and apps, detailed

  how Vudu directly infringed and induced the direct infringement of the asserted claims of the

  ’145 patent.

         315.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’145 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’145 patent.

         316.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’145 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the application that issued through a continuation as the ’145 patent as

  one of Helios’s “U.S. DASH Pending Patent Applications” within its “DASH Patent Portfolio”

  and clearly and consistently identified MPEG-DASH as the standard to which its MPEG-DASH

  patent applications pertained since at least approximately August 23, 2018. Helios explicitly




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  stated that its MPEG-DASH patents and applications were essential to MPEG-DASH and

  provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         317.    Despite the facts set forth in paragraph 316 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’145 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents and

  applications, but this was a deliberate attempt to mislead Helios. When confronted with

  additional information and evidence that its DASH-enabled streaming VOD was infringing

  Helios’s MPEG-DASH patents, and presented with the opportunity to review more detailed

  confidential information regarding Vudu’s infringement, Vudu stated that “Vudu is not interested

  in receiving any confidential information” and then cut off all further communication to avoid

  learning of its infringement.

         318.    On information and belief, based on the facts and inferences set forth in

  paragraphs 263-317 above, Vudu’s infringement has been and continues to be willful.

         319.    Plaintiffs have been harmed by Vudu’s infringing activities.

                COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 10,362,130

         320.    The allegations set forth in the foregoing paragraphs 1 through 319 are

  incorporated into this Sixth Claim for Relief.

         321.    On July 23, 2019, the ’130 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Contents.” A true and correct copy of the ’130 patent is attached as Exhibit 11.




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            322.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’130

  patent.

            323.   Helios holds the exclusive right to assert all causes of action arising under the

  ’130 patent and the right to collect any remedies for infringement of it.

            324.   Upon information and belief, Vudu has and continues to directly infringe at least

  claims 1, 2, 4, and 5 of the ’130 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content in accordance with the MPEG-DASH

  standard (the “Accused Instrumentalities”), including one or more videos on demand (“VOD”)

  such as those available at https://www.vudu.com/content/movies/home, as set forth in detail in

  the preliminary and exemplary claim chart attached as Exhibit 12.

            325.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a processor in a server, the method comprising: receiving

  a request for the media content from a client; transmitting the media to the client based on a

  Media Presentation Description (MPD) of the media content, wherein the MPD comprises one or

  more periods, wherein the period comprises one or more groups, wherein the group comprises

  one or more representations, wherein the representation comprises one or more segments,

  wherein the representation includes bandwidth attribute related to bandwidth for a hypothetical

  constant bitrate channel in bits per second (bps), wherein the client is assured of having enough

  data continuously playout after buffering for minbuffertime, when the representation is delivered

  to the client, wherein the segment includes sub-segments indexed by segment index, wherein the

  MPD includes at least one of (i) frame rate, or (ii) timescale describing the number of time units

  in one second.




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         326.    On information and belief, the Accused Instrumentalities have infringed and

  continue to directly infringe at least claims 1, 2, 4, and 5 of the ’130 patent during the pendency

  of the ’130 patent.

         327.    Since at least the time of receiving the Original Complaint, Vudu has had actual

  notice that it is directly infringing and/or inducing others to infringe the ’130 patent.

         328.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         329.    On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.

         330.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         331.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],




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  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         332.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

         333.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

         334.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

         335.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 15/069,443 that issued as the ’130 patent, among eight other U.S.

  patent applications. Five of the eight “U.S. DASH Pending Patent Applications” identified in

  this table issued, directly or through continuation applications, as patents asserted in this action.

         336.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to




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  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         337.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         338.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that issued as the

  ’130 patent, Vudu had knowledge that Helios was alleging that the application that issued as the

  ’130 patent claimed technology that was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the application that issued as the ’130 patent claimed technology that

  was standard-essential to MPEG-DASH, there was a high likelihood that Vudu’s Accused

  Instrumentalities, including VOD offered through Vudu’s website and apps, would infringe

  claims of the ’130 patent once those claims issued.

         339.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

         340.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to




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  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

          341.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          342.   Helios received no reply to its September 11, 2018 email.

          343.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          344.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          345.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

          346.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued as the ’130 patent) and whether Vudu’s provision of DASH-




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  enabled streaming VOD via its website and apps would infringe the claims of those MPEG-

  DASH patent applications once they issued.

         347.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued as the ’130 patent.

         348.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         349.    Helios received no reply to its October 15, 2018 email.

         350.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         351.    Helios received no reply to its October 31, 2018 email.

         352.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued as the ’130 patent, including claim charts, which Helios

  would share with Vudu if Vudu entered into an NDA.

         353.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe the claims of the patent application that issued as the

  ’130 patent. It is also reasonable to infer that, by not responding to Vudu’s October 31, 2018




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  communication and by refusing to enter into an NDA with Helios, Vudu was actively avoiding

  learning about its likely infringement.

         354.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued as the ’130 patent, pertained. Helios also informed Vudu that Helios “confirmed that

  Vudu utilizes the DASH standard.” In support of this point, Helios attached screenshots to the

  February 19, 2019 email that demonstrated with pictorial evidence Vudu’s use of MPEG-DASH

  in its streaming VOD.

         355.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         356.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.

         357.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued as the ’130 patent claimed technology that was standard-essential to MPEG-DASH, there

  was a high likelihood that Vudu’s Accused Instrumentalities, including VOD offered through




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  Vudu’s website and apps, would infringe and induce the infringement of the claims of the ’130

  patent once those claims issued.

         358.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         359.    Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby

  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         360.    Helios received no response to its February 28, 2019 communication.

         361.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe claims of the application that issued as the ’130 patent

  once those claims issued. The following facts and inferences, in particular, support this

  inference: (1) Vudu knew Helios was alleging its MPEG-DASH patent applications were

  standard-essential to MPEG-DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized

  MPEG-DASH and provided evidence of this confirmation to Vudu via screenshots, and (3)

  Helios had offered repeatedly to provide confidential claim charts demonstrating how Vudu

  would directly infringe Helios’s MPEG-DASH patent applications (including the application that




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  issued as the ’130 patent) and how Helios’s patents and patent applications were standard

  essential to MPEG-DASH.

         362.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019, that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued as the ’130 patent.

         363.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         364.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         365.    On July 23, 2019, the ’130 patent issued.

         366.    At least as of July 23, 2019, Vudu should have had knowledge of the ’130 patent

  and knowledge of how Vudu was infringing the ’130 patent. Since at least approximately

  August 23, 2018, however, Vudu consistently and deliberately acted to avoid learning of its

  likely infringement of the claims in the application that issued as the ’130 patent, despite Vudu’s

  subjective belief that there was a high probability that its providing and causing to be used

  DASH-enabled streaming VOD would infringe the claims that issued in the ’130 patent.

         367.     On information and belief, based on the facts and inferences set forth in

  paragraphs 320-366 above, Vudu’s infringement has been and continues to be willful.

         368.    Plaintiffs have been harmed by Vudu’s infringing activities.




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                   COUNT VII – INFRINGEMENT OF U.S. PATENT NO. 10,375,373

            369.    The allegations set forth in the foregoing paragraphs 1 through 368 are

  incorporated into this Seventh Claim for Relief.

            370.    On August 6, 2019, the ’373 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Method and Apparatus for Encoding Three-

  Dimensional (3D) Content.” A true and correct copy of the ’373 patent is attached as Exhibit 13.

            371.    Ideahub is the assignee and owner of the right, title, and interest in and to the ’373

  patent.

            372.    Helios holds the exclusive right to assert all causes of action arising under the

  ’373 patent and the right to collect any remedies for infringement of it.

            373.    Upon information and belief, Vudu has and continues to directly infringe at least

  claims 1, 2, 5, 6, 7, 8, 9, 10, 13, 14, 15, and 16, and to induce the direct infringement of at least

  claims 17, 18, 21, 22, 23, and 24 of the ’373 patent by selling, offering to sell, making, using,

  and/or providing and causing to be used streaming media content in accordance with the MPEG-

  DASH standard (the “Accused Instrumentalities”), including one or more videos on demand

  (“VOD”) such as those available at https://www.vudu.com/content/movies/home, as set forth in

  detail in the preliminary and exemplary claim chart attached as Exhibit 14.

            374.    Upon information and belief, the Accused Instrumentalities perform methods of

  adaptive streaming service performed by a server or multiple servers, the method comprising:

  receiving a request, from a client, for a segment of a media content based on metadata of the

  media content, wherein the metadata is a Media Presentation Description (MPD), and wherein

  the MPD is a description of a media presentation related to the media content; and providing the

  media content based on the request, wherein the MPD includes at least one period, wherein each

  period includes at least one adaptation set comprising a media content component, wherein each


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  adaptation set includes at least one representation, wherein each representation includes at least

  one segment, and wherein the MPD provides information that enables the client to switch from

  one representation to another representation to adapt to a network condition.

          375.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing adaptive streaming services performed by a client, the methods comprising:

  transmitting a request, to a server or multiple servers, for a segment of a media content based on

  metadata of the media content, wherein the metadata is a Media Presentation Description (MPD),

  and wherein the MPD is a description of a media presentation related to the media content; and

  receiving the media content, based on the request, from the server or multiple servers, wherein

  the MPD includes at least one period, wherein each period includes at least one adaptation set

  comprising a media content component, wherein each adaptation set includes at least one

  representation, wherein each representation includes at least one segment, and wherein the MPD

  provides information that enables the client to switch from one representation to another

  representation to adapt to a network condition.

          376.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 5, 6, 7, 8, 9, 10, 13, 14, 15, 16, 17,

  18, 21, 22, 23, and 24 of the ’373 patent during the pendency of the ’373 patent.

          377.    Since at least the time of receiving the Original Complaint, Vudu has had actual

  notice that it is directly infringing and/or inducing others to infringe the ’373 patent.

          378.    On or about August 23, 2018, Helios sent Vudu a notice letter (“Notice Letter”)

  addressed to Ms. Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and

  belief, as of approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms.

  Chung had authority to discuss Helios’s proposal on Vudu’s behalf.




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         379.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         380.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         381.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, and as the MPEG-DASH standard utilized by Vudu in

  its streaming VOD offerings.

         382.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.




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         383.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents and applications claimed this technology.

         384.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “U.S. DASH Patent

  Portfolio,” a table titled “U.S. DASH Pending Patent Applications,” which explicitly identified

  U.S. Patent Application No. 15/977,218 that issued as the ’373 patent, among eight other U.S.

  patent applications. Five of the eight “U.S. DASH Pending Patent Applications” identified in

  this table issued, directly or through continuation applications, as patents asserted in this action.

         385.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         386.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         387.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the patent application that issued as the

  ’373 patent, Vudu had knowledge that Helios was alleging that the application that issued as the




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  ’373 patent claimed technology that was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the application that issued as the ’373 patent claimed technology that

  was standard-essential to MPEG-DASH, there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the ’373

  patent once those claims issued.

          388.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s likely

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents and

  applications, which Helios would share with Vudu if Vudu entered into an NDA.

          389.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio on allegedly “fair and reasonable terms,” consistent with

  the licensing of standard-essential patents.

          390.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          391.   Helios received no reply to its September 11, 2018 email.

          392.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.




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         393.    On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

         394.    On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

         395.    Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patent applications identified in the Notice Letter (including

  the patent application that issued as the ’373 patent) and whether Vudu’s provision of DASH-

  enabled streaming VOD via its website and apps would infringe and induce the infringement of

  the claims of those MPEG-DASH patent applications once they issued.

         396.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the patent application

  that issued as the ’373 patent.

         397.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         398.    Helios received no reply to its October 15, 2018 email.




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         399.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         400.    Helios received no reply to its October 31, 2018 email.

         401.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018, Vudu knew Helios had further details regarding Vudu’s likely infringement of the claims

  of the patent application that issued as the ’373 patent, including claim charts, which Helios

  would share with Vudu if Vudu entered into an NDA.

         402.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu would directly infringe and induce the infringement of the claims of the

  patent application that issued as the ’373 patent. It is also reasonable to infer that, by not

  responding to Vudu’s October 31, 2018 communication and by refusing to enter into an NDA

  with Helios, Vudu was actively avoiding learning about its likely infringement.

         403.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the patent application that

  issued as the ’373 patent, pertained. Helios also informed Vudu that Helios “confirmed that

  Vudu utilizes the DASH standard.” In support of this point, Helios attached screenshots to the

  February 19, 2019 email that demonstrated with pictorial evidence Vudu’s use of MPEG-DASH

  in its streaming VOD.




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         404.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         405.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents and applications in its MPEG-DASH patent portfolio were standard-essential

  to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of Helios’s February 19,

  2019 email.

         406.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew if the application that

  issued as the ’373 patent claimed technology that was standard-essential to MPEG-DASH, there

  was a high likelihood that Vudu’s providing and encouraging its customers to stream DASH-

  enabled VOD, including VOD offered through Vudu’s website and apps, would infringe and

  induce the infringement of the claims of the ’373 patent once those claims issued.

         407.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and explicitly stated that “Vudu is not interested in receiving any confidential

  information, and anything you choose to send would be considered nonconfidential.”

         408.    Helios responded the next day, on February 28, 2019, and reiterated that it

  required an NDA to enter into substantive licensing discussions with Vudu in order to “provide

  [Vudu] with claim charts, licensing terms, and so forth. . . . Without the NDA, we cannot have

  any meaningful or substantive discussions to determine whether a license is appropriate, thereby




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  foreclosing the possibility to resolve this matter amicably.” Helios offered times it was available

  to discuss these issues on the phone with Vudu.

         409.    Helios received no response to its February 28, 2019 communication.

         410.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, would infringe and induce the infringement of the claims of the

  application that issued as the ’373 patent once those claims issued. The following facts and

  inferences, in particular, support this inference: (1) Vudu knew Helios was alleging its MPEG-

  DASH patent applications were standard-essential to MPEG-DASH, (2) Helios had confirmed

  Vudu’s streaming VOD utilized MPEG-DASH and provided evidence of this confirmation to

  Vudu via screenshots, and (3) Helios had offered repeatedly to provide confidential claim charts

  demonstrating how Vudu would directly infringe and induce the direct infringement of Helios’s

  MPEG-DASH patent applications (including the application that issued as the ’373 patent) and

  how Helios’s patents and patent applications were standard essential to MPEG-DASH.

         411.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents and soon-to-issue claims from Helios’s MPEG-DASH patent applications,

  including the application that issued as the ’373 patent.

         412.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.




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         413.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         414.    On August 6, 2019, the ’373 patent issued.

         415.    At least as of August 6, 2019, Vudu should have had knowledge of the ’373

  patent and knowledge of how Vudu was infringing and inducing infringement of the ’373 patent.

  Since at least approximately August 23, 2018, however, Vudu consistently and deliberately acted

  to avoid learning of its likely infringement and induced infringement of the claims in the

  application that issued as the ’373 patent, despite Vudu’s subjective belief that there was a high

  probability that its providing and causing to be used DASH-enabled streaming VOD would

  infringe and induce the infringement of the claims that issued in the ’373 patent.

         416.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         417.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 17, 18, 21, 22, 23, and 24 of the ’373 patent under 35 U.S.C. § 271(b) by,

  among other things, and with specific intent or willful blindness, actively aiding and abetting

  others to infringe, including but not limited to Vudu’s partners and customers, whose use of the

  Accused Instrumentalities constitutes direct infringement of at least claims 17, 18, 21, 22, 23,

  and 24 of the ’373 patent. Vudu has induced and continues to induce others to infringe at least

  claims 17, 18, 21, 22, 23, and 24 of the ’373 patent since at least the August 6, 2019 issue date of

  the ’373 patent; or, if not then, since at least the time of receiving the Original Complaint in this

  matter and Exhibit 14 thereto, which, in combination with Vudu’s extensive knowledge of and




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  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’373 patent.

         418.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         419.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’373 patent by the customers. (Ex. 14 at 2, 16, and 30.) The

  claimed methods of claims 17, 18, 21, 22, 23, and 24 of the ’373 patent are necessarily

  performed by the customer’s terminal upon the customer’s clicking the “Watch” or “Watch

  Free” buttons (id. at 2, 16, and 30), and this constitutes direct infringement as set forth in Exhibit

  14.

         420.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’373 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




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  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         421.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent to cause infringement or with willful blindness to the resulting

  infringement because Vudu has had actual knowledge of or should have had actual knowledge of

  the ’373 patent and that its acts were inducing infringement of the ’373 patent since at least the

  August 6, 2019 issue date of the ’373 patent; or, if not then, since at least the time of receiving

  the Original Complaint in this matter and Exhibit 14 thereto, which, in combination with Vudu’s

  extensive knowledge of and experience with MPEG-DASH and Vudu’s knowledge of how it

  was encouraging its partners, customers, and users to stream its DASH-enabled VOD and the

  parties’ pre-suit communications regarding the patents and Vudu’s website and apps, detailed

  how Vudu directly infringed and induced the direct infringement of the asserted claims of the

  ’373 patent.

         422.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’373 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’373 patent.




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         423.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’373 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the application that issued as the ’373 patent as one of Helios’s “U.S.

  DASH Pending Patent Applications” within its “DASH Patent Portfolio” and clearly and

  consistently identified MPEG-DASH as the standard to which its MPEG-DASH patent

  applications pertained since at least approximately August 23, 2018. Helios explicitly stated that

  its MPEG-DASH patents and applications were essential to MPEG-DASH and provided proof

  that it knew Vudu was utilizing the MPEG-DASH standard in providing streaming VOD via its

  website and apps. And Vudu knew that if a patent was standard-essential to MPEG-DASH, that

  patent was necessarily being infringed by streaming VOD utilizing MPEG-DASH.

         424.    Despite the facts set forth in paragraph 423 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’373 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents and

  applications, but this was a deliberate attempt to mislead Helios. When confronted with

  additional information and evidence that its DASH-enabled streaming VOD was infringing

  Helios’s MPEG-DASH patents, and presented with the opportunity to review more detailed

  confidential information regarding Vudu’s infringement, Vudu stated that “Vudu is not interested

  in receiving any confidential information” and then cut off all further communication to avoid

  learning of its infringement.




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            425.    On information and belief, based on the facts and inferences set forth in

  paragraphs 369-424 above, Vudu’s infringement has been and continues to be willful.

            426.    Plaintiffs have been harmed by Vudu’s infringing activities.

                   COUNT VIII – INFRINGEMENT OF U.S. PATENT NO. 8,645,562

            427.    The allegations set forth in the foregoing paragraphs 1 through 426 are

  incorporated into this Eighth Claim for Relief.

            428.    On February 4, 2014, the ’562 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’562 patent is attached as Exhibit 15.

            429.    Ideahub is the assignee and owner of the right, title, and interest in and to the ’562

  patent.

            430.    Helios holds the exclusive right to assert all causes of action arising under the

  ’562 patent and the right to collect any remedies for infringement of it.

            431.    Upon information and belief, Vudu has and continues to induce the direct

  infringement of at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos

  on demand (“VOD”) such as those available at https://www.vudu.com/content/movies/home.

  The preliminary claim chart attached as Exhibit 16 sets forth an exemplary instance of such

  direct infringement.

            432.    Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the method comprising: receiving metadata of media, the metadata

  comprising one or more BaseURL elements; sending a request for a segment of the media using

  a Uniform Resource Locator (URL) of the segment, the URL being resolved with respect to a


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  BaseURL element; receiving the segment; and decoding and rendering data of the media that is

  included in the segment, wherein the request is sent using an HTTP GET method, the BaseURL

  element specifies one or more common locations for segments, and the segment is one of the

  segments.

         433.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent

  during the pendency of the ’562 patent.

         434.    Since at least approximately August 23, 2018, Vudu has had actual notice that it is

  inducing others to infringe the ’562 patent.

         435.    On or about August 23, 2018, Helios sent Vudu a notice letter addressed to Ms.

  Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and belief, as of

  approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms. Chung had

  authority to discuss Helios’s proposal on Vudu’s behalf.

         436.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         437.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed




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  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

          438.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, including the ’562 patent, and as the MPEG-DASH

  standard utilized by Vudu in its streaming VOD offerings.

          439.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

          440.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents were essential to Vudu’s use of this technology.

          441.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “DASH Patent

  Portfolio,” a table titled “U.S. DASH Patents,” which explicitly identified the ’562 patent by

  patent number, among 11 other U.S. patents. Five of the twelve “U.S. DASH Patents” identified

  in this table are asserted in this action.

          442.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to




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  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

         443.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

         444.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the ’562 patent, had knowledge that

  Helios was alleging that the ’562 patent was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the ’562 patent was standard-essential to MPEG-DASH, there was a

  high likelihood that Vudu’s providing and encouraging its customers to stream DASH-enabled

  VOD, including VOD offered through Vudu’s website and apps, infringed and induced the

  infringement of the ’562 patent.

         445.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents, which

  Helios would share with Vudu if Vudu entered into an NDA.

         446.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio, including the ’562 patent, on allegedly “fair and

  reasonable terms,” consistent with the licensing of standard-essential patents.




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            447.   On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

            448.   Helios received no reply to its September 11, 2018 email.

            449.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

            450.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

            451.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

            452.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patents identified in the Notice Letter (including the ’562

  patent) and whether Vudu’s provision of DASH-enabled streaming VOD via its website and

  apps infringed and induced the infringement of those MPEG-DASH patents, including the ’562

  patent.




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         453.    Based on the above facts, to the extent it is not reasonable to draw the inferences

  set forth in paragraphs 439-440 and 443-446 of this First Amended Complaint as of

  approximately August 23, 2018, it is reasonable to draw the inferences set forth in paragraphs

  439-440 and 443-446 of this First Amended Complaint as of at least October 12, 2018.

         454.    Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the ’562 patent.

         455.    On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

         456.    Helios received no reply to its October 15, 2018 email.

         457.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         458.    Helios received no reply to its October 31, 2018 email.

         459.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew Helios had further details regarding Vudu’s infringement of the ’562 patent,

  which Helios would share with Vudu if Vudu entered into an NDA.

         460.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu directly infringed and induced the infringement of the ’562 patent. It is also

  reasonable to infer that, by not responding to Vudu’s October 31, 2018 communication and by




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  refusing to enter into an NDA with Helios, Vudu was actively avoiding learning additional

  information about its infringement.

         461.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the ’562 patent, pertained.

  Helios also informed Vudu that Helios “confirmed that Vudu utilizes the DASH standard.” In

  support of this point, Helios attached screenshots to the February 19, 2019 email that

  demonstrated with pictorial evidence Vudu’s use of MPEG-DASH in its streaming VOD.

         462.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         463.    Based on the above facts, it is reasonable to infer that, as of February 19, 2019,

  Vudu had either been investigating Helios’s MPEG-DASH patents for over four months or had

  affirmatively misled Helios about its investigation of Helios’s MPEG-DASH patents to avoid

  learning the details of how Vudu’s DASH-enabled VOD infringed Helios’s MPEG-DASH

  patents, including the ’562 patent.

         464.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents in its MPEG-DASH patent portfolio (including the ’562 patent) were

  standard-essential to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of

  Helios’s February 19, 2019 email.




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         465.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew that if the ’562 patent

  was standard-essential to MPEG-DASH there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’562 patent.

         466.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and confirmed that Vudu had investigated patents identified in the Notice

  Letter. Vudu also alleged that Helios’s identified patents “appear to be assigned to entities other

  than Helios” and that “it is not clear to us that Helios Streaming has any standing to engage in

  these discussions.” Vudu also explicitly stated that “Vudu is not interested in receiving any

  confidential information, and anything you choose to send would be considered

  nonconfidential.”

         467.    Helios responded the next day, on February 28, 2019, stating that “Helios

  Streaming was granted an exclusive license from the current assignee, Ideahub, with rights to

  sublicense the DASH patents.” To support these statements, Helios attached screenshots from

  the publicly available U.S. Patent and Trademark Office website to its email response, and these

  screenshots showed that all 12 MPEG-DASH patents identified in the Notice Letter, including

  the ’562 patent, were assigned to Ideahub and were exclusively licensed to Helios Streaming.

         468.    Helios also reiterated in its February 28, 2019 email that it required an NDA to

  enter into substantive licensing discussions with Vudu in order to “provide [Vudu] with claim

  charts, licensing terms, and so forth. . . . Without the NDA, we cannot have any meaningful or

  substantive discussions to determine whether a license is appropriate, thereby foreclosing the




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  possibility to resolve this matter amicably.” Helios offered times it was available to discuss

  these issues on the phone with Vudu.

         469.    Helios received no response to its February 28, 2019 communication.

         470.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’562 patent. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patents (including the ’562 patent) were standard-essential to MPEG-

  DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided

  evidence of this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to

  provide confidential claim charts demonstrating how Vudu was directly infringing and inducing

  the direct infringement of Helios’s MPEG-DASH patents (including the ’562 patent) and how

  Helios’s patents were standard essential to MPEG-DASH.

         471.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents, including the ’562 patent.

         472.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         473.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.




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         474.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         475.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent under 35 U.S.C. § 271(b) by, among

  other things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 2, 4, 5, 7, and 8 of the ’562

  patent. Vudu has induced and continues to induce others to infringe at least claims 1, 2, 4, 5, 7,

  and 8 of the ’562 patent since at least receiving the Notice Letter on or about August 23, 2018;

  or, if not then, since confirming its receipt of the Notice letter and confirming it was

  investigating Helios’s MPEG-DASH patents on or about October 12, 2018; or, if not then, since

  on or about February 19, 2019, when Helios emailed screenshots showing that Vudu’s streaming

  VOD utilized MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-

  essential to MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter

  and Exhibit 16 thereto, which, in combination with Vudu’s extensive knowledge of and

  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’562 patent.

         476.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,




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  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         477.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’562 patent by the customers. (Ex. 16 at 2, 8 and 15.) The

  claimed methods of claims 1, 2, 4, 5, 7, and 8 of the ’562 patent are necessarily performed by the

  customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2,

  8, and 15), and this constitutes direct infringement as set forth in Exhibit 16.

         478.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’562 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)




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         479.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent specific intent to cause infringement or with willful blindness to the

  resulting infringement because Vudu has had actual knowledge of or should have had actual

  knowledge of the ’562 patent and that its acts were inducing infringement of the ’562 patent

  since at least the time of receiving the Notice Letter on or about August 23, 2018; or, if not then,

  since confirming its receipt of the Notice letter and confirming it was investigating Helios’s

  MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about February

  19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD utilized

  MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-essential to

  MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter and Exhibit

  16 thereto, which, in combination with Vudu’s extensive knowledge of and experience with

  MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and

  users to stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the

  patents and Vudu’s website and apps, detailed how Vudu directly infringed and induced the

  direct infringement of the asserted claims of the ’562 patent.

         480.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’562 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’562 patent.

         481.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’562 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by




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  Helios. Helios identified the ’562 patent as a “U.S. DASH Patent” within its “DASH Patent

  Portfolio” and clearly and consistently identified MPEG-DASH as the standard to which its

  MPEG-DASH patents (including the ’562 patent) pertained since at least approximately August

  23, 2018. Helios explicitly stated that its MPEG-DASH patents were essential to MPEG-DASH

  and provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         482.    Despite the facts set forth in paragraph 481 above, Vudu actively and deliberately

  avoided learning the details of its induced infringement of the ’562 patent. Vudu informed

  Helios that Vudu was investigating Helios’s MPEG-DASH patents, but this was a deliberate

  attempt to mislead Helios. When confronted with additional information and evidence that its

  DASH-enabled streaming VOD was infringing Helios’s MPEG-DASH patents, and presented

  with the opportunity to review more detailed confidential information regarding Vudu’s

  infringement, Vudu stated that “Vudu is not interested in receiving any confidential information”

  and then cut off all further communication to avoid learning of its infringement.

         483.    On information and belief, based on the facts and inferences set forth in

  paragraphs 427-482 above, Vudu’s infringement has been and continues to be willful.

         484.    Plaintiffs have been harmed by Vudu’s infringing activities.

                 COUNT IX – INFRINGEMENT OF U.S. Patent No. 8,909,805

         485.    The allegations set forth in the foregoing paragraphs 1 through 484 are

  incorporated into this Ninth Claim for Relief.




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            486.   On December 9, 2014, the ’805 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’805 patent is attached as Exhibit 17.

            487.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’805

  patent.

            488.   Helios holds the exclusive right to assert all causes of action arising under the

  ’805 patent and the right to collect any remedies for infringement of it.

            489.   Upon information and belief, Vudu has and continues to induce the direct

  infringement of at least claims 1, 2, 3, and 4 of the ’805 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos

  on demand (“VOD”) such as those available at https://www.vudu.com/content/movies/home.

  The preliminary claim chart attached as Exhibit 18 sets forth an exemplary instance of such

  direct infringement.

            490.   Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the method comprising: receiving metadata of media, the metadata

  comprising one or more periods; processing the received metadata and extracting information

  included in the metadata, wherein the metadata includes a range attribute; requesting a segment

  suitable for a specific interval based on a request for bytes of a resource indicated by a URL that

  are designated by the range attribute; accessing segments of the media based on information

  provided by the metadata; decoding and rendering data of the media that is included in the

  segments; wherein each of the periods comprises one or more representations of the media,

  wherein each of the representations starts from a beginning point of a period including each of




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  the representation and continues to an ending point of the period, and comprises one or more

  segments; and wherein determining the start of a first period among one or more period

  comprises: when a start attribute exists in the first period element of the first period, a start time

  of the first period is equivalent to a value of the start attribute, when a start attribute does not

  exist in the first period element of the first period, and when a second period element of the

  second period includes a duration attribute, the start time of the first period is obtained by adding

  a value of the duration attribute of the second period element to a start time of the second period,

  and when a start attribute does not exist in the first period element of the first period, and when

  the first period is the first of the one or more periods, the start time of the first period is zero.

          491.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, and 4 of the ’805 patent during

  the pendency of the ’805 patent.

          492.    Since at least approximately August 23, 2018, Vudu has had actual notice that it is

  inducing others to infringe the ’805 patent.

          493.    On or about August 23, 2018, Helios sent Vudu a notice letter addressed to Ms.

  Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and belief, as of

  approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms. Chung had

  authority to discuss Helios’s proposal on Vudu’s behalf.

          494.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the




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  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         495.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         496.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, including the ’805 patent, and as the MPEG-DASH

  standard utilized by Vudu in its streaming VOD offerings.

         497.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

         498.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents were essential to Vudu’s use of this technology.

         499.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “DASH Patent




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  Portfolio,” a table titled “U.S. DASH Patents,” which explicitly identified the ’805 patent by

  patent number, among 11 other U.S. patents. Five of the twelve “U.S. DASH Patents” identified

  in this table are asserted in this action.

          500.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

          501.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

          502.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the ’805 patent, had knowledge that

  Helios was alleging that the ’805 patent was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the ’805 patent was standard-essential to MPEG-DASH, there was a

  high likelihood that Vudu’s providing and encouraging its customers to stream DASH-enabled

  VOD, including VOD offered through Vudu’s website and apps, infringed and induced the

  infringement of the ’805 patent.

          503.    Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s




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  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents, which

  Helios would share with Vudu if Vudu entered into an NDA.

          504.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio, including the ’805 patent, on allegedly “fair and

  reasonable terms,” consistent with the licensing of standard-essential patents.

         505.    On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          506.   Helios received no reply to its September 11, 2018 email.

          507.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          508.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          509.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”




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            510.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patents identified in the Notice Letter (including the ’805

  patent) and whether Vudu’s provision of DASH-enabled streaming VOD via its website and

  apps infringed and induced the infringement of those MPEG-DASH patents, including the ’805

  patent.

            511.   Based on the above facts, to the extent it is not reasonable to draw the inferences

  set forth in paragraphs 497-498 and 501-504 of this First Amended Complaint as of

  approximately August 23, 2018, it is reasonable to draw the inferences set forth in paragraphs

  497-498 and 501-504 of this First Amended Complaint as of at least October 12, 2018.

            512.   Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the ’805 patent.

            513.   On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

            514.   Helios received no reply to its October 15, 2018 email.

            515.   On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

            516.   Helios received no reply to its October 31, 2018 email.




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         517.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew Helios had further details regarding Vudu’s infringement of the ’805 patent,

  which Helios would share with Vudu if Vudu entered into an NDA.

         518.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu directly infringed and induced the infringement of the ’805 patent. It is also

  reasonable to infer that, by not responding to Vudu’s October 31, 2018 communication and by

  refusing to enter into an NDA with Helios, Vudu was actively avoiding learning additional

  information about its infringement.

         519.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the ’805 patent, pertained.

  Helios also informed Vudu that Helios “confirmed that Vudu utilizes the DASH standard.” In

  support of this point, Helios attached screenshots to the February 19, 2019 email that

  demonstrated with pictorial evidence Vudu’s use of MPEG-DASH in its streaming VOD.

         520.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         521.    Based on the above facts, it is reasonable to infer that, as of February 19, 2019,

  Vudu had either been investigating Helios’s MPEG-DASH patents for over four months or had

  affirmatively misled Helios about its investigation of Helios’s MPEG-DASH patents to avoid




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  learning the details of how Vudu’s DASH-enabled VOD infringed Helios’s MPEG-DASH

  patents, including the ’805 patent.

         522.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents in its MPEG-DASH patent portfolio (including the ’805 patent) were

  standard-essential to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of

  Helios’s February 19, 2019 email.

         523.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew that if the ’805 patent

  was standard-essential to MPEG-DASH there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’805 patent.

         524.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and confirmed that Vudu had investigated patents identified in the Notice

  Letter. Vudu also alleged that Helios’s identified patents “appear to be assigned to entities other

  than Helios” and that “it is not clear to us that Helios Streaming has any standing to engage in

  these discussions.” Vudu also explicitly stated that “Vudu is not interested in receiving any

  confidential information, and anything you choose to send would be considered

  nonconfidential.”

         525.    Helios responded the next day, on February 28, 2019, stating that “Helios

  Streaming was granted an exclusive license from the current assignee, Ideahub, with rights to

  sublicense the DASH patents.” To support these statements, Helios attached screenshots from

  the publicly available U.S. Patent and Trademark Office website to its email response, and these




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  screenshots showed that all 12 MPEG-DASH patents identified in the Notice Letter, including

  the ’805 patent, were assigned to Ideahub and were exclusively licensed to Helios Streaming.

         526.    Helios also reiterated in its February 28, 2019 email that it required an NDA to

  enter into substantive licensing discussions with Vudu in order to “provide [Vudu] with claim

  charts, licensing terms, and so forth. . . . Without the NDA, we cannot have any meaningful or

  substantive discussions to determine whether a license is appropriate, thereby foreclosing the

  possibility to resolve this matter amicably.” Helios offered times it was available to discuss

  these issues on the phone with Vudu.

         527.    Helios received no response to its February 28, 2019 communication.

         528.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’805 patent. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patents (including the ’805 patent) were standard-essential to MPEG-

  DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided

  evidence of this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to

  provide confidential claim charts demonstrating how Vudu was directly infringing and inducing

  the direct infringement of Helios’s MPEG-DASH patents (including the ’805 patent) and how

  Helios’s patents were standard essential to MPEG-DASH.

         529.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a




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  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents, including the ’805 patent.

         530.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         531.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         532.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         533.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 2, 3, and 4 of the ’805 patent under 35 U.S.C. § 271(b) by, among

  other things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 2, 3, and 4 of the ’805

  patent. Vudu has induced and continues to induce others to infringe at least claims 1, 2, 3, and 4

  of the ’805 patent since at least receiving the Notice Letter on or about August 23, 2018; or, if

  not then, since confirming its receipt of the Notice letter and confirming it was investigating

  Helios’s MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about

  February 19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD

  utilized MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-

  essential to MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter

  and Exhibit 18 thereto, which, in combination with Vudu’s extensive knowledge of and




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  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’805 patent.

         534.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         535.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’805 patent by the customers. (Ex. 18 at 2.) The claimed

  methods of claims 1, 2, 3, and 4 of the ’805 patent are necessarily performed by the customer’s

  terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2), and this

  constitutes direct infringement as set forth in Exhibit 18.

         536.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’805 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




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  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         537.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent specific intent to cause infringement or with willful blindness to the

  resulting infringement because Vudu has had actual knowledge of or should have had actual

  knowledge of the ’805 patent and that its acts were inducing infringement of the ’805 patent

  since at least the time of receiving the Notice Letter on or about August 23, 2018; or, if not then,

  since confirming its receipt of the Notice letter and confirming it was investigating Helios’s

  MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about February

  19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD utilized

  MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-essential to

  MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter and Exhibit

  18 thereto, which, in combination with Vudu’s extensive knowledge of and experience with

  MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and

  users to stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the




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  patents and Vudu’s website and apps, detailed how Vudu directly infringed and induced the

  direct infringement of the asserted claims of the ’805 patent.

         538.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’805 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’805 patent.

         539.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’805 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the ’805 patent as a “U.S. DASH Patent” within its “DASH Patent

  Portfolio” and clearly and consistently identified MPEG-DASH as the standard to which its

  MPEG-DASH patents (including the ’805 patent) pertained since at least approximately August

  23, 2018. Helios explicitly stated that its MPEG-DASH patents were essential to MPEG-DASH

  and provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         540.    Despite the facts set forth in paragraph 539 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’805 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents, but this was

  a deliberate attempt to mislead Helios. When confronted with additional information and

  evidence that its DASH-enabled streaming VOD was infringing Helios’s MPEG-DASH patents,




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  and presented with the opportunity to review more detailed confidential information regarding

  Vudu’s infringement, Vudu stated that “Vudu is not interested in receiving any confidential

  information” and then cut off all further communication to avoid learning of its infringement.

            541.   On information and belief, based on the facts and inferences set forth in

  paragraphs 485-540 above, Vudu’s infringement has been and continues to be willful.

            542.   Plaintiffs have been harmed by Vudu’s infringing activities.

                   COUNT X – INFRINGEMENT OF U.S. PATENT NO. 9,325,558

            543.   The allegations set forth in the foregoing paragraphs 1 through 542 are

  incorporated into this Tenth Claim for Relief.

            544.   On April 26, 2016, the ’558 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’558 patent is attached as Exhibit 19.

            545.   Ideahub is the assignee and owner of the right, title, and interest in and to the ’558

  patent.

            546.   Helios holds the exclusive right to assert all causes of action arising under the

  ’558 patent and the right to collect any remedies for infringement of it.

            547.   Upon information and belief, Vudu has and continues to induce the direct

  infringement of at least claims 1, 2, 3, 4, and 5 of the ’558 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos

  on demand (“VOD”) such as those available at https://www.vudu.com/content/movies/home.

  The preliminary claim chart attached as Exhibit 20 sets forth an exemplary instance of such

  direct infringement.




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         548.     Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media content including one or more periods, the method comprising:

  receiving metadata of the media content from a server, the metadata comprising a

  minBufferTime attribute indicating a minimum amount of initially buffered media content that is

  required to ensure playout of the media content, the minBufferTime attribute being defined in

  segment unit, wherein the metadata is a media presentation description (MPD) that provides

  descriptive information that enables a client to select one or more representations; receiving the

  media content from the server, and buffering the received media content by at least the minimum

  amount; and playing back the media content, wherein the minBufferTime attribute relates to the

  one or more periods, and wherein the minBufferTime attribute relates to providing a minimum

  amount of initially buffered media at a beginning of a media presentation, at a beginning of the

  one or more periods of the media presentation, or at any random access point of the media

  presentation.

         549.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, and 5 of the ’558 patent during

  the pendency of the ’558 patent.

         550.     Since at least approximately August 23, 2018, Vudu has had actual notice that it is

  inducing others to infringe the ’558 patent.

         551.     On or about August 23, 2018, Helios sent Vudu a notice letter addressed to Ms.

  Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and belief, as of

  approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms. Chung had

  authority to discuss Helios’s proposal on Vudu’s behalf.




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         552.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed

  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         553.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         554.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, including the ’558 patent, and as the MPEG-DASH

  standard utilized by Vudu in its streaming VOD offerings.

         555.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.




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          556.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents were essential to Vudu’s use of this technology.

          557.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “DASH Patent

  Portfolio,” a table titled “U.S. DASH Patents,” which explicitly identified the ’558 patent by

  patent number, among 11 other U.S. patents. Five of the twelve “U.S. DASH Patents” identified

  in this table are asserted in this action.

          558.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

          559.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

          560.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the ’558 patent, had knowledge that

  Helios was alleging that the ’558 patent was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the ’558 patent was standard-essential to MPEG-DASH, there was a




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  high likelihood that Vudu’s providing and encouraging its customers to stream DASH-enabled

  VOD, including VOD offered through Vudu’s website and apps, infringed and induced the

  infringement of the ’558 patent.

          561.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents, which

  Helios would share with Vudu if Vudu entered into an NDA.

          562.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio, including the ’558 patent, on allegedly “fair and

  reasonable terms,” consistent with the licensing of standard-essential patents.

         563.    On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          564.   Helios received no reply to its September 11, 2018 email.

          565.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          566.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.




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            567.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further

  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

            568.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patents identified in the Notice Letter (including the ’558

  patent) and whether Vudu’s provision of DASH-enabled streaming VOD via its website and

  apps infringed and induced the infringement of those MPEG-DASH patents, including the ’558

  patent.

            569.   Based on the above facts, to the extent it is not reasonable to draw the inferences

  set forth in paragraphs 555-556 and 559-562 of this First Amended Complaint as of

  approximately August 23, 2018, it is reasonable to draw the inferences set forth in paragraphs

  555-556 and 559-562 of this First Amended Complaint as of at least October 12, 2018.

            570.   Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the ’558 patent.

            571.   On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

            572.   Helios received no reply to its October 15, 2018 email.




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         573.    On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.

         574.    Helios received no reply to its October 31, 2018 email.

         575.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew Helios had further details regarding Vudu’s infringement of the ’558 patent,

  which Helios would share with Vudu if Vudu entered into an NDA.

         576.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu directly infringed and induced the infringement of the ’558 patent. It is also

  reasonable to infer that, by not responding to Vudu’s October 31, 2018 communication and by

  refusing to enter into an NDA with Helios, Vudu was actively avoiding learning additional

  information about its infringement.

         577.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the ’558 patent, pertained.

  Helios also informed Vudu that Helios “confirmed that Vudu utilizes the DASH standard.” In

  support of this point, Helios attached screenshots to the February 19, 2019 email that

  demonstrated with pictorial evidence Vudu’s use of MPEG-DASH in its streaming VOD.

         578.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .




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  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         579.    Based on the above facts, it is reasonable to infer that, as of February 19, 2019,

  Vudu had either been investigating Helios’s MPEG-DASH patents for over four months or had

  affirmatively misled Helios about its investigation of Helios’s MPEG-DASH patents to avoid

  learning the details of how Vudu’s DASH-enabled VOD infringed Helios’s MPEG-DASH

  patents, including the ’558 patent.

         580.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents in its MPEG-DASH patent portfolio (including the ’558 patent) were

  standard-essential to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of

  Helios’s February 19, 2019 email.

         581.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew that if the ’558 patent

  was standard-essential to MPEG-DASH there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’558 patent.

         582.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and confirmed that Vudu had investigated patents identified in the Notice

  Letter. Vudu also alleged that Helios’s identified patents “appear to be assigned to entities other

  than Helios” and that “it is not clear to us that Helios Streaming has any standing to engage in

  these discussions.” Vudu also explicitly stated that “Vudu is not interested in receiving any




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  confidential information, and anything you choose to send would be considered

  nonconfidential.”

         583.    Helios responded the next day, on February 28, 2019, stating that “Helios

  Streaming was granted an exclusive license from the current assignee, Ideahub, with rights to

  sublicense the DASH patents.” To support these statements, Helios attached screenshots from

  the publicly available U.S. Patent and Trademark Office website to its email response, and these

  screenshots showed that all 12 MPEG-DASH patents identified in the Notice Letter, including

  the ’558 patent, were assigned to Ideahub and were exclusively licensed to Helios Streaming.

         584.    Helios also reiterated in its February 28, 2019 email that it required an NDA to

  enter into substantive licensing discussions with Vudu in order to “provide [Vudu] with claim

  charts, licensing terms, and so forth. . . . Without the NDA, we cannot have any meaningful or

  substantive discussions to determine whether a license is appropriate, thereby foreclosing the

  possibility to resolve this matter amicably.” Helios offered times it was available to discuss

  these issues on the phone with Vudu.

         585.    Helios received no response to its February 28, 2019 communication.

         586.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’558 patent. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patents (including the ’558 patent) were standard-essential to MPEG-

  DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided

  evidence of this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to




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  provide confidential claim charts demonstrating how Vudu was directly infringing and inducing

  the direct infringement of Helios’s MPEG-DASH patents (including the ’558 patent) and how

  Helios’s patents were standard essential to MPEG-DASH.

         587.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a

  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents, including the ’558 patent.

         588.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         589.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         590.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         591.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 2, 3, 4, and 5 of the ’558 patent under 35 U.S.C. § 271(b) by, among

  other things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 2, 3, 4, and 5 of the ’558

  patent. Vudu has induced and continues to induce others to infringe at least claims 1, 2, 3, 4, and

  5 of the ’558 patent since at least receiving the Notice Letter on or about August 23, 2018; or, if

  not then, since confirming its receipt of the Notice letter and confirming it was investigating




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  Helios’s MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about

  February 19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD

  utilized MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-

  essential to MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter

  and Exhibit 20 thereto, which, in combination with Vudu’s extensive knowledge of and

  experience with MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners,

  customers, and users to stream its DASH-enabled VOD and the parties’ pre-suit communications

  regarding the patents and Vudu’s website and apps, detailed how Vudu directly infringed and

  induced the direct infringement of the asserted claims of the ’558 patent.

         592.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         593.    For example, Vudu has and continues to knowingly and strategically places one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’558 patent by the customers. (Ex. 20 at 2.) The claimed

  methods of claims 1, 2, 3, 4, and 5 of the ’558 patent are necessarily performed by the

  customer’s terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2),

  and this constitutes direct infringement as set forth in Exhibit 20.

         594.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’558 patent by, in addition to continuing to provide the “Watch”




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  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         595.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent specific intent to cause infringement or with willful blindness to the

  resulting infringement because Vudu has had actual knowledge of or should have had actual

  knowledge of the ’558 patent and that its acts were inducing infringement of the ’558 patent

  since at least the time of receiving the Notice Letter on or about August 23, 2018; or, if not then,

  since confirming its receipt of the Notice letter and confirming it was investigating Helios’s

  MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about February

  19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD utilized

  MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-essential to

  MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter and Exhibit

  20 thereto, which, in combination with Vudu’s extensive knowledge of and experience with




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  MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and

  users to stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the

  patents and Vudu’s website and apps, detailed how Vudu directly infringed and induced the

  direct infringement of the asserted claims of the ’558 patent.

         596.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’558 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’558 patent.

         597.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’558 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the ’558 patent as a “U.S. DASH Patent” within its “DASH Patent

  Portfolio” and clearly and consistently identified MPEG-DASH as the standard to which its

  MPEG-DASH patents (including the ’558 patent) pertained since at least approximately August

  23, 2018. Helios explicitly stated that its MPEG-DASH patents were essential to MPEG-DASH

  and provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         598.    Despite the facts set forth in paragraph 597 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’558 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents, but this was




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  a deliberate attempt to mislead Helios. When confronted with additional information and

  evidence that its DASH-enabled streaming VOD was infringing Helios’s MPEG-DASH patents,

  and presented with the opportunity to review more detailed confidential information regarding

  Vudu’s infringement, Vudu stated that “Vudu is not interested in receiving any confidential

  information” and then cut off all further communication to avoid learning of its infringement.

            599.    On information and belief, based on the facts and inferences set forth in

  paragraphs 543-598 above, Vudu’s infringement has been and continues to be willful.

            600.    Plaintiffs have been harmed by Vudu’s infringing activities.

                   COUNT XI – INFRINGEMENT OF U.S. PATENT NO. 9,467,493

            601.    The allegations set forth in the foregoing paragraphs 1 through 600 are

  incorporated into this Eleventh Claim for Relief.

            602.    On October 11, 2016, the ’493 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’493 patent is attached as Exhibit 21.

            603.    Ideahub is the assignee and owner of the right, title, and interest in and to the ’493

  patent.

            604.    Helios holds the exclusive right to assert all causes of action arising under the

  ’493 patent and the right to collect any remedies for infringement of it.

            605.    Upon information and belief, Vudu has and continues to induce the direct

  infringement of at least claims 1, 2, and 4 of the ’493 patent by selling, offering to sell, making,

  using, and/or providing and causing to be used streaming media content in accordance with the

  MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos on

  demand (“VOD”) such as those available at https://www.vudu.com/content/movies/home.




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  The preliminary claim chart attached as Exhibit 22 sets forth an exemplary instance of such

  direct infringement.

         606.    Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the methods comprising: receiving metadata of media, the

  metadata comprising one or more BaseURL elements; sending a request for a segment of the

  media using a Uniform Resource Locator (URL) of the segment, the URL being resolved with

  respect to a BaseURL element; receiving the segment; and decoding and rendering data of the

  media that is included in the segment, wherein the metadata selectively comprises a sourceURL

  attribute of the segment, and wherein, when the metadata selectively comprises the sourceURL

  attribute of the segment, a BaseURL element among the BaseURL elements is mapped to the

  sourceURL attribute, so that the URL is generated.

         607.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, and 4 of the ’493 patent during the

  pendency of the ’493 patent.

         608.    Since at least approximately August 23, 2018, Vudu has had actual notice that it is

  inducing others to infringe the ’493 patent.

         609.    On or about August 23, 2018, Helios sent Vudu a notice letter addressed to Ms.

  Jamie Elizabeth Chung, General Counsel for Walmart. Upon information and belief, as of

  approximately August 23, 2018, Walmart was the parent company of Vudu, and Ms. Chung had

  authority to discuss Helios’s proposal on Vudu’s behalf.

         610.    On information and belief, Vudu began offering streaming VOD using MPEG-

  DASH more than two years before receiving the Notice Letter. (See, e.g.,

  https://castlabs.com/news/vudu-android-app-castlabs-technology/, Mar. 11, 2016 (last accessed




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  July 15, 2020).) It is therefore reasonable to infer that Vudu had intimate knowledge of MPEG-

  DASH and how Vudu’s streaming VOD complied with MPEG-DASH before receiving the

  Notice Letter. On information and belief, and also reasonably inferred, Vudu was aware that

  there were patents essential to the MPEG-DASH standard, as is common with respect to

  standard-setting organizations and efforts.

         611.    The Notice Letter identified Helios as “the worldwide exclusive licensee of

  patents and patent applications relating to [MPEG-DASH] that were researched and developed

  by [ETRI],” and noted that “ETRI was a key contributor to the development of [MPEG-DASH],

  which later led to its adoption as the first international standard for adaptive streaming

  technology.”

         612.    The Notice Letter specifically identified ISO/IEC 23009-1 as the relevant MPEG-

  DASH standard for the Asserted Patents, including the ’493 patent, and as the MPEG-DASH

  standard utilized by Vudu in its streaming VOD offerings.

         613.    The Notice Letter identified Vudu’s website, “https://www.vudu.com/,” and “apps

  on various types of electronic devices” as reasons Vudu “would benefit from a license under the

  DASH patent portfolio.” Because Vudu’s primary offering to consumers is a streaming service,

  and because its web site and apps are the platforms on which the streaming service is offered, it

  is reasonable to infer that Vudu understood that the act of offering such services not only

  necessitated Vudu’s own infringement, but also infringement by its customers.

         614.    Based on the facts set forth above, it is reasonable to infer that Vudu knew the

  reason Helios suggested Vudu “would benefit from a license under the DASH patent portfolio”

  is that Vudu’s website and apps provided DASH-enabled streaming VOD, and Helios was

  alleging its DASH patents were essential to Vudu’s use of this technology.




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          615.    Helios attached to the Notice Letter a listing of the patents and patent applications

  comprising Helios’s MPEG-DASH portfolio including, under the heading “DASH Patent

  Portfolio,” a table titled “U.S. DASH Patents,” which explicitly identified the ’493 patent by

  patent number, among 11 other U.S. patents. Five of the twelve “U.S. DASH Patents” identified

  in this table are asserted in this action.

          616.    In the Notice Letter, Helios also expressed its willingness to offer Vudu “a non-

  exclusive license of the DASH patent portfolio under fair and reasonable terms.” And, “to

  encourage open and frank discussions and to allow [Helios] to provide further information as to

  the reasons Walmart would benefit under a license of the DASH portfolio,” Helios enclosed a

  non-disclosure agreement (“NDA”) with the Notice Letter.

          617.    It is commonly understood in the technology industry, and reasonable to infer that

  Vudu knew, that a reference to “fair and reasonable terms” relates to so-called FRAND

  commitments commonly made by contributors of patented technology to standards-setting

  organizations. This presents another basis for inferring that Vudu understood that Helios was

  alleging that Vudu’s use of MPEG-DASH technology necessarily infringed Helios’s patents.

          618.    Based on the facts set forth above, it is reasonable to infer that as of

  approximately August 23, 2018, Vudu had knowledge of the ’493 patent, had knowledge that

  Helios was alleging that the ’493 patent was standard-essential for MPEG-DASH, and that Vudu

  subjectively knew that if the ’493 patent was standard-essential to MPEG-DASH, there was a

  high likelihood that Vudu’s providing and encouraging its customers to stream DASH-enabled

  VOD, including VOD offered through Vudu’s website and apps, infringed and induced the

  infringement of the ’493 patent.




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          619.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios had further details regarding Vudu’s

  infringement and regarding the standard essentiality of Helios’s MPEG-DASH patents, which

  Helios would share with Vudu if Vudu entered into an NDA.

          620.   Based on the facts set forth above, it is also reasonable to infer that as of

  approximately August 23, 2018, Vudu knew Helios was willing to offer Vudu a license to

  Helios’s MPEG-DASH patent portfolio, including the ’493 patent, on allegedly “fair and

  reasonable terms,” consistent with the licensing of standard-essential patents.

         621.    On or about September 11, 2018, Helios emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios further offered to discuss the

  Notice Letter and reattached the Notice Letter and NDA for Vudu’s review.

          622.   Helios received no reply to its September 11, 2018 email.

          623.   On or about September 20, 2018, Helios again emailed Vudu and requested

  confirmation of receipt of Helios’s August 23, 2018 letter. Helios again offered to discuss the

  Notice Letter. Helios further inquired as to whether there was a better point of contact than Ms.

  Chung with whom Helios could discuss a potential Vudu license to Helios’s MPEG-DASH

  portfolio.

          624.   On or about October 2, 2018, Mr. Emil Kim of Helios called Ms. Chung and left a

  voicemail message inquiring whether Vudu had received the Notice Letter and the status of

  Vudu’s investigation.

          625.   On or about October 12, 2018, Vudu responded with a one-sentence email

  attaching a letter from Diana Luo, Senior Associate General Counsel of Walmart. Ms. Luo’s

  letter confirmed receipt of the Notice Letter, asked that Helios “[p]lease direct all further




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  communications on this matter to me going forward,” and stated Vudu “will investigate the

  matter and respond in due course.”

            626.   Based on the above facts, it is reasonable to infer that as of at least October 12,

  2018 Vudu was investigating the allegations and information in the Notice Letter, including the

  claims of the U.S. MPEG-DASH patents identified in the Notice Letter (including the ’493

  patent) and whether Vudu’s provision of DASH-enabled streaming VOD via its website and

  apps infringed and induced the infringement of those MPEG-DASH patents, including the ’493

  patent.

            627.   Based on the above facts, to the extent it is not reasonable to draw the inferences

  set forth in paragraphs 613-614 and 617-620 of this First Amended Complaint as of

  approximately August 23, 2018, it is reasonable to draw the inferences set forth in paragraphs

  613-614 and 617-620 of this First Amended Complaint as of at least October 12, 2018.

            628.   Based on Ms. Luo’s October 12, 2018 letter, it is also reasonable to infer that

  Helios had been contacting the correct entity since approximately August 23, 2018 regarding

  Vudu taking a license to Helios’s MPEG-DASH patent portfolio, including the ’493 patent.

            629.   On or about October 15, 2018, Helios responded via email to Vudu’s October 12,

  2018 letter. In its response, Helios again inquired as to the status of the NDA and reiterated that

  Helios would “be able to provide more details on the license” once the NDA was executed.

            630.   Helios received no reply to its October 15, 2018 email.

            631.   On or about October 31, 2018, Helios wrote again to Vudu to inquire about

  Vudu’s investigation. Helios repeated its request that Vudu enter into an NDA with Helios.

  Helios wrote that “[a]s soon as the NDA is in place, [Helios] can provide more details, including

  claim charts” to Vudu regarding Vudu’s alleged infringement.




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         632.    Helios received no reply to its October 31, 2018 email.

         633.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew Helios had further details regarding Vudu’s infringement of the ’493 patent,

  which Helios would share with Vudu if Vudu entered into an NDA.

         634.    Based on the above facts, it is reasonable to infer that at least as of October 31,

  2018 Vudu knew that, if it entered into an NDA with Helios, it would receive claim charts

  detailing how Vudu directly infringed and induced the infringement of the ’493 patent. It is also

  reasonable to infer that, by not responding to Vudu’s October 31, 2018 communication and by

  refusing to enter into an NDA with Helios, Vudu was actively avoiding learning additional

  information about its infringement.

         635.    On or about February 19, 2019, Helios emailed Vudu and reiterated that Helios

  was still waiting for the results of Vudu’s investigation, which Vudu had represented it began

  almost four months prior. Helios again identified ISO/IEC 23009-1 as the MPEG-DASH

  standard to which Helios’s MPEG-DASH patent portfolio, including the ’493 patent, pertained.

  Helios also informed Vudu that Helios “confirmed that Vudu utilizes the DASH standard.” In

  support of this point, Helios attached screenshots to the February 19, 2019 email that

  demonstrated with pictorial evidence Vudu’s use of MPEG-DASH in its streaming VOD.

         636.    In its February 19, 2019 email to Vudu, Helios also repeated its offer to provide

  “detailed claim charts evidencing that the patents in our portfolios are essential to the DASH . . .

  standards, as well as other sensitive information, including our licensing terms, but require an

  NDA (as attached) to be in place first.”

         637.    Based on the above facts, it is reasonable to infer that, as of February 19, 2019,

  Vudu had either been investigating Helios’s MPEG-DASH patents for over four months or had




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  affirmatively misled Helios about its investigation of Helios’s MPEG-DASH patents to avoid

  learning the details of how Vudu’s DASH-enabled VOD infringed Helios’s MPEG-DASH

  patents, including the ’493 patent.

         638.    Based on the above facts, to the extent Vudu did not already know Helios was

  alleging the patents in its MPEG-DASH patent portfolio (including the ’493 patent) were

  standard-essential to MPEG-DASH, it is reasonable to infer Vudu knew this at least as of

  Helios’s February 19, 2019 email.

         639.    Based on the above facts, including Vudu’s extensive experience with MPEG-

  DASH through its provision of DASH-enabled streaming VOD on its website and apps, it is

  reasonable to infer that as of February 19, 2019 Vudu subjectively knew that if the ’493 patent

  was standard-essential to MPEG-DASH there was a high likelihood that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’493 patent.

         640.    On or about February 27, 2019, Vudu responded via email to Helios’s multiple

  communications, and confirmed that Vudu had investigated patents identified in the Notice

  Letter. Vudu also alleged that Helios’s identified patents “appear to be assigned to entities other

  than Helios” and that “it is not clear to us that Helios Streaming has any standing to engage in

  these discussions.” Vudu also explicitly stated that “Vudu is not interested in receiving any

  confidential information, and anything you choose to send would be considered

  nonconfidential.”

         641.    Helios responded the next day, on February 28, 2019, stating that “Helios

  Streaming was granted an exclusive license from the current assignee, Ideahub, with rights to

  sublicense the DASH patents.” To support these statements, Helios attached screenshots from




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  the publicly available U.S. Patent and Trademark Office website to its email response, and these

  screenshots showed that all 12 MPEG-DASH patents identified in the Notice Letter, including

  the ’493 patent, were assigned to Ideahub and were exclusively licensed to Helios Streaming.

         642.    Helios also reiterated in its February 28, 2019 email that it required an NDA to

  enter into substantive licensing discussions with Vudu in order to “provide [Vudu] with claim

  charts, licensing terms, and so forth. . . . Without the NDA, we cannot have any meaningful or

  substantive discussions to determine whether a license is appropriate, thereby foreclosing the

  possibility to resolve this matter amicably.” Helios offered times it was available to discuss

  these issues on the phone with Vudu.

         643.    Helios received no response to its February 28, 2019 communication.

         644.    Based on the above facts, it is reasonable to infer that at least as of February 27,

  2019, Vudu subjectively believed there was a high probability that Vudu’s providing and

  encouraging its customers to stream DASH-enabled VOD, including VOD offered through

  Vudu’s website and apps, infringed and induced the infringement of the ’493 patent. The

  following facts and inferences, in particular, support this inference: (1) Vudu knew Helios was

  alleging its MPEG-DASH patents (including the ’493 patent) were standard-essential to MPEG-

  DASH, (2) Helios had confirmed Vudu’s streaming VOD utilized MPEG-DASH and provided

  evidence of this confirmation to Vudu via screenshots, and (3) Helios had offered repeatedly to

  provide confidential claim charts demonstrating how Vudu was directly infringing and inducing

  the direct infringement of Helios’s MPEG-DASH patents (including the ’493 patent) and how

  Helios’s patents were standard essential to MPEG-DASH.

         645.    Based on the above facts, it is also reasonable to infer at least as of February 27,

  2019 that Vudu’s refusal to honor the confidentiality of Helios’s offered claim charts was a




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  deliberate act calculated to avoid learning the details of Vudu’s infringement of Helios’s MPEG-

  DASH patents, including the ’493 patent.

         646.    On March 6, 2019, Helios emailed Vudu to request that Vudu respond and enter

  into an NDA by March 15, 2019.

         647.    Helios received no response to its March 6, 2019 email and was not otherwise

  contacted by Vudu between February 27, 2019 and Helios’s filing the Original Complaint in this

  lawsuit.

         648.    On information and belief, the Accused Instrumentalities have and continue to be

  used, marketed, provided to, and/or used by or for each of Defendant’s partners, clients,

  customers, and end users across the country and in this District.

         649.    Upon information and belief, Vudu has induced and continues to induce others to

  infringe at least claims 1, 2, and 4 of the ’493 patent under 35 U.S.C. § 271(b) by, among other

  things, and with specific intent or willful blindness, actively aiding and abetting others to

  infringe, including but not limited to Vudu’s partners and customers, whose use of the Accused

  Instrumentalities constitutes direct infringement of at least claims 1, 2, and 4 of the ’493 patent.

  Vudu has induced and continues to induce others to infringe at least claims 1, 2, and 4 of the

  ’493 patent since at least receiving the Notice Letter on or about August 23, 2018; or, if not then,

  since confirming its receipt of the Notice letter and confirming it was investigating Helios’s

  MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about February

  19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD utilized

  MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-essential to

  MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter and Exhibit

  22 thereto, which, in combination with Vudu’s extensive knowledge of and experience with




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  MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and

  users to stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the

  patents and Vudu’s website and apps, detailed how Vudu directly infringed and induced the

  direct infringement of the asserted claims of the ’493 patent.

         650.    In particular, Vudu’s actions that aid and abet others such as their partners and

  customers to infringe include knowingly providing the Accused Instrumentalities with materials

  and/or services that encourage infringing use of the Accused Instrumentalities, including icons,

  instructions, or statements that actively encourage their partners’ or customers’ infringing use of

  the Accused Instrumentalities.

         651.    For example, Vudu has and continues to knowingly and strategically place one-

  click “Watch” or “Watch Free” buttons with its DASH-enabled VOD content to encourage its

  customers to stream Vudu’s DASH-enabled VOD content, knowing that such streaming

  constitutes infringement of the ’493 patent by the customers. (Ex. 22 at 2, 11.) The claimed

  methods of claims 1, 2, and 4 of the ’493 patent are necessarily performed by the customer’s

  terminal upon the customer’s clicking the “Watch” or “Watch Free” buttons (id. at 2, 11), and

  this constitutes direct infringement as set forth in Exhibit 22.

         652.    As a further example, Vudu has and continues to actively and knowingly

  encourage infringement of the ’558 patent by, in addition to continuing to provide the “Watch”

  and “Watch Free” buttons mentioned above, instructing users of Roku streaming devices, smart

  TVs, PC and Mac devices, Chromecast devices, Android devices, iOS devices, Blu-ray players,

  Xbox devices, and Windows 10 devices, among others, to stream Vudu’s DASH-enabled VOD:




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  (https://www.vudu.com/content/movies/aboutus (last accessed July 15, 2020).)

         653.    On information and belief, Vudu has engaged and continues to engage in such

  actions with specific intent specific intent to cause infringement or with willful blindness to the

  resulting infringement because Vudu has had actual knowledge of or should have had actual

  knowledge of the ’493 patent and that its acts were inducing infringement of the ’493 patent

  since at least the time of receiving the Notice Letter on or about August 23, 2018; or, if not then,

  since confirming its receipt of the Notice letter and confirming it was investigating Helios’s

  MPEG-DASH patents on or about October 12, 2018; or, if not then, since on or about February

  19, 2019, when Helios emailed screenshots showing that Vudu’s streaming VOD utilized

  MPEG-DASH and Helios reiterated that its MPEG-DASH patents were standard-essential to

  MPEG-DASH; or, if not then, since receiving the Original Complaint in this matter and Exhibit

  22 thereto, which, in combination with Vudu’s extensive knowledge of and experience with

  MPEG-DASH and Vudu’s knowledge of how it was encouraging its partners, customers, and

  users to stream its DASH-enabled VOD and the parties’ pre-suit communications regarding the




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  patents and Vudu’s website and apps, detailed how Vudu directly infringed and induced the

  direct infringement of the asserted claims of the ’493 patent.

         654.    Alternatively, to the extent Vudu claims it did not have actual knowledge that its

  acts were inducing the infringement of the ’493 patent, Vudu was willfully blind to the fact that

  its acts were inducing the infringement of the ’493 patent.

         655.    Vudu subjectively believed that there was a high probability that the DASH-

  enabled streaming VOD offered through Vudu’s website and apps were infringing or inducing

  the infringement of the ’493 patent. On information and belief, Vudu had been offering DASH-

  enabled streaming VOD since at least 2016, and therefore Vudu had extensive knowledge of the

  MPEG-DASH standard and how its VOD was utilizing MPEG-DASH before being contacted by

  Helios. Helios identified the ’493 patent as a “U.S. DASH Patent” within its “DASH Patent

  Portfolio” and clearly and consistently identified MPEG-DASH as the standard to which its

  MPEG-DASH patents (including the ’493 patent) pertained since at least approximately August

  23, 2018. Helios explicitly stated that its MPEG-DASH patents were essential to MPEG-DASH

  and provided proof that it knew Vudu was utilizing the MPEG-DASH standard in providing

  streaming VOD via its website and apps. And Vudu knew that if a patent was standard-essential

  to MPEG-DASH, that patent was necessarily being infringed by streaming VOD utilizing

  MPEG-DASH.

         656.    Despite the facts set forth in paragraph 655 above, Vudu actively and deliberately

  avoided learning the details of its infringement and/or induced infringement of the ’493 patent.

  Vudu informed Helios that Vudu was investigating Helios’s MPEG-DASH patents, but this was

  a deliberate attempt to mislead Helios. When confronted with additional information and

  evidence that its DASH-enabled streaming VOD was infringing Helios’s MPEG-DASH patents,




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  and presented with the opportunity to review more detailed confidential information regarding

  Vudu’s infringement, Vudu stated that “Vudu is not interested in receiving any confidential

  information” and then cut off all further communication to avoid learning of its infringement.

          657.    On information and belief, based on the facts and inferences set forth in

  paragraphs 601-656 above, Vudu’s infringement has been and continues to be willful.

          658.    Plaintiffs have been harmed by Vudu’s infringing activities.

                       STATEMENT REGARDING FRAND OBLIGATION

          659.    Plaintiffs contend that, pursuant to relevant ISO and IEC guidelines, bylaws, and

  policies, many of the claims of the Asserted Patents are subject to Fair, Reasonable, and Non-

  Discriminatory (“FRAND”) licensing obligations to willing licensees.

          660.    To the extent Vudu refuses to willingly take a license under such claims of the

  Asserted Patents under FRAND terms, Plaintiffs reserve the right to treat Vudu as an unwilling

  licensee, such that Plaintiffs would not be bound by any FRAND licensing obligation for

  purposes of this action or any license to Vudu. Accordingly, Plaintiffs seek the maximum

  available reasonable royalty damages to compensate for Vudu’s infringing activities.

                                          JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by

  jury on all issues triable as such.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment for itself and against Vudu as follows:

          A.      An adjudication that Vudu has infringed each of the Asserted Patents;

          B.      An award of damages to be paid by Vudu adequate to compensate Plaintiffs for

  Vudu’s past infringement of each of the Asserted Patents, and any continuing or future




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  infringement through the date such judgment is entered, including interest, costs, expenses and

  an accounting of all infringing acts including, but not limited to, those acts not presented at trial;

         C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

  Plaintiffs’ reasonable attorneys’ fees; and

         D.      An award to Plaintiffs of such further relief at law or in equity as the Court deems

  just and proper.


   Dated: July 15, 2020                          DEVLIN LAW FIRM LLC

                                                 /s/ Timothy Devlin
                                                 Timothy Devlin (No. 4241)
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                                                 Attorney for Plaintiffs Helios Streaming, LLC,
                                                 and Ideahub, Inc.




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                              EXHIBIT C
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                         IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DELAWARE


  HELIOS STREAMING, LLC, and
  IDEAHUB, INC.,
                                                    Civil Action No. ______________
                        Plaintiffs,

         v.
                                                    JURY TRIAL DEMANDED
  SHOWTIME DIGITAL INC. and
  SHOWTIME NETWORKS INC.

                        Defendants.


                        COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiffs Helios Streaming, LLC (“Helios”), and Ideahub, Inc. (“Ideahub”) (collectively

  “Plaintiffs”), for its Complaint against Defendants Showtime Digital Inc. (“Showtime Digital”)

  and Showtime Networks Inc. (“Showtime Networks”), (referred to collectively herein as

  “Showtime” or “Defendants”), alleges the following:

                                      NATURE OF THE ACTION

         1.      This is an action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. § 1 et seq.

                                          THE PARTIES

         2.      Plaintiff Helios is a limited liability company organized under the laws of the

  State of Delaware with a place of business at 9880 Irvine Center Drive, Suite 200, Irvine,

  California 92618.

         3.      Plaintiff Ideahub is a corporation organized under the laws of the Republic of

  Korea with a place of business at 7 Heolleungro, Seocho-gu, Seoul 06792 Republic of Korea.




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         4.      Upon information and belief, Showtime Digital is a corporation organized under

  the laws of the State of Delaware with a place of business at 1633 Broadway, New York, NY

  10019. Upon information and belief, Showtime Digital sells, offers to sell, and/or uses products

  and services throughout the United States, including in this judicial district, and introduces

  infringing products and services into the stream of commerce knowing that they would be sold

  and/or used in this judicial district and elsewhere in the United States.

         5.      Upon information and belief, Showtime Networks is a corporation organized

  under the laws of the State of Delaware with a place of business at 1633 Broadway, New York,

  NY 10019. Upon information and belief, Showtime Networks sells, offers to sell, and/or uses

  products and services throughout the United States, including in this judicial district, and

  introduces infringing products and services into the stream of commerce knowing that they

  would be sold and/or used in this judicial district and elsewhere in the United States.

                                   JURISDICTION AND VENUE

         6.      This is an action for patent infringement arising under the Patent Laws of the

  United States, Title 35 of the United States Code.

         7.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338(a).

         8.      Venue is proper in this judicial district under 28 U.S.C. § 1400(b).

         9.      This Court has personal jurisdiction over Showtime Digital under the laws of the

  State of Delaware, due at least to its substantial business in Delaware and in this judicial district,

  directly or through intermediaries, including: (i) at least a portion of the infringements alleged

  herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses of

  conduct and/or deriving substantial revenue from goods and services provided to individuals in

  the State of Delaware. Further, this Court has personal jurisdiction and proper authority to



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  exercise venue over Showtime Digital because it is incorporated in Delaware and by doing so

  has purposely availed itself of the privileges and benefits of the laws of the State of Delaware.

         10.     This Court has personal jurisdiction over Showtime Networks under the laws of

  the State of Delaware, due at least to its substantial business in Delaware and in this judicial

  district, directly or through intermediaries, including: (i) at least a portion of the infringements

  alleged herein; and (ii) regularly doing or soliciting business, engaging in other persistent courses

  of conduct and/or deriving substantial revenue from goods and services provided to individuals

  in the State of Delaware. Further, this Court has personal jurisdiction and proper authority to

  exercise venue over Showtime Networks because it is incorporated in Delaware and by doing so

  has purposely availed itself of the privileges and benefits of the laws of the State of Delaware.

                                            BACKGROUND

         11.     This action involves eleven patents, described in detail in the counts below

  (collectively, the “Asserted Patents”).

         12.     U.S. Patent No. 10,027,736 (“the ’736 patent”) claims technologies for providing

  streaming Hypertext Transfer Protocol (“HTTP”) media content using adaptive streaming

  methods that were developed in the early 2010s by inventors Truong Cong Thang, Jin Young

  Lee, Seong Jun Bae, Jung Won Kang, Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae

  Gon Kim.

         13.     U.S. Patent No. 10,270,830 (“the ’830 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang and Jin Young Lee.

         14.     U.S. Patent No. 10,277,660 (“the ’660 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the



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  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         15.    U.S. Patent No. 10,313,414 (“the ’414 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang and Jin Young Lee.

         16.    U.S. Patent No. 10,356,145 (“the ’145 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, and Won Ryu.

         17.    U.S. Patent No. 10,362,130 (“the ’130 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         18.    U.S. Patent No. 10,375,373 (“the ’373 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Jin Young Lee and Nam Ho Hur.

         19.    U.S. Patent No. 8,645,562 (“the ’562 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         20.    U.S. Patent No. 8,909,805 (“the ’805 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the




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  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         21.     U.S. Patent No. 9,325,558 (“the ’558 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         22.     U.S. Patent No. 9,467,493 (“the ’493 patent”) claims technologies for providing

  adaptive HTTP streaming services using metadata of media content that were developed in the

  early 2010s by inventors Truong Cong Thang, Jin Young Lee, Seong Jun Bae, Jung Won Kang,

  Soon Heung Jung, Sang Taick Park, Won Ryu, and Jae Gon Kim.

         23.     The Asserted Patents were mostly invented by researchers of the Electronics and

  Telecommunications Research Institute (“ETRI”), the national leader in Korea in the research

  and development of information technologies. Since its inception in 1976, ETRI has developed

  new technologies in 4M DRAM computer memory, CDMA and 4G LTE cellular phone

  communications, LCD displays, Video Coding, and Media Transport & Delivery, the technology

  at issue in this case. ETRI employs over 1,800 research/technical staff, of whom 94% hold a

  post-graduate degree and 50% have earned a doctoral degree in their technological field. Over

  the last five years, ETRI produced 1,524 SCI papers and has 467 standard experts, applied for a

  total of 16,062 patents, has contributed 7,309 proposals that have been adopted by international

  and domestic standard organizations (ISO, IEC, ITU, 3GPP, JTC, IEEE etc.). Dr. Truong Cong

  Thang and Dr. Jae Gon Kim among the inventors were employees of ETRI and currently

  Professors in the University of Aizu, Japan, and Korea Aerospace University, respectively.




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         24.     The Asserted Patents claim technologies fundamental to Dynamic Adaptive

  Streaming over HTTP (“DASH”), a media-streaming model for delivering media content.

         25.     DASH technology has been standardized in the ISO/IEC 23009 standards, which

  were developed and published by the International Organization for Standardization (“ISO”) and

  the International Electrotechnical Commission (“IEC”).

         26.     The claimed inventions of the Asserted Patents have been incorporated into the

  standard for dynamic adaptive streaming delivery of MPEG media over HTTP, ISO/IEC 23009-

  1:2014, and subsequent versions of this standard (collectively, these standards are referred to

  throughout as “MPEG-DASH”).

         27.     MPEG-DASH technologies, including those of the claimed inventions of the

  Asserted Patents, facilitate high-quality streaming of media content by breaking media content—

  a movie, for example—into smaller parts that are each made available at a variety of bitrates. As

  a user plays back downloaded parts of the media content, the user’s device employs an algorithm

  to select subsequent media parts with the highest possible bitrate that can be downloaded in time

  for playback without causing delays in the user’s viewing and listening experience.

         28.     The MPEG-DASH standard, including the claimed inventions of the Asserted

  Patents, therefore enables high-quality streaming of media content over the internet delivered

  from conventional HTTP web servers, which was not previously possible on a large scale with

  prior art techniques and devices.

         29.     Between approximately June and August of 2018, Plaintiff Ideahub acquired the

  Asserted Patents.

         30.     In or about August of 2018, Plaintiff Helios obtained an exclusive license to the

  Asserted Patents.



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                  COUNT I – INFRINGEMENT OF U.S. PATENT NO. 10,027,736

            31.   The allegations set forth in the foregoing paragraphs 1 through 30 are

  incorporated into this First Claim for Relief.

            32.   On July 17, 2018, the ’736 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Content.” A true and correct copy of the ’736 patent is attached as Exhibit 1.

            33.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’736

  patent.

            34.   Helios holds the exclusive right to assert all causes of action arising under the

  ’736 patent and the right to collect any remedies for infringement of it.

            35.   Upon information and belief, Showtime has and continues to directly infringe at

  least claims 9, 12, 13, 14, 15, and 16, and to induce the direct infringement of at least claims 1, 4,

  5, 6, 7, and 8 of the ’736 patent by selling, offering to sell, making, using, and/or providing and

  causing to be used streaming media content in accordance with the MPEG-DASH standard (the

  “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as those

  available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in the

  preliminary and exemplary claim chart attached as Exhibit 2.

            36.   Upon information and belief, the Accused Instrumentalities perform methods for

  providing media content by a server performed by a processor, the method comprising: receiving

  a request for a segment of the media content using a URL of the segment from a terminal, the

  URL being generated based on the selected BaseURL element; providing the segment to the

  terminal, wherein the terminal selects a BaseURL element from the multiple BaseURL elements

  based on the metadata of the media content, wherein the metadata is Media Presentation

  Description (MPD), wherein the MPD describes one or more periods, wherein the period
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  includes one or more groups, wherein the group includes one or more representation, wherein the

  representation includes one or more segments of the media content, wherein the receiver receives

  identical segments that are accessible at multiple locations indicated by URLs resolved with

  respect to the respective BaseURL elements, and a first BaseURL element among BaseURL

  elements is used as a base Universal Resource Indicator (URI).

          37.     Upon information and belief, the Accused Instrumentalities perform methods for

  receiving media content in a terminal performed by a processor, the method comprising:

  receiving metadata of media content, the metadata comprising an attribute with multiple

  BaseURL elements, selecting a BaseURL element from the multiple BaseURL elements; sending

  a request for a segment of the media content using a URL of the segment to a server, the URL

  being generated based on the selected BaseURL element; receiving the segment from the server,

  wherein the metadata is Media Presentation Description (MPD), wherein the MPD describes one

  or more periods, wherein the period includes one or more groups, wherein the group includes

  one or more representation, wherein the representation includes one or more segments of the

  media content, wherein the receiver receives identical segments that are accessible at multiple

  locations indicated by URLs resolved with respect to the respective BaseURL elements, and a

  first BaseURL element among the BaseURL elements is used as a base Universal Resource

  Indicator (URI).

          38.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 4, 5, 6, 7, 8, 9, 12, 13, 14, 15, and 16

  of the ’736 patent during the pendency of the ’736 patent.

          39.     Since at least approximately August 23, 2018, Showtime has had actual notice

  that it is directly infringing the ’736 patent.



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             40.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             41.    Upon information and belief, since at least approximately August 23, 2018,

  Showtime has induced and continues to induce others to infringe at least claims 1, 4, 5, 6, 7, and

  8 of the ’736 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or

  willful blindness, actively aiding and abetting others to infringe, including but not limited to

  Showtime’s partners and customers, whose use of the Accused Instrumentalities constitutes

  direct infringement of at least claims 1, 4, 5, 6, 7, and 8 of the ’736 patent.

             42.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’736

  patent and that its acts were inducing infringement of the ’736 patent since at least approximately

  August 23, 2018.

             43.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             44.    Plaintiffs have been harmed by Showtime’s infringing activities.

                   COUNT II – INFRINGEMENT OF U.S. PATENT NO. 10,270,830

             45.    The allegations set forth in the foregoing paragraphs 1 through 44 are

  incorporated into this Second Claim for Relief.

             46.    On April 23, 2019, the ’830 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing
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  Streaming Content Using Representations.” A true and correct copy of the ’830 patent is

  attached as Exhibit 3.

            47.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’830

  patent.

            48.   Helios holds the exclusive right to assert all causes of action arising under the

  ’830 patent and the right to collect any remedies for infringement of it.

            49.   Upon information and belief, Showtime has and continues to directly infringe at

  least claims 8, 11, 12, and 13, and to induce the direct infringement of at least claims 1, 3, 5, 6,

  15, 18, 19, and 21 of the ’830 patent by selling, offering to sell, making, using, and/or providing

  and causing to be used streaming media content in accordance with the MPEG-DASH standard

  (the “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as

  those available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in the

  preliminary and exemplary claim chart attached as Exhibit 4.

            50.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: transmitting a

  Media Presentation Description (MPD) of a media content to a client; receiving a request, from

  the client, for a segment of the media content; transmitting the media content to the client,

  wherein the MPD includes one or more periods, wherein each of the periods includes one or

  more adaptation sets, wherein each of the adaptation sets includes one or more representations,

  wherein each of the representations includes one or more segments, wherein the MPD includes

  one or more attributes or elements that are common to each of the periods, each of the adaptation

  sets, each of the representations, and each of the segments, wherein the period includes one or

  more attributes or elements that are common to each of the adaptation sets, each of the



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  representations, and each of the segments for that period, wherein the adaptation set includes one

  or more attributes or elements that are common to each of the representations and each of the

  segments for that adaptation set, and wherein the representation includes one or more attributes

  or elements that are common to each of the segments for that representation.

         51.     Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a DASH (Dynamic Adaptive Streaming over HTTP)

  client, the method comprising: receiving a Media Presentation Description (MPD) of a media

  content; and accessing segments of the media content based on information provided by the

  MPD, wherein the MPD includes one or more periods, wherein each of the periods includes one

  or more adaptation sets, wherein each of the adaptation sets includes one or more

  representations, wherein each of the representations includes one or more segments, wherein the

  MPD includes one or more attributes or elements that are common to each of the periods, each of

  the adaptation sets, each of the representations, and each of the segments, wherein the period

  includes one or more attributes or elements that are common to each of the adaptation sets, each

  of the representations, and each of the segments for that period, wherein the adaptation set

  includes one or more attributes or elements that are common to each of the representations and

  each of the segments for that adaptation set, and wherein the representation includes one or more

  attributes or elements that are common to each of the segments for that representation.

         52.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 3, 5, 6, 8, 11, 12, 13, 15, 18, 19, and

  21 of the ’830 patent during the pendency of the ’830 patent.

         53.     Since at least April 4, 2019, Showtime has had actual notice that it is directly

  infringing the ’830 patent.



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             54.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             55.    Upon information and belief, since at least April 4, 2019, Showtime has induced

  and continues to induce others to infringe at least claims 1, 3, 5, 6, 15, 18, 19, and 21 of the ’830

  patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

  blindness, actively aiding and abetting others to infringe, including but not limited to Showtime’s

  partners and customers, whose use of the Accused Instrumentalities constitutes direct

  infringement of at least claims 1, 3, 5, 6, 15, 18, 19, and 21 of the ’830 patent.

             56.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’830

  patent and that its acts were inducing infringement of the ’830 patent since at least April 4, 2019.

             57.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             58.    Plaintiffs have been harmed by Showtime’s infringing activities.

                   COUNT III – INFRINGEMENT OF U.S. PATENT NO. 10,277,660

             59.    The allegations set forth in the foregoing paragraphs 1 through 58 are

  incorporated into this Third Claim for Relief.

             60.    On April 30, 2019, the ’660 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’660 patent is attached as Exhibit 5.
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            61.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’660

  patent.

            62.   Helios holds the exclusive right to assert all causes of action arising under the

  ’660 patent and the right to collect any remedies for infringement of it.

            63.   Upon information and belief, Showtime has and continues to directly infringe at

  least claims 1, 2, 3, 4, 8, 10, 20, and 21, and to induce the direct infringement of at least claims

  11, 12, 13, 14, and 18 of the ’660 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content in accordance with the MPEG-DASH

  standard (the “Accused Instrumentalities”), including one or more videos on demand (“VOD”)

  such as those available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in

  the preliminary and exemplary claim chart attached as Exhibit 6.

            64.   Upon information and belief, the Accused Instrumentalities perform methods for

  providing a media content performed by a server or multiple servers, comprising: receiving, from

  a client, a Uniform Resource Locator (URL) request for a segment of the media content based on

  metadata of the media content, wherein the metadata comprises multiple BaseURL elements and

  wherein identical segments are accessible at locations indicated by URLs resolved with respect

  to the multiple BaseURL elements; and sending the requested segment of the media content to

  the client, wherein the URL of the requested segment is generated based on a selected BaseURL

  element among the multiple BaseURL elements.

            65.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing a media content performed by a client, comprising: transmitting, to a server, a request

  for a segment of the media content based on a metadata, wherein the metadata comprises

  multiple BaseURL elements and wherein identical segments are accessible at locations indicated



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  by URLs resolved with respect to the multiple BaseURL elements; and receiving the requested

  segment of the media content from the server, wherein the URL of the requested segment is

  generated based on a selected BaseURL element among the multiple BaseURL elements.

          66.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, 8, 10, 11, 12, 13, 14, 18, 20,

  and 21 of the ’660 patent during the pendency of the ’660 patent.

          67.     Since at least April 4, 2019 Showtime has had actual notice that it is directly

  infringing the ’660 patent.

          68.     On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

          69.     Upon information and belief, since at least April 4, 2019, Showtime has induced

  and continues to induce others to infringe at least claims 11, 12, 13, 14, and 18 of the ’660 patent

  under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness,

  actively aiding and abetting others to infringe, including but not limited to Showtime’s partners

  and customers, whose use of the Accused Instrumentalities constitutes direct infringement of at

  least claims 11, 12, 13, 14, and 18 of the ’660 patent.

          70.     In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’660

  patent and that its acts were inducing infringement of the ’660 patent since at least April 4, 2019.



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             71.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             72.    Plaintiffs have been harmed by Showtime’s infringing activities.

                   COUNT IV – INFRINGEMENT OF U.S. PATENT NO. 10,313,414

             73.    The allegations set forth in the foregoing paragraphs 1 through 72 are

  incorporated into this Fourth Claim for Relief.

             74.    On June 4, 2019, the ’414 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Content Using Representations.” A true and correct copy of the ’414 patent is attached as

  Exhibit 7.

             75.    Ideahub is the assignee and owner of all right, title, and interest in and to the ’414

  patent.

             76.    Helios holds the exclusive right to assert all causes of action arising under the

  ’414 patent and the right to collect any remedies for infringement of it.

             77.    Upon information and belief, Showtime has and continues to directly infringe at

  least claims 11, 14, 15, 16, and 17 and to induce the direct infringement of at least claims 1, 4, 5,

  6, and 7 of the ’414 patent by selling, offering to sell, making, using, and/or providing and

  causing to be used streaming media content in accordance with the MPEG-DASH standard (the

  “Accused Instrumentalities”), including one or more videos on demand (“VOD”) such as those

  available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in the

  preliminary and exemplary claim chart attached as Exhibit 8.

             78.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: transmitting a

  Media Presentation Description (MPD) of a media content to a client; receiving a request, from
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  the client, for a segment of the media content; transmitting the media content to the client,

  wherein the MPD includes one or more periods, wherein each of the periods includes one or

  more adaptation sets, wherein each of the adaptation sets includes one or more representations,

  wherein each of the representations includes one or more segments, wherein the MPD, the

  period, the adaptation set, the representation or the segments includes one or more attributes or

  elements, and, wherein the adaptation set includes one or more attributes or elements that are

  common to each of the representations for that adaptation set.

         79.     Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a DASH (Dynamic Adaptive Streaming over HTTP)

  client, the method comprising: receiving a Media Presentation Description (MPD) of a media

  content; and accessing segments of the media content based on information provided by the

  MPD, wherein the MPD includes one or more periods, wherein each of the periods includes one

  or more adaptation sets, wherein each of the adaptation sets includes one or more

  representations, wherein each of the representations includes one or more segments, wherein the

  MPD, the period, the adaptation set, the representation, or the segments includes one or more

  attributes or elements, and wherein the adaptation set includes one or more attributes or elements

  that are common to each of the representations for that adaptation set.

         80.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 4, 5, 6, 7, 11, 14, 15, 16, and 17 of the

  ’414 patent during the pendency of the ’414 patent.

         81.     Since at least April 4, 2019, Showtime has had actual notice that it is directly

  infringing the ’414 patent.




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             82.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             83.    Upon information and belief, since at least April 4, 2019, Showtime has induced

  and continues to induce others to infringe at least claims 1, 4, 5, 6, and 7 of the ’414 patent under

  35 U.S.C. § 271(b) by, among other things, and with specific intent or willful blindness, actively

  aiding and abetting others to infringe, including but not limited to Showtime’s partners and

  customers, whose use of the Accused Instrumentalities constitutes direct infringement of at least

  claims 1, 4, 5, 6, and 7 of the ’414 patent.

             84.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’414

  patent and that its acts were inducing infringement of the ’414 patent since at least April 4, 2019.

             85.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             86.    Plaintiffs have been harmed by Showtime’s infringing activities.

                   COUNT V – INFRINGEMENT OF U.S. PATENT NO. 10,356,145

             87.    The allegations set forth in the foregoing paragraphs 1 through 86 are

  incorporated into this Fifth Claim for Relief.

             88.    On July 16, 2019, the ’145 Patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Method and Device for Providing Streaming

  Content.” A true and correct copy of the ’145 patent is attached as Exhibit 9.
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            89.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’145

  patent.

            90.   Helios holds the exclusive right to assert all causes of action arising under the

  ’145 patent and the right to collect any remedies for infringement of it.

            91.   Upon information and belief, Showtime has and continues to directly infringe at

  least claims 1, 2, 11, 13, 14, 15, and 16, and to induce the direct infringement of at least claims 3,

  4, 5, 7, 8, 9, 10, and 17 of the ’145 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content (the “Accused Instrumentalities”),

  including one or more videos on demand (“VOD”) such as those available at

  https://www.showtime.com/#/movies/allmovies, as set forth in detail in the preliminary and

  exemplary claim chart attached as Exhibit 10.

            92.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a server or multiple servers, comprising: receiving a

  request for the media content from a client based on a media presentation description (MPD)

  with respect to the media content; and providing a segment of media content through streaming

  to the client in response to the request, wherein the MPD includes one or more periods, wherein

  the period includes one or more groups, wherein the group includes one or more representations,

  wherein the representation includes one or more segments, wherein the group includes one or

  more group elements for each of the groups, and wherein a group element provides a summary

  of values of all representations with a group.

            93.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a client, the method comprising: transmitting a request for

  the media content to a server based on a media presentation description (MPD) with respect to



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  the media content; and receiving a segment of media content through streaming from the server

  in response to the request, wherein the MPD includes one or more periods, wherein the period

  includes one or more groups, wherein the group includes one or more representations, wherein

  the representation includes one or more segments, wherein the group includes one or more group

  elements for each of the groups, and wherein a group element provides a summary of values of

  all representations within a group.

          94.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, 5, 7, 8, 9, 10, 11, 13, 14, 15,

  16, and 17 of the ’145 patent during the pendency of the ’145 patent.

          95.     Since at least June 17, 2019, Showtime has had actual notice that it is directly

  infringing the ’145 patent.

          96.     On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

          97.     Upon information and belief, since at least June 17, 2019, Showtime has induced

  and continues to induce others to infringe at least claims 3, 4, 5, 7, 8, 9, 10, and 17 of the ’145

  patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

  blindness, actively aiding and abetting others to infringe, including but not limited to Showtime’s

  partners and customers, whose use of the Accused Instrumentalities constitutes direct

  infringement of at least claims 3, 4, 5, 7, 8, 9, 10, and 17 of the ’145 patent.

          98.     In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,



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  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’145

  patent and that its acts were inducing infringement of the ’145 patent since at least June 17,

  2019.

             99.     On information and belief, Showtime’s infringement has been and continues to be

  willful.

             100.    Plaintiffs have been harmed by Showtime’s infringing activities.

                    COUNT VI – INFRINGEMENT OF U.S. PATENT NO. 10,362,130

             101.    The allegations set forth in the foregoing paragraphs 1 through 100 are

  incorporated into this Sixth Claim for Relief.

             102.    On July 23, 2019, the ’130 patent was duly and legally issued by the United States

  Patent and Trademark Office under the title “Apparatus and Method for Providing Streaming

  Contents.” A true and correct copy of the ’130 patent is attached as Exhibit 11.

             103.    Ideahub is the assignee and owner of all right, title, and interest in and to the ’130

  patent.

             104.    Helios holds the exclusive right to assert all causes of action arising under the

  ’130 patent and the right to collect any remedies for infringement of it.

             105.    Upon information and belief, Showtime has and continues to directly infringe at

  least claims 1, 2, 4, and 5 of the ’130 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content in accordance with the MPEG-DASH

  standard (the “Accused Instrumentalities”), including one or more videos on demand (“VOD”)

  such as those available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in

  the preliminary and exemplary claim chart attached as Exhibit 12.



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             106.   Upon information and belief, the Accused Instrumentalities perform methods of

  providing media content performed by a processor in a server, the method comprising: receiving

  a request for the media content from a client; transmitting the media to the client based on a

  Media Presentation Description (MPD) of the media content, wherein the MPD comprises one or

  more periods, wherein the period comprises one or more groups, wherein the group comprises

  one or more representations, wherein the representation comprises one or more segments,

  wherein the representation includes a bandwidth attribute related to bandwidth for a hypothetical

  constant bitrate channel in bits per second (bps), wherein the client is assured of having enough

  data continuously playout after buffering for minbuffertime, when the representation is delivered

  to the client, wherein the segment includes sub-segments indexed by segment index, wherein the

  MPD includes at least one of (i) frame rate, or (ii) timescale describing the number of time units

  in one second.

             107.   On information and belief, the Accused Instrumentalities have infringed and

  continue to directly infringe at least claims 1, 2, 4, and 5 of the ’130 patent during the pendency

  of the ’130 patent.

             108.   Since at least April 4, 2019, Showtime has had actual notice that it is directly

  infringing the ’130 patent.

             109.   On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             110.   On information and belief, Showtime’s infringement has been and continues to be

  willful.

             111.   Plaintiffs have been harmed by Showtime’s infringing activities.



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                   COUNT VII – INFRINGEMENT OF U.S. PATENT NO. 10,375,373

            112.    The allegations set forth in the foregoing paragraphs 1 through 111 are

  incorporated into this Seventh Claim for Relief.

            113.    On August 6, 2019, the ’373 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Method and Apparatus for Encoding Three-

  Dimensional (3D) Content.” A true and correct copy of the ’373 patent is attached as Exhibit 13.

            114.    Ideahub is the assignee and owner of all right, title, and interest in and to the ’373

  patent.

            115.    Helios holds the exclusive right to assert all causes of action arising under the

  ’373 patent and the right to collect any remedies for infringement of it.

            116.    Upon information and belief, Showtime has and continues to directly infringe at

  least claims 1, 2, 3, 4, 5, 6, 7, 8, and 9, and to induce the direct infringement of at least claims

  17, 18, 19, 21, 22, 23, and 24 of the ’373 patent by selling, offering to sell, making, using, and/or

  providing and causing to be used streaming media content in accordance with the MPEG-DASH

  standard (the “Accused Instrumentalities”), including one or more videos on demand (“VOD”)

  such as those available at https://www.showtime.com/#/movies/allmovies, as set forth in detail in

  the preliminary and exemplary claim chart attached as Exhibit 14.

            117.    Upon information and belief, the Accused Instrumentalities perform methods for

  providing media content performed by a server or multiple servers, the method comprising:

  receiving a request, from a client, for a segment of a media content based on metadata of the

  media content, wherein the metadata is a Media Presentation Description (MPD), and wherein

  the MPD is a description of a media presentation related to the media content; and providing the

  media content based on the request, wherein the MPD includes at least one period, wherein each

  period includes at least one adaptation set comprising a media content component, wherein each
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  adaptation set includes at least one representation, wherein each representation includes at least

  one segment, and wherein the MPD provides information that enables the client to switch from

  one representation to another representation to adapt to a network condition.

          118.    Upon information and belief, the Accused Instrumentalities perform methods of

  providing adaptive streaming services performed by a client, the methods comprising:

  transmitting a request, to a server or multiple servers, for a segment of a media content based on

  metadata of the media content, wherein the metadata is a Media Presentation Description (MPD),

  and wherein the MPD is a description of a media presentation related to the media content; and

  receiving the media content, based on the request, from the server or multiple servers, wherein

  the MPD includes at least one period, wherein each period includes at least one adaptation set

  comprising a media content component, wherein each adaptation set includes at least one

  representation, wherein each representation includes at least one segment, and wherein the MPD

  provides information that enables the client to switch from one representation to another

  representation to adapt to a network condition.

          119.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 17, 18, 19, 21, 22,

  23, and 24 of the ’373 patent during the pendency of the ’373 patent.

          120.    Since at least April 4, 2019, Showtime has had actual notice that it is directly

  infringing the ’373 patent.

          121.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.




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             122.    Upon information and belief, since at least April 4, 2019, Showtime has induced

  and continues to induce others to infringe at least claims 17, 18, 19, 21, 22, 23, and 24 of the

  ’373 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

  blindness, actively aiding and abetting others to infringe, including but not limited to Showtime’s

  partners and customers, whose use of the Accused Instrumentalities constitutes direct

  infringement of at least claims 17, 18, 19, 21, 22, 23, and 24 of the ’373 patent.

             123.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’373

  patent and that its acts were inducing infringement of the ’373 patent since at least April 4, 2019.

             124.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             125.    Plaintiffs have been harmed by Showtime’s infringing activities.

                    COUNT VIII – INFRINGEMENT OF U.S. PATENT NO. 8,645,562

             126.    The allegations set forth in the foregoing paragraphs 1 through 125 are

  incorporated into this Eighth Claim for Relief.

             127.    On February 4, 2014, the ’562 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’373 patent is attached as Exhibit 15.

             128.    Ideahub is the assignee and owner of all right, title, and interest in and to the ’562

  patent.



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          129.    Helios holds the exclusive right to assert all causes of action arising under the

  ’562 patent and the right to collect any remedies for infringement of it.

          130.    Upon information and belief, Showtime has and continues to induce the direct

  infringement of at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos

  on demand (“VOD”) such as those available at https://www.showtime.com/#/movies/allmovies.

  The preliminary claim chart attached as Exhibit 16 sets forth an exemplary instance of such

  direct infringement.

          131.    Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the method comprising: receiving metadata of media, the metadata

  comprising one or more BaseURL elements; sending a request for a segment of the media using

  a Uniform Resource Locator (URL) of the segment, the URL being resolved with respect to a

  BaseURL element; receiving the segment; and decoding and rendering data of the media that is

  included in the segment, wherein the request is sent using an HTTP GET method, the BaseURL

  element specifies one or more common locations for segments, and the segment is one of the

  segments.

          132.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent

  during the pendency of the ’562 patent.

          133.    Since at least approximately August 23, 2018, Showtime has had actual notice

  that it is inducing the direct infringement of the ’562 patent.




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             134.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             135.    Upon information and belief, since at least approximately August 23, 2018,

  Showtime has induced and continues to induce others to infringe at least claims 1, 2, 4, 5, 7, and

  8 of the ’562 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or

  willful blindness, actively aiding and abetting others to infringe, including but not limited to

  Showtime’s partners and customers, whose use of the Accused Instrumentalities constitutes

  direct infringement of at least claims 1, 2, 4, 5, 7, and 8 of the ’562 patent.

             136.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’562

  patent and that its acts were inducing infringement of the ’562 patent since at least approximately

  August 23, 2018.

             137.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             138.    Plaintiffs have been harmed by Showtime’s infringing activities.

                    COUNT IX – INFRINGEMENT OF U.S. PATENT NO. 8,909,805

             139.    The allegations set forth in the foregoing paragraphs 1 through 138 are

  incorporated into this Ninth Claim for Relief.




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            140.   On December 9, 2014, the ’805 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’805 patent is attached as Exhibit 17.

            141.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’805

  patent.

            142.   Helios holds the exclusive right to assert all causes of action arising under the

  ’805 patent and the right to collect any remedies for infringement of it.

            143.   Upon information and belief, Showtime has and continues to induce the direct

  infringement of at least claims 1, 2, 3, and 4 of the ’805 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos

  on demand (“VOD”) such as those available at https://www.showtime.com/#/movies/allmovies.

  The preliminary claim chart attached as Exhibit 18 sets forth an exemplary instance of such

  direct infringement.

            144.   Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the method comprising: receiving metadata of media, the metadata

  comprising one or more periods; processing the received metadata and extracting information

  included in the metadata, wherein the metadata includes a range attribute; requesting a segment

  suitable for a specific interval based on a request for bytes of a resource indicated by a URL that

  are designated by the range attribute; accessing segments of the media based on information

  provided by the metadata; decoding and rendering data of the media that is included in the

  segments; wherein each of the periods comprises one or more representations of the media,

  wherein each of the representations starts from a beginning point of a period including each of



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  the representation and continues to an ending point of the period, and comprises one or more

  segments; and wherein determining the start of a first period among one or more period

  comprises: when a start attribute exists in the first period element of the first period, a start time

  of the first period is equivalent to a value of the start attribute, when a start attribute does not

  exist in the first period element of the first period, and when a second period element of the

  second period includes a duration attribute, the start time of the first period is obtained by adding

  a value of the duration attribute of the second period element to a start time of the second period,

  and when a start attribute does not exist in the first period element of the first period, and when

  the first period is the first of the one or more periods, the start time of the first period is zero.

          145.    On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, and 4 of the ’805 patent during

  the pendency of the ’805 patent.

          146.    Since at least approximately August 23, 2018, Showtime has had actual notice

  that it is inducing the direct infringement of the ’805 patent.

          147.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

          148.    Upon information and belief, since at least approximately August 23, 2018,

  Showtime has induced and continues to induce others to infringe at least claims 1, 2, 3, and 4 of

  the ’805 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or

  willful blindness, actively aiding and abetting others to infringe, including but not limited to

  Showtime’s partners and customers, whose use of the Accused Instrumentalities constitutes

  direct infringement of at least claims 1, 2, 3, and 4 of the ’805 patent.



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             149.   In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’805

  patent and that its acts were inducing infringement of the ’805 patent since at least approximately

  August 23, 2018.

             150.   On information and belief, Showtime’s infringement has been and continues to be

  willful.

             151.   Plaintiffs have been harmed by Showtime’s infringing activities.

                    COUNT X – INFRINGEMENT OF U.S. PATENT NO. 9,325,558

             152.   The allegations set forth in the foregoing paragraphs 1 through 151 are

  incorporated into this Tenth Claim for Relief.

             153.   On April 26, 2016, the ’558 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Contents.” A true and correct copy of the ’558 patent is attached as Exhibit 19.

             154.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’558

  patent.

             155.   Helios holds the exclusive right to assert all causes of action arising under the

  ’558 patent and the right to collect any remedies for infringement of it.

             156.   Upon information and belief, Showtime has and continues to induce the direct

  infringement of at least claims 1, 2, 3, 4, and 5 of the ’558 patent by selling, offering to sell,

  making, using, and/or providing and causing to be used streaming media content in accordance

  with the MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos
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  on demand (“VOD”) such as those available at https://www.showtime.com/#/movies/allmovies.

  The preliminary claim chart attached as Exhibit 20 sets forth an exemplary instance of such

  direct infringement.

         157.     Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media content including one or more periods, the method comprising:

  receiving metadata of the media content from a server, the metadata comprising a

  minBufferTime attribute indicating a minimum amount of initially buffered media content that is

  required to ensure playout of the media content, the minBufferTime attribute being defined in

  segment unit, wherein the metadata is a media presentation description (MPD) that provides

  descriptive information that enables a client to select one or more representations; receiving the

  media content from the server, and buffering the received media content by at least the minimum

  amount; and playing back the media content, wherein the minBufferTime attribute relates to the

  one or more periods, and wherein the minBufferTime attribute relates to providing a minimum

  amount of initially buffered media at a beginning of a media presentation, at a beginning of the

  one or more periods of the media presentation, or at any random access point of the media

  presentation.

         158.     On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, 3, 4, and 5 of the ’558 patent during

  the pendency of the ’558 patent.

         159.     Since at least approximately August 23, 2018, Showtime has had actual notice

  that it is inducing the direct infringement of the ’558 patent.




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             160.    On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             161.    Upon information and belief, since at least approximately August 23, 2018,

  Showtime has induced and continues to induce others to infringe at least claims 1, 2, 3, 4, and 5

  of the ’558 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or

  willful blindness, actively aiding and abetting others to infringe, including but not limited to

  Showtime’s partners and customers, whose use of the Accused Instrumentalities constitutes

  direct infringement of at least claims 1, 2, 3, 4, and 5 of the ’558 patent.

             162.    In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’558

  patent and that its acts were inducing infringement of the ’558 patent since at least approximately

  August 23, 2018.

             163.    On information and belief, Showtime’s infringement has been and continues to be

  willful.

             164.    Plaintiffs have been harmed by Showtime’s infringing activities.

                    COUNT XI – INFRINGEMENT OF U.S. PATENT NO. 9,467,493

             165.    The allegations set forth in the foregoing paragraphs 1 through 164 are

  incorporated into this Eleventh Claim for Relief.




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            166.   On October 11, 2016, the ’493 patent was duly and legally issued by the United

  States Patent and Trademark Office under the title “Apparatus and Method for Providing

  Streaming Content.” A true and correct copy of the ’493 patent is attached as Exhibit 21.

            167.   Ideahub is the assignee and owner of all right, title, and interest in and to the ’493

  patent.

            168.   Helios holds the exclusive right to assert all causes of action arising under the

  ’493 patent and the right to collect any remedies for infringement of it.

            169.   Upon information and belief, Showtime has and continues to induce the direct

  infringement of at least claims 1, 2, and 4 of the ’493 patent by selling, offering to sell, making,

  using, and/or providing and causing to be used streaming media content in accordance with the

  MPEG-DASH standard (the “Accused Instrumentalities”), including one or more videos on

  demand (“VOD”) such as those available at https://www.showtime.com/#/movies/allmovies.

  The preliminary claim chart attached as Exhibit V sets forth an exemplary instance of such direct

  infringement.

            170.   Upon information and belief, the Accused Instrumentalities are used to perform

  methods for providing media, the methods comprising: receiving metadata of media, the

  metadata comprising one or more BaseURL elements; sending a request for a segment of the

  media using a Uniform Resource Locator (URL) of the segment, the URL being resolved with

  respect to a BaseURL element; receiving the segment; and decoding and rendering data of the

  media that is included in the segment, wherein the metadata selectively comprises a sourceURL

  attribute of the segment, and wherein, when the metadata selectively comprises the sourceURL

  attribute of the segment, a BaseURL element among the BaseURL elements is mapped to the

  sourceURL attribute, so that the URL is generated.



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             171.   On information and belief, the Accused Instrumentalities have been used to

  infringe and continue to directly infringe at least claims 1, 2, and 4 of the ’493 patent during the

  pendency of the ’493 patent.

             172.   Since at least approximately August 23, 2018, Showtime has had actual notice

  that it is inducing the direct infringement of the ’493 patent.

             173.   On information and belief, the Accused Instrumentalities are used, marketed,

  provided to, and/or used by or for each of Defendants’ partners, clients, customers, and end users

  across the country and in this District.

             174.   Upon information and belief, since at least approximately August 23, 2018,

  Showtime has induced and continues to induce others to infringe at least claims 1, 2, and 4 of the

  ’493 patent under 35 U.S.C. § 271(b) by, among other things, and with specific intent or willful

  blindness, actively aiding and abetting others to infringe, including but not limited to Showtime’s

  partners and customers, whose use of the Accused Instrumentalities constitutes direct

  infringement of at least claims 1, 2, and 4 of the ’493 patent.

             175.   In particular, Showtime’s actions that aid and abet others such as their partners

  and customers to infringe include distributing the Accused Instrumentalities and providing

  materials and/or services related to the Accused Instrumentalities. On information and belief,

  Showtime has engaged in such actions with specific intent to cause infringement or with willful

  blindness to the resulting infringement because Showtime has had actual knowledge of the ’493

  patent and that its acts were inducing infringement of the ’493 patent since at least approximately

  August 23, 2018.

             176.   On information and belief, Showtime’s infringement has been and continues to be

  willful.



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          177.    Plaintiffs have been harmed by Showtime’s infringing activities.

                       STATEMENT REGARDING FRAND OBLIGATION

          178.    Plaintiffs contend that, pursuant to relevant ISO and IEC guidelines, bylaws, and

  policies, many of the claims of the Asserted Patents are subject to Fair, Reasonable, and Non-

  Discriminatory (“FRAND”) licensing obligations to willing licensees.

          179.    To the extent Showtime refuses to willingly take a license under such claims of

  the Asserted Patents under FRAND terms, Plaintiffs reserve the right to treat Showtime as an

  unwilling licensee, such that Plaintiffs would not be bound by any FRAND licensing obligation

  for purposes of this action or any license to Showtime. Accordingly, Plaintiffs seek the

  maximum available reasonable royalty damages to compensate for Showtime’s infringing

  activities.

                                           JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a trial by

  jury on all issues triable as such.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiffs demand judgment for itself and against Showtime as follows:

          A.      An adjudication that Showtime has infringed each of the Asserted Patents;

          B.      An award of damages to be paid by Showtime adequate to compensate Plaintiffs

  for Showtime’s past infringement of each of the Asserted Patents, and any continuing or future

  infringement through the date such judgment is entered, including interest, costs, expenses and

  an accounting of all infringing acts including, but not limited to, those acts not presented at trial;

          C.      A declaration that this case is exceptional under 35 U.S.C. § 285, and an award of

  Plaintiffs’ reasonable attorneys’ fees; and



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         D.      An award to Plaintiffs of such further relief at law or in equity as the Court deems

  just and proper.


   Dated: October 17, 2019                     DEVLIN LAW FIRM LLC


                                               /s/ Timothy Devlin
                                               Timothy Devlin (No. 4241)
                                               1526 Gilpin Avenue
                                               Wilmington, Delaware 19806
                                               Telephone: (302) 449-9010
                                               Facsimile: (302) 353-4251
                                               tdevlin@devlinlawfirm.com

                                               Attorney for Plaintiffs Helios Streaming, LLC,
                                               and Ideahub, Inc.




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                              EXHIBIT D
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  HELIOS STREAMING, LLC, and
  IDEAHUB, INC.,

                   Plaintiffs,

       v.                                       C.A. No. 1:19-cv-01792-CFC/SRF

  VUDU, INC.,                                   JURY TRIAL DEMANDED

                   Defendant.


  HELIOS STREAMING, LLC, and
  IDEAHUB, INC.,

                   Plaintiffs,
                                                C.A. No. 1:19-cv-01818-CFC/SRF
       v.
                                                JURY TRIAL DEMANDED
  CRACKLE, INC., CRACKLE PLUS, LLC,
  CHICKEN SOUP FOR THE SOUL
  ENTERTAINMENT, INC., SONY
  PICTURES TELEVISION, INC., and SONY
  PICTURES ENTERTAINMENT, INC.,

                   Defendants.


  HELIOS STREAMING, LLC, and
  IDEAHUB, INC.,

                   Plaintiffs,                  C.A. No. 1:19-cv-01978-CFC/SRF

       v.                                       JURY TRIAL DEMANDED

  SHOWTIME DIGITAL, INC. and
  SHOWTIME NETWORKS, INC.,

                   Defendants.
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                              STIPULATED PROTECTIVE ORDER

         IT IS HEREBY STIPULATED AND AGREED, pursuant to Rule 26(c) of the Federal

  Rules of Civil Procedure and subject to the approval of the Court, by and between the parties and

  by their respective undersigned counsel, that this Stipulation and Order shall govern the handling

  of documents, depositions, deposition exhibits, interrogatory responses, admissions, and any

  other information produced, given, or exchanged by and among the parties and any non-parties

  to each of the respective above-captioned actions. Although submitted jointly in connection with

  each of the above-captioned actions, each such action shall be treated as separate and

  independent in terms of the protection of a party’s confidential information, and, unless

  specifically provided for in this Stipulation and Order, nothing in this Stipulation and Order shall

  be construed to permit access by a party in one of the above-captioned actions to the confidential

  information produced by a party in another of the actions absent agreement of the producing

  party and/or separate order of the Court.

         Accordingly, based upon the agreement of the parties, IT IS HEREBY ORDERED

  pursuant to Rule 26(c) of the Federal Rules of Civil Procedure that the following Procedures

  shall be adopted for the protection of confidential and proprietary information:




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                   PROCEDURES FOR PROTECTION OF CONFIDENTIAL
                         AND PROPRIETARY INFORMATION
  1.        DEFINITIONS

            1.1   Challenging Party: a Party or Non-Party that challenges the designation of

  information or items under this Order.

            1.2   “CONFIDENTIAL” Information or Items: information (regardless of how it is

  generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

  of Civil Procedure 26(c).

            1.3   Counsel (without qualifier): Outside Counsel of Record (as well as their support

  staff).

            1.4   Designated In-House Counsel: In-House Counsel who have access to

  “CONFIDENTIAL” information in this matter.

            1.5   Designating Party: a Party or Non-Party that designates information or items that

  it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

  CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

  CODE.”

            1.6   Disclosure or Discovery Material: all items or information, regardless of the

  medium or manner in which it is generated, stored, or maintained (including, among other things,

  testimony, transcripts, and tangible things), that are produced or generated in disclosures or

  responses to discovery in the above-captioned actions.

            1.7   Expert: a person with specialized knowledge or experience in a matter pertinent to

  the respective litigations who (1) has been retained by a Party or its counsel to serve as an expert

  witness or as a consultant in one or more of the above-captioned actions, (2) is not a current




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  employee of a Party or of a Party’s competitor, and (3) at the time of retention, is not anticipated

  to become an employee of a Party or of a Party’s competitor.

         1.8     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

  Items: extremely sensitive “CONFIDENTIAL Information or Items,” disclosure of which to

  another Party or Non-Party would create a substantial risk of serious harm that could not be

  avoided by less restrictive means.

         1.9     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items:

  extremely sensitive “CONFIDENTIAL Information or Items” representing computer code (i.e.,

  computer instructions and data definitions expressed in a form suitable for input to an assembler,

  compiler or other translator) and associated comments and revision histories, disclosure of which

  to another Party or Non-Party would create a substantial risk of serious harm that could not be

  avoided by less restrictive means.

         1.10    In-House Counsel: attorneys who are employees of a Party to one of the above-

  captioned actions. In-House Counsel does not include Outside Counsel of Record or any other

  outside counsel.

         1.11    Non-Party: any natural person, partnership, corporation, association, or other legal

  entity not named as a Party to an above-captioned action in question. A defendant in one of the

  above-captioned actions shall be deemed a Party to that action but a Non-Party to the other

  actions.

         1.12    Outside Counsel of Record: attorneys who are not employees of a Party to an

  above-captioned action but are retained to represent or advise a Party to that action and have

  appeared in the action on behalf of that Party or are affiliated with a law firm which has appeared

  on behalf of that Party.



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            1.13   Party: a party to an above-captioned action or a Defendant Group1 from an above-

  captioned action, including all of its officers, directors, employees, consultants, retained experts,

  and Outside Counsel of Record (and their support staffs).

            1.14   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

  Material in an above-captioned action.

            1.15   Professional Vendors: persons or entities that provide litigation support services

  (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

  organizing, storing, or retrieving data in any form or medium) and their employees and

  subcontractors.

            1.16   Protected Material: any Disclosure or Discovery Material that is designated as

  “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or as

  “HIGHLY CONFIDENTIAL – SOURCE CODE.”

            1.17   Receiving Party: a Party that receives Disclosure or Discovery Material from a

  Producing Party.

            1.18   Relevant Technology: products, devices, and services that can be used to stream

  media content in accordance with the MPEG-DASH standard.

  2.        SCOPE

            The protections conferred by this Stipulation and Order cover not only Protected Material

  (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

  all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

  conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

  However, the protections conferred by this Stipulation and Order do not cover the following



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      As this term is defined in the Scheduling Order. (D.I. 36)
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  information: (a) any information that the Receiving Party can show is in the public domain at the

  time of disclosure to a Receiving Party or becomes part of the public domain after its disclosure

  to a Receiving Party as a result of publication not involving a violation of this Order, including

  becoming part of the public record through trial or otherwise; and (b) any information that the

  Receiving Party can clearly show was known to the Receiving Party prior to the disclosure or

  obtained by the Receiving Party after the disclosure from a source who obtained the information

  lawfully and under no obligation of confidentiality to the Designating Party. Before the

  Receiving Party discloses any Protected Material that falls under (a) or (b) to any Non-Party, the

  Receiving Party shall follow the procedures in Section 5, infra.

         For clarity, nothing herein shall affect the right of the Designating Party to disclose to its

  officers, directors, employees, attorneys, consultants or Experts, or to any other person, its own

  information. Such disclosure shall not waive the protections of this Protective Order and shall

  not entitle other Parties or their attorneys to disclose such information in violation of it, unless by

  such disclosure of the Designating Party the information becomes public knowledge. Similarly,

  the Protective Order shall not preclude a Party from showing its own information to its officers,

  directors, employees, attorneys, consultants or experts, or to any other person, which information

  has been filed under seal by another Party.

         Any use of Protected Material at trial shall be governed by a separate agreement or order.

  3.     DURATION

         Even after final disposition of each of the above-captioned actions, the confidentiality

  obligations imposed by this Order shall remain in effect until a Designating Party agrees

  otherwise in writing or a court order otherwise directs. Final disposition shall be deemed to be

  the later of (1) dismissal of all claims and defenses in an action, with or without prejudice; and



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  (2) final judgment herein after the completion and exhaustion of all appeals, rehearings, remands,

  trials, or reviews of that action, including the time limits for filing any motions or applications

  for extension of time pursuant to applicable law.

  4.     DESIGNATING PROTECTED MATERIAL

         4.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

  or Non-Party that designates information or items for protection under this Order must take care

  to limit any such designation to material that qualifies under the appropriate standards. To the

  extent it is practical to do so, the Designating Party must designate for protection only those parts

  of material, documents, items, or oral or written communications that qualify—so that other

  portions of the material, documents, items, or communications for which protection is not

  warranted are not swept unjustifiably within the ambit of this Order.

         If it comes to a Designating Party’s attention that information or items that it designated

  for protection do not qualify for protection at all or do not qualify for the level of protection

  initially asserted, that Designating Party must promptly notify all other Parties in its respective

  action that it is withdrawing the mistaken designation.

         4.2     Manner and Timing of Designations. Except as otherwise provided in this Order

  (see, e.g., second paragraph of section 4.2(a) below), or as otherwise stipulated or ordered,

  Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

  designated before the material is disclosed or produced.

         Designation in conformity with this Order requires:

                 (a)     for information in documentary form (e.g., paper or electronic documents,

  but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

  Party affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’



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  EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains

  protected material.

                 A Party or Non-Party that makes original documents or materials available for

  inspection need not designate them for protection until after the inspecting Party has indicated

  which material it would like copied and produced. During the inspection and before the

  designation, all of the material made available for inspection shall be deemed “HIGHLY

  CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified

  the documents it wants copied and produced, the Producing Party must determine which

  documents, or portions thereof, qualify for protection under this Order. Then, before producing

  the specified documents, the Producing Party must affix the appropriate legend

  (“CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”) to each

  page that contains Protected Material. The procedures in this paragraph do not govern the

  inspection of source code, which is separately addressed in Section 8 of this Protective Order.

                 (b)     for testimony given in deposition or in other pretrial or trial proceedings,

  that the Designating Party identify on the record, before the close of the deposition, hearing, or

  other proceeding, all protected testimony and specify the level of protection being asserted.

  When it is impractical to identify separately each portion of testimony that is entitled to

  protection and it appears that substantial portions of the testimony may qualify for protection, the

  Designating Party may invoke on the record (before the deposition, hearing, or other proceeding

  is concluded) a right to place the entirety of the testimony under the protection of this Order.

  When practical, the Designating Party may later withdraw, or reduce the level of, protections

  under this order for portions of the testimony that it designated for protection.




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                 Parties shall give the other parties notice if they reasonably expect a deposition,

  hearing or other proceeding to include Protected Material so that the other parties can ensure that

  only authorized individuals who have signed the “Acknowledgment and Agreement to Be

  Bound” (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a

  deposition shall not in any way affect its designation as “CONFIDENTIAL,” “HIGHLY

  CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

  SOURCE CODE.”

                 Transcripts containing Protected Material shall have an obvious legend on the title

  page that the transcript contains Protected Material, and the title page shall be followed by a list

  of all pages (including line numbers as appropriate) that have been designated as Protected

  Material and the level of protection being asserted by the Designating Party. The Designating

  Party shall inform the court reporter of these requirements.

                 (c)     for information produced in some form other than documentary and for

  any other tangible items, that the Producing Party affix in a prominent place on the exterior of

  the container or containers in which the information or item is stored the legend

  “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

  “HIGHLY CONFIDENTIAL – SOURCE CODE”. If only a portion or portions of the

  information or item warrant protection, the Producing Party, to the extent practicable, shall

  identify the protected portion(s) and specify the level of protection being asserted.

         4.3     Inadvertent Failures to Designate. If timely corrected after recognition by a

  Producing Party of an inadvertent failure to designate, an inadvertent failure to designate

  qualified information or items does not, standing alone, waive the Producing Party’s right to

  secure protection under this Order for such material. Upon timely correction of a designation



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   after recognition by a Producing Party, the Receiving Party must make reasonable efforts to

   assure that the material is treated in accordance with the provisions of this Order.

          4.4     Right to Seek Additional Protections. This Order is entered without prejudice to

   the right of any Party to seek additional protections from the Court as may be necessary under

   particular circumstances.

   5.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

          5.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

   burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

   challenge a confidentiality designation by electing not to mount a challenge promptly after the

   original designation is disclosed.

          5.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution

   process by providing written notice of each designation it is challenging and describing the basis

   for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

   notice must recite that the challenge to confidentiality is being made in accordance with this

   specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

   good faith and must begin the process by conferring directly (in voice to voice dialogue; other

   forms of communication are not sufficient) within 14 days of the date of service of notice. In

   conferring, the Challenging Party must explain the basis for its belief that the confidentiality

   designation was not proper and must give the Designating Party an opportunity to review the

   designated material, to reconsider the circumstances, and, if no change in designation is offered,

   to explain the basis for the chosen designation. A Challenging Party may proceed to the next



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   stage of the challenge process only if it has engaged in this meet and confer process first or

   establishes that the Designating Party is unwilling to participate in the meet and confer process in

   a timely manner.

            5.3    Judicial Intervention. If the Parties cannot resolve a challenge without court

   intervention, the Challenging Party shall contact the Court pursuant to Section 4(f) of the

   Scheduling Order within 21 days of the initial notice of challenge or within 14 days of the parties

   agreeing that the meet and confer process will not resolve their dispute, whichever is earlier.

   Each motion filed pursuant to this paragraph must be accompanied by a competent declaration

   affirming that the movant has complied with the meet and confer requirements imposed in the

   preceding paragraph. Failure by the Challenging Party to contact the Court pursuant to Section

   4(f) of the Scheduling Order, within 21 days (or 14 days, if applicable), or include the required

   declaration, shall automatically waive a challenge to the confidentiality designation for each

   challenged designation.

            The burden of persuasion in any such challenge proceeding shall be on the Designating

   Party.

   6.       ACCESS TO AND USE OF PROTECTED MATERIAL

            6.1    Basic Principles. Absent further Order from the Court, the Receiving Party may

   use Protected Material that is disclosed or produced by another Party or by a Non-Party in

   connection with an above-captioned action only for prosecuting, defending, or attempting to

   settle that particular action. Such Protected Material may be disclosed only to the categories of

   persons and under the conditions described in this Order. When the litigation has been

   terminated, a Receiving Party must comply with the provisions of section 14 below (FINAL

   DISPOSITION).



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          Protected Material must be stored and maintained by a Receiving Party at a location and

   in a secure manner that ensures that access is limited to the persons authorized to access

   Protected Material under this Order.

          6.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

   ordered by the court or permitted in writing by the Designating Party, a Receiving Party may

   disclose any information or item designated “CONFIDENTIAL” only to:

                  (a)     the Receiving Party’s Outside Counsel of Record in the action in which it

   is produced, as well as employees of said Outside Counsel of Record to whom it is reasonably

   necessary to disclose the information for that particular litigation;

                  (b)     current officers, directors, or employees (including Designated In-House

   Counsel) of the Receiving Party to whom disclosure is reasonably necessary for the litigation in

   which said information is produced, following identification of such individuals to each of the

   other parties and approval by the other parties, such approval not to be unreasonably delayed or

   withheld, and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                  (c)     Experts (as defined in this Order) of the Receiving Party (1) to whom

   disclosure is reasonably necessary for the litigation in which said information is produced (2)

   who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as to

   whom the procedures set forth in paragraph 6.5(a), below, have been followed;

                  (d)     the court and its personnel;

                  (e)     court reporters and their staff, professional jury or trial consultants, and

   Professional Vendors to whom disclosure is reasonably necessary for the litigation in which it is

   produced;




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                   (f)      during their depositions, witnesses in the action to whom disclosure is

   reasonably necessary, unless otherwise specified by the Designating Party or ordered by the

   court. Pages of transcribed deposition testimony or exhibits to depositions that reveal Protected

   Material must be separately bound by the court reporter and may not be disclosed to anyone

   except as permitted under this Stipulated Protective Order; and

                   (g)      the author or recipient of a document containing the information or a

   custodian or other person who otherwise possessed or knew the information or is employed by

   the Designating Party.

          6.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

   Information or Items. Unless otherwise ordered by the court or permitted in writing by the

   Designating Party, a Receiving Party may disclose any information or item designated

   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to:

                   (a)      the Receiving Party’s Outside Counsel of Record in the action in which it

   is produced, as well as employees of said Outside Counsel of Record to whom it is reasonably

   necessary to disclose the information in that particular litigation;

                   (b)      Experts of the Receiving Party (1) to whom disclosure is reasonably

   necessary for the litigation in which such information is produced, (2) who have signed the

   “Acknowledgment and Agreement to Be Bound” (Exhibit A), and (3) as to whom the procedures

   set forth in paragraph 6.5(a), below, have been followed;

                   (c)      the court and its personnel;

                   (d)      court reporters and their staff, professional jury or trial consultants, and

   Professional Vendors to whom disclosure is reasonably necessary for the litigation in which it is

   produced; and



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                   (e)      the author or recipient of a document containing the information or a

   custodian or other person who otherwise possessed or knew the information or is employed by

   the Designating Party.

          6.4      Disclosure of “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or

   Items. Unless otherwise ordered by the court or permitted in writing by the Designating Party, a

   Receiving Party may disclose any information or item designated “HIGHLY CONFIDENTIAL

   – SOURCE CODE” only to the following persons:

                   (a)      the Receiving Party’s Outside Counsel of Record in the above-captioned

   action in which it is produced as well as employees of such Outside Counsel of Record to whom

   it is reasonably necessary to disclose the information for that particular litigation;

                   (b)      Experts of the Receiving Party (1) to whom disclosure is reasonably

   necessary for the litigation in which it is produced, (2) who have signed the “Acknowledgment

   and Agreement to Be Bound” (Exhibit A), and (3) as to whom the procedures set forth in

   paragraph 6.5(a), below, have been followed; and

                   (c)      the court and its personnel;

                   (d)      court reporters and their staff, professional jury or trial consultants, and

   Professional Vendors to whom disclosure is reasonably necessary for the litigation in which it is

   produced; and

                   (e)      the author or recipient of a document containing the information or a

   custodian or other person who otherwise possessed or knew the information or is employed by

   the Designating Party.




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             6.5   Procedures for Approving or Objecting to Disclosure of “CONFIDENTIAL,”

   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

   – SOURCE CODE” Information or Items to Experts.

                   (a)    Unless otherwise ordered by the court or agreed to in writing by the

   Designating Party, a Receiving Party that seeks to disclose to an Expert (as defined in this Order)

   any information or item that has been designated “CONFIDENTIAL,” “HIGHLY

   CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –

   SOURCE CODE” pursuant to paragraphs 6.2(c), 6.3(b) and 6.4(b) first must make a written

   request via e-mail to the Designating Party’s Outside Counsel of Record that (1) sets forth the

   full name of the Expert and the city and state of his or her primary residence, (2) attaches a copy

   of the Expert’s current resume, including a list of publications from the past ten years, and (3)

   identifies (by name and number of the case and location of court) any litigation in connection

   with which the Expert has offered expert testimony, including through a declaration, report, or

   testimony at a deposition or trial, during the preceding four years. The Designating Party shall

   have seven (7) business days after such notice is given to object in writing via e-mail to the

   Receiving Party’s Outside Counsel of Record that made the written e-mail request disclosing the

   Expert.

                   (b)    A Receiving Party that makes a request and provides the information

   specified in the preceding respective paragraphs shall not disclose the subject Protected Material

   to the identified Expert until expiration of the 7 day notice period. Any such objection must set

   forth in detail the grounds on which it is based. If during the notice period the Designating Party

   serves an objection upon the Receiving Party desiring to disclose Protected Material to the




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   Expert, there shall be no disclosure of Protected Material to such individual pending resolution

   of the objection.

                  (c)     A Receiving Party that receives a timely written objection must meet and

   confer with the Designating Party (through direct voice to voice dialogue) to try to resolve the

   matter by agreement within seven (7) business days after the written objection is served. The

   Designating Party shall then have fourteen (14) business days after such objection is served to, if

   no agreement is reached, contact the Court pursuant to Section 4(f) of the Scheduling Order.

   Any motion filed pursuant to this paragraph must describe the circumstances with specificity,

   and set forth in detail the reasons why the disclosure to the Expert should not be made. In

   addition, any such motion must be accompanied by a competent declaration describing the

   parties’ efforts to resolve the matter by agreement (i.e., the extent and the content of the meet and

   confer discussions) and setting forth the reasons advanced by the Designating Party for its refusal

   to approve the disclosure.

           No document designated by a Designating Party as Protected Material shall be disclosed

   by a Receiving Party to an Expert until after the individual has signed the “Acknowledgment and

   Agreement to Be Bound” (Exhibit A). Such written agreement shall be retained by the Outside

   Counsel of Record for the party that has retained the Expert, but need not be disclosed to any

   other Party.

           In any such proceeding, the Designating Party opposing disclosure to the Expert shall

   bear the burden of proving that the risk of harm that the disclosure would entail (under the

   safeguards proposed) outweighs the Receiving Party’s need to disclose the Protected Material to

   its Expert.




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          6.6     It is understood that Outside Counsel of Record for a Party may give advice and

   opinions to his or her client based on his or her evaluation of information designated

   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

   “HIGHLY CONFIDENTIAL – SOURCE CODE” which is provided from the opposing Party to

   such Outside Counsel of Record in his or her respective action, provided that such rendering of

   advice and opinions shall not reveal the content or substance of such information, except by prior

   written agreement with counsel for the Producing Party. For the avoidance of doubt, nothing in

   this provision permits the use or disclosure by a party in one of the above-captioned actions of

   Protected Material originally produced by a Defendant in another of the above-captioned actions

   absent agreement of the producing Defendant and/or separate order of the Court.

          6.7      Nothing in this Stipulation and Order shall be construed as preventing Outside

   Counsel for defendants in any of the above-captioned actions from discussing amongst

   themselves any of plaintiffs’ information designated “CONFIDENTIAL” or “HIGHLY

   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

   CODE” to which each such Outside Counsel individually has lawful access through plaintiffs’

   productions and/or disclosures in the respective actions.

   7.     PROSECUTION BAR

          7.1     Prosecution Bar. Individuals associated with one or both of the Plaintiffs who

   personally review any technical HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY or

   HIGHLY CONFIDENTIAL – SOURCE CODE Material are prohibited from participating in an

   administrative proceeding for the examination and reexamination of a patent or patent

   application insofar as the participation involves input into the drafting, revising or amending of a

   patent claim related to the Relevant Technology, if such administrative proceeding (e.g., patent



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   application filing) was commenced less than two years following the final termination of this

   action (including any appeals). This prosecution bar does not prevent an individual from

   participating in a reexamination, inter partes review, or other post-grant review proceedings

   involving the patents-at-issue or patents related thereto, except that the individual is prohibited

   from participating in, or otherwise providing input into, the drafting of any claim or amendment

   to any claim.

   8.     SOURCE CODE

                   (a)    To the extent production of source code becomes necessary in this case, a

   Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”

   if it comprises or includes confidential, proprietary or trade secret source code. Source code

   includes, but is not limited to, files in programming languages such as C++, Java, and Flash. For

   the avoidance of doubt, the Producing Party may designate as source code make files, link files,

   algorithms, pseudocode, comments, revision histories, and other human-readable files used in the

   generation, building or compiling of software or firmware. Production or designation of

   Confidential Source Code shall not be construed as a representation or admission by a party that

   Confidential Source Code is properly discoverable in this action, nor does the inclusion of

   Confidential Source Code as part of this agreement obligate any party to produce Confidential

   Source Code.

                   (b)    Protected Material designated as “HIGHLY CONFIDENTIAL –

   SOURCE CODE” may be disclosed only to the individuals as set forth in Paragraph 6.4. The

   following additional restrictions shall apply to the inspection and production of HIGHLY

   CONFIDENTIAL - SOURCE CODE, unless otherwise advised by the Producing Party or

   otherwise Ordered by the Court:



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                  (c)     Any source code produced in discovery shall be made available for

   inspection, in electronic (e.g., native) format. The Producing Party shall produce source code for

   inspection in electronic (e.g., native) format at the office of its counsel in Delaware, or at another

   location agreed on by the parties. Any single reviewing session (conducted during one business

   day or during consecutive business days of review) shall be conducted during regular business

   hours (9:00 A.M. to 6:00 P.M. local time) on three (3) calendar days’ written (including email)

   notice, or during such other hours as may be mutually and reasonably agreed upon on reasonable

   notice.

                  (d)     Source code that is designated “HIGHLY CONFIDENTIAL – SOURCE

   CODE” shall be produced for inspection and review subject to the following provisions, unless

   otherwise agreed by the Producing Party:

                          (i)     The source code shall be made available for inspection on a

   secured computer in a secured room without Internet access or network access to other

   computers (the “Source Code Computer”), and the Receiving Party shall not copy, remove, or

   otherwise transfer any portion of the source code onto any recordable media or recordable device

   absent prior agreement of the Producing Party.

                          (ii)    The electronic source code shall be produced as it is kept in the

   normal course of business, or as it would be collected in the normal course of business. The

   Receiving Party’s outside counsel and/or Experts shall be entitled to take handwritten notes

   relating to the source code. Such notes shall be labeled “HIGHLY CONFIDENTIAL –

   SOURCE CODE”. Such notes may include excerpts of the source code when reasonably

   necessary to guide the note taker’s use of later-requested paper copies of the source code.

   Otherwise, no copies of all or any portion of the source code may leave the room in which the



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   source code is inspected except as otherwise provided in this Protective Order. Further, no other

   written or electronic record of the source code is permitted except as otherwise provided in this

   Protective Order.

                          (iii)   The source code provider shall provide a manifest of the contents

   of the computer to include a list of source code files available for review to the extent

   practicable.

                          (iv)    The Source Code Computer shall include software utilities which

   will allow counsel and experts to view and search the source code. At a minimum, these utilities

   must provide the ability to (a) view, search, and line-number any source file, and (b) search for a

   given pattern of text through a number of files.

                          (v)     The Receiving Party may request copies of reasonable portions of

   the source code identified in a reasonable manner. In the event that the Receiving Party requests

   more than 15 consecutive pages, or an aggregate of more than 100 pages, of print outs of source

   code, the parties shall have a meet and confer in good faith. A text editor will be provided on the

   source code computer so that the list of files to be printed may be saved directly to the source

   code computer. If the Producing Party objects that identified files are not reasonably necessary,

   the Producing Party shall make such objection known to the Receiving Party within five (5)

   business days of the identification of any files by the Receiving party. If, after meeting and

   conferring, the Producing Party and the Receiving Party cannot resolve the objection, the

   Producing Party shall be entitled to seek a judicial resolution of whether or not the identified

   source code in question is reasonably necessary to any case preparation activity. At the request

   of the Receiving Party, in the absence of any objection the Producing Party shall provide within

   seven (7) business days of such request, paper copies of the source code identified at the time of



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   inspection by the Receiving Party. The Producing Party shall print, label such files with the

   file’s complete path name, and append production numbers and the designation “HIGHLY

   CONFIDENTIAL – SOURCE CODE”. The paper copies must be kept in a secured location at

   the offices of the Receiving Party’s Outside Counsel at all times. The Receiving Party may

   make no more than five additional paper copies of any portions of the source code files, not

   including copies attached to court filings or trial and hearing demonstrative exhibits. The

   Receiving Party shall only make additional paper copies if such additional copies are (1)

   necessary to prepare court filings, pleadings, or other papers (including a testifying expert’s

   expert report), or (2) necessary for deposition. The Receiving Party shall request printing of only

   such portions as are relevant to the claims and defenses in the case and are reasonably necessary

   for such purpose. Such printouts are to be of minimum 10-point, fixed-width font, and shall not

   exceed sixty-five (65) lines of text per page. The Producing Party may challenge the amount of

   source code requested in hard copy form pursuant to the dispute resolution procedure and

   timeframes set forth herein whereby the Producing Party is the “Challenging Party,” and the

   Receiving Party is the “Designating Party” for purposes of dispute resolution.

                          (vi)    Except as provided in this Protective Order, no electronic copies of

   the electronic source code shall be made.

                          (vii)   Unless otherwise agreed in advance by the parties in writing, the

   Receiving Party’s Outside Counsel and/or Experts shall remove all notes, documents, and all

   other materials from the source code viewing room that may contain work product and/or

   attorney-client privileged information at the end of each day. Materials inadvertently left in the

   source code viewing room do not operate as a waiver of the attorney work product doctrine or




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   any other applicable privilege and shall be returned to the owner promptly. The Producing Party

   shall not be responsible for any items left in the source code viewing room.

                          (viii)   Copies of source code that are marked as deposition exhibits shall

   not be provided to the court reporter or attached to deposition transcripts; rather, the deposition

   record will identify the exhibit by its production numbers and the Party that brought the source

   code to the deposition will keep possession of the marked deposition source code exhibit. If the

   deposition exhibit has been marked up or altered in any way by the deponent, the Receiving

   Party shall store the exhibit in its marked form and provide one copy to outside counsel for the

   other Party.

                          (ix)     Except as provided in this sub-paragraph, absent express written

   permission from the Producing Party, the Receiving Party and any persons receiving source code

   from Receiving Party may not create electronic images, or any other images, or make electronic

   copies, of the source code from any paper copy of source code for use in any manner (including

   by way of example only, the Receiving Party and any persons receiving source code from

   Receiving Party may not scan the source code to a PDF or photograph the code). A party may

   make and use snippets and images of the source code if necessary for court filings, expert

   reports, discovery responses and other similar documents. All such documents shall be clearly

   marked “HIGHLY CONFIDENTIAL – SOURCE CODE” and, if filed, shall be filed under seal.

   Unless agreed by the parties, images or copies of source code shall not be included in

   correspondence between the parties (references to production numbers shall be used instead).

      9. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
         OTHER LITIGATION

          If a Party is served with a subpoena or a court order issued in other litigation that compels

   disclosure of any information or items designated in this action as “CONFIDENTIAL” or


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   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

   – SOURCE CODE” that Party must:

                  (a)      promptly notify in writing the Designating Party. Such notification shall

   include a copy of the subpoena or court order;

                  (b)      promptly notify in writing the Party who caused the subpoena or order to

   issue in the other litigation that some or all of the material covered by the subpoena or order is

   subject to this Protective Order. Such notification shall include a copy of this Stipulated

   Protective Order; and

                  (c)      cooperate with respect to all reasonable procedures sought to be pursued

   by the Designating Party whose Protected Material may be affected. If the Designating Party

   timely seeks a protective order, the Party served with the subpoena or court order shall not

   produce any information designated in this action as “CONFIDENTIAL” or “HIGHLY

   CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

   CODE” before a determination by the court from which the subpoena or order issued, unless the

   Party has obtained the Designating Party’s permission. The Designating Party shall bear the

   burden and expense of seeking protection in that court of its confidential material—and nothing

   in these provisions should be construed as authorizing or encouraging a Receiving Party in this

   action to disobey a lawful directive from another court.

          Other Proceedings. By entering this order and limiting the disclosure of information in

   each of the respective above-captioned actions, the Court does not intend to preclude another

   court from finding that information may be relevant and subject to disclosure in another case.

   Any person or party subject to this order who becomes subject to a motion to disclose another

   party’s information designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –



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   ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to

   this order shall promptly notify that party of the motion so that the party may have an

   opportunity to appear and be heard on whether that information should be disclosed.

   10.    A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN
          THIS LITIGATION
          The terms of this Order are applicable to information produced by a Non-Party in an

   above-captioned action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

   – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE.” Such

   information produced by Non-Parties in connection with that particular litigation is protected by

   the remedies and relief provided by this Order. Nothing in these provisions should be construed

   as prohibiting a Non-Party from seeking additional protections.

          In the event that a Party is required, by a valid discovery request, to produce a Non-Party's

   confidential information in its possession, and the Party is subject to an agreement with the Non-

   Party not to produce the Non-Party's confidential information then the party shall: (i) promptly

   notify in writing the Requesting Party that some or all of the information requested is subject to a

   confidentiality agreement with a Non-Party; and (ii) promptly provide the Non-Party with a copy

   of the Stipulated Protective Order in this litigation, the relevant discovery request(s), and a

   reasonably specific description of the information requested, and inform the Non-Party that it has

   thirty (30) days to object to the information being provided to the Requesting Party. If the Non-

   Party fails to seek a protective order from this Court within thirty (30) days of receiving the notice

   and accompanying information, the Party may produce the Non-Party's confidential information

   responsive to the discovery request. If the Non-Party timely seeks a protective order, the Party

   shall not produce any information in its possession or control that is subject to the confidentiality

   agreement with the Non-Party before a determination by the Court.


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   11.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

   Material to any person or in any circumstance not authorized under this Stipulated Protective

   Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

   unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the

   Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

   made of all the terms of this Order, and (d) request such person or persons to execute the

   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

   12.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
          PROTECTED MATERIAL

          Pursuant to Federal Rule of Evidence 502, the inadvertent production or disclosure of any

   document or thing (including information and Protected Material) otherwise protected by the

   attorney-client privilege, work-product immunity, or other privilege or immunity shall not

   operate as a waiver of any such privilege or immunity. If any Receiving Party recognizes that

   any Producing Party (or Non-Party) may have inadvertently produced such protected

   information, it shall notify the Producing Party promptly, and follow such procedures as set forth

   in this Order. If, after recognizing that privileged information has been produced or disclosed

   (through notice by a Receiving Party or otherwise), the Producing Party who made the

   inadvertent production or disclosure sends to each Receiving Party a written request for return of

   the inadvertently produced or disclosed document or thing within a reasonably prompt period of

   time. Within ten (10) days of receiving such a request, the Receiving Party shall (a) return to the

   Producing Party all such documents and things identified by the Producing Party as being

   protected by the attorney-client privilege, work-product immunity, or other privilege or

   immunity and as having been inadvertently produced, and (b) delete any electronic records


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   thereof. The Receiving Party shall not utilize the information contained in the inadvertently

   produced documents or things for any purpose, or disseminate or transmit such information,

   except as provided in subparagraph (a) below.

          (a)     If the Receiving Party wishes to contest that any such document or thing is

   protected by the attorney-client privilege or by work-product immunity, the Receiving Party

   shall so notify the Producing Party in writing when the document or thing is returned to the

   Producing Party (“Notice of Designation”). The Receiving Party may retain one (1) copy of the

   document(s) or thing(s) at issue for the purposes of filing a motion to contest the designation.

   The copy retained by the Receiving Party must be sequestered, and may not be used for any

   purpose except to present the information to the Court for a determination of the claim of

   privilege.

          (b)     Within five (5) days after receiving a Notice of Designation, the Producing Party

   shall provide to the Receiving Party for each such document or thing a description of the basis

   for the claim of privilege or immunity.

          (c)     Within five (5) days after receiving such description, the Receiving Party may

   seek relief from the Court to compel production of such documents and things, the protection of

   which is still disputed. Any motion filed pursuant to this paragraph shall be filed under seal in

   accordance with the procedures set forth herein for filing Protected Material with the court. If

   the Receiving Party does not contact the Court pursuant to Section 4(f) of the Scheduling Order

   to contest the designation within such five (5)-day period, the one (1) copy, if any, retained by

   the Receiving Party as set forth in subparagraph (a) of this section 12 shall be immediately

   returned to the Producing Party. Likewise, in the event that the Court rejects the Receiving

   Party’s challenge to the privileged status of the inadvertent production, the one (1) copy, if any,



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   retained by the Receiving Party as set forth in subparagraph (a) of this section 12 shall be

   immediately returned to the Producing Party.

          (d)     With respect to documents and things subsequently generated by a Receiving

   Party, which documents and things contain information derived from such inadvertently

   produced documents and things, if the Receiving Party does not notify the Producing Party that

   the Receiving Party disputes the claims of attorney-client privilege or work-product immunity, or

   if the Court rejects any challenge by the Receiving Party to the privileged status of the

   inadvertent production, the Receiving Party shall make reasonable efforts to either destroy the

   derivative documents and things or redact from them all such derivative privilege or work-

   product information in a manner such that the derivative information cannot in any way be

   retrieved or reproduced.

          (e)     The procedures set forth in this section 12 for challenging the privileged status of

   an inadvertent production shall not result in any waiver of the attorney-client privilege, the work

   product immunity, or any other privilege or immunity. There shall be no waiver of the attorney-

   client privilege, the work product immunity, or any other privilege or immunity for an

   inadvertent disclosure or production if the Producing Party complies with the procedures set

   forth in this Section 12 with respect to such inadvertent disclosure or production.

   13.    MISCELLANEOUS

          13.1    Right to Further Relief. Nothing in this Order abridges the right of any person to

   seek its modification by the Court in the future.

          13.2    Right to Assert Other Objections. By stipulating to the entry of this Protective

   Order no Party waives any right it otherwise would have to object to disclosing or producing any

   information or item on any ground not addressed in this Stipulated Protective Order. Similarly,



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   no Party waives any right to object on any ground to use in evidence of any of the material

   covered by this Protective Order.

          13.3    Filing Protected Material. All documents of any nature, including briefs, that

   have been designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

   EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” and that are filed with the

   Court, shall be filed under seal in accordance with the Local Rules of the United States District

   Court for the District of Delaware. The parties filing any brief, memorandum, motion, letter or

   other document (a “Filing”) under seal with the Court because the Filing would disclose

   information from a document that is otherwise required to be filed under seal pursuant to the

   provisions of this Stipulation and Order shall comply with the provisions set forth in this

   Stipulation and Order, including the procedures for filing and marking such materials as set forth

   above. Any Party who objects to the continued restriction on public access to any document

   filed under seal pursuant to the provisions of this Stipulation and Order shall give written notice

   of his objection to the Designating Party. A Party does not waive its right to challenge a

   confidentiality designation by electing not to mount a challenge promptly after the original

   designation is disclosed.

          13.4    Service by Email Permitted. The parties hereby consent that all documents

   required to be served in this case may be served by an email directed to a representative of the

   opposing party’s lead and local counsel.

   14.    FINAL DISPOSITION

          Within 60 days after the final disposition of an above-captioned action, as defined in

   paragraph 3, each Receiving Party must return all Protected Material to the Producing Party or

   destroy such material. Whether the Protected Material is returned or destroyed, the Receiving

   Party must submit a written certification to the Producing Party (and, if not the same person or

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   entity, to the Designating Party) by the 60-day deadline confirming the return or destruction of

   the Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival

   copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

   correspondence, deposition and trial exhibits, expert reports, attorney work product, and

   consultant and expert work product, even if such materials contain Protected Material. Any such

   archival copies that contain or constitute Protected Material remain subject to this Protective

   Order as set forth in Section 3 (DURATION).




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   IT IS SO STIPULATED.

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                                          PICTURES TELEVISION INC., AND
                                          SONY PICTURES ENTERTAINMENT INC.
                                          (CRACKLE INC. IS A NON-EXISTING
                                          ENTITY)

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   NETWORKS INC.,


    SO ORDERED this         day of                       , 2020.


                            United States District Court Judge




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                                              EXHIBIT A
                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND


           I, _______________________________________ [print or type full name], of
   ____________________________________________ [print or type full address], declare under
   penalty of perjury that I have read in its entirety and understand the Stipulated Protective Order
   that was issued by the United States District Court for the District of Delaware on [date] in the
   cases of Helios Streaming, LLC et al v. Crackle, Inc. et al, Civil Case No. 1:19-cv-01818-CFC-
   SRF, Helios Streaming, LLC et al v. Vudu, Inc., Civil Case No. 1:19-cv-01792-CFC-SRF, and
   Helios Streaming, LLC et al v. Showtime Digital Inc. et al, Civil Case No. 1:19-cv-01978-CFC-
   SRF (“the Actions”). I agree to comply with and to be bound by all the terms of this Stipulated
   Protective Order and I understand and acknowledge that failure to so comply could expose me to
   sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in
   any manner any information or item that is subject to this Stipulated Protective Order to any person
   or entity except in strict compliance with the provisions of this Order.
           I further agree to submit to the jurisdiction of the United States District Court for the
   District of Delaware for the purpose of enforcing the terms of this Stipulated Protective Order,
   even if such enforcement proceedings occur after termination of this Action.


   Date:


   City and State where sworn and signed:


   Printed name:


   Signature:
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                              EXHIBIT E
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   (12) United States Patent                                                  (10) Patent No.:                   US 8,645,562 B2
          Thang et al.                                                        (45) Date of Patent:                            Feb. 4, 2014
   (54) APPARATUS AND METHOD FOR                                                  provisional application No. 61/417.931, filed on Nov.
           PROVIDING STREAMING CONTENT                                            30, 2010, provisional application No. 61/434,036,
                                                                                  filed on Jan. 19, 2011.
   (75) Inventors: Truong Cong Thang, Daejeon (KR):                                                        O      O
                      Jin Young Lee, Daejeon (KR); Seong                 (30)                Foreign Application Priority Data
                      Jun Bae, Daejeon (KR); Jung Won
                      Kang, Daejeon (KR); Soon Heung                            Sep. 6, 2011     (KR) ........................ 10-2011-0089923
                      Jung. Daejeon (KR); Sang Taick Park,               (51) Int. Cl.
                      Daejeon (KR): Won Ryu, Daejeon (KR):                    G06F 12/00                       (2006.01)
                      Jae Gon Kim, Goyang-si (KR)                        (52) U.S. Cl.
   (73)   Assignees: Electronics and Telecommunications                           USPC - - - - - - - - - - - grrrr. 709/231: 709/236
                      Research Institute, Daejeon (KR):                  (58) Field of Classification Search
                      industry-University Cooperation                         USPC .......... 709/203, 217 218, 223 229, 231, 236
                      Foundation Korea Aerospace                              See application file for complete search history.
                      tyrsity Goyang-si Gyeonggi-do                      (56)                     References Cited
                                                                                            U.S. PATENT DOCUMENTS
   (*) Notice:        Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                    7,512,665 B1      3/2009 Cragun           ................... 709/217
                      U.S.C. 154(b) by 0 days.                                   8.468,145 B2 * 6/2013 Fedorynski et al. .......... 707/709
                                                                                                     (Continued)
   (21) Appl. No.:         13/820,955
                                                                                       FOREIGN PATENT DOCUMENTS
   (22) PCT Filed:         Sep. 6, 2011                                  KR          1020050000490 A             1, 2005
   (86). PCT No.:          PCT/KR2O11AOO6573                             KR          1020050075633. A           7, 2005
          S371 (c)(1)                                                                         (Continued)
          (2), (4) Date:   Mar. 5, 2013                                  Primary Examiner — Zarni Maung
                                                                         74). A ttorney,
                                                                                     ey, Agent, or FFirm – William Park
                                                                                                                   Par & Associ
                                                                                                                           SSOC1ates
   (87) PCT Pub. No.: WO2012/033319                                      Patent Ltd.
        PCT Pub. Date: Mar. 15, 2012                                     (57)                       ABSTRACT
                                    O     O                              A method and apparatus for an adaptive Hypertext Transfer
   (65)               Prior Publication Data                             Protocol (HTTP) streaming service using metadata of content
          US 2013/O166771 A1     Jun. 27, 2013                           are provided. The metadata may include one or more
                                                                         BaselJRL elements. Uniform Resource Locators (URLs) of
                                                                         segments forming media may be generated based on the
                Related U.S. Application Data                            BaselJRL elements. Additionally, a URL of a segment may be
   (60) Provisional application No. 61/380.277, filed on Sep.            generated by mapping a BaselJRL element among the
        6, 2010, provisional application No. 61/390,328, filed           BaselJRL elements to a sourceURL attribute of the segment.
        on Oct. 6, 2010, provisional application No.                     Segments indicated by generated URLs may be identical to
                                                                         each other.
        61/405,674, filed on Oct. 22, 2010, provisional
        application No. 61/414.462, filed on Nov. 17, 2010,                                 12 Claims, 6 Drawing Sheets

                                                    100                               110

                                                 TERMINAL                           SERVER

                                                              METADATA 120

                                              PROCESS METADATAS-130
                                                          REQUEST FORSEGMENT 140

                                                                    45           PARSE MEDIA

                                                               SEGMENTS 150

                                              PERFORM DECODING-160
                                               AND RENDERING
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                                       FIG. 1

                      1 OO                                  1 10

                  TERMINAL                                SERVER

                                  METADATA 120

             PROCESS METADATA            130

                             REQUEST FOR SEGMENT 140

                                        145             PARSE MEDIA

                                  SEGMENTS 150

             PERFORM DECODING            160
              AND RENDERING
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                                           FIG 2



                     General info
           Content info, live or VoD, length,
                          etC.



                   QoS-related info                          Client request
               Alternatives: quality and                      Client-based
                    characteristics                           Server-based
                                                               Distributed


                 Data mapping info
            Mapping alternative to physical
                   data fragments
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                                          FIG. 4

                              Stream of TS packet




                        Offset=1           First TS packet of
                                             new fragment
          TS packet with
            PCR field
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                                       FIGS

                                        1 OO




                    CONTROLLER                 TRANSCEIVER
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                                                          US 8,645,562 B2
                                  1.                                                                    2
               APPARATUS AND METHOD FOR                                       A first BaselJRL element among the BaselJRL elements
              PROVIDING STREAMING CONTENT                                   may be used as a basic Universal Resource Indicator (URI),
                                                                            and BaselJRL elements other than the first BaselJRL element
                       TECHNICAL FIELD                                      may be used as alternative BaselJRL elements.
                                                                               The metadata may selectively include a sourceURL
      The present invention relates to a technology for providing           attribute of the segment. When the metadata selectively
   streaming content, and more particularly, to an apparatus and            includes the sourceURL attribute of the segment, a BaselJRL
   method for providing media content using adaptive stream                 element among the BaselJRL elements may be mapped to the
   ing.                                                                     sourceURL attribute, so that the URL may be generated.
                                                                       10
                       BACKGROUND ART
                                                                               The metadata may be a Media Presentation Description
                                                                            (MPD) of the media.
      Streaming is one of schemes for transmitting and playing                 The media may include a sequence of one or more periods.
   back multimedia content such as Sounds, moving images, and                  A BaselJRL element may include one or more MPD level
   the like. A client may play back content while receiving the        15   BaselJRL elements of the MPD, and one or more period level
   content through the streaming.                                           BaselJRL elements of the periods.
     An adaptive streaming service refers to providing a stream                AURL of a segment included in each of the periods may be
   ing service employing a communication scheme with a                      resolved with respect to a period level BaselJRL element.
   request of a client and a response of a server in response to the           The period level BaselJRL elements may be resolved with
   request.                                                                 respect to the MPD level BaselJRL elements.
      The client may request a media sequence Suitable for an                  Each of the periods may include one or more groups.
   environment of the client (for example, a transmission chan                 The BaselJRL element may further include one or more
   nel of the client), using the adaptive streaming service. The            group level BaselJRL elements of the groups.
   server may provide a media sequence matched to the request                  AURL of a segment included in each of the groups may be
   of the client among media sequences with various qualities          25   resolved with respect to a group level BaselJRL element.
   that are included in the server.                                            The group level BaselJRL elements may be resolved with
      The adaptive streaming service may be provided based on               respect to the period level BaselJRL elements.
   various protocols.                                                          Each of the groups may include one or more representa
      A Hypertext Transfer Protocol (HTTP) adaptive streaming               tions.
   service refers to an adaptive streaming service provided based      30      Each of the representations may be a structured collection
   on an HTTP protocol. A client of the HTTP adaptive stream                of one or more components of the media within a period.
   ing service may receive content from a server using the HTTP               The BaselJRL element may further include one or more
   protocol, and may transmit a request associated with a                   representation level BaselJRL elements of the representa
   streaming service to the server.                                         tions
                                                                       35     AURL of a segment included in each of the representations
                 DISCLOSURE OF INVENTION                                    may be resolved with respect to a representation level
                                                                            BaselJRL element.
                          Technical Goals                                      The representation level BaselJRL elements may be
                                                                            resolved with respect to the group level BaselJRL elements or
      An aspect of the present invention provides an apparatus         40
                                                                            the period level BaselJRL elements.
   and method that may interpret a Uniform Resource Locator                    According to another aspect of the present invention, there
   (URL) of a segment using one or more BaselJRL elements                   is provided a terminal, including: an access engine to receive
   during playback of content.                                              metadata of media, to send a request for a segment of the
      Another aspect of the present invention provides an appa              media using a Uniform Resource Locator (URL) of the seg
   ratus and method that may generate a URL of a segment by            45   ment, to receive the segment, and to decode data of the media
   mapping a BaselJRL element among one or more BaselJRL                    that is included in the segment, the metadata including one or
   elements to a sourceURL attribute of the segment.                        more BaselJRL elements, and the URL being resolved with
                                                                            respect to a BaselJRL element; and a media engine to receive
                        Technical Solutions                                 the data of the media from the access engine, and to output the
                                                                       50   media.
      According to an aspect of the present invention, there is
   provided a method for providing media, the method includ                                    Effect of the Invention
   ing: receiving metadata of media, the metadata including one
   or more BaselJRL elements; sending a request for a segment                 According to embodiments of the present invention, it is
   of the media using a Uniform Resource Locator (URL) of the          55   possible to interpreta Uniform Resource Locator (URL) of a
   segment, the URL being resolved with respect to a BaselJRL               segment using one or more BaselJRL elements during play
   element; receiving the segment; and decoding and rendering               back of content.
   data of the media that is included in the segment.                          Additionally, according to embodiments of the present
      The request may be sent using an HTTP GET method.                     invention, it is possible to generate a URL of a segment by
      The metadata may include a range attribute.                      60   mapping a BaselJRL element among one or more BaselJRL
      The request may include a request for bytes of a resource             elements to a sourceURL attribute of the segment.
   indicated by the URL that are designated by the range
   attribute.                                                                        BRIEF DESCRIPTION OF DRAWINGS
     The URL may be an absolute URL or a relative URL.
      Identical segments may be accessible at multiple locations       65     FIG. 1 is a diagram illustrating categories of signaling
   indicated by URLs resolved with respect to the respective                information according to an embodiment of the present
   BaselJRL elements.                                                       invention.
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                              3                                                                         4
     FIG. 2 is a diagram illustrating categories of signaling                 The metadata may bean MPD.
   information according to an embodiment of the present                      The MPD may define a format to announce resource iden
   invention.                                                              tifiers for segments. The MPD may provide a context for
      FIG. 3 is a diagram illustrating a hierarchy of content              identified resources within the media presentation. The
   division and levels of signaling information according to an       5
                                                                           resource identifiers may be HTTP-Uniform Resource Loca
   embodiment of the present invention.                                    tors (URLs). URLs may be restricted by a byte range
      FIG. 4 is a diagram illustrating detection of virtual bound          attribute.
   aries in a Moving Picture Experts Group-2 Transport Stream                 Each interval may be divided into fragments.
   (MPEG-2 TS) according to an embodiment of the present              10
                                                                              Fragments may be interchangeable with segments. The
   invention.                                                              term segment may be used as a term of 3GPP adaptive HTTP
     FIG.5 is a diagram illustrating a configuration of a terminal         streaming.
   100 according to an embodiment of the present invention.                   A segment may refer to an entity body of a response to an
     FIG. 6 is a diagram illustrating a configuration of a terminal        HTTP/1.1 GET request for an HTTP-URL, for example as
   100 according to an embodiment of the present invention.           15   defined in RFC 2616, (or a GET request for a part indicated by
                                                                           a byte range).
             BEST MODE FOR CARRYING OUT THE                                   A terminal may play back media content using received
                       INVENTION                                           bytes (namely, a segment).
                                                                              A sub-segment may refer to a smallest unit within seg
     Reference will now be made in detail to embodiments of                ments that may be indexed by a segment index at the segment
   the present invention, examples of which are illustrated in the         level.
   accompanying drawings, wherein like reference numerals                     Two or more sets of fragments corresponding to a single
   refer to the like elements throughout. The embodiments are              interval may exist. Each of the sets may be called an alterna
   described below in order to explain the present invention by            tive.
   referring to the figures.                                          25      An alternative may be interchangeable with a representa
      A Dynamic Adaptive Streaming over HTTP (DASH) may                    tion (or an expression).
   specify formats that enable 1) delivery of media content from              Each period may include one or more groups.
   an HTTP server to an HTTP client, and enable 2) caching of                 Each group may include one or more representations of the
   content by standard HTTP cashes.                                        same media content.
      A media component may be an encoded version of indi             30
                                                                             A representation may refer to a structured collection of one
   vidual media types, such as audios, videos, or timed texts with         or more media components within a single period. A repre
   specific attributes, for example bandwidths, languages, or              sentation may be one of alternative choices of the media
   resolutions.
      Media content may be a set of media components having a              content or a subset of the media content typically differing by
   common timeline, for example audios, videos, or timed texts.       35   the encoding choice, for example by a bitrate, a resolution, a
   Additionally, media components may have relationships on                language, a codec, and the like.
   how the media components may be presented (for example,                   An MPD (or an MPD element) may provide descriptive
   individually, jointly, or mutually exclusive) as programs or            information that enables a client to select one or more repre
   movies.                                                                 sentations.
     Media content and content may be used as interchangeable         40      A Random Access Point (RAP) may be a specific location
   terms.                                                                  in a media segment. The RAP may be identified as a location
      A media presentation (or media) may be a structured col              in which playback may be started continuously from a loca
   lection of data used to establish bounded or unbounded pre              tion of the RAP using only information included in a media
   sentation of media content including components of continu              Segment.
   ous media.                                                         45     Each representation may be formed of one or more seg
     In other words, the media presentation may be a structured            ments. In other words, a representation may include one or
   collection of data that is accessible to a DASHclient in order          more Segments.
   to provide a streaming service to a user.                                  An MPD may be a document including metadata required
      A Media Presentation Description (MPD) may be a for                  to a DASHclient to form appropriate HTTP-URLs in order to
   malized description for a media presentation.                      50
                                                                           1) access segments and to 2) provide a user with a streaming
      The media presentation may be described by an MPD                    service. The HTTP-URLs may be absolute or relative.
   including possible updates of the MPD.                                     The MPD may be an Extensible Markup Language
      Content may be content on demand, or live content.                   (XML)-document.
      The content may be divided into one or more intervals. In               The MPD may include an MPD element. The MPD may
   other words, the content may include one or more intervals.        55
                                                                           include only a single MPD element.
      Intervals may be interchangeable with periods. The term
   period may be used as a term of 3" Generation Partnership                  FIG. 1 is a signal flowchart illustrating a content processing
   Project (3GPP) adaptive HTTP streaming.                                 method according to an embodiment of the present invention.
      A period may be an interval of a media presentation. A                  A terminal 100 may be a DASHclient.
   continuous sequence of all periods may constitute the media        60      The DASHclient may be compatible with a client specified
   presentation.                                                           in RFC 2616.
      In other words, the media presentation may include a                   The DASHclient may typically use an HTTP GET method
   sequence of one or more periods.                                        oran HTTP partial GET method, as specified in RFC 2616, to
      One or more intervals may be a basic unit. One or more               access segments or parts of segments.
   intervals may be described by signaling metadata. In other         65     A server 110 may perform hosting on DASH segments.
   words, metadata may describe each of the one or more inter              The server 110 may be compatible with a server specified in
   vals.                                                                   RFC 2616.
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      In operation 120, the terminal 100 may receive metadata of          element of each period. The period level BaseURL element
   media (or content) from the server 110. In other words, the            may refer to a BaselJRL element applied to a period to which
   server 110 may transmit the metadata of the media to the               the period level BaselJRL element belongs. In other words, a
   terminal 100.                                                          URL of a segment included in each period may be resolved
      The metadata may include BaselJRL elements. One or                  with respect to the period level BaselJRL element.
   more BaselJRL elements may be provided.                                   One or more MPD level BaselJRL elements may be pro
      In operation 130, the terminal 100 may process the                  vided, and one or more period level BaselJRL elements may
   received metadata. In operation 130, the terminal 100 may              be provided.
   extract information provided by the metadata, or information              Additionally, the BaselJRL element may further include a
   included in the metadata.                                         10
      In operations 140 through 150, the terminal 100 may                 group level BaselJRL element of a group. A URL of a seg
   access a segment of the media based on the information                 ment included in each group may be resolved with respect to
   provided by the metadata.                                              the group level BaselJRL element. One or more group level
      Each period may include one or more groups, and each of             BaselJRL elements may be provided.
   the groups may include one or more representations of the         15      The BaselJRL element may further include a representa
   media. Each of the representations may include one or more             tion level BaselJRL element of a representation. A URL of a
   Segments.                                                              segment included in each representation may be resolved
     The metadata may describe a group element describing                 with respect to the representation level BaselJRL element.
   each of the groups.                                                       A BaselJRL element of a specific level may be resolved
     In operation 140, the terminal 100 may send a request for a          with respect to a BaselJRL element of a higher level. For
   segment of the media to the server 110 using a URL of the              example, a period level BaselJRL element may be resolved
   segment. The URL may be resolved with respect to one of the            with respect to an MPD level BaselJRL element. A group
   above-described BaselJRL elements. For example, the URL                level BaselJRL element may be resolved with respect to a
   of the segment may be generated based on a BaselJRL ele                period level BaselJRL element. A representation level
   ment.                                                             25   BaselJRL element may be resolved with respect to a group
     The terminal 100 may request the server 110 to transmit a            level BaselJRL element or a period level BaselJRL element.
   segment Suitable for a specific interval based on the processed           FIG. 2 is a diagram illustrating categories of signaling
   metadata. In other words, the requested segment may be                 information according to an embodiment of the present
   selected based on the metadata. The request may be sent using          invention.
   the HTTP GET method.                                              30
                                                                             The signaling information (namely, metadata) may be
     The metadata may include a range attribute. The request              divided into the following categories 1) through 4):
   may include a request for bytes of a resource indicated by a              1) General information 210: includes common description
   URL that are designated by the range attribute.                        of content, and general description of each interval, such as a
     The URL of the segment may be an absolute URL or a                   duration, and a start time.
   relative URL.                                                     35
      Identical segments may be accessible at multiple locations            2) Quality of Service (QoS) information 220: describes
   indicated by URLs resolved with respect to the respective              characteristics of each alternative, Such as a bitrate, a resolu
   BaseURL elements. In other words, identical segments may               tion, and a quality. In other words, the QoS information
   be selectively accessible by the URLs provided by the                  describes characteristics of each of alternatives of content.
   BaselJRL elements.                                                40      An alternative may be physical (namely, created in
     Additionally, a first BaselJRL element among the                     advance), or may be virtual (namely, to be created on the fly).
   BaselJRL elements may be used as a basic Universal                     Based on information of alternatives, the client may select a
   Resource Indicator (URI), and BaselJRL elements other than             fragment of an appropriate alternative. Accordingly, adaptiv
   the first BaselJRL element may be used as alternative                  ity to contexts of terminals and networks may be supported.
   BaselJRL elements.                                                45      3) Mapping information 230: describes locations to
      The metadata may selectively include a sourceURL                    retrieve content. Depending on specific cases, different alter
   attribute of the segment. When the metadata selectively                natives may have the same or different locations.
   includes the sourceURL attribute of the segment, a BaselJRL               4) Client request 240: this type of signaling information
   element among the BaselJRL elements may be mapped to the               may conform to a format of HTTP 1.1 request message. As
   sourceURL attribute, so that the URL of the segment may be        50   shown in FIG. 1, parameters requested by the client may be
   generated.                                                             derived from the information of categories 1) through 3).
      In operation 145, in several cases, the server 110 may need            FIG. 3 is a diagram illustrating a hierarchy of content
   to parse content (for example, a Moving Picture Experts                division and levels of signaling information according to an
   Group (MPEG) layer 4 (MP4) file for Scalable Video Coding              embodiment of the present invention.
   (SVC)), and may extract a data part suitable for the requested    55      Signaling of metadata according to an embodiment of the
   Segment.                                                               present invention may be physically separated into content
     In operation 150, the server 110 may transmit, to the ter            level information 310, interval-level information 320, QoS
   minal 100, segments suitable for each request from the ter             information 330, and mapping information 340. Linking of
   minal 100. The terminal 100 may receive the segments from              related parts of the content-level information 310, the inter
   the server.                                                       60   val-level information 320, the QoS information 330, and the
     In operation 160, the terminal 100 may perform decoding              mapping information 340 may be performed by reference.
   and rendering on data of the media included in the segment, to            These parts of signaling information may be combined in
   play back the media.                                                   different ways to support the flexibility.
     The terminal 100 may play back the media using the                      For example, when only the content-level information 310
   received segments by repeating operations 120 through 160.        65   and interval-level information 320 are sent to a client, all
     Here, a BaselJRL element may include an MPD level                    computations for deciding alternatives and resolving loca
   BaselJRL element of an MPD, and a period level BaseURL                 tions may be performed by a server. Accordingly, when only
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   the content-level information 310 and interval-level informa                  employ a parsing module similar to a parsing module of
   tion 320 are sent to the client, a processing model may be                    file-format parsing. To design the syntax for the above pur
   “server-based.                                                                pose, a table of common elements may be defined and ele
     When the content-level information 310, the interval-level                  ments in each format may be represented, in the following
                                                                                 embodiments.
   information320, and the QoS information 330 are sent to the                      The proposed syntax may be represented by any other
   client, all computations for deciding alternatives and resolv                 languages.
   ing locations may be distributed and performed by the client                     Hereinafter, tables of general syntax elements will be
   and the server. Accordingly, when the content-level informa                   described.
   tion 310, the interval-level information 320, and the QoS                10      In the following tables, the syntax elements may be
   information 330 are sent to the client, the model may be                      described hierarchically. In other words, a child element may
   “distributed.                                                                 be shown in a column on the right of a parent element of the
     When all the signaling information (namely, the content                     child element. “Leaf-level elements may be shown in italic,
   level information 310, the interval-level information320, the                 and parent elements may be shown in bold letter. A parent
   QoS information 330, and the mapping information 340) is                 15
                                                                                 element may be represented by a corresponding XML type
   sent to the client, the model may be client-based, because                    and a file box.
   most (or all) processing (namely, computations for deciding                      In the column of occurrence, “O ... N' may mean that the
   alternatives and resolving locations) is performed by the cli                 number of instances of an occurrence element may be from 0
   ent.                                                                          to “unbounded.” The minimum occurrence of 0 may mean
      The separation of metadata parts may enable efficiency in                  that an element may be optional (namely, not present). A
   storage and delivery. For example, during a session, metadata                 minimum occurrence equal to or greater than 1 may mean that
   of the content-level information 310 may be sent once, and                    an element is mandatory in the syntax.
   only the interval-level information 320 may be periodically                      Occurrence may be interchangeable with cardinality.
   updated. Similarly, a single file containing the QoSInfo 330                     In a row of type, A indicates an attribute, and Eindicates an
   may be used for different intervals and different contents.              25
                                                                                 element. In a row of optionality, Mindicates mandatory, and
      There are different ways to represent a set of metadata, for               O indicates optional. For attributes, Mindicates mandatory, O
   example XML, pseudo-code, a Session Description Protocol                      indicates optional, OD indicates optional with default value,
   (SDP), and the like.                                                          and CM indicates conditionally mandatory. For elements,
      In embodiments of the present invention, both XML and                      elements may be represented as <minOccurs ... <maxOc
   pseudo-code may be used to represent signaling syntax. XML               30   curse. Here, N may be unbounded.
   syntax may be used for clients that support an XLM profile                       The above meaning may equally be applied to other tables
   based on an MPEG-21 and similar schema. On the other hand,                    in the present specification.
   pseudo-code syntax may be based on a “language' of an                            Additionally, QoSInfo may be also called AdaptationInfo
   International Organization for Standardization (ISO) base                     to make QoSInfo more specific. Moreover, a few elements
   media file format and the like, and may be used in non-XML                    may be revised to increase flexibility of the syntax.
   clients. In particular, a profile of the pseudo-code syntax may                  The following Table 1 describes general information.
                                                                                 TABLE 1.
                                                                                                                          XML                Pseudo
                                                                                                                          Syntax             code
                                                                                                                          (based on          (File
                                                                                                                          MPEG-              format
                                                                    Occurrence Semantics                                  21)               box)
                    HttpStr                                             1         Describes the top-level element of      HttpStreamingType https
                                                                                  signaling metadata for HTTP                               box
                                                                                  streaming
                              Generallnfo                            O. . .       Contains the general information of     General InfoType   geni
                                                                                  the described content                                      box
                                            TimeScale                O. . .       Describes the number of time units      integer            unsigned
                                                                                  in 1 Second.                                               int(32)
                                                                                  This value is used with time-related
                                                                                  elements, when a time unit is not
                                                                                  specified.
                                            LiveStartTime            O. . .          LiveStartTime element is not         dateTime           unsigned
                                                                                  present, the content is of VoD type.                       int(64)
                                                                                  The presence of LiveStartTime
                                                                                  element indicates a live content that
                                                                                  is to be displayed at a time value of
                                                                                   LiveStartTime.
                                                                                     LiveStartTime has a time value of
                                                                                  0, the display time is unknown.
                                            Duration                 O. . .          present, indicates duration of the   integer            unsigned
                                                                                  content. Otherwise, the duration is                        int(32)
                                                                                     KOW.
                                            DefaultintDuration       O. . .          present, indicates a default         integer            unsigned
                                                                                  duration of each interval of the                           int(32)
                                                                                  content.
                                            MinUpdateTime            O. . .         present, indicates the minimum        integer            unsigned
                                                                                  waiting time before requesting the                         int(32)
                                                                                  main description file again.
                                            ConsistentQoSInfo        O. . .         true, indicates that QoS              boolean            flag of
                                                                                  information is the same as the                             the
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                                                                                                               10
                                                  TABLE 1-continued
                                                                                                XML                 Pseudo
                                                                                                Syntax              code
                                                                                                (based on           (File
                                                                                                MPEG                format
                                              Occurrence Semantics                              21)                 box)
                                                         whole content duration.                                    box
                       DefaultContentLoc       O... 1    Provides a default location for the    any URI             String
                                                         content.
                                                                                                                    URL
        IntervalsRef                           ON        Provides reference to description      IntervalsRefType     ref
                                                         containing one or more instances of                        box
                                                          interval element.
                                                         One or more instances of Interval
                                                         element represent a sequence of
                                                         consecutive interval(s).
        Interval                               ON        Provides information of an interval    IntervalType
                                                         of content.
                                                         The information of the interval may
                                                         be either included as an instance of
                                                         interval element or referenced by
                                                         intervalsRefelement.
                       Intervalnfo             O... 1    Provides general information of an     IntervalInfoType     inti
                                                         interval.                                                  box
                       QoSInfoRef              O... 1    Provides reference to description      dia:ReferenceType   qref
                                                         represented by QoSInfo element.                            box
                                                          f OosInfoRefelement is present,
                                                         QoSInfo element may not be
                                                         present at the same level.
                       QoSInfo                 O... 1    Provides information about             QoSInfoType
                                                         alternatives of content, such as
                                                         resource characteristics and
                                                         quality futility.
                                                          f OoSInfo element is present,
                                                         QoSInfoRefelement may not be
                                                           (Sel.
                       MappingInfoRef          O... 1    Provides reference to description      dia:ReferenceType    mref.
                                                         represented by MappingInfo                                 box
                                                         element.
                                                          fMappingInfoRefelement is
                                                         present, MappingInfo element may
                                                         not be present at the same level.
                       MappingInfo             O... 1    Provides information about             MappingInfoType      mapi
                                                          ocations of content alternatives.                         box
                                                          f the information is not provided,
                                                         DefaultContentIntLoc element (if
                                                         not, DefaultContentLoc) can be
                                                         used to retrieve content.
                                                          fMappingInfo element is present,
                                                         MappingInfoRefelement may not
                                                         be present.
                       NextIntervalsRef        O... 1    Provides reference to information of   IntervalsRefType,    nref
                                                         next interval(s).                      may be              box
                                                         The information of next interval(s)    extended
                                                         is description containing one or       from
                                                         more instances of Interval element.    dia:ReferenceType
                                                         The information of next interval(s)
                                                         is description represented by
                                                         Interval element.
                                                         Using NextIntervalsRefelement,
                                                         the client does not need to reload
                                                         the main description represented by
                                                         HttpStrelement.
                                                         Within the current time window,
                                                         only the final interval may contain
                                                         NextIntervalsRefelement.
                       PreviousIntervalsRef    O... 1    Provides reference to information of   IntervalsRefType,    nref
                                                         previous interval(s).                  may be              box
                                                         The information of next interval(s)    extended
                                                         is description containing one or       from
                                                         more instances of Interval element.    dia:ReferenceType
                                                         The information of next interval(s)
                                                         is description represented by
                                                         Interval element.
                                                         Using PreviousIntervalsRef
                                                         element, the client does not need to
                                                         reload the main description
                                                         represented by HttpStrelement.
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                                       11                                                                                          12
                                                          TABLE 1-continued
                                                                                                                XML                     Pseudo
                                                                                                                Syntax                  code
                                                                                                                (based on               (File
                                                                                                                MPEG-                   format
                                                     Occurrence Semantics                                       21)                     box)
                                                                   Within the current time window,
                                                                   only the first interval may contain
                                                                   NextIntervalsRefelement.



      The following Table 2 describes IntervalsRef. NextInter
   valsRef. PreviousIntervalsRef, QoSInfoRef, Mapping In
   foRefa, and Interval Info.
                                                        TABLE 2
                                     Occurrence                   Semantics                         XML                 Pseudo
                                                                                                    Syntax                code
                                                                                                    (based                (File
                                                                                                      Oil                format
                                                                                                   MPEG-                  box)
                                                                                                     21)
    QoSInfoRef,
     MappingIn
       foRef
                        Index            1         Indicates the order (starting from 1) of           not              unsigned
                                                      the referenced description or box           applicable             int(8)
                                                  (Interval, QoSInfo, MappingInfo) in the
                                                   description file referenced by the next
                                                             Location element.
                      Location           1           Provides reference to description                uri                string
                                                    represented by Interval, QoSInfo, or           element            (representing
                                                               MappingInfo.                           in                   url)
                                                                                                 dia:Reference
                                                                                                     Type
    Intervalnfo
                      TimeScale        O... 1      Describes the number of time units in            integer            unsigned
                                                    one second. This value is used with                                 int(32)
                                                  time-related elements, when a time unit
                                                              is not specified.
                                                  TimeScale element, if present, overrides
                                                  the time scale provided by GeneralInfo.
                      StartTime        O... 1      Indicates the start time of the interval.
                      Duration         O... 1      Indicates the duration of the interval.          integer            unsigned
                                                                                                                         int(32)
                     DefaultFrag       O... 1         Indicates the default duration of             integer            unsigned
                      Duration                    fragments of the interval (except the last                             int(32)
                                                                 fragment).
                    DefaultContent     O... 1        Provides a default location for the           anyURI                string
                          Int                                content interval.                      type
                         Loc
                         Last          O... 1     If true, indicates the final interval of the     boolean               by flag
                                                                   content.
    IntervalsRef,
      Previous
    IntervalsRef
    NextInterval
         Ref
                      startTime                   Indicates the start time of the referenced      Xs:duration
                                                  sequence of intervals periods relative to
                                                        the start time of the content
                                                  (LiveStartTime for live content and O for
                                                           on-demand content).
                      Available        O... 1     Indicates the time the description of the         integer            unsigned
                        Time                        next interval is available. The is the                               int(32)
                                                   relative time from the start time of the
                                                                   content.
                        Index            1         Indicates the order (starting from 1) of           not              unsigned
                                                   the referenced interval description (or        applicable             int(8)
                                                  box) in the description file referenced by
                                                         the next Location element.
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                                     13                                                                                      14
                                              TABLE 2-continued
                         Location      1        Provides reference to description file         SX: any URI           string
                                                 that contains Interval descriptions.              type          (representing
                                                                                                   or uri             url)
                                                                                                  element
                                                                                                     in
                                                                                              dia: Reference
                                                                                                   Type


         The following Table 3 describes the QoSInfo element.
                                                                 TABLE 3
                                                                                                    XML                            Pseudocode
                                                                                                    Syntax                         (File
                                                                                                    (based on                      format
                                             Occurrence Semantics                                   MPEG-21)                       box)
   QoSInfo                                       1        Provides information about a list of QoSInfoType                         *QoSi
                                                          content alternatives, such as        containing a                        box
                                                          resource characteristics and              UtilityFunction
                                                          quality futility.                         of
                                                                                                    dia:AdaptiveOOSType
               Class SchemeRef                O... 1      Provides a list of classification         dia:DescriptionMetadata Type   'cSmr
                                                          Schemes.                                                                 box
                                                          The classification schemes provide
                                                          Semantics for some terms or
                                                          l8le:S.
                                    Scheme    1...N       Provides reference to a                   Attr.                          a url
                                                          classification scheme.                    alias &                        String
                                                                                                    hirefin
                                                                                                    dia:DescriptionMetadata Type
   (1)          Resource                      0...N.      Each instance of Resource element Element                                resi
                                                          describes, for a list of alternatives,    constraint                     box
                                                          characteristic values of a certain        of
                                                          resource type (e.g., bitrate).            dia:UFDataType
                                                                                                    in
                                                                                                    DIA
                                                                                                    Utility
                                                                                                    FunctionType
   (2)         AdaptationOperator             0...N.     Each instance of                           dia:UFData Type                 adpo
                                                         AdaptationOperator element                                                box
                                                         describes, for a list of alternatives,
                                                         values of a certain adaptation type
                                                         (e.g., remove temporal layers).
   (3)         Utility                        0...N.     Each instance of Utility element       dia:UFData Type                    utilbox
                                                         describes, for a list of alternatives,
                                                         values in a certain quality futility
                                                         type (e.g., MOS).
               UtilityRank                    0... 1     Describes the quality ranking for a dia:UtilityRankType                   utir.
                                                          list of alternatives.                                                    box
                                    Value     1...N       Indicates the quality futility rank of integer                           unsigned
                                                          an alternative.                                                          int(16)
                                                          The number of instances of Value
                                                          element is equal to the number of
                                                          alternatives.


                                                                                  50
     The following Table 4 shows common semantics of (1)
   Resource, (2) AdaptationOperator, and (3) Utility of Table 3.
                                                                 TABLE 4
                                                                                                    XML                            Pseudocode
                                                                                                    Syntax                         (File
                                                                                                    (based on                      format
                                             Occurrence Semantics                                   MPEG-21)                       box)
   QoSInfo                                       1        Provides information about a list         QoSInfoType                    *QoSi
                                                          of content alternatives, such as          containing a                   box
                                                          resource characteristics and              UtilityFunction
                                                          quality futility.                         of
                                                                                                    dia:AdaptiveOOSType
               Class SchemeRef                O... 1      Provides a list of classification         dia:DescriptionMetadata Type   'cSmr
                                                          Schemes.                                                                 box
                                                          The classification schemes provide
                                                          Semantics for some terms or
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                                                                            US 8,645,562 B2
                                          15                                                                                             16
                                                                     TABLE 4-continued
                                                                      l8le:S.
                                         Scheme           1...N       Provides reference to a                   Attr.                                 a url
                                                                     classification scheme.                     alias &                               String
                                                                                                                hirefin
                                                                                                                     ia:DescriptionMetadata Type
   (1)            Resource                                0...N.      Each instance of Resource element Element                                       resi
                                                                     describes, for a list of alternatives,     constraint                            box
                                                                     characteristic values of a certain         of
                                                                     resource type (e.g., bitrate).                  ia:UFData Type
                                                                                                                in DIA
                                                                                                                Utility
                                                                                                                FunctionType
   (2)            AdaptationOperator                      0...N.     Each instance of                                ia:UFData Type                    adpo
                                                                     AdaptationOperator element                                                       box
                                                                     describes, for a list of alternatives,
                                                                     values of a certain adaptation type
                                                                     (e.g., remove temporal layers).
   (3)            Utility                                 0...N.     Each instance of Utility element       ia:UFData Type                            utilbox
                                                                     describes, for a list of alternatives,
                                                                     values in a certain quality futility
                                                                     type (e.g., MOS).
                  UtilityRank                             0... 1     Describes the quality ranking for a dia:UtilityRankType                          utir.
                                                                     list of alternatives.                                                            box
                                         Value            1...N       Indicates the quality futility rank of integer                                  unsigned
                                                                     an alternative.                                                                  int(16)
                                                                     The number of instances of Value
                                                                     element is equal to the number of
                                                                     alternatives.

                                                                                                                XML
                                                                                                                Syntax
                                                                                                                (based                        Pseudocode
          Element                                                                                               Oil                           (File
          (1), (2),                                                                                             MPEG-                         format
          (3)                                                   Semantics                                       21)                           box)
                            Name                   1            Describes an identifier for a                   Att.                          unsigned
                                                                certain type of the element.                     iOPinRef,                    int(32)
                                                                When the identifier is not                      ref
                                                                semantically defined by the above               a CS
                                                                embodiment, next three elements                 tel
                                                                are used to find semantics of the
                                                                identifier in a classification
                                                                scheme.
                            CSref ind            O... 1         Indicates the reference index of a              Not                           unsigned
                                                                classification scheme in the list               applicable                    int(16)
                                                                provided by ClassSchemeRef
                                                                element.
                            LevelNum             O... 1         Indicates the number of levels.                 Not                           unsigned
                                                                                                                applicable                    int(16)
                            Levelindex           1...N          Each instance of Levelindex                     Not                           unsigned
                                                                element represents an index value               applicable                    int(16)
                                                                at a level of the classification
                                                                scheme.
                            Value                1...N          Indicates the value of a resource               8.                            unsigned
                                                                type (adaptation operator, or                   component                     int(32)
                                                                utility) of an alternative.                     in
                                                                The number of instances of Value                dia:VectorData Type
                                                                element is equal to the number of
                                                                alternatives.



         The following Table 5 shows mapping information.
                                                                        TABLE 5
                                                                                                              XML                          Pseudocode
                                                                                                              Syntax                       (File
                                                                                                              (based on                    format
                                                   Occurrence Semantics                                       MPEG-21)                     box)
   MappingInfo                                         O... 1                                                 MappingInfoType               mapibox
                      AlterLocID                       O... 1      Provides a location ID for each            dia:IntegerVectorType         aloc'
                                                                   alternative described in QoSInfo.                                       box
                                                                   If AlterLocID element is not
                                                                   present, the first location in the
                                                                   location list may be used for all
                                                                   alternatives.
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                                       17                                                                              18
                                                      TABLE 5-continued
                                                                                              XML                        Pseudocode
                                                                                              Syntax                    (File
                                                                                              (based on                 format
                                            Occurrence Semantics                              MPEG-21)                  box)
                               Value         1...N     Indicates a location ID for an         integer                   unsigned
                                                       alternative.                                                     int(16)
                                                       The number of instances of this
                                                       element is equal to the number of
                                                       alternatives.
                                                       Then" instance of Value element
                                                       corresponds to then" alternative
                                                       of QoSInfo description.
                ReqQoSPara                   0...N     Indicates a parameter of QoSInfo ReqQoSParaType                   reqp
                                                       that may be put in the request (for that                         box
                                                       an alternative) sent by the client to extends
                                                       the server.                            dia:Boolean VectorType
                                                       A parameter may be an instance of
                                                       Resource, AdaptationOperator,
                                                       Utility, or UtilityRank elements.
                               Refndex          1      Indicates instance index/reference     represented               unsigned
                                                       in the instance list of Resource,      by                        int(16)
                                                       AdaptationOperator, Utility and        attribute
                                                       UtilityRank elements.                    OPRef
                                                                                              that
                                                                                              references
                                                                                              8
                                                                                              IOPin in
                                                                                              QoSInfo
                               All              1      If true, the parameter needs to be     boolean                   flag
                                                       requested for all alternatives and
                                                       ReqFlag may be skipped.
                               ReqFlag       0...N.    Each instance of ReqFlag element component                       unsigned
                                                       corresponds to an alternative.      of                           int(8)
                                                       If ReqFlag is true, the request for Boolean VectorType
                                                       the corresponding alternative has
                                                       the parameter identified above.
                LocationList                    1      Provides a list of locations for       LocationListType            loc
                                                       retrieving content alternatives                                  box
                               Location      1...N     Provides information of a location      LocationType              loca
                                                                                                                        box



      Semantics of Location elements may be further provided
   as shown in Table 6.
                                                                         TABLE 6
                                                                                                                    XML
                                                                                                                    Syntax
                                                                                                                    (based               Pseudocode
                                                                 Occurrence Semantics                               on DIA)              (MP4)
   Location                                                           ON                                            LocationType         loca
                                                                                                                                         box
              LocID                                                     1      indicate an ID of an instance of     integer              unsigned
                                                                               Location element. Location                                int(16)
                                                                               element is referred to by
                                                                               AlterLocID.
              StrLocation                                             0...N    Provides location information        StrLocationType       sto
                                                                               of a stream of a content interval.                        box
                                                                               Each stream is provided by
                                                                               either a stream URL or a
                                                                               number of fragment URLs.
                            FragNum                                   O... 1   Provides the number of fragments     integer              unsigned
                                                                                                                                         int(16)
                            StreamUrl                                 O... 1   Describes a URL of a stream          any URItype          string
                            FragmentUrl                               0...N.   Describes a URL of a fragment.       any URItype          string
                                                                               The number of instances of
                                                                               FragmentUrl element is the
                                                                               number of fragments.
                            FragTime                                  O... 1   Provides durations of                dia:VectorDataType    frtin
                                                                               ragments.                                                 box
                                            Value                     1...N    indicates a duration of a            integer              unsigned
                                                                               ragment.                                                  int(32)
                                                                               The number of instances of
                                                                               Value element is the number of
                                                                               ragments.
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                                19                                                                               20
                                                            TABLE 6-continued
                                                                                                               XML
                                                                                                               Syntax
                                                                                                               (based               Pseudocode
                                                             Occurrence Semantics                              on DIA)              (MP4)
                         RandAccess                               O... 1    Describes fragments that           dia:VectorDataType   rdac
                                                                            Supportrandom access.                                   box
                                         Value                    1...N     indicates the order of a random    integer              unsigned
                                                                            access fragment.                                        int(16)
                      MP2TSPara                                   O... 1    Describes additional parameters    MP2TSParaType        "mp2p
                                                                            (beside URL) for locating a                             box
                                                                            content program in a MPEG-2
                                                                            TS.
                                         PID                   ON           Describes values of PIDs of        integer              unsigned
                                                                            content program in a MPEG-2                             int(16)
                                                                            TS.
                      FragBoundaries                              O... 1    Describes boundaries of            FragBoundariesType   frbd
                                                                            (virtual) fragments in a stream.                        box
                                                                            The number of instances of
                                                                            FragBoundaries element is
                                                                            equal to the number of
                                                                             ragments of the stream.
                                                                            Only one type of following
                                                                            elements is present in a
                                                                            FragBoundaries instance.
                                         MP2TSBoundary         ON           Describes parameters for           MP2TSBoundaryType “mp2b
                                                                            detecting (virtual) fragment                            box
                                                                            boundary in a MPEG-2 TS.
                                                                            fthere are two instances of
                                                                            MP2TSBoundary element, the
                                                                            two instances are starting and
                                                                            ending boundaries of a
                                                                            ragment.
                                                                             f there is only one instance of
                                                                            MP2TSBoundary element, the
                                                                            instance is the starting
                                                                            boundary. The ending
                                                                            boundary is right before the
                                                                            starting boundary of the next
                                                                            ragment.
                                         ISOFile:Boundary         1 ... 2   Describes parameters for           ISOFile:BoundaryType isfb
                                                                            detecting (virtual) fragment                            box
                                                                            boundary in a file based on ISO
                                                                            base media file format.
                                                                             fthere are two instances of
                                                                             SOFile:Boundary element, the
                                                                            two instances are starting and
                                                                            ending boundaries of a
                                                                             ragment. If there is only one
                                                                            instance of ISOFile:Boundary
                                                                            element, the instance is the
                                                                            starting boundary. The ending
                                                                            boundary is right before the
                                                                            starting boundary of the next
                                                                            ragment.
                                         ByteRanges                 1       Describes byte ranges that         ByteRanges.Type      brag
                                                                            identify a part fragment of a                           box
                                                                            ille.
                                                                            Parameters provided by
                                                                            ByteRanges element may be
                                                                            used for byte range options in
                                                                            an HTTP request.


     Semantics of MP2TSBoundary, ISOFileBoundary, and
   ByteRanges may be further provided as shown in Table 7.
                                               TABLE 7
                            Occurrence                Semantics                      XML           Pseudo
                                                                                     Syntax         code
                                                                                    (based on       (MP4)
                                                                                      DLA)
     MP2TS                                                                           MP2TS         “mp2b
    Boundary                                                                        Boundary        box
                                                                                      Type
               PCR PID          1         Describes PID carrying PCR of the          integer      unsigned
                                             concerned content program.                            int(16)
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                                  21
                                           TABLE 7-continued
                  PCR base        1           Describes a value of a PCR base            long       unsigned
                                                            field                                    int(40)
                   PCR ext        1             Describes a value of a PCR              integer     unsigned
                                                      extension field.                               int(16)
                 Appearance       1           Describes the appearance order            integer     unsigned
                                               (e.g., 1*, 2*) of the TS packet                       int(16)
                                            containing the PCR value identified
                                                 by the above two elements.
                                            If there is resetting/discontinuity of
                                            PCR, a PCR value may appear more
                                                than once during an interval.
                 Media PID                    Describes PID of a media (e.g.,           integer     unsigned
                                                    video) of a program.                             int(16)
                                                The number of instances of
                                             Media PID element is equal to the
                                                  number of media of the
                                                       program content.
                 Media Offset                Describes the offset (in TS packets        integer     unsigned
                                              of the same media PID) from the                        int(16)
                                             above identified PCR packet to the
                                              first media packet of a fragment.
                                             The n' instance of Media Offset is
                                             associated with then" instance of
                                                        Media PID.
      ISOFile                                                                          ISOFile        isfb
     Boundary                                                                        BoundaryType     box
                 SequenceNo       1           Describes the sequence number             integer     unsigned
                                                provided in the mfhd box.                            int(16)
                                            The mfhd box defines a fragment of
                                                        an MP4 file.
                                               SequenceNo with a value of 0
                                             indicates the beginning of the file.
    ByteRanges                                                                        ByteRanges      brag
                                                                                         Type         box
                     Start      1...N         Describes the starting value of a         integer     unsigned
                                                        byte range.                                  int(32)
                                              A value of -1 means that this
                                                value in the HTTP request
                                                        is missing.
                     End        1...N       Describes the ending value of a byte        integer     unsigned
                                                         range.                                      int(32)
                                              A value of -1 means that this
                                                value in the HTTP request
                                                        is missing.
                                             Start-End instances are present in
                                                            pair.
                                            Then" instance of End is associated
                                               with the n" instance of Start.
                 Media PID                     Describes PID of a media (e.g.,          integer     unsigned
                                              video) that needs to be extracted                      int(16)
                                              from the byte range of the above
                                                      pair of Start-End.
                                             Media PID element is used when
                                              the byte range is a segment of
                                             MPEG-2 TS, and all PIDs do not
                                                    need to be delivered.



      Hereinafter, a Client Request Will be Described.                         50      a) “fragno': Order value of the fragment in the interval
      Signaling of metadata obtained by a client may include                           b) “fragti’: Start time of the fragment in the interval
   different parts or levels of signaling information. Accord                          For example, a request URI may be “HTTP://server.com/
   ingly, a request from the client to a server may include param                    file.mp4?fragno=5.”
   eters of different levels of details.
     Main parameters of the client may be URIs, and may be                     55      2) Distributed Scenario
   associated with a query part.                                                       In the distributed scenario, the metadata provided from the
     Three main scenarios are examined as follows:                                   server to the client may include general content information
      1) Server-Based Scenario                                                       310, general interval information 320, and QoS information
      In the server-based scenario, the metadata provided from 60 33O.
   the server to the client may include general content informa      In addition to the above parameters, the following QoS
   tion 310 and general interval information 320.                 related parameters a) through c) are defined in the query part
      For an URI of requested content, DefaultContentIntLoc (if (of the request in operation 140) to enable the client to request
   not, DefaultContentIntLoc) may be used. To enable the client an appropriate alternative:
   to request a specific fragment of content, the following 65 a) “alter’’: Order value of an alternative. Based on the order
   parameters a) and b) are defined in the query part (of the value of the alternative, the alternative may appear in the QoS
   request in operation 140):                                     information.
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                            23                                                                        24
     b) “operl”, “oper2,..., and “operN”: “operi” carries a               example, when Refindex of ReqQoSPara is 0 or null, the
   value of an i' adaptation operation that appears in the QoS            “alter parameter may be used instead of other options.
   information.
      c) “res1”, “res2, ..., “resN': “resi' carries a value of an            When ReqQoSPara is not present in the QoSInfo metadata,
   i' resource that appears in the QoS information.                       the QoS-related parameters may not be used. Alternatives in
      Only one of the above three options may be used in a single         this case may be implied by locations of MappingInfo.
   request.                                                                  AURI of content may be derived from rich description of
      With typical adaptation operators and resource types, spe           MappingInfo. When content/program is conveyed in an
   cific parameter names for better intelligibility and interoper         MPEG-2 TS, one or more PIDs may be used to locate the
   ability may be defined.                                           10   content in the stream.
      Adaptation operators are as the following a) through e).
      a) audiolayers: indicates the number of scalable audio lay             When additional information for detecting fragment
   ers to be discarded.                                                   boundaries are provided, the following parameters 1) through
      b) temporallayers: indicates the number of temporal layers          3) for the query part (of the request in operation 140) may be
   of scalable video to be discarded.                                     used.
     c) spatiallayers: indicates the number of spatial layers of            1) For an MPEG-2 TS boundary, Appearance, PCR PID,
   scalable video to be discarded.
     d) qualitylayers: indicates the number of quality layers of          PCR base, PCR ext, Media PID, and Media Offset
   scalable video to be discarded.                                          2) For an ISO media file boundary, SequenceNo
     e) prioritylayers: indicates the number of priority layers of          3) For a file considered as a raw byte-sequence, Start and
   scalable video to be discarded.
                                                                          End
     Resource types are as the following a) through d).
     a) bitrate: indicates the average bitrate (in Kbps) of the             Semantics of the above parameters may be provided in
   requested alternative.                                                 semantics of a FragBoundaries element.
     b) vertresolution: indicates the vertical resolution of the            Start-End pairs may be used by a range header of an HTTP
   requested alternative.                                            25   request message. For example, if {(Start=0, End=99);
     c) horiresolution: indicates the horizontal resolution of the        (Start=200, End=299), the header may be “Range: bytes=0-
   requested alternative.                                                 99, 200-299.
     d) framerate: indicates the framerate of the requested alter            Hereinafter, syntax representation in an XML format will
   native.
      Using the pre-defined parameters, an example of a request      30
                                                                          be described. Representations of the above syntax elements
   URI based on the bitrate may be “http://server.com/                    may be provided in the XML format. Semantics of each
   file.mp4?fragno=5&bitrate=550.”                                        element may be traced back in the above Tables 1 through 7.
      3) Client-Based Scenario                                               Several elements may be extensions of several types
      In the client-based scenario, the metadata provided from            defined in an MPEG-21 DIA. Several few elements may take
   the server to the client may include general content, general     35   several types defined in the MPEG-21 DIA.
   interval information, QoS information, and mapping infor                 The following Table 8 shows syntax representation of
   mation.                                                                HTTPStreamingType in the XML format.
                                                                                               TABLE 8
                                                          <complexType name="HTTPStreamingType'>
                                                            <complexContent>
                                                              <extension base="dia:DIADescriptionType
                                                                <sequences
                                                                     <element name="General Info' type="General InfoType' minOccurs="0">
                                                                     <choice minOccurs="O' maxOccurs="unbounded
                                                                       <element name="IntervalsReftype="IntervalsRefType's
                                                                       <element name="Interval type="IntervalType' >
                                                                     <choice>
                                                              <sequence < complexContent>
                                                          </complexType
                                                                     50

     The QoS-related parameters used in the request may be                  The following Table 9 shows syntax representation of Gen
   indicated by a ReqQoSPara part of QoSInfo metadata. For                eralInfoType in the XML format.
                                                                                               TABLE 9
                                                          <complexType name="General InfoType'>
                                                            <complexContent>
                                                              <extension base="dia:DIADescriptionType
                                                                <sequences
                                                                  <element name="TimeScale” type="integer minOccurs="0">
                                                                  <element name="LiveStartTime' type="dateTime minOccurs="O/>
                                                                  <element name="Duration' type="integer minOccurs="0">
                                                                  <element name="DefaultIntduration' type="integer minOccurs="O/>
                                                                  <element name="MinUpdateTime' type="integer minOccurs="O’D-
                                                                  <element name="ConsistentQoSInfo' type="boolean' minOccurs="Of
                                                                  <element name="DefaultContentLoc' type="any URI minOccurs="0">
                                                                </sequences
                                                              <extension
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                                    25                                            26
                                 TABLE 9-continued
     </complexContent>
   </complexType


     The following Table 10 shows syntax representation of
   IntervalRef Type in the XML format.
                                TABLE 10                                   10
   <complexType name="IntervalsRefType'>
     <complexContent>
       <extension base="dia:ReferenceType'>
          <sequence>
            <element name="AvaliableTime' type="integer minOc-             15
   curs="O'>
          </sequences
          <attribute name='startTime' type="Xs:duration use="optional/>
       <extension
     </complexContent>
   </complexType
                                                                           2O

     The following Table 11 shows syntax representation of
   IntervalType in the XML format.
                                       TABLE 11

   <complexType name="IntervalType'>
     <complexContent>
       <extension base="dia:DIADescriptionType'>
          <sequence>
            <element name="IntervalInfo' type="Interval InfoType minOccurs="0">
            <choice minOccurs="O-
               <element name="QoSInfo' type="QoSInfoType"/>
               <element name="QoSInfoRef, type="dia:ReferenceType's
            <choice>
            <choice minOccurs="O-
               <element name="MappingInfo' type="MappingInfoType' >
               <element name="MappingInfoRef, type="dia:ReferenceType's
            <choice>
            <element      name="PreviousIntervalsRef     type=“IntervalsRefType
   minOccurs="O'>
               <element     name="NextIntervalsRef      type=“IntervalsRefType
   minOccurs="O'>
          </sequences
       <extension
     </complexContent>
   </complexType


      The following Table 12 shows syntax representation of
   Interval InfoType in the XML format.
                                       TABLE 12
   <complexType name="IntervalInfoType's
     <sequences
       <element name="TimeScale” type="integer minOccurs="Of
       <element name="StartTime” type="dateTime minOccurs="0"/>
       <element name="Duration' type="integer minOccurs="O’D-
       <element name="DefaultFrag|Duration' type="integer minOccurs="0">
       <element name="DefaultContentIntLoc' type="any URI minOccurs="O/>
       <element name="Last type="boolean' minOccurs="0">
     </sequences
   </complexType


     The following Table 13 shows syntax representations of as
   ISOFile:BoundaryType and ByteRangesType in the XML for
   mat.
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                                                                 US 8,645,562 B2
                                    27                                                                   28
                                       TABLE 13
   <complexType name="ISOFile:BoundaryType' >
     <sequences
       <element name="SequenceNo' type="integer' maxOccurs="unbounded's
     </sequences
   </complexType
   <complexType name="ByteRangesType'>
     <sequence maxOccurs="unbounded's
       <element name="Start" type="integer's
       <element name="End" type="integer's
       <element name="Media PID type="integer minOccurs="0"/>
     </sequences
   </complexType


     Hereinafter, syntax representation in an MP4 pseudo-code          15      Depending on an actual location of a client, the client may
   format will be described. Representation of the above syntax             select one or more BaselJRLs in a process of retrieving
   elements may be provided in the MP4 pseudo-code format.                    SOUCS.
     The following Table 14 shows syntax representation of                    Such a modification may be implemented by different
   HTTPStreamingBox in the MP4 pseudo-code format.                          ways. One way may be to use an additional attribute called
                                                                            “morebaseURLs, or an element called “BaselJRLs.”
                                 TABLE 1.4                                     The attribute or element may be a string formed of multiple
   HTTPStreamingBox                                                         (base) URLs. The string may be separated by several special
     Box Type: https                                                        characters, for example '' (namely, a semicolon and a
     Container: Signaling file                                              space).
     Mandatory:Yes                                                     25
                                                                               For example, when a semicolon or space appears within a
     Quantity: One
       Aligned.(8) class HTTPStreamingBox extends Box.(htps) {              URL, the semicolon or space may be encoded by the rules of
                                                                            RFC 2616.
                                                                               The morebaselJRLs attribute (or BaselJRLs element) of a
      FIG. 4 is a diagram illustrating detecting of virtual bound      30   lower description level may override the same attribute (or
   aries in an MPEG-2 TS according to an embodiment of the                  element) of the higher description level.
   present invention.                                                          For clarity, the morebaselJRLs attribute and BaselJRLs
      In a TS, PCR packets of a given program may be carried                element may be restricted to be mutually exclusive. In other
   with fixed PIDs (namely, PCR PID), and may be inserted at                words, only a single type may exist in a whole description.
   least every 100 ms.                                                 35      Another way may be to use a MoreBaselJRL element of
      The PCT packets (with increasing values) may be consid                any URI type with multiple instances, where each instance
   ered as anchor points of the program. On the other hand, each            provides a BaselJRL.
   media of a program may be carried by packets of a given PID                 The different ways may be merely examples of ideas for
   (namely, Media PID).                                                     providing multiple BaselJRLs. The ideas may be imple
      Accordingly, a fragment boundary of a media stream may           40   mented in many other ways or even other languages.
   be defined or identified by 1) a specific anchor point and 2) an            Hereinafter, Multiple Locations for Resource/Content
   offset from the anchor to the packet at the boundary.                    Components Will be Described.
      The offset may be counted by the packets of the same                     Resource/content may be divided into one or more com
   Media PID.
                                                                            ponents/streams. Each of the one or more components/
      PCR values may be occasionally reset (discontinuity). For
                                                                       45   streams may be delivered from a location. The delivering may
                                                                            be supported by allowing multiple instances of an UrlTem
   example, when one or more PCR packets have the same PCR                  plate element or a Url element set in SegmentInfoType. A
   value in an interval, an appearance order of PCR packets used            modification “KXs:choice maxOccurs='''unbounded'>'' in
   as anchors may be indicated.                                             SegmentInfoType may be used for the above purpose.
      A sourceURL attribute may be changed from required to            50      The appearance order of an UrlTemplate instance or a Url
   optional. This is because baseURL already provides a com                 set instance may indicate importance of "location/stream. A
   plete URL. The sourceURL may be unnecessary.                             more important location may appear before a less important
      The use of multiple byte ranges may provide flexibility in            location. For example, a video Representation may include
   downloading “virtual segments. For example, a segment of a               two streams (for example, a spatial base layer, and a spatial
   low frame rate (that is able to be used in a trickmode) may be      55   enhancement layer). Each of the two streams may be deliv
   extracted on-the-fly from a stream or an original segment.               ered from a location described by UrlTemplate. Subse
      In addition, to Support using multiple URLs for a Repre               quently, the first instance of UrlTemplate may be a location
   sentation, the following modifications may be applied to the             for the spatial base layer.
   schema of 3GPP Adaptive HTTP Streaming.                                     Moreover, multiple instances of InitialisationSegmen
      Hereinafter, Multiple Locations for the Same Resource/           60   tURL may be allowed. Ann" instance of InitialisationSeg
   Content Will be Described.                                               ment URL may correspond to ann' instance of a location (by
      Each level of description (a top-level, a Period level, and a         either the UrlTemplate element or the Url element set).
   Representation level) may provide only a single BaselJRL for                For example, when only a single instance of Initialisation
   building absolute URLs from the description.                             SegmentURL exists, the instance may be used for all loca
      Multiple BaselJRLs may be provided at each description           65   tions.
   level. Multiple BaselJRLs may signal availability of                       The following Tables 15 through 19 show the schema of
   resources at multiple locations.                                         3GPP AdaptiveHTTPStreaming.
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                               35                                                                        36
     FIG. 5 is a diagram illustrating a configuration of the ter           instructions, such as read-only memory (ROM), random
   minal 100 according to an embodiment of the present inven               access memory (RAM), flash memory, and the like.
   tion.                                                                   Examples of program instructions include both machine
      A controller 510 may perform operations 130 and 140.                 code, such as produced by a compiler, and files containing
   Specifically, the controller 510 may process the metadata of       5    higher level code that may be executed by the computer using
   the interval.                                                           an interpreter. The described hardware devices may be con
      A transceiver 520 that selects a fragment suitable for the           figured to act as one or more software modules in order to
   interval based on the processing may perform operations 120,            perform the operations of the above-described embodiments
   140, and 150. Specifically, the transceiver 520 may receive             of the present invention, or vice versa.
   the metadata of the interval of the content from the server 110,   10
                                                                              Although a few embodiments of the present invention have
   may senda request for the fragment Suitable for the interval to         been shown and described, the present invention is not limited
   the server, and may receive the fragment from the server.               to the described embodiments. Instead, it would be appreci
      FIG. 6 is a diagram illustrating a configuration of the ter
   minal 100 according to an embodiment of the present inven               ated by those skilled in the art that changes may be made to
   tion.                                                              15   these embodiments without departing from the principles and
     The terminal 100 may include an access engine 610, and a              spirit of the invention, the scope of which is defined by the
   media engine 620.                                                       claims and their equivalents.
     The access engine 610 may be a DASH access engine.
     The access engine 610 may receive metadata (for example,                The invention claimed is:
   an MPD) from the server 110.                                              1. A method for providing media, the method comprising:
     The access engine 610 may form requests, and may issue                  receiving metadata of media, the metadata comprising one
   the formed requests to the server 110. The access engine 610                 or more BaselJRL elements;
   may receive media (for example, segments or parts of the                  sending a request for a segment of the media using a Uni
   segments) from the server 110. The access engine may                        form Resource Locator (URL) of the segment, the URL
   request a segment of the media using a URL of the segment.         25       being resolved with respect to a BaselJRL element;
     The access engine 610 may receive segments of the media                 receiving the segment; and
   based on information provided by the metadata. Here, each                 decoding and rendering data of the media that is included in
   period may include one or more groups, and each of the                      the segment,
   groups may include one or more representations of the media.              wherein the request is sent using an HTTP GET method,
   Each of the representations may include one or more seg            30       the BaselJRL element specifies one or more common
   mentS.                                                                      locations for segments, and the segment is one of the
      The access engine 610 may provide the media to the media                  Segments.
   engine 620. The access engine 610 may decode data of the                  2. The method of claim 1, wherein the metadata is a Media
   media included in the segments.                                         Presentation Description (MPD) of the media.
      An output of the access engine 610 may include media (or        35     3. The method of claim 2, wherein the media comprises a
   a part of the media) of an MPEG container (for example, an              sequence of one or more periods,
   ISO/IEC 14492-12 ISO base media file format, oran ISO/IEC                 wherein a BaselJRL element comprises one or more MPD
   13818-2 MPEG-2 TS). Additionally, the output of the access                   level BaselJRL elements of the MPD, and one or more
   engine 610 may include timing information used to map                       period level BaselJRL elements of the periods, and
   internal timing of the media to a timeline of a media presen       40     wherein a URL of a segment included in each of the periods
   tation.                                                                     is resolved with respect to a period level BaselJRL ele
      The media engine 620 may play back the provided media.                    ment.
   Specifically, the media engine 620 may receive data of the                4. A method for providing media, the method comprising:
   media from the access engine, and may output the media. The               receiving metadata of media, the metadata comprising one
   media engine 620 may output the media using the data of the        45        or more BaselJRL elements;
   media and the timing information that are output from the                 sending a request for a segment of the media using a Uni
   access engine 610.                                                          form Resource Locator (URL) of the segment, the URL
      Technical information according to the embodiments of                    being resolved with respect to a BaselJRL element;
   the present invention described above with reference to FIGS.             receiving the segment; and
   1 through 5 may equally be applied to the present embodi           50     decoding and rendering data of the media that is included in
   ment. Accordingly, further description thereof will be omit                 the segment,
   ted.                                                                      wherein the metadata comprises a range attribute, and
      The method according to the above-described embodi                     wherein the request comprises a request for bytes of a
   ments of the present invention may be recorded in computer                  resource indicated by the URL that are designated by the
   readable media including program instructions to implement         55       range attribute, the BaselJRL element specifies one or
   various operations embodied by a computer. The media may                    more common locations for segments, and the segment
   also include, alone or in combination with the program                      is one of the segments.
   instructions, data files, data structures, and the like. The pro          5. The method of claim 4, wherein the metadata is a Media
   gram instructions recorded on the media may be those spe                Presentation Description (MPD) of the media.
   cially designed and constructed for the purposes of the            60     6. The method of claim 5, wherein the media comprises a
   embodiments, or they may be of the kind well-known and                  sequence of one or more periods,
   available to those having skill in the computer software arts.            wherein a BaselJRL element comprises one or more MPD
   Examples of computer-readable media include magnetic                         level BaselJRL elements of the MPD, and one or more
   media Such as hard disks, floppy disks, and magnetic tape;                  period level BaselJRL elements of the periods, and
   optical media such as CD ROM disks and DVDs; magneto               65     wherein a URL of a segment included in each of the periods
   optical media Such as floptical disks; and hardware devices                 is resolved with respect to a period level BaselJRL ele
   that are specially configured to store and perform program                   ment.
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                               37                                                                  38
     7. A method for providing media, the method comprising:             wherein the request is sent using an HTTP GET method,
     receiving metadata of media, the metadata comprising one              the BaselJRL element specifies one or more common
       or more BaselJRL elements;                                          locations for segments, and the segment is one of the
     sending a request for a segment of the media using a Uni               Segments.
       form Resource Locator (URL) of the segment, the URL               11. A terminal, comprising:
       being resolved with respect to a BaselJRL element;                an access engine to receive metadata of media, to send a
     receiving the segment; and                                            request for a segment of the media using a Uniform
                                                                            Resource Locator (URL) of the segment, to receive the
     decoding and rendering data of the media that is included in           segment, and to decode data of the media that is included
       the segment,                                                 10     in the segment, the metadata comprising one or more
     wherein the URL is an absolute URL or a relative URL, the              BaselJRL elements, and the URL being resolved with
       BaseURL element specifies one or more common loca                   respect to a BaselJRL element; and
       tions for segments, and the segment is one of the seg             a media engine to receive the data of the media from the
       mentS.                                                              access engine, and to output the media,
     8. The method of claim 7, wherein the metadata is a Media           wherein the metadata comprises a range attribute, and
   Presentation Description (MPD) of the media.
                                                                    15   wherein the request comprises a request for bytes of a
     9. The method of claim 8, wherein the media comprises a               resource indicated by the URL that are designated by the
   sequence of one or more periods,                                        range attribute, the BaselJRL element specifies one or
                                                                           more common locations for segments, and the segment
     wherein a BaselJRL element comprises one or more MPD                  is one of the segments.
       level BaselJRL elements of the MPD, and one or more               12. A terminal, comprising:
       period level BaselJRL elements of the periods, and                an access engine to receive metadata of media, to send a
     whereina URL of a segment included in each of the periods             request for a segment of the media using a Uniform
       is resolved with respect to a period level BaselJRL ele              Resource Locator (URL) of the segment, to receive the
       ment.                                                                segment, and to decode data of the media that is included
     10. A terminal, comprising:                                    25     in the segment, the metadata comprising one or more
     an access engine to receive metadata of media, to send a               BaselJRL elements, and the URL being resolved with
       request for a segment of the media using a Uniform                  respect to a BaselJRL element; and
        Resource Locator (URL) of the segment, to receive the            a media engine to receive the data of the media from the
        segment, and to decode data of the media that is included          access engine, and to output the media,
       in the segment, the metadata comprising one or more          30   wherein the URL is an absolute URL or a relative URL, the
        BaselJRL elements, and the URL being resolved with                 BaseURL element specifies one or more common loca
       respect to a BaselJRL element; and                                  tions for segments, and the segment is one of the seg
                                                                           mentS.
     a media engine to receive the data of the media from the
       access engine, and to output the media,
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                              EXHIBIT F
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                                                                                                             USOO8909805B2


   (12) United States Patent                                                      (10) Patent No.:                          US 8,909,805 B2
          Thang et al.                                                            (45) Date of Patent:                               *Dec. 9, 2014
   (54) APPARATUS AND METHOD FOR                                                    G06O 90/00                           (2006.01)
           PROVIDING STREAMING CONTENT                                              H04L 29/08                           (2006.01)
   (75) Inventors: Truong Cong Thang, Daejeon (KR):                               H4N2L/845                (2011.01)
                   Jin Young Lee, Daejeon (KR); Seong                             H4N2L/854                (2011.01)
                   Jun Bae, Daejeon (KR); Jung Won                           (52) U.S. Cl.
                   Kang, Daejeon (KR); Soon Heung                                 CPC ............ H04L 65/60 (2013.01); H04N 21/6125
                   Jung, Daejeon (KR); Sang Taick Park,                                         (2013.01); H04N 2 1/43 (2013.01); H04L
                   Daejeon (KR); Won Ryu, Daejeon (KR):                                  65/4069 (2013.01); H04N 21/2358 (2013.01);
                   Jae Gon Kim, Goyang-si (KR)                                                    H04N 21/23439 (2013.01); H04L 65/80
   (73) Assignees: Electronics and Telecommunications                                           (2013.01); H04N 2 1/84 (2013.01); H04L
                   Research Institute, Daejeon (KR);                                        65/4092 (2013.01); G06O 90/00 (2013.01);
                   Industry-University Cooperation                                                 H04L 67/02 (2013.01); H04L 65/4084
                   Foundation Korea Aerospace                                                (2013.01); H04N 2 1/845 (2013.01); H04N
                   University, Gyeonggi-do (KR)                                                                      21/8541 (2013.01)
   (*)    Notice:      Subject to any disclaimer, the term of this                  USPC - - - - - - - - - - - grrrr. 709/230; 709/231
                       patent is extended or adjusted under 35               (58) Field of Classification Search
                   U.S.C. 154(b) by 0 days.                                       USPC ......... 709/203, 217, 218, 223-229, 219, 231,
                   This patent is Subject to a terminal dis-                                             709/236, 21, 230; 725/716, 723
                   claimer.                                                       See application file for complete search history.
   (21) Appl. No.:      13/824,995                                           (56)                References Cited
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   (65)               Prior Publication Data                                 JP            2008-259001 A                  10, 2008
          US 2013/O185398 A1     Jul.18, 2013                                KR          102005.0055820 A                  6, 2005
                    Related U.S. Application Data                                                       OTHER PUBLICATIONS
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        19, 2011, provisional application No. 61/417.931,                    V9.3.0, Jun. 2010.
          filed on Nov. 30, 2010, provisional application No.                Primary Examiner — Jimmy H Tran
          61/414.462, filed on Nov. 17, 2010, provisional                    (74) Attorney, Agent, or Firm — William Park & Associates
          application No. 61/405,674, filed on Oct. 22, 2010,                Patent Ltd.
         pyinal application No. 61/390,328, filed on Oct.                    (57)                  ABSTRACT
   (30) s         Foreign Application Priority Data                          A method and apparatus for an adaptive Hypertext Transfer
                                                                             Protocol (HTTP) streaming service using metadata of media
       Oct. 4, 2011 (KR) ........................ 10-2011-0.100706           content are provided. The media content may include a
                                                                             sequence of one or more periods. The metadata may include
   (51) Int. Cl.                                                             a start time attribute and/or a duration attribute of each of the
        G06F 15/16                 (2006.01)                                 periods. The metadata may determine a start time of each of
          H4N2L/6                  (2011.01)                                 the periods, and a start time of each of segments included in
          H4N2L/43                 (2011 01)                                 each of the periods. A terminal may access segments included
                                                                             in each of the periods, may decode and render data of media
          H04L 29/06               (2006.01)                                 content included in the segments, and may play back the
          H4N2L/235                (2011.01)                                 media content.
          H4N2L/2343               (2011.01)
          H4N2L/84                 (2011.01)                                                         4 Claims, 5 Drawing Sheets

                                                            Content                   Content-level info h-310
                                               I interval       2"interval
                                                                                      Interwal-level info   - 320

                                                                                                              330
                                            Fragments
                                                                                                            info
                                                            Alternativel

                                                            Alternative 2               Mapping info        -340
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                                          FIG. 1

                        100                                   11 ()

                    TERMINAL                                SERVER

                                       METADATA 120

              PROCESS METADATA              13 ()

                              REQUEST FOR SEGMENT 140

                                           145            PARSE MEDIA

                                       SEGMENTS 150

              PERFORM DECODING
               AND RENDERING
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                                              FIG 2



                        General info
              Content info, live or VoD, length,
                             CtC.



                      QoS-related info                       Client request
                  Alternatives: quality and                   Client-based
                       characteristics                        Server-based
                                                               Distributed


                    Data mapping info
               Mapping alternative to physical
                      data fragments
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                                              FIG. 4


                                Stream of TS packet
                   42% SAZ-2 SAS422.24 S2%2 *
                    */                     .. N    PS.   -   N X-   -.


                                  X.   X
                                 x- x.
                                 X



                                 l

            TS packet with
              PCR field
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                                                FIG.S




                                                                   OWJFIRLCOWHN. +V{IDCNGWHIJNL
                                  9
                                  ||
                                  0




                                                    (HSVCI) S-HOV EINOGH
                                       LVVECHIVN.                      VICGHN        (LNAVO?S)
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                                                        US 8,909,805 B2
                                 1.                                                                   2
               APPARATUS AND METHOD FOR                                   The period element may include a duration attribute indi
              PROVIDING STREAMING CONTENT                              cating a duration of a period.
                                                                          The duration attribute may specify a start time of a period
                        TECHNICAL FIELD                                Subsequent to the period.
                                                                          The start time of the period may determine a start time of
      The present invention relates to a technology for providing      each  of segments included in the period.
   streaming content, and more particularly, to an apparatus and cating aperiod
                                                                          The          element may include a reference attribute indi
   method for providing media content using adaptive stream the periods may betodefined
                                                                                 reference    an external period element, and each of
                                                                                                     by the external period element.
   ing.                                                                   According   to another aspect of the present invention, there
                                                                    10
                        BACKGROUND ART
                                                                       is provided  a terminal, including: an access engine to receive
                                                                       metadata of media, to receive segments of the media based on
                                                                       information provided by the metadata, and to decode data of
      Streaming is one of schemes for transmitting and playing the media that is included in the segments, the metadata
   back multimedia content such as Sounds, moving images, and including one or more periods; and a media engine to receive
   the like. A client may play back content while receiving the 15 the data of the media from the access engine, and to output the
   content through the streaming.                                      media, wherein each of the periods includes one or more
      An adaptive streaming service refers to providing a stream representations of the media, and wherein each of the repre
   ing service employing a communication scheme with a sentations starts from a beginning point of a period and con
   request of a client and a response of a server in response to the tinues to an ending point of the period, and includes one or
   request.                                                        2O   more Segments.
      The client may request a media sequence Suitable for an
   environment of the client (for example, a transmission chan                      Effect of the Invention
   nel of the client), using the adaptive streaming service. The
   server may provide a media sequence matched to the request      According to embodiments of the present invention, it is
   of the client among media sequences with various qualities 25 possible to use segments included in each of one or more
   that are included in the server.                              periods, to playback media including a sequence of the one or
      The adaptive streaming service may be provided based on more periods.
   various protocols.                                              Additionally, according to embodiments of the present
      A Hypertext Transfer Protocol (HTTP) adaptive streaming invention, it is possible to use metadata that represents a start
   service refers to an adaptive streaming service provided based 30    time attribute and/or a duration attribute of each of one or
   on an HTTP protocol. A client of the HTTP adaptive stream            more periods, to play back media including a sequence of the
   ing service may receive content from a server using the HTTP         one or more periods.
   protocol, and may transmit a request associated with a
   streaming service to the server.                                              BRIEF DESCRIPTION OF DRAWINGS
                                                                   35
                 DISCLOSURE OF INVENTION                                  FIG. 1 is a signal flowchart illustrating a content processing
                                                                        method according to an embodiment of the present invention.
                          Technical Goals                                 FIG. 2 is a diagram illustrating categories of signaling
                                                                        information according to an embodiment of the present
      An aspect of the present invention provides an apparatus 40 invention.
   and method that may playback media including a sequence of           FIG. 3 is a diagram illustrating a hierarchy of content
   one or more periods, using segments that are classified for division and levels of signaling information according to an
   each period.                                                      embodiment of the present invention.
      Another aspect of the present invention provides an appa          FIG. 4 is a diagram illustrating detection of virtual bound
   ratus and method that may use metadata that represents a start 45 aries in a Moving Picture Experts Group-2 Transport Stream
   time attribute and/or a duration attribute of each of one or      (MPEG-2 TS) according to an embodiment of the present
   more periods, to play back media including a sequence of the invention.
   one or more periods.                                                 FIG. 5 is a diagram illustrating a configuration of a client
                                                                     according to an embodiment of the present invention.
                        Technical Solutions                        50
                                                                                BEST MODE FOR CARRYING OUT THE
      According to an aspect of the present invention, there is                            INVENTION
   provided a method for providing media, the method includ
   ing: receiving metadata of media, the metadata including one       Reference will now be made in detail to embodiments of
   or more periods; accessing segments of the media based on 55 the present invention, examples of which are illustrated in the
   information provided by the metadata; and decoding and accompanying drawings, wherein like reference numerals
   rendering data of the media that is included in the segments, refer to the like elements throughout. The embodiments are
   wherein each of the periods includes one or more represen described below in order to explain the present invention by
   tations of the media, and wherein each of the representations referring to the figures.
   starts from a beginning point of a period and continues to an 60 A Dynamic Adaptive Streaming over HTTP (DASH) may
   ending point of the period, and includes one or more seg specify formats that enable 1) delivery of media content from
   mentS.                                                          an HTTP server to an HTTP client, and enable 2) caching of
      The metadata may be a Media Presentation Description content by standard HTTP cashes.
   (MPD) of the media.                                                A media component may be an encoded version of indi
      Each of the periods may be defined by a period element. 65 vidual media types, such as audios, videos, or timed texts with
      The period element may include a start attribute indicating specific attributes, for example bandwidths, languages, or
   a start time of a period.                                       resolutions.
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                                  3                                                                   4
      Media content may be a set of media components having a              A representation may refer to a structured collection of one
   common timeline, for example audios, videos, or timed texts.          or more media components within a single period. In other
   Additionally, media components may have relationships on              words, a representation may be one of alternative choices of a
   how the media components may be presented (for example,               complete set or Subset of media content components forming
   individually, jointly, or mutually exclusive) as programs or          media content during a defined period. A representation may
   movies.                                                               include one or more media streams. Each of the media
      Hereinafter, media content, media, and content may be              streams may be an encoded version of a single media content
   used as interchangeable terms.                                        component.
      A media presentation (or media) may be a structured col       10
                                                                            A representation may start from a beginning point of a
   lection of data used to establish bounded or unbounded pre            period (namely, a period including the representation), and
   sentation of media content including components of continu            may continue to an ending point of the period.
   ous media.                                                               A representation may be one of alternative choices of the
      In other words, the media presentation may be a structured         media content or a Subset of the media content typically
   collection of data that is accessible to a DASHclient in order   15   differing by the encoding choice, for example by a bitrate, a
   to provide a streaming service to a user.                             resolution, a language, a codec, and the like.
      A Media Presentation Description (MPD) may be a for                   An MPD (or an MPD element) may provide descriptive
   malized description for a media presentation.                         information that enables a client to select one or more repre
      The media presentation may be described by an MPD                  sentations.
   including possible updates of the MPD.                                   A Random Access Point (RAP) may be a specific location
      Content may be content on demand, or live content.                 in a media segment. The RAP may be identified as a location
      The content may be divided into one or more intervals. In          in which playback may be started continuously from a loca
   other words, the content may include one or more intervals.           tion of the RAP using only information included in a media
      Hereinafter, intervals may be interchangeable with peri            Segment.
   ods. The term period may be used as a term in 3" Generation      25     Each representation may be formed of one or more seg
   Partnership Project (3GPP) adaptive HTTP streaming. In                ments. In other words, a representation may include one or
   other words, a period may be an interval of a media presen            more Segments.
   tation. A continuous sequence of all periods may constitute              An MPD may be a document including metadata required
   the media presentation.                                               to a DASHclient to form appropriate HTTP-URLs in order to
      In other words, the media presentation may include one or     30   1) access segments and to 2) provide a user with a streaming
   more periods. Alternatively, the media presentation may               service. The HTTP-URLs may be absolute or relative.
   include a sequence of one or more periods.                               The MPD may be an Extensible Markup Language
      One or more intervals may be a basic unit. One or more             (XML)-document.
   intervals may be described by signaling metadata. In other               The MPD may include an MPD element. The MPD may
   words, metadata may describe each of the one or more inter       35   include only a single MPD element.
   vals.                                                                    FIG. 1 is a signal flowchart illustrating a content processing
      The metadata may be an MPD.                                        method according to an embodiment of the present invention.
      The MPD may define a format to announce resource iden                 A terminal 100 may be a DASHclient.
   tifiers for segments. The MPD may provide a context for                  The DASHclient may be compatible with a client specified
   identified resources within the media presentation. The          40   in RFC 2616.
   resource identifiers may be HTTP-Uniform Resource Loca                  The DASHclient may typically use an HTTP GET method
   tors (URLs). URLs may be restricted by a byte range                   oran HTTP partial GET method, as specified in RFC 2616, to
   attribute.                                                            access segments or parts of segments.
      Each interval may be divided into segments. Hereinafter,             A server 110 may perform hosting on DASH segments.
   segments may be interchangeable with fragments. The term         45   The server 110 may be compatible with a server specified in
   segment may be used as a term of 3GPP adaptive HTTP                   RFC 2616.
   streaming.                                                               In operation 120, the terminal 100 may receive metadata of
      A segment may refer to an entity body of a response to an          media (or content) from the server 110. In other words, the
   HTTP/1.1 GET request for an HTTP-URL, for example as                  server 110 may transmit the metadata of the media to the
   defined in RFC 2616, (or a GET request for a part indicated by   50   terminal 100. The media may include one or more periods.
   a byte range).                                                           The metadata may include BaselJRL elements. One or
      A terminal may play back media content using received              more BaselJRL elements may be provided.
   bytes (namely, a segment).                                               In operation 130, the terminal 100 may process the
      A Sub-segment may refer to a smallest unit within seg              received metadata. In operation 130, the terminal 100 may
   ments that may be indexed by a segment index at the segment      55   extract information provided by the metadata, or information
   level.                                                                included in the metadata.
      Two or more sets of fragments corresponding to a single               In operations 140 through 150, the terminal 100 may
   interval may exist. Each of the sets may be called an alterna         access a segment of the media based on the information
   tive.                                                                 provided by the metadata.
      An alternative may be interchangeable with a representa       60      Each of the periods may include one or more groups, and
   tion (or an expression).                                              each of the groups may include one or more representations of
      Each period may include one or more groups.                        the media. In other words, each of the periods may include the
      Each group may include one or more representations of the          one or more representations of the media. Accordingly, each
   same media content. Accordingly, each period may include              of the representations may start from a beginning point of a
   one or more representations of media content.                    65   period including each of the representations, and may con
      Hereinafter, groups may be interchangeable with adapta             tinue to an ending point of the period. Each of the represen
   tion sets.                                                            tations may include one or more segments.
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      Each of the periods may be defined by a period element.                 In operation 150, the server 110 may transmit, to the ter
      The period element may include a start attribute indicating           minal 100, segments suitable for each request from the ter
   a start time of a period. Additionally, the period element may           minal 100. The terminal 100 may receive the segments from
   include a duration attribute indicating a duration of a period.          the server.
      To specify a start time of a first period among one or more              In operation 160, the terminal 100 may perform decoding
   periods, the following methods 1) through 3) may be applied.             and rendering on data of the media included in the segment, to
   Hereinafter, a second period may be subsequent to the first              play back the media.
   period.                                                                     A start time of a period may determine a start time of each
      Method 1): When a start attribute exists in a first period       10
                                                                            of segments included in the period. Accordingly, to play back
   element of the first period, a start time of the first period may        media using segments, the terminal 100 may determine a
   be equivalent to a value of the start attribute.                         playback time based on a start time of a period including the
      Method 2): When a start attribute does not exist in the first         Segments.
   period element of the first period, and when a second period                The terminal 100 may play back the media using the
   element of the second period includes a duration attribute, the     15   received segments by repeating operations 120 through 160.
   start time of the first period may be obtained by adding a value            Here, a BaselJRL element may include an MPD level
   of the duration attribute of the second period element to a start        BaselJRL element of an MPD, and a period level BaseURL
   time of the second period. Accordingly, a duration attribute of          element of each period. The period level BaseURL element
   a period may specify a start time of a period Subsequent to the          may refer to a BaselJRL element applied to a period to which
   period.                                                                  the period level BaselJRL element belongs. In other words, a
      Method 3): When a start attribute does not exist in the first         URL of a segment included in each period may be resolved
   period element of the first period, and when the first period is         with respect to the period level BaselJRL element.
   the first of the one or more periods, the start time of the first           One or more MPD level BaselJRL elements may be pro
   period may be 0.                                                         vided, and one or more period level BaselJRL elements may
      The period element may include a reference attribute indi        25   be provided.
   cating a reference to an external period element. A period may              Additionally, the BaselJRL element may further include a
   be defined by the external period element.                               group level BaselJRL element of a group. A URL of a seg
      In operation 140, the terminal 100 may send a request for a           ment included in each group may be resolved with respect to
   segment of the media to the server 110 using a URL of the           30
                                                                            the group level BaselJRL element. One or more group level
   segment. The URL may be resolved with respect to one of the              BaselJRL elements may be provided.
   above-described BaselJRL elements. For example, the URL                     The BaselJRL element may further include a representa
   of the segment may be generated based on a BaselJRL ele                  tion level BaselJRL element of a representation. A URL of a
   ment.                                                                    segment included in each representation may be resolved
      The terminal 100 may request the server 110 to transmit a        35   with respect to the representation level BaselJRL element.
   segment Suitable for a specific interval based on the processed             A BaselJRL element of a specific level may be resolved
   metadata. In other words, the requested segment may be                   with respect to a BaselJRL element of a higher level. For
   selected based on the metadata. The terminal 100 may per                 example, a period level BaselJRL element may be resolved
   form the HTTP GET method, to request the server 110 to                   with respect to an MPD level BaselJRL element. A group
   transmit the segment.                                               40   level BaselJRL element may be resolved with respect to a
      The metadata may include a range attribute. The request               period level BaselJRL element. A representation level
   may include a request for bytes of a resource indicated by a             BaselJRL element may be resolved with respect to a group
   URL that are designated by the range attribute.                          level BaselJRL element or a period level BaselJRL element.
      The URL of the segment may be an absolute URL or a                       FIG. 2 is a diagram illustrating categories of signaling
   relative URL.                                                       45   information according to an embodiment of the present
      Identical segments may be accessible at multiple locations            invention.
   indicated by URLs resolved with respect to the respective                   The signaling information (namely, metadata) may be
   BaseURL elements. In other words, identical segments may                 divided into the following categories 1) through 4):
   be selectively accessible by the URLs provided by the                       1) General information 210: includes common description
   BaselJRL elements.                                                  50   of content, and general description of each interval, such as a
     Additionally, a first BaselJRL element among the                       duration, and a start time.
   BaselJRL elements may be used as a basic Universal                         2) Quality of Service (QoS) information 220: describes
   Resource Indicator (URI), and BaselJRL elements other than               characteristics of each alternative, Such as a bitrate, a resolu
   the first BaselJRL element may be used as alternative                    tion, and a quality. In other words, the QoS information
                                                                       55   describes characteristics of each of alternatives of content.
   BaselJRL elements.
                                                                               An alternative may be physical (namely, created in
      The metadata may selectively include a sourceURL                      advance), or may be virtual (namely, to be created on the fly).
   attribute of the segment. When the metadata selectively                  Based on information of alternatives, the client may select a
   includes the sourceURL attribute of the segment, a BaselJRL              fragment of an appropriate alternative. Accordingly, adaptiv
   element among the BaselJRL elements may be mapped to the            60   ity to contexts of terminals and networks may be supported.
   sourceURL attribute, so that the URL of the segment may be                  3) Mapping information 230: describes locations to
   generated.                                                               retrieve content. Depending on specific cases, different alter
      In operation 145, in several cases, the server 110 may need           natives may have the same or different locations.
   to parse content (for example, a Moving Picture Experts                     4) Client request 240: this type of signaling information
   Group (MPEG) layer 4 (MP4) file for Scalable Video Coding           65   may conform to a format of HTTP 1.1 request message. As
   (SVC)), and may extract a data part suitable for the requested           shown in FIG. 1, parameters requested by the client may be
   Segment.                                                                 derived from the information of categories 1) through 3).
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      FIG. 3 is a diagram illustrating a hierarchy of content       In embodiments of the present invention, both XML and
   division and levels of signaling information according to an pseudo-code may be used to represent signaling syntax. XML
   embodiment of the present invention.                          syntax may be used for clients that support an XLM profile
      Signaling of metadata according to an embodiment of the based     on an MPEG-21 and similar schema. On the other hand,
   present invention may be physically separated into content pseudo-code
                                                                 International
                                                                               syntax may be based on a “language of an
                                                                                Organization for Standardization (ISO) base
   level information 310, interval-level information 320, QoS media file format    and the like, and may be used in non-XML
   information 330, and mapping information 340. Linking of clients. In particular,   a profile of the pseudo-code syntax may
   related parts of the content-level information 310, the inter employ a parsing module similar to a parsing module of
   val-level information 320, the QoS information 330, and the file-format parsing. To design the syntax for the above pur
   mapping information 340 may be performed by reference. 10 pose, a table of common elements may be defined and ele
      These parts of signaling information may be combined in ments in each format may be represented, in the following
   different ways to support the flexibility.                    embodiments.
      For example, when only the content-level information 310     The proposed syntax may be represented by any other
   and interval-level information 320 are sent to a client, all 15 languages.
   computations for deciding alternatives and resolving loca-               Hereinafter, tables of general syntax elements will be
   tions may be performed by a server. Accordingly, when only            described.
   the content-level information 310 and interval-level informa-           In the following tables, the syntax elements may be
   tion 320 are sent to the client, a processing model may be described hierarchically. In other words, a child element may
   “server-based.                                                2O be shown in a column on the right of a parent element of the
      When the content-level information 310, the interval-level    child element. “Leaf-level elements may be shown in italic,
   information320, and the QoS information 330 are sent to the and parent elements may be shown in bold letter. A parent
   client, all computations for deciding alternatives and resolv- element may be represented by a corresponding XML type
   ing locations may be distributed and performed by the client   and a file box.
   and the server. Accordingly, when the content-level informa- 25 In the column of occurrence, “O ... N' may mean that the
   tion 310, the interval-level information 320, and the QoS             number of instances of an occurrence element may be from 0
   information 330 are sent to the client, the model may be              to “unbounded.” The minimum occurrence of 0 may mean
   “distributed.                                                         that an element may be optional (namely, not present). A
      When all the signaling information (namely, the content-           minimum occurrence equal to or greater than 1 may mean that
   level information 310, the interval-level information320, the         an element is mandatory in the syntax.
   QoS information 330, and the mapping information 340) is                 Occurrence may be interchangeable with cardinality.
   sent to the client, the model may be client-based, because               In a row of type, A indicates an attribute, and Eindicates an
   most (or all) processing (namely, computations for deciding           element. In a row of optionality, Mindicates mandatory, and
   alternatives and resolving locations) is performed by the cli-        O indicates optional. For attributes, Mindicates mandatory, O
   ent.                                                             35 indicates optional, OD indicates optional with default value,
     The separation of metadata parts may enable efficiency in and CM indicates conditionally mandatory. For elements,
   storage and delivery. For example, during a session, metadata elements may be represented as <minOccurs ... <maxOc
   of the content-level information 310 may be sent once, and curse. Here, N may be unbounded.
   only the interval-level information 320 may be periodically        The above meaning may equally be applied to other tables
   updated. Similarly, a single file containing the QoSInfo 330 40 in the present specification.
   may be used for different intervals and different contents.        Additionally, QoSInfo may be also called AdaptationInfo
     There are different ways to represent a set of metadata, for to make QoSInfo more specific. Moreover, a few elements
   example XML, pseudo-code, a Session Description Protocol may be revised to increase flexibility of the syntax.
   (SDP), and the like.                                               The following Table 1 describes general information.
                                                                              TABLE 1
                                                                                                                      XML             Pseudo
                                                                                                                      Syntax          code
                                                                                                                      (based on       (File
                                                                                                                      MPEG-           format
                                                                Occurrence     Semantics                              21)             box)
                             HttpStr                            1             Describes the top-level element of      HttpStreaming htps
                                                                              signaling metadata for HTTP             Type          box
                                                                              streaming
                                       General-                 ON            Contains the general information of     General Info-   geni
                                       Info                                   the described content                   Type            box
                                                  TimeScale     O... 1        Describes the number of time units      integer         unsigned
                                                                              in 1 Second.                                            int(32)
                                                                              This value is used with time-related
                                                                              elements, when a time unit is not
                                                                              specified.
                                                  LiveStart-    O... 1        If LiveStartTime element is not         dateTime        unsigned
                                                  Time                        present, the content is of VoD type.                    int(64)
                                                                              The presence of LiveStartTime
                                                                              element indicates a live content that
                                                                              is to be displayed at a time value of
                                                                              LiveStartTime.
                                                                              If LiveStartTime has a time value of
                                                                              O, the display time is unknown.
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                                              TABLE 1-continued
                                                                                         XML             Pseudo
                                                                                         Syntax          code
                                                                                         (based on       (File
                                                                                         MPEG            format
                                     Occurrence   Semantics                              21)             box)
                    Duration         O... 1        fpresent, indicates duration of the   integer         unsigned
                                                  content. Otherwise, the duration is                    int(32)
                                                  unknown.
                    Defaultint       O... 1       fpresent, indicates a default          integer         unsigned
                    Duration                      duration of each interval of the                       int(32)
                                                  content.
                    MinUpdate        O... 1        fpresent, indicates the minimum       integer         unsigned
                    Time                          waiting time before requesting the                     int(32)
                                                  main description file again.
                    Consistent       O... 1        f true, indicates that QoS            boolean         flag of
                    QoSInfo                       information is the same as the                         the
                                                  whole content duration.                                box
                    Default          O... 1       Provides a default location for the    any URI         string
                    Content                       content.                                               of
                    Loc                                                                                  URL
        Intervals                    ON           Provides reference to description      Intervals         ref
        Ref                                       containing one or more instances of    RefType         box
                                                   interval element.
                                                  One or more instances of Interval
                                                  element represent a sequence of
                                                  consecutive interval(s).
        Interval                     ON           Provides information of an interval    IntervalType
                                                  of content.
                                                  The information of the interval may
                                                  be either included as an instance of
                                                  interval element or referenced by
                                                  intervalsRefelement.
                    IntervalInfo     O... 1       Provides general information of an     Intervalnfo      inti
                                                  interval.                              Type            box
                    QoSInfo          O... 1       Provides reference to description      dia:Reference   “qref
                    Ref                           represented by QoSInfo element.        Type            box
                                                   f OosInfoRefelement is present,
                                                  QoSInfo element may not be
                                                  present at the same level.
                    QoSInfo          O... 1       Provides information about             QoSInfoType     *QoSi
                                                  alternatives of content, such as                       box
                                                  resource characteristics and
                                                  quality futility.
                                                   f OoSInfo element is present,
                                                  QoSInfoRefelement may not be
                                                    (St.
                    Mapping          O... 1       Provides reference to description      dia:Reference    mref.
                    InfoRef                       represented by MappingInfo             Type            box
                                                  element.
                                                   fMappingInfoRefelement is
                                                  present, MappingInfo element may
                                                  not be present at the same level.
                    Mapping          O... 1       Provides information about             MappingInfo     mapi
                    Info                           ocations of content alternatives.     Type            box
                                                   f the information is not provided,
                                                  DefaultContentIntLoc element (if
                                                  not, DefaultContentLoc) can be
                                                  used to retrieve content.
                                                   fMappingInfo element is present,
                                                  MappingInfoRefelement may not
                                                  be present.
                    NextIntervalsRef O... 1       Provides reference to information of   Intervals        nref
                                                  next interval(s).                      RefType,        box
                                                  The information of next interval(s)    may be
                                                  is description containing one or       extended
                                                  more instances of Interval element.    from
                                                  The information of next interval(s)    dia:Reference
                                                  is description represented by          Type
                                                  Interval element.
                                                  Using NextIntervalsRefelement,
                                                  the client does not need to reload
                                                  the main description represented by
                                                  HttpStrelement.
                                                  Within the current time window,
                                                  only the final interval may contain
                                                  NextIntervalsRefelement.
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                                        11                                                                                          12
                                                      TABLE 1-continued
                                                                                                       XML                  Pseudo
                                                                                                       Syntax               code
                                                                                                       (based on            (File
                                                                                                       MPEG-                format
                                             Occurrence    Semantics                                   21)                  box)
                          Previous-          O... 1        Provides reference to information of        Intervals-            nref
                          Intervals-                       previous interval(s).                       RefType,             box
                          Ref                              The information of next interval(s)         may be
                                                           is description containing one or            extended
                                                           more instances of Interval element.         from
                                                           The information of next interval(s)         dia:Reference
                                                           is description represented by               Type
                                                           Interval element.
                                                           Using PreviousIntervalsRef
                                                           element, the client does not need to
                                                           reload the main description
                                                           represented by HttpStrelement.
                                                           Within the current time window,
                                                           only the first interval may contain
                                                           NextIntervalsRefelement.



      The following Table 2 describes IntervalsRef. NextInter
   valsRef. PreviousIntervalsRef, QoSInfoRef, Mapping In
   foRefa, and Interval Info.
                                                                   TABLE 2
                                                                                                                XML syntax               Pseudo
                                                                                                                (based on                code (File
                                                      Occurrence Semantics                                      MPEG-21)                 format box)
   QoSInfoRef,
   MappingInfoRef
                            Index                         1       Indicates the order (starting from 1)         not                      unsigned
                                                                  of the referenced description or box          applicable               int(8)
                                                                  (Interval, QoSInfo, MappingInfo) in
                                                                  the description file referenced by the
                                                                   next Location element.
                            Location                      1        Provides reference to description            uri element in           String
                                                                  represented by Interval, QoSInfo, or          dia:ReferenceType        (representing
                                                                  MappingInfo.                                                           url)
   Intervalnfo

                            TimeScale                   0... 1     Describes the number of time units in integer                         unsigned
                                                                   one second. This value is used with                                   int(32)
                                                                  time-related elements, when a time
                                                                  unit is not specified.
                                                                  TimeScale element, if present,
                                                                  overrides the time scale provided by
                                                                   Generalnfo.
                            StartTime                   O... 1     Indicates the start time of the
                                                                   interval.
                            Duration                    O... 1     Indicates the duration of the interval. integer                       unsigned
                                                                                                                                         int(32)
                            DefaultFrag|Duration        O... 1     Indicates the default duration of            integer                  unsigned
                                                                   fragments of the interval (except the                                 int(32)
                                                                   last fragment).
                            DefaultContentIntLoc        O... 1     Provides a default location for the          any URItype              String
                                                                   content interval.
                            Last                        O... 1     If true, indicates the final interval of     boolean                  by flag
                                                                  the content.
   IntervalsRef,
   PreviousIntervalsRef
   NextIntervalRef

                            startTime                              Indicates the start time of the              XS:duration
                                                                  referenced sequence of
                                                                  intervals periods relative to the start
                                                                  time of the content (LiveStartTime
                                                                   for live content and O for on-demand
                                                                   content).
                            AvailableTime               O... 1     Indicates the time the description of        integer                  unsigned
                                                                  the next interval is available. The is                                 int(32)
                                                                  the relative time from the start time
                                                                  of the content.
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                                             13                                                                                                 14
                                                                      TABLE 2-continued
                                                                                                                               XML syntax            Pseudo
                                                                                                                               (based on             code (File
                                                             Occurrence Semantics                                              MPEG-21)              format box)
                                 Index                            1         Indicates the order (starting from 1) not                                unsigned
                                                                            of the referenced interval description applicable                        int(8)
                                                                            (or box) in the description file
                                                                            referenced by the next Location
                                                                            element.
                                 Location                         1         Provides reference to description file SX:any URI                        String
                                                                            that contains Interval descriptions.   type or                           (representing
                                                                                                                               uri element in        url)
                                                                                                                               dia:ReferenceType


         The following Table 3 describes the QoSInfo element.
                                                                 TABLE 3
                                                                                                                                    Pseudo
                                                                                                          XML syntax (based code (File
                                                Occurrence Semantics                                      on MPEG-21)               format box)
   QoSInfo                                      1            Provides information about a list QoSInfoType                          *QoSi
                                                             of content alternatives, such as containing a                          box
                                                             resource characteristics and                 Utility Function
                                                             quality futility.                            of dia:Adaptive
                                                                                                          QoSType
               Class SchemeRef                  O... 1        Provides a list of classification           dia:Description           cSmr box
                                                             schemes. The classification                  Metadata Type
                                                             schemes provide semantics for
                                                             Some terms or names.
                                     scheme 1...N             Provides reference to a                     Attr. alias & href        a url String
                                                             classification scheme.                       in dia:Description
                                                                                                          Metadata Type
   (1)         Resource                         ON            Each instance of Resource                   Element constraint        resi box
                                                             element describes, for a list of             of dia:UF Data Type
                                                             alternatives, characteristic                 in DIA Utility
                                                             values of a certain resource type            FunctionType
                                                             (e.g., bitrate).
   (2)         AdaptionOpera-                   ON           Each instance of AdaptionOpera-              dia:UF Data Type          adpo box
               tor                                            or element describes, for a list
                                                             of alternatives, values of a
                                                             certain adaption type (e.g.,
                                                             remove temporal layers).
   (3)         Utility                          ON            Each instance of Utility element dia:UF Data Type     utilbox
                                                             describes, for a list of alterna
                                                              ives, values in a certain quality.
                                                             utility type (e.g., MOS).
               UtilityRank                      O... 1        Describes the quality ranking for dia:UtilityRankType utir box
                                                             a list of alternatives.
                                     Value      1...N         indicates the quality futility rank integer                           unsigned
                                                             of an alternative. The number of                                       int(16)
                                                             instances of Value element is
                                                             equal to the number of alterna
                                                              ives.


                                                                                             50
     The following Table 4 shows common semantics of (1)
   Resource, (2) AdaptationOperator, and (3) Utility of Table 3.
                                                    TABLE 4
                                                                                 XML
                                                                                 Syntax           Pseudo
                                                                                 (based           code
   Element                                                                       Oil              (File
   (1), (2),                                                                     MPEG-            format
   (3)                                   Semantics                               21)              box)
               Name          1           Describes an identifier for a           Att.             unsigned
                                         certain type of the element.            iOPinRef, int(32)
                                         When the identifier is not              ref, a CS
                                         semantically defined by the             tel
                                         above embodiment, next
                                         three elements are used to find
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                                         TABLE 4-continued
                                                                         XML
                                                                         Syntax           Pseudo
                                                                         (based          code
   Element                                                               Oil             (File
   (1), (2),                                                             MPEG-           format
   (3)                               Semantics                           21)             box)
                                     semantics of the identifier in a
                                     classification scheme.
               CSref ind O... 1      Indicates the reference index       Not             unsigned
                                     of a classification scheme          applicable      int(16)
                                     in the list provided by
                                     ClassSchemeRef element.
               LevelNum O... 1       Indicates the number of levels.     Not             unsigned
                                                                         applicable      int(16)
               LevelIndex O... 1     Each instance o Levelindex          Not             unsigned
                                     element represents an index         applicable      int(16)
                                value at a level of the
                                classification scheme.
               Value      1...N Indicates the value of a resource        a component unsigned
                                     type (adaptation operator, or       in dia:Vector int(32)
                                     utility) of an alternative.         Data Type
                                     The number of instances of Value
                                     element is equal to the number of
                                     alternatives.



      The following Table 5 shows mapping information.
                                                                        TABLE 5
                                                                                                         XML
                                                                                                         Syntax                   Pseudo
                                                                                                         (based                   code
                                                                                                         Oil                      (File
                                                                                                         MPEG                     format
                                                Occurrence     Semantics                                 21)                      box)
   MappingInfo                                  O... 1                                                   MappingInfo               mapibox
                                                                                                         Type
                   AlterLocID                   O... 1         Provides a location ID for each           dia:IntegerVectorType     aloc'
                                                               alternative described in QoSInfo.                                  box
                                                                f AlterLocID element is not
                                                               present, the first location in the
                                                                ocation list may be used for all
                                                               alternatives.
                                   Value        1...N           indicates a location ID for an           integer                  unsigned
                                                               alternative. The number of instances                               int(16)
                                                               of this element is equal to
                                                                he number of alternatives.
                                                               The n' instance of Value element
                                                               corresponds to then" alternative
                                                               of QoSInfo description.
                   ReqQoS                       ON              indicates a parameter of QoSInfo         ReqQoS                   reqp
                   Para                                         hat may be put in the request (for       ParaType                 box
                                                               an alternative) sent by the client to     that extends
                                                                he server. A parameter may be an         dia:Boolean VectorType
                                                               instance of Resource, AdaptationOperator,
                                                               Utility, or UtilityRank elements.
                                   Refndex      1               indicates instance index/reference       represented              unsigned
                                                               in the instance list of Resource,         by attribute             int(16)
                                                               AdaptationOperator, Utility and            OPRef
                                                               UtilityRank elements.                      hatreferences
                                                                                                         an IOPin in
                                                                                                         QoSInfo
                                   All          1               f true, the parameter needs to be        boolean                  flag
                                                               requested for all alternatives and
                                                               ReqFlag may be skipped.
                                   ReqFlag      O... N         Each instance of ReqFlag element          component of             unsigned
                                                               corresponds to an alternative.            Boolean                  int(8)
                                                                f ReqFlag is true, the request for       VectorType
                                                                he corresponding alternative has
                                                                he parameter identified above.
                   LocationList                 1              Provides a list of locations for          LocationListType          loc
                                                               retrieving content alternatives                                    box
                                   Location     1 ... N        Provides information of a location        LocationType              loca
                                                                                                                                  box
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      Semantics of Location elements may be further provided
   as shown in Table 6.
                                                                      TABLE 6
                                                                                                              XML
                                                                                                              Syntax
                                                                                                              (based               Pseudo-code
                                                             Occurrence   Semantics                           on DIA)              (MP4)
   Location                                                  O...                                             LocationType          loca
                                                                                                                                   box
              LocID                                           1           indicate an ID of an instance of    integer              unsigned
                                                                          Location element. Location                               int(16)
                                                                          element is referred to by
                                                                          AlterLocID.
              StrLocation                                                 Provides location information       StrLocationType       sto
                                                                          of a stream of a content                                 box
                                                                          interval. Each stream is provided
                                                                          by either a stream URL or a
                                                                          number of fragment URLs.
                            FragNum                                       Provides the number of              integer              unsigned
                                                                          ragments                                                 int(16)
                            Stream                                        Describes a URL of a stream         any URI              string
                            Ur                                                                                type
                            FragmentUrl                                   Describes a URL of a fragment.      any URI              string
                                                                          The number of instances of          type
                                                                          FragmentUrl element is the
                                                                          number of fragments.
                            FragTime                                      Provides durations of               dia:VectorDataType    frtin
                                                                          ragments.                                                box
                                             Value            1 ...       indicates a duration of a           integer              unsigned
                                                                          ragment.                                                 int(32)
                                                                          The number of instances of
                                                                          Value element is the number of
                                                                          ragments.
                            RandAccess                                    Describes fragments that            dia:VectorDataType    rdac
                                                                          Supportrandom access.                                    box
                                             Value            1 ...       indicates the order of a random     integer              unsigned
                                                                          access fragment.                                         int(16)
                            MP2TS                                         Describes additional parameters     MP2TS                "mp2p
                            Para                                          (beside URL) for locating a         ParaType             box
                                                                          content program in a MPEG-2
                                                                          TS.
                                             PID             O...         Describes values of PIDs of         integer              unsigned
                                                                          content program in a MPEG-2                              int(16)
                                                                          TS.
                            FragBoundaries                                Describes boundaries of             FragBoundaries        frbd
                                                                          (virtual) fragments in a stream.    Type                 box
                                                                          The number of instances of
                                                                          FragBoundaries element is
                                                                          equal to the number of
                                                                           ragments of the stream.
                                                                          Only one type of following
                                                                          elements is present in a
                                                                          FragBoundaries instance.
                                             MP2TSBoundary O...           Describes parameters for            MP2TS                “mp2b
                                                                          detecting (virtual) fragment        BoundaryType         box
                                                                          boundary in a MPEG-2 TS.
                                                                          fthere are two instances of
                                                                          MP2TSBoundary element, the
                                                                          two instances are starting and
                                                                          ending boundaries of a
                                                                          ragment.
                                                                           f there is only one instance of
                                                                          MP2TSBoundary element, the
                                                                          instance is the starting
                                                                          boundary. The ending
                                                                          boundary is right before the
                                                                          starting boundary of the next
                                                                          ragment.
                                             ISOFile:Boundary 1...        Describes parameters for            ISOFile               isfb
                                                                          detecting (virtual) fragment        BoundaryType         box
                                                                          boundary in a file based on ISO
                                                                          base media file format.
                                                                           fthere are two instances of
                                                                           SOFile:Boundary element, the
                                                                          two instances are starting and
                                                                          ending boundaries of a
                                                                           ragment. If there is only one
                                                                          instance of ISOFile:Boundary
                                                                          element, the instance is the
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                                                                  TABLE 6-continued
                                                                                                                   XML
                                                                                                                   Syntax
                                                                                                                   (based            Pseudo-code
                                                                  Occurrence    Semantics                          on DIA)           (MP4)
                                                                                starting boundary. The ending
                                                                                boundary is right before the
                                                                                starting boundary of the next
                                                                                fragment.
                                          Byte                    1             Describes byte ranges that         ByteRanges.Type   brag
                                          Ranges                                identify a part fragment of a                        box
                                                                                file.
                                                                               Parameters provided by
                                                                               ByteRanges element may be
                                                                               used for byte range options in
                                                                               an HTTP request.


     Semantics of MP2TSBoundary, ISOFileBoundary, and
   ByteRanges may be further provided as shown in Table 7.
                                                         TABLE 7
                                                                                            XML syntax             Pseudo
                                                                                            (based on              code
                                      Occurrence Semantics                                  DIA)                   (MP4)
   MP2TSBoundary                                                                            MP2TSBoundaryType      “mp2b
                                                                                                                   box
                      PCR PID                      Describes PID carrying PCR of the        integer                unsigned
                                                   concerned content program.                                      int(16)
                      PCR base                     Describes a value of a PCR base          long                   unsigned
                                                   field                                                           int(40)
                      PCR ext                      Describes a value of a PCR               integer                unsigned
                                                   extension field.                                                int(16)
                      Appearance                   Describes the appearance order           integer                unsigned
                                                   (e.g., 1,2") of the TS packet                                   int(16)
                                                   containing the PCR value identified
                                                   by the above two elements.
                                                   If there is resetting/discontinuity of
                                                   PCR, a PCR value may appear more
                                                   than once during an interval.
                      Media PID                    Describes PID of a media (e.g.,          integer                unsigned
                                                   video) of a program.                                            int(16)
                                                   The number of instances of
                                                   Media PID element is equal to the
                                                   number of media of the
                                                   program content.
                      Media Offset                 Describes the offset (in TS packets      integer                unsigned
                                                   of the same media PID) from the                                 int(16)
                                                   above identified PCR packet to the
                                                   first media packet of a fragment.
                                                   Then" instance of Media Offset is
                                                   associated with the n" instance of
                                                   Media PID.
   ISOFile:Boundary                                                                         ISOFile:BoundaryType    isfb
                                                                                                                   box
                      SequenceNo                   Describes the sequence number            integer                unsigned
                                                   provided in the mfhd box.                                       int(16)
                                                   The mfhd box defines a fragment of
                                                   an MP4 file.
                                                   SequenceNo with a value of O
                                                   indicates the beginning of the file.
   ByteRanges                                                                               ByteRanges.Type         brag box
                      Start                        Describes the starting value of a        integer                unsigned
                                                   byte range.                                                     int(32)
                                                   A value of -1 means that this value
                                                   in the HTTP request is missing.
                      End                          Describes the ending value of a byte     integer                unsigned
                                                   range.                                                          int(32)
                                                   A value of -1 means that this value
                                                   in the HTTP request is missing.
                                                   Start-End instances are present in
                                                   pair.
                                                   The n" instance of End is associated
                                                   with then" instance of Start.
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                                               TABLE 7-continued
                                                                                          XML syntax        Pseudo
                                                                                          (based on         code
                                     Occurrence Semantics                                 DIA)              (MP4)
                    Media PID          ON       Describes PID of a media (e.g.,           integer           unsigned
                                                video) that needs to be extracted                           int(16)
                                                from the byte range of the above
                                                pair of Start-End.
                                                Media PID element is used when
                                                the byte range is a segment of
                                                MPEG-2 TS, and all PIDs do not
                                                need to be delivered.



      Signaling of metadata obtained by a client may include               15     Resource types are as the following a) through d).
   different parts or levels of signaling information. Accord                     a) bitrate: indicates the average bitrate (in Kbps) of the
   ingly, a request from the client to a server may include param               requested alternative.
   eters of different levels of details.                                          b) vertresolution: indicates the vertical resolution of the
     Main parameters of the client may be URIs, and may be                      requested alternative.
   associated with a query part.                                                  c) horiresolution: indicates the horizontal resolution of the
     Three main scenarios are examined as follows:                              requested alternative.
      1) Server-Based Scenario                                                    d) framerate: indicates the framerate of the requested alter
      In the server-based scenario, the metadata provided from                  native.
   the server to the client may include general content informa                    Using the pre-defined parameters, an example of a request
   tion 310 and general interval information 320.                         25
                                                                                URI based on the bitrate may be “http://server.com/
      For an URI of requested content, DefaultContentIntLoc (if                 file.mp4?fragno=5&bitrate=550.”
   not, DefaultContentIntLoc) may be used. To enable the client                    3) Client-Based Scenario
   to request a specific fragment of content, the following                        In the client-based scenario, the metadata provided from
   parameters a) and b) are defined in the query part (of the                   the server to the client may include general content, general
   request in operation 140):                                             30
      a) “fragno': Order value of the fragment in the interval                  interval information, QoS information, and mapping infor
                                                                                mation.
      b) “fragti’: Start time of the fragment in the interval                      The QoS-related parameters used in the request may be
      For example, a request URI may be “HTTP://server.com/
   file.mp4?fragno=5.”                                                          indicated by a ReqQoSPara part of QoSInfo metadata. For
      2) Distributed Scenario                                             35    example, when Refindex of ReqQoSPara is 0 or null, the
      In the distributed scenario, the metadata provided from the               “alter parameter may be used instead of other options.
   server to the client may include general content information                    When ReqQoSPara is not present in the QoSInfo metadata,
   310, general interval information 320, and QoS information                   the QoS-related parameters may not be used. Alternatives in
   330.                                                                         this case may be implied by locations of MappingInfo.
      In addition to the above parameters, the following QoS              40       AURI of content may be derived from rich description of
   related parameters a) through c) are defined in the query part               MappingInfo. When content/program is conveyed in an
   (of the request in operation 140) to enable the client to request            MPEG-2 TS, one or more PIDs may be used to locate the
   an appropriate alternative:                                                  content in the stream.
      a) “alter’’: Order value of an alternative. Based on the order               When additional information for detecting fragment
   value of the alternative, the alternative may appear in the QoS        45    boundaries are provided, the following parameters 1) through
   information.                                                                 3) for the query part (of the request in operation 140) may be
     b) “operl”, “oper2,..., and “operN”: “operi” carries a                     used.
   value of an i' adaptation operation that appears in the QoS                      1) For an MPEG-2 TS boundary, Appearance, PCR PID,
   information.                                                                 PCR base, PCR ext, Media PID, and Media Offset
     c) “res1”, “res2, ..., “resN': “resi' carries a value of an          50        2) For an ISO media file boundary, SequenceNo
   i' resource that appears in the QoS information.                                 3) For a file considered as a raw byte-sequence, Start and
     Only one of the above three options may be used in a single                End
   request.                                                                       Semantics of the above parameters may be provided in
      With typical adaptation operators and resource types, spe                 semantics of a FragBoundaries element.
   cific parameter names for better intelligibility and interoper         55      Start-End pairs may be used by a range header of an HTTP
   ability may be defined.                                                      request message. For example, if {(Start=0, End=99);
      Adaptation operators are as the following a) through e).                  (Start=200, End=299), the header may be “Range: bytes=0-
      a) audiolayers: indicates the number of scalable audio lay                99,200-299.
   ers to be discarded.                                                            Hereinafter, syntax representation in an XML format will
     b) temporallayers: indicates the number of temporal layers            60   be described. Representations of the above syntax elements
   of scalable video to be discarded.                                           may be provided in the XML format. Semantics of each
     c) spatiallayers: indicates the number of spatial layers of                element may be traced back in the above Tables 1 through 7.
   scalable video to be discarded.                                                 Several elements may be extensions of several types
     d) qualitylayers: indicates the number of quality layers of                defined in an MPEG-21 DIA. Several few elements may take
   scalable video to be discarded.                                         65   several types defined in the MPEG-21 DIA.
     e) prioritylayers: indicates the number of priority layers of                The following Table 8 shows syntax representation of
   scalable video to be discarded.                                              HTTPStreamingType in the XML format.
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                               TABLE 8                                                                 TABLE 11-continued
   <complexType name="HTTPStreamingType's                                               <choice minOccurs="0">
     <complexContent>                                                                     <element name="MappingInfo" type="MappingInfoType"/>
                                                                                          <element name="MappingInfoRef" type="dia:Reference
       <extension base="dia:DIADescriptionType">
         <sequence>                                                                    <choice>
                                                                                       <element name="PreviousIntervalsRef"      type="IntervalsRefType'
           <element name="General Info" type="General InfoType"                minOccurs="0">
           minOccurs="0">                                                               <element name="NextIntervalsRef" type="IntervalsRefType"
           <choice minOccurs="0" maxOccurs="unbounded">                        minOccurs="0">
           <element name="IntervalsRef" type="IntervalsRefType"/>         10          </sequences
                                                                                   <extension
           <element name="Interval" type="IntervalType"/>                        <complexContent>
         <choice>                                                              <complexType
       <sequence < complexContent>
   </complexType
                                                                          15     The following Table 12 shows syntax representation of
                                                                               IntervalInfoType in the XML format.
     The following Table 9 shows syntax representation of Gen
   eralInfoType in the XML format.                                                                           TABLE 12
                                                                               <complexType name="IntervalInfoType">
                               TABLE 9                                           <sequences
                                                                                   <element name="TimeScale" type="integer" minOccurs="0">
   <complexType name="General InfoType">                                           <element name="StartTime" type="dateTime" minOccurs="0">
     <complexContent>                                                              <element name="Duration" type="integer" minOccurs="0">
       <extension base="dia:DIADescriptionType">                                   <element name="DefaultFrag|Duration" type="integer
         <sequence>                                                                minOccurs="0">
           <element name="TimeScale" type="integer" minOccurs="0">        25       <element name="DefaultContentIntLoc" type="anyURI"
           <element name="LiveStartTime' type="dateTime"                           minOccurs="0">
            minOccurs="0">                                                         <element name="Last" type="boolean" minOccurs="0">
           <element name="Duration" type="integer" minOccurs="0">                <sequences
           <element name="DefaultIntduration" type="integer"                   <complexType
            minOccurs="0">
           <element name="MinUpdateTime" type="integer"                   30
            minOccurs="0">                                                       The following Table 13 shows syntax representations of
           <element name="ConsistentQoSInfo" type="boolean"                    ISOFileBoundaryType and ByteRangesType in the XML for
           minOccurs="0">
           <element name="DefaultContentLoc" type="anyURI"                     mat.
           minOccurs="0">
         </sequences
                                                                          35                                 TABLE 13
       <extension
     </complexContent>                                                         <complexType name="ISOFile:BoundaryType'>
   </complexType                                                                 <sequences
                                                                                   <element name="SequenceNo' type="integer'
                                                                                   maxOccurs="unbounded" >
     The following Table 10 shows syntax representation of                       <sequences
                                                                          40   <complexType
   IntervalRef Type in the XML format.                                         <complexType name="ByteRangesType'>
                                                                                 <sequence maxOccurs="unbounded">
                               TABLE 10                                            <element name="Start type="integer/>
                                                                                   <element name="End' type="integer's
   <complexType name="IntervalsRefType">                                           <element name="Media PID type="integer minOccurs="0">
     <complexContent>                                                     45     <sequences
       <extension base="dia:ReferenceType">                                    <complexType
         <sequence>
            <element name="AvaliableTime" type="integer" minOccurs="0">
         </sequences                                                           Hereinafter, syntax representation in an MP4 pseudo-code
         <attribute name="startTime" type="xs:duration" use="optional">      format will be described. Representation of the above syntax
       <extension
     </complexContent>                                                    50 elements may be provided in the MP4 pseudo-code format.
   </complexType                                                               The following Table 14 shows syntax representation of
                                                                             HTTPStreamingBox in the MP4 pseudo-code format.
     The following Table 11 shows syntax representation of                                                   TABLE 1.4
   IntervalType in the XML format.                                        55
                                                                                        HTTPStreamingBox
                                                                                          Box Type: https
                               TABLE 11                                                   Container: Signaling file
                                                                                          Mandatory:Yes
   <complexType name=IntervalType'>                                                       Quantity: One
     <complexContent>                                                     60                  Aligned.(8) class HTTPStreamingBox extends Box.(htps) {
       <extension base="dia:DIADescriptionType">
         <sequence>
           <element name="IntervalInfo" type="IntervalInfoType"
           minOccurs="0">                                                        Hereinafter, Several Other Options of PeriodsRefElement
           <choice minOccurs="0">
                                                                               Will be Described.
              <element name="QoSInfo" type="QoSInfoType"/>
              <element name="QoSInfoRef" type="dia:ReferenceType"/>       65     XInclude may be a World Wide Web Consortium (W3C)
           <choice>                                                            technology that provides an inclusion mechanism used to
                                                                               merge XML documents.
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      The above PeriodsRef and XInclude may be similar in                                             TABLE 15-continued
   using any URI type (with the Location element and href
   attribute) to refer to a resource/description. However, there                type="fallbackType"/>
   are major differences between the above two approaches.                           <XS: any namespace="#other" processContents="lax"
     XInclude may be used to merge XML documents. In other 5                         minOccurs="O"
   words, the merged documents may need to be obtained before                   maxOccurs="unbounded" >
   being optionally further processed. Conversely, PeriodsRef                     <xs:choice>
   may be used to refer to past or future periods. The past or
   future periods may not always need to be merged. The inten- to                 <xs:attribute name="ids" type="Xs:string"/>
   tion of PeriodsRef may be to allow a user to retrieve appro                    <xs:attribute name="location" type="XS:anyURI"/>
   priate period information only when the user wants.                            <xs:attribute name="xpointer" type="Xs:string"/>
      In association with specific attributes/elements, startTime                 <xs:attribute name="startTime" type="xs:duration"/>
   and availableTime of PeriodsRefmay be unique for retrieval                     <xs:attribute name="availableTime" type="xs:duration"/>
   of period information. Among the attributes/elements of XIn- 15                <xs:any Attribute namespace="#other" processContents="lax">
   clude, “fallback” and “xpointer” may be used to improve                      <xs:complexType
   functionality of PeriodsRef, while “parse”, “encoding,                       <xs:complexType name="fallbackType">
   “accept, and “accept-language' may be unnecessary for
                                                                                  <xs:choice minOccurs="0" maxOccurs="unbounded">
   PeriodsRef.                                                             2O
                                                                                     <xs:element name="PeriodsRef" type="PeriodsRefType"/>
      Based on the above description, two additional options for                     <XS: any namespace="#other" processContents="lax"/>
   referencing periods may be proposed: 1) enhanced Period
   sRef, and 2) XInclude-extending PeriodsRef.                                    <xs:choice>
                                                                                  <xs:any Attribute namespace="#other" processContents="lax" f>
      1) Enhanced PeriodsRef: enables enhancement of existing
   PeriodsRefby fallback element andxpointer attribute of XIn- ?                <xs:complexType
   clude. The option may have an advantage of simplicity in
   syntax and processing. The syntax of modified PeriodsRef
   may be provided in Table 15 below.                                                                        TABLE 16
      2) XInclude-extending PeriodsRef: enables building of 30
   PeriodsRefby simply extending XInclude with startTime and                    <XS:Schema
   availableTime attributes. The operation may have an advan
   tage of the use of standard XInclude. To avoid always merg                     Xmlins:Xi="http://www.w3.org/2001/XInclude"
   ing documents initially, the semantics of PeriodsRef may
   need to mandate that "clients are allowed to decide whether 35
   merging needs to be completed.” The syntax of PeriodsRef                     <xs:complexType name="PeriodsRefType">
   may be provided in Table 16 below.                                             <xs:complexContent>
     In the above syntax, an ids attribute may be added to                          <xs:extension base=''xi:includeType">
   indicate ids of referenced Periods used in the current media                       <XS:attribute name="ids" type="Xs:string"/>
                                                                           40
   presentation. Additionally, to have consistency with the href                      <XS:attribute name="startTime" type="xs:duration">
   attribute of XInclude, the Location element may be changed                         <XS:attribute name="availableTime" type="XS:duration"/>
   to an optional location attribute.                                                 <XS:any Attribute namespace="#other" processContents="lax">
                                                                                     <xs:extension
                              TABLE 1.5                                    45
                                                                                  <xs:complexContent>
   <xs:complexType name="PeriodsRefType">                                       <xs:complexType
     <xs:choice minOccurs="0" maxOccurs="unbounded">
       <xs:element   minOccurs="0"   maxOccurs="unbounded"                 50
       name="fallback"                                                            The semantics of the above elements/attributes may be
                                                                                provided as shown in Table 17.
                                                                                             TABLE 17
                                                                Type
                                            Element or       (Attribute
                                            Attribute Name   or Element)   Cardinality    Optionality Description
                                            MPD                  E               1              M     Describes a root element that carries a Media
                                                                                                      Presentation Description (MPD) for a Media
                                                                                                      Presentation.

                                            Period               E                   N          O     Provides information of Period.
                                            PeriodsRef           E                   N          O     Provides reference to description containing one
                                                                                                      or more instances of Period element. One or
                                                                                                      more instances of Period element represent a
                                                                                                      sequence of consecutive Period(s). The
                                                                                                      information of Period may be either included as
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                                          TABLE 17-continued
                        Type
   Element or         (Attribute
   Attribute Name    or Element) Cardinality     Optionality Description
                                                             an instance of Period element or referenced by
                                                             PeriodsRefelement.
   ids                                                       Provides id(s) of referenced Period(s). When
                                                             multiple consecutive Periods are referenced, the
                                                             id's conveyed by this string are separated by
                                                             semicolon.
   locatoin
   Xpointer              A                           g       Provides reference to description of Period(s).
                                                             Provides an XPointer to identify a portion of the
                                                             referenced description. Ifxpointer attribute is
                                                             absent, location attribute needs to be present.
   startTime                                                 indicates the start time of the referenced
                                                             sequence of Periods, relative to the start time of
                                                             content. StartTime element may help a client to
                                                             determine whether referenced information needs
                                                              o be retrieved.
   availableTime                                             (ndicates the time the description of referenced
                                                             Period(s) is available. The time is the relative
                                                             ime from the start time of content. If
                                                             availableTime attribute is absent, the description
                                                             is already available.


         Hereinafter, Period Timeline Will be Described.                      25
                                                                                      The PeriodTimeline element may provide information
      Each period may have a start attribute indicating a start                    about presentation of periods based on a timeline. Semantics
   time of a period. However, the above approach may not be                        and syntax of the PeriodTimeline element may be provided in
   flexible in modifying a timeline of periods.                                    Tables 18 through 20 below.
                                                                                      Using PeriodTimeline, description of a Period may be
      For example, to insert an advertisement period into an                       independent of a presentation time. Accordingly, a Period
   MPD for VOD, start times of all periods after the inserted                 30   may be reused (fully or partially) in the same media presen
   period need to be modified. Furthermore, when the same                          tation or in another media presentation. To modify the pre
   advertisement period is played repeatedly (for example, every                   sentation time, only the PeriodTimeline needs to be changed.
   1 hour), the period may be continuously inserted. In the same                      In addition, the PartialPlay element may allow (re)play of
   manner, when one or more periods are removed from an                            one or more parts of a Period. For example, after an adver
   MPD, start times of remaining periods after periods are                    35   tisement Period is presented, a part of the advertisement
   removed in space time may be modified.                                          Period (denoted by beginning and ending) may be occasion
      In the embodiment, for flexibility of period management,                     ally repeated during the whole session.
   the following modifications may be proposed:                                       The PeriodTimeline element may impose an explicit time
                                                                                   line of Periods. Without the PeriodTimeline element, the
      1) Add a new attribute called “duration' to a Period                    40   implicit timeline of Periods may be inferred from the ordered
      2) Change a current start attribute of a Period to optional                  sequence of Periods. To support the replay of a Period in the
      3) Add a new element called PeriodTimeline to the MPD                        case of implicit timeline, the PartialPlay element may also be
   type                                                                            provided as a child element of the Period element.
                                                                                              TABLE 18
                                                                Type
                                         Element or           (Attribute
                                         Attribute Name      or Element) Cardinality        Optionality Description
                                         MPD                      E                1             M        Describes a root element that carries a Media
                                                                                                          Presentation Description (MPD) for a Media
                                                                                                          Presentation.

                                         PeriodTimeline           E                                       Provides the presentation timeline of Periods of the
                                                                                                          Media Presentation.
                                         PeriodsTime                                                      Provides time information for presenting Period.
                                         id                                                     8.        indicates an id of Period of the Media Presentation.
                                                                                                          This value is equal to the value of the id attribute
                                                                                                          of Period, if the id attribute of Period is present.
                                                                                                           fino id attributes are present, this value is equal to
                                                                                                           he appearance order of Period in the MPD.
                                         Start                   A.                             O.        Provides accurate start time of Period relative to
                                                                                                           he value of the attribute availabilityStart time of
                                                                                                           he Media Presentation.
                                                                                                          The start attribute overrides start attribute of
                                                                                                          corresponding Period (i.e., an instance of Period
                                                                                                          element). The start attribute may be present for
                                                                                                           he first Period of the timeline. For other Periods,
                                                                                                          if information about presentation duration of
                                                                                                          previous Periods is available, this value may be
                                                                                                          deduced and the attribute may be absent.
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                                                TABLE 18-continued
                           Type
   Element or            (Attribute
   Attribute Name       or Element) Cardinality     Optionality Description
   PartialPlay              E           ON              O.       Provides information for presenting a (temporal)
                                                                 part of Period.
   beginning                A.                          O.        indicates a beginning point of a part of Period.
                                                                 This time value is relative to the beginning of the
                                                                 Period.
   ending                   A.                          O.        indicates an ending point of a part of Period.
                                                                 This time value is relative to the beginning of the
                                                                 Period.
   Period                                                        Provi es information of Period.
   Start
   id                        s                                   indicates a start time of Period.
                                                                 indicates an ID of Period. When the Period is a
                                                                 (partial) repeat of another Period, the value of id
                                                                 attribute is equal to an ID or an appearance order
                                                                 of a referred Period.
   duration                 A.                          O.        indicates duration of Period. If start attribute is
                                                                 absent, duration attribute may be present. Also,
                                                                  or the last Period of a Media Presentation, if
                                                                 availabilityEndTime and SegmentTimeline are not
                                                                 available, the duration attribute of the Period may
                                                                 be present.
   PartialPlay              E           ON              O.       Provides information for presenting a (temporal)
                                                                 part of Period.
   beginning                A.                          O.        indicates a beginning point of a part of Period.
                                                                 This time value is relative to the beginning of the
                                                                 Period.
   ending                   A.                          O.        indicates an ending point of a part of Period.
                                                                 This time value is relative to the beginning of the
                                                                 Period.
   Representation           E           ON                       Representation element contains description of
                                                                 Representation.


                                   TABLE 19                                                                        TABLE 19-continued
   <?xml version="1.0" encoding="UTF-8">                                                  <xs:attribute name="minimumUpdatePeriodMPD" type="xs:duration">
   <XS:Schema                                                                      35     <xs:attribute name="minBufferTime" type="xs:duration"
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009"                        use="required"/>
     attributeFormDefault="unqualified"                                                   <xs:attribute name="timeShiftBufferDepth" type="xs:duration">
     elementFormDefault="qualified"                                                       <xs:attribute name="baseUrl" type="XS:anyURI"/>
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema"                                         <xs:any Attribute namespace="#other" processContents="lax">
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009">                             <xs:complexType
                                                                                   40   <!--Type of presentation - live or on-demand -->
   <!-- MPD Type -->                                                                    <xs:simpleType name="PresentationType">
   <xs:complexType name="MPDtype">                                                        <xs:restriction base=''xs:string">
        <XS:sequences                                                                        <xs:enumeration value="OnDemand" >
           <xs:element minOccurs="O"     name="ProgramInformation"                           <xs:enumeration value="Live">
   type="Program InformationType"/>                                                        <xs: restriction>
           <xs:element minOccurs="O" name="PeriodTimeline"                              <xs:simpleType
   type="PeriodTimelineType"/>                                                     45 <!-- Period Timeline -->
           <xs:element maxOccurs="unbounded" name="Period"                              <xs:complexType name="PeriodTimelineType">
           type="PeriodType"/>                                                             <XS:sequences
           <XS:any namespace="#other" processContents="lax"                                  <xs:element maxOccurs="unbounded"       name="PeriodTime"
       minOccurs="O"                                                                    type="PeriodTimeType"/>
   maxOccurs="unbounded" >                                                                  <XS: any namespace="#other" processContents="lax"
        </XS:Sequences                                                             50       minOccurs="O"
        <xs: attribute default="OnDemand" name="type"                                   maxOccurs="unbounded" >
        type="PresentationType"/>                                                         </XS:sequences
        <xs: attribute name="availabilityStartTime" type="xs:dateTime"/>                  <xs:any Attribute namespace="#other" processContents="lax">
        <xs: attribute name="availabilityEndTime" type="xs:dateTime"/>                  <xs:complexType
        <xs: attribute name="mediaPresentationDuration" type="xs:duration"/>

                                                                                                                  TABLE 20
                                                                       <xs:complexType name="PeriodTimeType">
                                                                           <XS:Sequences
                                                                            <xs:element minOccurs="O" maxOccurs="unbounded" name="PartialPlay"
                                                                       type="PartialPlayType"/>
                                                                            <XS:any namespace="#other" processContents="lax" minOccurs="0"
                                                                       maxOccurs="unbounded" >
                                                                             </XS:Sequences
                                                                             <XS:attribute name="id" type="xs:string" use="required"/>
                                                                             <XS:attribute name="start" type="XS:duration">
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                                                                 US 8,909,805 B2
                                        31                                                                          32
                                  TABLE 20-continued
       <XS:any Attribute namespace="#other" processContents="lax">
   </xs:complexType
   <xs:complexType name="PartialPlayType">
     <XS:sequences
          <XS:any namespace="#other processContents"="lax"       minOccurs="O"
   maxOccurs="unbounded" >
      </XS:Sequences
      <xs: attribute name="beginning" type="Xs:duration">
      <xs: attribute name="ending" type="xs:duration">
      <XS: any Attribute namespace="#other" processContents="lax">
   </xs:complexType
   <!-- Period of a presentation -->
   <xs:complexType name="PeriodType">
     <XS:sequences
     <xs:element minOccurs="O"      name="SegmentInfoDefault"
   type="SegmentInfoDefaultType
          <xs:element   minOccurs="O" maxOccurs="unbounded"        name="PartialPlay"
   type="PartialPlayType"/>
          <xs:element   minOccurs="O"    maxOccurs="unbounded"       name="Representation"
   type="RepresentationType"/>
        <XS:any namespace="#other" processContents="lax"         minOccurs="O"
   maxOccurs="unbounded" >
     </XS:Sequences
     <xs: attribute name="start" type="xs:duration"/>
     <xs: attribute name="duration' type="Xs:duration">
     <xs: attribute name="id" type="Xs:string"/>
     <xs: attribute default="false" name="segment AlignmentFlag" type="xs:boolean"/>
     <xs: attribute default="false" name="bitStreamSwitchingFlag" type="xs:boolean"/>
     <XS: any Attribute namespace="#other" processContents="lax">
   </xs:complexType




     As no repeated Period needs to contain representation                            The method according to the above-described embodi
   description again, the minimum number of Representation                         ments of the present invention may be recorded in computer
   instances may be changed to 0.                                                  readable media including program instructions to implement
      Rather than using theid attribute directly, a special attribute         35   various operations embodied by a computer. The media may
   indicating an id value of a previous Period to be repeated may                  also include, alone or in combination with the program
   be used.                                                                        instructions, data files, data structures, and the like. The pro
      FIG. 5 is a diagram illustrating a configuration of a client                 gram instructions recorded on the media may be those spe
   according to an embodiment of the present invention.                            cially designed and constructed for the purposes of the
      The client 100 includes an access engine 510, and a media               40   embodiments, or they may be of the kind well-known and
   engine 520.                                                                     available to those having skill in the computer software arts.
      The access engine 510 may be a DASH access engine.                           Examples of computer-readable media include magnetic
      The access engine 510 may receive metadata (for example,                     media such as hard disks, floppy disks, and magnetic tape;
   an MPD) from the server 110.                                                    optical media such as CD ROM disks and DVDs; to magneto
      The access engine 510 may form requests, and may issue                  45   optical media Such as floptical disks; and hardware devices
   the formed requests to the server 110.                                          that are specially configured to store and perform program
      The access engine 510 may receive content (for example,                      instructions, such as read-only memory (ROM), random
   segments or parts of the segments) from the server 110. The                     access memory (RAM), flash memory, and the like.
                                                                                   Examples of program instructions include both machine
   access engine 510 may provide the content to the media                     50   code, such as produced by a compiler, and files containing
   engine 520.                                                                     higher level code that may be executed by the computer using
      An output of the access engine 510 may include media (or                     an interpreter. The described hardware devices may be con
   a part of the media) of an MPEG container (for example, an                      figured to act as one or more software modules in order to
   ISO/IEC 14492-12 ISO base media file format, oran ISO/IEC                       perform the operations of the above-described embodiments
   13818-2 MPEG-2 TS). Additionally, the output of the access                 55   of the present invention, or vice versa.
   engine 510 may include timing information used to map                              Although a few embodiments of the present invention have
   internal timing of the media to a timeline of a media presen                    been shown and described, the present invention is not limited
   tation.                                                                         to the described embodiments. Instead, it would be appreci
      The media engine 520 may play back the provided content.                     ated by those skilled in the art that changes may be made to
   Specifically, the media engine 520 may output the media                    60   these embodiments without departing from the principles and
   using the media and the timing information that are output                      spirit of the invention, the scope of which is defined by the
   from the access engine 510.                                                     claims and their equivalents.
      Technical information according to the embodiments of
   the present invention described above with reference to FIGS.                        The invention claimed is:
   1 through 4 may equally be applied to the present embodi                   65        1. A method for providing media, the method comprising:
   ment. Accordingly, further description thereof will be omit                          receiving metadata of media, the metadata comprising one
   ted.                                                                                    or more periods;
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                              33                                                                       34
     processing the received metadata and extracting informa                 when a start attribute does not exist in the first period
       tion included in the metadata, wherein the metadata                     element of the first period, and when a second period
       includes a range attribute;                                             element of the second period includes a duration
     requesting a segment Suitable for a specific interval based               attribute, the start time of the first period is obtained
       on a request for bytes of a resource indicated by a URL                 by adding a value of the duration attribute of the
       that are designated by the range attribute;                             second period element to a start time of the second
     accessing segments of the media based on information                      period, and
       provided by the metadata;
     decoding and rendering data of the media that is included in            when a start attribute does not exist in the first period
       the segments;                                                           element of the first period, and when the first period is
     wherein each of the periods comprises one or more repre                   the first of the one or more periods, the start time of the
       sentations of the media,                                                first period is zero.
     wherein each of the representations starts from a beginning
       point of a period including each of the representation             2. The method of claim 1, wherein the metadata is a Media
       and continues to an ending point of the period, and              Presentation Description (MPD) of the media.
       comprises one or more segments; and                                3. The method of claim 1, wherein each of the periods is
     wherein determining the start of a first period among one or       defined by a period element.
       more period comprises:
       when a start attribute exists in the first period element of       4. The method of claim 3, wherein the period element
         the first period, a start time of the first period is equiva   comprises a start attribute indicating a start time of a period.
          lent to a value of the start attribute,                                               k   k   k   k   k
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                              EXHIBIT G
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                                                                                                       US009325558B2


   (12) United States Patent                                                         (10) Patent No.:                US 9,325,558 B2
          Thang et al.                                                               (45) Date of Patent:                     Apr. 26, 2016
   (54) APPARATUS AND METHOD FOR                                                  (51) Int. Cl.
           PROVIDING STREAMING CONTENTS                                                  G06F 5/16                (2006.01)
                                                                                         H04L 29/06               (2006.01)
   (75) Inventors: Truong Cong Thang, Daejeon (KR):                                                        (Continued)
                   Jin Young Lee, Daejeon (KR); Seong
                   Jun Bae, Daejeon (KR); Jung Won                                (52) U.S. Cl.
                   Kang, Daejeon (KR); Soon Heung                                      CPC ...... H04L 29/06027 (2013.01); H04L 65/4092
                   Jung, Daejeon (KR); Sang Taick Park,                                                  (2013.01); H04L 65/604 (2013.01);
                   Daejeon (KR); Won Ryu, Daejeon (KR):                                                 (Continued)
                   Jae Gon Kim, Goyang-si (KR)
                                                                                  (58) Field of Classification Search
   (73) Assignees: Industry-Univeristy Cooperation                                       USPC .................. 709/203, 217 218, 223 229, 250
                   Foundation Korea Aerospace                                            See application file for complete search history.
                   University, Goyang-si, Gyeonggi-do
                   (KR); Electronics and                                          (56)                  References Cited
                           Telecommunications Research
                           Institute, Daejeon (KR)                                                 U.S. PATENT DOCUMENTS
    c          -r                                                                  2002/0105951 A1       8/2002 Hannuksela et al.
   (*) Notice:             Subject to any disclaimer, the term of this             2005/0076136 A1       4, 2005 Cho et al.
                           patent is extended or adjusted under 35
                           U.S.C. 154(b) by 288 days.                                                      (Continued)
   (21) Appl. No.:              13/811,376                                                          OTHER PUBLICATIONS
                    1-1.                                                          Universal Mobile Telecommunications System; LTE: Transparent
   (22) PCT Filed:              Jul. 20, 2011                                     end-to-end Packet-switched Streaming Service; Protocols and
   (86). PCT No.:               PCT/KR2O11AOOS357                                 codecs, ETSI TS 126 234 version 9.30 Release 9, Sophia Antipolis
                                                                                  Cedex, France.
        S371 (c)(1),
        (2), (4) Date: Jan. 21, 2013                                              Primary Examiner — Zarni Maung
   (87) PCT Pub. No.: WO2012/011743                                               (74) Attorney, Agent, or Firm — William Park & Associates
                                                                                  Ltd.
           PCT Pub. Date: Jan. 26, 2012
   (65)                       Prior Publication Data                              (57)                    ABSTRACT
           US 2013/O124749 A1              May 16, 2013                           A method and apparatus for an adaptive Hypertext Transfer
                                                                                  Protocol (HTTP) streaming service using metadata of content
                    Related U.S. Application Data                                 are provided. The metadata may include a minBufferTime
                                                                                  attribute indicating a minimum amount of initially buffered
   (66) Sibyl,so application No. 61/417.931, filed on                             media content. A terminal may receive content from a server
          OV. 3U,                                                                 before playback of the content, and may buffer the content by
   (60) Provisional application No. 61/365,860, filed on Jul.                     at least the minimum amount. The metadata may include a
        20, 2010, provisional application No. 61/366,203,                         range attribute that designates a range of a target indicated by
                                                                                  a Uniform Resource Locator (URL). The terminal may
                             (Continued)                                          receive bytes designated by the range attribute from the URL,
   (30)              Foreign Application Priority Data                            and may play back the content using the received bytes.
        Jul. 19, 2011       (KR) ........................ 10-2011-0071671                          18 Claims, 6 Drawing Sheets

                                                            100                             O

                                                          CLENT                          SERVER

                                                                      METADATA 120

                                                    PROCESSMETADATA         130

                                                                  REQUEST FRAGMENT 140

                                                                            145     PARSE CONTENT

                                                                  TRANSMITFRAGMENT 150
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                  Related U.S. Application Data                     (52) U.S. Cl.
          filed on Jul. 21, 2010, provisional application No.                CPC .............. H04L65/608 (2013.01); H04L 65/80
          61/375,262, filed on Aug. 20, 2010, provisional appli                       (2013.01); H04N 2 1/2401 (2013.01); H04N
          cation No. 61/380,277, filed on Sep. 6, 2010, provi                      2 1/2402 (2013.01); H04N 2 1/44004 (2013.01);
          sional application No. 61/390.328, filed on Oct. 6,                            H04N 21/6543 (2013.01); H04N 21/6547
          2010, provisional application No. 61/405,674, filed on                       (2013.01); H04N 21/2353 (2013.01); H04N
          Oct. 22, 2010, provisional application No. 61/414.462,                                             21/23805 (2013.01)
          filed on Nov. 17, 2010, provisional application No.
          61/434,036, filed on Jan. 19, 2011.                       (56)                      References Cited

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                                                                        2006.0109856    A1    5/2006 Deshpande
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          H4N2L/6547             (2011.01)                              2010, OO11274   A1*   1, 2010 Stockhammer et al. ...... 714,752
          GO6F 2/OO              (2006.01)                              2013,0007223    A1*   1, 2013 Luby et al. .................... TO9,219
          HO4N 2 1/235           (2011.01)
          HO4N 2 1/238           (2011.01)                          * cited by examiner
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                                       FIG 1

                      100                                10

                    CLIENT                             SERVER

                                 METADATA 120

             PROCESS METADATA

                            REQUEST FRAGMENT 140

                                                   PARSE CONTENT

                            TRANSMIT FRAGMENT 150
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                                          FIG 2



                    General info
          Content info, live or VoD, length,
                         etc.



                  QoS-related info                            Client request
                                                               Client-based
              Alternatives: quality and                        Server-based
                   characteristics                              Distributed


                Data mapping info
           Mapping alternative to physical
                  data fragments
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                                       FIG 3




                         pu?



                         IBA@ju!                        *(zº1a-nDe.uEº)LliEv
                         Isl

                                               ||||
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                                          FIG 4

                             Stream of TS packet




                                           First TS packet of
                                             new fragment
         TS packet with
           PCR field
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                                       FIGS

                                        1 OO




                     CONTROLLER                TRANSCEIVER
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                                           FIG 6




                             009




                                                         HOJLFVICNTRWINO +V{IOCNGVHWINL
                             9
                             ||
                             0




                                          (HSVGI) SHOV @HNIOGH
                                   VLVCI FWN OVJLINCEH@OLWN L(NVGI OASI)
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                                                          US 9,325,558 B2
                                  1.                                                                       2
                APPARATUS AND METHOD FOR                                       Each of the periods may include one or more representa
              PROVIDING STREAMING CONTENTS                                  tions of the media content. Each of the representations may be
                                                                            a structured collection of one or more media components
                       TECHNICAL FIELD                                      within a period.
                                                                               The bandwidth attribute may be an attribute of each of the
      The present invention relates to a technology for providing           representations.
   streaming content, and more particularly, to an apparatus and               The bandwidth attribute may describe a minimum band
   method for providing media content using adaptive stream                 width of a hypothetical constant bitrate channel over which
   ing.                                                                10
                                                                            each of the representations are able to be continuously deliv
                                                                            ered after the client buffers each of the representations for at
                       BACKGROUND ART                                       least minBufferTime.
                                                                              Each of the representations may include one or more seg
      Streaming is one of schemes for transmitting and playing              mentS.
   back multimedia content such as Sounds, moving images, and          15      According to another aspect of the present invention, there
   the like. A client may play back content while receiving the             is provided a terminal for providing media content including
   content through the streaming.                                           one or more periods, the terminal including: an access engine
     An adaptive streaming service refers to providing a stream             to receive metadata of the media content, to receive the media
   ing service employing a communication scheme with a                      content from the server, and to buffer the received media
   request of a client and a response of a server in response to the        content by at least a minimum amount indicated by a min
   request.                                                                 BufferTime attribute, the metadata including the minBuffer
      The client may request a media sequence Suitable for an               Time attribute indicating the minimum amount of initially
   environment of the client (for example, a transmission chan              buffered media content that is required to ensure playout of
   nel of the client), using the adaptive streaming service. The            the media content; and a media engine to receive the media
   server may provide a media sequence matched to the request          25   content from the access engine, and to play back the media
   of the client among media sequences with various qualities               COntent.
   that are included in the server.                                            According to still another aspect of the present invention,
      The adaptive streaming service may be provided based on               there is provided a method by which a client provides media
   various protocols.                                                       content including one or more periods, the method including:
      A Hypertext Transfer Protocol (HTTP) adaptive streaming          30
                                                                            receiving metadata of the media content from a server, the
   service refers to an adaptive streaming service provided based           metadata including a Uniform Resource Locator (URL)
   on an HTTP protocol. A client of the HTTP adaptive stream                attribute and a range attribute; receiving bytes designated by
   ing service may receive content from a server using the HTTP             the range attribute from a URL indicated by the URL
   protocol, and may transmit a request associated with a                   attribute; and playing back the media content using the
   streaming service to the server.                                    35
                                                                            received bytes.
                 DISCLOSURE OF INVENTION                                       The bytes designated by the range attribute may designate
                                                                            segments of the media content.
                          Technical Goals                                      The range attribute may indicate multiple byte ranges.
                                                                       40      The bytes may be received by a partial HTTP GET com
      An aspect of the present invention provides an apparatus              mand for the URL instructed by the byte range.
   and method that may designate a minimum amount of ini                       According to yet another aspect of the present invention,
   tially buffered media during playback of content.                        there is provided a terminal for providing media content
      Another aspect of the present invention provides an appa              including one or more periods, the terminal including: an
   ratus and method that may receive bytes within a specific           45   access engine to receive metadata of the media content, and to
   range from a target indicated by a Uniform Resource Locator              receive bytes designated by a range attribute from a URL
   (URL), and may play back content.                                        indicated by a URL attribute, the metadata including the URL
                                                                            attribute and the range attribute; and a media engine to play
                        Technical Solutions                                 back the media content using the received bytes.
                                                                       50      The bytes designated by the range attribute may designate
     According to an aspect of the present invention, there is              segments of the media content.
   provided a method by which a client provides media content                  The range attribute may indicate multiple byte ranges.
   including one or more periods, the method including: receiv                 The bytes may be received by a partial HTTP GET com
   ing metadata of the media content from a server, the metadata            mand for the URL instructed by the byte range.
   including a minBufferTime attribute indicating a minimum            55      According to a further aspect of the present invention, there
   amount of initially buffered media content that is required to           is provided a method by which a client processes content
   ensure playout of the media content; receiving the media                 including one or more intervals, the method including:
   content from the server, and buffering the received media                receiving metadata of an interval of the content from a server;
   content by at least the minimum amount; and playing back the             processing the metadata and sending, to the server, a request
   media content.                                                      60   for a fragment suitable for the interval based on the processed
      The metadata may be a Media Presentation Description                  metadata; and receiving the fragment from the server.
   (MPD) of the media content.                                                 The content may be content on demand, or live content.
      The minBufferTime attribute may indicate the minimum                     The metadata may include general information, and the
   amount of the initially buffered media content that is required          general information may include a general description of the
   to ensure playout of the media content when the media con           65   content, and a general description of the interval.
   tent is continuously delivered at or above a value of a band                The general description of the content may include at least
   width attribute of the metadata.                                         one of a duration and a start time.
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                              3                                                                             4
     The metadata may include Quality of Service (QoS) infor                 to process the metadata, and to select the fragment Suitable for
   mation, and the QoS information may describe characteris                  the interval based on the processed metadata.
   tics of each of alternatives of the content.
      The characteristics may include at least one of a bitrate, a                               Effect of the Invention
   resolution, and a quality.
      Each of the alternatives may be physical, or virtual.                     According to embodiments of the present invention, it is
      The fragment may be selected based on information of the               possible to designate a minimum amount of initially buffered
   alternatives.                                                             media during playback of content.
     The metadata may include mapping information, and the                      Additionally, according to embodiments of the present
                                                                        10
   mapping information may describe locations to retrieve the                invention, it is possible to receive bytes within a specific range
   COntent.                                                                  from a target indicated by a Uniform Resource Locator
      The metadata may include content-level information, and                (URL), and to play back content.
   interval-level information, and all computations for deciding
   alternatives and resolving locations may be performed by the                        BRIEF DESCRIPTION OF DRAWINGS
                                                                        15
   SeVe.
      The request may define an order value of the fragment in                 FIG. 1 is a diagram illustrating categories of signaling
   the interval, and a start time of the fragment in the interval.           information according to an embodiment of the present
                                                                             invention.
      The metadata may include content-level information,                      FIG. 2 is a diagram illustrating categories of signaling
   interval-level information, and QoS information, and all com
   putations for deciding alternatives and resolving locations               information according to an embodiment of the present
   may be distributed and performed by the client and the server.            invention.
      The request may include one of an order value of an alter                 FIG. 3 is a diagram illustrating a hierarchy of content
   native that appears in the QoS information based on the order             division and levels of signaling information according to an
   value, Values of adaptation operators that appear in the QoS         25   embodiment of the present invention.
   information, and values of resources that appear in the QoS                  FIG. 4 is a diagram illustrating detection of virtual bound
   information.                                                              aries in a Moving Picture Experts Group-2 Transport Stream
      The adaptation operators may include at least one of a                 (MPEG-2 TS) according to an embodiment of the present
   number of scalable audio layers to be discarded, a number of              invention.
   temporal layers of a scalable video to be discarded, a number        30     FIG. 5 is a diagram illustrating a configuration of a client
   of spatial layers of a scalable video to be discarded, a number           100 according to an embodiment of the present invention.
   of quality layers of a scalable video to be discarded, and a                FIG. 6 is a diagram illustrating a configuration of a client
   number of priority layers of a scalable video to be discarded.            100 according to an embodiment of the present invention.
      A type of the resources may include at least one of an
   average bitrate of the alternative, a vertical resolution of the     35            BEST MODE FOR CARRYING OUT THE
   alternative, a horizontal resolution of the alternative, and a                               INVENTION
   frame rate of the alternative.
      The metadata may include content-level information,                      Reference will now be made in detail to embodiments of
   interval-level information, QoS information, and mapping                  the present invention, examples of which are illustrated in the
   information, and all computations for deciding alternatives          40   accompanying drawings, wherein like reference numerals
   and resolving locations may be performed by the client.                   refer to the like elements throughout. The embodiments are
      The request may include at least one of a parameter for                described below in order to explain the present invention by
   Moving Picture Experts Group-2 Transport Stream (MPEG-2                   referring to the figures.
   TS) boundary, a parameter for International Organization for                 A Dynamic Adaptive Streaming over HTTP (DASH) may
   Standardization (ISO) media file boundary, and parameters            45   specify formats that enable 1) transferring of media content
   for a file considered as a raw byte-sequence.                             from an HTTP server to an HTTP client, and 2) caching of
      The metadata may be physically separated into content                  content by standard HTTP cashes.
   level information, interval-level information, QoS informa                   FIG. 1 is a signal flowchart illustrating a content processing
   tion, and mapping information, and linking of related parts of            method according to an embodiment of the present invention.
   the content-level information, the interval-level information,       50      A media component may be an encoded version of indi
   the QoS information, and the mapping information may be                   vidual media types, such as audios, videos, or timed texts that
   performed by reference.                                                   have specific attributes, for example bandwidths, languages,
      According to a further aspect of the present invention, there          or resolutions.
   is provided a method by which a server provides content                      Media content may be a set of media components having a
   including one or more intervals, the method including: trans         55   common timeline, for example audios, videos, or timed texts.
   mitting metadata of an interval of the content to a client;               Additionally, media components may have relationships
   receiving a request for a fragment from the client, the frag              showing how to present the media components as programs
   ment being selected based on the metadata and being Suitable              or movies (for example, individually, jointly, or mutually
   for the interval; parsing the content, and extracting a data part         exclusive).
   Suitable for the fragment; and transmitting the fragment to the      60      Media content and content may be used as interchangeable
   client.                                                                   terms.
      According to a further aspect of the present invention, there             A media presentation may be a structured collection of data
   is provided a client for processing content including one or              used to establish bounded or unbounded presentation of
   more intervals, the client including: a transceiver to receive            media content including consecutive media components.
   metadata of an interval of the content from a server, to send,       65      In other words, the media presentation may be a structured
   to the server, a request for a fragment suitable for the interval,        collection of data enabling access to a DASHclient in order to
   and to receive the fragment from the server; and a controller             provide a streaming service to a user.
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     A Media Presentation Description (MPD) may be a for                    Each representation may be formed of one or more seg
   malized description of a media presentation.                           ments. In other words, a representation may include one or
     The media presentation may include possible updates of               more Segments.
   the MPD, and may be described by the MPD.                                 An MPD may be a document including metadata required
     Content may be content on demand, or live content.                   to a DASHclient to form appropriate HTTP-URLs in order to
     The content may be divided into one or more intervals. In            1) access segments and to 2) provide a user with a streaming
   other words, the content may include one or more intervals.            service. The HTTP-URLs may be absolute or relative.
      Intervals may be interchangeable with periods. The term                The MPD may be an Extensible Markup Language
   period may be used as a term of 3" Generation Partnership         10
                                                                          (XML)-document.
   Project (3GPP) adaptive HTTP streaming.                                   The MPD may include an MPD element. The MPD may
     A period may be an interval of a media presentation. Con             include only a single MPD element.
   secutive sequences of all periods may form a media presen                 A client 100 may be a DASH client.
   tation.                                                                   The DASHclient may be compatible with a client specified
                                                                          in RFC 2616.
      In other words, the media presentation may include one or      15
                                                                            The DASHclient may typically use an HTTP GET method
   more periods.                                                          oran HTTP partial GET method, as specified in RFC 2616, to
      One or more intervals may be a basic unit. One or more              access segments or parts of segments.
   intervals may be described by signaling metadata. In other               A server 110 may perform hosting on DASH segments.
   words, metadata may describe each of the one or more inter             The server 110 may be compatible with a server specified in
   vals.
                                                                          RFC 2616.
      The metadata may be an MPD.                                            In operation 120, the client 100 may receive, from the
      The MPD may define a format to notify resource identifiers          server 110, 1) metadata of content, or 2) metadata of a specific
   for segments. The MPD may provide a context regarding                  interval of the content. In other words, the server 110 may
   resources identified in the media presentation. The resource      25   transmit, to the client 100, 1) the metadata of the content, or 2)
   identifiers may be HTTP-Uniform Resource Locators                      the metadata of the specific interval of the content. The spe
   (URLs). URLs may be restricted by a byte range attribute.              cific interval may indicate a currently processed interval
      Each interval may be divided into fragments.                        among one or more intervals forming the content.
      Fragments may be interchangeable with segments. The                    In operation 130, the client 100 may process the metadata
                                                                     30
   term segment may be used as a term of 3GPP adaptive HTTP               of the specific interval.
   streaming.                                                                In operation 140, the client 100 may send a request for a
      A segment may refer to an entity body of a response to an           fragment to the server 110. The client 100 may request the
   HTTP/1.1 GET request for an HTTP-URL, for example as                   server 110 to transmit fragments suitable for the specific
   defined in RFC 2616, (or a GET request for a part indicated by    35   interval based on the processed metadata. In other words, the
   a byte range). The metadata may include a URL attribute, and           requested fragments may be selected based on the metadata.
   a range attribute. A client may receive bytes designated by the           In operation 145, in several cases, the server may need to
   range attribute from a URL indicated by the URL attribute. In          parse content (for example, a Moving Picture Experts Group
   other words, the bytes may be received by a partial HTTP               (MPEG) layer 4 (MP4) file for Scalable Video Coding
   GET command for the URL instructed by the byte range. The         40   (SVC)), and to extract a data part suitable for the requested
   bytes designated by the range attribute may represent the              fragment.
   above-described segment.                                                  In operation 150, the server 110 may transmit, to the client
      The range attribute may indicate multiple byte ranges.              100, a fragment suitable for each request from the client 100.
      The client may play back media content using the received           The client 100 may receive the fragment from the server.
   bytes (namely, the segment).                                      45      Subsequently, the entire process may be executed from the
      A sub-segment may refer to a smallest unit in segments that         beginning. In other words, operation 120 may be repeated on
   may be indexed by a segment index in a segment level.                  the next interval to the specific interval.
      Two or more sets of fragments corresponding to a single                The client 100 may play back content using fragments
   interval may exist. Each of the sets may be called an alterna     50
                                                                          received when operations 120 through 150 are repeated.
   tive.                                                                     FIG. 2 is a diagram illustrating categories of signaling
      An alternative may be interchangeable with a representa             information according to an embodiment of the present
   tion (or an expression).                                               invention.
      Each period may include one or more groups.                            The signaling information (namely, metadata) may be
                                                                     55
                                                                          divided into the following categories 1) through 4):
      Each group may include one or more representations of the              1) General information 210: includes common description
   same media content.
                                                                          of content, and general description of each interval, such as a
     The representation may refer to a structured collection of           duration, and a start time.
   one or more media components in a single period.                         2) Quality of Service (QoS) information 220: describes
     An MPD (or an MPD element) may provide descriptive              60   characteristics of each alternative, Such as a bitrate, a resolu
   information that enables a client to select one or more repre          tion, and a quality. In other words, the QoS information
   sentations.                                                            describes characteristics of each of alternatives of content.
      A Random Access Point (RAP) may be a specific location                 An alternative may be physical (namely, created in
   in a media segment. The RAP may be identified as a location            advance), or may be virtual (namely, to be created on the fly).
   in which playback may be started continuously from a loca         65   Based on information of alternatives, the client may select a
   tion of the RAP using only information included in a media             fragment of an appropriate alternative. Accordingly, adaptiv
   Segment.                                                               ity to contexts of terminals and networks may be supported.
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      3) Mapping information 230: describes locations to                 updated. Similarly, a single file containing the QoSInfo 330
   retrieve content. Depending on specific cases, different alter        may be used for different intervals and different contents.
   natives may have the same or different locations.                       There are different ways to represent a set of metadata, for
      4) Client request 240: this type of signaling information          example XML, pseudo-code, a Session Description Protocol
   may conform to a format of HTTP 1.1 request message. As               (SDP), and the like.
   shown in FIG. 1, parameters requested by the client may be              XML may be a general language for description. XML
   derived from the information of categories 1) through 3).             may provide rich tools to describe almost everything. XML
      Objectives of signaling are in the following 1) through 4):
      1) Support for different media storage/delivery                    may also be very well-structured, and be suitable for building
   approaches: the signaling information may be general enough      10   database. However, XML may have disadvantages of big data
   to Support typical cases (also various cases) of storage and          size and complexity. In particular, description in XML may
   delivery, such as MPEG-2 Transport Stream (TS), MP4 file              require special Software (for example, a Document Object
   including Advanced Video Coding (AVC)/SVC alternatives.               Model (DOM), or Simple Application Programming Inter
   Additionally, multi-channel delivery may be required for              face for XML (SAX)), to parse and process the metadata.
                                                                    15
   advanced scenarios (for example, an SVC layer in a single             XML may be often used for syntax of bitstream (MPEG-1,
   HTTP connection).                                                     MPEG-2 video bitstream, and file formats). An advantage of
      2) Support for different cases of decision-making for adap         the above approach may be compactness of description, but it
   tivity: the signaling information may be flexible to Support          may not be very flexible to describe various types of syntax
                                                                         element.
   different locations of decision making, Such as a client-based
   case, a distributed case, and a server-based case.                      In embodiments of the present invention, both XML and
      3) Efficiency: the format of signaling information may             pseudo-code may be used to represent signaling syntax. XML
   allow a small data size and easy handling (for example, pars          syntax may be used for clients that support an XLM profile
   ing, or modifying).                                                   based on an MPEG-21 and similar schema. On the other hand,
      4) Compatibility with a standard HTTP request: the signal     25   pseudo-code syntax may be based on a “language of an
   ing information may provide appropriate description items so          International Organization for Standardization (ISO) base
   that request parameters may be put in an HTTP 1.1 request             media file format and the like, and may be used in non-XML
   message, without requiring extensions (for example, new               clients. In particular, a profile of the pseudo-code syntax may
   header fields).                                                       employ a parsing module similar to a parsing module of
      FIG. 3 is a diagram illustrating a hierarchy of content       30
                                                                         file-format parsing. To design the syntax for the above pur
   division and levels of signaling information according to an          pose, a table of common elements may be defined and ele
   embodiment of the present invention.                                  ments in each format may be represented, in the following
      Signaling of metadata according to an embodiment of the            embodiments.
   present invention may be physically separated into content
   level information 310, interval-level information 320, QoS       35     The proposed syntax may be represented by any other
   information 330, and mapping information 340. Linking of              languages.
   related parts of the content-level information 310, the inter           Hereinafter, tables of general syntax elements will be
   val-level information 320, the QoS information 330, and the           described.
   mapping information 340 may be performed by reference.                   In the following tables, the syntax elements may be
      These parts of signaling information may be combined in       40
                                                                         described hierarchically. In other words, a child element may
   different ways to support the flexibility.
      For example, when only the content-level information 310           be shown in a column on the right of a parent element of the
   and interval-level information 320 are sent to a client, all          child element. “Leaf-level elements may be shown in italic,
   computations for deciding alternatives and resolving loca             and parent elements may be shown in bold letter. A parent
   tions may be performed by a server. Accordingly, when only       45   element may be represented by a corresponding XML type
   the content-level information 310 and interval-level informa          and a file box.
   tion 320 are sent to the client, a processing model may be               In the column of occurrence, “O ... N' may mean that the
   “server-based.                                                        number of instances of an occurrence element may be from 0
     When the content-level information 310, the interval-level          to “unbounded.” The minimum occurrence of 0 may mean
   information320, and the QoS information 330 are sent to the      50
                                                                         that an element may be optional (namely, not present). A
   client, all computations for deciding alternatives and resolv         minimum occurrence equal to or greater than 1 may mean that
   ing locations may be distributed and performed by the client          an element is mandatory in the syntax.
   and the server. Accordingly, when the content-level informa
   tion 310, the interval-level information 320, and the QoS                Occurrence may be interchangeable with cardinality.
   information 330 are sent to the client, the model may be         55      In a row of type, A indicates an attribute, and Eindicates an
   “distributed.                                                         element. In a row of optionality, Mindicates mandatory, and
     When all the signaling information (namely, the content             O indicates optional. For attributes, Mindicates mandatory, O
   level information 310, the interval-level information320, the         indicates optional, OD indicates optional with default value,
   QoS information 330, and the mapping information 340) is              and CM indicates conditionally mandatory. For elements,
   sent to the client, the model may be client-based, because       60
                                                                         elements may be represented as <minOccurs ... <maxOc
   most (or all) processing (namely, computations for deciding           curse. Here, N may be unbounded.
   alternatives and resolving locations) is performed by the cli
   ent.                                                                     The above meaning may equally be applied to other tables
     The separation of metadata parts may enable efficiency in           in the present specification.
   storage and delivery. For example, during a session, metadata    65      Additionally, QoSInfo may be also called AdaptationInfo
   of the content-level information 310 may be sent once, and            to make QoSInfo more specific. Moreover, a few elements
   only the interval-level information 320 may be periodically           may be revised to increase flexibility of the syntax.
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      The following Table 1 describes general information.
                                                              TABLE 1
                                                                                                      XML                 Pseudo
                                                                                                      Syntax              code
                                                                                                      (based on           (File
                                                                                                      MPEG                format
                                                 Occurrence   Semantics                               21)               box)
   HttpStr                                       1            Describes the top-level element of      HttpStreamingType htps
                                                              signaling metadata for HTTP                                 box
                                                              streaming
             Generallnfo                         ON           Contains the general information of     General InfoType    geni
                                                              the described content                                       box
                            TimeScale            O... 1       Describes the number of time units      integer             unsigned
                                                              in one second.                                              int(32)
                                                              This value is used with time-related
                                                              elements, when a time unit is not
                                                              specified.
                            LiveStartTime        O... 1          LiveStartTime element is not         dateTime            unsigned
                                                              present, the content is of VoD type.                        int(64)
                                                              The presence of LiveStartTime
                                                              element indicates a live content that
                                                              is to be displayed at a time value of
                                                              LiveStartTime.
                                                                LiveStartTime has a time value of
                                                              0, the display time is unknown.
                            Duration             O... 1          present, indicates duration of the   integer             unsigned
                                                              content. Otherwise, the duration is                         int(32)
                                                              unknown.
                            DefaultintDuration   O... 1         present, indicates a default          integer             unsigned
                                                               uration of each interval of the                            int(32)
                                                              content.
                            MinUpdateTime        O... 1         present, indicates the minimum        integer             unsigned
                                                              waiting time before requesting the                          int(32)
                                                              main description file again.
                            ConsistentQoSInfo    O... 1          rue, indicates that QoS              boolean             flag of
                                                              information is the same as the                              the box
                                                              whole content duration.
                            DefaultContentLoc    O... 1       Provides a default location for the     any URI             String of
                                                              content.                                                    URL
             IntervalsRef                        ON           Provides reference to description       IntervalsRefType     ref
                                                              containing one or more instances of                         box
                                                               interval element.
                                                              One or more instances of Interval
                                                              element represent a sequence of
                                                              consecutive interval(s).
             Interval                            ON           Provides information of an interval     IntervalType
                                                              of content.
                                                              The information of the interval may
                                                              be either included as an instance of
                                                               interval element or referenced by
                                                               intervalsRefelement.
                            Intervalnfo          O... 1       Provides general information of an      IntervalInfoType    intibox
                                                              interval.
                            QoSInfoRef           O... 1       Provides reference to description       dia:ReferenceType   qref
                                                              represented by QoSInfo element.                             box
                                                               f OosInfoRefelement is present,
                                                              QoSInfo element may not be
                                                              present at the same level.
                            QoSInfo              O... 1       Provides information about              QoSInfoType         *QoSi
                                                              alternatives of content, such as                            box
                                                              resource characteristics and
                                                              quality futility.
                                                               f OoSInfo element is present,
                                                              QoSInfoRefelement may not be
                                                                (Sel.
                            MappingInfoRef       O... 1       Provides reference to description       dia:ReferenceType    mref.
                                                              represented by MappingInfo                                  box
                                                              element.
                                                               fMappingInfoRefelement is
                                                              present, MappingInfo element may
                                                              not be present at the same level.
                            MappingInfo          O... 1       Provides information about              MappingInfoType     mapi
                                                               ocations of content alternatives.                          box
                                                               f the information is not provided,
                                                              DefaultContentIntLoc element (if
                                                              not, DefaultContentLoc) can be
                                                              used to retrieve content.
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                                                         TABLE 1-continued
                                                                                                        XML                   Pseudo
                                                                                                        Syntax                code
                                                                                                        (based on             (File
                                                                                                        MPEG-                 format
                                              Occurrence      Semantics                                 21)                   box)
                                                              If MappingInfo element is present,
                                                              MappingInfoRefelement may not
                                                              be present.
                       NextIntervalsRef       O. . .          Provides reference to information of      IntervalsRefType,     nref
                                                              next interval(s).                         may be extended       box
                                                              The information of next interval(s)       from
                                                              is description containing one or          dia:ReferenceType
                                                              more instances of Interval element.
                                                              The information of next interval(s)
                                                              is description represented by
                                                              Interval element.
                                                              Using NextIntervalsRefelement,
                                                              the client does not need to reload
                                                              the main description represented by
                                                              HttpStrelement.
                                                              Within the current time window,
                                                              only the final interval may contain
                                                              NextIntervalsRefelement.
                       PreviousIntervalsRef   O. . . 1        Provides reference to information of      IntervalsRefType,      nref
                                                              previous interval(s).                     may be                box
                                                              The information of next interval(s)       extended
                                                              is description containing one or          from
                                                              more instances of Interval element.       dia:ReferenceType
                                                              The information of next interval(s)
                                                              is description represented by
                                                              Interval element.
                                                              Using PreviousIntervalsRef
                                                              element, the client does not need to
                                                              reload the main description
                                                              represented by HttpStrelement.
                                                              Within the current time window,
                                                              only the first interval may contain
                                                              NextIntervalsRefelement.

                                                                            35

      The following Table 2 describes IntervalsRef. NextInter
   valsRef. PreviousIntervalsRef, QoSInfoRef, Mapping In
   foRefa, and Interval Info.
                                                              TABLE 2

                                                                                                        XML syntax            Pseudo
                                                                                                        (based on             code (File
                                                Occurrence Semantics                                    MPEG-21)              format box)
   QoSInfoRef,        Index                                   Indicates the order (starting from 1) not                       unsigned
   MappingInfoRef                                             of the referenced description or box applicable                 int(8)
                                                              (Interval, QoSInfo, MappingInfo) in
                                                              the description file referenced by the
                                                              next Location element.
                      Location                                Provides reference to description         uri element in        String
                                                              represented by Interval, QoSInfo, or      dia:ReferenceType     (representing
                                                              MappingInfo.                                                    url)
   Intervalnfo        TimeScale                               Describes the number of time units in     integer               unsigned
                                                              one second. This value is used with                             int(32)
                                                              time-related elements, when a time
                                                              unit is not specified.
                                                              TimeScale element, if present,
                                                              overrides the time scale provided by
                                                              Generalnfo.
                       StartTime                              Indicates the start time of the
                                                              interval.
                       Duration                               Indicates the duration of the interval.   integer               unsigned
                                                                                                                              int(32)
                      DefaultFrag|Duration                    Indicates the default duration of         integer               unsigned
                                                              fragments of the interval (except the                           int(32)
                                                              last fragment).
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                                                              TABLE 2-continued
                                                                                                                    XML syntax              Pseudo
                                                                                                                    (based on               code (File
                                                         Occurrence Semantics                                       MPEG-21)                format box)
                             DefaultContentIntLoc         O... 1      Provides a default location for the           any URItype             String
                                                                      content interval.
                             Last                         O... 1      If true, indicates the final interval of      boolean                 by flag
                                                                      the content.
   IntervalsRef,             startTime                                Indicates the start time of the               XS:duration
   PreviousIntervalsRef                                               referenced sequence o
   NextIntervalRef                                                    intervals periods relative to the start
                                                                      time of the content (LiveStartTime
                                                                      for live content and O for on-demand
                                                                      content).
                             AvailableTime                O... 1      Indicates the time the description of         integer                 unsigned
                                                                      the next interval is available. The is                                int(32)
                                                                      the relative time from the start time
                                                                      of the content.
                             Index                                    Indicates the order (starting from 1) not                             unsigned
                                                                      of the referenced interval description applicable                     int(8)
                                                                      (or box) in the description file
                                                                      referenced by the next Location
                                                                      element.
                             Location                                 Provides reference to description file SX:any URI                     String
                                                                      that contains Interval descriptions.   type or                        (representing
                                                                                                                    uri element in          url)
                                                                                                                    dia:ReferenceType


         The following Table 3 describes the QoSInfo element.
                                                                    TABLE 3
                                                                                                                                          Pseudo
                                                                                                                                          code
                                                                                                    XML Syntax                            (File
                                                                                                    (based on                             format
                                                 Occurrence     Semantics                           MPEG-21)                              box)
   QoSInfo                                       1              Provides information about a        QoSInfoType                           *QoSi
                                                                ist of content alternatives,        containing a                          box
                                                                Such as resource                    Utility Function
                                                                characteristics and                 of
                                                                quality futility.                   dia:AdaptiveOOSType
               Class SchemeRef                   O..            Provides a list of                  dia:DescriptionMetadata Type          'cSmr
                                                                classification schemes.                                                   box
                                                                The classification schemes
                                                                provide semantics for some
                                                                   (S Ol8le:S.
                                         Scheme 1 ...           Provides reference to a             Attr. alias &                         a url
                                                                classification scheme.              hirefin                               String
                                                                                                    dia:DescriptionMetadata Type
   (1)          Resource                         O..            Each instance of Resource           Element                               resi
                                                                element describes, for a list       constraint of                         box
                                                                of alternatives, characteristic     dia:UFData Type
                                                                values of a certain resource        in DIA
                                                                type (e.g., bitrate).               Utility-FunctionType
   (2)         AdaptationOperator                O..            Each instance of                    dia:UFData Type                        adpo
                                                                AdaptationOperator element                                                box
                                                                describes, for a list of
                                                                alternatives, values of a
                                                                certain adaptation type (e.g.,
                                                                remove temporal layers).
   (3)         Utility                           O..            Each instance of Utility       dia:UFData Type                            utilbox
                                                                element describes, for a list
                                                                ofalternatives, values in a
                                                                certain quality futility type
                                                                (e.g., MOS).
               UtilityRank                       O..            Describes the quality ranking dia:UtilityRankType                         utir.
                                                                for a list of alternatives.                                               box
                                         Value   1 ...          Indicates the quality futility      integer                               unsigned
                                                                rank of an alternative.                                                   int(16)
                                                                The number of instances of
                                                                Value element is equal to the
                                                                number of alternatives.
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     The following Table 4 shows common semantics of (1)
   Resource, (2) AdaptationOperator, and (3) Utility of Table 3.
                                                  TABLE 4
                                                                                                     Pseudo
                                                                                                     code
                                                                             XML syntax              (File
   Element (1),                                                              (based on               format
   (2), (3)                              Semantics                           MPEG-21)                box)
                  Name         1         Describes an identifier for a       Att.                    unsigned
                                         certain type of the element.         iOPinRef,              int(32)
                                         When the identifier is not          ref, a CS
                                         semantically defined by the         tel
                                         above embodiment, next three
                                         elements are used to find
                                         semantics of the identifier in a
                                         classification scheme.
                  CSref ind    O... 1    Indicates the reference index       Not                     unsigned
                                         of a classification scheme in       applicable              int(16)
                                         the list provided by
                                         Class SchemeRef element.
                  LevelNum     O... 1    Indicates the number of levels.     Not                     unsigned
                                                                             applicable              int(16)
                  Levelindex   1...N Each instance of Levelindex             Not                     unsigned
                                         element represents an index         applicable              int(16)
                                     value at a level of the
                                     classification scheme.
                  Value        1...N Indicates the value of a                Component               unsigned
                                         resource type (adaptation           in                      int(32)
                                         operator, or utility) of an         dia:VectorData Type
                                         alternative. The number of
                                         instances of Value element is
                                         equal to the number of
                                         alternatives.



      The following Table 5 shows mapping information.
                                                                TABLE 5
                                                                                                                             Pseudo
                                                                                                   XML                       code
                                                                                                   Syntax                    (File
                                                                                                   (based on                 format
                                           Occurrence       Semantics                              MPEG-21)                  box)
   MappingInfo                                                                                     MappingInfoType            mapibox
                  AlterLocID                                Provides a location ID for each        dia:IntegerVectorType      aloc'
                                                            alternative described in QoSInfo.                                box
                                                            If AlterLocID element is not
                                                           present, the first location in the
                                                           location list may be used for all
                                                            alternatives.
                               Value                        Indicates a location ID for an         integer                   unsigned
                                                            alternative.                                                     int(16)
                                                            The number of instances of this
                                                            element is equal to the number of
                                                            alternatives.
                                                            Then" instance of Value element
                                                            corresponds to the n" alternative
                                                           of QoSInfo description.
                  ReqQoSPara                               Indicates a parameter of QoSInfo        ReqQoSParaType             reqp
                                                           that may be put in the request (for   that                        box
                                                           an alternative) sent by the client    extends
                                                           to the server.                          dia:Boolean VectorType
                                                           A parameter may be an instance
                                                           of Resource, AdaptationOperator,
                                                           Utility, or UtilityRank elements.
                               Refndex     1                Indicates instance index/reference   represented                 unsigned
                                                           in the instance list of Resource,     by attribute                int(16)
                                                           AdaptationOperator, Utility and        OPRef
                                                           UtilityRank elements.                 that
                                                                                                 references
                                                                                                 an IOPin in
                                                                                                   QoSInfo
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                                     17                                                                                   18
                                                       TABLE 5-continued
                                                                                                                            Pseudo
                                                                                                  XML                       code
                                                                                                  Syntax                    (File
                                                                                                  (based on                 format
                                          Occurrence    Semantics                                 MPEG-21)                  box)
                               All        1             If true, the parameter needs to be        boolean                   flag
                                                        requested for all alternatives and
                                                        ReqFlag may be skipped.
                               ReqFlag    O... N        Each instance of ReqFlag element component                          unsigned
                                                        corresponds to an alternative.      of                              int(8)
                                                        If ReqFlag is true, the request for Boolean VectorType
                                                        the corresponding alternative has
                                                        the parameter identified above.
                LocationList              1              Provides a list of locations for         LocationListType           loc
                                                        retrieving content alternatives                                     box
                               Location   1 ... N       Provides information of a                 LocationType               loca
                                                        location                                                            box



      Semantics of Location elements may be further provided
   as shown in Table 6.
                                                                     TABLE 6
                                                                                                              XML                      Pseudo
                                                                                                              Syntax                   code
                                                                                                              (based on                (File
                                                                                                              MPEG-                    format
                                                                Occurrence      Semantics                     21)                      box)
   Location                                                      1...N                                        Location                 loca
                                                                                                              Type                     box
              LocID                                              1              Indicate an ID of an          integer                  unsigned
                                                                                instance of Location                                   int(16)
                                                                                element. Location
                                                                                element is referred to by
                                                                                AlterLocID.
              StrLocation                                       ON              Provides location             StrLocationType           Sto
                                                                                information of a stream                                box
                                                                                of a content interval.
                                                                                Each stream is provided
                                                                                by either a stream URL
                                                                                or a number of fragment
                                                                                 URLs.
                            FragNum                             O... 1           Provides the number of       integer                  unsigned
                                                                                 ragments                                              int(16)
                            StreamUrl                           O... 1          Describes a URL of a          anyURI                   string
                                                                                Stream                        type
                            FragmentUrl                         ON               Describes a URL of a         anyURI                   string
                                                                                 ragment. The number          type
                                                                                of instances of
                                                                                 FragmentUrl element is
                                                                                  he number of fragments.
                            FragTime                            O... 1           Provides durations of        dia:VectorData Type       frtin
                                                                                 ragments.                                             box
                                              Value              1...N           indicates a duration of a    integer                  unsigned
                                                                                 ragment.                                              int(32)
                                                                                The number of instances
                                                                                of Value element is the
                                                                                number of fragments.
                            RandAccess                          O... 1          Describes fragments that dia:VectorData Type            rolac
                                                                                Supportrandom access.                                  box
                                              Value              1...N           indicates the order of a integer                      unsigned
                                                                                random-access fragment.                                int(16)
                            MP2TSPara                           O... 1           Describes additional         MP2TSParaType            “mp2p
                                                                                 parameters (beside URL)                               box
                                                                                 or locating a
                                                                                content program in a
                                                                                MPEG-2TS.
                                              PID                1...N           Describes values of PIDs integer                      unsigned
                                                                                of content program in a                                int(16)
                                                                                MPEG-2TS.
                            FragBoundaries                      O... 1          Describes boundaries of FragBoundariesType              frbd
                                                                                (virtual) fragments in a                               box
                                                                                Stream.
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                             19                                                                              20
                                                TABLE 6-continued
                                                                                               XML                    Pseudo
                                                                                               Syntax                 code
                                                                                               (based on              (File
                                                                                               MPEG                   format
                                                     Occurrence   Semantics                    21)                    box)
                                                                  The number of instances
                                                                  of FragBoundaries
                                                                  element is equal to the
                                                                  number of fragments of
                                                                  the stream.
                                                                  Only one type of
                                                                  following elements is
                                                                  present in a
                                                                  FragBoundaries instance.
                                  MP2TSBoundary      ON           Describes parameters for MP2TSBoundaryType “mp2b
                                                                  detecting (virtual)                        box
                                                                  fragment boundary in a
                                                                  MPEG-2TS.
                                                                  If there are two instances
                                                                  of MP2TSBoundary
                                                                  element, the two
                                                                  instances are starting
                                                                  and ending boundaries
                                                                  of a fragment. If there
                                                                  is only one instance of
                                                                  MP2TSBoundary
                                                                  element, the instance is
                                                                  the starting boundary.
                                                                  The ending boundary is
                                                                  right before the starting
                                                                  boundary of the next
                                                                  fragment.
                                  ISOFile:Boundary   1 ... 2      Describes parameters for ISOFile:BoundaryType        isfb
                                                                  detecting (virtual)                                 box
                                                                  fragment boundary in a
                                                                  file based on ISO base
                                                                  media file format.
                                                                  If there are two instances
                                                                  of ISOFile:Boundary
                                                                  element, the two
                                                                  instances are
                                                                  starting and ending
                                                                  boundaries of a fragment.
                                                                   f there is only one
                                                                  instance of
                                                                   SOFile:Boundary
                                                                  element, the instance is
                                                                   he starting boundary.
                                                                  The ending boundary is
                                                                  right before the starting
                                                                  boundary of the next
                                                                   ragment.
                                   ByteRanges        1            Describesbyte ranges   ByteRangesType               brag
                                                                   hat identify a part?                               box
                                                                   ragment of a file.
                                                                  Parameters provided by
                                                                  ByteRanges element may
                                                                  be used for byte range
                                                                  options in an HTTP
                                                                  request.


     Semantics of MP2TSBoundary, ISOFileBoundary, and
   ByteRanges may be further provided as shown in Table 7.
                                                TABLE 7

                                                                                XML syntax                 Pseudo
                                                                                (based on                  code
                              Occurrence Semantics                              DIA)                       (MP4)
   MP2TSBoundary                                                                MP2TSBoundaryType “mp2b
                                                                                                           box
                   PCR PID        1      Describes PID carrying PCR of the      integer                    unsigned
                                         concerned content program.                                        int(16)
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                                     21                                                                            22
                                                   TABLE 7-continued
                                                                                            XML syntax           Pseudo
                                                                                            (based on            code
                                      Occurrence Semantics                                  DIA)                 (MP4)
                      PCR base              1      Describes a value of a PCR base          long                 unsigned
                                                   field                                                         int(40)
                      PCR ext               1      Describes a value of a PCR               integer              unsigned
                                                   extension field.                                              int(16)
                      Appearance            1      Describes the appearance order           integer              unsigned
                                                   (e.g., 1,2") of the TS packet                                 int(16)
                                                   containing the PCR value identified
                                                   by the above two elements.
                                                   If there is resetting/discontinuity of
                                                   PCR, a PCR value may appear more
                                                   than once during an interval.
                      Media PID           1...N.   Describes PID of a media (e.g.,          integer              unsigned
                                                   video) of a program.                                          int(16)
                                                   The number of instances of
                                                   Media PID element is equal to the
                                                   number of media of the
                                                   program content.
                      Media Offset        1...N.   Describes the offset (in TS packets      integer              unsigned
                                                   of the same media PID) from the                               int(16)
                                                   above identified PCR packet to the
                                                   first media packet of a fragment.
                                                   Then" instance of Media Offset is
                                                   associated with then" instance of
                                                   Media PID.
   ISOFile:Boundary                                                                         ISOFile:BoundaryType isfb
                                                                                                                 box
                      SequenceNo            1      Describes the sequence number            integer              unsigned
                                                   provided in the mfhd box.                                     int(16)
                                                   The mfhd box defines a fragment of
                                                   an MP4 file.
                                                   SequenceNo with a value of O
                                                   indicates the beginning of the file.
   ByteRanges                                                                               ByteRanges.Type       brag box
                      Start               1...N.   Describes the starting value of a        integer              unsigned
                                                   byte range.                                                   int(32)
                                                   A value of -1 means that this value
                                                   in the HTTP request is missing.
                      End                 1...N.   Describes the ending value of a byte     integer              unsigned
                                                   range.                                                        int(32)
                                                   A value of -1 means that this value
                                                   in the HTTP request is missing.
                                                   Start-End instances are present in
                                                   pair.
                                                   The n" instance of End is associated
                                                   with then" instance of Start.
                      Media PID           0...N.   Describes PID of a media (e.g.       integer                  unsigned
                                                   video) that needs to be extracted                             int(16)
                                                   from the byte range of the above
                                                   pair of Start-End.
                                                   Media PID element is used when
                                                   the byte range is a segment of
                                                   MPEG-2 TS, and all PIDs do not
                                                   need to be delivered.


                                                                               50
      Hereinafter, a Client Request will be Described.                                a) “fragno': Order value of the fragment in the interval
      Signaling of metadata obtained by a client may include                          b) “fragti’: Start time of the fragment in the interval
   different parts or levels of signaling information. Accord                         For example, a request URI may be “HTTP://server.com/
   ingly, a request from the client to a server may include param                   file.mp4?fragno=5.”
   eters of different levels of details.                                       55
      Main parameters of the client may be Uniform Resource                           2) Distributed scenario
   Identifiers (URIs), and may be associated with a query part.                       In the distributed scenario, the metadata provided from the
     Three main scenarios are examined as follows:                                  server to the client may include general content information
      1) Server-based scenario                                                      310, general interval information 320, and QoS information
                                                                                    33O.
      In the server-based scenario, the metadata provided from                 60
   the server to the client may include general content informa                        In addition to the above parameters, the following QoS
   tion 310 and general interval information 320.                                   related parameters a) through c) are defined in the query part
      For an URI of requested content, DefaultContentlntLoc (if                     (of the request in operation 140) to enable the client to request
   not, DefaultContentlntLoc) may be used. To enable the client                     an appropriate alternative:
   to request a specific fragment of content, the following                    65      a) “alter’’: Order value of an alternative. Based on the order
   parameters a) and b) are defined in the query part (of the                       value of the alternative, the alternative may appear in the QoS
   request in operation 140):                                                       information.
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     b) “oper1”, “oper2,..., and “operN”: “operi” carries a                 Start-End pairs may be used by a range header of an HTTP
   value of an i' adaptation operation that appears in the QoS            request message. For example, if {(Start=0, End=99);
   information.                                                           (Start=200, End=299), the header may be “Range: bytes=0-
     c) “res1”, “res2, ..., “resN': “resi' carries a value of an          99,200-299.
   i' resource that appears in the QoS information.                          Hereinafter, syntax representation in an XML format will
     Only one of the above three options may be used in a single          be described. Representations of the above syntax elements
   request.                                                               may be provided in the XML format. Semantics of each
      With typical adaptation operators and resource types, spe           element may be traced back in the above Tables 1 through 7.
   cific parameter names for better intelligibility and interoper    10      Several elements may be extensions of several types
   ability may be defined.                                                defined in an MPEG-21 DIA. Several few elements may take
      Adaptation operators are as the following a) through e).            several types defined in the MPEG-21 DIA.
      a) audiolayers: indicates the number of scalable audio lay            The following Table 8 shows syntax representation of
   ers to be discarded.                                                   HTTPStreamingType in the XML format.
                                                                     15
     b) temporallayers: indicates the number of temporal layers
   of scalable video to be discarded.                                                                 TABLE 8
     c) spatiallayers: indicates the number of spatial layers of          <complexType name="HTTPStreamingType's
   scalable video to be discarded.                                          <complexContent>
     d) qualitylayers: indicates the number of quality layers of              <extension base="dia:DIADescriptionType'>
                                                                                <sequences
   scalable video to be discarded.                                                <element name="General Info' type="General InfoType
     e) prioritylayers: indicates the number of priority layers of                minOccurs="O'>
                                                                                  <choice minOccurs="O' maxOccurs="unbounded
   scalable video to be discarded.
                                                                                     <element name="IntervalsReftype="IntervalsRefType's
     Resource types are as the following a) through d).              25              <element name="Interval type="IntervalType's
                                                                                  <choice>
     a) bitrate: indicates the average bitrate (in Kbps) of the              <sequence < complexContent>
   requested alternative.                                                 <complexType
     b) vertresolution: indicates the vertical resolution of the
   requested alternative.
     c) horiresolution: indicates the horizontal resolution of the   30     The following Table 9 shows syntax representation of Gen
   requested alternative.                                                 eralInfoType in the XML format.
     d) framerate: indicates the framerate of the requested alter                                     TABLE 9
   native.
      Using the pre-defined parameters, an example of a request      35   <complexType name="General InfoType'>
                                                                            <complexContent>
   URI based on the bitrate may be “http://server.com/                        <extension base="dia:DIADescriptionType'>
   file.mp4?fragno=5&bitrate=550.”                                              <sequences
                                                                                  <element name="TimeScale” type="integer minOccurs="0">
      3) Client-based scenario                                                    <element name="LiveStartTime' type="dateTime'
                                                                                  minOccurs="O'>
      In the client-based scenario, the metadata provided from       40           <element name="Duration' type="integer minOccurs="0">
   the server to the client may include general content, general                  <element name="DefaultIntduration' type="integer'
   interval information, QoS information, and mapping infor                       minOccurs="O'>
   mation.                                                                        <element name="MinUpdateTime' type="integer
                                                                                  minOccurs="O'>
      The QoS-related parameters used in the request may be                       <element name="ConsistentQoSInfo' type="boolean'
   indicated by a ReqQoSPara part of QoSInfo metadata. For           45           minOccurs="O'>
   example, when Refindex of ReqQoSPara is 0 or null, the                         <element name="DefaultContentLoc' type="anyURI
                                                                                  minOccurs="O'>
   “alter parameter may be used instead of other options.                       </sequences
      When ReqQoSPara is not present in the QoSInfo metadata,                 <extension
   the QoS-related parameters may not be used. Alternatives in              <complexContent>
                                                                          <complexType
   this case may be implied by locations of MappingInfo.             50

      AURI of content may be derived from rich description of
   MappingInfo. When content/program is conveyed in an                      The following Table 10 shows syntax representation of
   MPEG-2 TS, one or more PIDs may be used to locate the                  IntervalRef Type in the XML format.
   content in the stream.
                                                                     55
      When additional information for detecting fragment                                              TABLE 10
   boundaries are provided, the following parameters 1) through           <complexType name="IntervalsRefType
   3) for the query part (of the request in operation 140) may be           <complexContent>
   used.                                                                      <extension base="dia:ReferenceType'>
                                                                                <sequences
     1) For an MPEG-2 TS boundary, Appearance, PCR PID,              60
                                                                                  <element name="AvaliableTime type="integer
   PCR base, PCR ext, Media PID, and Media Offset                                 minOccurs="O'>
                                                                                </sequences
     2) For an ISO media file boundary, SequenceNo                              <attribute name="startTime' type="Xs:duration use="optional/>
     3) For a file considered as a raw byte-sequence, Start and               <extension
                                                                            <complexContent>
   End                                                               65   <complexType
     Semantics of the above parameters may be provided in
   semantics of a FragBoundaries element.
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                             25                                                                                  26
     The following Table 11 shows syntax representation of                                           TABLE 14-continued
   IntervalType in the XML format.
                                                                             type="IntegerVectorType' minOccurs="0">
                               TABLE 11
                                                                                      <element name="ReqQoSPara type="ReqQoSParaType
   <complexType name="IntervalType'>                                         minOccurs="O' maxOccurs="unbounded           -
     <complexContent>
       <extension base="dia:DIADescriptionType'>                                     <element name="LocationList type="LocationListType' >
         <sequence>                                                                 <sequences
           <element name="IntervalInfo' type="Interval InfoType
           minOccurs="O'>                                                        <extension
                                                                        10
           <choice minOccurs="O-                                               <complexContent>
              <element name="QoSInfo' type="QoSInfoType"/>
              <element name="QoSInfoRef, type="dia:ReferenceType's           <complexType
           <choice>
           <choice minOccurs="O-
              <element name="MappingInfo' type="MappingInfoType' >
              <element name="MappingInfoRef.                            15     The following Table 15 shows syntax representation of
              type="dia:ReferenceType's                                      ReqQoSParaType in the XML format.
           <choice>
           <element      name="PreviousIntervalsRef
                                                                                                          TABLE 1.5
   type=“IntervalsRefType minOccurs="O/>
           <element      name="NextIntervalsRef
   type=“IntervalsRefType minOccurs="O/>                                     <complexType name="ReqQoSParaType'>
         </sequences
       <extension                                                              <complexContent>
     </complexContent>                                                           <extension base="dia:Boolean VectorType'>
   </complexType                                                                   <attribute name="all type="boolean use="optional/>
                                                                        25         <attribute name="iOPinReftype="anyURI use="required"/>
      The following Table 12 shows syntax representation of                      <extension
   Interval InfoType in the XML format.                                        <complexContent>
                                                                             <complexType
                               TABLE 12                                 30
   <complexType name="IntervalInfoType's
     <sequences                                                                The following Table 16 shows syntax representation of
       <element name="TimeScale” type="integer minOccurs="Of                 LocationListType in the XML format.
       <element name="StartTime” type="dateTime minOccurs="0"/>
       <element name="Duration' type="integer minOccurs="O’D-
       <element name="DefaultFrag|Duration' type="integer               35                                TABLE 16
       minOccurs="O'>
       <element name="DefaultContentIntLoc' type="any URI                            <complexType name="LocationListType's
       minOccurs="O'>                                                                   <sequences
       <element name="Last    type="boolean minOccurs="0"/>                                 <element name="Location' type="LocationType
     </sequences                                                                            maxOccurs="unbounded      -
   </complexType                                                        40             </sequences
                                                                                     </complexType

     The following Table 13 shows syntax representation of
   QoSInfoType in the XML format.                                              The following Table 17 shows syntax representation of
                                                                        45   LocationType in the XML format.
                               TABLE 13
                                                                                                          TABLE 17
   <complexType name="QoSInfoType'>
     <complexContent>                                                        <complexType name="LocationType'>
       <extension base="dia:DIADescriptionType'>                               <sequences
         <sequence>                                                     50       <element      name="StrLocation              type="StrLocationType'
           <element                   name="DescriptionMetadata              maxOccurs="unbounded -
   type="dia:DescriptionMetadata Type' minOccurs="0">                          <sequences
            <element name="Description' type="dia:AdaptationQoSType's          <attribute name="locID type="integer' use="required's
           <sequences                                                        <complexType
       <extension
     </complexContent>                                                  55
   </complexType                                                               The following Table 18 shows syntax representation of
                                                                             StrLocationType in the XML format.
     The following Table 14 shows syntax representation of
   MappingInfoType in the XML format.                                                                     TABLE 1.8
                                                                        60
                                                                             <complexType name="StrLocationType'>
                               TABLE 1.4                                       <sequences
                                                                                 <element name="FragNum' type="integer minOccurs="O f>
   <complexType name="MappingInfoType'>                                          <choice>
     <complexContent>                                                              <element name="StreamUrl type="anyURI/>
       <extension base="dia:DIADescriptionType'>                                   <element name="FragmentUrl type="anyURI
         <sequence>                                                     65         maxOccurs="unbounded      -
              <element     name="AlterLocIDs
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                                     27                                                                              28
                           TABLE 18-continued                                                           TABLE 22-continued
       <element name="FragTime' type="dia:IntegerVectorType'
       minOccurs="O' >                                                              <element name="End' type="integer's
       <element name="RandAccess type="dia:IntegerVectorType                        <element name="Media PID type="integer minOccurs="0">
       minOccurs="O' >
       <element name="MP2TSPara type=“MP2TSParaType                               <sequences
       minOccurs="O'>
       <element     name="FragBoundaries'       type="FragBoundariesType        <complexType
   maxOccurs="unbounded     -
     </sequences
   </complexType                                                           10     Hereinafter, syntax representation in an MP4 pseudo-code
                                                                                format will be described. Representation of the above syntax
     The following Table 19 shows syntax representation of                      elements may be provided in the MP4 pseudo-code format.
   MP2TSParaType in the XML format.                                               The following Table 23 shows syntax representation of
                                                                           15   HTTPStreamingBox in the MP4 pseudo-code format.
                                TABLE 19
   <complexType name="MP2TSParaType's                                                                           TABLE 23
     <sequences
       <element name="PID type="integer' maxOccurs="unbounded' -                                            HTTPStreamingBox
     </sequences
   </complexType                                                                    Box Type: https
                                                                                    Container: Signaling file
                                                                                    Mandatory:Yes
     The following Table 20 shows syntax representation of                          Quantity: One
   FragBoundariesType in the XML format.                                              Aligned (8) class HTTPStreamingBox extends Box.(htps) {
                                                                           25
                                TABLE 20
       <complexType name="FragBoundariesType'>
          <sequence>                                                              The following Table 24 shows syntax representation of
            <choice>                                                            GeneralInfoBox in the MP4 pseudo-code format.
              <element      name="MP2TSBoundary                            30
       type=“MP2TSBoundaryType' maxOccurs="2/>                                                                  TABLE 24
              <element      name="ISOFile:Boundary
       type="ISOFile:BoundaryType' maxOccurs="2/>                                                               GenerallnfoBox
              <element name="ByteRanges type="ByteRangesType's
            <choice>                                                            Box Type: 'geni
         </sequences                                                       35   Container: htps
       </complexType                                                            Mandatory: No
                                                                                Quantity: One
                                                                                  Aligned (8) class General InfoBox extends Box (geni) {
     The following Table 21 shows syntax representation of                          bit(1)   consistentQoSInfo flag:
   MP2TSBoundaryType in the XML format.                                             bit(1)   timescale flag:
                                                                           40       bit(1)   live start time flag:
                                                                                    bit(1)   duration flag:
                                TABLE 21                                            bit(1)   default interval duration flag:
            <complexType name="MP2TSBoundaryType'>                                  bit(1)   min update time flag:
              <sequences
                                                                                    bit(1)   default content loc flag:
                                                                                    bit(1)   reserved;
                  <element name="PCR PID type="integer/>                            if (timescale flag==1) { unsigned int(32)      timescale:
                  <element name="PCR base' type="long                      45       if (live start time flag=1) { unsigned int(64) live start time:
                  <element name="PCR ext' type="integer/>                           if (duration flag==1) unsigned int(32)         duration;
                  <element name="Appearance' type="integer's                           if (default interval duration flag==1) {unsigned int(32)
                  <element name="Media PID type="integer'                                default interval duration;}
                  maxOccurs="unbounded      -                                          if (min update time==1) unsigned int(32) min update time:
                  <element name="Media Offset type="integer                           if (default content loc ref==1)
                  maxOccurs="unbounded      -                              50         {string default content loc ref}
              <sequences
            <complexType

     The following Table 22 shows syntax representations of                        Hereinafter, interval-level information will be described.
   ISOFile:BoundaryType and ByteRangesType in the XML for                  55     The following Table 25 shows syntax representation of
   mat.                                                                         IntervalBox in the MP4 pseudo-code format.
                                TABLE 22                                                                        TABLE 25
   <complexType name="ISOFile:BoundaryType                                 60                                    IntervalBox
     <sequences
       <element name="SequenceNo' type="integer'                                         Box Type: intv
       maxOccurs="unbounded      -                                                       Container: htps
     </sequences                                                                         Mandatory: No
   </complexType                                                                         Quantity: One or more
   <complexType name="ByteRangesType'>                                                       Aligned.(8) class IntervalBox extends Box(intv) {
     <sequence maxOccurs="unbounded's                                      65
       <element name="Start type="integer's
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                              29                                                                                30
     The following Table 26 shows syntax representation of                            The following Table 30 shows syntax representation of
   IntervalRef Box in the MP4 pseudo-code format.                                   NextIntervalRef Box in the MP4 pseudo-code format.
                                  TABLE 26                                                                            TABLE 30
                                 IntervalRef Box                                                                  NextIntervalRef Box

        Box Type: “iref                                                                        Box Type: “nref
        Container: htps                                                                        Container: intv
        Mandatory: No                                                                          Mandatory: No
        Quantity: One or more                                                  10              Quantity: Zero or more
          Aligned.(8) class IntervalRef Box extends Box(iref) {                                  Aligned.(8) class NextIntervalRef extends Box(nref) {
             unsigned int(8) index;                                                                 unsigned int(32)            available time;
             string                 location;                                                       unsigned int(8) index;
                                                                                                    string                        location;

                                                                               15
     The following Table 27 shows syntax representation of
   QoSInfoRefEsox in the MP4 pseudo-code format.                                      Hereinafter, QoS information will be described.
                                                                                      The following Table 31 shows syntax representation of
                                  TABLE 27                                          QoSInfoBox in the MP4 pseudo-code format.
                                QoSInfoRefBox                                                                         TABLE 31
             Box Type: 'qref                                                                                          QoSInfoBox
             Container: intv
             Mandatory: No                                                              Box Type: “QoSi
             Quantity: Zero or more                                                     Container: intv or htps
                  Aligned.(8) class QoSInfoRefextends Box(qref) {              25       Mandatory: No
                    unsigned int(8) index;                                              Quantity: Zero or more
                    string                         location;                        Note: when a QoSi box is stored separately from other signaling metadata,
                                                                                    it will stay directly in https' box for the purpose of easy referencing.
                                                                                        Aligned (8) class QoSInfoBox extends Box(QoSi) {
     The following Table 28 shows syntax representation of                     30
   MappingInfoRefBox in the MP4 pseudo-code format.                                   The following Table 32 shows syntax representation of
                                  TABLE 28                                          ClassSchemeRefBox in the MP4 pseudo-code format.
                              MappingInfoRefBox                                                                       TABLE 32
                                                                               35
          Box Type: “mref.                                                                                        ClassSchemeRefBox
          Container: intv
          Mandatory: No                                                                      Box Type: 'cSmr
          Quantity: Zero or more                                                             Container: "QoSi
             Aligned.(8) class MappingInfoRefextends Box(mref.) {                            Mandatory: No
                  unsigned int(8) index;                                       40            Quantity: Zero or more
                  string                 location;                                             Aligned.(8) class ClassSchemeRef extends Box('cSmr) {
                                                                                                 unsigned int(32) entry count;
                                                                                                 for (i=1; i <= entry count; i++) {
                                                                                                    string scheme:                            i URL
      The following Table 29 shows syntax representation of
   Interval InfoBox in the MP4 pseudo-code format.                             45

                                  TABLE 29                                            The following Table 33 shows syntax representation of
                                 IntervalInfoBox                                    ResourceBox in the MP4 pseudo-code format.
        Box Type: inti                                                         50                                     TABLE 33
        Container: intv
        Mandatory: No                                                                                                 ResourceBox
        Quantity: Zero or more
          Aligned.(8) class Interval InfoBox extends Box(geni) {                    Box Type: resi
             bit(1) last flag:                                                      Container: "QoSi
             bit(1) timescale flag:                                            55   Mandatory: No
             bit(1) start time flag:                                                Quantity: Zero or more
             bit(1) duration flag:                                                    Aligned (8) class ResouceBox extends Box(resi) {
             bit(1) default frag duration flag:                                         unsigned int(32) name:
             bit(1) default content interval loc flag:                                   f
             bit(2) reserved;                                                       (name=="ro00|name=="ro01 ||name=="ro02 ||name=="ro03||
             if (timescale flag==1) unsigned int(32) timescale:                60
                                                                                    name==r004name==r005              name==OO6'name==rOO7
             if (start time flag==1) { unsigned int(32) start time                  name=="ro08||(name=="ro09)
             if (duration flag==1) unsigned int(32) duration;                           {
             if (default frag duration==1) unsigned int(32)                                  unsigned int(16)           cSref ind;
             default frag duration;                                                          unsigned int(16)           level num;
              f       (default content interval loc flag==1)         {string                 for (i-1; i <= level num; i++) {
      default content interval loc;}                                                           unsigned int(32)         level index;
                                                                               65
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                                           31                                                                                   32
                                TABLE 33-continued                                                                  TABLE 35-continued
                                        ResourceBox                                                                          UtilityBox
                                                                                                  f

            unsigned int(32)            value;                                         name==LOO4name==L005name==OO6 name==OO7
                                                                                       name==“u008||name==“u009)
                                                                                                 {
     We define some typical names of resource types as follows                                        unsigned int(16)         cSref ind;
       o “bitr means average bitrate of the content                              10                   unsigned int(16)         level num;
       o “frar means frame rate of video content                                                      for (i-1; i <= level num; i++) {
        o “verr means vertical resolution of video frame                                                unsigned int(32)       level index;
        o “horr means horizontal resolution of video frame
     When a resource type defined in some Classification Scheme should be                        h i=1
   used,
    r009}
         the resource takes a “dummy name among {r()00, rO01,...,                15
                                                                                                  O (i- s ; i++) {
                                                                                                      unsigned int(32)       value;
   and some special parameters (cSref ind, level num, level index) are used to
   associate that “dummy name with a term of semantics in the Classification                   We define some typical names of utilities as follows
   Scheme.
                                                                                                 opSnr
                                                                                                 o mos
                                                                                 2O            When a utility type defined in some Classification Scheme (outside this
      The following Table 34 shows syntax representation of                            standard) should be used, the operator takes a "dummy name among
   AdaptationOperatorBox in the MP4 pseudo-code format.                                {u000, u001,..., u009 and some special parameters (csref ind,
                                                                                       level num, level index) are used to associate that “dummy name with a
                                        TABLE 34                                       term of semantics in the Classification Scheme.
                                                                                 25
                                  AdaptationOperatorBox
     Box Type: “adbo
       OX       We    8CO
                                                                                          The following Table 36 shows syntax representation of
                                                                                           -
     C R                 s                                                             UtilityRankBox in the MP4 pseudo-code format.
     Mandatory: No
     Quantity: Zero or more                                                      30                                         TABLE 36
       Aligned.(8) class AdaptationOperatorBox extends Box(adpo) {
            unsigned int(32) name:                                                                                         UtilityRankBox
            f
   (name=="ao00|name=="ao01 ||name=="ao02 ||name=="ao03||                                             Box Type: utir.
   name==aOO4'name==aOO5name==aOO6'name==a.007                                                        Container: "QoSi
   name=="ao08||name=="ao09)                                                     35                   Mandatory: No
            {                                                                                         Quantity: Zero or more
                unsigned int(16)         cSref ind;                                                     Aligned.(8) class UtilityRankBox extends Box(utir) {
                unsigned int(16)         level num;                                                        for (i-1; ; i++) {
                for (i-1; i <= level num; i++) {                                                             unsigned int(32) value;
                     unsigned int(32)     level index;
                                                                                 40
            for (i-1; ; i++) {
                   igned int(32           lue:
              unsigned   int(32)        value;                                            Hereinafter, mapping information will be described.
                                                                                          The following9. Table 37 shows SVntax
                                                                                                                          y     representation
                                                                                                                                  p            of
        We define some typical names of adaptation operator types as follows           MappingInfoBox in the MP4 pseudo-code format.
           o “spals' means the number of spatial layers to be discarded, from the 45
   highest one.
           o quls means the number of quality layers to be discarded, from the                                              TABLE 37
   highest one.
           o “tmls’ means the number of temporal layers to be discarded, from                                              MappingInfoBox
   the highest one.
       When a adaptation operator type defined in some Classification Scheme so                Box Type: mapi
   (outside this standard) should be used, the operator takes a “dummy name                    Container: intv or htps
   among 'a()00, a001, ..., a009 and some special parameters (cSref ind,                       Mandatory: No
   level num, level index) are used to associate that “dummy name with a                       Quantity: Zero or more
   term of semantics in the Classification Scheme.                                               Note: when a mapi box is stored separately from other signaling
                                                                                         metadata, it will stay directly in htps' box for the purpose of easy
                                                                                 55      referencing.
     The following Table 35 shows syntax representation of                                       Algel class MappingInfoBox extends Box(mapi) {
   UtilityBox in the MP4 pseudo-code format.
                                        TABLE 35                                      The following Table 38 shows syntax representation of
                                        UtilityBox                               60 AlterLocIDBox in the MP4 pseudo-code format.
     Box Type: util                                                                                                         TABLE 38
     Container: "QoSi
     Mandatory: No                                                                                                         AlterLocIDBox
     Quantity: Zero or more
       Aligned.(8) class UtilityBox extends Box(util) {                          65                   Box Type: 'aloc'
          unsigned int(32) name:                                                                      Container: 'mapi
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                                      33                                                                       34
                        TABLE 38-continued                                                        TABLE 42-continued
                             AlterLocIDBox
                                                                                                          FragTimeBox
          Mandatory: No
          Quantity: Zero or more                                       5
            Aligned.(8) class AlterLocIDBox extends Box (aloc) {                    Aligned.(8) class FragTimeBox extends Box(frtm) {
               for (i-1; ; i++) {                                                      for (i-1; ; i++) {
                 unsigned int(32) value;
                                                                                          unsigned int(32)       value;
                                                                      10

     The following Table 39 shows syntax representation of
   ReqQoSParaBox in the MP4 pseudo-code format.
                                                                             The following Table 43 shows syntax representation of
                              TABLE 39                                15   RandAccessBox in the MP4 pseudo-code format.
                             ReqQoSParaBox
                                                                                                          TABLE 43
          Box Type: reqp
          Container:mapi                                                                              RandAccessBox
          Mandatory: No
          Quantity: Zero or more
            Aligned.(8) class ReqQoSParaBox extends Box(reqp) {                 Box Type: "rdac
              bit(1) all flag:                                                  Container: loca
              bit(7) reserved:                                                  Mandatory: No
              unsigned int(32) refindex;
              if (all flag == 0) {                                              Quantity: Zero or more
                 for (i-1; ; i++) {                                   25          Aligned.(8) class RandAccessBox extends Box(rdac) {
                   unsigned int(8) req flag:
                                                                                     for (i-1; ; i++) {
                                                                                       unsigned int(16)        value;

                                                                      30
     The following Table 40 shows syntax representation of
   ReqQoSParaBox in the MP4 pseudo-code format.
                                                                             The following Table 44 shows syntax representation of
                              TABLE 40                                     StrLocationBox in the MP4 pseudo-code format.
                             ReqQoSParaBox                            35                                  TABLE 44
          Box Type: 'loci                                                                             StrLocationBox
          Container: 'mapi
          Mandatory: No                                                           Box Type: 'stlo
          Quantity: Zero or more                                                  Container: loca
            Aligned.(8) class LocationListBox extends Box(loci) {     40          Mandatory:Yes
                                                                                  Quantity: One or more
                                                                                    Aligned.(8) class StrLocationBox extends Box(stlo) {
                                                                                       bit(1)     stream url flag:
     The following Table 41 shows syntax representation of                             bit (7)    reserved:
   LocationBox in the MP4 pseudo-code format.                                          if (stream url flag == 1) {
                                                                      45                  string stream url:
                              TABLE 41                                                   else {
                                                                                          for (i-1;      ; i++) {
                                                                                             string   fragment url:
                               LocationBox

          Box Type: loca
          Container: loc                                              50
          Mandatory:Yes
          Quantity: One or more
            Aligned.(8) class LocationBox extends Box(loca) {                The following Table 45 shows syntax representation of
              unsigned int(16) frag num;                                   MP2TSParaBox in the MP4 pseudo-code format.
              unsigned int(16) locID;
                                                                      55
                                                                                                          TABLE 45
     The following Table 42 shows syntax representation of                                            MP2TSParaBox
   FragTimeBox in the MP4 pseudo-code format.                                   Box Type: “mp2p
                                                                                Container: loca
                              TABLE 42                                60        Mandatory: No
                                                                                Quantity: Zero or more
                              FragTimeBox                                         Aligned.(8) class MP2TSParaBox extends Box(mp2p) {
                                                                                     for (i-1; ; i++) {
          Box Type: 'frtm                                                              unsigned int(16)
          Container: loca
          Mandatory: No                                               65
          Quantity: Zero or more
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                             35                                                                         36
     The following Table 46 shows syntax representation of                       The following Table 49 shows syntax representation of
   FragBoundariesBox in the MP4 pseudo-code format.                            ISOFileBoundaryBox in the MP4 pseudo-code format.
                                 TABLE 46                                                                      TABLE 49
                                                                           5
                                                                                                           ByteRangesBox
                               FragBoundariesBox
                                                                                     Box Type: isfb
                                                                                     Container: frbd.
        Box Type: 'frbd.                                                             Mandatory: No
        Container: loca
                                                                                     Quantity: Zero or more
        Mandatory: No                                                    10            Aligned.(8) class ByteRangesBox extends Box (brag) {
        Quantity: Zero or more                                                            for (i-1; ; i++) {
          Aligned.(8) class FragBoundariesBox extends Box(frbd) {                           unsigned int(32)     start:
                                                                                            unsigned int(32)     end;

                                                                         15
     The following Table 47 shows syntax representation of                        FIG. 4 is a diagram illustrating detecting of virtual bound
   MP2TSBoundaryBox in the MP4 pseudo-code format.                             aries in an MPEG-2 TS according to an embodiment of the
                                                                               present invention.
                                 TABLE 47                                         In a TS, PCR packets of a given program may be carried
                             MP2TSBoundaryBox
                                                                         2O    with fixed PIDs (namely, PCR PID), and may be inserted at
                                                                               least every 100 ms.
      Box Type: “mp2b                                                             The PCT packets (with increasing values) may be consid
      Container: frbd.                                                         ered as anchor points of the program. On the other hand, each
      Mandatory: No                                                            media of a program may be carried by packets of a given PID
      Quantity: Zero or more                                             25    (namely, Media PID).
        Aligned.(8) class MP2TSBoundaryBox extends Box(mp2b) {                    Accordingly, a fragment boundary of a media stream may
          unsigned int(16)       appearance:
          unsigned int(16)       PCR ID:                                       be defined or identified by 1) a specific anchor point and 2) an
          unsigned int(40)       PCR base:                                     offset from the anchor to the packet at the boundary.
          unsigned int(16)       PCR ext:                                         The offset may be counted by the packets of the same
          for (i-1;      ; i++) {                                              Media PID.
             unsigned int(16)       media PID:                           30       PCR values may be occasionally reset (discontinuity). For
          for (i=1:      ; i++) {
                                                                               example, when one or more PCR packets have the same PCR
             unsigned int(16)       media offset;                              value in an interval, an appearance order of PCR packets used
                                                                               as anchors may be indicated.
                                                                                  Accordingly, a fragment boundary of a media stream in a
                                                                         35    MPEG-2TS may be identified by the following parameters in
                                                                               Table 50.



                                                                                                      TABLE 50
                                                                PCR PID           Describes a PID carrying a PCR of a concerned content program.
                                                                PCR base          Describes a value of a PCR base field
                                                                PCR ext           Describes a value of a PCR extension field
                                                                Appearance        Describes the appearance order (e.g., 1", and 2") of the TS packet
                                                                                  including the PCR value identified by the above two elements.
                                                                                  If there is resetting/discontinuity of PCR, a PCR value may appear
                                                                                  more than once during an interval.
                                                                Media PID         Describes a PID of a media (e.g., video) of a program.
                                                                Media Offset      Describes an offset (in TS packets of the same Media PID) from the
                                                                                  above identified PCR packet to the first media packet of a fragment.


     The following Table 48 shows syntax representation of                       Hereinafter, Mapping and Extension of Several Syntax
   ISOFile:BoundaryBox in the MP4 pseudo-code format.                          Elements in 3GPPAdaptive HTTP Streaming Schema will be
                                                                               Described.
                                 TABLE 48                                55

                             ISOFile:BoundaryBox                                 The 3GPP has enabled standardization of a standard for
                                                                               adaptive HTTP streaming. Mapping of several syntax ele
      Box Type: isfb
      Container: frbd.                                                   60    ments described above into the schema of 3GPP adaptive
      Mandatory: No                                                            HTTP streaming is shown.
      Quantity: Zero or more                                                      Several other different syntax may be used to represent
        Aligned.(8) class ISOFile:BoundaryBox extends Box(isfb) {              ideas in the following embodiment.
          unsigned int(16)       Sequence no;
                                                                         65       In the above schema, the term “period’ may be equal to the
                                                                               term “interval discussed above. Semantics of added ele
                                                                               ments/attributes are provided in Table 51.
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                                      37                                                           38
                                         TABLE 51
   PeriodsRef           Equivalent to IntervalsRefelement in the syntax. Child
                        elements (Location, startTime, and availableTime) are already
                        defined in the table.
                        To make i consistent with change of Period's start? duration
                        attributes, the same duration attribute of Period may be used in
                        PeriodsRef.
   NextPeriodRef        Equivalent to PreviousIntervalsRef in the syntax.
   PreviousPeriodsRef   Equivalent to PreviousIntervalsRef in the syntax.
   lastPeriodFlag       Equivalent to Last element in the syntax.
   Quality              Equivalen to Utility element of AdaptationInfo (or QoSInfo) in
                         he syntax.
                        Quality element has the following two attributes:
                         ) name: escribes a quality type (e.g., MOS, and PSNR). The
                        name attribute has the type of QualityNameType. Semantics of
                        quality names listed in QualityNameType are defined by
                        classification scheme AdaptationQoSCS of MPEG-21 DIA.
                        2) value: escribes a quality value.
   requestPara          Equivalen to ReqQoSPara element in the syntax. The
                        requestPara attribute is a text string with the format defined as
                        ollows.
                         f the string does not start with “2, the string may be formed of a
                        sequence of values separated by spaces.
                        Each value indicates the order of an attribute of Representation
                         hat is used as a parameter in a query.
                        A name and value of a query parameter are a name and value of
                        a corresponding attribute.
                        For example, if the string is “23” and the second and third
                        attributes of the Representation are ... with="320 height="240
                        ...), the query part may be “with=320&height=240.
                         f the string starts with 2, an exact query string for a request of
                         he given Representation may be provided, for example,
                        “bandwidth=1000&with=320&height=240.
                        URL encoding (as defined in RFC 2616) may be applied here to
                        Support special characters. Several special characters that will
                        be defined below may be also used in the text string.
   randAccess           Equivalent to RandAccess element in the syntax.
                        The randAccess attribute is a text string that is formed of a
                        sequence of values separated by spaces.
                        Each value indicates the order of a segment of the
                        Representation.
                        Segments identified by the randAccess attribute may support
                        random access.



      Furthermore, the semantics of the range attribute of Url           The attribute or element may be a string formed of multiple
   Type may be extended to Support multiple byte ranges, for 40 (base) URLs. The string may be separated by several special
   example, “0-500,1000-1500.” Such a modification may characters, for example '' (namely, a semicolon and a
   enable the range attribute to be equivalent to ByteRanges space).
   element of the above syntax.                                          For example, when a semicolon or space appears within a
      Additionally, a sourceURL attribute may be changed from URL, the semicolon or space may be encoded by the rules of
   required to optional. This is because baseURL already pro- 45 RFC 2616.
   vides a complete URL. The sourceURL may be unnecessary.               The morebaselJRLs attribute (or BaselJRLs element) of a
      The use of multiple byte ranges may provide flexibility in lower description level may override the same attribute (or
   downloading “virtual segments. For example, a segment of a element) of the higher description level.
   low frame rate (that is able to be used in a trickmode) may be        For clarity, the morebaselJRLs attribute and BaselJRLs
   extracted on-the-fly from a stream or an original segment. 50 element may be restricted to be mutually exclusive. In other
      In addition, to Support using multiple URLs for a Repre words, only a single type may exist in a whole description.
   sentation, the following modifications may be applied to the          Another way may be to use a MoreBaselJRL element of
   schema of 3GPP Adaptive HTTP Streaming.                             any URI type with multiple instances, where each instance
      Hereinafter, Multiple Locations for the Same Resource/ provides           a base URL.
   Content will be Described.                                       55
      Each level of description (a top-level, a Period level, and a      The  different ways may be merely examples of ideas for
   Representation level) may provide only a single base URL for providing multiple base URLs. The ideas may be imple
   building absolute URLs from the description.                        mented in many other ways or even other languages.
      Multiple base URLs may be provided at each description             Hereinafter, Multiple Locations for Resource/content
   level. Multiple base URLs may signal availability of 60 Components will be Described.
   resources at multiple locations.                                      Resource/content may be divided into one or more com
      Depending on an actual location of a client, the client may ponents/streams. Each of the one or more components/
   select one or more base URLs in a process of retrieving streams may be delivered from a location. The delivering may
     SOUCS.                                                            be supported by allowing multiple instances of an UrlTem
      Such a modification may be implemented by different 65 plate element or a Url element set in SegmentInfoType. A
   ways. One way may be to use an additional attribute called modification “KXs:choice maxOccurs='''unbounded'>'' in
   “morebaseURLs, or an element called “BaselJRLs.”                    SegmentInfoType may be used for the above purpose.
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                                 39                                                                40
      The appearance order of a UrlTemplate instance or a Url set           Moreover, multiple instances of InitialisationSegmen
   instance may indicate importance of “location/stream. A              tURL may be allowed. An n' instance of InitialisationSeg
   more important location may appear before a less important           ment URL may correspond to ann" instance of a location (by
   location. For example, a video Representation may include            either the UrlTemplate element or the Url element set).
   two streams (for example, a spatial base layer, and a spatial           For example, when only a single instance of Initialisation
   enhancement layer). Each of the two streams may be deliv             SegmentURL exists, the instance may be used for all loca
   ered from a location described by UrlTemplate. Subse                 tions.
   quently, the first instance of UrlTemplate may be a location           The following Tables 52 through 55 show the schema of
   for the spatial base layer.                                          3GPP AdaptiveHTTPStreaming.
                                                                                                TABLE 52
                                                         <?xml version=“1.0 encoding=UTF-82>
                                                         <XS:Schema
                                                         targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009
                                                           attributeFormDefault="unqualified
                                                           elementFormDefault="qualified
                                                           Xmlins:Xs="http://www.w3.org/2001/XMLSchema
                                                           xmlins="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>
                                                           <XS:annotation>
                                                             <XS:appinfo->Media Presentation Description<xs:appinfo->
                                                             <xs:documentation Xml:lang="en'>
                                                               This Schema defines 3GPP Media Presentation Description
                                                             </XS:documentation>
                                                           </XS:annotation>   <!-- MPD: main element -->
                                                            <xs:element name="MPD type=“MPDtype/>
                                                         <!-- MPD Type -->
                                                         <xs:complexType name="MPDtype'>
                                                           <XS:Sequences
                                                             <xs:element           minOccurs='0'            name="Program Information'
                                                         type="Program InformationType's
                                                             <xs:choice maxOccurs="unbounded
                                                                <xs:element name="Period type="PeriodType"/>
                                                                <xs:element name="PeriodsReftype=“PeriodsRefType"/>
                                                             <xs:choice>
                                                             <xs:element minOccurs="O' name="BaselJrls' type="Xs:string
                                                             <xs:element minOccurs="O' maxOccurs="unbounded name="MoreBaselJr.
                                                         type=''xs:any URI/>
                                                                           namespace="##other        processContents="lax'   minOccurs="O
                                                         maxOccurs="unbounded       -
                                                           </XS:Sequences
                                                                    bute default="OnDemand name="type' type="PresentationType' >
                                                                    bute name="availabilityStartTime' type="XS:dateTime's
                                                                    bute name="availabilityEndTime' type=''xs:dateTime's
                                                                    bute name="mediaPresentationDuration' type="Xs:duration's
                                                                    bute name="minimumUpdatePeriodMPD type="XS:duration's
                                                                    bute name="minBufferTime' type="XS:duration' use="required's
                                                                    bute name="timeShiftBufferDepth' type=“xs:duration/>
                                                                    bute name="baseUrl type=''xs:any URI/>
                                                                    bute name="morebaseUrls' type="xs:string
                                                           <XS:any Attribute namespace="#other processContents="lax's
                                                                    exType
                                                         <xs:complexType name="PeriodsRefType'>
                                                           <XS:Sequences
                                                                    ement name="Location' type="XS:anyURI/>
                                                                    uence
                                                                  bute name="startTime' type="Xs:duration's
                                                                  bute name="duration' type=''xs:duration's
                                                                  bute name="availableTime type="XS:duration's
                                                         </xs:complexType


                                                                                                TABLE 53
                                                         <!--Type of presentation - live or on-demand -->
                                                         <XS:simpleType name="PresentationType's
                                                           <XS:restriction base=''xs:string
                                                             <xs:enumeration value="OnDemand        -
                                                             <xs:enumeration value=''Live' -
                                                           <xs:restriction>
                                                         </XS:simpleType
                                                         <!-- Period of a presentation -->
                                                         <xs:complexType name="PeriodType'>
                                                           <XS:Sequences
                                                             <xs:element                minOccurs='0'            name="SegmentInfoDefault
                                                         type="SegmentInfoDefaultType' >
                                                             <xs:element           maxOccurs="unbounded              name="Representation
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                              45                                                                        46
     Hereinafter, Several Other Options of a PeriodsRef Ele              PeriodsRef.
   ment will be Described.

                                                                           Based on the above description, two additional options for
     XInclude may be a World Wide Web Consortium (W3C)                   referencing periods may be proposed: 1) enhanced Period
   technology that provides an inclusion mechanism used to               sRef, and 2) XInclude-extending PeriodsRef.
   merge XML documents.
                                                                    10
                                                                           Enhanced PeriodsRef: enables enhancement of existing
      The above PeriodsRef and XInclude may be similar in                PeriodsRef by the fallback element and Xpointer attribute of
   using any URI type (with the Location element and href                XInclude. This option may have an advantage of simplicity in
   attribute) to refer to a resource/description. However, there         syntax and processing. The syntax of modified PeriodsRef
                                                                    15
   are major differences between the above two approaches.               may be provided in Table 57 below.

      XInclude may be used to merge XML documents. In other                 XInclude-extending PeriodsRef: enables building of Peri
   words, the merged documents may need to be obtained before            odsRef by simply extending XInclude with startTime and
   being optionally further processed. Conversely, PeriodsRef            availableTime attributes. This option may have an advantage
   may be used to refer to past or future periods. The past or           of the use of the standard XInclude. To avoid always merging
   future periods may not always need to be merged. The inten            documents initially, the semantics of PeriodsRef may need to
   tion of PeriodsRef may be to allow a user to retrieve appro      25   mandate that "clients are allowed to decide whether merging
   priate period information only when the user wants.                   needs to be completed.” The syntax of PeriodsRef may be
                                                                         provided in Table 58 below.
      In association with specific attributes/elements, startTime   30
   and availableTime of PeriodsRefmay be unique for retrieval              In the above syntax, an ids attribute may be added to
   of period information. Among the attributes/elements of XIn           indicate ids of referenced Periods used in the current media
   clude, “fallback” and “xpointer” may be used to improve               presentation. Additionally, to have consistency with a href
   functionality of PeriodsRef, while “parse”, “encoding,                attribute of XInclude, the Location element may be changed
   “accept, and “accept-language' may be unnecessary for                 to an optional location attribute.
                                                                                              TABLE 57

                                                       <xs:complexType name="PeriodsRefType'>
                                                         <xs:choice minOccurs="O' maxOccurs="unbounded
                                                           <xs:element      minOccurs='0'      maxOccurs="unbounded      name="fallback
                                                       type="fallbackType"/>
                                                                         namespace="##other     processContents="lax'    minOccurs='0'
                                                       maxOccurs="unbounded      -


                                                         <xs: attribute name="ids' type="xs:strings
                                                         <xs: attribute name="location' type="Xs:any URI/>
                                                         <xs: attribute name="xpointer type="xs:strings
                                                         <xs: attribute name="startTime' type="Xs:duration's
                                                         <xs: attribute name="availableTime' type="XS:duration's
                                                         <XS: any Attribute namespace="#other processContents="lax's
                                                       <xs:complexType
                                                       <xs:complexType name="fallbackType'>
                                                         <xs:choice minOccurs="O' maxOccurs="unbounded
                                                           <xs:element name="PeriodsRef type=“PeriodsRefType"/>
                                                           <XS:any namespace="##other processContents="lax's

                                                         <XS: any Attribute namespace="#other processContents="lax” f>
                                                       <xs:complexType
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                                      47                                                                        48
                                  TABLE 58                                         MPD, start times of remaining periods after periods are
   <XS:Schema
                                                                                   removed in space time may be modified.
                                                                                     In the embodiment, for flexibility of period management,
     Xmlins:Xi="http://www.w3.org/2001/XInclude                                    the following modifications may be proposed:
                                                                                5 1) Add a new attribute called “duration” to a Period
   <xs:complexType name="PeriodsRefType'>                                            2) Change a current start attribute of a Period to optional
     <xs:complexContent>                                                             3) Add a new element called PeriodTimeline to the MPD
       <xs:extension base=''xi:includeType'>                                       type
         <XS:attribute name="ids' type="Xs:string                                    The PeriodTimeline element may provide information
         <XS:attribute name="startTime' type="Xs:duration's
            <XS:attribute name="availableTime' type="XS:duration's              10 about presentation of periods based on a timeline. Semantics
         <XS:any Attribute namespace="#other processContents="lax's                  and syntax of the PeriodTimeline element may be provided in
       <xs:extension-                                                                Tables 60 through 62 below.
     </xs:complexContent>                                                              Using PeriodTimeline, description of a Period may be
   </xs:complexType-                                                                 independent of a presentation time. Accordingly, a Period
                                                                                     may be reused (fully or partially) in the same media presen
     The semantics of the above elements/attributes may be                           tation or in another media presentation. To modify the pre
   provided as shown in Table 59.                                                    sentation time, only the Period Timeline needs to be changed.


                                                   TABLE 59
                         Type
   Element or          (Attribute
   Attribute Name     or Element) Cardinality     Optionality Description
   MPD                     E              1           M        Describes a root element that carries a Media
                                                              Presentation Description (MPD) for a Media
                                                               Presentation.

   Period                  E          1               O        Provides information of Period.
   PeriodsRef              E                  N       O        Provides reference to description containing one
                                                              or more instances of Period element. One or
                                                              more instances of Period element represent a
                                                              sequence of consecutive Period(s). The
                                                              information of Period may be either included as
                                                              an instance of Period element or referenced by
                                                               PeriodsRefelement.
   ids                     A.                         O.      Provides id(s) of referenced Period(s). When
                                                              multiple consecutive Periods are referenced, the
                                                              id's conveyed by this string are separated by
                                                              semicolon.
   locatoin                A.                         O.      Provides reference to description of Period(s).
   Xpointer                A.                         O.      Provides an XPointer to identify a portion of the
                                                              referenced description. Ifxpointer attribute is
                                                              absent, location attribute needs to be present.
   startTime               A.         O... 1          O.       indicates the start time of the referenced
                                                              sequence of Periods, relative to the start time of
                                                              content. StartTime element may help a client to
                                                              determine whether referenced information needs
                                                               o be retrieved.
   availableTime           A.         O... 1          O.       (ndicates the time the description of referenced
                                                               Period(s) is available. The time is the relative
                                                               ime from the start time of content. If
                                                              availableTime attribute is absent, the description
                                                              is already available.



         Hereinafter, Period Timeline will be Described.                                In addition, the PartialPlay element may allow (re)play of
                                                                                     one or more parts of a Period. For example, after an adver
      Each period may have a start attribute indicating a start                      tisement Period is presented, a part of the advertisement
   time of a period. However, the above approach may not be                     60   Period (denoted by beginning and ending) may be occasion
   flexible in modifying a timeline of periods.                                      ally repeated during the whole session.
      For example, to insert an advertisement period into an                            The PeriodTimeline element may impose an explicit time
   MPD for VOD, start times of all periods after the inserted                        line of Periods. Without the PeriodTimeline element, the
   period need to be modified. Furthermore, when the same                            implicit timeline of Periods may be inferred from the ordered
   advertisement period is played repeatedly (for example, every                65   sequence of Periods. To support the replay of a Period in the
   1 hour), the period may be continuously inserted. In the same                     case of implicit timeline, the PartialPlay element may also be
   manner, when one or more periods are removed from an                              provided as a child element of the Period element.
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                                                                      US 9,325,558 B2
                                          49                                                                                 50
                                                         TABLE 60
                            Type
   Element or            (Attribute
   Attribute Name        or Element)    Cardinality    Optionality Description
   MPD                       E               1             M        Describes a root element that carries a Media
                                                                    Presentation Description (MPD) for a Media
                                                                    Presentation.

   PeriodTimeline            E            O... 1                    Provides the presentation timeline of Periods of the
                                                                   Media Presentation.
   PeriodsTime               E            1...N                     Provides time information for presenting Period.
   id                        A.                            8.       indicates an id of Period of the Media Presentation.
                                                                   This value is equal to the value of the id attribute
                                                                   of Period, if the id attribute of Period is present.
                                                                    fino id attributes are present, this value is equal to
                                                                    he appearance order of Period in the MPD.
   Start                     A.                                     Provides accurate start time of Period relative to
                                                                    he value of the attribute availabilityStart time of
                                                                    he Media Presentation.
                                                                   The start attribute overrides start attribute of
                                                                   corresponding Period (i.e., an instance of Period
                                                                   element). The start attribute may be present for
                                                                    he first Period of the timeline. For other Periods,
                                                                   if information about presentation duration of
                                                                   previous Periods is available, this value may be
                                                                   deduced and the attribute may be absent.
   PartialPlay               E            ON                       Provides information for presenting a (temporal)
                                                                    part of Period.
   beginning                 A.                                     indicates a beginning point of a part of Period.
                                                                   This time value is relative to the beginning of the
                                                                    Period.
   ending                    A.                                     indicates an ending point of a part of Period.
                                                                   This time value is relative to the beginning of the
                                                                    Period.
   Period                    E            1...N                     Provides information of Period.
   Start                     A.
   id                        A.                                     indicates an ID of Period. When the Period is a
                                                                   (partial) repeat of another Period, the value of id
                                                                   attribute is equal to an ID or an appearance order
                                                                   of a referred Period.
   duration                  A.                                     indicates duration of Period. If start attribute is
                                                                   absent, duration attribute may be present. Also,
                                                                    or the last Period of a Media Presentation, if
                                                                   availabilityEndTime and SegmentTimeline are not
                                                                   available, the duration attribute of the Period may
                                                                    be present.
   PartialPlay               E            ON                        Provides information for presenting a (temporal)
                                                                    part of Period.
   beginning                 A.                                     indicates a beginning point of a part of Period.
                                                                   This time value is relative to the beginning of the
                                                                    Period.
   ending                    A.                                     indicates an ending point of a part of Period.
                                                                   This time value is relative to the beginning of the
                                                                    Period.
   Representation            E            ON                        Representation element contains description of
                                                                    Representation.


                                            TABLE 61
   <?xml version=“1.0 encoding=UTF-8">
   <XS:Schema
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009
     attributeFormDefault="unqualified
     elementFormDefault="qualified
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>
   <!-- MPD Type -->
   <xs:complexType name="MPDtype'>
        <XS:sequences
           <xs:element             minOccurs='0'                name="Program Information
   type="Program InformationType's
           <xs:element                 minOccurs='0'                name="PeriodTimeline'
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                                  53                                                                  54
      As no a repeated Period needs to contain representation main content). Such as a provider's logo or advertisement
   description again, the minimum number of Representation banners. The Supplementary information may be independent
   instances may also be changed to 0.                                  of the timeline of the Period.
      Rather than using theid attribute directly, a special attribute      Each supplementary item may be provided for the highest
                                                                      5 resolution
   indicating an id value of a previous Period to be repeated may scaled to severalof content. For example, when content is down
   be used.                                                                               Small terminals, a Supplementary item and
                                                                        location parameters (XOffset, and yOffset) of the supplemen
      Hereinafter, Supplementary Info will be Described.                tary item may also be downscaled proportionally.
      To provide a professional service, a provider may need               Semantics and syntax of Supplementary Info may be pro
   clients to present Supplementary information (together with vided in Tables 63 through 65.
                                                                                     TABLE 63
                                                          Type
                                   Element or           (Attribute
                                   Attribute Name      or Element)     Cardinality   Optionality Description
                                   MPD                     E                1              M      Describes a root element that carries a Media
                                                                                                  Presentation Description (MPD) for a Media
                                                                                                  Presentation.

                                   SupplementaryInfo       E                                      Provides Supplementary information and
                                                                                                  presentation of the Supplementary information for
                                                                                                   he Media Presentation.
                                   SupplementaryItem       E                                      Provides a Supplementary item and presentation
                                                                                                  of the Supplementary item for the Media
                                                                                                  Presentation.
                                   itemURL                 A.                                     Provides a URL of the supplementary item.
                                   mime                    A.                                     Provides MIME type of the item.
                                   Presentation            E                                      Provides information for presenting the item. If
                                                                                                  both On and Off elements are absent, the item is
                                                                                                  always presented. The On and Off elements
                                                                                                  may appear alternatively.
                                   On                      E            ON                 O.      indicates time duration where the Supplementary
                                                                                                  item is presented.
                                   Off                     E             ON                O.      indicates time duration where the Supplementary
                                                                                                  item is not presented.
                                   xOffset                 A.                              O       indicates a horizontal location of the item on a
                                                                                                  Screen of a client. The horizontal location is
                                                                                                  counted in pixels, and is relative to the top left
                                                                                                  COile.
                                   yOffset                 A.                              O       indicates a vertical location of the item on a
                                                                                                  Screen of a client. The vertical location is
                                                                                                  counted in pixels, and is relative to he top left
                                                                                                  COile.
                                   transparency            A.                              O       indicates the transparency degree (%) of the
                                                                                                  Supplementary item.


                                                                                                 TABLE 64
                                                          <?xml version=“1.0 encoding=UTF-82>
                                                          <XS:Schema
                                                          targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009
                                                            attributeFormDefault="unqualified
                                                            elementFormDefault="qualified
                                                            Xmlins:Xs="http://www.w3.org/2001/XMLSchema
                                                            xmlins="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>
                                                          <!-- MPD Type -->
                                                          <xs:complexType name="MPDtype'>
                                                            <XS:Sequences
                                                                <xs:element               minOccurs='0'              name="Program Information
                                                          type="Program InformationType's
                                                                <xs:element               minOccurs='0'                 name="SupplementaryInfo'
                                                          type="SupplementaryInfoType's
                                                              <xs:element maxOccurs="unbounded name="Period type="PeriodType's
                                                                          namespace="##other   processContents="lax'  minOccurs="O
                                                          maxOccurs="unbounded        -
                                                          </XS:Sequences
                                                            <XS:attribute default="OnDemand name="type' type="PresentationType's
                                                            <XS:attribute name="availabilityStartTime' type="XS:dateTime's
                                                            <XS:attribute name="availabilityEndTime' type=''xs:dateTime's
                                                            <XS:attribute name="mediaPresentationDuration' type="Xs:duration's
                                                            <XS:attribute name="minimumUpdatePeriodMPD type="XS:duration's
                                                            <XS:attribute name="minBufferTime' type="XS:duration' use="required's
                                                            <XS:attribute name="timeShiftBufferDepth' type="Xs:duration's
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                                      55                                                                          56
                                   TABLE 64-continued
     <xs: attribute name="baseUrl type="XS:anyURI/>
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <!--Type of presentation - live or on-demand -->
   <XS:simpleType name="PresentationType'>
     <XS:restriction base=''xs:string
       <xs:enumeration value="OnDemand       -
       <xs:enumeration value="Live' -
     <xs:restriction>
   </XS:simpleType
   <!-- Supplementary Info -->
   <xs:complexType name="SupplementaryInfoType'>
     <XS:sequences
       <xs:element        maxOccurs="unbounded           name="SupplementaryItem'
   type="SupplementaryItemType's
       <XS:any       namespace="##other      processContents="lax'        minOccurs="O
   maxOccurs="unbounded      -
     </XS:Sequences
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType


                                           TABLE 65
   <xs:complexType name="SupplementaryItemType'>
     <XS:sequences
       <xs:element minOccurs="O' name="Presentation' type="PresentationType' >
       <XS:any     namespace="##other      processContents="lax'    minOccurs="O
   maxOccurs="unbounded      -
     </XS:Sequences
     <xs: attribute name="itemURL type="xs:anyURL>
     <xs: attribute name="mime type="Xs:string
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <xs:complexType name="PresentationType'>
     sXS:Sequences
       <xs:choice minOccurs="O' maxOccurs="unbounded
         <xs:element name="On type="XS:duration's
         <xs:element name="Off type="xs:duration's
         <XS:any     namespace="##other     processContents="lax     s
                                                                             minOccurs='0'
   maxOccurs="unbounded      -
       <xs:choice>
     <XS:sequences
      <xs: attribute name="xOffset type="Xs:unsigned Int' -
      <xs: attribute name="yOffset type="Xs:unsigned Int' -
      <xs: attribute name="transparency type="XS:unsignedInt>
      <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <!-- Period of a presentation -->
   <xs:complexType name="PeriodType'>
     <XS:sequences
       <xs:element               minOccurs='0'           name="SegmentInfoDefault
   type="SegmentInfoDefaultType
       <xs:element          maxOccurs="unbounded                         name="Representation
   type="RepresentationType's
       <XS:any       namespace="##other      processContents="lax'        minOccurs="O
   maxOccurs="unbounded      -
     </XS:Sequences
     <xs: attribute name="start type="XS:duration's
     <xs: attribute name="duration' type="Xs:duration/>
     <xs: attribute name="id' type="Xs:string
     <xs: attribute default="false name="segment AlignmentFlag type="XS:boolean's
     <xs: attribute default="false name="bitStreamSwitchingFlag type="XS:boolean's
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType




                                                                                60
      Hereinafter, Definitions of a Buffering Amount will be                           For example, when two options (namely, the time unit, and
   Described.                                                                        the data size unit) are provided at the same time, a provider
                                                                                     may specify a priority for each of the two options. The client
      A minimum amount of initially buffered media of a client                       may select an option from the two options.
   may be defined in time unit. In several cases, it is difficult for                  The above idea may be implemented by adding another
   a client to make sure a temporal duration of buffered media is               65   optional attribute called minBufferSize to the MPD, as shown
   enough. Another option may be provided to enable the ini                          in Tables 66 and 67 below. At least one of the two attributes
   tially buffered media to be specified in data size unit.                          (minBufferTime, and minBufferSize) may need to be present.
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                                         57                                                        58
      Table 66 shows semantics of minBufferSize.
                                                 TABLE 66

   Element or
   Attribute Name        Use       Description

   MPD                             Describes a root element that carries a Media Presentation
                                   Description (MPD) for a Media Presentation.

   minBufferTime       Optional Provides the minimum amoun of initially buffered media that is
                                needed to ensure Smooth playout provided that each
                                Representation is delivered at or above a bandwidth value of the
                                Representation. The bandwidth value of the Representation
                                corresponds to this amount of buffered media. The value of this
                                attribute is represented in time duration.
   minBufferSize       Optional Provides the minimum amoun of initially buffered media that is
                                needed to ensure Smooth playout provided that each
                                Representation is delivered at or above a bandwidth value of the
                                Representation. The bandwidth value of the Representation
                                corresponds to this amount of buffered media. The value of this
                                attribute is represented in datasize (kilobyte).



                                             TABLE 67

   <?xml version=“1.0 encoding=UTF-8">
   <XS:Schema
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009
     attributeFormDefault="unqualified
     elementFormDefault="qualified
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>

     <xs:complexType name="MPDtype'>
       <XS:Sequences
         <xs:element name="Program Information' type= Program InformationType
   minOccurs="O'>
         <xs:element name="Period type="PeriodType' maxOccurs="unbounded
         <xs:element   name=BaselJRL                 type=“BaselJRLType          minOccurs='0'
   maxOccurs="unbounded -
         <!-- NEW: Alternate base URL specifications -->
                     namespace="##other       processContents="lax'              minOccurs='0'
   maxOccurs="unbounded        -

       <XS:attribute name="type' type="PresentationType' default="OnDemand
       <XS:attribute name="availabilityStartTime' type="XS:dateTime's
       <XS:attribute name="availabilityEndTime' type=''xs:dateTime's
       <XS:attribute name="mediaPresentationDuration' type="Xs:duration's
       <XS:attribute name="minimumUpdatePeriodMPD type="Xs:duration's
       <XS:attribute name="minBufferTime' type="XS:duration use="optional/>
       <XS:attribute name="minBufferSize' type="xs:unsigned Int' use="optional/>
       <XS:attribute name="timeShiftBufferDepth' type="Xs:duration's
       <XS:attribute name="baseURL type=''xs:any URI/>
       <XS:any Attribute namespace="##other processContents="lax's
     </xs:complexType
Case 1:19-cv-01978-CFC-SRF Document 108-1 Filed 04/23/21 Page 327 of 544 PageID #:
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                                59                                                                     60
     Hereinafter, Bandwidth Information for Different                          Accordingly, a schema of MPEG DASH may be changed
   Amounts of Initially Buffered Media will be Described.                 as follows:
      Bandwidth information of each representation may be pro               1) More values may be added to the MPD for minimum
   vided for a given minimum amount of initially buffered            5    amounts of initially buffered media. As described above, the
   media. However, different clients may have different pre-Set           amount of buffering may be either in the time unit or data size
   amounts of initially buffered media, and accordingly differ-             it
   ent bandwidth information may be required for different cli
   entS.                                                                       2) For each representation, bandwidth values correspond
     Hereinafter, Different Bandwidth Values Corresponding to 10 ingto the minimum amounts of initially buffered media may
   Different Minimum Amounts of Initially Buffered Media will             be provided.
   be Described for Each Representation.                                    The above changes may be implemented by the MinBuffer
     An advantage of Such a solution may be that multiple                 element in MPDtype or the Bandwidth Info(a)repBandwidth
   MPDS corresponding to multiple minimum amounts of ini-                 element in RepresentationType.
   tially buffered media are not required.                                     Table 68 shows semantics of MinBuffer.
                                                                                                   TABLE 68
                                                    Element or
                                                    Attribute Name         Use      Description

                                                    MPD                      1      Describes a root element that carries a Media Presentation
                                                                                    Description (MPD) for a Media Presentation.
                                                    BaselJRL              0...N. Describes a URL that may be used on the MPD level, instead of
                                                                                 baselJRL attribute, or in addition to baseURL attribute.
                                                    MinBuffer             0...N Provides a minimum amount of initially buffered media that is
                                                                                 needed to ensure Smooth playout.
                                                    id                      M       Provides an ID of MinBuffer element. The value of this
                                                                                  attribute may be greater than 0.
                                                    minBufferTime        Optional Provides the minimum amount of initially buffered media that is
                                                                                  needed to ensure Smooth playout provided that each
                                                                                  Representation is delivered at or above a bandwidth value of the
                                                                                  Representation. The bandwidth value of the Representation
                                                                                  corresponds to this amount of buffered media. The value of this
                                                                                  attribute is represented in time duration.
                                                    minBufferSize        Optional Provides the minimum amount of initially buffered media that is
                                                                                  needed to ensure Smooth playout provided that each
                                                                                  Representation is delivered at or above a bandwidth value of the
                                                                                  Representation. The bandwidth value of the Representation
                                                                                  corresponds to this amount of buffered media. The value of this
                                                                                  attribute is represented in datasize (kilobyte).
                                                                                  At least one attribute among minBufferTime and minBufferSize
                                                                                  may be present in MinBuffer element.


                                                                               Table     69        shows   semantics        of     Bandwidth Info.
                                                                                                   TABLE 69

                                                    Element or
                                                    Attribute Name        Use     Description

                                                    Representation         M      Representation element contains description of Representation.

                                                    SegmentInfo            1 Provides Segment access information.
                                                    Bandwidth Info       0...N Provides bandwidth information corresponding to a specific
                                                                               amount of initially buffered media.
                                                    id                     M     Indicates an ID of MinBuffer element of the MPD. If the value
                                                                                 of this attribute is 0, the value corresponds to the minimum
                                                                                 amount of initially buffered media provided by minBufferTime or
                                                                                  minBufferSize of the MPD.
                                                    repBandwidth           O     Provides a bandwidth value for the representation corresponding
                                                                                 to the minimum amount of initially buffered media provided in
                                                                                 the associated MinBuffer element.
                                                                                 The repBandwidth attribute may be absent if the value of id
                                                                                 attribute is 0.
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                                 63                                                                        64
      Hereinafter, a Segment Bandwidth will be Described.                    several times higher than a bitrate of another segment. Band
      A bandwidth attribute may be provided for each represen-               width information of each segment may be additionally pro
   tation over the whole duration of a period. However, for                  vided, so that a client may more efficiently adapt to network
   quality consistence, the bitrate of encoded video may usually             variations.
   have busty characteristics. A bitrate of one segment may be                  Table 72 describes semantics of SegmentBandwidth.
                                                                                        TABLE 72
                                                                 Type
                                       Element or            (Attribute or
                                       Attribute Name          Element)    Cardinality     Optionality Description
                                       MPD                        E               1               M     Describes a root element that carries a
                                                                                                        Media Presentation Description (MPD) for
                                                                                                        a Media Presentation.

                                       Representation
                                       SegmentInfo
                                       SegmentBandwidth           E            O... 1             O.    Provides bandwidth information for
                                                                                                        segments of a representation.
                                       Range                      E            1...N              M.    Provides bandwidth information for a range
                                                                                                        of consecutive segments of a
                                                                                                        representation. The first range may start
                                                                                                        from the first segment of the representation.
                                       offset                                                           Indicates a difference between a
                                                                                                        representation bandwidth and a segment
                                                                                                        bandwidth. A negative (non-negative)
                                                                                                        value means the segment bandwidth
                                                                                                        Smaller (higher) than the representation
                                                                                                        bandwidth. A bandwidth of a segment is
                                                                                                        the sum of an offset value and a
                                                                                                        representation bandwidth.
                                       repeat                                                           Indicates the number of consecutive
                                                                                                        segments that have the same bandwidth.
                                                                        30

                                                                               Tables 73 and 74 show syntax of SegmentBandwidth.
                                                                                                   TABLE 73
                                                          <?xml version=1.0 encoding=UTF-82>
                                                          <XS:Schema
                                                          targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009
                                                            attributeFormDefault="unqualified
                                                            elementFormDefault="qualified
                                                            Xmlins:Xs="http://www.w3.org/2001/XMLSchema
                                                            xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>

                                                          <!-- Segment access information -->
                                                          <xs:complexType name="SegmentInfoType'>
                                                            <XS:sequence.>
                                                              <xs:element               minOccurs='0'             name="InitialisationSegmentURL
                                                          type=“UrlType"/>
                                                              <xs:choice minOccurs="O-
                                                                 <xs:element minOccurs="O' name="UrlTemplate' type="UrlTemplateType' >
                                                                 <XS:Sequences
                                                                   <xs:element maxOccurs="unbounded name="Url type="UrlType's
                                                                   <XS:any namespace="##other processContents="lax” minOccurs="O"
                                                                   maxOccurs="unbounded       -
                                                                 </XS:Sequences
                                                                 <XS:any namespace="##other processContents="lax” minOccurs="0"
                                                                  maxOccurs="unbounded        -
                                                              <xs:choice>
                                                              <xs:element               minOccurs='0'             name="SegmentBandwidths'
                                                          type="SegmentBandwidthsType's
                                                            </XS:Sequences
                                                            <xs: attribute name="baseURL type="Xs:any URI/>
                                                            <xs: attribute name="duration' type="xs:duration's
                                                            <xs: attribute default='1' name="startIndex” type="XS:unsignedInts
                                                            <XS: any Attribute namespace="#other processContents="lax's
                                                          <xs:complexType
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                                                                 US 9,325,558 B2
                                   65                                                                                 66
                              TABLE 74                                                                    TABLE 74-continued

      <!-- Segment Bandwidths -->                                                        <XS:any Attribute namespace="#other processContents="lax's
      <xs:complexType name="SegmentBandwidthsType'>                                    </xs:complexType

           <xs:element maxOccurs="unbounded name="Range'
           type="RangeType' >
          <XS:any    namespace="##other     processContents="lax”
                                                                               10      When a long segment causes large fluctuations of a band
      minOccurs="O' maxOccurs="unbounded       -
                                                                                    width within a duration of the segment, it is necessary to
        </XS:Sequences                                                              describe sub-segment bandwidths. The above description
      <XS:any Attribute namespace="#other processContents="lax's                    may be implemented by changing the repeat attribute to the
      </xs:complexType                                                              duration attribute (type="xs:duration'), to indicate an inter
                                                                               15
      <xs:complexType name="RangeType'>                                             val of Sub-segments instead of segments.
                                                                                       The above idea may be represented in a more general way
          <XS:any     namespace="##other           processContents="lax”            using the IntervalBandwidth element, as described below. An
      minOccurs="O' maxOccurs="unbounded       -                                    advantage of the way may be that an interval is unnecessarily
        </XS:Sequences                                                              aligned with segment boundaries. In the following syntax,
        <XS:attribute name="offset type="Xs:integer's                               multiple values of minimum initial buffering may be taken
        <XS:attribute name="repeat' type="XS:unsignedInt' -                         into account.
                                                                                      Table 75 shows syntax of IntervalBandwidth.
                                                                                                        TABLE 75

                                                                 Element or
                                                                 Attribute Name           Use Description

                                                                 Representation           M    Representation element contains description of
                                                                                               Representation.

                                                                 SegmentInfo               1   Provides Segment access information.
                                                                 BandwidthInfo          0...N Provides bandwidth information corresponding to a
                                                                                              specific amount of initially buffered media.
                                                                 id                       M    Indicates an ID of MinBuffer element of the MPD. If the
                                                                                               value of this attribute is 0, the value corresponds to the
                                                                                               minimum amount of initially buffered media provided by
                                                                                               minBufferTime or minBufferSize attributes of the MPD.
                                                                 repBandwidth             O    Provides a bandwidth value for the representation
                                                                                               corresponding to the minimum amount of initially
                                                                                               buffered media provided in MinBuffer element. The
                                                                                               repBandwidth attribute may be absent if the value of id
                                                                                               attribute is 0.
                                                                 IntervalBandwidth      ON Provides bandwidth information for an interval of the
                                                                                               representation. The bandwidth information corresponds
                                                                                                o the minimum amount of initially buffered media
                                                                                               identified by the id attribute. The first interval may start
                                                                                                rom the beginning of the representation.
                                                                 offset                   M     indicates a difference between a representation bandwidth
                                                                                               and a segment bandwidth. A negative (non-negative)
                                                                                               value means the segment bandwidth smaller (higher) than
                                                                                                he representation bandwidth. A bandwidth of a segment
                                                                                               is the Sum of an offset value and a representation
                                                                                                bandwidth.
                                                                 duration                 M     indicates duration of the interval.
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                               67                                                                                68
      Table 76 shows syntax of IntervalBandwidth.
                                          TABLE 76
   <?xml version=“1.0 encoding=UTF-8">
   <XS:schema targetNamespace="urn:MPEG:ns:DASH'
     attributeFormDefault="unqualified
     elementFormDefault="qualified
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema
     Xmlins:Xlink="http://www.w3.org/1999/xlink'
     Xmlins="urn:MPEG:ns:DASH'>

     <xs:complexType name="RepresentationType'>
       <xs:complexContent>
         <xs:extension base="Representation.BaseType
            <XS:sequences
               <xs:element name="SegmentInfo' type="SegmentInfoType' >
             <xs:element              minOccurs='0'               maxOccurs="unbounded
   name="Bandwidth Info' type="Bandwidth InfoType's
             <xs:element             name="TrickMode'                type="TrickModeType
   minOccurs="O'>
            <xs:sequences
            <XS:attribute name="id' type="Xs:string use="required's
            <XS:attribute name="bandwidth' type="XS:unsignedInt' use="required'?
            <XS:attribute name="qualityRanking type="xs:unsigned Int' -
            <XS:attribute name="depid' type="String VectorType's
            <XS:attribute name="default' type="xs:boolean's
          <xs:extension
        </xs:complexContent>
      </xs:complexType
   <!-- Bandwidth Info, taken from the above Section   -->
   <xs:complexType name="Bandwidth InfoType's
     <XS:sequences
       <xs:element               minOccurs='0'               maxOccurs="unbounded
   name="IntervalBandwidth' type="Interval BandwidthType's
       <XS:any namespace="##other            processContents="lax        minOccurs="O
   maxOccurs="unbounded      -
     </XS:Sequences
     <xs: attribute name="id' type="Xs:string
     <xs: attribute name="repBandwidth' type="Xs:unsigned Int' -
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <xs:complexType name="IntervalBandwidthType'>
     <XS:sequences
       <XS:any       namespace="##other       processContents="lax   s
                                                                         minOccurs="O
   maxOccurs="unbounded      -
     </XS:Sequences
     <xs: attribute name="offset type="Xs:integer's
     <xs: attribute name="duration' type="Xs:unsigned Int' -
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <xs:schema


                                                                              45
      Hereinafter, Extension to Support Virtual Segments will be                    inside. The URL with multiple byte ranges may be used to
   Described.                                                                       identify virtual segments. Additionally, different techniques
      Media may be prepared before delivery. In particular, an                      may be used to reduce an increased metadata size caused by
   original media file may be segmented, and several in-band                        using multiple byte ranges.
   metadata may be inserted into media data.                                  50
                                                                                       Semantics of UrlType of the MPD may be changed as
                                                                                    follows.
      Description may be given of “virtual segments' that                             range attribute: . . . . A format of this string may support
   describe different representations, so that a demand for media                   multiple byte ranges. (for example, “0-500, 1000-1500)
   manipulation may be minimized A virtual segment may be                             When decoding a representation obtained by byte ranges,
   defined as a set of data part(s) inside a stream (or a segment).                 several parts of media header boxes (for example, mooV or
      Goals of virtual segments may include the following goals               55    moof boxes) may include information that is different from
   1) and 2):                                                                       representation description. Here, the information may be
      1) Ease in creation and management of media files: obvi                       ignored.
   ously using virtual segments, the number of physical files                         To represent the byte ranges in a compact way, a new
   may be reduced. Additionally, original media files may                           element called MoreAddressinginfo may be added. Metadata
   remain unchanged, and may be augmented by out-of-band                      60
                                                                                    fragmentation may be applied to the MoreAddressinginfo
   signaling metadata.                                                              element, to reduce a size of an initial MPD.
      2) Flexibility in segment provisioning: different types of                       To support the feature that there is no need to modify
   segments may be obtained from a stream.                                          original media file(s), the segment index boxes (and other
      In the MPEG DASH, a media segment to be requested by                          related boxes, for example, a box corresponding to a Ranges
   a client may be addressed by a URL and a byte range. The                         element) may be conveyed out-of-band. Accordingly, the
   addressing may be rather limited, since a media segment may                65    MoreAddressinginfo element may also include information
   be formed of different parts of a media stream, in particular                    that includes a URL and byte ranges, for addressing segment
   when a media stream includes different representations                           index boxes of each media segment.
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     The SegmentInfo element improved by the MoreAddress
   ingInfo element is described as shown in Table 77.
                                           TABLE 77
   Element or
   Attribute Name          Use   Description
   SegmentInfo             M     Provide Segment access information.
   UrlList            0...N Provides a list of explicit URL(s) for Segments.
   MoreAddressing|nfo 0... 1 Provides more addressing information for different
                             representations that may be extracted from the segments
                             identified by the above UrlTemplate, Urls, or UrlList.
   baseURL                   Provides the base URL for more addressing information.
   xlink:href                Provides reference to external MoreAddressing|nfo element.
   ByteRanges         0... 1 Provides byte ranges of different representations.
   xlink:href                Provides reference to external ByteRanges element.
   sameRep              O f sameRep is true, indicates that each Ranges element
                             contains byte ranges of different segments of a representation.
                              f sameRep is false, indicates that each Ranges element
                             contains byte ranges of segments having the same segment
                             order of different representations. The ordering of
                             segments representations is the same as that in corresponding
                             representation description.
                              f sameRep attribute is absent, which indicates that each
                             Ranges element contains byte ranges for a segment of a
                             representation. The ordering of segmentStrepresentations is
                              he same as that in corresponding representation description.
                             When the first representation needs no byte ranges,
                             corresponding Ranges elements for the representation may be
                                 absent.
   Ranges                0...N Provides byte ranges of representations (possibly consisting of
                                multiple segments). Ranges element is based on string type
                                representing a sequence of byte ranges. A byte range is
                                denoted by “x-y' where x and y are a start value and an end
                                value. Byte ranges of different segments (if any) are
                                separated by semicolon character (":"), while different byte
                                ranges within a segment are separated by comma character
                                (“”).
                                When two or more byte ranges corresponding to the same
                                segment order have the same Xiy values, one or more Xy
                                values may be absent and then referred from a corresponding
                                value that is present.
   xlink:href                   Provides reference to external ByteRanges element.
   IdxBoxes              O... 1 Provide address of segment index boxes of segments.
                                IdxBoxes element is based on string type representing a
                                sequence of byte ranges. A byte range is denoted by X-y
                                where x and y are a start value and an end value. Byte ranges
                                for different segments (if any) are separated by semicolon
                                character (":"), while different byte ranges for a segment are
                                separated by comma character ().
                                When a segment index box is used out-of-band (i.e., not in a
                                media segment), the reference offset value of the index box
                                may be referenced from the first byte of the segment.
   idxFileUrl              O Provides URL of a file containing the index boxes of the
                                 segments.



      Here, conditions may be hold only when xlink: href is not                        Elements are bold, and attributes are non-bold.
   used. When linking is used, all elements may be "optional 50                        Tables 78 and 79 show XML syntax of MoreAddressing
   and <minOccurs=0>.                                                             Info.
                                                                                                     TABLE 78

                                                              <!-- Segment access information -->
                                                              <xs:complexType name="SegmentInfoType'>
                                                                 <XS:sequences
                                                                   <xs:element             name="InitialisationSegmentURL          type=“UrlType
                                                              minOccurs="O'>
                                                                  <xs:element   name=BaselJRL            type=“BaselJRLType     minOccurs='0'
                                                              maxOccurs="unbounded -
                                                                   <xs:element         name="SegmentTimeline        type="SegmentTimelineType
                                                               minOccurs="O'>
                                                                   <xs:choice minOccurs="O-
                                                                       <xs:element name="UrlTemplate” type="UrlTemplateType' minOccurs="0">
                                                                       <XS:Sequences
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                                       71                                                                              72
                                      TABLE 78-continued
            <xs:element name="Url type="UrlType' maxOccurs="unbounded
            <XS:any namespace="##other processContents="lax' minOccurs="O
              maxOccurs="unbounded          -
         </XS:Sequences
         <xs:element name="UrlList' type="UrlListType' minOccurs="0">
         <XS:any namespace="##other processContents="lax' minOccurs="O"
           maxOccurs="unbounded        -
       <xs:choice>
       <XS:eleinent     name="MoreAddressing|nfo           type="MoreAddressing|nfoType'
   minOccurs="O'>
     </XS:Sequences
     <xs: attributeoroup ref="SegmentInfoAttrGroup's
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <xs:complexType name="MoreAddressing|nfoType'>
     <XS:sequences
       <xs:element name="ByteRanges' type="ByteRangesType' minOccurs="O-
       <xs:element name="IdxBoxes' type="IdxBoxesType' minOccurs="0">
     </XS:Sequences
     <xS:attribute ref=xlink: href>
     <xs: attribute ref="xlink:actuate default="onRequest's
     <xs: attribute name="baseURL type="xs:any URI/>
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType
   <xs:complexType name="ByteRangesType's
     <XS:sequences
        <XS:eleinent     name="Ranges'          type="RangesType     minOccurs='0'
   maxOccurs="unbounded -
     </XS:Sequences
     <xS:attribute ref=xlink: href>
     <xs: attribute ref="xlink:actuate default="onRequest's
     <xs: attribute name="sameRep' type="xs:boolean's
     <XS: any Attribute namespace="#other processContents="lax's
   </xs:complexType


                                 TABLE 79                                                                    TABLE 80-continued
   <xs:complexType name="Ranges.Type'>                                                         for (k=0; k < range count; k++){
     <XS:simpleContent>                                                      35                  unsigned int(32) start:
       <xs:extension base=''xs:string'>                                                          unsigned int(32) end;
         <xS:attribute ref=xlink:href>
         <XS:attribute ref="xlink:actuate default="onRequest's
         <XS:any Attribute namespace="#other processContents="lax's
       <xs:extension-                                                        40            if (same rep) {
     </XS:simpleContent>                                                                     for i=0; i < segment count; i++)
   </xs:complexType                                                                            unsigned int(32) segment offset;
                                                                                               for (j=0; VVVK rep count; j++){
   <xs:complexType name="IdxBoxesType'>                                                          unsigned int(7) range count;
     <XS:simpleContent>                                                                          bit(1) same start:
       <xs:extension base=''xs:string'>                                      45
                                                                                                  if (same start):
         <xs:attribute name="idxFileUrl type=''xs:anyURI/>                                           for (k=0; k < range count; k++){
         <XS:any Attribute namespace="#other processContents="lax's                                   unsigned int(32) start:
                                                                                                      unsigned int(32) end:
       <xs:extension
     </XS:simpleContent>
   </xs:complexType                                                                               if (same start){
                                                                             50                     for (k=0; k < range count; k++)
                                                                                                      unsigned int(32) end:
     To further reduce the size of the MoreAddressinginfo ele
   ment, the MoreAddressinglnfo element may be represented
   by the pseudo-code format.                                                55
     An example of representing the ByteRanges element in the
   pseudo-code format is shown in the following Table 80.
                                                                                    Here, same rep indicates whether each sequence of byte
                                 TABLE 8O                                        ranges below is for segments of the same representation or
       aligned (8) class ByteRangesBox extends FullBox(brgb, 0, 0) {          60
                                                                                 segments having the same order in different representations.
         bit(1)                            Same rep;                                segment count indicates the number of segments in each
         unsigned int(31) segment count;                                         representation.
         unsigned int(8) rep count;
       if (same rep) {                                                              rep count indicates the number of representations.
          for i=0; i <rep count; i++)                                               range count indicates the number of byte ranges.
            for (j=0; j < segment count; j++){                                65
              unsigned int(8) range count;                                           start and end indicate a start value and an end value of each
                                                                                  of byte ranges.
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     same start indicates whether the following set of byte                                                    TABLE 83-continued
   ranges has the same start values as a previous set of byte                        type="TrickModeType minOccurs="0"/>
   ranges.                                                                                     <xs:element name="SubReps” type="SubRepsType
      To describe characteristics of representations provided by                5
                                                                                                   minOccurs="O'>
                                                                                                </XS:Sequence>
   the MoreAddressinglnfo element, different ways may be                                        <XS:attribute name="id' type="Xs:string use="required's
   used. Hereinafter, two typical ways will be described: 1)                                    <XS:attribute name="bandwidth' type=''xs:unsigned Int
   using representations of a representation group and 2) using                                 use="required's
   Sub-representations of a representation.                                                     <XS:attribute name="qualityRanking
                                                                                                type="Xs:unsigned Int' -
      Using Representations of Representation Group                             10              <XS:attribute name="depid' type="String VectorType's
      SegmentInfoDefaultType of a RepresentationGroup ele                                       <XS:attribute name="default' type="xs:boolean's
                                                                                              <xs:extension
   ment may be directly extended from the SegmentInfoType, as                               </xs:complexContent>
   shown in the following Table 81. When a SegmentInfoDe                                  <xs:complexType
   fault element of the RepresentationGroup element is used to                            <xs:complexType name="SubRepsType'>
                                                                                            <XS:sequences
   convey addressing information of segments, the SegmentInfo                   15
                                                                                              <xs:element name="SubRep'           type="RepresentationType
   element in the Representation element may be absent. Each                         minOccurs="O' maxOccurs="unbounded            -
   representation of the representation group may have the same                             </XS:Sequences
   identifier value as an (corresponding) identifier value indi                             <XS: any Attribute namespace="#other processContents="lax's
                                                                                          <xs:complexType
   cated by the Ranges element of MoreAddressinglnfo.
                                  TABLE 81                                              Hereinafter, an Adaptation Hint will be Described.
         <xs:complexType name="SegmentInfoDefaultType'>
                                                                                        In several cases, measuring quality values may be expen
           <xs:complexContent>                                                       sive. Accordingly, instead of explicitly providing quality
             <xs:extension base="SegmentInfoType'>
                                                                                25
                                                                                     information, a provider may provide a few hints in selecting
               <xs:attribute name="sourceURLTemplatePeriod                           different representations.
               type="Xs:string's
                <xs:extension                                                           Hereinafter, an adaptation hint that Suggests selected rep
           <xs:complexContent>                                                       resentations in a given context (for example, at a bandwidth
         </xs:complexType                                                            constraint of 1 Mbps) is described. Elements and semantics of
                                                                                30   the adaptation hint are shown below. AdaptationHint may be
      Using Sub-representations in Representation                                    a child element of Period or Subset. When AdaptationHint is
                                                                                     used in SubSet, AdaptationHint may only consider represen
      A new element called SubReps may be used to describe                           tations that belong to the SubSet.
   different (Sub-) representations of a (parent) representation.                       In practice, a client may use AdaptationHint not only to
   The SegmentInfo element of a parent representation (as                       35   select representations in described context, but also to infer
   described above) may be used to convey the addressing infor                       (for example, interpolate) representations in other possible
   mation.                                                                           COInteXtS.
      Table 82 describes semantics of SubReps.                                            Table 84 shows semantics of AdaptationHint.
                                  TABLE 82                                      40                                   TABLE 84
   Element or                                                                        Element or
   Attribute Name      Use    Description                                            Attribute Name          Use    Description
   Representation       1     Provides Segment access information.                   Period                   M     Provides information of Period.
                                                                                45   AdaptationHint         0... 1 Provides hint to select representations for
   SegmentInfo          1   Provides Segment access information. (revised
                            as above)                                                                              Supporting adaptivity. The hint includes a
   SubReps           0... 1 Provides information about sub-representations                                          ist of nodes, each describing a given set
                            of a representation.                                                                   of constraints (e.g., bandwidth and display
   SubRep            0...N Provides information about a sub-representation                                         size) and the corresponding selected
                            of a representation. SubRep element is of                                              representations.
                            RepresentationType. An identifier of the Sub        50 xlink:href                       Provides reference to external
                            representation may be equal to an identifier of                                         AdaptationHint element
                            corresponding RepRanges in SegmentInfo                   Node                   1... N. Describes a given context (e.g., bandwidth
                              element.                                                                              and display size) and the corresponding
                              Attributes of a sub-representation (if present)                                       Selected representations.
                              may override attributes of the parent                bandwidth                  O     Describes the bandwidth constraint
                              representation.                                   55 width                      O     Describes the width constraint
                                                                                     height                   O     Describes the height constraint
                                                                                     frameRate                O     Describes the frame rate constraint
                                                                                     SelectedRep            1...N. Describes a selected representation.
      Table 83 shows XML syntax of the SubReps element.                              id                       M     Describes an identifier of a selected
                                                                                                                  representation.
                                  TABLE 83                                      60   Subset                 0...N Subset element contains a description of
                                                                                                                    Subset.
   <xs:complexType name="RepresentationType'>                                        AdaptationHint           O     Provides hint to select representations for
       <xs:complexContent>                                                                                          adaptivity. The hint includes a list of nodes,
         <xs:extension base="Representation.BaseType                                                                each describing 1) a given set of constraints
             <XS:sequences                                                                                          (e.g., bandwidth and display size) and 2) the
                <xs:element name="SegmentInfo'                                                                      corresponding selected representations within
                type="SegmentInfoType's                                         65                                  SubSet.
                <xs:element        name="TrickMode'
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      Tables 85 and 86 show syntax of AdaptationHint.                                              TABLE 85-continued

                                                                                 maxOccurs="unbounded     -
                                                                                 <XS: any   namespace="#other        processContents="lax”
                                 TABLE 85
                                                                             minOccurs="O' maxOccurs="unbounded      -

   <?xml version=“1.0 encoding=UTF-8">                                         </XS:sequences
   <XS:Schema                                                                  <xs:any Attribute namespace="#other processContents="lax's
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009            <xs:complexType
                                                                        10
     attributeFormDefault="unqualified
     elementFormDefault="qualified
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema                                                         TABLE 86
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>
                                                                        15
                                                                                 <!-- Node -->
     <!-- Period of a presentation -->                                           <xs:complexType name="NodeType'>
     <xs:complexType name="PeriodType'>                                            <XS:Sequences
       <XS:Sequences                                                                 <xs:element              name="SelectedRep.
          <xs:element name="SegmentInfoDefault                                   type="SelectedRepType' maxOccurs="unbounded's
   type="SegmentInfoDefaultType minOccurs="0">                                       <XS:any     namespace="##other     processContents="lax        s




          <XS:eleinent       name="Representation         type=                  minOccurs="O' maxOccurs="unbounded      -

   “RepresentationType' minOccurs='1' maxOc-curs="unbounded                         </XS:Sequences
          <xs:element name="RepresentationGroup' type=                  25          <XS:attribute name="bandwidth' type="Xs:unsigned Int' -
   “RepresentationGroupType minOccurs="O' maxOc-curs="unbounded                     <XS:attribute name="width' type="XS:unsignedInt>
          <XS:eleinent     name="Subset'       type="SubsetType
                                                                                    <XS:attribute name="height' type="xs:unsigned Int's
   minOccurs="O' maxOccurs="unbounded      -
                                                                                    <XS:attribute name="frameRate type="XS:double's
                                                                                    <XS:any Attribute namespace="#other processContents="lax's
          <XS:eleinent       name="AdaptationHint”                      30
                                                                                 </xs:complexType
   type="AdaptationHintType' minOccurs="0">
                                                                                 <!-- Selected Rep -->
          <XS:any namespace="#other        processContents="lax”                 <xs:complexType name="SelectedRepType'>
   minOccurs="O' maxOccurs="unbounded      -
                                                                                   <XS:Sequences
       </XS:Sequence>                                                   35           <XS:any       namespace="##other        processContents="lax   s


       <xS:attribute ref=xlink: href>                                            minOccurs="O' maxOccurs="unbounded      -
       <XS:attribute ref="xlink:actuate default="onRequest's                       </XS:Sequences
       <XS:attribute name="start type="XS:duration's                               <XS:attribute name="id' type="Xs:string use="required's
       <XS:attribute name="id' type="Xs:string f>                       40         <XS:any Attribute namespace="#other processContents="lax's
       <XS:attribute name="duration' type="XS:duration/>                         </xs:complexType
       <xs:attribute         name='SegmentAlignmentFlag
   type=''xs:boolean default="false"/>
       <xs:attribute         name="bitStreamSwitchingFlag
   type=''xs:boolean default="false"/>
                                                                        45     Hereinafter, a Bandwidth Range for a Group of Sub-rep
        <XS:any Attribute namespace="#other processContents="lax's           resentations will be Described.
     </xs:complexType                                                           Scalable content may be more and more popular due to
     <xs:complexType name="SubsetType's                                      flexibility in extracting Sub-streams to meet various con
                                                                        50
       <XS:Sequences                                                         straints of user devices. A file format may also provide a wide
          <XS:eleinent    name="Contains       type="ContainsType            variety of tools to extract sub-streams from a full (scalable)
   minOccurs='1' maxOccurs="unbounded      -                                 stream. To support scalable content in DASH, a new attribute
          <XS:eleinent       name="AdaptationHint”                           called bandwidth Range for a Representation may be pro
   type="AdaptationHintType' minOccurs="0">                             55
                                                                             posed. The bandwidthRange attribute may provide band
          <XS:any namespace="#other        processContents="lax”             width values of sub-streams (or sub-representations) that are
   minOccurs="O' maxOccurs="unbounded      -
                                                                             extractable from the full stream/representation.
        </XS:Sequence>
        <XS:any Attribute namespace="#other processContents="lax's      60
      </xs:complexType                                                          To download the segments of the full representation, a
   <!-- Adaptation Hint -->                                                  client may use only URLs provided together with represen
   <xs:complexType name="AdaptationHintType'>                                tation description. However, to download segments of a Sub
     <XS:sequences                                                      65
                                                                             representation, the client may include a query parameter
       <xs:element name="Node' type="NodeType                                called “bandwidth' to each URL (For example, "?band
                                                                             width=1000).
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      Table 87 describes semantics of bandwidthRange.
                                       TABLE 87
   Element or
   Attribute Name   Use Description
   Representation    M Representation element contains description of Representation.
   id                M Describes a unique identifier for Representation within Period.
                       The string may only contain characters permitted to form a
                       valid http-URL according to RFC1738. For scalable content,
                         he string may contain a list of ids (separated by semicolon
                       character :) corresponding to the Sub-representations whose
                       bandwidth values are provided in bandwidthRange attribute.
                       The first id of the list may be an id of the (full) representation.
   bandwidth         O Describes a minimum bandwidth of a hypothetical constant
                       bitrate channel in bits per second (bps) over which the
                        Representation (i.e., the collection of all Segments of a
                        Representation) may be delivered such that a client, after
                       buffering for exactly minBufferTime may be assured of having
                       enough data for continuous playout.
   bandwidthRange    O Describes a string containing a list of bandwidth values
                       (separated by semicolon character"; ) of Sub-representations
                       extractable from the representation. To request a sub
                       representation, a client may include in the request a query
                          parameter called “bandwidth. A value of "bandwidth is a
                          bandwidth value of the required sub-representation.


      bandwidthRange may be used for RepresentationGroup as                     25      3) to provide the minimum amount of initially buffered
   well. Here, the Sub-representations may become representa                         media (at any RAPs of the media presentation) that is needed
   tions of RepresentationGroup.                                                     to ensure Smooth playout provided that each Representation
      Similarly to the bandwidth, other attributes, such as reso                     is deliveredator above the value of the bandwidth attribute of
   lution, or frame rate, may be augmented by corresponding                          the Representation.
                                                                                30     minBufferTime at Period Level
   resolutionRange and framerateRange.                                                 For example, when the minBufferTime attribute at the
      Hereinafter, Bandwidth Information will be Additionally                        MPD level is specific to the starting point of the presentation,
   Described.                                                                        minBufferTime may be added to each Period. The adding
     Description related to a bandwidth and initial buffering                        minBufferTime to each Period may override a value of min
   delay may be improved to enable flexibility and accuracy in                  35   BufferTime at the MPD level. The overriding may enable
   Supporting adaptivity.                                                            appropriate initial buffering before starting a Period.
      minBufferTime at MPD Level                                                       First, minBufferTime at the MPD level may be changed to
      A bandwidth value of each representation may be defined                        an “optional attribute’ as shown in Table 88.
   with respect to a certain minimum initial buffering time value                      Table 88 describes minBufferTime.
   (minBufferTime). The initial buffering time may be provided                  40
                                                                                                                  TABLE 88
   at the MPD level. However, it may be unclear whether min
   BufferTime is applied only to the beginning of the media                          Element or
   presentation, or to any RAPs.                                                     Attribute Name       Use    Description
      Semantics of minBufferTime at the MPD level may be                             MPD                   1     Describes a root element that carries
   revised to one of the following options:                                     45                              a Media Presentation Description (MPD)
      1) to provide the minimum amount of initially buffered                                                    for a Media Presentation.
   media (at the beginning of the media presentation) that is
   needed to ensure Smooth playout provided that each Repre                          minBufferTime         O     Provides the minimum amount of initially
                                                                                                                buffered media that is needed to ensure
   sentation is delivered at or above the value of the bandwidth                                                Smooth playout provided that each
   attribute of the Representation.                                             50                              Representation is delivered at or above
      2) to provide the minimum amount of initially buffered                                                    the value of bandwidth attribute of the
                                                                                                                 Representation.
   media (at the beginning of any Period of the media presenta
   tion) that is needed to ensure Smooth playout provided that
   each Representation is delivered at or above the value of the                       Semantics and syntax of the minBufferTime attribute at the
   bandwidth attribute of the Representation.                                        Period level are shown in Tables 89 and 90.
                                                                                                          TABLE 89

                                                                   Element or
                                                                   Attribute Name       Use Description
                                                                   Period                1   Provides information of Period.

                                                                   minBufferTime         O Options of semantics:
                                                                                           1) Provides the minimum amount of initially buffered media (at
                                                                                           the beginning of the current Period) that is needed to ensure
                                                                                           smooth playout provided that each Representation of the current
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                                TABLE 89-continued
   Element or
   Attribute Name   Use Description
                         Period is delivered at or above the value of the bandwidth
                         attribute of the Representation. If present, minBufferTime
                         attribute overrides the minBufferTime attribute at MPD level.
                         1) Provides the minimum amount of initially buffered media (at
                         any RAPs within the current Period) that is needed to ensure
                         Smooth playout provided that each Representation of the current
                         Period is delivered at or above the value of the bandwidth
                         attribute of the Representation. If present, minBufferTime
                         attribute overrides the minBufferTime attribute at MPD level.



                               TABLE 90                                         15                            TABLE 90-continued

   <!-- Period of a presentation -->                                                      <xs: attribute name="duration' type="Xs:duration/>
      <xs:complexType name="PeriodType'>                                                    <XS:attribute name="minBufferTime' type="XS:duration
       <XS:Sequences                                                            2O          use="optional/>
         <xs:element    name="SegmentInfoDefault                                          <xs: attribute         name='SegmentAlignmentFlag
   type="SegmentInfoDefaultType minOccurs="0">                                        type=''xs:boolean default="false"/>
         <xs:element        name="Representation            type=                         <xs: attribute         name="bitStreamSwitchingFlag
   “RepresentationType' minOccurs='1' maxOccurs="unbounded's                    25 type=''xs:boolean default="false"/>
          <xs:element name="RepresentationGroup' type=                                  <XS: any Attribute namespace="#other processContents="lax's
   “RepresentationGroupType minOccurs="O' maxOccurs="unbounded                       <xs:complexType
         <xs:element      name="Subset'         type="SubsetType
   minOccurs="O' maxOccurs="unbounded       -
         <XS:any              &G
                    namespace="#other s                         &G's
                                                processContents="lax            30      Hereinafter, Revised Definition of the Bandwidth will be
                                                                                      Described.
   minOccurs="O' maxOccurs="unbounded -
       </XS:Sequence>                                                                    The definition of the bandwidth may guarantee continuous
       <xS:attribute ref=xlink: href>                                              playout of a representation in a Period. However, there is no
       <XS:attribute ref="xlink:actuate default="onRequest's                    35 guarantee that representation(s) in the next Period (if any)
       <XS:attribute name="start type="XS:duration's                               will be sufficiently buffered before representations start. To
       <XS:attribute name="id' type="Xs:string f>                                  Support continuous playout across Periods, semantics of the
                                                                                      bandwidth attribute may be changed as shown in Table 91.
                                                                                                              TABLE 91

                                                                    Element or
                                                                    Attribute Name          Use Description

                                                                    Representation           M Representation element contains description of
                                                                                               Representation.
                                                                    id                       M Describes a unique identifier for Representation within
                                                                                                  Period.
                                                                                               The string may only contain characters permitted to form a
                                                                                               valid http-URL according to RFC1738.
                                                                    bandwidth                M Describes a minimum bandwidth of a hypothetical constant
                                                                                               bitrate channel in bits per second (bps) over which the
                                                                                                Representation (i.e., the collection of all Segments of a
                                                                                                Representation) may be delivered such that a client, after
                                                                                               buffering for exactly minBufferTime may be assured of
                                                                                               having enough data for continuous playout. Also, the value
                                                                                               of bandwidth may enable 1) transparent splicing between the
                                                                                               current Period and the next Period and 2) continuous playout
                                                                                                 in the next Period.
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      All media data of the current Period may be received well         tion) that correspond to different values of minBufferTime
   before the start of the next Period. Accordingly, all media data     will be described. An advantage of such a solution may be that
   of the next Period may be sufficiently buffered (for continu         multiple MPDs corresponding to multiple values of minBuf
   ous playout) before the start of the next Period.                    ferTime are not required.
     Hereinafter, Multiple Pairs of Bandwidth-minBufferTime 5              Accordingly, the schema of MPEG DASH may be changed
                                                                        as follows:
   will be Described.
      Different devices, receiving the same MPD, may respect              1) More values for minimum initial buffering delay may be
                                                                        added to the MPD.
   minBufferTime in the MPD. However, different devices may       2) For each representation, bandwidth values correspond
   require different amounts of initially buffered media (or dif
                                                               ing to values of the minimum initial buffering delays may be
                                                                   10
   ferent minimum initial buffering delays).                   provided.
      For example, one device may prefer low delay (at the cost   The above changes may be implemented by 1) MinBuffer
   of high bandwidth), while another device with low-band      Time elements at the MPD level and Period level, and by 2)
   width connection may accept a large delay.                  the Bandwidth Info element in a Representation.
     Having multiple pairs of bandwidth-minBufferTime may is Other pairs of bandwidth-minBufferTime may be interpo
   provide a great flexibility in selecting QoS levels.        lated from the provided pairs of bandwidth-minBufferTime.
     Hereinafter, 1) different values/instances of minBuffer      Table 92 shows Semantics of MinBufferTime at the MPD
   Time and 2) different bandwidth values (for each representa level.
                                                                                             TABLE 92
                                                      Element or
                                                      Attribute Name      Use Description
                                                       MPD                 1    Describes a root element that carries a Media Presentation
                                                                                Description (MPD) for a Media Presentation.
                                                       BaselJRL         0...N. Describes a URL that may be used on the MPD level, instead of
                                                                                or in addition to baseURL attribute.
                                                       minBufferTime    ON      Provides a minimum amount of initially buffered media that is
                                                                                needed to ensure Smooth playout.
                                                       id                 M     Provides an ID of MinBuffer element. The value of id attribute
                                                                                may be greater than 0.
                                                      vaule                O     ) Provides the minimum amount of initially buffered media (at
                                                                                 he beginning of the media presentation) that is needed to ensure
                                                                                smooth playout provided that each Representation is delivered at
                                                                                or above the value of the bandwidth attribute of the
                                                                                Representation.
                                                                                2) Provides the minimum amount of initially buffered media (at
                                                                                 he beginning of any Period of the media presentation) that is
                                                                                needed to ensure Smooth playout provided that each
                                                                                Representation is delivered at or above the value of the
                                                                                bandwidth attribute of the Representation.
                                                                                3) Provides the minimum amount of initially buffered media (at
                                                                                any RAPs of the media presentation) that is needed to ensure
                                                                                smooth playout provided that each Representation is delivered at
                                                                                or above the value of the bandwidth attribute of the
                                                                                Representation.


                                                                           Table 93 shows Semantics of MinBufferTime at the Period
                                                                        level.
                                                                                             TABLE 93

                                                      Element or
                                                      Attribute Name      Use Description

                                                       Period              1    Provides information of Period.

                                                       minBufferTime    0...N Provides the minimum amount of initially buffered media that is
                                                                              needed to ensure Smooth playout. When MinBufferTime is
                                                                              present, MinBufferTime elements at MPD level are ignored.
                                                       id                 M     Provides an ID of MinBufferTime element. The value of id
                                                                                attribute may be greater than 0.
                                                      vaule                O    Provides the minimum amount of initially buffered media that is
                                                                                needed to ensure Smooth playout provided that each
                                                                                Representation is delivered at or above the value of the
                                                                                bandwidth attribute of the Representation.
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        Table 94 shows semantics of Bandwidth Info.
                                                  TABLE 94.
   Element or
   Attribute Name         Use   Description
   Representation          M    Representation element contains description of Representation.
   segmentinfo             O1   Provides Segment access information.
   Bandwidth|nfo       0...N    Provides bandwidth information corresponding to a specific
                                amount of initially buffered media (provided by minBufferTime
                                attribute or MinBufferTime element).
   id                      O1   indicates an ID of MinBufferTime element of the MPD. If the
                                value of id attribute is 0, id attribute corresponds to the minimum
                                amount of initially buffered media provided by minBufferTime
                                attribute.
   repBandwidth       ON Provides a bandwidth value for the representation corresponding
                                o the minimum amount of initially buffered media provided in
                                associated MinBufferTime element. If the value of the id
                                attribute is 0, the bandwidth attribute of the Representation may
                                be used instead of repBandwidth attribute.


        Tables 95 through 97 show syntax of MinBufferTime and                                                             TABLE 96
   Bandwidth Info.
                                                                                          <!-- Period of a presentation -->
                                                                                             <xs:complexType name="PeriodType'>
                                    TABLE 95                                                  <XS:sequences
                                                                                     25
                                                                                                 <xs:element name="SegmentInfoDefault
   <?xml version=“1.0 encoding=UTF-8">                                                    type="SegmentInfoDefaultType' minOccurs="0">
   <XS:Schema                                                                                    <xs:element           name="MinBufferTime'
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009                         type="MinBufferTimeType' minOccurs="O' maxOccurs="unbounded's
     attributeFormDefault="unqualified                                                           <xs:element           name="Representation          type=
     elementFormDefault="qualified                                                   30   “RepresentationType' minOccurs='1' maxOccurs="unbounded's
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema                                                 <xs:element name="RepresentationGroup' type=
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>                               “RepresentationGroupType' minOccurs="O' maxOccurs="unbounded
                                                                                              <xs:element        name="Subset'       type="SubsetType
        <xs:complexType name="MPDtype'>                                                   minOccurs="O' maxOccurs="unbounded         -
          <XS:Sequences                                                                          <XS:any       namespace="#other         processContents="lax”
         <xs:element name="Program Information                                       35 minOccurs="O' maxOccurs="unbounded           -
   type="Program InformationType' minOccurs="O/>                                              </XS:Sequences
         <xs:element name="Period type="PeriodType                                            <xS:attribute ref=xlink: href>
   maxOccurs="unbounded -                                                                     <xs: attribute ref="xlink:actuate default="onRequest's
         <xs:element name=BaselJRL type=“BaselJRLType                                         <xs: attribute name="start type=''xs:duration's
   minOccurs="O' maxOccurs="unbounded -                                                       <xs: attribute name="id' type="Xs:string f>
         <xs:element      name="MinBufferTime'                                      40        <xs: attribute name="duration' type="Xs:duration/>
                                                                                               <xs:attribute name="minBufferTime' type="xs:duration'
   type="MinBufferTimeType' minOccurs="O' maxOccurs="unbounded's                               use="optional/>
         <XS:any namespace="##other processContents="lax”                                     <xs: attribute          name="segmentAlignmentFlag
   minOccurs="O' maxOccurs="unbounded              -                                      type=''xs:boolean default="false"/>
          </XS:Sequence>                                                                      <xs: attribute          name="bitStreamSwitchingFlag
          <XS:attribute name="type' type="PresentationType                          45    type=''xs:boolean default="false"/>
          default="OnDemand's                                                                  <XS: any Attribute namespace="#other processContents="lax's
          <XS:attribute name="availabilityStartTime' type="XS:dateTime's                    <xs:complexType
          <XS:attribute name="availabilityEndTime' type=''xs:dateTime's
          <xs:attribute name="mediaPresentationDuration                                     <xs:complexType name="RepresentationType'>
          type="Xs:duration's                                                                 <xs:complexContent>
          <XS:attribute name="minimumUpdatePeriodMPD                                 50         <xs:extension base="Representation.BaseType'>
          type="Xs:duration's                                                                         <XS:Sequences
          <XS:attribute name="minBufferTime' type="XS:duration                                          <xs:element name="SegmentInfo'
          use="optional/>                                                                               type="SegmentInfoType's
                                                                                                        <xs:element           minOccurs="O             maxOccurs=
          <XS:attribute name="timeShiftBufferDepth' type="Xs:duration's
          <XS:attribute name="baseUrl type="xs:any URI/>                                  “unbounded name="Bandwidth Info' type="Bandwidth InfoType
                                                                                     55                 <xs:element          name="TrickMode'
          <XS:any Attribute namespace="#other processContents="lax's
        </xs:complexType                                                                  type="TrickModeType minOccurs="0"/>
        <xs:complexType name="MinBufferTimeType'>                                                 </XS:Sequence>
          <XS:Sequences
                                                                                                  <XS:attribute name="id' type="Xs:string use="required's
            <XS:any       namespace="#other            processContents="lax”                      <XS:attribute name="bandwidth' type=''xs:unsigned Int
                                                                                     60           use="required's
   minOccurs="O' maxOccurs="unbounded              -                                              <XS:attribute name="qualityRanking type="xs:unsigned Int' -
       </XS:Sequence>                                                                             <XS:attribute name="depid' type="String VectorType's
       <XS:attribute name="id' type="Xs:string use="required's                                    <XS:attribute name="default' type="xs:boolean's
       <XS:attribute name="value” type="XS:duration's                                            <xs:extension
       <XS:any Attribute namespace="#other processContents="lax's                             </xs:complexContent>
   </xs:complexType                                                                  65     <xs:complexType
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                                        85                                                                              86
                                    TABLE 97                                                                   TABLE 99-continued
       <!-- Bandwidth Info -->                                                                 <XS:attribute name="qualityRanking type="xs:unsigned Int' -
          <xs:complexType name="Bandwidth InfoType's                                           <XS:attribute name="depid' type="String VectorType's
          <XS:Sequence>                                                                        <XS:attribute name="default' type="xs:boolean's
            <XS:any namespace="##other            processContents="lax”          5           <xs:extension
       minOccurs="O' maxOccurs="unbounded           -                                     </xs:complexContent>
          </XS:Sequences                                                                <xs:complexType
          <XS:attribute name="id' type="Xs:string
          <XS:attribute name="repBandwidth' type="XS:unsignedInt>
          <XS:any Attribute namespace="#other processContents="lax's
          </xs:complexType-                                                      10
       <xs:schema                                                                                                  TABLE 100
                                                                                           <xs:complexType name="RAPInfoType'>
                                                                                               <XS:Sequences
      Hereinafter, Multiple Pairs of Bandwidth-minBufferTime                                     <xS:element name="RAPPoint            type="RAPPointType
   for Each RAP will be Described.                                                         minOccurs="O' maxOccurs="unbounded      -
     In general, each RAP of a representation may be provided 15                               </XS:Sequence>
                                                                                               <xS:attribute ref=xlink: href>
   with multiple pairs of bandwidth-minBufferTime. Such                                      </xs:complexType
   information may enable a client to buffer enough initial data                             <xs:complexType name="RAPPointType'>
   before playing the initial data from a RAP (for example, in the                             <XS:Sequences
   case of random accessing).                                                                    <xs:element name="Bandwidth Delay Pair
      Table 98 describes Semantics of RAPInfo.
                                             TABLE 98
   Element or
   Attribute Name             Use   Description
   Representation             M     Representation element contains description of
                                    Representation.
   SegmentInfo              1    Provides Segment access information.
   RAPInfo                0... 1 Provides information about bandwidth and initial delay at
                                 RAPs of the representation.
   xlink:href                 O     Provides reference to external RAPInfo element.
   RAPPoint            1...N Provides pairs of bandwidth and initial delay at a RAP
   imePoint              M Provides the time point of the RAP. The time point is
                             relative to the beginning of the representation.
   Bandwidth.DelayPair 1...N Provides a pair of bandwidth and initial delay of the RAP.
   id                    M Provides the id of the pair.
   delay                 M Provides a possible initial delay before playout from the
                                    RAP
   bandwidth                  M     Provides bandwidth corresponding to the above delay
                                    value.


                                                                                 40
      Tables 99 and 100 describe syntax of RAPInfo.                                                           TABLE 100-continued
                                    TABLE 99                                               type="Bandwidth.DelayPairType' maxOccurs="unbounded's
                                                                                                </XS:Sequence>
                                                                                                <XS:attribute name="timePoint type="XS:duration's
   <?xml version=“1.0 encoding=UTF-8">                                           45             <XS:any Attribute namespace="#other processContents="lax's
   <XS:Schema                                                                                </xs:complexType
   targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009                            <!-- Bandwidth-Delay Pair
     attributeFormDefault="unqualified                                                       <xs:complexType name="Bandwidth.DelayPairType'>
     elementFormDefault="qualified                                                           <XS:Sequences
                                                                                               <XS:any       namespace="#other     processContents="lax”
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema                                 50        minOccurs="O' maxOccurs="unbounded      -
     xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009'>                                  </XS:Sequences
     <xs:complexType name="RepresentationType'>                                              <XS:attribute name="id' type="Xs:string
       <xs:complexContent>                                                                   <XS:attribute name="bandwidth' type="Xs:unsigned Int' -
         <xs:extension base="Representation.BaseType                                         <XS:attribute name="delay type="XS:duration's
                                                                                             <XS:any Attribute namespace="#other processContents="lax's
            <XS:sequences                                                                    </xs:complexType
                                                                                 55
                <xs:element name="SegmentInfo'                                             <xs:schema
                type="SegmentInfoType's
                <xs:element            minOccurs="O           maxOccurs=
   “unbounded name="Bandwidth Info' type="Bandwidth InfoType's                            The RAPInfo element and child elements of the RAPInfo
                <xs:element          name="TrickMode'            type=                element may be converted to pseudo-code format/boxes for
   “TrickModeType' minOccurs="0"/>                                               60   compactness. Furthermore, the pseudo-code boxes of the
              <xs:element name="RAPInfo' type=“RAPInfoType                            RAPInfo element and child elements of the RAPInfo element
                minOccurs="O'>                                                        may be stored separately or inserted into a media bitstream
            <xs:sequences                                                             (for example, in front of each RAP).
            <XS:attribute name="id' type="Xs:string use="required's                      Hereinafter, Playout Curve will be Described.
            <XS:attribute name="bandwidth' type="XS:unsignedInt                  65      Providing bandwidth-delay information for each RAP may
            use="required's                                                           be costly. Another solution is to represent an approximation
                                                                                      of a playout curve of a representation. When the playout curve
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   (or the approximation of the playout curve), and a selected                                              TABLE 102-continued
   bandwidth (corresponding to a specific initial delay) are                           minOccurs="O' maxOccurs="unbounded    -
   known, an initial delay at each RAP may be easily computed                            </XS:sequences
   as a time offset of a playout curve and a curve representing the                      <xs:attribute name="datasize’ type="Xs:unsigned Int' -
   selected bandwidth.                                                                   <xs:attribute name="duration' type="Xs:duration/>
                                                                                         <xs:any Attribute namespace="#other processContents="lax's
      Table 101 describes semantics of AppBlayoutCurve.                                <xs:complexType

                                     TABLE 101
   Element or                                                                     10      FIG. 5 is a diagram illustrating a configuration of the client
   Attribute Name            Use    Description                                        100 according to an embodiment of the present invention.
                                                                                          A controller 510 may perform operations 130 and 140.
   Representation             M     Representation element contains description        Specifically, the controller 510 may process the metadata of
                                    of Representation.
                                                                                       the interval.
                                                                                  15      A transceiver 520 that selects the fragment suitable for the
   SegmentInfo     0...N Provides Segment access information.
   AppPlayoutCurve O... 1 Provides a piece-wise approximation curve                    interval based on the processing may perform operations 120,
                          of the playout curve (i.e., cumulative data                  140, and 150. Specifically, the transceiver 520 may receive
                          size vs. time) of the representation.
   xlink:href                 O     Provides reference to external                     the metadata of the interval of the content from the server 110,
                                    AppPlayoutCurve element.                           may send the request for the fragment suitable for the interval
   shift                      O     Provides the starting time of the approxima        to the server, and may receive the fragment from the server.
                                    ion curve. The starting time is relative to           FIG. 6 is a diagram illustrating a configuration of the client
                                    he start of the actual playout curve.              100 according to an embodiment of the present invention.
   Interval                 1...N. Describes an interval of the approximation
                                    CWE.
                                                                                          The client 100 may include an access engine 610, and a
   datasize                   M     Describes the increased data size of the      25   media engine 620.
                                    interval.                                             The access engine 610 may be a DASH access engine.
   duration                   M      indicates the duration of the interval.              The access engine 610 may receive metadata (for example,
                                                                                       an MPD) from the server 110.
                                                                                          The access engine 610 may form requests, and may issue
      Table 102 shows syntax of IntervalBandwidth.                                30   the formed requests to the server 110.
                                                                                          The access engine 610 may receive content (for example,
                                     TABLE 102                                         segments or parts of the segments) from the server 110.
   <?xml version=“1.0 encoding=UTF-8">                                                    The access engine 610 may provide the content to the
   <XS:schema targetNamespace="urn:MPEG:ns:DASH'                                       media engine 620.
     attributeFormDefault="unqualified                                            35      An output of the access engine 610 may include media (or
     elementFormDefault="qualified
     Xmlins:Xs="http://www.w3.org/2001/XMLSchema                                       a part of the media) of an MPEG container (for example, an
     Xmlins:Xlink="http://www.w3.org/1999/xlink'                                       ISO/IEC 14492-12 ISO base media file format, oran ISO/IEC
     Xmlins="urn:MPEG:ns:DASH'>                                                        13818-2 MPEG-2 TS). Additionally, the output of the access
     <xs:complexType name="RepresentationType'>                                        engine 610 may include timing information used to map
       <xs:complexContent>                                                        40   internal timing of the media to a timeline of a media presen
         <xs:extension base="Representation.BaseType                                   tation.
               <XS:sequences                                                              The media engine 610 may playback the provided content.
              <xs:element name="SegmentInfo'                                           Specifically, the media engine 610 may output media using
              type="SegmentInfoType's
              <xs:element name="AppPlayoutCurve'                                       the media and the timing information that are output from the
   type="AppPlayoutCurveType' minOccurs="Of                                       45   access engine 610.
                  <xs:element          name="TrickMode'                                   Technical information according to the embodiments of
   type="TrickModeType minOccurs="0"/>                                                 the present invention described above with reference to FIGS.
           <xs:sequences
           <XS:attribute name="id' type="Xs:string use="required's                     1 through 4 may equally be applied to the present embodi
           <XS:attribute name="bandwidth' type="XS:unsignedInt                         ment. Accordingly, further description thereof will be omit
           use="required's                                                        50   ted.
           <XS:attribute name="qualityRanking type="xs:unsigned Int' -                    The method according to the above-described embodi
           <XS:attribute name="depid' type="String VectorType's
           <XS:attribute name="default' type="xs:boolean's                             ments of the present invention may be recorded in computer
             <xs:extension                                                             readable media including program instructions to implement
       </xs:complexContent>                                                            various operations embodied by a computer. The media may
     </xs:complexType                                                             55   also include, alone or in combination with the program
   <xs:complexType name="AppPlayoutCurveType'>
     <XS:sequences                                                                     instructions, data files, data structures, and the like. The pro
           <xs:element name="Interval type="IntervalType                               gram instructions recorded on the media may be those spe
           maxOccurs="unbounded        -                                               cially designed and constructed for the purposes of the
           <XS:any     namespace="##other             processContents="lax”            embodiments, or they may be of the kind well-known and
   minOccurs="O' maxOccurs="unbounded             -
           </XS:Sequence>                                                         60   available to those having skill in the computer software arts.
           <xS:attribute ref=xlink: href>                                              Examples of computer-readable media include magnetic
       <XS:attribute name="shift type="Xs:duration/>                                   media such as hard disks, floppy disks, and magnetic tape;
       <XS:any Attribute namespace="#other processContents="lax's                      optical media such as CD ROM disks and DVDs; magneto
   </xs:complexType
   <xs:complexType name="IntervalType'>                                                optical media Such as optical discs; and hardware devices that
     <XS:sequences                                                                65   are specially configured to store and perform program
       <XS:any     namespace="##other                 processContents="lax”            instructions, such as read-only memory (ROM), random
                                                                                       access memory (RAM), flash memory, and the like.
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   Examples of program instructions include both machine                     wherein the metadata is a media presentation description
   code, such as produced by a compiler, and files containing                  (MPD) that provides descriptive information that
   higher level code that may be executed by the computer using                enables a client to select one or more representations;
   an interpreter. The described hardware devices may be con                    and
   figured to act as one or more software modules in order to         5      a media engine to receive the media content from the
   perform the operations of the above-described embodiments                   access engine, and to play back the media content,
   of the present invention, or vice versa.                                  wherein the minBufferTime attribute relates to the one or
      Although a few embodiments of the present invention have                 more periods, and
   been shown and described, the present invention is not limited            wherein the minBufferTime attribute relates to providing a
   to the described embodiments. Instead, it would be appreci         10
                                                                               minimum amount of initially buffered media at a begin
   ated by those skilled in the art that changes may be made to                ning of a media presentation, at a beginning of the one or
   these embodiments without departing from the principles and                 more periods of the media presentation, or at any ran
   spirit of the invention, the scope of which is defined by the               dom access point of the media presentation.
   claims and their equivalents.
     The invention claimed is:                                        15     7. The terminal of claim 6, wherein the metadata is the
      1. A method by which a client provides media content                 Media Presentation Description of the media content.
   including one or more periods, the method comprising:                     8. The terminal of claim 6, wherein the minBufferTime
     receiving metadata of the media content from a server, the            attribute indicates the minimum amount of the initially buff
         metadata comprising a minBufferTime attribute indicat             ered media content that is required to ensure playout of the
         ing a minimum amount of initially buffered media con              media content when the media content is continuously deliv
         tent that is required to ensure playout of the media con          ered at or above a value of a bandwidth attribute of the
         tent, the minBufferTime attribute being defined in                metadata.
         segment unit,                                                       9. The terminal of claim 6, wherein each of the periods
     wherein the metadata is a media presentation description              comprises one or more representations of the media content,
         (MPD) that provides descriptive information that             25   each of the representations being a structured collection of
         enables a client to select one or more representations;           one or more media components within a period, and
     receiving the media content from the server, and buffering              wherein the bandwidth attribute is an attribute of each of
         the received media content by at least the minimum                     the representations, and describes a minimum band
        amount; and                                                             width of a hypothetical constant bitrate channel over
     playing back the media content,                                  30
                                                                                which each of the representations are able to be continu
     wherein the minBufferTime attribute relates to the one or
       more periods, and                                                        ously delivered after the client buffers each of the rep
                                                                                resentations for at least minBufferTime.
     wherein the minBufferTime attribute relates to providing a               10. The terminal of claim 9, wherein each of the represen
       minimum amount of initially buffered media at a begin               tations comprises one or more segments.
       ning of a media presentation, at a beginning of the one or     35
       more periods of the media presentation, or at any ran                  11. A method by which a client provides media content
       dom access point of the media presentation.                         including one or more periods, the method comprising:
     2. The method of claim 1, wherein the metadata is the                    receiving metadata of the media content from a server, the
   Media Presentation Description of the media content.                         metadata comprising a Uniform Resource Locator
     3. The method of claim 1, wherein the minBufferTime              40         (URL) attribute and a range attribute,
   attribute indicates the minimum amount of the initially buff               wherein the metadata is a media presentation description
   ered media content that is required to ensure playout of the                  (MPD) that provides descriptive information that
   media content when the media content is continuously deliv                   enables a client to select one or more representations;
   ered at or above a value of a bandwidth attribute of the                   receiving bytes designated by the range attribute from a
   metadata.                                                          45        URL indicated by the URL attribute; and
     4. The method of claim 1, wherein each of the periods                    playing back the media content using the received bytes,
   comprises one or more representations of the media content,                wherein the range attribute indicates multiple byte ranges,
   each of the representations being a structured collection of                 and
   one or more media components within a period, and                       wherein the multiple range bytes allow virtual segments to be
     wherein the bandwidth attribute is an attribute of each of       50   downloaded.
        the representations, and describes a minimum band                    12. The method of claim 11, wherein the metadata is the
        width of a hypothetical constant bitrate channel over              Media Presentation Description of the media content.
        which each of the representations are able to be continu              13. The method of claim 11, wherein each of the periods
        ously delivered after the client buffers each of the rep           comprises one or more representations of the media content,
        resentations for at least minBufferTime.                      55   each of the representations being a structured collection of
      5. The method of claim 4, wherein each of the representa             one or more media components within a period,
   tions comprises one or more segments.                                     wherein each of the representations comprises one or more
      6. A terminal for providing media content including one or                 segments, and
   more periods, the terminal comprising:                                    wherein the bytes designated by the range attribute desig
      an access engine to receive metadata of the media content,      60        nate segments of the media content.
        to receive the media content from the server, and to                  14. The method of claim 11, wherein the bytes are received
        buffer the received media content by at least a minimum            by a partial HTTP GET command for the URL instructed by
        amount indicated by a minBufferTime attribute defined              the byte range.
        in segment unit, the metadata comprising the minBuf                   15. A terminal for providing media content including one
        ferTime attribute indicating the minimum amount of            65   or more periods, the terminal comprising:
        initially buffered media content that is required to ensure          an access engine to receive metadata of the media content,
        playout of the media content,                                           and to receive bytes designated by a range attribute from
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                                91                                      92
       a Uniform Resource Locator (URL) indicated by a URL
       attribute, the metadata comprising the URL attribute and
       the range attribute,
     wherein the metadata is a media presentation description
       (MPD) that provides descriptive information that
       enables a client to select one or more representations;
        and
     a media engine to play back the media content using the
       received bytes,
     wherein the range attribute indicates multiple byte ranges,   10
        and
   wherein the multiple range bytes allow virtual segments to be
   downloaded.
     16. The terminal of claim 15, wherein the metadata is the
   Media Presentation Description of the media content.            15
      17. The terminal of claim 15, wherein each of the periods
   comprises one or more representations of the media content,
   each of the representations being a structured collection of
   one or more media components within a period,
      wherein each of the representations comprises one or more
         segments, and
      wherein the bytes designated by the range attribute desig
        nate segments of the media content.
      18. The terminal of claim 15, wherein the bytes are
   received by a partial HTTP GET command for the URL              25
   instructed by the byte range.
                         k   k   k   k   k
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                              EXHIBIT H
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                                    15941
                                                                                                     US009467493B2


   (12) United States Patent                                                      (10) Patent No.:                US 9,467,493 B2
          Thang et al.                                                            (45) Date of Patent:                      *Oct. 11, 2016
   (54) APPARATUS AND METHOD FOR                                             (52) U.S. Cl.
        PROVIDING STREAMING CONTENT                                                  CPC ....... H04L 65/608 (2013.01); H04L 29/06027
   (71) Applicants: Electronics and Telecommunications                                            (2013.01); H04L 65/4084 (2013.01);
                    Research Institute, Daejeon (KR):
                      INDUSTRY UNIVERSITY                                                           (Continued)
                      COOPERATION FOUNDATION                                 (58) Field of Classification Search
                      KOREAAEROSPACE                                              USPC ......... 709/203, 217 218, 223 229, 231, 236
                   UNIVERSITY, Goyang-si Gyeonggi-do                              See application file for complete search history.
                   (KR)                                                      (56)                     References Cited
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                   Jun Bae, Daejeon (KR); Jung Won
                   Kang, Daejeon (KR); Soon Heung                                   7,512,665 B1*      3/2009 Cragun ............... GO6F 17,3089
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                   Industry-University Cooperation                           EP                 1302869 A1        4/2003
                   Foundation Korea Aerospace                                JP              2005071318 A         3, 2005
                   University, Gyeonggi-do (KR)
   (*) Notice: Subject to any disclaimer, the term of this                                        OTHER PUBLICATIONS
                   patent is extended or adjusted under 35
                   U.S.C. 154(b) by 270 days.                                Ying Chen et al., “Response to the CfF on HTTP Streaming:
                   This patent is Subject to a terminal dis                  Adaptive Video Streaming based on AVC.” International Organisa
                      claimer.                                               tion for Standardisation, Jul. 2010, pp. 1-20, ISO/IEC JTC1/SC29/
   (21) Appl. No.: 14/146,500                                                WG11, MPEG2010/MIT909, Qualcomm Incorporated, Geneva,
   (22) Filed:     Jan. 2, 2014                                              Switzerland.
   (65)                 Prior Publication Data
                                                                                                    (Continued)
          US 2014/O122739 A1          May 1, 2014
               Related U.S. Application Data                                 Primary Examiner — Zarni Maung
                                                                             (74) Attorney, Agent, or Firm — William Park &
   (63) Continuation of application No. 13/820,955, filed as                 Associates Ltd.
        application No. PCT/KR2011/006573 on Sep. 6,
          2011, now Pat. No. 8,645,562.                                      (57)                       ABSTRACT
   (60) Provisional application No. 61/380.277, filed on Sep.                A method and apparatus for an adaptive Hypertext Transfer
        6, 2010, provisional application No. 61/390,328, filed               Protocol (HTTP) streaming service using metadata of con
                          (Continued)                                        tent are provided. The metadata may include one or more
   (30)          Foreign Application Priority Data                           BaselJRL elements. Uniform Resource Locators (URLs) of
                                                                             segments forming media may be generated based on the
                                                                             BaselJRL elements. Additionally, a URL of a segment may
       Sep. 6, 2011    (KR) ........................ 10-2011-0089923         be generated by mapping a BaselJRL element among the
   (51) Int. Cl.                                                             BaselJRL elements to a sourceURL attribute of the segment.
          G06F 5/16              (2006.01)                                   Segments indicated by generated URLs may be identical to
          H04L 29/06             (2006.01)                                   each other.
                           (Continued)                                                           12 Claims, 6 Drawing Sheets
                                                     100                                    10

                                                TERMINAL                              SERVER

                                                                METADATA 120

                                           PROCESS METALDATA

                                                           REQUEST FOR SEGMENT 140

                                                                       145          PARSE MEDIA

                                                                SEGMENTS 150

                                           PERFORMIDECODNG
                                            AND RENDERING
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                                                              Page 2

                 Related U.S. Application Data                                      (2013.01); H04N 21/6125 (2013.01); H04N
          on Oct. 6, 2010, provisional application No. 61/405,                    21/6175 (2013.01); H04N 21/6581 (2013.01);
          674, filed on Oct. 22, 2010, provisional application                          H04N 2 1/84 (2013.01); H04N 2 1/8543
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          application No. 61/417.931, filed on Nov. 30, 2010,      (56)                   References Cited
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          19, 2011.                                                                 U.S. PATENT DOCUMENTS

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          H04L 29/08             (2006.01)                                                                                   707/709
          H04N 2L/2343           (2011.01)                                8,645,562 B2 * 2/2014 Thang ................ HO4N 21/61.25
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          H04N 2L/472            (2011.01)                                                                                   TO9/230
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          H04N 2L/8.543          (2011.01)
          GO6F 12/00             (2006.01)                                            OTHER PUBLICATIONS
          HO4N 2 1/43            (2011.01)
   (52)   U.S. C.                                                  “Universal Mobile Telecommunications System.” ETSI TS 126
          CPC ............. H04L65/607 (2013.01); H04L 67/02       234, Jun. 2010, pp. 1-184, V9.3.0, Sophia Antipolis Cedex, France.
                 (2013.01); H04N 21/23439 (2013.01); H04N
                         21/26258 (2013.01); H04N 2 1/47202        * cited by examiner
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                                          FIG 1

                        100                                   110

                    TERMINAL                                SERVER

                                   METADATA 120

              PROCESS METADATA

                              REQUEST FOR SEGMENT 140

                                                          PARSE MEDIA

                                       SEGMENTS 150

              PERFORM DECODING
                AND RENDERING
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                                            FIG 2



                      General info
            Content info, live or VoD, length,
                           etc.



                    QoS-related info                          Client request
                                                               Client-based
                Alternatives: quality and                      Server-based
                     characteristics                            Distributed


                  Data mapping info
             Mapping alternative to physical
                    data fragments
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                                            FIG 4


                                  Stream of TS packet
                                   XXXX




                            Offset 1          First TS packet of
                                                new fragment
              TS packet with
                PCR field
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                                       FIGS

                                        1 OO




                    CONTROLLER                 TRANSCEIVER
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                                                      US 9,467,493 B2
                                1.                                                                  2
             APPARATUS AND METHOD FOR                                     Identical segments may be accessible at multiple locations
            PROVIDING STREAMING CONTENT                                 indicated by URLs resolved with respect to the respective
                                                                        BaselJRL elements.
                      TECHNICAL FIELD                                     A first BaselJRL element among the BaselJRL elements
                                                                        may be used as a basic Universal Resource Indicator (URI),
                                                                        and BaselJRL elements other than the first BaselJRL ele
     The present invention relates to a technology for provid           ment may be used as alternative BaselJRL elements.
   ing streaming content, and more particularly, to an apparatus           The metadata may selectively include a sourceURL attri
   and method for providing media content using adaptive                bute of the segment. When the metadata selectively includes
   streaming.                                                      10   the sourceURL attribute of the segment, a BaselJRL element
                                                                        among the BaselJRL elements may be mapped to the
                     BACKGROUND ART                                     sourceURL attribute, so that the URL may be generated.
                                                                           The metadata may be a Media Presentation Description
      Streaming is one of schemes for transmitting and playing          (MPD) of the media.
   back multimedia content such as Sounds, moving images,                  The media may include a sequence of one or more
   and the like. A client may play back content while receiving
                                                                   15   periods.
   the content through the streaming.                                      A BaselJRL element may include one or more MPD level
      An adaptive streaming service refers to providing a               BaselJRL elements of the MPD, and one or more period
   streaming service employing a communication scheme with              level BaselJRL elements of the periods.
                                                                           AURL of a segment included in each of the periods may
   a request of a client and a response of a server in response         be resolved with respect to a period level BaselJRL element.
   to the request.                                                         The period level BaselJRL elements may be resolved with
      The client may request a media sequence Suitable for an           respect to the MPD level BaselJRL elements.
   environment of the client (for example, a transmission                  Each of the periods may include one or more groups.
   channel of the client), using the adaptive streaming service.           The BaselJRL element may further include one or more
   The server may provide a media sequence matched to the          25   group level BaselJRL elements of the groups.
   request of the client among media sequences with various                A URL of a segment included in each of the groups may
   qualities that are included in the server.                           be resolved with respect to a group level BaselJRL element.
      The adaptive streaming service may be provided based on              The group level BaselJRL elements may be resolved with
   various protocols.                                                   respect to the period level BaselJRL elements.
                                                                   30
                                                                           Each of the groups may include one or more representa
      A Hypertext Transfer Protocol (HTTP) adaptive stream              tions.
   ing service refers to an adaptive streaming service provided            Each of the representations may be a structured collection
   based on an HTTP protocol. A client of the HTTP adaptive             of one or more components of the media within a period.
   streaming service may receive content from a server using              The BaselJRL element may further include one or more
   the HTTP protocol, and may transmit a request associated             representation level BaselJRL elements of the representa
                                                                   35   tions
   with a streaming service to the server.
                                                                           AURL of a segment included in each of the representa
                DISCLOSURE OF INVENTION                                 tions may be resolved with respect to a representation level
                                                                        BaselJRL element.
                         Technical Goals                                   The representation level BaselJRL elements may be
                                                                   40   resolved with respect to the group level BaselJRL elements
                                                                        or the period level BaselJRL elements.
     An aspect of the present invention provides an apparatus              According to another aspect of the present invention,
   and method that may interpret a Uniform Resource Locator             there is provided a terminal, including: an access engine to
   (URL) of a segment using one or more BaselJRL elements               receive metadata of media, to send a request for a segment
   during playback of content.                                     45   of the media using a Uniform Resource Locator (URL) of
     Another aspect of the present invention provides an                the segment, to receive the segment, and to decode data of
   apparatus and method that may generate a URL of a segment            the media that is included in the segment, the metadata
   by mapping a BaselJRL element among one or more                      including one or more BaselJRL elements, and the URL
   BaselJRL elements to a sourceURL attribute of the segment.           being resolved with respect to a BaselJRL element; and a
                                                                   50
                                                                        media engine to receive the data of the media from the
                       Technical Solutions                              access engine, and to output the media.
                                                                                          Effect of the Invention
      According to an aspect of the present invention, there is
   provided a method for providing media, the method includ               According to embodiments of the present invention, it is
   ing: receiving metadata of media, the metadata including        55   possible to interpret a Uniform Resource Locator (URL) of
   one or more BaselJRL elements; sending a request for a               a segment using one or more BaselJRL elements during
   segment of the media using a Uniform Resource Locator                playback of content.
   (URL) of the segment, the URL being resolved with respect              Additionally, according to embodiments of the present
   to a BaselJRL element; receiving the segment; and decoding           invention, it is possible to generate a URL of a segment by
   and rendering data of the media that is included in the         60   mapping a BaselJRL element among one or more BaselJRL
   Segment.                                                             elements to a sourceURL attribute of the segment.
     The request may be sent using an HTTP GET method.
     The metadata may include a range attribute.                                 BRIEF DESCRIPTION OF DRAWINGS
     The request may include a request for bytes of a resource
   indicated by the URL that are designated by the range           65     FIG. 1 is a signal flowchart illustrating a content process
   attribute.                                                           ing method according to an embodiment of the present
     The URL may be an absolute URL or a relative URL.                  invention.
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                              3                                                                      4
     FIG. 2 is a diagram illustrating categories of signaling               One or more intervals may be a basic unit. One or more
   information according to an embodiment of the present                 intervals may be described by signaling metadata. In other
   invention.                                                            words, metadata may describe each of the one or more
      FIG. 3 is a diagram illustrating a hierarchy of content            intervals.
   division and levels of signaling information according to an     5       The metadata may be an MPD.
   embodiment of the present invention.                                     The MPD may define a format to announce resource
      FIG. 4 is a diagram illustrating detection of virtual bound        identifiers for segments.
   aries in a Moving Picture Experts Group-2 Transport Stream               The MPD may provide a context for identified resources
   (MPEG-2 TS) according to an embodiment of the present                 within the media presentation. The resource identifiers may
   invention.                                                       10   be HTTP-Uniform Resource Locators (URLs). URLs may
      FIG. 5 is a diagram illustrating a configuration of a              be restricted by a byte range attribute.
   terminal 100 according to an embodiment of the present                   Each interval may be divided into fragments.
   invention.
                                                                            Fragments may be interchangeable with segments. The
      FIG. 6 is a diagram illustrating a configuration of a              term segment may be used as a term of 3GPP adaptive HTTP
                                                                    15   streaming.
   terminal 100 according to an embodiment of the present                   A segment may refer to an entity body of a response to an
   invention.                                                            HTTP/1.1 GET request for an HTTP-URL, for example as
          BEST MODE FOR CARRYING OUT THE
                                                                         defined in RFC 2616, (or a GET request for a part indicated
                                                                         by a byte range).
                    INVENTION                                               A terminal may play back media content using received
                                                                         bytes (namely, a segment).
     Reference will now be made in detail to embodiments of                 A sub-segment may refer to a smallest unit within seg
   the present invention, examples of which are illustrated in           ments that may be indexed by a segment index at the
   the accompanying drawings, wherein like reference numer               segment level.
   als refer to the like elements throughout. The embodiments       25      Two or more sets of fragments corresponding to a single
   are described below in order to explain the present invention         interval may exist. Each of the sets may be called an
   by referring to the figures.                                          alternative.
      A Dynamic Adaptive Streaming over HTTP (DASH) may                     An alternative may be interchangeable with a represen
   specify formats that enable 1) delivery of media content              tation (or an expression).
   from an HTTP server to an HTTP client, and enable 2)             30      Each period may include one or more groups.
   caching of content by standard HTTP cashes.                              Each group may include one or more representations of
      A media component may be an encoded version of                     the same media content.
   individual media types, such as audios, videos, or timed                 A representation may refer to a structured collection of
   texts with specific attributes, for example bandwidths, lan           one or more media components within a single period. A
   guages, or resolutions.
                                                                    35   representation may be one of alternative choices of the
      Media content may be a set of media components having              media content or a Subset of the media content typically
                                                                         differing by the encoding choice, for example by a bitrate, a
   a common timeline, for example audios, videos, or timed               resolution, a language, a codec, and the like.
   texts. Additionally, media components may have relation                  An MPD (or an MPD element) may provide descriptive
   ships on how the media components may be presented (for          40   information that enables a client to select one or more
   example, individually, jointly, or mutually exclusive) as             representations.
   programs or movies.                                                      A Random Access Point (RAP) may be a specific location
      Media content and content may be used as interchange               in a media segment. The RAP may be identified as a location
   able terms.                                                           in which playback may be started continuously from a
     A media presentation (or media) may be a structured            45   location of the RAP using only information included in a
   collection of data used to establish bounded or unbounded             media segment.
   presentation of media content including components of                    Each representation may be formed of one or more
   continuous media.                                                     segments. In other words, a representation may include one
     In other words, the media presentation may be a struc               or more segments.
   tured collection of data that is accessible to a DASH client     50      An MPD may be a document including metadata required
   in order to provide a streaming service to a user.                    to a DASH client to form appropriate HTTP-URLs in order
      A Media Presentation Description (MPD) may be a for                to 1) access segments and to 2) provide a user with a
   malized description for a media presentation.                         streaming service. The HTTP-URLs may be absolute or
                                                                         relative.
      The media presentation may be described by an MPD             55     The MPD may be an Extensible Markup Language
   including possible updates of the MPD.
      Content may be content on demand, or live content.                 (XML)-document.
      The content may be divided into one or more intervals. In            The MPD may include an MPD element. The MPD may
                                                                         include only a single MPD element.
   other words, the content may include one or more intervals.             FIG. 1 is a signal flowchart illustrating a content process
      Intervals may be interchangeable with periods. The term       60   ing method according to an embodiment of the present
   period may be used as a term of 3" Generation Partnership             invention.
   Project (3GPP) adaptive HTTP streaming.                                 A terminal 100 may be a DASH client.
      A period may be an interval of a media presentation. A               The DASH client may be compatible with a client speci
   continuous sequence of all periods may constitute the media           fied in RFC 2616.
   presentation.                                                    65     The DASH client may typically use an HTTP GET
      In other words, the media presentation may include a               method or an HTTP partial GET method, as specified in
   sequence of one or more periods.                                      RFC 2616, to access segments or parts of segments.
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                              5                                                                       6
     A server 110 may perform hosting on DASH segments.                    The terminal 100 may play back the media using the
   The server 110 may be compatible with a server specified in          received segments by repeating operations 120 through 160.
   RFC 2616.                                                               Here, a BaselJRL element may include an MPD level
      In operation 120, the terminal 100 may receive metadata           BaselJRL element of an MPD, and a period level BaseURL
   of media (or content) from the server 110. In other words,           element of each period. The period level BaselJRL element
   the server 110 may transmit the metadata of the media to the         may refer to a BaselJRL element applied to a period to
   terminal 100.                                                        which the period level BaselJRL element belongs. In other
      The metadata may include BaselJRL elements. One or                words, a URL of a segment included in each period may be
   more BaselJRL elements may be provided.                         10
                                                                        resolved with respect to the period level BaselJRL element.
      In operation 130, the terminal 100 may process the                   One or more MPD level BaselJRL elements may be
   received metadata. In operation 130, the terminal 100 may            provided, and one or more period level BaselJRL elements
   extract information provided by the metadata, or informa             may be provided.
   tion included in the metadata.                                          Additionally, the BaselJRL element may further include a
      In operations 140 through 150, the terminal 100 may          15   group level BaselJRL element of a group. A URL of a
   access a segment of the media based on the information               segment included in each group may be resolved with
   provided by the metadata.                                            respect to the group level BaselJRL element. One or more
      Each period may include one or more groups, and each of           group level BaselJRL elements may be provided.
   the groups may include one or more representations of the               The BaselJRL element may further include a representa
   media. Each of the representations may include one or more           tion level BaselJRL element of a representation. A URL of
   Segments.                                                            a segment included in each representation may be resolved
      The metadata may describe a group element describing              with respect to the representation level BaselJRL element.
   each of the groups.                                                     A BaselJRL element of a specific level may be resolved
      In operation 140, the terminal 100 may send a request for         with respect to a BaselJRL element of a higher level. For
   a segment of the media to the server 110 using a URL of the     25   example, a period level BaselJRL element may be resolved
   segment. The URL may be resolved with respect to one of              with respect to an MPD level BaselJRL element. A group
   the above-described BaselJRL elements. For example, the              level BaselJRL element may be resolved with respect to a
   URL of the segment may be generated based on a BaseURL               period level BaselJRL element. A representation level
   element.                                                             BaselJRL element may be resolved with respect to a group
     The terminal 100 may request the server 110 to transmit       30   level BaselJRL element or a period level BaselJRL element.
   a segment Suitable for a specific interval based on the                 FIG. 2 is a diagram illustrating categories of signaling
   processed metadata. In other words, the requested segment            information according to an embodiment of the present
   may be selected based on the metadata. The request may be            invention.
   sent using the HTTP GET method.                                        The signaling information (namely, metadata) may be
     The metadata may include a range attribute. The request       35   divided into the following categories 1) through 4):
   may include a request for bytes of a resource indicated by a            1) General information 210: includes common description
   URL that are designated by the range attribute.                      of content, and general description of each interval. Such as
     The URL of the segment may be an absolute URL or a                 a duration, and a start time.
   relative URL.                                                          2) Quality of Service (QoS) information 220: describes
      Identical segments may be accessible at multiple locations   40   characteristics of each alternative, such as a bitrate, a reso
   indicated by URLs resolved with respect to the respective            lution, and a quality. In other words, the QoS information
   BaseURL elements. In other words, identical segments may             describes characteristics of each of alternatives of content.
   be selectively accessible by the URLs provided by the                   An alternative may be physical (namely, created in
   BaselJRL elements.                                                   advance), or may be virtual (namely, to be created on the
     Additionally, a first BaselJRL element among the              45   fly). Based on information of alternatives, the client may
   BaselJRL elements may be used as a basic Universal                   select a fragment of an appropriate alternative. Accordingly,
   Resource Indicator (URI), and BaselJRL elements other                adaptivity to contexts of terminals and networks may be
   than the first BaselJRL element may be used as alternative           Supported.
   BaselJRL elements.                                                      3) Mapping information 230: describes locations to
      The metadata may selectively include a sourceURL attri       50   retrieve content. Depending on specific cases, different
   bute of the segment. When the metadata selectively includes          alternatives may have the same or different locations.
   the sourceURL attribute of the segment, a BaselJRL element              4) Client request 240: this type of signaling information
   among the BaselJRL elements may be mapped to the                     may conform to a format of HTTP 1.1 request message. As
   sourceURL attribute, so that the URL of the segment may be           shown in FIG. 1, parameters requested by the client may be
   generated.                                                      55   derived from the information of categories 1) through 3).
      In operation 145, in several cases, the server 110 may               FIG. 3 is a diagram illustrating a hierarchy of content
   need to parse content (for example, a Moving Picture                 division and levels of signaling information according to an
   Experts Group (MPEG) layer 4 (MP4) file for Scalable                 embodiment of the present invention.
   Video Coding (SVC)), and may extract a data part suitable               Signaling of metadata according to an embodiment of the
   for the requested segment.                                      60   present invention may be physically separated into content
      In operation 150, the server 110 may transmit, to the             level information 310, interval-level information 320, QoS
   terminal 100, segments suitable for each request from the            information 330, and mapping information 340. Linking of
   terminal 100. The terminal 100 may receive the segments              related parts of the content-level information 310, the inter
   from the server.                                                     val-level information 320, the QoS information 330, and the
      In operation 160, the terminal 100 may perform decoding      65   mapping information 340 may be performed by reference.
   and rendering on data of the media included in the segment,             These parts of signaling information may be combined in
   to play back the media.                                              different ways to support the flexibility.
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      For example, when only the content-level information          profile based on an MPEG-21 and similar schema. On the
   310 and interval-level information 320 are sent to a client,     other hand, pseudo-code syntax may be based on a “lan
   all computations for deciding alternatives and resolving guage' of an International Organization for Standardization
   locations may be performed by a server. Accordingly, when (ISO) base media file format and the like, and may be used
   only the content-level information 310 and interval-level in non-XML clients. In particular, a profile of the pseudo
   information 320 are sent to the client, a processing model code syntax may employ a parsing module similar to a
   may be “server-based.”                                           parsing module of file-format parsing. To design the syntax
      When the content-level information 310, the interval          for the above purpose, a table of common elements may be
   level information 320, and the QoS information 330 are sent defined and elements in each format may be represented, in
   to the client, all computations for deciding alternatives and 10 the following embodiments.
   resolving locations may be distributed and performed by the         The proposed syntax may be represented by any other
   client and the server. Accordingly, when the content-level languages.
   information 310, the interval-level information 320, and the        Hereinafter, tables of general syntax elements will be
   QoS information 330 are sent to the client, the model may described.
   be “distributed.                                              15. In the column of occurrence, “O ... N” may mean that the
      When all the signaling information (namely, the content number of instances of an occurrence element may be from
   level information 310, the interval-level information 320,       0 to “unbounded.” The minimum occurrence of 0 may mean
   the QoS information 330, and the mapping information 340) that an element may be optional (namely, not present). A
   is sent to the client, the model may be client-based, because minimum occurrence equal to or greater than 1 may mean
   most (or all) processing (namely, computations for deciding 20 that an element is mandatory in the syntax.
   alternatives and resolving locations) is performed by the           Occurrence may be interchangeable with cardinality.
   client.                                                             In a row of type, A indicates an attribute, and E indicates
      The separation of metadata parts may enable efficiency in an element. In a row of optionality, Mindicates mandatory,
   storage and delivery. For example, during a session, meta and O indicates optional. For attributes, M indicates man
   data of the content-level information 310 may be sent once, 25 datory, O indicates optional, OD indicates optional with
   and only the interval-level information 320 may be periodi default value, and CM indicates conditionally mandatory.
   cally updated. Similarly, a single file containing the QoSInfo For elements, elements may be represented as
   330 may be used for different intervals and different con <minOccurs                     <maxOccurs. Here, N may be
   tentS.                                                                  unbounded.
     There are different ways to represent a set of metadata, for 30 The above meaning may equally be applied to other tables
   example XML, pseudo-code, a Session Description Protocol in the present specification.
   (SDP), and the like.                                              Additionally, QoSInfo may be also called AdaptationInfo
     In embodiments of the present invention, both XML and to make QoSInfo more specific. Moreover, a few elements
   pseudo-code may be used to represent signaling syntax. may be revised to increase flexibility of the syntax.
   XML syntax may be used for clients that support an XLM            The following Table 1 describes general information.
                                                                          TABLE 1.
                                                                                                                 XML syntax      Pseudo-code
                                                                                                                 (based on       (File format
                                                            Occurrence   Semantics                               MPEG-21)        box)
               HttpStr                                      1            Describes the top-level element of    HttpStreamingType https
                                                                         signaling metadata for HTTP streaming                   box
                         Generallnfo                        O...N        Contains the general information of   General InfoType   geni
                                                                         the described content                                   box
                                       TimeScale            O. ... 1     Describes the number of time units      integer         unsigned
                                                                         in 1 second.                                            int(32)
                                                                         This value is used with time-related
                                                                         elements, when a time unit is not
                                                                         specified.
                                       LiveStartTime        O. ... 1     f LiveStartTime element is not          dateTime        unsigned
                                                                         present, the content is of VoD type.                    int(64)
                                                                         The presence of LiveStartTime
                                                                         element indicates a live content that
                                                                         is to be displayed at a time value of
                                                                         LiveStartTime.
                                                                         f LiveStartTime has a time value of
                                                                         O, the display time is unknown.
                                       Duration             O. ... 1      f present, indicates duration of the   integer         unsigned
                                                                         content. Otherwise, the duration is                     int(32)
                                                                           KOW.
                                       DefaultintDuration   O. ... 1     f present, indicates a default          integer         unsigned
                                                                         duration of each interval of the                        int(32)
                                                                         content.
                                       MinUpdateTime        O. ... 1      f present, indicates the minimum       integer         unsigned
                                                                         waiting time before requesting the                      int(32)
                                                                         main description file again.
                                       ConsistentQoSInfo    O. ... 1      f true, indicates that QoS             boolean         flag of
                                                                         information is the same as the                          the box
                                                                         whole content duration.
                                       DefaultContentLoc    O. ... 1     Provides a default location for the     anyURI          String
                                                                         content.                                                of URL
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                                                         TABLE 1-continued
                                                                                                   XML syntax          Pseudo-code
                                                                                                   (based on           (File format
                                              Occurrence    Semantics                              MPEG-21)            box)
        IntervalsRef                          O... N        Provides reference to description      Intervals            ref
                                                            containing one or more instances of    RefType             box
                                                             interval element.
                                                            One or more instances of Interval
                                                            element represent a sequence of
                                                            consecutive interval(s).
        Interval                              O... N        Provides information of an interval    IntervalType
                                                            of content.
                                                            The information of the interval may
                                                            be either included as an instance of
                                                             interval element or referenced by
                                                             intervalsRefelement.
                       IntervalInfo           O. ... 1      Provides general information of an     IntervalInfoType     inti
                                                            interval.                                                  box
                       QoSInfoRef             O. ... 1      Provides reference to description      dia:ReferenceType    qref
                                                            represented by QoSInfo element.                            box
                                                             f QoSInfoRefelement is present,
                                                            QoSInfo element may not be
                                                            present at the same level.
                       QoSInfo                O. ... 1      Provides information about             QoSInfoType         *QoSi
                                                            alternatives of content, such as                           box
                                                            resource characteristics and
                                                            quality futility.
                                                             f QoSInfo element is present,
                                                            QoSInfoRef element may not be
                                                             resent.
                       MappingInfoRef         O. ... 1      Provides reference to description      dia:ReferenceType    mref.
                                                            represented by MappingInfo                                 box
                                                            element.
                                                             f MappingInfoRef element is
                                                            present, MappingInfo element may
                                                            not be present at the same level.
                       MappingInfo            O. ... 1      Provides information about             MappingInfoType      mapi
                                                            ocations of content alternatives.                          box
                                                             f the information is not provided,
                                                            DefaultContentIntLoc element (if
                                                            not, DefaultContentLoc) can be
                                                            used to retrieve content.
                                                             f MappingInfo element is present,
                                                            MappingInfoRefelement may not
                                                            be resent.
                       NextIntervalsRef       O. ... 1      Provides reference to information of   Intervals            nref
                                                            next interval(s).                      RefType, may        box
                                                            The information of next interval(s)    be extended from
                                                            is description containing one or       dia:ReferenceType
                                                            more instances of Interval element.
                                                            The information of next interval(s)
                                                            is description represented by
                                                             interval element.
                                                            Using NextIntervalsRefelement,
                                                             he client does not need to reload
                                                             he main description represented by
                                                            HttpStr element.
                                                            Within the current time window,
                                                            only the final interval may contain
                                                            NextIntervalsRef element.
                       PreviousIntervalsRef   O. ... 1      Provides reference to information of   Intervals            nref
                                                            previous interval(s).                  RefType, may        box
                                                            The information of next interval(s)    be extended from
                                                            is description containing one or       dia:ReferenceType
                                                            more instances of Interval element.
                                                            Using PreviousIntervalsRef
                                                            element, the client does not need to
                                                            reload the main description
                                                            represented by HttpStr element.
                                                            Within the current time window,
                                                            only the first interval may contain
                                                            NextIntervalsRef element.
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     The following Table 2 describes IntervalsRef. NextInter
   valsRef. PreviousIntervalsRef, QoSInfoRef, Mapping In
   foRefa, and Intervalnfo.
                                                                     TABLE 2
                                                                                                                XML syntax              Pseudo
                                                                                                                 (based on              code (File
                                                     Occurrence       Semantics                                 MPEG-21)                format box)
   QoSInfoRef,               Index                   1               Indicates the order (starting from 1) not                          unsigned
   MappingInfoRef                                                    of the referenced description or box applicable                    int(8)
                                                                     (Interval, QoSInfo, MappingInfo) in
                                                                     the description file referenced by the
                                                                      next Location element.
                             Location                1                Provides reference to description         uri element in          String
                                                                     represented by Interval, QoSInfo, or dia:ReferenceType             (representing
                                                                     MappingInfo.                                                       url)
   IntervalInfo              TimeScale               O. ... 1         Describes the number of time units in integer                     unsigned
                                                                      one second. This value is used with                               int(32)
                                                                     time-related elements, when a time
                                                                     unit is not specified.
                                                                     TimeScale element, if present,
                                                                     overrides the time scale provided by
                                                                      Generalnfo.
                             StartTime               O. ... 1          indicates the start time of the
                                                                      interval.
                             Duration                O. ... 1         (ndicates the duration of the interval. integer                   unsigned
                                                                                                                                        int(32)
                             DefaultFrag|Duration    O... 1            indicates the default duration of        integer                 unsigned
                                                                      ragments of the interval (except the                              int(32)
                                                                      ast fragment).
                             DefaultContentIntLoc    O... 1           Provides a default location for the       anyURItype              String
                                                                      content interval.
                             Last                    O. ... 1          f true, indicates the final interval of boolean                  by flag
                                                                       he content.
   IntervalsRef,             startTime                                 indicates the start time of the          XS:duration
   PreviousIntervalsRef                                               referenced sequence of
   NextIntervalRef                                                    intervals/periods relative to the start
                                                                       ime of the content (LiveStartTime
                                                                       or live content and 0 for on-demand
                                                                      content).
                             AvailableTime           O. ... 1          indicates the time the description of integer                    unsigned
                                                                       he next interval is available. The is                            int(32)
                                                                       he relative time from the start time
                                                                      of the content.
                             Index                   1                indicates the order (starting from 1) not                         unsigned
                                                                     of the referenced interval description applicable                  int(8)
                                                                     (or box) in the description file
                                                                     referenced by the next Location
                                                                      element.
                             Location                1               Provides reference to description file SX:anyURI                   String
                                                                     that contains Interval descriptions. type or                       (representing
                                                                                                                uri element in          url)
                                                                                                                dia:ReferenceType


         The following Table 3 describes the QoSInfo element.
                                                                    TABLE 3
                                                                                                           XML syntax                 Pseudo-code
                                                                                                            (based on                 (File format
                                                Occurrence      Semantics                                   MPEG-21)                  box)
   QoSInfo                                      1               Provides information about a list of QoSInfoType                      *QoSi
                                                                content alternatives, such as        containing a                     box
                                                                resource characteristics and               UtilityFunction of
                                                                quality futility.                           dia:AdaptiveOOSType
                  Class SchemeRef               O. ... 1        Provides a list of classification           dia:Description           cSmr
                                                                Schemes.                                    MetadataType              box
                                                                The classification schemes provide
                                                                Semantics for some terms or names.
                                         scheme 1 ... N         Provides reference to a                    Attr. alias & href         a url
                                                                classification scheme.                      in dia:Description        String
                                                                                                            MetadataType
   (1)            Resource                      O...N           Each instance of Resource element           Element constraint        resi
                                                                describes, for a list of alternatives,     of dia:UF                  box
                                                                characteristic values of a certain          Data Type
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                                       13                                                                                           14
                                                           TABLE 3-continued
                                                                                                             XML syntax                   Pseudo-code
                                                                                                             (based on                    (File format
                                              Occurrence        Semantics                                    MPEG-21)                     box)
                                                                resource type (e.g., bitrate).               in DIA Utility
                                                                                                             FunctionType
   (2)         AdaptationOperator             O...N             Each instance of                             dia:UF                        adpo
                                                                AdaptationOperator element                   Data Type                    box
                                                                describes, for a list of alternatives,
                                                                values of a certain adaptation type
                                                                (e.g., remove temporal layers).
   (3)         Utility                        O...N             Each instance of Utility element             dia:UF                        util
                                                                describes, for a list of alternatives,       Data Type                    box
                                                                values in a certain quality futility
                                                                type (e.g., MOS).
               UtilityRank                    O. ... 1          Describes the quality ranking for a          dia:UtilityRank               utir.
                                                                list of alternatives.                        Type                         box
                                    Value        1...N          Indicates the quality futility rank          integer                      unsigned
                                                                of an alternative.                                                        int(16)
                                                                The number of instances of Value
                                                                element is equal to the number of
                                                                alternatives.



     The following Table 4 shows common semantics of (1)
   Resource, (2) AdaptationOperator, and (3) Utility of Table 3.
                                                          TABLE 4
                                                                                             XML syntax                  Pseudo-code
   Element (1),                                                                              (based on                   (File format
   (2), (3)       Name         Occurrence     Semantics                                      MPEG-21)                    box)
                               1              Describes an identifier for a                  Att.                        unsigned
                                              certain type of the element.                       iOPinRef,               int(32)
                                              When the identifier is not                     ref, a CS
                                              semantically defined by the above              tel
                                              embodiment, next three elements
                                              are used to find semantics of the
                                              identifier in a classification
                                              Scheme.
                  CSref ind    O... 1         Indicates the reference index of a             Not                         unsigned
                                              classification scheme in the list              applicable                  int(16)
                                              provided by ClassSchemeRef element.
                  LevelNum     O... 1         Indicates the number of levels.                Not                         unsigned
                                                                                             applicable                  int(16)
                  Levelindex   1 ... N        Each instance of Levelindex                    Not                         unsigned
                                              element represents an index value              applicable                  int(16)
                                              at a level of the classification
                                              Scheme.
                  Value        1 ...N         Indicates the value of a resource              a component in              unsigned
                                              type (adaptation operator, or                  dia:VectorData Type int(32)
                                              utility) of an alternative.
                                              The number of instances of Value
                                              element is equal to the number of
                                              alternatives.


                                                                                        50
         The following Table 5 shows mapping information.
                                                                   TABLE 5
                                                                                                       XML syntax                       Pseudo
                                                                                                       (based on                        code (File
                                            Occurrence        Semantics                                MPEG-21)                         format box)
   MappingInfo                              O.                                                         MappingInfoType                  mapibox
                  AlterLocID                O.                Provides a location ID for each          dia:IntegerVectorType            aloc'
                                                              alternative described in QoSInfo.                                         box
                                                              If AlterLocID element is not
                                                              present, the first location in the
                                                              location list may be used for all
                                                              alternatives.
                               Value        1 ...N            Indicates a location ID for an           integer                          unsigned
                                                              alternative.                                                              int(16)
                                                              The number of instances of this
                                                              element is equal to the number of
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                                   15                                                                                  16
                                                       TABLE 5-continued
                                                                                                XML syntax                Pseudo
                                                                                                (based on                 code (File
                                          Occurrence    Semantics                               MPEG-21)                  format box)
                                                        alternatives.
                                                        The n" instance of Value element
                                                        corresponds to the n" alternative
                                                        of QoSInfo description.
              ReqQoSPara                  O...N         indicates a parameter of QoSInfo        ReqQoS ParaType             reqp
                                                         hat may be put in the request (for that extends                  box
                                                        an alternative) sent by the client to dia:Boolean VectorType
                                                        he server.
                                                        A parameter may be an instance of
                                                        Resource, AdaptationOperator,
                                                        Utility, or UtilityRank elements.
                             Refndex      1              indicates instance index/reference represented by               unsigned
                                                        in the instance list of Resource,   attribute                    int(16)
                                                        AdaptationOperator, Utility and      iOPinRef that
                                                        UtilityRank elements.                   references an
                                                                                          IOPin in QoSInfo
                             All          1             f true, the parameter needs to be boolean                         flag
                                                        requested for all alternatives and
                                                        ReqFlag may be skipped.
                             ReqFlag      O. . . N      Each instance of ReqFlag element component of                    unsigned
                                                        corresponds to an alternative.      Boolean                      int(8)
                                                         f ReqFlag is true, the request for VectorType
                                                         he corresponding alternative has
                                                         he parameter identified above.
              LocationList                1             Provides a list of locations for        LocationListType            loc
                                                        retrieving content alternatives                                   box
                             Location     1...N         Provides information of a location LocationType                     loca
                                                                                                                          box


                                                                               30
      Semantics of Location elements may be further provided
   as shown in Table 6.
                                                                        TABLE 6
                                                                                                                     XML syntax
                                                                                                                     (based on            Pseudo
                                                                  Occurrence        Semantics                        DIA)                 code (MP4)
   Location                                                       O...N                                              LocationType          loca
                                                                                                                                          box
              LocID                                               1                 indicate an ID of an instance of integer              unsigned
                                                                                    Location element. Location                            int(16)
                                                                                    element is referred to by
                                                                                    AlterLocID.
              StrLocation                                         O...N             Provides location information    StrLocationType       sto
                                                                                    of a stream of a content                              box
                                                                                    interval.
                                                                                    Each stream is provided by
                                                                                    either a stream URL or a
                                                                                    number of fragment URLs.
                             FragNum                              O. ... 1          Provides the number of           integer              unsigned
                                                                                    ragments                                              int(16)
                             StreamUrl                            O. ... 1          Describes a URL of a stream      any URI type         string
                             FragmentUrl                          O...N             Describes a URL of a fragment. any URI type           string
                                                                                    The number of instances of
                                                                                    FragmentUrl element is the
                                                                                    number of fragments.
                             FragTime                             O. ... 1          Provides durations of            dia:VectorDataType    frtin
                                                                                    ragments.                                             box
                                              Value               1 ...N            indicates a duration of a        integer              unsigned
                                                                                    ragment.                                              int(32)
                                                                                    The number of instances of
                                                                                    Value element is the number of
                                                                                    ragments.
                             RandAccess                           O. ... 1          Describes fragments that         dia:VectorDataType    rdac
                                                                                    Support random access.                                box
                                              Value               1...N             indicates the order of a random- integer              unsigned
                                                                                    access fragment.                                      int(16)
                             MP2TSPara                            O. ... 1          Describes additional parameters MP2TSParaType         "mp2p
                                                                                    (beside URL) for locating a                           box
                                                                                    content program in a MPEG-2
                                                                                    TS.
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                                  17                                                                                     18
                                                                 TABLE 6-continued
                                                                                                                       XML syntax
                                                                                                                       (based on            Pseudo
                                                                   Occurrence      Semantics                           DIA)                 code (MP4)
                                              PID                  O...N            Describes values of PIDs of        integer              unsigned
                                                                                   content program in a MPEG-2                              int(16)
                                                                                   TS.
                             FragBoundaries                        O. ... 1        Describes boundaries of             FragBoundariesType    frbd
                                                                                    (virtual) fragments in a stream.                        box
                                                                                   The number of instances of
                                                                                   FragBoundaries element is
                                                                                   equal to the number of
                                                                                    ragments of the stream.
                                                                                   Only one type of following
                                                                                   elements is present in a
                                                                                   FragBoundaries instance.
                                              MP2TSBoundary 0 . . . N              Describes parameters for            MP2TSBoundaryType “mp2b
                                                                                   detecting (virtual) fragment                             box
                                                                                   boundary in a MPEG-2TS.
                                                                                    f there are two instances of
                                                                                   MP2TSBoundary element, the
                                                                                    wo instances are starting and
                                                                                   ending boundaries of a
                                                                                    ragment.
                                                                                    f there is only one instance of
                                                                                   MP2TSBoundary element, the
                                                                                   instance is the starting
                                                                                   boundary. The ending
                                                                                   boundary is right before the
                                                                                   starting boundary of the next
                                                                                    ragment.
                                              ISOFile:Boundary 1 ... 2             Describes parameters for        ISOFile:BoundaryType      isfb
                                                                                   detecting (virtual) fragment                             box
                                                                                   boundary in a file based on ISO
                                                                                    base media file format.
                                                                                     f there are two instances of
                                                                                    SOFile:Boundary element, the
                                                                                    wo instances are starting and
                                                                                   ending boundaries of a
                                                                                    ragment. If there is only one
                                                                                   instance of ISOFile:Boundary
                                                                                   element, the instance is the
                                                                                   starting boundary. The ending
                                                                                   boundary is right before the
                                                                                   starting boundary of the next
                                                                                    ragment.
                                              ByteRanges            1               Describes byte ranges that         ByteRanges.Type      brag
                                                                                   identify a partffragment of a                            box
                                                                                    ille.
                                                                                   Parameters provided by
                                                                                   ByteRanges element may be
                                                                                   used for byte range options in
                                                                                   an HTTP request.



     Semantics of MP2TSBoundary, ISOFileBoundary, and
   ByteRanges may be further provided as shown in Table 7.
                                                          TABLE 7
                                                                                                XML syntax             Pseudo
                                                                                                (based on              code
                                   Occurrence       Semantics                                   DIA)                   (MP4)
   MP2TSBoundary                                                                                MP2TSBoundaryType      “mp2b
                                                                                                                       box
                   PCR PID                          Describes PID carrying PCR of the           integer                unsigned
                                                    concerned contentiprogram.                                         int(16)
                   PCR base                         Describes a value of a PCR base             long                   unsigned
                                                    field                                                              int(40)
                   PCR ext                          Describes a value of a PCR                  integer                unsigned
                                                    extension field.                                                   int(16)
                   Appearance                       Describes the appearance order              integer                unsigned
                                                    (e.g., 1, 2) of the TS packet                                      int(16)
                                                    containing the PCR value identified
                                                    by the above two elements.
                                                    If there is resetting? discontinuity of
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                                                  TABLE 7-continued
                                                                                          XML syntax             Pseudo
                                                                                          (based on              code
                                     Occurrence   Semantics                               DIA)                   (MP4)
                                                  PCR, a PCR value may appear more
                                                  than once during an interval.
                      Media PID      1 ...N       Describes PID of a media (e.g.,  integer                       unsigned
                                                  video) of a program.                                           int(16)
                                                  The number of instances of
                                                  Media PID element is equal to the
                                                  number of media of the
                                                  program content.
                      Media Offset   1 ... N      Describes the offset (in TS packets integer                    unsigned
                                                  of the same media PID) from the                                int(16)
                                                  above identified PCR packet to the
                                                  first media packet of a fragment.
                                                  The n' instance of Media Offset is
                                                  associated with the n' instance of
                                                  Media PID.
   ISOFile:Boundary                                                                       ISOFile:BoundaryType    isfb
                                                                                                                 box
                      SequenceNo     1            Describes the sequence number      integer                     unsigned
                                                  provided in the mfhd box.                                      int(16)
                                                  The mfhd box defines a fragment of
                                                  an MP4 file.
                                                  SequenceNo with a value of 0
                                                  indicates the beginning of the file.
   ByteRanges                                                                             ByteRanges.Type         brag box
                      Start          1 ... N      Describes the starting value of a       integer                unsigned
                                                  byte range.                                                    int(32)
                                                  A value of -1 means that this value
                                                  in the HTTP request is missing.
                      End            1 ...N       Describes the ending value of a byte integer                   unsigned
                                                  range.                                                         int(32)
                                                  A value of -1 means that this value
                                                  in the HTTP request is missing.
                                                  Start-End instances are present in
                                                  pair.
                                                  The n' instance of End is associated
                                                  with the n" instance of Start.
                      Media PID      O...N        Describes PID of a media (e.g.,      integer                   unsigned
                                                  video) that needs to be extracted                              int(16)
                                                  from the byte range of the above
                                                  pair of Start-End.
                                                  Media PID element is used when
                                                  the byte range is a segment of
                                                  MPEG-2 TS, and all PIDs do not
                                                  need to be delivered.



      Hereinafter, a client request will be described.                               2) Distributed Scenario
      Signaling of metadata obtained by a client may include                 45      In the distributed scenario, the metadata provided from
   different parts or levels of signaling information. Accord                     the server to the client may include general content infor
   ingly, a request from the client to a server may include                       mation 310, general interval information 320, and QoS
                                                                                  information 330.
   parameters of different levels of details.                                        In addition to the above parameters, the following QoS
      Main parameters of the client may be URIs, and may be                  50
                                                                                  related parameters a) through c) are defined in the query part
   associated with a query part.                                                  (of the request in operation 140) to enable the client to
     Three main scenarios are examined as follows:
                                                                                  request an appropriate alternative:
                                                                                     a) “alter’’: Order value of an alternative. Based on the
      1) Server-Based Scenario                                                    order value of the alternative, the alternative may appear in
      In the server-based scenario, the metadata provided from                    the QoS information.
                                                                             55     b) “operl”, “oper2,..., and “operN”: “operi” carries a
   the server to the client may include general content infor                     value of an i' adaptation operation that appears in the QoS
   mation 310 and general interval information 320.                               information.
      For an URI of requested content, DefaultContentIntLoc                           c) “res1”, “res2, ..., “resN”: “resi' carries a value of an
   (if not, DefaultContentIntLoc) may be used. To enable the                      i" resource that appears in the QoS information.
   client to request a specific fragment of content, the following           60      Only one of the above three options may be used in a
   parameters a) and b) are defined in the query part (of the                     single request.
   request in operation 140):                                                        With typical adaptation operators and resource types,
      a) “fragno': Order value of the fragment in the interval                    specific parameter names for better intelligibility and
                                                                                  interoperability may be defined.
      b) “fragti’: Start time of the fragment in the interval                65      Adaptation operators are as the following a) through e).
      For example, a request URI may be “HTTP://server.com/                          a) audiolayers: indicates the number of Scalable audio
   file.mp4?fragno=5.”                                                            layers to be discarded.
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        b) temporallayers: indicates the number of temporal lay                                            TABLE 8
   ers of scalable video to be discarded.
                                                                                 <complexType name="HTTPStreamingType'>
        c) spatiallayers: indicates the number of spatial layers of                  <complexContent>
   scalable video to be discarded.                                                       <extension base="dia:DIADescriptionType">
        d) qualitylayers: indicates the number of quality layers of 5                         <sequences
                                                                                                   <element name="Generalnfo"
   scalable video to be discarded.                                                                 type="General InfoType" minOccurs="0">
        e) prioritylayers: indicates the number of priority layers of                              <choice minOccurs="O"
                                                                                                   maxOccurs="unbounded">
   scalable video to be discarded.                                                                     <element name="IntervalsRef"
     Resource types are as the following a) through d).                 10                               type="IntervalsRefType"/>
                                                                                                         <element name="Interval"
     a) bitrate: indicates the average bitrate (in Kbps) of the                                          type="IntervalType"/>
   requested alternative.                                                                          <choice>
     b) vertresolution: indicates the vertical resolution of the                         <sequence < complexContent>
   requested alternative.                                                        </complexType
                                                                        15
     c) horiresolution: indicates the horizontal resolution of the
   requested alternative.                                                      The following Table 9 shows syntax representation of
     d) framerate: indicates the framerate of the requested                  GeneralInfoType in the XML format.
   alternative.
                                                                                                           TABLE 9
      Using the pre-defined parameters, an example of a request
   URI based on the bitrate may be "http://server.com/                             <complexType name="General InfoType">
   file.mp4?fragno=5&bitrate=550.”                                                     <complexContent>
                                                                                           <extension base="dia:DIADescriptionType">
      3) Client-Based Scenario                                                                   <sequences
      In the client-based scenario, the metadata provided from                                         <element name="TimeScale"
   the server to the client may include general content, general        25                             type="integer" minOccurs="0">
                                                                                                       <element name="LiveStartTime
   interval information, QoS information, and mapping infor                                            type="dateTime" minoccurs="0"/>
   mation.                                                                                             <element name=''Duration
      The QoS-related parameters used in the request may be                                            type="integer" minOccurs="0">
                                                                                                       <element name="DefaultInturation"
   indicated by a ReqQoSPara part of QoSInfo metadata. For              30                             type="integer" minOccurs="0">
   example, when Refindex of ReqQoSPara is 0 or null, the                                              <element name="MinUpdateTime"
   “alter parameter may be used instead of other options.                                              type="integer" minOccurs="0">
                                                                                                       <element name="ConsistentQoSInfo"
      When ReqQoSPara is not present in the QoSInfo meta                                               type="boolean" minOccurs="0">
   data, the QoS-related parameters may not be used. Alterna                                           <element name="DefaultContentLoc'
   tives in this case may be implied by locations of Mapping                                           type="anyURI" minOccurs="0"/>
                                                                        35                      <sequences
   Info.                                                                                    <extension
     AURI of content may be derived from rich description of                           </complexContent>
   MappingInfo. When content/program is conveyed in an                             </complexType
   MPEG-2 TS, one or more PIDs may be used to locate the
   content in the stream.                                               40     The following Table 10 shows syntax representation of
     When additional information for detecting fragment                      IntervalRef Type in the XML format.
   boundaries are provided, the following parameters 1)
   through 3) for the query part (of the request in operation                                             TABLE 10
   140) may be used.                                                         <complexType name="IntervalsRefType's
      1) For an MPEG-2 TS boundary, Appearance, PCR PID,                45
                                                                                 <complexContent>
   PCR base, PCR ext, Media PID, and Media Offset                                    <extension base="dia:ReferenceType'>
                                                                                          <sequences
        2) For an ISO media file boundary, SequenceNo                                         <element name="AvaliableTime' type="integer
        3) For a file considered as a raw byte-sequence, Start and                            minOccurs="O'>
   End                                                                                    <sequences
                                                                        50                <attribute name='startTime' type="XS:duration'
     Semantics of the above parameters may be provided in                                 use="optional/>
   semantics of a FragEoundaries element.                                            <extension
                                                                                 </complexContent>
     Start-End pairs may be used by a range header of an                     <complexTypes
   HTTP request message. For example, if {(Start=0. End=99);
   (Start=200, End=299), the header may be “Range:                      55
                                                                               The following Table 11 shows syntax representation of
   bytes=0-99, 200-299.”                                                     IntervalType in the XML format.
     Hereinafter, syntax representation in an XML format will
   be described. Representations of the above syntax elements                                              TABLE 11
   may be provided in the XML format. Semantics of each                 60
   element may be traced back in the above Tables 1 through                      <complexType name=IntervalType
   7.                                                                                <complexContent>
                                                                                         <extension base="dia:DIADescriptionType">
      Several elements may be extensions of several types                                     <sequences
   defined in an MPEG-21 DIA. Several few elements may                                             <element name="IntervalInfo"
   take several types defined in the MPEG-21 DIA.                                                  type="IntervalInfoType" minOccurs="0">
                                                                        65                         <choice minOccurs="0">
     The following Table 8 shows syntax representation of                                                <element name="QoSInfo"
   HTTPStreamingType in the XML format.
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                            TABLE 11-continued                                   FIG. 4 is a diagram illustrating detecting of virtual bound
                                type="QoSInfoType"/>                          aries in an MPEG-2 TS according to an embodiment of the
                                <element name="QoSInfoRef."                   present invention.
                                type="dia:ReferenceType"/>                       In a TS, PCR packets of a given program may be carried
                            <choice>
                            <choice minOccurs="0">                            with fixed PIDs (namely, PCR PID), and may be inserted at
                                <element name="MappingInfo"
                                type="MappingInfoType"/>
                                                                              least every 100 ms.
                                <element name="MappingInfoRef."                  The PCT packets (with increasing values) may be con
                                type="dia:ReferenceType"/>                    sidered as anchor points of the program. On the other hand,
                            <choice>
                            <element name="PreviousIntervalsRef'
                                                                         10   each media of a program may be carried by packets of a
       type=“IntervalsRefType" minOccurs="0"/>                                given PID (namely, Media PID).
                            <element name="NextIntervalsRef"
       type=“IntervalsRefType" minOccurs="0"/>
                                                                                 Accordingly, a fragment boundary of a media stream may
                     <sequences                                               be defined or identified by 1) a specific anchor point and 2)
                 <extension
           <complexContent>                                              15   an offset from the anchor to the packet at the boundary.
       </complexType                                                             The offset may be counted by the packets of the same
                                                                              Media PID.
     The following Table 12 shows syntax representation of                       PCR values may be occasionally reset (discontinuity). For
   IntervalInfoType in the XML format.                                        example, when one or more PCR packets have the same
                                                                              PCR value in an interval, an appearance order of PCR
                                   TABLE 12                                   packets used as anchors may be indicated.
   <complexType name="IntervalInfoType">                                         A sourceURL attribute may be changed from required to
       <sequences                                                             optional. This is because baseURL already provides a com
             <element name="TimeScale" type="integer" minOccurs="0">
             <element name="StartTime" type="dateTime" minOccurs="0">    25   plete URL. The sourceURL may be unnecessary.
             <element name="Duration" type="integer" minOccurs="0">              The use of multiple byte ranges may provide flexibility in
             <element name="DefaultFrag|Duration" type="integer"
             minOccurs="0">                                                   downloading “virtual segments.” For example, a segment of
             <element name="DefaultContentIntLoc" type="anyURI"               a low frame rate (that is able to be used in a trickmode) may
             minOccurs="0">
           <element name="Last" type="boolean" minOccurs="0">            30   be extracted on-the-fly from a stream or an original segment.
       </sequence>                                                               In addition, to Support using multiple URLS for a Repre
   </complexType
                                                                              sentation, the following modifications may be applied to the
                                                                              schema of 3GPP Adaptive HTTP Streaming.
     The following Table 13 shows syntax representations of                      Hereinafter, multiple locations for the same resource/
   ISOFile:BoundaryType and ByteRangesType in the XML                    35
                                                                              content will be described.
   format.
                                                                                 Each level of description (a top-level, a Period level, and
                                   TABLE 13                                   a Representation level) may provide only a single BaselJRL
         <complexType name="ISOFile:BoundaryType's                            for building absolute URLs from the description.
               <sequences                                                40      Multiple BaselJRLs may be provided at each description
                    <element name="SequenceNo' type="integer'
                    maxOccurs="unbounded" >                                   level. Multiple BaselJRLs may signal availability of
             <sequences                                                       resources at multiple locations.
         </complexType
         <complexType name="ByteRangesType'>                                     Depending on an actual location of a client, the client may
             <sequence maxOccurs="unbounded">                            45   select one or more BaselJRLs in a process of retrieving
                 <element name="Start type="integer/>                           SOUCS.
                 <element name="End' type="integer's
                 <element name="Media PID type="integer                         Such a modification may be implemented by different
                    minOccurs="0">                                            ways. One way may be to use an additional attribute called
             <sequences
         </complexType                                                   50
                                                                              “morebaseURLs, or an element called “BaselJRLs.”
                                                                                The attribute or element may be a string formed of
     Hereinafter, syntax representation in an MP4 pseudo-code                 multiple (base) URLs. The string may be separated by
   format will be described. Representation of the above syntax               several special characters, for example '' (namely, a semi
   elements may be provided in the MP4 pseudo-code format.                    colon and a space).
     The following Table 14 shows syntax representation of               55      For example, when a semicolon or space appears within
   HTTPStreamingBox in the MP4 pseudo-code format.                            a URL, the semicolon or space may be encoded by the rules
                                                                              of RFC 2616.
                                   TABLE 1.4                                    The morebaselJRLs attribute (or BaselJRLs element) of a
                              HTTPStreamingBox                           60
                                                                              lower description level may override the same attribute (or
                                                                              element) of the higher description level.
       Box Type: htps                                                           For clarity, the morebaseURLs attribute and BaselJRLs
       Container: Signaling file
       Mandatory: Yes                                                         element may be restricted to be mutually exclusive. In other
       Quantity: One                                                          words, only a single type may exist in a whole description.
             Aligned.(8) class HTTPStreamingBox extends Box.(htps) {            Another way may be to use a MoreBaselJRL element of
                                                                         65
                                                                              any URI type with multiple instances, where each instance
                                                                              provides a BaselJRL.
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     The different ways may be merely examples of ideas for           location. For example, a video Representation may include
   providing multiple BaselJRLs. The ideas may be imple               two streams (for example, a spatial base layer, and a spatial
   mented in many other ways or even other languages.                 enhancement layer). Each of the two streams may be deliv
     Hereinafter, multiple locations for resource/content com         ered from a location described by UrlTemplate. Subse
   ponents will be described.                                         quently, the first instance of UrlTemplate may be a location
     Resource/content may be divided into one or more com             for the spatial base layer.
   ponents/streams. Each of the one or more components/                  Moreover, multiple instances of InitialisationSegmen
   streams may be delivered from a location. The delivering           tURL may be allowed. Ann" instance of InitialisationSeg
   may be supported by allowing multiple instances of an
   UrlTemplate element or a Url element set in SegmentInfo
                                                                 10   ment URL may correspond to an n' instance of a location
   Type.         A          modification          "<xs:choice         (by either the UrlTemplate element or the Url element set).
   maxOccurs=“unbounded'>'' in SegmentInfoType may be                   For example, when only a single instance of Initialisa
   used for the above purpose.                                        tionSegmentURL exists, the instance may be used for all
      The appearance order of an UrlTemplate instance or a Url   15   locations.
   set instance may indicate importance of “location/stream. A          The following Tables 15 through 19 show the schema of
   more important location may appear before a less important         3GPP AdaptiveHTTPStreaming.
                                                                                           TABLE 1.5
                                                       <?xml version="1.0" encoding="UTF-8"?>
                                                       <XS:Schema
                                                       targetNamespace="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009"
                                                           attributeFormDefault="unqualified"
                                                           elementFormDefault="qualified"
                                                           Xmlins:Xs="http://www.w3.org/2001/XMLSchema"
                                                           xmlns="urn:3GPP:ns:PSS:AdaptiveHTTPStreamingMPD:2009">
                                                           <XS:annotation>
                                                                 <xs:appinfo->Media Presentation Description<xs:appinfo->
                                                                 <XS:documentation Xml:lang="en'>
                                                                      This Schema defines 3GPP Media Presentation Description
                                                                <xs:documentation>
                                                           </XS:annotation> <!-- MPD: main element -->
                                                            <xs:element name="MPD" type="MPDtype"/>
                                                       <!-- MPD Type -->
                                                       <xs:complexType name="MPDtype">
                                                           <XS:Sequences
                                                                <xs:element minOccurs="0" name="Program Information"
                                                       type="Program InformationType"/>
                                                                 <xs:choice maxOccurs="unbounded">
                                                                      <xs:element name="Period" type="PeriodType"/>
                                                                      <xs:element name="PeriodsRef" type="PeriodsRefType"/>
                                                                 <xs:choice>
                                                                 <xs:element minOccurs="0" name="BaselJrls" type="xs:string"/>
                                                                 <xs:element minOccurs="0" maxOccurs="unbounded" name="MoreBaselJrl"

                                                                 <xs:any namespace="##other" processContents="lax" minOccurs="0"
                                                       maxOccurs="unbounded" >
                                                           </XS:Sequences
                                                           <XS:attribute default="OnDemand" name="type" type="PresentationType"/>
                                                           <XS:attribute name="availabilityStartTime" type="xs:dateTime"/>
                                                           <XS:attribute name="availabilityEndTime" type="xs:dateTime"/>
                                                           <XS:attribute name="mediaPresentationDuration" type="xs:duration"/>
                                                           <XS:attribute name="minimumUpdatePeriodMPD" type="xs:duration"/>
                                                           <XS:attribute name="minBufferTime" type="XS:duration" use="required"/>
                                                           <XS:attribute name="timeShiftBufferDepth" type="xs:duration">
                                                           <XS:attribute name="baseUrl" type="Xs:anyURI"/>
                                                           <XS:attribute name="morebaseUrls" type="xs:string"/>
                                                           <XS:any Attribute namespace="##other" processContents="lax">
                                                       </xs:complexType
                                                       <xs:complexType name="PeriodsRefType">
                                                           <XS:Sequences
                                                                <xs:element name="Location" type="XS:anyURI"/>
                                                           </XS:Sequences
                                                           <XS:attribute name="startTime" type="xs:duration"/>
                                                           <XS:attribute name="duration" type="XS:duration"/>
                                                           <XS:attribute name="availableTime" type="xs:duration"/>
                                                       </xs:complexType
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                                 TABLE 19                                           ISO/IEC 14492-12 ISO base media file format, or an ISO/
                                                                                    IEC 13818-2 MPEG-2 TS). Additionally, the output of the
   <!-- A URL template -->                                                          access engine 610 may include timing information used to
   <xs:complexType name="UrlTemplateType'>
       <XS:Sequences                                                                map internal timing of the media to a timeline of a media
            <XS:any namespace="##other processContents="lax”                        presentation.
   minOccurs="O' maxOccurs="unbounded
        </XS:Sequence>
                                             -                                         The media engine 620 may play back the provided media.
        <XS:attribute name="sourceURL type="Xs:anyURI/>                             Specifically, the media engine 620 may receive data of the
        <XS:attribute name="id' type="xs:strings                                    media from the access engine, and may output the media.
        <XS:attribute default='1' name="startIndex” type="xs:unsigned Int' -        The media engine 620 may output the media using the data
        <XS:attribute name="end Index” type="Xs:unsigned Int' -                10   of the media and the timing information that are output from
        <XS:any Attribute namespace="##other processContents="lax's                 the access engine 610.
   </xs:complexType
   <!-- Gives information about the content protection -->                             Technical information according to the embodiments of
   <xs:complexType name="ContentProtectionType'>                                    the present invention described above with reference to
       <XS:Sequences
            <xs:element minOccurs="O' name="SchemeInformation
                                                                                    FIGS. 1 through 5 may equally be applied to the present
            type="Xs:string's                                                  15   embodiment. Accordingly, further description thereof will
            <XS:any namespace="##other processContents="lax”                        be omitted.
   minOccurs="O' maxOccurs="unbounded        -                                        The method according to the above-described embodi
       </XS:Sequence>                                                               ments of the present invention may be recorded in computer
       <XS:attribute name="schemeIdUri type="Xs:anyURI/>                            readable media including program instructions to implement
       <XS:any Attribute namespace="##other processContents="lax's
   </xs:complexType                                                                 various operations embodied by a computer. The media may
   <!-- Gives information about trick mode -->                                      also include, alone or in combination with the program
   <xs:complexType name="TrickModeType'>                                            instructions, data files, data structures, and the like. The
       <XS:Sequences
            <XS:any namespace="##other processContents="lax”                        program instructions recorded on the media may be those
   minOccurs="O' maxOccurs="unbounded        -                                      specially designed and constructed for the purposes of the
       </XS:Sequence>                                                          25   embodiments, or they may be of the kind well-known and
       <XS:attribute name="alternatePlayoutRate type="Xs:string                     available to those having skill in the computer software arts.
       <XS:any Attribute namespace="##other processContents="lax's                  Examples of computer-readable media include magnetic
   </xs:complexType
   <xs:schema                                                                       media such as hard disks, floppy disks, and magnetic tape;
                                                                                    optical media such as CD ROM disks and DVDs; magneto
                                                                               30   optical media Such as floptical disks; and hardware devices
      FIG. 5 is a diagram illustrating a configuration of the                       that are specially configured to store and perform program
   terminal 100 according to an embodiment of the present                           instructions, such as read-only memory (ROM), random
   invention.                                                                       access memory (RAM), flash memory, and the like.
      A controller 510 may perform operations 130 and 140.                          Examples of program instructions include both machine
   Specifically, the controller 510 may process the metadata of                35   code, such as produced by a compiler, and files containing
   the interval.                                                                    higher level code that may be executed by the computer
      A transceiver 520 that selects a fragment suitable for the                    using an interpreter. The described hardware devices may be
   interval based on the processing may perform operations                          configured to act as one or more Software modules in order
   120, 140, and 150. Specifically, the transceiver 520 may                         to perform the operations of the above-described embodi
   receive the metadata of the interval of the content from the                40   ments of the present invention, or vice versa.
   server 110, may send a request for the fragment suitable for                        Although a few embodiments of the present invention
   the interval to the server, and may receive the fragment from                    have been shown and described, the present invention is not
   the server.                                                                      limited to the described embodiments. Instead, it would be
      FIG. 6 is a diagram illustrating a configuration of the                       appreciated by those skilled in the art that changes may be
   terminal 100 according to an embodiment of the present                      45   made to these embodiments without departing from the
   invention.                                                                       principles and spirit of the invention, the scope of which is
     The terminal 100 may include an access engine 610, and                         defined by the claims and their equivalents.
   a media engine 620.
     The access engine 610 may be a DASH access engine.                               The invention claimed is:
     The access engine 610 may receive metadata (for                           50     1. A method for providing media, the method comprising:
   example, an MPD) from the server 110.                                              receiving metadata of media, the metadata comprising
     The access engine 610 may form requests, and may issue                              one or more BaselJRL elements;
   the formed requests to the server 110. The access engine 610                       sending a request for a segment of the media using a
   may receive media (for example, segments or parts of the                             Uniform Resource Locator (URL) of the segment, the
   segments) from the server 110. The access engine may                        55       URL being resolved with respect to a BaselJRL ele
   request a segment of the media using a URL of the segment.                            ment;
     The access engine 610 may receive segments of the media                          receiving the segment; and
   based on information provided by the metadata. Here, each                          decoding and rendering data of the media that is included
   period may include one or more groups, and each of the                               in the segment,
   groups may include one or more representations of the                       60     wherein the metadata selectively comprises a sourceURL
   media. Each of the representations may include one or more                           attribute of the segment, and
   Segments.                                                                          wherein, when the metadata selectively comprises the
      The access engine 610 may provide the media to the                                 sourceURL attribute of the segment, a BaselJRL ele
   media engine 620. The access engine 610 may decode data                              ment among the BaselJRL elements is mapped to the
   of the media included in the segments.                                      65        sourceURL attribute, so that the URL is generated.
      An output of the access engine 610 may include media (or                        2. The method of claim 1, wherein the metadata is a Media
   a part of the media) of an MPEG container (for example, an                       Presentation Description (MPD) of the media.
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                               31                                                                  32
      3. The method of claim 2, wherein the media comprises              wherein each of the representations is a structured col
   a sequence of one or more periods.                                      lection of one or more components of the media within
     wherein a BaselJRL element comprises one or more MPD                  a period,
         level BaselJRL elements of the MPD, and one or more             wherein the BaselJRL element further comprises one or
         period level BaselJRL elements of the periods, and                more representation level BaselJRL elements of the
     wherein a URL of a segment included in each of the                    representations, and
         periods is resolved with respect to a period level              wherein a URL of a segment included in each of the
        BaselJRL element.                                                  representations is resolved with respect to a represen
      4. A method for providing media, the method comprising:              tation level BaselJRL element.
      receiving metadata of media, the metadata comprising        10
                                                                          10. The method of claim 9, wherein the representation
         one or more BaselJRL elements;                                level BaselJRL elements are resolved with respect to the
      sending a request for a segment of the media using a             group level BaselJRL elements or the period level BaselJRL
         Uniform Resource Locator (URL) of the segment, the            elements.
         URL being resolved with respect to a BaselJRL ele               11. A terminal, comprising:
         ment;                                                    15
      receiving the segment; and                                         an access engine to receive metadata of media, to send a
      decoding and rendering data of the media that is included             request for a segment of the media using a Uniform
         in the segment,                                                    Resource Locator (URL) of the segment, to receive the
     wherein the metadata is a Media Presentation Description               segment, and to decode data of the media that is
         (MPD) of the media,                                                included in the segment, the metadata comprising one
     wherein the metadata selectively comprises a sourceURL                 or more BaselJRL elements, and the URL being
         attribute of the segment, and                                      resolved with respect to a BaselJRL element; and
     wherein, when the metadata selectively comprises the                a media engine to receive the data of the media from the
         sourceURL attribute of the segment, a BaselJRL ele                 access engine, and to output the media,
         ment among the BaselJRL elements is mapped to the        25     wherein the metadata selectively comprises a sourceURL
         sourceURL attribute, so that the URL is generated.                 attribute of the segment, and
      5. The method of claim 4, wherein the media comprises              wherein, when the metadata selectively comprises the
   a sequence of one or more periods,                                       sourceURL attribute of the segment, a BaselJRL ele
     wherein a BaselJRL element comprises one or more MPD                   ment among the BaselJRL elements is mapped to the
        level BaselJRL elements of the MPD, and one or more       30        sourceURL attribute, so that the URL is generated.
       period level BaselJRL elements of the periods, and                12. A terminal, comprising:
     wherein a URL of a segment included in each of the                  an access engine to receive metadata of media, to send a
       periods is resolved with respect to a period level                   request for a segment of the media using a Uniform
        BaselJRL element.                                                   Resource Locator (URL) of the segment, to receive the
     6. The method of claim 5, wherein the period level           35       Segment, and to decode data of the media that is
   BaselJRL elements are resolved with respect to the MPD                  included in the segment, the metadata comprising one
   level BaselJRL elements.                                                or more BaselJRL elements, and the URL being
     7. The method of claim 5, wherein each of the periods                 resolved with respect to a BaselJRL element; and
   comprises one or more groups.                                         a media engine to receive the data of the media from the
     wherein the BaselJRL element further comprises one or        40       access engine, and to output the media,
        more group level BaselJRL elements of the groups, and            wherein the metadata is a Media Presentation Description
     wherein a URL of a segment included in each of the                     (MPD) of the media,
        groups is resolved with respect to a group level                 wherein the metadata selectively comprises a sourceURL
        BaselJRL element.                                                  attribute of the segment, and
     8. The method of claim 7, wherein the group level            45     wherein, when the metadata selectively comprises the
   BaselJRL elements are resolved with respect to the period               sourceURL attribute of the segment, a BaselJRL ele
   level BaselJRL elements.                                                ment among the BaselJRL elements is mapped to the
     9. The method of claim 7, wherein each of the groups                  sourceURL attribute, so that the URL is generated.
   comprises one or more representations,
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                                    15965




                              EXHIBIT I
                                    15966
                                                                   THING THAT THE TITLEUNITATE
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                                                                                                  US010027736B2

   (12) United     States Patent
        Thang et al.
                                                                              ( 10) Patent No.: US 10 ,027,736 B2
                                                                              (45 ) Date of Patent:                            * Jul. 17 , 2018
   (54 ) APPARATUS AND METHOD FOR                                        (30 )            Foreign Application Priority Data
           PROVIDING STREAMING CONTENT
                                                                              Sep. 6 , 2011 (KR ) ........................ 10 -2011-0089923
    (71 ) Applicants :Electronics and Telecommunications
                     Research Institute , Daejeon (KR );                 (51) GO6F
                                                                              Int. CI15. / 16
                     INDUSTRY-UNIVERSITY                                                                        ( 2006 . 01)
                     COOPERATION FOUNDATION                                      H04L 29/08                     ( 2006 . 01)
                     KOREA AEROSPACE                                                                    (Continued )
                     UNIVERSITY , Goyang -si,                            (52) U .S. CI.
                     Gyeonggi- do (KR )                                          CPC ........ H04L 67/02 ( 2013 .01); H04L 29 / 06027
                                                                                                      ( 2013 .01 ); H04L 65 /4084 ( 2013 .01 );
   ( 72) Inventors: Truong Cong Thang, Daejeon ( KR);                                                   (Continued )
                    Jin Young Lee, Daejeon (KR ); Seong                  (58 ) Field of Classification Search
                    Jun Bae, Daejeon (KR ); Jung Won                           CPC .. ......... H04L 65 /608 ; H04L 29 /06027 ; H04L
                     Kang, Daejeon (KR ); Soon Heung                                            65/ 4084 ; H04L 65/60 ; H04L 65/607;
                     Jung, Daejeon (KR ); Sang Taick Park ,                                       ( Continued )
                     Daejeon (KR ); Won Ryu , Daejeon
                     (KR ); Jae Gon Kim , Goyang -si (KR )               (56 )                 References Cited
   ( 73 ) Assignees : Electronics and Telecommunications                                    U .S . PATENT DOCUMENTS
                     Research Institute , Daejeon (KR );
                     INDUSTRY-UNIVERSITY                                        8,645, 562 B2 * 2/ 2014 Thang ................ H04N 21/ 6125
                     COOPERATION FOUNDATION                                                                                           709 / 231
                     KOREA AEROSPACE                                            9,467 ,493 B2 * 10/ 2016 Thang ................. H04L 65/ 4084
                     UNIVERSITY , Goyang -si,                              2006 /0218143 AL           9 /2006 Najork
                     Gyeonggi- do (KR )                                                 FOREIGN PATENT DOCUMENTS
    ( * ) Notice :   Subject to any disclaimer, the term of this         EP                 1302869 A14 /2003
                     patent is extended or adjusted under 35             WO              2011038032 A2 3 /2011
                     U .S . C . 154(b ) by 0 days.
                     This patent is subject to a terminal dis                                 OTHER PUBLICATIONS
                     claimer.                                            “ Universal Mobile Telecommunications System ,” ETSI TS 126
   (21) Appl. No.: 15 /287,260                                           234 , Jun . 2010 , pp . 1 - 184 , 19 .3 .0 , Sophia Antipolis Cedex , France .
                                                                                                        (Continued )
   (22) Filed: Oct. 6, 2016                                              Primary Examiner — Zarni Maung
   (65 )                 Prior Publication Data                          (74 ) Attorney, Agent, or Firm — William Park &
         US 2017 /0026451 A1 Jan . 26 , 2017                             Associates Ltd .
                  Related U .S . Application Data                        (57)                    ABSTRACT
   (63 ) Continuation of application No. 14 /146 ,500, filed on          Amethod and apparatus for an adaptive Hypertext Transfer
         Jan . 2 , 2014 , now Pat. No. 9,467 ,493 , which is a           Protocol (HTTP ) streaming service using metadata of con
                           (Continued )                                                         (Continued )

                                                   100
                                                TERMINAL                           SERVER

                                                             METADATA 120

                                           PROCESS METADATA         130
                                                         REQUEST FOR SEGMENT 140
                                                                   145 ~        PARSE MEDIA
                                                              SEGMENTS 150

                                           PERFORM DECODING        160
                                             AND RENDERING
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   tent are provided . The metadata may include one ormore                      H04N 21/658              (2011.01)
   BaseURL elements. Uniform Resource Locators (URLs) of                        H04N 21/84               (2011.01)
   segments forming media may be generated based on the                         H04N 21/8543             (2011 .01)
   BaseURL elements. Additionally, a URL of a segment may                       G06F 12 / 00             ( 2006 .01 )
   be generated by mapping a BaseURL element among the                          H04N 21/43               ( 2011. 01)
   BaseURL elements to a sourceURL attribute of the segment.             (52 ) U .S . CI.
   Segments indicated by generated URLs may be identical to                     CPC .......... H04L 65/607 ( 2013 .01) ; H04L 65/608
   each other.                                                                         ( 2013 .01) ; HO4N 21/23439 (2013 .01) ; H04N
                    16 Claims, 6 Drawing Sheets                                                  21/26258 ( 2013 .01); H04N 21/47202
                                                                                         ( 2013 .01); H04N 21/6125 ( 2013 .01) ; H04N
                                                                                       21/6175 ( 2013 .01); H04N 21/6581 ( 2013 .01);
                                                                                              H04N 21/84 (2013 .01) ; H04N 21/8543
                  Related U .S . Application Data                                              (2013 .01) ; H04N 21/4305 (2013 .01)
                                                                         (58 ) Field of Classification Search
          continuation of application No. 13 /820 ,955 , filed as               CPC ..... H04L 67 /02 ; H04L 47 /30 ; H04L 65 / 4069;
          application No . PCT/KR2011 / 006573 on Sep . 6 ,                                   H04L 65/ 4092; H04L 65/602 ; HO4L
          2011, now Pat . No. 8 ,645,562.                                                     65/604 ; HO4L 65 /80 ; H04L 67/2804 ;
    (60 ) Provisional application No. 61/434 ,036 , filed on Jan .                             HO4N 21/2401; HO4N 21/2353; HO4N
           19 , 2011 , provisional application No . 61/417 , 931,                                                              21/23805
           filed on Nov . 30 , 2010 , provisional application No.               See application file for complete search history.
          61/414 ,462 , filed on Nov. 17 , 2010 , provisional                                  References Cited
          application No. 61/ 405 ,674 , filed on Oct. 22, 2010 ,
          provisional application No. 61/390 ,328, filed on Oct.
          6 , 2010 , provisional application No . 61 /380 ,277 , filed                      OTHER PUBLICATIONS
          on Sep . 6 , 2010 .
                                                                         Thomas Stockhammer et al., “ Information technology — MPEG
    (51) Int. Ci.                                                        systems technologies — Part 6 : Dynamic adaptive streaming over
          H04L 29/ 06               ( 2006 . 01)                         HTTP (DASH )” , International Organization for Standardization ,
          H04N 21/ 2343             ( 2011 .01 )                         ISO /IEC JTC1/ SC29/WG11 Coding ofMoving Pictures and Audio ,
           H04N 21/ 262             ( 2011.01)                           ISO /IEC CD 23001-6 , Oct. 15, 2010, Guangzhou , China .
           HO4N 21/472              ( 2011 .01)
           H04N 21/61               ( 2011 .01)                          * cited by examiner
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                                          FIG . 1

                      100                                     110


                  more
                  TERMINAL

                                   METADATA 120
                                                            SERVER




            pocas merawat
            PROCESS METADATA W              130

                            REQUEST FOR SEGMENT 140




            PERFORM DECODING h
                                          laste nospermis
                                            145
                                    SEGMENTS 150
                                                        PARSE MEDIA




              AND RENDERING                 160
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                                            FIG . 2
                                210
                       General info
            Content info, live
                           etc .
                                or VoD , length ,
                              1220                                  ~ 240



              in      QoS -related info
                Alternatives: quality and
                     characteristics
                             2230
                     Data mapping info
            Mapping alternative to physical
                       data fragments
                                                               3
                                                             Client request
                                                             • Client-based
                                                             · Server -based
                                                              · Distributed
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                                                                                     Sheet 3 of 6                                        US 10 ,027 ,736 B2




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                                              FIG . 4
                                    Stream of TS packet



                     CUTII - 1
            TS packet with
              PCR field
                          Offset = 1            First TS packet of
                                                  new fragment
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                                         FIG . 5

                                           100




               BO
                                 510                       ~ 520

                     CONTROLLER                    TRANSCEIVER
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                                                               OMUETDPIA
                                         OZ9pm
                                                        MEDIAENGI E
                                                                  0941
                       6
                       .
                       FIG
                                                                  M4 FOPREAGT +TMIEDNIGA
                                         610
                                                      )
                                                      DASH
                                                      (
                                                               ACES ENGI E
                                                                         rr
                                                 METAD r rCMOENDTIA
                                                    )
                                                    MPD
                                                    (
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Case 1:19-cv-01978-CFC-SRF Document 108-1 Filed 04/23/21 Page 378 of 544 PageID #:
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                                                           US 10 ,027 , 736 B2
               APPARATUS AND METHOD FOR                                         to a BaseURL element; receiving the segment; and decoding
            PROVIDING STREAMING CONTENT                                     and rendering data of the media that is included in the
                                                                            segment.
               CROSS -REFERENCE TO RELATED                                     The request may be sent using an HTTP GET method .
                            APPLICATION                                    5 The metadata may include a range attribute .
                                                                                   The requestmay include a request for bytes of a resource
                                                                                indicated by the URL that are designated by the range
       The present application is a continuation application of                 attribute .
   U . S . application Ser. No. 14 /146 ,500 , filed on Jan . 2 , 2014 ,           The URL may be an absolute URL or a relative URL .
   which is incorporated herein by reference in its entirety, and                  Identical segments may be accessible atmultiple locations
   the present application claims priority under 35 " indicated by URLs resolved with respect to the respective
   U .S .C . § 119(a ) to U . S . Provisional application No.61/380 ,           BaseURL elements .
   277, filed on Sep . 6 , 2010 .                                                  A first BaseURL element among the BaseURL elements
                                                                                may be used as a basic UniversalResource Indicator (URI),
                          TECHNICAL FIELD                                       and BaseURL elements other than the first BaseURL ele
                                                                      15      ment may be used as alternative BaseURL elements .
      The present invention relates to a technology for provid                   The metadata may selectively include a sourceURL attri
   ing streaming content, and more particularly , to an apparatus             bute of the segment. When the metadata selectively includes
                                                                              the sourceURL attribute of the segment, a BaseURL element
   and method for providing media content using adaptive                      among the BaseURL elements may be mapped to the
   streaming                                                               20 sourceURL attribute , so that the URL may be generated .
                                                                                   The metadata may be a Media Presentation Description
                        BACKGROUND ART                             (MPD ) of the media .
                                                                        The media may include a sequence of one or more
      Streaming is one of schemes for transmitting and playing periods.
   back multimedia content such as sounds, moving images, 25 A BaseURL element may include one or more MPD level
   and the like . A clientmay play back content while
                                   back content        receiving BaseURL elements of the MPD , and one or more period
                                                while receiving    level BaseURL elements of the periods.
   the content through the streaming .
      An adaptive streaming service refers to providing a be Aresolved   URL of a segment included in each of the periods may
                                                                                 with respect to a period level BaseURL element.
   streaming service employing a communication scheme with              The period level BaseURL elements may be resolved with
   a request of a client and a response of a server in response
                                                            nse 30 rerespect to the MPD level BaseURL elements .
   to the request .                                                    Each of the periods may include one or more groups .
      The client may request a media sequence suitable for an           The BaseURL element may further include one or more
   environment of the client (for example , a transmission group level BaseURL elements of the groups .
   channel of the client ), using the adaptive streaming service .    A URL of a segment included in each of the groups may
   The server may provide a media sequence matched to the 35 be resolved with respect to a group level BaseURL element.
   request of the client among media sequences with various           The group level BaseURL elements may be resolved with
   qualities that are included in the server.                      respect to the period level BaseURL elements .
      The adaptive streaming service may be provided based on                      Each of the groups may include one or more representa
   various protocols.                                           tions.
      A Hypertext Transfer Protocol (HTTP ) adaptive stream - 40 Each of the representationsmay be a structured collection
   ing service refers to an adaptive streaming service provided of one or more components of the media within a period .
   based on an HTTP protocol. A client of the HTTP adaptive        The BaseURL element may further include one or more
   streaming service may receive content from a server using representation level BaseURL elements of the representa
   the HTTP protocol, and may transmit a request associated                     tions
   with a streaming service to the server .                                45   AURL of a segment included in each of the representa
                                                                              tions may be resolved with respect to a representation level
                 DISCLOSURE OF INVENTION                                      BaseURL element.
                                                                                 The representation level BaseURL elements may be
                       Technical Goals                                        resolved with respect to the group level BaseURL elements
                                                                           50 or the period level BaseURL elements .
     An aspect of the present invention provides an apparatus                      According to another aspect of the present invention ,
   and method that may interpret a Uniform Resource Locator                     there is provided a terminal, including : an access engine to
    (URL ) of a segment using one or more BaseURL elements                      receive metadata ofmedia , to send a request for a segment
   during playback of content.                               of the media using a Uniform Resource Locator (URL ) of
      Another aspect of the present invention provides an 55 the segment, to receive the segment, and to decode data of
   apparatus and method thatmay generate a URL of a segment                     the media that is included in the segment, the metadata
   by mapping a BaseURL element among one or more                               including one or more BaseURL elements, and the URL
   BaseURL elements to a sourceURL attribute of the segment.                    being resolved with respect to a BaseURL element; and a
                                                                                media engine to receive the data of the media from the
                          Technical Solutions                              60 access engine, and to output the media .
     According to an aspect of the present invention , there is                 Effect of the Invention
   provided a method for providing media , the method includ
   ing: receiving metadata of media, the metadata including     According to embodiments of the present invention , it is
   one or more BaseURL elements ; sending a request for a 65 possible to interpret a Uniform Resource Locator (URL ) of
   segment of the media using a Uniform Resource Locator                        a segment using one or more BaseURL elements during
   (URL ) of the segment, the URL being resolved with respect                   playback of content.
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                                                       US 10 ,027,736 B2
      Additionally, according to embodiments of the present                  Intervals may be interchangeable with periods. The term
   invention , it is possible to generate a URL of a segment by            period may be used as a term of 3rd Generation Partnership
   mapping a BaseURL element among one or more BaseURL                     Project (3GPP ) adaptive HTTP streaming
    elements to a sourceURL attribute of the segment.                      A period may be an interval of a media presentation . A
                                                                      5 continuous sequence of all periodsmay constitute the media
             BRIEF DESCRIPTION OF DRAWINGS                              presentation .
                                                                           In other words, the media presentation may include a
     FIG . 1 is a signal flowchart illustrating a content process -        sequence of one or more periods .
   ing method according to an embodiment of the present                      One or more intervals may be a basic unit. One or more
   invention.                                                              intervals may be described by signaling metadata . In other
      FIG . 2 is a diagram illustrating categories of signaling            words, metadata may describe each of the one or more
   information according to an embodiment of the present                   intervals .
    invention .                                                              The metadata may be an MPD .
      FIG . 3 is a diagram illustrating a hierarchy of content is             The MPD may define a format to announce resource
                                                     ung toto an
   division and levels of signaling information according     an      15   identifiers for segments . The MPD may provide a context for
   embodiment of the present invention .                                   identified resources within the media presentation . The
      FIG . 4 is a diagram illustrating detection of virtual bound         resource identifiers may be HTTP -Uniform Resource Loca
   aries in a Moving Picture Experts Group -2 Transport Stream             tors (URLs). URLs may be restricted by a byte range
    (MPEG - 2 TS ) according to an embodiment of the present 20 attribute .
   invention .                                                               Each interval may be divided into fragments.
      FIG . 5 is a diagram illustrating a configuration of a                 Fragments may be interchangeable with segments. The
   terminal 100 according to an embodiment of the present term segmentmay be used as a term of 3GPP adaptive HTTP
   invention .                                                streaming
     FIG . 6 is a diagram illustrating a configuration of a 25 A segment may refer to an entity body of a response to an
   terminal 100 according to an embodiment of the present HTTP / 1. 1 GET request for an HTTP -URL , for example as
   invention .                                                defined in RFC 2616 , (or a GET request for a part indicated
                                                                           by a byte range ).
           BEST MODE FOR CARRYING OUT THE                                     A terminal may play back media content using received
                           INVENTION                                  30 bytes ( namely , a segment) .
                                                                            A sub - segment may refer to a smallest unit within seg
      Reference will now be made in detail to embodiments of               ments that may be indexed by a segment index at the
   the present invention , examples of which are illustrated in            segment level .
   the accompanying drawings, wherein like reference numer                    Two or more sets of fragments corresponding to a single
   als refer to the like elements throughout. The embodiments         35   interval may exist. Each of the sets may be called an
   are described below in order to explain the present invention           alternative .
   by referring to the figures.                                              An alternative may be interchangeable with a represen
        Dynamic Adaptive Streaming over HTTP (DASH ) may                   tation (or an expression ).
   specify formats that enable 1 ) delivery of media content                 Each period may include one or more groups .
   from an HTTP server to an HTTP client, and enable 2 ) 40 Each group may include one or more representations of
   caching of content by standard HTTP cashes .            the same media content.
      A media component may be an encoded version of          A representation may refer to a structured collection of
   individual media types , such as audios, videos, or timed               one or more media components within a single period . A
   texts with specific attributes, for example bandwidths, lan             representation may be one of alternative choices of the
   guages , or resolutions.                               45 media content or a subset of the media content typically
     Media content may be a set ofmedia components having     differing by the encoding choice , for example by a bitrate , a
   a common timeline , for example audios, videos, or timed                resolution , a language, a codec, and the like .
   texts . Additionally, media components may have relation -                An MPD ( or an MPD element) may provide descriptive
   ships on how the media components may be presented ( for                information that enables a client to select one or more
   example , individually , jointly , or mutually exclusive ) as 50 representations .
   programs or movies .                                                A Random Access Point (RAP ) may be a specific location
      Media content and content may be used as interchange -               in a media segment. The RAP may be identified as a location
   able terms.                                                             in which playback may be started continuously from a
      A media presentation (or media ) may be a structured                 location of the RAP using only information included in a
   collection of data used to establish bounded or unbounded 55 media segment.
   presentation of media content including components of                     Each representation may be formed of one or more
   continuous media .                                                      segments. In other words, a representation may include one
      In other words, the media presentation may be a struc -            or more segments .
   tured collection of data that is accessible to a DASH client             An MPD may be a document including metadata required
   in order to provide a streaming service to a user.                 60 to a DASH client to form appropriate HTTP -URLs in order
      A Media Presentation Description MPD
                                         (     ) may be a for-             to 1 ) access segments and to 2 ) provide a user with a
   malized description for a media presentation .                          streaming service . The HTTP -URLs may be absolute or
      The media presentation may be described by an MPD                    relative.
    including possible updates of the MPD .                                   The MPD may be an Extensible Markup Language
      Content may be content on demand , or live content.             65 (XML ) -document.
       The contentmay be divided into one or more intervals. In              The MPD may include an MPD element. The MPD may
   other words, the contentmay include one ormore intervals .              include only a single MPD element.
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                                                       US 10 ,027 ,736 B2
     FIG . 1 is a signal flowchart illustrating a content process    Experts Group (MPEG ) layer 4 (MP4 ) file for Scalable
    ing method according to an embodiment of the present             Video Coding (SVC )), and may extract a data part suitable
   invention .                                                       for the requested segment.
      A terminal 100 may be a DASH client.                      In operation 150 , the server 110 may transmit , to the
      The DASH clientmay be compatible with a client speci- 5 terminal 100 , segments suitable for each request from the
   fied in RFC 2616 .                                                terminal 100 . The terminal 100 may receive the segments
      The DASH client may typically use an HTTP GET                  from the server.
   method or an HTTP partial GET method, as specified in                In operation 160 , the terminal 100 may perform decoding
   RFC 2616 , to access segments or parts of segments .              and rendering on data of the media included in the segment,
      A server 110 may perform hosting on DASH segments. 10 to play        back the media .
    The server 110 may be compatible with a server specified in received segments100by may
                                                                      The terminal            play back the media using the
                                                                                        repeating  operations 120 through 160 .
   RFC 2616 .                                                        Here , a BaseURL element may include an MPD level
      In operation 120 , the terminal 100 may receive metadata BaseURL element of an MPD , and a period level BaseURL
   of media (or content) from the server 110 . In other
                                                    her words
                                                        words,, 15 element of each period . The period level BaseURL element
   the server 110 may transmit themetadata of the media to the       may refer to a BaseURL element applied to a period to
   terminal 100 .                                                    which the period level BaseURL element belongs. In other
     The metadata may include BaseURL elements. One or               words, a URL of a segment included in each period may be
   more BaseURL elements may be provided .                           resolved with respect to the period level BaseURL element.
      In operation 130 , the terminal 100 may process the 20            One or more MPD level BaseURL elements may be
   received metadata. In operation 130 , the terminal 100 may        provided, and one or more period level BaseURL elements
   extract information provided by the metadata , or informa-        may be provided
   tion included in the metadata .                                     Additionally , the BaseURL elementmay further include a
      In operations 140 through 150, the terminal 100 may            group level BaseURL element of a group . A URL of a
   access a segment of the media based on the information 25 segment included in each group may be resolved with
   provided by the metadata .                                     respect to the group level BaseURL element. One or more
      Each period may include one ormore groups, and each of       group level BaseURL elements may be provided .
   the groups may include one or more representations of the         The BaseURL element may further include a representa
   media . Each of the representations may include one or more 30 tion
                                                                  a
                                                                       level BaseURL element of a representation . A URL of
                                                                    segment   included in each representation may be resolved
   segments.
      The metadata may describe a group element describing        with  respect to the representation level BaseURL element.
   each of the groups.                                               A  BaseURL    element of a specific level may be resolved
      In operation 140 , the terminal 100 may send a request for  with  respect to  a BaseURL element of a higher level. For
   a segment of the media to the server 110 using a URL of the example , a period level BaseURL elementmay be resolved
   segment. The URL may be resolved with respect to one of 135 with respect to an MPD level BaseURL element. A group
                                                                     level BaseURL element may be resolved with respect to a
   the above -described BaseURL elements. For example , the          period level BaseURL element. A representation level
   URL of the segmentmay be generated based on a BaseURL             BaseURL element may be resolved with respect to a group
   element.                                                     level BaseURL element or a period level BaseURL element .
      The terminal 100 may request the server 110 to transmit 40 FIG . 2 is a diagram illustrating categories of signaling
   a segment suitable for a specific interval based on the       information according to an embodiment of the present
   processed metadata . In other words, the requested segment invention .
   may be selected based on the metadata . The request may be           The signaling information (namely , metadata ) may be
   sent using the HTTP GET method .                                  divided into the following categories 1) through 4 ):
      The metadata may include a range attribute . The request 45       1 ) General information 210 : includes common description
   may include a request for bytes of a resource indicated by a      of content, and general description of each interval, such as
   URL that are designated by the range attribute .                  a duration , and a start time.
      The URL of the segment may be an absolute URL or a                2 ) Quality of Service (QoS ) information 220 : describes
   relative URL .                                                   characteristics of each alternative, such as a bitrate , a reso
      Identical segments may be accessible at multiple locations 50 lution , and a quality . In other words , the QoS information
   indicated by URLs resolved with respect to the respective        describes characteristics of each of alternatives of content.
   BaseURL elements . In other words, identical segments may           An alternative may be physical (namely, created in
   be selectively accessible by the URLs provided by the advance ), ormay be virtual (namely , to be created on the
   BaseURL elements .                                    fly ). Based on information of alternatives, the client may
     Additionally, a first BaseURL element among the 55 select a fragment of an appropriate alternative . Accordingly,
   BaseURL elements may be used as a basic Universal                 adaptivity to contexts of terminals and networks may be
   Resource Indicator (URI), and BaseURL elements other              supported .
   than the first BaseURL element may be used as alternative        3 ) Mapping information 230 : describes locations to
   BaseURL elements .                                            retrieve content. Depending on specific cases, different
      The metadata may selectively include a sourceURL attri- 60 alternatives may have the same or different locations .
   bute of the segment. When the metadata selectively includes      4 ) Client request 240 : this type of signaling information
   the sourceURL attribute of the segment, a BaseURL element may conform to a format of HTTP 1 . 1 request message . As
   among the BaseURL elements may be mapped to the shown in FIG . 1, parameters requested by the client may be
   sourceURL attribute , so that the URL of the segmentmay be derived from the information of categories 1 ) through 3 ).
   generated .                                                 65 FIG . 3 is a diagram illustrating a hierarchy of content
      In operation 145 , in several cases, the server 110 may        division and levels of signaling information according to an
   need to parse content ( for example , a Moving Picture            embodiment of the present invention.
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                                                         US 10 ,027,736 B2
      Signaling ofmetadata according to an embodiment of the                 There are different ways to represent a set of metadata , for
   present invention may be physically separated into content              example XML , pseudo - code, a Session Description Protocol
   level information 310 , interval-level information 320 , QoS (SDP ), and the like .
   information 330 , and mapping information 340 . Linking of             In embodiments of the present invention , both XML and
                                                              nter-- 55 pseudo
   related parts of the content- level information 310 , the inter             -code may be used to represent signaling syntax.
                                                                        PXML syntax
   val -level information 320 , the QoS information 330 , and the                    may be used for clients that support an XLM
   mapping information 340 may be performed by reference.                  profile based on an MPEG -21 and similar schema. On the
      These parts of signaling information may be combined in
                                                                          other hand , pseudo -code syntax may be based on a “ lan
                                                                           guage” of an International Organization for Standardization
   different ways to support the flexibility.                              ( ISO ) base media file format and the like , and may be used
      For example, when only the content -level information                in non - XML clients. In particular, a profile of the pseudo
   310 and interval- level information 320 are sent to a client,           code syntax may employ a parsing module similar to a
   all computations for deciding alternatives and resolving                parsing module of file - format parsing . To design the syntax
   locationsmay be performed by a server. Accordingly , when               for the above purpose , a table of common elements may be
                                                                 defined and elements in each format may be represented , in
   only the content- level information 310 and interval-level 15 the
   information 320 are sent to the client, a processing model        following embodiments .
   may be “ server -based .”                                        The proposed syntax may be represented by any other
                                                                 languages .
     When the content -level information 310 , the interval        Hereinafter, tables of general syntax elements will be
   level information 320 , and the QoS information 330 are sent described .
   to the client, all computations for deciding alternatives and 20 In the column of occurrence, “ O . . . N ” may mean that the
   resolving locations may be distributed and performed by the number of instances of an occurrence element may be from
   client and the server. Accordingly, when the content-level Oto " unbounded .” The minimum occurrence of O may mean
    information 310 , the interval-level information 320 , and the         that an element may be optional ( namely , not present ). A
   QoS information 330 are sent to the client, the model may               minimum occurrence equal to or greater than 1 may mean
   be “ distributed .”                                                  25 that an element is mandatory in the syntax .
      When all the signaling information (namely, the content -              Occurrence may be interchangeable with cardinality .
   level information 310 , the interval-level information 320 ,               In a row of type, A indicates an attribute , and E indicates
   the QoS information 330 , and the mapping information 340 )             an element. In a row of optionality , M indicatesmandatory ,
   is sent to the client, the model may be client-based , because          and O indicates optional. For attributes, M indicates man
   most (or all) processing (namely , computations for deciding 30 datory, O indicates optional, OD indicates optional with
   alternatives and resolving locations ) is performed by the              default value, and CM indicates conditionally mandatory .
   client.                                                         For elements, elements may be represented as <min
      The separation of metadata parts may enable efficiency in    Occurs > . . . <maxOccurs > . Here , N may be unbounded .
   storage and delivery . For example , during a session , meta       The above meaning may equally be applied to other tables
   data of the content-level information 310 may be sent once , 35 in the present specification .
   and only the interval-level information 320 may be periodi         Additionally , QoSInfo may be also called AdaptationInfo
   cally updated . Similarly , a single file containing the QoSInfo        to make QoSInfo more specific . Moreover, a few elements
   330 may be used for different intervals and different con              may be revised to increase flexibility of the syntax .
   tents .                                                                  The following Table 1 describes general information .
                                                                           TABLE 1
                                                                                                                    XML             Pseudo
                                                                                                                    syntax          code
                                                                                                                    (based on       ( File
                                                                                                                    MPEG            format
                                                              Occurrence Semantics                                  21)            box )
                     HttpStr                                                Describes the top -level element of HttpStreaming Type 'htps ’
                                                                            signaling metadata for HTTP                            box
                                                                            streaming
                               General                        0 ...N
                                                              o
                                                                            Contains the general information of GeneralInfoType 'geni '
                               Info                                         the described content                                  box
                                         TimeScale            0 ... 1       Describes the number of time units integer             unsigned
                                                                            in 1 second.                                           int (32 )
                                                                            This value is used with time-related
                                                                            elements , when a time unit is not
                                                                            specified .
                                         LiveStartTime        0 ... 1       If LiveStartTime element is not         date Time       unsigned
                                                                            present, the content is of VoD type.                    int (64 )
                                                                            The presence of LiveStartTime
                                                                            element indicates a live content that
                                                                            is to be displayed at a time value of
                                                                            LiveStartTime.
                                                                            If LiveStartTime has a time value of
                                                                            0 , the display time is unknown.
                                         Duration             0 ... 1       If present, indicates duration of the   integer        unsigned
                                                                            content. Otherwise , the duration is                    int( 32)
                                                                            unknown.
                                         DefaultIntDuration   0 ... 1       If present, indicates a default         integer        unsigned
                                                                            duration of each interval of the                        int(32 )
                                                                            content.
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                                                       US 10 ,027,736 B2
                                                  TABLE 1- continued
                                                                                                XML                  Pseudo
                                                                                                syntax               code
                                                                                                (based on            ( File
                                                                                               MPEG                  format
                                           Occurrence Semantics                                 21)                  box )
                       MinUpdate Time      0 ... 1    If present, indicates the minimum         integer              unsigned
                                                      waiting time before requesting the                              int( 32 )
                                                      main description file again .
                       ConsistentQoSInfo   0 .. . 1     If true, indicates that QoS            boolean                flag of
                                                        information is the same as the                               the
                                                        whole content duration .                                     box
                       Default             0 ... 1      Provides a default location for the     anyURI               string
                       Content                          content.                                                     of
                       Loc                                                                                           URL
        IntervalsRef                       0 ... N      Provides reference to description       IntervalsRefType      iref'
                                                        containing one or more instances of                          box
                                                        Interval element.
                                                        One or more instances of Interval
                                                        element represent a sequence of
                                                        consecutive interval(s ).
        Interval                           0 ... N      Provides information of an interval     IntervalType         " intv
                                                        of content.                                                  box
                                                         The information of the intervalmay
                                                        be either included as an instance of
                                                        Interval element or referenced by
                                                        IntervalsRef element.
                       IntervalInfo        0 ... 1      Provides general information of an      IntervalInfoType    “ inti ?
                                                        interval.                                                    box
                       QOSInfo             0 . .. 1     Provides reference to description       dia: Reference Type “ qref'
                       Ref                              represented by QoSInfo element.                              box
                                                        If QosInfoRef element is present,
                                                        QoSInfo element may not be
                                                        present at the same level.
                       QoSInfo             0 ... 1      Provides information about              QoSInfo Type           QoSi
                                                        alternatives of content, such as                             box
                                                        resource characteristics and
                                                        quality /utility.
                                                        If QoSInfo element is present,
                                                        QoSInfo Ref elementmay not be
                                                        present.
                       MappingInfo Ref     0 ... 1      Provides reference to description      d ia :Reference Type “mref '
                                                        represented by MappingInfo                                   box
                                                        element.
                                                        If MappingInfoRef element is
                                                        present, MappingInfo element may
                                                        not be present at the same level.
                       MappingInfo         0 . .. 1     Provides information about             MappingInfo Type       ‘mapi’
                                                        locations of content alternatives .                          box
                                                        If the information is not provided ,
                                                        DefaultContentIntLoc element (if
                                                        not, DefaultContentLoc ) can be
                                                        used to retrieve content.
                                                        If MappingInfo element is present,
                                                        MappingInfoRef element may not
                                                        be present.
                       NextIntervalsRef    0 . .. 1     Provides reference to information of Intervals               " nref'
                                                        next interval(s ).                   RefType,                box
                                                        The information of next interval(s ) may be
                                                       is description containing one or    extended
                                                       more instances of Interval element. from
                                                        The information of next interval(s) dia :Reference Type
                                                        is description represented by
                                                        Interval element.
                                                        Using NextIntervalsRef element,
                                                        the client does not need to reload
                                                        the main description represented by
                                                        HttpStr element.
                                                        Within the current time window ,
                                                        only the final intervalmay contain
                                                        NextIntervalsRef element.
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                                                                  US 10 ,027 ,736 B2
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                                                              TABLE 1 - continued
                                                                                                              XML                      Pseudo
                                                                                                              syntax                   code
                                                                                                              (based on                (File
                                                                                                              MPEG                     format
                                                  Occurrence Semantics                                        21)                      box )
                          PreviousIntervals Ref    0 .. . 1        Provides reference to information of       Intervals                ‘nref'
                                                                   previous interval (s ).                    RefType,                 box
                                                                    The information of next interval(s )      may be
                                                                   is description containing one or           extended
                                                                   more instances of Interval element.        from
                                                                   Using PreviousIntervalsRef                 dia :Reference Type
                                                                    element, the client does not need to
                                                                   reload the main description
                                                                   represented by HttpStr element.
                                                                   Within the current time window ,
                                                                   only the first interval may contain
                                                                   NextIntervalsRef element.

      The following Table 2 describes IntervalsRef, NextInter
   valsRef, PreviousIntervalsRef, QoSInfoRef, Mappingin
   foRef a , and Intervallnfo .
                                                                     TABLE 2
                                                                                                                XML
                                                                                                                syntax                   Pseudo
                                                                                                                (based                   code
                                                                                                                on                       ( File
                                                                                                                MPEG                     format
                                                  Occurrence Semantics                                          21 )                     box )
   QoSInfo Ref,           Index                         1        Indicates the order (starting from 1 ) of      not                      unsigned
   MappingInfo Ref                                               the referenced description or box              applicable               int( 8 )
                                                                 (Interval, QoSInfo , MappingInfo ) in the
                                                                 description file referenced by the next
                                                                 Location element.
                          Location                               Provides reference to description              uri                      string
                                                                 represented by Interval, QoSInfo , or          element                  (representing
                                                                 MappingInfo .                                  in                       url)
                                                                                                                dia : Reference Type
   IntervalInfo           TimeScale                 0 . . . 1 Describes the number of time units in             integer                  unsigned
                                                              one second. This value is used with                                        int( 32 )
                                                              time- related elements , when a time unit
                                                                 is not specified .
                                                                 TimeScale element, if present, overrides
                                                                 the time scale provided by GeneralInfo .
                          StartTime                 0 . .. 1     Indicates the start time of the interval.
                          Duration                  0 . .. 1     Indicates the duration of the interval.        integer                  unsigned
                                                                                                                                         int(32)
                          DefaultFragDuration       0 . . . 1 Indicates the default duration of                 integer                  unsigned
                                                                 fragments of the interval (except the last                              int( 32 )
                                                                 fragment).
                          DefaultContent Int        0 ... 1      Provides a default location for the          anyURI                     string
                          Loc                                    content interval.                            type
                          Last                      0 ... 1      If true, indicates the final interval of the boolean                    by flag
                                                                 content .
   IntervalsRef,          startTime                              Indicates the start time of the referenced     xs :duration
   PreviousIntervalsRef                                          sequence of intervals/ periods relative to
   NextIntervalRef                                               the start time of the content
                                                                 (LiveStart Time for live content and 0 for
                                                                 on -demand content).
                          Available                0 .. . 1      Indicates the time the description of the       integer                 unsigned
                          Time                                   next interval is available . The is the                                 int(32)
                                                                 relative time from the start time of the
                                                                 content.
                          Index                                   Indicates the order (starting from 1) of      not                      unsigned
                                                                 the referenced interval description (or        applicable               int( 8 )
                                                                 box) in the description file referenced by
                                                                 the next Location element.
                          Location                               Provides reference to description file         sx :anyURI               string
                                                                 that contains Interval descriptions .          type                     ( representing
                                                                                                                or uri                   url )
                                                                                                                element
                                                                                                                in
                                                                                                                dia :Reference Type
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                                                                        US 10 ,027 ,736 B2
                                          13                                                                                 14
         The following Table 3 describes the QoSInfo element.
                                                                   TABLE 3
                                                                                                           XML
                                                                                                           syntax             Pseudo
                                                                                                           (based             code
                                                                                                           on                 ( File
                                                                                                           MPEG               format
                                                    Occurrence Semantics                                   21)                box )
   QoSInfo                                                       Provides information about a list of QoSInfoType           QoSi
                                                                 content alternatives, such as        containing a        box
                                                                 resource characteristics and        UtilityFunction
                                                                 quality/utility.                    of
                                                                                                      dia:AdaptiveQoSType
                   Class SchemeRef                  0 . .. 1     Provides a list of classification    dia :Description    ' csmr
                                                                 schemes.                            MetadataType         box
                                                                 The classification schemes provide
                                                                 semantics for some terms or
                                                                 names.
                                        scheme 1 . . . N          Provides reference to a                  Attr.              a url
                                                                 classification scheme.                    alias &            string
                                                                                                           href in
                                                                                                           dia:Description
                                                                                                           MetadataType
   (1)             Resource
                   Resource                         0 ... N       Each instance of Resource element Element                   ‘resi '
                                                                                                                              box
                                                                  describes, for a list of alternatives , constraint
                                                                 characteristic values of a certain        of
                                                                 resource type (e.g ., bitrate ).          dia :UF
                                                                                                           DataType
                                                                                                           in DIA
                                                                                                           Utility
                                                                                                           Function Type
                   AdaptationOperator               0 ... N      Each instance of                          dia :UF            “ adpo '
                                                                 AdaptationOperator element                DataType           box
                                                                 describes, for a list of alternatives ,
                                                                 values of a certain adaptation type
                                                                 (e .g ., remove temporal layers).
                   Utility                          0 ... N      Each instance of Utility element dia :UF                     'util' box
                                                                 describes , for a list of alternatives , Data Type
                                                                  values in a certain quality /utility
                                                                 type (e . g., MOS ).
                   Utility Rank                     0 ... 1      Describes the quality ranking for a dia :UtilityRank        ' utir
                                                                 list of alternatives.                     Type              box
                                         Value       1 .. . N    Indicates the quality /utility rank of integer              unsigned
                                                                 an alternative.                                              int ( 16 )
                                                                 The number of instances of Value
                                                                 element is equal to the number of
                                                                 alternatives.


         The following Table 4 shows common semantics of ( 1)
   Resource, (2 ) Adaptation Operator, and (3 ) Utility of Table 3 .
                                                      TABLE 4
                                                                                                     Pseudo
                                                                                                     code
   Element                                                                                           ( File
   ( 1), (2 ),                                                               XML syntax              format
   (3)                        Occurrence Semantics                           (based on MPEG - 21 ) box )
                 Name         1         Describes an identifier for a        Att . “ iOPinRef",      unsigned
                                         certain type of the element.        ref. a CS term          int(32)
                                        When the identifier is not
                                        semantically defined by the above
                                         embodiment, next three elements
                                         are used to find semantics of the
                                         identifier in a classification
                                         scheme.
                 CSref_ ind 0 . . . 1    Indicates the reference index of a Not                      unsigned
                                         classification scheme in the list applicable                int( 16 )
                                        provided by ClassSchemeRef
                                         element.
                 LevelNum 0 . . . 1      Indicates the number of levels. Not                         unsigned
                                                                             applicable              int(16 )
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                                                                               US 10 ,027 ,736 B2
                                                   15
                                                    TABLE 4 -continued
                                                                                                               Pseudo
                                                                                                               code
   Element                                                                                                     (File
   ( 1) , (2 ) ,                                                                         XML syntax            format
   (3)                          Occurrence Semantics                                     (based on MPEG - 21 ) box )
                   Level Index 1 . . . N       Each instance of LevelIndex               Not                   unsigned
                                               element represents an index value applicable                    int(16 )
                                               at a level of the classification
                                               scheme .
                   Value        1...N          Indicates the value of a resource a component in                unsigned
                                               type (adaptation operator, or             dia : VectorDataType int(32)
                                               utility ) of an alternative .
                                               The number of instances of Value
                                               element is equal to the number of
                                               alternatives .


         The following Table 5 shows mapping information .
                                                                               TABLE 5
                                                                                                                 XML syntax               Pseudo
                                                                                                                 (based on                code (File
                                                        Occurrence Semantics                                     MPEG -21)                format box )
   MappingInfo                                          0 .. . 1                                                 MappingInfo Type         “mapi’box
                        AlterLocID                      0 ... 1          Provides a location ID for each         dia :IntegerVectorType   ‘ aloc ?
                                                                        alternative described in QoSInfo .                                box
                                                                        If AlterLocID element is not
                                                                        present, the first location in the
                                                                         location list may be used for all
                                                                        alternatives .
                                           Value        1 ... N         Indicates a location ID for an           integer                  unsigned
                                                                        alternative.                                                      int( 16 )
                                                                         The number of instances of this
                                                                        element is equal to the number of
                                                                        alternatives.
                                                                         The nth instance of Value element
                                                                        corresponds to the n 'h alternative
                                                                        of QoSInfo description .
                        ReqQoSPara                      0 . .. N        Indicates a parameter of QoSInfo ReqQoS ParaType                  * reqp '
                                                                        thatmay be put in the request ( for that extends                  box
                                                                         an alternative) sent by the client to dia:Boolean VectorType
                                                                         the server.
                                                                         A parameter may be an instance of
                                                                        Resource , AdaptationOperator,
                                                                        Utility , or Utility Rank elements.
                                        Refindex        1               Indicates instance index/reference represented by                 unsigned
                                                                         in the instance list of Resource,       attribute                int( 16 )
                                                                        Adaptation Operator, Utility and         ‘iOPinRef' that
                                                                        UtilityRank elements.                    references an
                                                                                                                 IOPin in QoSInfo
                                        All             1                If true , the parameter needs to be boolean                      flag
                                                                        requested for all alternatives and
                                                                        ReqFlag may be skipped .
                                       ReqFlag 0 . . . N                Each instance of ReqFlag element component of                     unsigned
                                                                         corresponds to an alternative.      Boolean                      int( 8 )
                                                                         If ReqFlag is true, the request for VectorType
                                                                        the corresponding alternative has
                                                                        the parameter identified above .
                        LocationList                                    Provides a list of locations for  LocationListType                " locl'
                                                                        retrieving content alternatives                                   box
                                        Location        1... N           Provides information of a location Location Type                 ' loca '
                                                                                                                                          box
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                                                           US 10 , 027, 736 B2
                               17                                                                                18
      Semantics of Location elements may be further provided
   as shown in Table 6 .
                                                                    TABLE 6
                                                                                                              XML syntax
                                                                                                              (based on               Pseudo
                                                               Occurrence Semantics                           DIA )                   code (MP4 )
   Location                                                    0... N                                      Location Type               loca '
                                                                                                                                      box
              LocID                                            1          Indicate an ID of an instance of integer                   unsigned
                                                                          Location element. Location                                 int( 16 )
                                                                          element is referred to by
                                                                          AlterLocID .
              StrLocation                                      0 ...N     Provides location information       StrLocation Type        " stlo '
                                                                          of a stream of a content                                   box
                                                                          interval.
                                                                           Each stream is provided by
                                                                          either a stream URL or a
                                                                          number of fragment URLS.
                            FragNum                            0 .. . 1    Provides the number of             integer                 unsigned
                                                                           fragments                                                  int( 16 )
                            StreamUrl                          0 ... 1     Describes a URL of a stream   a nyURI type                 string
                            FragmentUrl                        0 ... N     Describes a URL of a fragment. anyURI type                 string
                                                                           The number of instances of
                                                                          FragmentUrl element is the
                                                                          number of fragments.




                                                                                                                                    hatillinkun
                            Frag Time                          0 ... 1    Provides durations of               dia: VectorDataType      frtm ?
                                                                          fragments.                                                 box
                                             Value             1... N     Indicates a duration of a           integer                 unsigned
                                                                          fragment.                                                   int(32)
                                                                          The number of instances of
                                                                          Value element is the number of
                                                                          fragments .
                            Rand Access                       o
                                                               0 ... 1    Describes fragments that       dia: VectorDataType          ‘ rdac '
                                                                          support random access .                                    box
                                             Value             1... N      Indicates the order of a random - integer                 unsigned
                                                                          access fragment.                                            int( 16 )
                            MP2TSPara                         o
                                                               0 .. . 1   Describes additional parameters MP2TSPara Type              ‘mp2p '
                                                                          (beside URL ) for locating a                               box
                                                                          content/program in a MPEG - 2
                                                                           TS.
                                             PID               0 ... N    Describes values of PIDs of     integer                     unsigned
                                                                          content/ program in a MPEG -2                               int(16 )
                                                                          TS.
                            FragBoundaries                     0 ... 1    Describes boundaries of             FragBoundaries Type ' frbd '
                                                                          (virtual) fragments in a stream .                          box
                                                                          The number of instances of
                                                                          FragBoundaries element is
                                                                          equal to the number of
                                                                          fragments of the stream .
                                                                          Only one type of following
                                                                          elements is present in a
                                                                          FragBoundaries instance .
                                             MP2TSBoundary 0 . . . N       Describes parameters for           MP2TSBoundaryType ‘mp2b ?
                                                                          detecting (virtual) fragment                               box
                                                                          boundary in a MPEG - 2 TS .
                                                                          If there are two instances of
                                                                          MP2TSBoundary element, the
                                                                          two instances are starting and
                                                                          ending boundaries of a
                                                                          fragment.
                                                                          If there is only one instance of
                                                                          MP2TSBoundary element, the
                                                                          instance is the starting
                                                                          boundary . The ending
                                                                          boundary is right before the
                                                                          starting boundary of the next
                                                                           fragment.
                                             ISOFileBoundary 1 . . . 2    Describes parameters for            ISOFileBoundary Type 'isfb '
                                                                          detecting ( virtual) fragment                               box
                                                                          boundary in a file based on ISO
                                                                          base media file format.
                                                                          If there are two instances of
                                                                           ISOFileBoundary element, the
                                                                          two instances are starting and
                                                                           ending boundaries of a
                                                                           fragment. If there is only one
                                                                          instance of ISOFileBoundary
                                                                           element, the instance is the
                                                                           starting boundary. The ending
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                                                                  TABLE 6 - continued
                                                                                                                    XML syntax
                                                                                                                    (based on         Pseudo
                                                                   Occurrence Semantics                             DIA )             code (MP4)
                                                                                   boundary is right before the
                                                                                   starting boundary of the next
                                                                                   fragment.
                                              Byte Ranges          1               Describes byte ranges that       ByteRanges Type   ' brag
                                                                                   identify a part/ fragment of a                     box
                                                                                   file .
                                                                                   Parameters provided by
                                                                                   ByteRanges element may be
                                                                                   used for byte range options in
                                                                                   an HTTP request.
                                                                              15
     Semantics of MP2TSBoundary , ISOFileBoundary , and
   ByteRanges may be further provided as shown in Table 7 .
                                                          TABLE 7
                                                                                               XML
                                                                                               syntax               Pseudo
                                                                                               (based on            code
                                      Occurrence Semantics                                     DIA )                (MP4 )
                                                                                                                    ‘mp2b '
   MP2TSBoundary                                                                            MP2TSBoundaryType box
                     PCR _ PID            1       Describes PID carrying PCR of the            integer              unsigned
                                                  concerned content/program .                                       int(16 )
                     PCR _ base          =
                                                  Describes a value of a PCR base              long                 unsigned
                                                  field                                                             int(40 )
                     PCR _ ext           =
                                                  Describes a value of a PCR                   integer              unsigned
                                                  extension field .                                                 int(16)
                     Appearance           =
                                                  Describes the appearance order               integer              unsigned
                                                  (e. g., 1st, 2nd) of the TS packet                                int(16 )
                                                  containing the PCR value identified
                                                  by the above two elements .
                                                  If there is resetting/discontinuity of
                                                  PCR, a PCR value may appear more
                                                  than once during an interval.
                     Media _ PID       1... N     Describes PID of a media (e.g.,              integer              unsigned
                                                  video ) of a program .                                            int( 16 )
                                                   The number of instances of
                                                  Media _ PID element is equal to the
                                                  number ofmedia of the
                                                  program /content.
                     Media _ Offset    1 .. . N   Describes the offset ( in TS packets         integer              unsigned
                                                  of the same media PID ) from the                                  int( 16 )
                                                  above identified PCR packet to the
                                                  first media packet of a fragment.
                                                  The nth instance ofMedia _ Offset is
                                                  associated with the nth instance of
                                                  Media _ PID .
                                                                                                                    ‘ isfb '
   ISOFileBoundary                                                                             ISOFileBoundary Type box
                     SequenceNo                   Describes the sequence number                integer              unsigned
                                                  provided in the mfhd box .                                        int(16 )
                                                   Themfhd box defines a fragment of
                                                  an MP4 file .
                                                  SequenceNo with a value of 0
                                                  indicates the beginning of the file .
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                                                     TABLE 7 -continued
                                                                                                XML
                                                                                                syntax            Pseudo
                                                                                                (based on         1
                                                                                                                  code
                                        Occurrence Semantics                                    DIA )              (MP4 )
                                                                                                                   ‘mp2b '
                                                                                                                    brag
   ByteRanges                                                                                   ByteRanges Type    box
                      Start               1 . .. N   Describes the starting value of a          integer            unsigned
                                                     byte range .                                                  int(32)
                                                     A value of ' - 1 'means that this value
                                                     in the HTTP request is missing
                      End                 1 ... N    Describes the ending value of a byte integer                  unsigned
                                                     range.                                                        int(32)
                                                     A value of ' - 1 ' means that this value
                                                     in the HTTP request is missing.
                                                     Start- End instances are present in
                                                     pair.
                                                     The nth instance of End is associated
                                                     with the nth instance of Start .
                     Media _ PID          0 .. . N   Describes PID of a media (e .g .,          integer            unsigned
                                                     video ) that needs to be extracted                            int( 16 )
                                                     from the byte range of the above
                                                     pair of Start -End .
                                                     Media _ PID element is used when
                                                     the byte range is a segment of
                                                     MPEG - 2 TS , and all PIDs do not
                                                     need to be delivered .

      Hereinafter , a Client Request Will Be Described .                                   Only one of the above three options may be used in a
      Signaling of metadata obtained by a client may include single request.
   different parts or levels of signaling information . Accord - >     With typical adaptation operators and resource types ,
   ingly , a request from the client to a server may include        specific parameter names for better intelligibility and
   parameters of different levels of details .                      interoperability may be defined .
                                                                       Adaptation operators are as the following a ) through e ).
     Main parameters of the clientmay be URIs, and may be              a ) audiolayers: indicates the number of scalable audio
   associated with a query part.                                 35 layers to be discarded .
      Three main scenarios are examined as follows:                    b ) temporallayers : indicates the number of temporal lay
      1) Server -Based Scenario                                     ers of scalable video to be discarded .
      In the server- based scenario , the metadata provided from                           c ) spatiallayers: indicates the number of spatial layers of
   the server to the client may include general content infor                        scalable video to be discarded .
   mation 310 and general interval information 320 .                            40 d ) qualitylayers : indicates the number of quality layers of
      For an URI of requested content, DefaultContentIntLoc                          scalable video to be discarded .
   ( if not, DefaultContentIntLoc ) may be used . To enable the scalable    e ) prioritylayers : indicates the number of priority layers of
   client to request a specific fragmentof content,the following                     video to be discarded .
                                                                           Resource types are as the following a ) through d ).
   parameters a ) and b ) are defined in the query part (of the             a ) bitrate : indicates the average bitrate ( in Kbps) of the
   request in operation 140 ):                                        45 requested    alternative .
       a ) “ fragno ” : Order value of the fragment in the interval        b ) vertresolution : indicates the vertical resolution of the
       b ) “ fragti ” : Start time of the fragment in the interval       requested alternative .
       For example , a request URImay be “ HTTP ://server.com /             c) horiresolution : indicates the horizontal resolution of the
   file.mp4 ? fragno = 5 .”                                              requested alternative .
        2 ) Distributed Scenario                                      50 d ) framerate : indicates the framerate of the requested
                                                             ed
       In the distributed scenario , the metadata provided from  from    alternative .
   the server to the client may include general content infor URI          Using the pre - defined parameters, an example of a request
   mation 310 , general interval information 320 , and QoS file.mp4              based on the bitrate may be “ http ://server.com /
                                                                                    ?fragno = 5 & bitrate = 550 .”
    information 330 .                                                 55    3 )  Client -Based
       In addition to the above parameters, the following QoS -             In the client  - basedScenario
                                                                                                     scenario , the metadata provided from
   related parameters a ) through c ) are defined in the query part                  the server to the client may include general content, general
   (of the request in operation 140 ) to enable the client to interval information, QoS information , and mapping infor
   request an appropriate alternative :                                    mation .
      a ) “ alter” : Order value of an alternative . Based on the 60 The QoS -related parameters used in the request may be
   order value of the alternative, the alternative may appear in indicated by a ReqQoSPara part of QoSInfo metadata . For
   the QoS information .                                                    example , when RefIndex of ReqQoSPara is o or null , the
      b ) " oper1” , “ oper2” , . . . , and “ operN " : " operi” carries a " alter” parameter may be used instead of other options.
   value of an ith adaptation operation that appears in the QoS               When ReqQoSPara is not present in the QoSInfo meta
   information .                                                                65 data , the QoS -related parameters may notbe used. Alterna
       c) “ res1” , “ res2”, . . . , “ resN ” : “ resi” carries a value of an      tives in this case may be implied by locations of Mapping
   ith resource that appears in the QoS information .                              Info .
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      AURI of content may be derived from rich description of                                                         TABLE 9 -continued
   MappingInfo . When content/program is conveyed in an
   MPEG - 2 TS, one or more PIDs may be used to locate the                                                              < element name = " DefaultContentLoc“
                                                                                                                        type = " anyURI" minOccurs = " 0 " />
   content in the stream .                                                                                         < / sequence >
      When additional information for detecting fragment                                                     < /extension >
                                                                                                    < /complexContent >
   boundaries are provided , the following parameters 1 )                                      < /complexType >
   through 3 ) for the query part (of the request in operation
   140 ) may be used .                                                                    The following Table 10 shows syntax representation of
      1) For an MPEG - 2 TS boundary , Appearance , PCR _ PID , 10 IntervalRefType in the XML format.
   PCR _base , PCR _ ext, Media _ PID , and Media _ Offset
      2 ) For an ISO media file boundary , SequenceNo                                                                         TABLE 10
      3) For a file considered as a raw byte -sequence , Start and                      complex Type name =" IntervalsRefType” >
   End                                                                                      < complexContent >
                                                          15                                     < extension base = " dia :Reference Type” >
     Semantics of the above parameters may be provided in                                              < sequence >
    semantics of a FragBoundaries element.                                                                  < element name= " AvaliableTime” type = " integer">
                                                                                                           minOccurs = " 0 " / >
      Start -End pairs may be used by a range header of an                                             < sequence >
   HTTP request message. For example , if { (Start = 0 , End = 99 );                                   < attribute name= " startTime” type= " xs :duration "
   ( Start= 200 , End = 299 ) } , the header may be “ Range : 20                                       use = " optional" />
   bytes= 0 -99,200 -299.”                                                                       < /extension >
                                                                                            < / complexContent>
     Hereinafter , syntax representation in an XML format will </complexType>
   be described . Representations of the above syntax elements
   may be provided in the XML format. Semantics of each 5 The following Table 11 shows syntax representation of
    element may be traced back in the above Tables 1 through 25 IntervalType in the XML format.
      Several elements may be extensions of several types                                                                     TABLE 11
   defined in an MPEG - 21 DIA . Several few elements may                                   < complexType name= " IntervalType" >
   take several types defined in the MPEG - 21 DIA .                                             < complexContent >
       The following Table 8 shows syntax representation of                                            < extension base = " dia :DIADescription Type" >
   HTTPStreamingType in the XML format.                                                                        < sequence >
                                                                                                                     < element name= " IntervalInfo " .
                                                                                                                     type= " IntervalInfoType" minOccurs = " 0 " />
                                     TABLE 8                                                                         <choice minOccurs = " 0 " >
       < complexType name=" HTTPStreaming Type” >                                 35                                       < element name= " QoSInfo "
            < complexContent>                                                                                              type = " QoSInfoType " />
                 < extension base =" dia : DIADescriptionType" >                                                           < element name= " QoSInfo Ref"
                      < sequence >                                                                                         type = " dia :ReferenceType" />
                                                                                                                     < choice >
                            < element name= " GeneralInfo "                                                          < choice minOccurs = " 0 " >
                            type = " GeneralInfoType" minOccurs = " 0 " />        40                                       < element name=" MappingInfo "
                            < choice minOccurs = " 0 "                                                                     type =" MappingInfo Type" />
                           maxOccurs = " unbounded " >                                                                     < element name= "MappingInfo Ref"
                               < element name= " IntervalsRef                                                         type = " dia:ReferenceType" >
                                  type = " IntervalsRefType" />                                                      < / choice >
                                  < element name= " Interval"                                                    < element name= " PreviousIntervals Ref"
                                  type = " IntervalType" />                                type = " IntervalsRefType" minOccurs = " 0" />
                           < / choice >                                           45
                                                                                  45
                                                                                                                < element name = " NextIntervalsRef
                 < /sequence > </ complexContent>                                          type= " IntervalsRefType" minOccurs = " 0 " />
       < /complexType >                                                                                       < / sequence >
                                                                                                       < / extension >
                                                                                                  < /complexContent>
      The following Table 9 shows syntax representation of                                  < /complexType >
   GeneralInfoType in the XML format.
                                                                                          The following Table 12 shows syntax representation of
                                     TABLE 9                                           Intervalinfo Type in the XML format.
         < complexType name= "GeneralInfoType " >
              < complexContent>                                                   55                                          TABLE 12
                   < extension base = " dia :DIADescriptionType" >
                          < sequence >                                                 < complexType name= " IntervalInfoType" >
                                < element name= " TimeScale "                               < sequence >
                               type= " integer" minOccurs = " 0 " />                             < element name =" TimeScale " type= " integer" minOccurs = " 0 " />
                               < element name= " LiveStartTime"                                  < element name= " StartTime" type = " dateTime" minOccurs = " 0 " />
                               type= " dateTime" minOccurs = " 0 " />             60             < element name = “ Duration “ type = " integer " minOccurs = " 0 " />
                               < element name= " Duration “                                      < element name=" DefaultFragDuration " type = " integer"
                               type = " integer" minOccurs = " 0 " />                           minOccurs = " 0 " />
                               < element name= " DefaultIntDuration “                            < element name = " DefaultContentIntLoc" type = " anyURI"
                               type = " integer " minOccurs = " 0 " />                          minOccurs = " 0 " / >
                               < element name= "MinUpdateTime“                                   < element name= " Last" type = " boolean " minOccurs = " 0 " / >
                               type = " integer" minOccurs = " 0 " />                       < / sequence >
                               < element name= " ConsistentQoSInfo “              65 < /complexType>
                               type = " boolean " minOccurs = " 0 " / >
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                                           25                                                                26
      The following Table 13 shows syntax representations of                       Multiple BaseURLs may be provided at each description
   ISOFileBoundary Type and ByteRanges Type in the XML                           level. Multiple BaseURLs may signal availability of
   format.                                                                       resources at multiple locations.
                                    TABLE 13                                 5     Depending on an actual location of a client, the clientmay
                                                                                 select one or more BaseURLs in a process of retrieving
         < complex Type name= " ISOFileBoundaryType" >                           resources.
              < sequence >
                    < element name= " SequenceNo " type = " integer”               Such a modification may be implemented by different
                    maxOccurs = " unbounded " />                                 ways . One way may be to use an additional attribute called
              < / sequence >
         < /complexType >                                                   10 “morebaseURLs," or an element called “ BaseURLs."
         < complexType name = " ByteRangesType " >
              < sequence maxOccurs = "unbounded " >
                                                                                  The attribute or element may be a string formed of
                    < element name= " Start" type = " integer" />              multiple (base ) URLs. The string may be separated by
                    < element name= " End" type= " integer" />                 several special characters , for example “ ;" (namely , a semi
                    < element name= "Media _ PID ” type =" integer”
                   minOccurs = " 0 " / >                                    15
                                                                               colon and a space ).
              < / sequence >                                                       For example , when a semicolon or space appears within
         < / complexType >                                                       a URL , the semicolon or space may be encoded by the rules
                                                                     of RFC 2616 .
      Hereinafter , syntax representation in an MP4 pseudo -code        The morebaseURLs attribute (or BaseURLs element ) of a
    format will be described . Representation of the above syntax 20 lower description level may override the same attribute (or
    elements may be provided in the MP4 pseudo - code format. element) of the higher description level .
      The following Table 14 shows syntax representation of                        For clarity , the morebaseURLs attribute and BaseURLS
   HTTPStreamingBox in the MP4 pseudo - code format.                             element may be restricted to be mutually exclusive . In other
                                    TABLE 14                                25   words, only a single type may exist in a whole description .
                                                                                   Another way may be to use a MoreBaseURL element of
                                HTTPStreamingBox                                 any URI type with multiple instances, where each instance
       Box Type: 'htps'                                                          provides a BaseURL .
       Container: Signaling file                                                    The different ways may be merely examples of ideas for
       Mandatory : Yes                                                      30 providing multiple BaseURLs. The ideas may be imple
       Quantity: One                                                             mented in many other ways or even other languages.
           Aligned (8 ) class HTTPStreamingBox extends Box ("htps ') {
                                                                                    Hereinafter , Multiple Locations for Resource /Content
                                                                                  Components will be Described.
      FIG . 4 is a diagram illustrating detecting of virtual bound - 26 Resource/content may be divided into one or more com
   aries in an MPEG - 2 TS according to an embodiment of the                     ponents/ streams. Each of the one or more components /
   present invention .
       In a TS , PCR packets of a given program may be carried streamsmay be delivered from a location . The delivering
   with fixed PIDs (namely , PCR _ PID ), and may be inserted at may be supported by allowing multiple instances of an
    least every 100 ms.
        The PCT packets (with increasing values ) may be con - 40o UrlTemplate element or a Url element set in SegmentInfo
   sidered as anchor points of the program . On the other hand, Type .          A          modification         “ < xs :choice
   each media of a program may be carried by packets of a maxOccurs = " unbounded “ > " in SegmentInfoType may be
    given PID ( namely , Media PID ).
       Accordingly , a fragment boundary of a media stream may used for the above purpose .
   be defined or identified by 1) a specific anchor point and 2 ) 45 The appearance order of an UrlTemplate instance or a Url
   an offset from the anchor to the packet at the boundary .
      The offset may be counted by the packets of the same set instancemay indicate importance of “ location / stream .” A
   Media _ PID .                                                                 more important location may appear before a less important
      PCR values may be occasionally reset (discontinuity ). For                 location . For example , a video Representation may include
   example, when one or more PCR packets have the same 50 two streams (for example , a spatial base layer, and a spatial
   PCR value in an interval, an appearance order of PCR
   packets used as anchors may be indicated .                                    enhancement layer). Each of the two streamsmay be deliv
      A sourceURL attribute may be changed from required to                      ered from a location described by UrlTemplate. Subse
   optional. This is because baseURL already provides a com                      quently , the first instance of UrlTemplate may be a location
   plete URL . The sourceURL may be unnecessary .
      The use ofmultiple byte ranges may provide flexibility in                   for the spatial base layer.
   downloading “ virtual segments .” For example, a segment of                      Moreover , multiple instances of InitialisationSegmen
   a low frame rate ( that is able to be used in a trickmode )may                tURL may be allowed . An nth instance of InitialisationSeg
   be extracted on -the - fly from a stream or an original segment.
      In addition, to support using multiple URLs for a Repre - 60 mentURL may correspond to an n '" instance of a location
   sentation , the following modifications may be applied to the      (by either the UrlTemplate element or the Url element set).
   schema of 3GPP Adaptive HTTP Streaming
     Hereinafter, Multiple Locations for the Same Resource !             For example , when only a single instance of Initialisa
   Content will be Described .                                        tionSegmentURL exists, the instance may be used for all
      Each level of description (a top -level, a Period level, and 65 locations.
   a Representation level) may provide only a single BaseURL             The following Tables 15 through 19 show the schema of
   for building absolute URLs from the description .                  3GPP AdaptiveHTTPStreaming.
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                                                                            US 10 , 027, 736 B2
                                              27                                                                                          28
                                                   TABLE 15
    < ?xml version = " 1.0 " encoding = "UTF -8 " ? >
   < xs:schema
   targetNamespace = " urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD : 2009 "
         attribute FormDefault= " unqualified "
         elementForm Default =" qualified "
         xmlns: xs = " http ://www .w3.org/2001 /XMLSchema"
         xmlns = " urn :3GPP :ns:PSS : AdaptiveHTTPStreamingMPD :2009 " >
         < xs :annotation >
                <xs:appinfo >Media Presentation Description < /xs:appinfo >
                < xs :documentation xml: lang = " en " >
                      This Schema defines 3GPP Media Presentation Description !
               < /xs:documentation >
         < /xs:annotation > < ! -- MPD : main element -- >
         < xs :element name= "MPD " type = "MPDtype" />
   < !- - MPD Type -- >
    < xs:complexType name = "MPDtype" >
         < xs:sequence >
               < xs:element minOccurs = " 0 " name = " ProgramInformation "
   type = " ProgramInformationType" >
               < xs :choice maxOccurs = " unbounded " >
                      <xs:element name= "Period " type = "PeriodType " >
                      < xs:element name=" PeriodsRef" type =" PeriodsRefType" />
                < xs : choice >
               < xs:element minOccurs = " 0 " name = " BaseUrls" type =" xs:string " />
                <xs:element minOccurs = " 0 " maxOccurs = " unbounded " name= "MoreBaseUrl"
   type = " xs :anyURI" />
                <xs:any namespace =" # # other " processContents= " lax" minOccurs =" 0"
   maxOccurs = " unbounded " />
         < /xs:sequence >
         < xs :attribute default = "OnDemand" name = " type" type= " PresentationType" />
         <xs:attribute name= "availabilityStartTime" type = " xs:dateTime" />
         < xs :attribute name = " availabilityEndTime" type = " xs :dateTime" />
         < xs :attribute name = "media PresentationDuration " type = " xs :duration " >
         < xs :attribute name= " minimumUpdatePeriodMPD " type= " xs: duration" />
         < xs :attribute name= " minBufferTime" type = " xs :duration " use = " required " />
         < xs :attribute name= " timeShiftBufferDepth " type = " xs :duration " />
         < xs:attribute name = " baseUrl" type = " xs:anyURI" />
         < xs :attribute name = "morebaseUrls" type = " xs:string " />
         < xs :any Attribute namespace = " # # other" process Contents = " lax" />
   < /xs : complexType >
    < xs:complexType name= "PeriodsRefType " >
          < xs :sequence >
                 < xs :element name =" Location " type = " xs :anyURI" />
         < /xs :sequence >
          < xs :attribute name = " startTime" type = " xs:duration " />
          < xs :attribute name = "duration" type = " xs:duration " />
          < xs:attribute name=" availableTime" type = " xs:duration " />
    < /xs:complexType >


                                        TABLE 16                                                                                 TABLE 16 - continued
    < !-- Type of presentation - live or on - demand -- >                                  AS         < xs : attribute default = " false " name= " lastPeriodFlag
    < xs :simpleType name= " Presentation Type" >                                                    type = " xs :boolean " />
         < xs:restriction base = " xs:string " >                                                       < xs:any Attribute namespace = " #Hother" processContents = "lax "/>
                < xs :enumeration value = " OnDemand " / >
                < xs :enumeration value = " Live" />                                            </xs:complexType >
           < / xs :restriction >                                                                < !-- Program information for a presentation -- >
   < / xs :simpleType >                                                                    50 < xs:complexType name= " ProgramInformationType" >
   < !-- Period of a presentation -- >                                                                < xs:sequence >
    < xs :complexType name ="PeriodType" >                                                                  < xs:elementminOccurs =" 0 " name= " Title" type = " xs:string " >
           < xs :sequence >                                                                                 < xs:element minOccurs = " 0 " name= " Source " type = " xs :string" />
                  < xs:element minOccurs =" 0 " name= "SegmentInfoDefault "                                 < xs:element minOccurs = " 0 " name= " Copyright"
   type = " SegmentInfoDefaultType" />                                                                     type = " xs:string" />
                < xs :elementmaxOccurs = " unbounded"                                      55              < xs:any namespace = " # # other" processContents = " lax "
   name= " Representation " type = " Representation Type" />                                    minOccurs = " 0 " maxOccurs = " unbounded " />
                <xs:element minOccurs =" 0 " name= " PreviousPeriodsRef"                              < /xs :sequence >
   type = " xs: PeriodsRef " / >
            < xs :element minOccurs = " 0 " name= " NextPeriodsRef"                                   < xs:attribute name=" moreInformationURL " type =" xs:anyURI" />
           type = " xs:Periods Ref" />                                                              < xs :any Attribute namespace = " # # other" process Contents = " lax " />
            < xs :any namespace = " # # other" processContents = " lax "                   60 < xs :complexType>
   minOccurs = " 0 " maxOccurs = " unbounded" />
         < /xs:sequences
         < xs :attribute name = " start" type = " xs :duration " >
         < xs :attribute default=" false" name= "segmentAlignmentFlag "                                                              TABLE 17
         type = " xs :boolean " />
         < xs:attribute default=" false" name= "bitStreamSwitchingFlag "                   65 < !-- Default Segment access information -- >
         type = " xs :boolean " / >                                                             < xs:complexType name=" SegmentInfoDefaultType" >
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                                                                          US 10 , 027, 736 B2
                                              29                                                                                     30
                                TABLE 17-continued                                                                       TABLE 18 -continued
         < xs:sequence >                                                                                            < xs:any namespace = " # # other" processContents = " lax "
               < xs:element minOccurs = “ 0 ” name= " BaseUrls":                         minOccurs = " 0 " maxOccurs = " unbounded " />
              type = " xs:string" />                                                                       < xs: sequence >
               < xs :element minOccurs = " 0 " maxOccurs = " unbounded ”                                   < xs :any namespace = " # # other" processContents = " lax "
   name= "MoreBaseUrl" type = " xs:anyURI” />                                            minOccurs = " 0 " maxOccurs = " unbounded " />
            < xs :any namespace = " # # other” processContents =“ lax ”                                   < xs:choice >
   minOccurs = “ 0 ” maxOccurs = " unbounded" >                                                      < / xs:sequence >
         < /xs:sequence>                                                                             < xs :attribute name= " baseURL " type = " xs :anyURI" />
         < xs :attribute name= " baseURL " type = " xs :anyURI” >                                    < xs:attribute name= " morebaseUrls" type = " xs:string" >
         < xs :attribute name= "morebaseUrls " type = " xs:string" >                10               < xs :attribute name= " duration " type= " xs :duration " />
          < xs :attribute name= " duration" type = " xs :duration " />                               < xs :attribute name= " rand Access" type = " xs :string" >
         <xs:attribute name= " sourceUrlTemplate Period" type = " xs:string" />                      < xs :any Attribute namespace = " # # other"
          < xs :any Attribute namespace =“ # # other” processContents = " lax" />                   process Contents = " lax " />
   < /xs:complexType>                                                                    < /xs :complexType >
   < !-- A Representation of the presentation content for a specific Period -- >        < ! -- A Segment URL -- >
   < xs :complexType name= " Representation Type ” >                                15. <xs:complexType name= "UrlType" >
         <xs:sequence >                                                                        < xs : sequence >
               < xs:element name=" SegmentInfo " type = " SegmentInfo Type” >                        < xs :any namespace = " # # other" process Contents = " lax "
               < xs :element minOccurs = " 0 " name= " ContentProtection ”               minOccurs = " 0 " maxOccurs = " unbounded " />
   type = " ContentProtection Type” />                                                         < / xs :sequence >
                < xs :element minOccurs = “ 0 ” name= “ TrickMode ”                            < xs:attribute name= " sourceURL " type = " xs:anyURI"
                type= " TrickModeType" />                                           20
                                                                                              use = " optional" />
                < xs:element minOccurs = “ 0 ” maxOccurs = “ unbounded”                       < xs:attribute name= " range" type = " xs:string" />
   name= “ Quality " type = " Quality Type " />                                                < xs :any Attribute namespace = " # Hother" process Contents = " lax " />
                < xs :any namespace = “ # # other” processContents = " lax ”             < xs:complexType >
   minOccurs = “ 0 ” maxOccurs = " unbounded ” >
         < /xs :sequence >
         < xs :attribute name =" bandwidth ” type = " xs:unsignedInt"               25
        use = " required" />                                                                                                    TABLE 19
                < xs :attribute default = " 0 " name= " group "                           < !-- A URL template -- >
                type = " xs :unsignedInt" >
         < xs :attribute name= " width ” type = " xs:unsignedInt" >                       < xs:complex Type name= " Url Template Type" >
         < xs :attribute name= " height” type = " xs:unsignedInt" >                            <xs: sequence >
                                                                                                     < xs:any namespace = " # # other” processContents = " lax”
         < xs:attribute name= " lang" type= " xs:string" >                          30 minOccurs = “ 0 ” maxOccurs = "unbounded " >
         < xs:attribute name= "mimeType” type =" xs:string”                                    < /xs :sequence >
        use = " required ” >                                                                   < xs:attribute name =“ sourceURL" type = " xs:anyURI” />
         < xs :attribute default =" false " name = " startWithRAP”                             < xs :attribute name= " id " type = " xs :string" />
        type = " xs:boolean " />                                                               < xs: attribute default =" 1" name=" startIndex” type = " xs:unsignedInt" />
        < xs :attribute name =" quality Ranking ” type= " xs:unsignedInt" />                    < xs :attribute name = " endIndex ” type =" xs:unsignedInt" >
         < xs :attribute name = " requestPara” type = " xs :string" />              35          < xs :any Attribute namespace = “ #mother” processContents = " lax ” />
        < xs:any Attribute namespace = " # # other” processContents =" lax " />          < /xs:complexType>
   < /xs : complexType >                                                                 < !-- Gives information about the content protection -- >
   < xs:complexType name=" QualityType" >                                                < xs:complexType name = " ContentProtection Type” >
         < xs:sequence >                                                                       <xs: sequence >
            < xs :any namespace = “ # # other” processContents = " lax ”                             < xs :element minOccurs= “ 0 ” name=" SchemeInformation ”
   minOccurs = “ 0 ” maxOccurs = " unbounded ” >                                    40              type = " xs:string " />
         < /xs:sequence>                                                                             < xs :any namespace = " # # other” process Contents = " lax ”
         < xs :attribute name= “ name” type = " xs:QualityNameType" />                   minOccurs = “ 0 ” maxOccurs = " unbounded ” >
         < xs:attribute name = " value" type = " xs : float" />                                < / xs :sequence >
    < /xs :complexType>                                                                        < xs:attribute name =" schemeIdUri ” type= " xs:anyURI” >
                                                                                               < xs :any Attribute namespace = “ #mother” processContents = " lax ” />
                                                                                        < /xs: complexType >
                                                                                    45 < !-- Gives information about trick mode -- >
                                                                                        < xs :complexType name= " TrickMode Type" >
                                        TABLE 18                                               < xs :sequence >
                                                                                                      < xs :any namespace = " # # other” processContents = " lax ”
    < xs :simple Type name= " Quality NameType " >                                     minOccurs = “ 0 ” maxOccurs = " unbounded” >
         < xs:restriction base = " xs :string" >                                               < /xs :sequence >
               < xs :enumeration value = " PSNR " >                                 50         < xs:attribute name= “ alternatePlayoutRate” type =" xs:string" />
               < xs:enumeration value = "MOS" />                                                < xs:anyAttribute namespace = “ # # other” process Contents = " lax ” />
               < xs :enumeration value = "ODG " />                                       < /xs :complexType >
               < xs : enumeration value = " DI" / >                                      < / xs :schema>
         < /xs:restriction >
   < /xs:simpleType >
   < !-- Segment access information -->                                             55       FIG . 5 is a diagram illustrating a configuration of the



                                                                                      37141
    < xs :complexType name= " SegmentInfoType " >                                        terminal 100 according to an embodiment of the present
           < xs :sequence >
                  < xs :element minOccurs = " 0 " name = " BaseUrls"                     invention .
                  type = " xs :string " >                                                   A controller 510 may perform operations 130 and 140 .
                   < xs :element minOccurs = " 0 " maxOccurs = "unbounded "              Specifically, the controller 510 may process the metadata of
   name = "MoreBaseUrl" type = " xs:anyURI" />                                      60 the interval.
                  < xs:elementminOccurs =" 0 " maxOccurs =" unbounded ”
   name= " InitialisationSegmentURL " type =" Url Type" />                                 A transceiver 520 that selects a fragment suitable for the
               < xs :choice maxOccurs = " unbounded ” >                                  interval based on the processing may perform operations
                      <xs: elementminOccurs = " 0 " name= " UrlTemplate "                120 , 140 , and 150 . Specifically, the transceiver 520 may
                    type = "UrlTemplateType" />
                     < xs:sequence >                                                   receive the metadata of the interval of the content from the
                           < xs :element maxOccurs = " unbounded " name= " Url"     65 server 110 , may send a request for the fragment suitable for
                           type= " UrlType" />                                         the interval to the server, and may receive the fragment from
                                                                                       the server.
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      FIG . 6 is a diagram illustrating a configuration of the         appreciated by those skilled in the art that changes may be
   terminal 100 according to an embodiment of the present              made to these embodiments without departing from the
   invention .                                                         principles and spirit of the invention , the scope of which is
      The terminal 100 may include an access engine 610 , and          defined by the claims and their equivalents.
   aa media engine 620 .
      The access engine 610 may be a DASH access engine .                 The invention claimed is :
      The access engine 610 may receive metadata (for                     1. A method for receiving media content in a terminal
   example , an MPD ) from the server 110 .
      The access engine 610 may form requests , and may issuee     performed by a processor, the method comprising :
   the formed requests to the server 110 . The access engine 610 10 receiving metadata of media content, the metadata com
                                                                       prising an attribute with multiple BaseURL elements,
   may receive media (for example , segments or parts of the
   segments ) from the server 110 . The access engine may                selecting a BaseURL element from the multiple BaseURL
   request a segment of the media using a URL of the segment.               elements;
      The access engine 610 may receive segments of the media            sending a request for a segment of the media contentusing
   based on information provided by the metadata . Here , each 15           a URL of the segment to a server, the URL being
   period may include one or more groups, and each of the                   generated based on the selected BaseURL element;
   groups may include one or more representations of the                  receiving the segment from the server,
   media . Each of the representations may include one or more           wherein the metadata is Media Presentation Description
   segments .                                                               (MPD ),
      The access engine 610 may provide the media to the 20              wherein the MPD describes one or more periods,
   media engine 620. The access engine 610 may decode data               wherein the period includes one or more groups
   of the media included in the segments .                               wherein the group includes one or more representation ,
      An output of the access engine 610 may include media (or           wherein the representation includes one or more segments
   a part of the media ) of an MPEG container ( for example , an               of the media content,
   ISO / IEC 14492 - 12 ISO base media file format, or an ISO / 25       wherein the receiver receives identical segments that are
   IEC 13818 -2 MPEG -2 TS ). Additionally , the output of the             accessible at multiple locations indicated by URLS
   access engine 610 may include timing information used to                resolved with respect to the respective BaseURL ele
   map internal timing of the media to a timeline of a media               ments , and a first BaseURL element among the
   presentation .
      The media engine 620 may play back the provided media . 30           BaseURL elements is used as a base Universal
   Specifically, the media engine 620 may receive data of the              Resource Indicator (URI).
   media from the access engine, and may output the media .               2 . The method of claim 1 , wherein the BaseURL element
    The media engine 620 may output the media using the data           include an MPD level Base URL element of MPD , a period
                                                                  level Base URL element of each period , a group level Base
   of themedia and the timing information that are output from 35 URL
   the access engine 610 .                                              element of each group , and a representation level Base
      Technical information according to the embodiments of            URL element of each representation .
   the present invention described above with reference to               3 . The method of claim 2 , wherein the BaseURL element
   FIGS. 1 through 5 may equally be applied to the present             of a specific level is resolved with respect to a BaseURL
   embodiment. Accordingly , further description thereof will          element of a higher level,
   be omitted .                                                      40 wherein the period level BaseURL element is resolved
      The method according to the above -described embodi-                     with respect to the MPD level BaseURL element,
   ments of the present invention may be recorded in computer            wherein the group level BaseURL element is resolved
   readable media including program instructions to implement              with respect to the period level BaseURL element,
   various operations embodied by a computer. The media may              wherein the representation level BaseURL element is
   also include , alone or in combination with the program 45                  resolved with respect to the group level BaseURL
    instructions, data files , data structures, and the like . The             element.
   program instructions recorded on the media may be those                4 . The method of claim 1 , wherein the media content is
   specially designed and constructed for the purposes of the          requested using a URI generated based on a resource type
   embodiments, or they may be of the kind well-known and              including bitrate , vertical resolution, or horizontal resolu
   available to those having skill in the computer software arts . 50 tion .
   Examples of computer -readable media include magnetic                  5 . The method of claim 1, wherein the request is sent
   media such as hard disks , floppy disks , and magnetic tape ;       using an HTTP GET method .
   optical media such as CD ROM disks and DVDs; magneto -                6 . Themethod of claim 1 , wherein themetadata comprises
   optical media such as floptical disks ; and hardware devices        a range attribute, and
   that are specially configured to store and perform program 55         wherein the request comprises a request for bytes of a
   instructions, such as read - only memory (ROM ) , random                resource indicated by the URL that are designated by
   access memory (RAM ), flash memory, and the like.                  the range attribute.
   Examples of program instructions include both machine          7 . The method of claim 1, wherein the URL is an absolute
   code , such as produced by a compiler, and files containing URL or a relative URL .
   higher level code that may be executed by the computer 60 8 . The method of claim 1, wherein the metadata selec
   using an interpreter. The described hardware devices may be tively comprises a sourceURL attribute of the segment, and
   configured to act as one or more software modules in order     wherein , when the metadata selectively comprises the
   to perform the operations of the above-described embodi            sourceURL attribute of the segment, a BaseURL ele
   ments of the present invention , or vice versa .                        ment among the BaseURL elements is mapped to the
      Although a few embodiments of the present invention 65                   sourceURL attribute , so that the URL is generated .
   have been shown and described , the present invention is not           9 . A method of providing media content by a server
   limited to the described embodiments . Instead , it would be        performed by a processor, the method comprising :
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                              33                                                                34
     receiving a request for a segment of the media content          wherein the period level BaseURL element is resolved
       using a URL of the segment from a terminal, the URL             with respect to the MPD level BaseURL element,
       being generated based on the selected BaseURL ele             wherein the group level BaseURL element is resolved
       ment ;                                                          with respect to the period level BaseURL element,
     providing the segment to the terminal,                    5     wherein the representation level BaseURL element is
     wherein the terminal selects a BaseURL element from ththe
                                                            .          resolved with respect to the group level BaseURL
       multiple BaseURL elements based on the metadata of
        the media content,                                             element.
     wherein the metadata is Media Presentation Description        12 . The method of claim 9 , wherein the media content is
        (MPD ),                                                 requested using a URI generated based on a resource type
     wherein the MPD describes one or more periods,          10 including bitrate , vertical resolution , or horizontal resolu
     wherein the period includes one or more groups             tion .
     wherein the group includes one or more representation ,       13. The method of claim 9, wherein the request is sent
     wherein the representation includes one or more segments      using an HTTP GET method .
       of the media content,                                         14 . The method of claim 9 , wherein the metadata com
     wherein the receiver receives identical segments that are 13 prises a range attribute , and
        accessible at multiple locations indicated by URLS          wherein the request comprises a request for bytes of a
        resolved with respect to the respective BaseURL ele             resource indicated by the URL that are designated by
       ments , and a first BaseURL element among the
        BaseURL elements is used as a base Universal- 2015 the          .
                                                                            range attribute .
                                                                          The  method of claim 9 , wherein the URL is an
        Resource Indicator (URI).                                 absolute  URL   or a relative URL .
     10 . The method of claim 9 , wherein the BaseURL element        16 . The method of claim 9 , wherein the metadata selec
   include an MPD level Base URL element of MPD , a period
   level Base URL element of each period, a group level Base tively   comprises a sourceURL attribute of the segment, and
                                                                  wherein , when the metadata selectively comprises the
   URL element of each group , and a representation level Base 25   sourceURL attribute of the segment, a BaseURL ele
   URL element of each representation .                             ment among the BaseURL elements is mapped to the
      11. The method of claim 10 , wherein the BaseURL              sourceURL attribute , so that the URL is generated .
   element of a specific level is resolved with respect to a
   BaseURL element of a higher level ,                                                  *   *   *    *   *
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                              EXHIBIT J
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                                                                                                            US010270830B2

   (12) United     States Patent                                                         (10) Patent No.: US 10 ,270,830 B2
        Thang et al.                                                                     (45) Date of Patent:                        Apr. 23 , 2019
   (54 ) APPARATUS AND METHOD FOR                                                                            21/23439 (2013.01); H04N 21/25825
           PROVIDING STREAMING CONTENT USING                                                                 (2013.01 ); H04N 21/6125 (2013.01);
           REPRESENTATIONS                                                                                 (Continued )
   (71) Applicant: Electronics and Telecommunications                               (58) Field of Classification Search
                                                                                            None
                     Research Institute , Daejeon (KR )                                     See application file for complete search history.
   ( 72 ) Inventors: Truong Cong Thang, Daejeon ( KR );
                         Jin Young Lee , Daejeon (KR )                              (56)                     References Cited
    (73) Assignee : Ideahub , Seoul (KR )                                                            U .S . PATENT DOCUMENTS
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                        patent is extended or adjusted under 35                                                 (Continued )
                        U . S .C . 154 (b ) by 0 days .
   (21) Appl. No.: 16/168,933                                                                    FOREIGN PATENT DOCUMENTS
                                                                                    CN              101589625 A        11/2009
   (22) Filed :         Oct. 24, 2018                                               EP               2 224 732 A1       9 /2010
   (65 )               Prior Publication Data                                                                  (Continued )
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                Related U .S . Application Data                                     “ HTTP Streaming : Media presentation data model” , 3GPP TSG
                                                                                    SA4 # 56 , Sophia Antipolis , France, Nov. 9 - 13, 2009 (13 pages in
   (63 ) Continuation of application No. 15 /834 ,702, filed on                     English )
           Dec . 7 , 2017 , now Pat. No. 10 , 122 ,780 , which is a                                             (Continued )
                              (Continued )
   (30 )           Foreign Application Priority Data                                Primary Examiner — Melvin H Pollack
                                                                                    (74 ) Attorney, Agent, or Firm — NSIP Law
     Mar. 16 , 2011 (KR ) ........................ 10 - 2011 -0023271
     Mar. 16 , 2012       (KR ) ........................ 10 - 2012- 0026862         (57)                      ABSTRACT
   (51 ) Int . Ci.                                                                  A method and apparatus for an adaptive Hypertext Transfer
           G06F   15 / 16             ( 2006 .01)                                   Protocol (HTTP ) streaming service using metadata ofmedia
           H04L   29 / 06             ( 2006 .01)                                   content are provided . The media content may include a
           H04N   21/84               ( 2011.01)                                    sequence of one or more periods . Each of the periods may
           H04N   21/2343             ( 2011 .01)                                   include one or more representations. The metadata may
           H04N 21/ 258             (2011.01)                                       include information used to describe a relationship between
                              (Continued )                                          the representations , and include information for terminals
    (52 ) U .S . CI.                                                                having different display bit depth .
           CPC ........ H04L 65/601 (2013 .01 ); H04L 65/4084
                       ( 2013 .01 ) ; H04L 65/602 ( 2013 .01) ; H04N                                 35 Claims, 5 Drawing Sheets
                                                                              MPD
                                                                          PERIOD
                                                                     ADAPTATION SET
                                                                     REPRESENTATION
                                                                         SEGMENT

                                                                         SEGMENT


                                                                     REPRESENTATION

                                                                     ADAPTATION SET


                                                                          PERIOD
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             continuation of application No. 14 /004,644 , filed as            2017 /0142180 A15 /2017 McGowan et al.
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                                  (2013 .01); H04N 21/8543 (2013.01)        3rd Generation Partnership Project, “ Progressive Download and
                                                                            Dynamic Adaptive Streaming over HTTP ( 3GP -DASH ) " , 3GPP TS
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                                        FIG . 1

                                         MPD
                                        PERIOD
                               ADAPTATION SET
                               REPRESENTATION
                                   SEGMENT

                                    SEGMENT


                               REPRESENTATION


                                ADAPTATION SET


                                        PERIOD
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                                        FIG . 2
                      200                                      210
                   TERMINAL                                  SERVER

                                 METADATA 220


            PROCES METADATAF-22
            PROCESS METADATA

                            REQUEST FOR SEGMENT 240
                                          245
                                          245
                                                           PARSE MEDIA
                                                       PARSE MEDIA
                                  SEGMENT 250

            PERFORM DECODING            - 260
              AND RENDERING
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                                        FIG . 3
                          N310
                   GENERAL INFO
           CONTENT INFO , LIVE OR VOD ,
                   LENGTH , ETC .

                         W320                                      340
                QOS -RELATED INFO                       CLIENT REQUEST
             ALTERNATIVES: QUALITY                      · CLIENT-BASED
                                                        • SERVER -BASED
              AND CHARACTERISTICS                         · DISTRIBUTED
                        ~ 330
               DATA MAPPING INFO
            MAPPING ALTERNATIVE TO
           PHYSICAL DATA FRAGMENTS
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                                                                                     430
                                                                                     7                                  440
                                                                                                    |
                                                                                                    QOS
                                                                                                    INFO
                               |C-OLN.ET4V1ENTL0                  IN-LT4ERV2AEL0
                                             INFO                             INFO                                      IMANPFIOG

     4
     .
     FIG




                                                    2NDINTERVAL                                         1ALTERNAIVE 2ALTERNATIVE
                                 CONTE
                                                                                                                     -
                                                                                                                     IET
                                                    ISTINTERVAL
                                                     -   - - - -                      - -
                                                                                            FRAGMENTS
                                                                                            - -                      T
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                                                                     OM-UETDPIUTA
                                                 2520 MEDIAENGI E
          5
          .
          FIG


                                                                                MFOPREAGT +TMIEDINAG
                                                 510
                                                               )
                                                               DASH
                                                               (
                                                                       ACES ENGIE
                                                       METAD   )
                                                               MPD
                                                               (
                                                                     -




                                                                                    MEDIA)(SEGMENT
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                                                       US 10 ,270 ,830 B2
           APPARATUS AND METHOD FOR                                                           Technical Solutions
       PROVIDING STREAMING CONTENT USING
                     REPRESENTATIONS                                       According to an aspect of the present invention , there is
                                                                         provided a method for providing media content, the method
              CROSS -REFERENCE TO RELATED                                including: receiving metadata of media content, the meta
                      APPLICATIONS                                       data including one or more periods ; accessing segments of
                                                                         the media content based on information provided by the
      This application is a Continuation of U .S . application Ser.     metadata ; and decoding and rendering data of the media
   No. 15 /834 ,702, filed on Dec . 7 , 2017 which is a Continu          content that is included in the segments, wherein each of the
   ation of U . S . application Ser. No. 14 /004 ,644 , filed on Sep . 10 periods
                                                                          content ,
                                                                                    includes one or more representations of the media
                                                                                     and wherein each of the representations includes
   11 , 2013 , now U .S . Pat . No. 9 ,860 ,293 B2 issued on Jan . 2 , information      used to support disabled users who have diffi
   2018 which is a National Stage of International Application culties in perceiving             the media content.
   No . PCT/KR2012 / 001922, filed Mar. 16 , 2012 and pub                    A media component of each of the representations may be
   lished as WO 2012/ 125006 on Sep . 20 , 2012, which         claims 15 enhanced to cope with a problem of a disabled user, and
                                                           ich claims
   the benefit under 35 USC 119 (a ) and 365(b ) of Korean enhancement of themedia component may include at least
   Patent Application No. 10 - 2012 - 0026862 , filed on Mar. 16 ,       one of adjustment of a contrast and adjustment of a colour.
   2012 and Korean Patent Application No . 10 -2011 -0023271,               The information included in each of the representations
    filed on Mar. 16 , 2011 , the entire disclosures of which are       may indicate an intended use of each of the representations,
   incorporated herein by reference for all purposes .                20 and the intended use may include at least one of a sign
                                                                         language, a subtitle , a caption , and a description .
                       TECHNICAL FIELD                                The information included in each of the representations
                                                                   may indicate an attribute providing a reference to an external
      The present invention relates to a technology for provid - Moving Picture Experts Group (MPEG )- 21 Digital Item
   ing streaming content, andmore particularly, to an apparatus 25 Adaptation (DIA ).
   and method for providing media content using a represen                 According to another aspect of the present invention ,
   tation of the media content .                                         there is provided a method for providing media content,
                                                                         including: receiving metadata of media content, the meta
                      BACKGROUND ART                                     data including one or more periods ; accessing segments of
                                                                      30 the media content based on information provided by the
      Streaming is one of schemes for transmitting and playing           metadata ; and decoding and rendering data of the media
   back multimedia content such as sounds, moving images,                content that is included in the segments, wherein each of the
   and the like. A client may play back content while receiving periods includes one or more representations of the media
   the content through the streaming.                           content, and wherein the metadata includes an attribute
      An adaptive streaming service refers to providing a 35 describing a relationship between the representations.
   streaming service using a communication scheme with a                    A first representation among the representations may
   request of a client and a response of a server in response to         include an attribute indicating a list of a part of the repre
   the request.                                                          sentations , and may be used together with a representation
      The client may request a media sequence suitable for an            among the part of the representations.
   environment of the client ( for example , a transmission 40 The first representation may be a representation used for
   channel of the client ), using the adaptive streaming service . audio description .
   The server may provide a media sequence matched to the                   Each of the part of the representations may be a repre
   request of the client among media sequences with various              sentation used for a video component.
   qualities that are included in the server.                               A first representation among the representations may
      The adaptive streaming service may be provided based on 45 include an attribute indicating a list of a part of the repre
   various protocols. A Hypertext Transfer Protocol (HTTP )              sentations.
   adaptive streaming service refers to an adaptive streaming                 representation among the part of the representations
   service provided based on an HTTP . A client of the HTTP              may be replaced by the first representation .
   adaptive streaming service may receive content from a                   According to still another aspect of the present invention ,
   server using the HTTP, and may transmit a request associ - 50 there is provided a method for providing media content,
   ated with a streaming service to the server.                  including: receiving metadata of media content, the meta
                                                                        data including one or more periods, accessing segments of
                  DISCLOSURE OF INVENTION                                the media content based on information provided by the
                                                                        metadata ; and decoding and rendering data of the media
                        Technical Goals                                  content that is included in the segments , wherein each of the
                                                               periods includes one or more representations of the media
      An aspect of the present invention provides an apparatus content, and wherein each of the representations includes a
   and method that may play back media content using repre - bit depth attribute used to select different representations for
   sentations including accessibility information .            terminals having different display bit depths.
      Another aspect of the present invention provides an 60 The bit depth attribute may indicate a number of bits used
   apparatus and method that may play back media content                 to represent a luma /chroma sample of visual content.
   using information used to describe a relationship between                According to yet another aspect of the present invention ,
   representations of the media content.                                 there is provided a terminal including : an access engine to
      Still another aspect of the present invention provides an receive metadata of media content, to receive segments of
   apparatus and method that may play back media content 65 the media content based on information provided by the
   using information of different representations for terminals metadata , and to decode data of the media content that is
   having different display bit depths.                                  included in the segments , the metadata including one or
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                                                      US 10 ,270 ,830 B2
   more periods ; and a media engine to receive the data of the          the accompanying drawings, wherein like reference numer
   media content from the access engine, and to output the               als refer to the like elements throughout. The embodiments
   media content, wherein each of the periods includes one or are described below in order to explain the present invention
   more representations of themedia content, and wherein each    by referring to the figures.
   of the representations includes information used to support 5   The entire document “Dynamic Adaptive Streaming over
   disabled users who have difficulties in perceiving the media HTTP (DASH ) - Part 1 : Media presentation description and
   content.                                                      segment format ” of ISO /IEC DIS 23009 - 1 published on
      According to a further aspect of the present invention ,           Aug. 30 , 2011 , will be cited as references in the present
   there is provided a terminal including : an access engine to
                                                             application , and will used to describe the following embodi
   receive metadata of media content, to receive segments of
   the media content based on information provided by the 10 ments .
   metadata , and to decode data of the media content that is  Hereinafter, embodiments of the present invention willbe
    included in the segments , the metadata including one or             further described with reference to the accompanying draw
   more periods , and a media engine to receive the data of the  ings, however, there is no limitation to the embodiments of
   media content from the access engine, and to output the the present invention . Like reference numerals refer to the
   media content, wherein each of the periods includes one or 15 like elements throughout.
   more representations of the media content, and wherein the               The terms " specify," " indicate,” and “ mean ” used herein
   metadata includes an attribute describing a relationship              may have the same meaning . Additionally , the terms Uni
   between the representations.                                          form Resource Locator (URL )” and “ Uniform Resource
      According to a further aspect of the present invention ,           Identifier (URI)” used herein may have the same meaning,
   there is provided a terminal including: an access engine to 20 and may be interchangeable .
   receive metadata of media content, to receive segments of               When indexes for a specific element are from 1 to N , or
   the media content based on information provided by the                from 0 to N , the number of specific elements may be one or
   metadata , and to decode data of the media content that is more . N may be an integer equal to or greater than 0 .
    included in the segments , the metadata including one or           Hereinafter, examples of terms used in embodiments will
   more periods ; and a media engine to receive the data of the 25 be described .
   media content from the access engine, and to output the             DASH may specify formats that enable 1) delivery of
   media content, wherein each of the periods includes one or            media content from an HTTP server to an HTTP client,
   more representations of themedia content, and wherein each             and enable 2 ) caching of content by standard HTTP
   of the representations includes a bit depth attribute used to          cashes. The formats may include , for example , an
    select different representations for terminals having different 30    Extensible Markup Language (XML ) format, or a
   display bit depths.                                                    binary format.
                        Effect of the Invention                        Media content may be a single media content period , or
                                                                          a contiguous sequence of media content periods. Here
      According to embodiments of the present invention , it is               inafter,media content, media , and contentmay be used
   possible to play back media content using representations 35               as interchangeable terms. Media content may be a set
   including accessibility information .                                      ofmedia content components having a common time
      Additionally , according to embodiments of the present                  line , for example audios, videos , or timed texts . Addi
                                                                              tionally , media components may have relationships on
   invention , it is possible to play back media content using
   information used to describe a relationship between repre 40               how the media components may be presented ( for
   sentations of the media content.                                           example , individually , jointly , or mutually exclusive ) as
      Furthermore , according to embodiments of the present                   programs or movies . Media content may be content on
    invention , it is possible to play back media content using               demand , or live content.
    information of different representations for terminals having          Content may be divided into one or more intervals. In
   different display bit depths.                                         other words , the content may include one or more intervals .
                                                                    45 Hereinafter, an interval and a period may be used as inter
             BRIEF DESCRIPTION OF DRAWINGS                               changeable terms. The term period may be used as a term in
                                                                         3rd Generation Partnership Project (3GPP ) adaptive HTTP
      FIG . 1 is a diagram illustrating a Dynamic Adaptive streaming . In other words, a period may be an intervalof a
   Streaming over HTTP (DASH ) high -level data model .                media presentation . A continuous sequence of all periods
      FIG . 2 is a signal flowchart illustrating a content process- 50 may constitute the media presentation .
   ing method according to an embodiment of the present                    One or more intervals may be a basic unit. One or more
   invention .                                                           intervals may be described by signaling metadata . In other
      FIG . 3 is a diagram illustrating categories of signaling          words, metadata may describe each of the one or more
   information according to an embodiment of the present                 intervals . The metadata may be a Media Presentation
    invention                                                  55 Description (MPD ) that will be described later.
      FIG . 4 is a diagram illustrating a hierarchy of content       A media content component may be a continuous com
   division and levels of signaling information according to an               ponent of media content with an assigned media com
   embodiment of the present invention .                                      ponent type . A media content component may be
      FIG . 5 is a diagram illustrating a configuration of a                 encoded individually into a media stream . A media
   terminal according to an embodiment of the present inven - 60             component may be an encoded version of individual
   tion .                                                                    media types, such as audios , videos , or timed texts with
                                                                              specific attributes, for example bandwidths , languages,
            BEST MODE FOR CARRYING OUT THE                                   or resolutions.
                       INVENTION                                           A media stream may be an encoded version of a media
                                                                    65        content component
     Reference will now be made in detail to embodiments of                A media component type may be a single type of media
   the present invention , examples of which are illustrated in              content, such as audio , video , or text.
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                                                        US 10 ,270 ,830 B2
      A media presentation may be a collection of data used to               A segment may mean an entity body of a response to an
        establish a bounded or unbounded presentation of HTTP / 1.1 GET request for an HTTP -URL , for example as
       media content. The media presentation may be a col- defined in RFC 2616 , (or a GET request for a part indicated
        lection of data that is accessible to a DASH client to by a byte range ).
        provide a streaming service to a user. An MPD may be 5 A terminal may play back media content using received
       described by an MPD . The media presentation may be bytes (namely , a segment).
        a collection of data that is accessible to a DASH client  A sub - segment may mean a smallest unit within segments
        to provide a streaming service to a user .                  that may be indexed by a segment index at a segment
      An MPD may be a formalized description for a media 10 A level        .
                                                                    sub -representation may be a part of a representation
        presentation to provide a streaming service. The MPD        described in an MPD that is present in the entire period .
       may be a document containing metadata required by a        A Random Access Point (RAP ) may be a specific location
       DASH client, to provide a user with a streaming              in a media segment. The RAP may be identified as a
        service , and to construct appropriate HTTP -URLs to        location   in which playback may be started continuously
       access segments. The media presentation may be 15            from     a location of the RAP using only information
       described by an MPD including possible updates of the        included in a media segment.
       MPD .                                                      The DASH may provide a media - streaming model for
      An MPD may be a document containing metadata                        delivery ofmedia content. A clientmay exclusively control
   requested to a DASH client to construct appropriate HTTP -             a session of the delivery . Clients may request data using the
   URLs in order to 1) access segments and to 2) provide a user 20 HTTP protocol from standard web servers that do not have
   with a streaming service . The HTTP -URLs may be absolute DASH -specific capabilities. Accordingly , the DASH stan
   or relative . The MPD may be an XML -document .              dard may focus on data formats used to provide a DASH
      The MPD may define a format to announce resource media presentation .
   identifiers for segments . The MPD may provide a context for    A collection of encoded and deliverable versions of media
   identified resources within the media presentation . The 25 content, and an appropriate description of the versions may
   resource identifiers may be HTTP -URLs. URLs may be          form a media presentation . Media content may include one
   restricted by a byte range attribute .                                 or more contiguous media content periods in time. Each
      A period may be an interval of a media presentation . A             media content period may include one or more media
        continuous sequence of all periods may constitute the             content components, for example audio components in
                                                           sen -- 3030
        media presentation . In other words , the media presen            various languages and a video component. A media content
        tation may include one or more periods. Alternatively,            component type may be assigned to each media content
        the media presentation may include a sequence of one              component, and may include , for example, audio or video .
        or more periods.                                                     Each media content component may have one or more
      A representation may be a collection and encapsulation of 35        encoded versions . An encoded version of a media content
                                                                          component may be referred to as a " media stream ." Each
        one or more media streams in a delivery format, and       media stream may inherit attributes ofmedia contentused to
        may be associated with descriptive metadata . The rep      encode media content, a media content period, or a media
        resentation may be a structured collection of one or       stream . Additionally , to each media stream , properties of an
        more media components within a single period. In           encoding process, such as sub -sampling, codec parameters ,
        other words, the representation may be one of alterna- 40 encoding bitrate, and the like, may be assigned . Accordingly ,
        tive choices of a complete set or subset of media                 metadata may be relevant for static and dynamic selection of
         content components forming media content during a                media content components and media streams.
        defined period . The representation may include one or              FIG . 1 is a diagram illustrating a DASH high -level data
         more media streams.                                         model.
       A representation may start at a beginning point of a period 45 A DASH may be based on a hierarchical data model, as
   ( namely, a period including the representation ), and may shown in FIG . 1 .
   continue to an ending point of the period .                          A DASH media presentation may be described by an
       A representation may be one of alternative choices of the          MPD document. The MPD may describe a sequence of
   media content or a subset of the media content typically               periods in time. The sequence of the periods may form a
   differing by the encoding choice, for example by a bitratete, a 3050   media presentation . A period may typically represent a
                                                                          media content period during which a consistent set of
   resolution , a language, a codec , and the like.                       encoded versions of media content is available . In other
      An MPD (or an MPD element) may provide descriptive                  words, during a single period , bitrates, languages, captions ,
    information that enables a client to select one or more               subtitles , and the like, may not be changed .
   representations .                                               55        A period may include one or more adaptation sets . An
      Hereinafter , a representation and a media representation           adaptation set may represent a set of interchangeable
   may be used as interchangeable terms.                                  encoded versions of one or more media content components .
       Two or more sets of segments corresponding to a single             For example , an adaptation set for a main video component,
    interval may exist. Each of the sets may be called a repre -and a separate adaptation set for a main audio component
   sentation , or an alternative .                           60 may exist. For example , when there are other available
      A segment may be a smallest addressable unit in an MPD    materials, for example captions or audio descriptions , the
        with a defined format. Hereinafter , a segment and a              other available materials may each have a separate adapta
        media segment may be used as interchangeable terms.               tion set.
      Each interval may be divided into segments. Hereinafter,              An adaptation set may include one or more representa
   a segment and a fragment may be used as interchangeable 65 tions. A representation may describe a deliverable encoded
   terms. The term segment may be used as a term of 3GPP      version of one or more media content components . A
   adaptive HTTP streaming .                                  representation may include one or more media streams. A
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                                                                     US 10 ,270 ,830 B2
    single representation within an adaptation set may be suf                      Consortium (W3C ) XLINK simple links may be defined ,
    ficient to render the media content components includeded                      consisting of 1) restricted syntax and semantics, and 2 ) a
    in the single representation . Typically, a client may switch                  processing model.
   from one representation to another representation during a                          XLINK attributes used in a part of ISO /IEC 23009 are
   period , in order toDadant
                          adapt toto network
                                     network conditions or other
                                             conditions or other 55 provided     as follows:
                                                                    pro“ xlink :type ” may define a type of W3C XLINK that is
   factors . The client may also ignore representations that rely         being used .
   on codecs or other rendering technologies that are not              “ xlink :href” may identify a remote element using a URI,
   supported by the client, or that are otherwise unsuitable .                            as defined in IETF RFC 3986 .
      Within a representation, the content may be divided in                          “ xlink : show ” may define a desired behaviour of a remote
   time into segments . In other words, the representation may                            element once dereferenced from within an MPD , as
   include one or more segments . A segment may be a basic                                defined in W3C XLINK .
   unit of data that is advertised in an MPD . A URL may be                           “ xlink :actuate” may define a desired timing of derefer
   provided for each segment. The providing of the URL may                                encing a remote element from within an MPD , as
    indicate that a segment is the largest unit of data that may be 16                    defined in W3C XLINK .
   retrieved with a single HTTP request. The MPD may include                           The following Table 2 showsan XML schema of XLINK .
   a byte range of the URL , with the URL . Accordingly , the
   segment may be included in a byte range of other larger                                                   TABLE 2
   resources .                                                < ? xml version = ' 1.0 ' encoding = "UTF -8 " ?>
     Hereinafter, a relationship between components of the 20 <xs:schema xmlns:xS =" http ://www .w3.org/2001/XMLSchema”
   above- described data model will be described .                                            targetNamespace = " http ://www .w3.org /1999/xlink"
      An MPD may include a sequence of one ormore periods .                                  xmlns :xlink = " http ://www .w3.org/ 1999 /xlink ” >
      Each of the periods may include one or more adaptation                                 < xs:attribute name= " type" type= " xs:token ” fixed = " simple" >
                                                                                             < xs:attribute name=" href" type = " xlink :hrefType " />
        sets . When an adaptation set includes one or more                                   < xs:simple Type name =" hrefType" >
        media content components, each of the media content 25                                     <xs:restriction base = " xs:anyURI” />
        components may be individually defined .                                              < /xs:simpleType >
      Each of the adaptation sets may include one or more                                     < xs:attribute name=" show " type = " xs: token ” fixed =" embed" />
        representations.                                                                       < xs:attribute           name= " actuate ”
                                                                                   type = " xlink :actuate Type” default= “ onRequest" >
      Each of the representations may include one or more                                     < xs :simple Type name = " actuateType " >
        sub -representations .                                                30                     <xs:restriction base = " xs:token ” >
      Each of the representations may include one or more                                                 < xs:enumeration value= " onLoad" />
                                                                                                          < xs :enumeration value = " onRequest" />
         segments .                                                                                < xs:restriction >
      Segments may include media data , and /or metadata to                                   </xs:simpleType >
         access, decode , and present media content including the                  </xs:schema>
         segments .                                                           35
      Adaptation sets, representations and sub -representations                       In the schema, a namespace , a name, a type , and a default
        may share common attributes and elements.                                  value of each element or each attribute may be described.
      Each of the segments may include one or more subseg                          Additionally, a hierarchical relationship between elements
        ments .                                                                 and attributes may be described .
      An MPD document indicating an MPD may include an 40 Rules applied to process URI references within the attri
    element “MPD .”                                                             bute “ xlink :href" are provided as follows:
       The following Table 1 shows an XML schema of MPD .                         URI references to remote elements that cannot be
                                                                                     resolved may be treated as invalid references , and may
                                      TABLE 1                                        invalidate the MPD .
        < ?xml version = " 1.0 " encoding = "UTF -8 " ? >                     45 URI references to remote elements that are inappropriate
        < xs :schema targetNamespace = " urn :mpeg :DASH :schema:MPD : 2011 ”        targets for a given reference may be treated as invalid
          attributeFormDefault = " unqualified ”
          elementFormDefault = " qualified ”
                                                                                          references, and may invalidate the MPD .
          xmlns :xs = " http ://www .w3.org /2001/XMLSchema”
                                                                                      URI references that directly or indirectly reference them
          xmlns :xlink =" http ://www .w3.org/ 1999 /xlink "                              selves may be treated as invalid circular references , and
         xmlns = " urn :mpeg :DASH :schema:MPD : 2011 " >                     50         may invalidate the MPD .
         < xs:import namespace = " http ://www .w3.org / 1999 /xlink "                 A reference to a remote element may be an HTTP -URL .
             schemaLocation = " http ://www .w3.org / 1999 /xlink. xsd " />           When a URI reference is relative , a reference resolution
          < xs:annotation >                                                             may be applied .
             < xs :appinfo >Media Presentation Description < /xs :appinfo >
             < xs :documentation xml: lang = " en " >                                 Semantics of the element “ MPD ” are described as fol
                This Schema defines the Media Presentation Description for    55 lows:
               MPEG -DASH .                                                        1 ) The element “MPD ” may have the following attributes :
             < xs :documentation >
          < /xs :annotation >
                                                                                      “ id ” may specify an identifier for a media presentation .
          < ! - - MPD : main element - - >                                                " id ” may be an identifier that is unique within a scope
          < xs :element name= "MPD " type = "MPDtype" />                                  in which the media presentation is published .
                                                                              60      " type” may specify whether the MPD may be updated .
        < /xs :schema>                                                                "mediaPresentationDuration " may specify a duration of
                                                                                         the entire media presentation . When “mediaPresenta
      Table 1 shows an initial part of the XML schema of the                             tionDuration ” is absent, the duration of the media
   MPD . The initial part may include namespace and other                                presentation may be unknown.
   definitions .                                                              65      “ maxSegmentDuration ” may specify a maximum dura
      A mechanism for referencing remote elements from a                                 tion of a segment in a representation in the media
   local MPD may be defined . A subset of World Wide Web                                 presentation .
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                                                                         US 10 ,270 , 830 B2
                                                                                                                            10
       2 ) The element“MPD ” may have the following elements:                                      may be a regular period . The start time of the period
      " ProgramInformation ” may have an index of 0 to N , and                                     “ PeriodStart ” may be a sum of a start time of a previous
         may specify descriptive information about a program .                                     period and a value of the attribute " duration " of the
         Having an index of N may indicate that a number of                                        previous period.
          instances of an elementmay be unbounded . Having an 5                                 1 ) When the attribute " start" is absent, 2 ) when the
          index of ( may indicate that an element may be                                            element “ Period ” is the first in the MPD , and 3 ) when
          optional. Having an index of 1 may indicate that an                                      the attribute " type” of the MPD is " static ,” the Period
           element is mandatory. In other words, a range of index                                  Start timemay be set to “ O .”
          may represent occurrence or cardinality .                                             1 ) When the attribute " start" is absent, 2 ) when a previous
       “ BaseURL " may have an index of 0 to N , and may specify 10                                element “ Period ” does not include attribute " duration " ,
           a base URL that may be used for reference resolution                                    or when the element “ Period” is the first in the MPD ,
          and alternative URL selection .                                                          and 3 ) when the attribute " type” of the MPD is
       “ Location ” may have an index of 0 to N , and may specify                                  " dynamic ,” a period may be an early available period .
           a location at which the MPD is available .                                          Semantics of the element “ Period ” are described as fol
     “ Period ” may have an index of 1 to N , and may specify lows :
        information of a period.                                1) The element “ Period ” may have the following attri
     "Metrics” may have an index of 0 to N , and may specify butes:
        DASH metrics.                                           “ xlink :href” may specify a reference to an external ele
      The following Table 3 shows an XML syntax of the 20 ment “ Period."
   element “ MPD ” .                                                                           “ xlink :actuate ” may specify processing instructions.
                                                                                                   " link :actuate ” may have a value of either " onload " or
                                         TABLE 3                                                   " onRequest.
   < !-- MPD Type -->                                                                          " id ” may specify an identifier of a period . “ id ” may be a
   < xs:complexType name="MPDtype” >                                                   25          unique identifier within a scope of a media presenta
      <xs: sequence >
         < xs :element name= " ProgramInformation ”                                                tion .
   type = " ProgramInformation Type” min Occurs = “ 0 ”                                        " start" may specify a PeriodStart time of a period . The
   maxOccurs = " unbounded ” />                                                                    PeriodStart timemay be used as an anchor to determine
        < xs :element name =" BaseURL " type = " BaseURLType "                                     an MPD start time of each media segment, as well as
   minOccurs = “ 0 ” maxOccurs = " unbounded" / >                                      30
       < xs:element name= " Location ” type=" xs:anyURI” minOccurs =“ 0”                           to determine a presentation time of each access unit in
   maxOccurs = " unbounded " / >
        < xs:element name= "Period " type = " Period Type”
                                                                                                   a media presentation timeline .
        maxOccurs = " unbounded " />                                                           " duration " may specify a duration of a period to deter
         < xs :element name="Metrics” type = "MetricsType” minOccurs= ““0”                         mine a PeriodStart time of a next period .
   maxOccurs = " unbounded " / >
         < xs :any namespace = " # # other” process Contents = " lax ”                 35      2 ) The element “ Period” may have the following ele
   minOccurs = “ 0 ” maxOccurs = " unbounded " >
                                                                                            ments:
      < / xs:sequence >                                                                        “ BaseURL ” may have an index of 0 to N , and may be
      < xs:attribute name = " id " type = " xs:string" />                                          used for reference resolution and alternative URL
      < xs:attribute name= “ profiles” type =" xs:string” />                                       selection .
      <xs:attribute name=" type” type = "Presentation Type” default=" static " >       40 “ AdaptationSet” may have an index of 1 to N , and may
      < xs:attribute name = " availabilityStartTime” type = " xs:date Time" />               specify information of an adaptation set.
      < xs :attribute name = " availabilityEndTime” type = " xs :dateTime" />
      < xs:attribute name= " mediaPresentationDuration ” type =" xs:duration " />
     < xs:attribute name = "minimumUpdatePeriod" type = " xs :duration " />
                                                                                          “ Subset” may have an index of 0 to N , and may specify
      <xs: attribute name= " minBufferTime” type= " xs :duration "
                                                                                                    a subset.
     use = " required " / >                                                                     The following Table 4 shows an XML syntax of the
      < xs :attribute name= “ timeShiftBufferDepth ” type= " xs :duration " />         45 element " Period ."
     < xs: attribute name= " suggested Presentation Delay" type = " xs: duration" />
     < xs :attribute name = "maxSegmentDuration ” type = " xs:duration" />                                                         TABLE 4
      < xs : attribute name= "maxSubsegmentDuration ” type = " xs :duration " />
        < xs:any Attribute namespace =" # Hother” processContents = " lax " />              < ! -- Period -- >
    < /xs:complexType>                                                                      < xs:complexType name= " PeriodType" >
    < !-- Presentation Type enumeration - - >                                          50      < xs:sequence >
   < xs:simple Type name =" Presentation Type” >                                                  < xs :element name =" BaseURL" type =" BaseURLType"
      < xs : restriction base = " xs:string " >                                             minOccurs = “ 0 ” maxOccurs = " unbounded " />
           < xs :enumeration value = " static" >                                                  < xs:element name= " SegmentBase” type =" SegmentBase Type”
           < xs :enumeration value = " dynamic " >                                               minOccurs = " 0 " / >
      < / xs : restriction >                                                                      < xs :element name= " SegmentList” type = “ SegmentListType"
               < /xs:simpleType >                                                      55        minOccurs = " 0 " / >
                                                                                                  < xs :element name= " SegmentTemplate"
                                                                                            type= " SegmentTemplate Type” minOccurs = “ 0 ” />
      A media presentation may include one or more periods .                                     < xs: element name = “ AdaptationSet" type = " Adaptation SetType"
   Each of the periods may be defined by the element “ Period ”                             minOccurs = “ 0 ” maxOccurs =" unbounded " />
   in the element “MPD .”                                                                        < xs:element name= “ Subset" type =“ SubsetType"
       Periods may be classified into regular periods and early 60                          minOccurs = " 0 " maxOccurs = " unbounded" />
                                                                                               <xs:any namespace = " # # other” processContents = " lax” minOccurs = “ 0 ”
   available periods. Additionally, a PeriodStart time of a
   regular period may be defined as follows :                                                  < xs :sequence >
       When attribute " start" is included in the element “ Period ”,                          <<xsxs ::attribute
                                                                                                        attribute ref
                                                                                                                  ref=="" xlink
                                                                                                                          xlink::href" /> " default =“ onRequest” />
                                                                                                                                 actuate
          a period may be a regular period , and the PeriodStart                               < xs :attribute name = " id " type = " xs:string " />
          timemay be equal to a value of the attribute “ start” . 65                           <xs:attribute name= " start" type = " xs :duration" />
       When the attribute " start” is absent, but a previous ele                               < xs :attribute name = " duration " type = " xs :duration " />
          ment “ Period” includes attribute " duration " , a period
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                                           11                                                                                 12
                             TABLE 4 -continued                                           “ par” may specify a picture aspect ratio . “ par” may
     < xs:attribute name=" bitstreamSwitching " type =" xs:boolean”                           include two integers . When “ par” is present, attributes
       default = " false " >                                                                 " width ” and “ height” for representations may also be
        < xs:any Attribute namespace = “ # other” process Contents =" lax ” />                present.
   < / xs: complexType >                                                          5       “ minBand Width ” may specify a minimum value of the
                                                                                              attribute “ bandwidth ” in all representations in an adap
      Each period may include one or more adaptation sets .                                   tation set.
   Each of the adaptation sets may be described by element                                “ maxBandwidth ” may specify a maximum value of the
   “ AdaptationSet" included in the element " Period ."                                      attribute “ bandwidth ” in all representations in an adap
      An adaptation setmay include alternate encodings of one 10                             tation set.
   or more media content components. Each of the alternate                                “ minWidth ” may specify a minimum value of the attribute
   encodings may be included in a representation . All repre                                  " width ” in all representations in an adaptation set.
   sentations included in a single adaptation set may represent                           "maxWidth ” may specify a maximum value of the attri
   the same media content components , and may include one or 15                            bute "width " in all representations in an adaptation set .
   more media streams that are determined to be perceptually         " minHeight” may specify a minimum value of the attri
                                                                        bute " height” in all representations in an adaptation set .
   equivalent.                                                       “ maxHeight    ” may specify a maximum value of the attri
       One or more representations may be arranged in an                bute " height ” in all representations in an adaptation set .
   adaptation set based on properties of media content compo
   nents present in the representations. The properties of the 20 " minFrameRate        ” may specify a minimum value of the
                                                                        attribute " frameRate " in all representations in an adap
   media content components may include 1) a language                   tation set.
   described by attribute “ lang” , 2) a media component type        " maxFrameRate” may specify a maximum value of the
   described by attribute “ contentType” , 3 ) a picture aspect         attribute “ frameRate” in all representations in an adap
   ratio described by attribute “ par ” , 4 ) a role property 25         tation set.
   described by element “ Role” , 5 ) an accessibility property      2 ) The element “ AdaptationSet " may have the following
   described by element “ Accessibility ” , 6 ) a viewpoint prop   elements :
    erty as described by element “ ViewPoint” , 7) a rating          “ Accessibility ” may have an index of 0 to N , and may
   property described by element “ Rating,” and the like .               specify information on an accessibility scheme.
       The element “ AdaptationSet” may include default values 3020 “ Role ” may have an index of 0 to N , and may specify
    for elements and attributes associated with one or more              information on a role annotation scheme.
   representations included in an adaptation set. Hereinafter, a     “ Rating” may have an index of 0 to N , and may specify
   list of possible present elements and attributes that are                                 information on a rating scheme.
   common to the elements “ AdaptationSet” and “ Representa                               “ Viewpoint” may have an index of 0 to N , and may
   tion ” will be described .                                                     35
                                                                                             specify information on a viewpoint annotation scheme.
       The element " AdaptationSet" may support description of                            “ ContentComponent” may have an index of 0 to N , and
   ranges for attributes “ bandwidth ," " width ,” “ height” and                             may specify properties of a media content component
                                                                                              included in an adaptation set.
   “ framerate” that are associated with one or more represen                             " BaseURL " may have an index of 0 to N , and may be
   tations included in an adaptation set. The description may                                 used for reference resolution and alternative URL
   provide a summary of all values for all of the representations 40                          selection .
   included in the adaptation set. The representations included                           “ Representation " may have an index of 0 to N , and may
   in the adaptation setmay not have values outside the ranges                                specify a representation . At least one representation
   defined in the adaptation set.                                                            elementmay be included in each adaptation set. “ Rep
     Adaptation sets may be classified into groups, using 45                                 resentation ” may be a part of a remote element .
   attribute “ group ” .                                                                   The following Table 5 shows an XML syntax of the
      Semantics of the element “ AdaptationSet " are described                         element “ AdaptationSet.”
   as follows:
      1 ) The element “ AdaptationSet " may have the following                                                           TABLE 5
   attributes:
      “ xlink :href” may specify a reference to external element 50                    < ! -- Adaptation Set -- >
                                                                                       < xs :complexType name= " AdaptationSetType" >
          “ AdaptationSet.”                                                               <xs:complexContent>
      “ xlink :actuate ” may specify processing instructions .                                < xs :extension base = " RepresentationBaseType" >
                                                                                               < xs:sequence >
         " link:actuate” may have a value of either " onload " or                                 < xs:element name= " Accessibility" type =" DescriptorType "
         " onRequest .                                            55                   minOccurs = " 0 " maxOccurs = " unbounded ” />
      " id” may specify an identifier of an adaptation set in the                                 < xs :element name= " Role” type= " DescriptorType"
                                                                                       minOccurs = “ 0 ” maxOccurs = " unbounded " />
          scope of the period . “ id ” may be a unique identifier                               < xs :element name=" Rating” type =" DescriptorType "
         within a scope including the containing Period . " id "                       minOccurs = " 0 " maxOccurs = " unbounded " / >
         may not exist in a remote element.                                                       < xs :element name= " Viewpoint” type = " DescriptorType"
                                                              mim 60cominOccurs
      " group ” may specify an identifier of a group that is unique    "            = “ 0 ” maxOccurs = "unbounded ” />
                                                                                   < xs :element name= " ContentComponent”
         in the scope of the period .                                  type = " ContentComponentType” minOccurs = “ 0 ”
      " lang" may declare language code(s ) of an adaptation set.  maxOccurs = " unbounded " / >
         Syntax and semantics based on IETF RFC 5646 may be                 < xs:element name=" BaseURL " type =" BaseURLType"
         used .                                                    minOccurs = " 0 " maxOccurs = " unbounded " />
                                                                            < xs :element name= " SegmentBase” type= " SegmentBase Type ”
      " contentType” may specify a media content component 65 minOccurs=“ 0” />
         type of an adaptation set . “ type” may be a content-type          < xs:element name= " SegmentList” type =" SegmentListType”
          of top - level . “ type” may be defined in RFC1521 .
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                                    TABLE 5 -continued                                                                        TABLE 6
   minOccurs =“ 0 ” />                                                                         < !-- Content Component -- >
               < xs :element name= " Segment Template "                                        < xs:complexType name= " ContentComponentType" >
   type = “ SegmentTemplate Type” minOccurs = “ 0 ” />                                            < xs:sequence >
               < xs :element name = " Representation ” type = " RepresentationType"   5              <xs:element name=“ Accessibility ” type= " DescriptorType"
   minOccurs = “ 0 ” maxOccurs = " unbounded ” >                                              minOccurs = “ 0 ” maxOccurs = " unbounded” />
             < /xs :sequence >                                                                      < xs:element       name = " Role”        type = " DescriptorType "
             < xs :attribute ref = " xlink :href" / >                                         minOccurs = “ 0 ” maxOccurs = " unbounded ” />
             < s :attribute ref= " xlink:actuate ” default= " onRequest" >                          < xs:element       name=" Rating "          type = " DescriptorType"
             < xs:attribute name= " id " type = " xs : unsignedInt" />                        minOccurs = “ 0” maxOccurs = “ unbounded " >
             < xs :attribute name= " group" type = " xs:unsignedInt" >                10             < xs :element name =" Viewpoint" type = " DescriptorType "
             < xs:attribute name= " lang" type = " xs :language " />                          minOccurs = " 0 " maxOccurs = " unbounded " / >
             < xs :attribute name= " contentType" type =" xs :string " >                             < xs :any namespace =“ # # other” processContents = " lax”
             < xs :attribute name= " par" type = " xs:string" >                               minOccurs = “ 0 ” maxOccurs = " unbounded ” >
             < xs :attribute name= "minBandwidth ” type =" xs:unsignedInt" >                     < /xs :sequence >
             <xs:attribute name= " maxBandwidth ” type = " xs:unsignedInt" />                    < xs :attribute name = " id " type = " xs:unsignedInt" >
             < xs :attribute name= "minWidth " type= " xs :unsignedInt" />            15         < xs:attribute name= " lang" type = " xs:language" />
             < xs :attribute name= "maxWidth ” type = " xs:unsignedInt" >                        < xs:attribute name= " contentType” type = " xs:string" />
             <xs:attribute name= " minHeight” type = " xs:unsignedInt" >                         < xs :attribute name= " par" type = " xs :string" />
             < xs :attribute name= "maxHeight" type = " xs :unsignedInt" >                       < xs:any Attribute namespace =“ # # other” processContents = " lax " />
             < xs :attribute name= "minFrameRate " type = " xs:string" >                       < /xs :complexType >
             < xs :attribute name= "maxFrameRate " type = " xs :string ”'/>
            < xs:attribute name= " segmentAlignment”
   type= " ConditionalUintType" default = " false " />                                20     Representations may be described by the element " Rep
            < xs:attribute name= " subsegmentAlignment"
   type= " ConditionalUintType" default =" false " />                                      resentation .” The element “ AdaptationSet" may include one
             < xs :attribute name= " subsegmentStartsWithSAP" type = " SAPType "           or more elements “ Representation .”
   default = " 0 " />
             < xs:attribute name=" bitstreamSwitching” type =" xs:boolean" />                 A representation may be one of alternative choices of a
          < / xs :extension >                                                         25 complete set or subset ofmedia content components forming
      < / xs : complexContent>
   < /xs :complexType >                                                                    media content during a defined period .
   < !-- Conditional Unsigned Integer (unsignedInt or boolean ) -->
   < xs:simpleType name=" ConditionalUintType" >                                              A representation may start at the start of the PeriodStart of
      < xs:union memberTypes = “ xs:unsignedInt xs:boolean " />                          a period , and may continue to the end of the period . In other
   < /xs:simpleType >                                                                 30 words , the end of the period may be the start of a next period ,
                                                              or the end of a media presentation .
      An adaptation set may include one or more media content   Each representation may include one or more media
   components . Properties of each of the media content com - streams. Each of the media streams may be an encoded
   ponents may be described by the element “ ContentCom - ,, version of a media content component.
   ponet.” When a single media content component is included     A representation may include one or more segments .
   in an adaptation set , properties of the media content com    Semantics  of the element “ Representation ” are described
   ponent may be described directly by the element “ Adapta as follows:
   tionSet.”
      Semantics of the element " ContentComponent” are 10 1) The element “ Representation ” may have the following
   described as follows:                                                              40 attributes :
       1) The element “ ContentComponent may have the fol                                    “ id ” may specify an identifier of a representation . When
    lowing attributes:                                                                           a representation is functionally different from another
      " id ” may specify an identifier of a media component. " id "                             representation within the same period , “ id ” may be
         may be unique within a scope of an adaptation set. 45                                  unique within the scope of the period . “ id” may not
      " lang " may declare language code(s) of a media content                                   include whitespace characters .
          component. Syntax and semantics based on IETF RFC                                  “ bandwidth ” may specify a bound on a data rate and data
          5646 may be used.                                                                     rate variation of a representation .
       " contentType ” may specify a type of a media content                                 " qualityRanking ” may specify , a quality ranking of a
           component. A value of the top - level content-type , 50                              representation , relative to other representations in the
          namely " type” , may be defined in RFC1521 .                                          same adaptation set.
       “ par” may specify a picture aspect ratio . “ par” may
            include two integers . When “ par ” is present, attributes                       “ dependencyID ” may specify all complementary repre
           " width ” and “ height” for representations may also be                              sentations that depend on in decoding and / or presen
           present.                                                55                           tation process. “ dependencyID ” may be a whitespace
     2 ) The element " ContentComponent" may have the fol            separated list of values of “ id .”
   lowing elements :                                             2 )  The element “ Representation ” may have the following
     “ Accessibility ” may have an index of 0 to N , and may          ents :
        specify information on an accessibility scheme.
     “ Role ” may have an index of 0 to N , and may specify 60 “ BaseURL " may have an index of 0 to N , and may be
        information on a role annotation scheme.                     used for reference resolution and alternative URL
     “ Rating" may have an index of 0 to N , and may specify         selection.
        information on a ration scheme.                          “ SubRepresentation ” may have an index of 0 to N , and
     “ Viewpoint” may have an index of 0 to N , and may              may specify information on a sub -representation that is
        specify information on a viewpoint annotation scheme. 65     embedded in a representation . “ SubRepresentation "
      The following Table 6 shows an XML syntax of the               may be used for reference resolution and alternative
   element “ ContentComponent.”                                      URL selection .
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      The following Table 7 shows an XML syntax of the                                                                TABLE 8 - continued
   element “ AdaptationSet.”                                                                       < xs :attribute name= " contentComponent”
                                                                                                       type = " StringVectorType" />
                            TABLE 7                                                                < / xs : extension >
    < !- - Representation -- >
                                                                                               < /xs :complexContent>
                                                                                            < xs: complexType >
    < xs :complexType name= " Representation Type" >                                        < !-- Whitespace -separated list of unsigned integers -- >
       < xs :complexContent>                                                                <xs:simple Type name= "UntVectorType " >
           < xs:extension base =" RepresentationBaseType" >                                     < xs:list itemType = " xs:unsignedInt" />
            < xs :sequence >                                                                </ xs:simpleType >
              < xs:element name= " BaseURL " type =" BaseURLType ”                     10
   minOccurs = “ 0 ” maxOccurs = " unbounded " >
              < xs :element name= " SubRepresentation ”                                       Hereinafter, common attributes and elements of the ele
   type= " SubRepresentation Type” minOccurs = “ 0 ”
   maxOccurs = " unbounded ” />                                                             ments “ AdaptationSet ,” “ Representation ,” and “ SubRepre
               < xs :element name=" SegmentBase” type = “ SegmentBase Type”                 sentation ” will be described .
   minOccurs = “ 0 ” />                                                                15      1 ) The elements “ AdaptationSet,” “ Representation ,” and
               <xs:element name= " SegmentList” type = " SegmentListType"                 “ SubRepresentation ” may have the following common attri
   minOccurs = " 0 " />
               < xs :element name= " Segment Template"
   type = " SegmentTemplate Type” minOccurs = “ 0 ” />
                                                                                          butes:
            < /xs :sequence >
                                                                                             “ profile ” may specify a profile between associated repre
               < xs :attribute name= " id " type= " xs :string” use =" required " />             sentation ( s ) conforming to media presentation profiles.
                < xs :attribute name= " bandwidth " type = " xs:unsignedInt"           20        A value of " profile ” may be a subset of a value in a
               use = " required " />
               < xs :attribute name= " qualityRanking ” type =" xs:unsignedInt" />
                                                                                                 predetermined higher level of a document hierarchy
               < xs :attribute name= " dependencyId " type = " StringVectorType " />             (representation , adaptation set, MPD ). When “ profile”
               < xs :attribute name= " mediaStream Structureld ”                                 is absent, the value of “ profile ” may be inferred to be
               type =" String VectorType " />                                                    the same as in a next higher level of the document
           < / xs :extension >                                                         25        hierarchy . For example , when “ profile ” is absent for a
       < / xs:complexContent >
   < / xs:complexType >                                                                           representation , " profile” at an adaptation set level may
   < !-- Whitespace -separated list of strings -- >                                               be valid for the representation .
    < xs:simple Type name= " String VectorType" >                                              " width " may specify a horizontal visual presentation size
       < xs:list item Type = " xs:string " />
   < /xs:simpleType >                                                                  30
                                                                                                  of a video media type on a grid determined by the
                                                                                                  attribute " sat" When " sar” is absent, a width and height
                                                                                                  may be specified as if a value of “ sar ” is “ 1 : 1 ."
      A sub -representation may be embedded in a regular          " height” may specify a vertical visual presentation size of
   representation , and may be described by the element “ Sub         a video media type , on a grid determined by the
   Representation .” The element “ Representation” may include
   the element “ SubRepresentation .” The element “ SubRepre - 35 “ sarattribute
                                                                        ”  may
                                                                                  " sat"
                                                                                 specify   a sample aspect ratio of a video media
   sentation ” may describe properties of one or more media           component       type . “ sar ” may be in the form of a string
   content components that are embedded in a representation .                                     including two integers separated by “ .” . A first integer
    A representation and sub - representation may share common                                   may specify a horizontal size of encoded video pixels
   attributes and elements.                                                                      in arbitrary units. A second integer may specify a
      Semantics of the element “ SubRepresentation ” are to                                      vertical size of the encoded video pixels in arbitrary
   described as follows:                                                                          units .
      The element “ SubRepresentation ” may have the follow                                   “ frameRate” may specify an output frame rate of a video
   ing attributes :                                                                              media type in a representation . For example, when a
     “ level ” may specify a level of a sub -representation .                          45         frame or field rate is changed , a value of “ frameRate "
     “ dependency” may specify a set of sub -representations                                     may be an average frame or half an average field rate
          within a representation in which sub - representations                                 over the entire duration of a representation .
          depend on in decoding and /or presentation process, as                              “ audioSampleRate” may be either a decimal integer value
           a whitespace - separated list of values of “ level.”                                   specifying a sampling rate of an audio media compo
       “ bandwidth ” may be identical to the attribute “ band                                     nent type , or a whitespace separated pair of decimal
          width ” of the element “ Representation ," but may be                                   integer values specifying a minimum sampling rate and
          applied to a sub -representation .                                                      a maximum sampling rate of the audio media compo
       " contentComponet” may specify a set of all media content                                  nent type. A value of " audioSampleRate” may be in
           components that are included in a sub -representation ,       samples per second .
        as a whitespace-separated list of values of “ id” 01
                                                          ofme
                                                             the 55se “mimeType    ” may specify a MIME type of a concatena
        element " ContentComponent ."                                    tion of initialisation segment.
      The following Table 8 shows an XML syntax of the                “ codecs ” may   specify   codecs that are present within a
    element “ SubRepresentation .”                                       representation .
                            TABLE 8
                                                                      2 ) The elements “ AdaptationSet ,” “Representation ,” and
                                                                                       60 “ SubRepresentation ” may have the following common ele
    < !-- SubRepresentation - - >                                                         ments:
   < xs:complexType name = " SubRepresentation Type ” >                                        “ FramePacking " may have an index of 0 to N , and may
      < xs: complexContent >                                                                      specify frame-packing arrangement information of a
         < xs:extension base =" RepresentationBaseType" >                                         video media component type .
             < xs :attribute name= " level" type = " xs :unsignedInt" >
            < xs:attribute name= " dependencyLevel" type = " UIntVectorType" />        65     “ AudioChannelConfiguration ” may have an index of 0 to
            < xs :attribute name= " bandwidth ” type = " xs :unsignedInt" />                      N , and may specify an audio channel configuration of
                                                                                                  an audio media component type .
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       “ Content Protection" elementmay have an index of 0 to N ,                     “ SegmentBase ,” “ SegmentTemplate” and “SegmentList”
           and may specify information on content protection                          may be included in the element “ Period ” or “ Adaptation
        schemes used for associated representations.              Set .” When either “ Segment Template” or “ SegmentList"
      The following Table 9 shows common XML syntax of the exists in a level of a hierarchy, the other element may not be
   elements “ AdaptationSet,” “ Representation,” and “ SubRep - 5 present on a lower hierarchy level. The elements “ Segment
   resentation ."                                                                     Base ,” “ SegmentTemplate ” and “ SegmentList ” may inherit
                                                                                      attributes and elements from the same element on a higher
                                       TABLE 9                                        level. When the same attribute or element is present on both
   < !- - Representation base ( common attributes and elements ) -- >               levels, an attribute or element on a lower level may have
                                                                                 10 precedence over the attribute or element on the higher level.
    < xs :complexType name= " RepresentationBaseType" >
      < xs :sequence >
         < xs:element name= " FramePacking" type = " DescriptorType"
                                                                                         The element “ SegmentBase ” may include information
   minOccurs = " 0 " maxOccurs = " unbounded " />
                                                                                      that is sufficient, when only a single media segment is
         < xs:element name= " AudioChannelConfiguration ”                             provided per Representation and a media segment URL is
   type = " DescriptorType" minOccurs = " 0 " maxOccurs = " unbounded " />            included in the element “ BaseURL .” When multiple media
        < xs:element name= " ContentProtection ” type = " DescriptorType"             segments are present, either the element " SegmentList” or
   minOccurs = “ 0 ” maxOccurs = " unbounded " />                                     “ SegmentTemplate” may be used to share the multiple
        < xs :any namespace = “ # # other” processContents = " lax ”
   minOccurs = “ 0 ” maxOccurs = " unbounded" >                                       segment base information .
      < / xs :sequence >                                                                When a representation includes one or more media seg
      < xs:attribute name= " profiles" type= " xs:string” />                     20 ments, either the attribute " duration ," or element “ Segment
      < xs : attribute name= " width " type = " xs:unsignedInt" />
      < xs:attribute name= " height" type = " xs:unsignedInt" />                     TimeLine” may be present.
      < xs: attribute name= " sar " type = " xs:string" >                               A segment list may be defined by one or more elements
      <xs: attribute name= " frameRate " type = " xs:string" >                      “ SegmentList” . Each of the elements “ SegmentList ” may
      < xs:attribute name = " audioSamplingRate ” type= " xs :string" />
      < xs:attribute name = "mimeType " type = " xs :string " />                    include a list of elements " SegmentURL” for a consecutive
      < xs:attribute name = " segmentProfiles" type = " xs:string" >
      < xs :attribute name = " codecs" type= " xs:string" >
                                                                                 25 list of segment URLs. Each of the segment URLs may
      < xs:attribute name= " maximumSAPPeriod ” type = " xs :double " />             include a media segment URL , and a byte range . The
      <xs: attribute name= " startWithSAP " type = " SAPType" />                     element“ SegmentURL " may also include an index segment.
      < xs: attribute name= " maxPlayoutRate " type = " xs:double " />
      <xs: attribute name= " codingDependency" type = ' xs :boolean" />
                                                                                        A segment template may be defined by the element
      < xs:attribute name= " scanType” type = " Video ScanType " />                 “ SegmentTemplate.” To create a list of segments , specific
      < xs:any Attribute namespace = " # # other” process Contents = " lax ” >   30 identifiers that are substituted by dynamic values may be
    < / xs : complexType >                                                          assigned to segments.
   < !-- Stream Access Point type enumeration -- >
   < xs :simple Type name= " SAPType" >                                                  The segment information may provide the following
      < xs:restriction base = " xs:unsignedInt" >                                     information :
           <xs:minInclusive value = “ 0 ” />                                     35     Presence or absence of initialisation , index and bitstream
           < xs:maxInclusive value = " 6 " />                                              switching segment information .
       < /xs:restriction >
   < /xs:simpleType >                                                                   HTTP -URL and possibly a byte range for each accessible
   < !-- Video Scan type enumeration -- >                                                  segment in each representation .
   < xs:simpleType name=" Video ScanType” >                                             All valid segment URLs declared by an MPD .
      < xs:restriction base = " xs:string" >                                     40     For services with attribute “ type” of an MPD indicating
         < xs :enumeration value = " progressive " />
         < xs:enumeration value = " interlaced" />                                        “ dynamic," segment availability start time and segment
         < xs :enumeration value = " unknown" / >
      < /xs : restriction >
                                                                                           availability end time of each segment.
    < /xs:simpleType >                                                                  Approximate media presentation start time of each media
                                                                                           segment in a media presentation timeline within a
                                                                                 45        period.
        A segment may have a defined format, and may be the                              A segment element or a sub - element of the segment
   smallest addressable unit described by an MPD .         element may include the following attributes :
      A segmentmay be referenced by an HTTP -URL included    “ duration " may specify a constant approximate segment
    in the MPD . The HTTP -URL may be defined as an < abso      duration. All segments within element “ Representa
   lute -URI> according to RFC 3986 . The HTTP -URL may 50       tion ” may have the same duration . However, a duration
   have a fixed scheme of " http ://" or " https:// ,” and may be      of a last segment within a period may be different from
   restricted by a byte range when attribute " range ” is provided     the other segments .
   together with the URL . The byte range may be expressed as       " sourceURL ” may specify a source URL part . " sour
   " byte - range -spec ” as defined in RFC 2616 . The byte range      ceURL ” may be formatted either as an < absolute -URI>
   may be restricted to a single expression identifying a con - 55     according to RFC 3986 . " sourceURL " may have a
   tiguous range of bytes .                                            fixed scheme of “ http ://” or “ https://” or as a < relative
       Segment information may be assigned to representations,         ref > according to RFC 3986 . For example , when “ sour
   through presence of elements “ BaseURL ,” “ SegmentBase,”           ceURL " is absent, element “ BaseURL ” may be
   " Segment Template ” and /or “ SegmentList.” The segment            mapped to the attribute " sourceURL .” Additionally,
    information may provide information on location , availabil- 60    when “ sourceURL " is absent, attribute “ range” may be
    ity and properties of all of one ormore segments included in       provided .
   a representation . In particular, information on the presence    “ range” may specify a byte range restricting the HTTP
   and location of initialisation, media , index and bitstream         URL . The byte range may be expressed and formatted
   switching segments may be provided .                                as a byte - range - spec as defined in RFC 2616 . For
        The elements " SegmentBase,” “ SegmentTemplate” and 65         example ,when “ range ” is absent, the elementmay refer
   “ SegmentList” may be included in the element “ Represen            to the entire resource referenced in the attribute " sour
   tation .” In addition , to express default values, the elements                         ceURL ."
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       The following Table 10 shows an XML syntax of infor                                  For representations containing audio and/or visual con
   mation associated with a segment.                                                      tent, a URImay be defined as shown in Table 11 below .
                                       TABLE 10                                                                        TABLE 11
   < !-- Segment information base -- >                                                            urn :mpeg :mpegB ;dash:dash:mp21accessibility:<value >
   < xs :complexType name= " SegmentBase Type ” >
      < xs :sequence >
            < xs:element name=" Initialisation ” type= "URLType”                             The URImay be defined to indicate accessibility schemes
           minOccurs = “ 0 ” />                                                           based on accessibility description of ISO /IEC 21000 -7 .
            <xs :element name=" RepresentationIndex ” type = "URL Type”
           minOccurs = “ 0 ” / >                                                    10
                                                                                             For example , when < value > is “ s0 ," an appropriate rep
         < xs:any namespace = " # # other ” process Contents = " lax ”                    resentation may be prepared in advance, and an associated
   minOccurs = “ 0 ” maxOccurs = " unbounded" >                                           accessibility description may be described by the element
      < /xs :sequence >
         < xs :attribute name= " timescale ” type = " xs :unsignedInt" >                  “ Accessibility .” Different ways may be used to convey the
         < xs :attribute name =" presentation TimeOffset"                                 description . For example, the accessibility description may
         type = " xs:unsignedInt" >                                                 15 be either conveyed by element “ MP21 Access ,” or refer
         <xs:attribute name= " indexRange ” type = " xs:string" >
         < xs:attribute name= " indexRange Exact” type = " xs :boolean " />               enced by attribute “ xlink :href” that will be defined below .
      < xs:any Attribute namespace = " # # other” process Contents = " lax ” >
    < / xs :complexType >
                                                                                            When < value > is “ s1," a provider may somehow obtain an
    < !-- Multiple Segment information base -- >                                       accessibility description of a disabled user, and may provide
   < xs:complexType name= "MultipleSegmentBaseType" >                               20 appropriate content to the disabled user.
      < xs : complexContent >                                                                In the context of DASH , when a representation is asso
         < xs:extension base = " SegmentBase Type” >                                      ciated with an accessibility description , the representation
            < xs:sequence >
                <xs:element name= " SegmentTimeline”                                      may be used for a disabled user whose specific symptoms
   type= " SegmentTimeline Type” minOccurs = " 0 " />                                     are described by the accessibility description . Usually,
               < xs:element name= " BitstreamSwitching " type = "URLType”           25 media of the representation may be enhanced (e. g. adjusting
   minOccurs = “ 0 ” />                                                                contrast or colour ) to cope with a problem of the disabled
         < / xs :sequence >
            < xs:attribute name=" duration " type = " xs:unsignedInt" >                   user. In this instance , the enhancement of the media may
            < xs :attribute name= “ startNumber" type = " xs:unsignedInt" >               include, for example, adjustment of a contrast or adjustment
         < /xs : extension >                                                              of colour .
         < / xs :complexContent>                                                     30      The above - described element “ Accessibility ” may be
    < / xs :complexType >
    < !-- Segment Info item URL /range -- >                                               extended as follows. A new child element called
    <xs.complex Type name=" URL Type” >                                                   “ MP21Access " may be used as a container for MPEG -21
      < xs:sequence >
        < xs :any namespace = " # # other” process Contents = " lax ”
                                                                                          DIA accessibility description . Additionally, an optional attri
   minOccurs = “ 0” maxOccurs = “ unbounded " >                                           bute “ xlink :href” may be added to the element “ Accessibil
      < / xs :sequence >                                                            35 ity ” to reference an external description including MPEG -21
      < xs :attribute name= " sourceURL " type= " xs :anyURI” />
      < xs:attribute name= " range ” type = ' xs :string " />
                                                                                          DIA accessibility elements.
      < xs:anyAttribute namespace = " # # other” process Contents = " lax ” >               Furthermore , a new attribute called " use ” may be
   < /xs : complexType >       <xs:enumeration value = " progressive " />                 employed as a hint to let a client know the intended use of
         < xs :enumeration value = " interlaced " / >                                     a representation, for the purpose of accessibility . The above
         < xs :enumeration value = " unknown " / >                                  40 new element and attributes may be applied to a representa
      < / xs :restriction >                                                               tion group (or an adaptation set), a representation , and a
    < /xs:simpleType >                                                                    sub -representation .
                                                                                            Semantics of elements and attributes to support accessi
      Hereinafter, an additional configuration to select a repre - bility are described as follows:
   sentation based on a user characteristics and terminal char - 45 1 ) To support accessibility , the elements “Group ” , “ Adap
   acteristics will be described .                                  tationSet ” , “Representation ” or “ SubRepresentation ” may
      Based on the above-described solutions for DASH , rep         further include the following attributes:
   resentations may be described with various metadata . Char         " use” may indicate an intended use of representation (s ).
   acteristics of representations may be mostly used to select            The attribute “ use ” may have values “ signLang," " sub
   representations based on terminal characteristics , for so                                  title ," " caption," " description ," " plusDesc,” and the
   example a resolution , a connection bandwidth , and the like .                              like . The value “ signLang” may indicate a use as a sign
      Accessibility features of a representation may be used to
   support disabled users who have difficulties in perceiving                                  language . The value “ subtitle ” may indicate a use as a
   multimedia content. The following embodiments to support                                    subtitle . The value " caption " may indicate a use as a
   accessibility may include 1) Moving Picture Experts Group                                   caption , namely , a subtitle with additional description .
   (MPEG )-21 Digital Item Adaptation (DIA ) accessibility 55                                   The value “ description " may indicate a use as descrip
   description and 2 ) several hints used to facilitate enhance                                tion , for example audio description of a movie . The
   ment/replacement of content components . In essence , the                                   value “ plusDesc ” may indicate that content of a corre
   MPEG -21 DIA accessibility description including elements                                   sponding representation is enhanced with description ,
   “ VisuallmpairmentType " and /or “ AuditoryImpairment                                       for example , may indicate a sound track enhanced with
    Type ” of ISO / IEC 21000 -7 may enable description of vari - 60                           audio description .
   ous symptoms of visual and auditory impairments of a user.                               “ xlink :href" may provide a reference to an external
   The visual and auditory impairments may include , for                                       MPEG - 21 DIA description with elements “ Auditory
   example, a colour deficiency or low vision .                                                ImpairmentType" and/ or “ VisualImpairmentType” of
      The following rule may be applied to URIs to identify                                    ISO /IEC IS 21000 - 7. The representation or represen
   specific accessibility schemes. For example, the schemes 65                                 tation group associated with the description may be
   may be included in the above -described element “ Accessi                                   suitable for disabled users whose problems are
   bility .”                                                                                   described by the description .
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                                                  21.                                                                        22
       " xlink :actuate ” may provide processing instructions . The                                   TABLE 12 -continued
           processing instructions may be either " onLoad ” or
           “ onRequest . When “ xlink :href” is absent, “ xlink :actu       <xs:attribute ref =" xlink:href"/>
                                                                            <xs:attribute ref = " xlink:actuate " default = " onRequest" />
           ate ” may not exist.                                             < xs:anyAttribute namespace =“ # other ” processContents =" lax" />
       2 ) To support accessibility , the elements "Group ” , “ Adap - 5 </xs:complex Type>
   tationSet" , " Representation ” or “ SubRepresentation " may
   further include the following elements :                                                Hereinafter, metadata describing a relationship between
       “ Accessibility ” may have an index of 0 to N , and may                           representations will be described .
          provide information on an accessibility information                               There is little metadata for describing a relationship
          scheme.                                         10 between representation groups . It is difficult for a client to
       “MP21Access ” may have an index of 0 to 1 , and may know , for example , which video stream is associated with a
         include MPEG -21 DIA description with the elements                              given audio description . In several cases, two representation
         “ AuditoryImpairmentType" and /or “ VisualImpair                                groups may be semantically equivalent, and only a single
         mentType ” of ISO /IEC 21000 - 7 . Representations or 15                        representation group may need to be selected based on a
         representation group associated with the description                            context. Hereinafter, two simple attributes are proposed for
                                                                                         the above - described purpose . The metadata described here
        may be suitable for disabled users whose problems are                            inafter may be useful for accessibility as well as for adap
         described by the description.                                                   tivity in general.
       The following Table 12 shows an XML syntax of the                                     To describe the relationship between representations, the
   elements " Group ”, “ AdaptationSet” , “ Representation ” or 20                       elements " Group ” , “ AdaptationSet” , “ Representation ” or
   “ SubRepresentation ” , to support accessibility .                                    “ SubRepresentation ” may further include the following
                                                                                         attributes:
                                          TABLE 12                                          “ used With ” may indicate a list of one or more represen
                                                                                               tations or representation groups. When a current rep
   < !-- RepresentationBase type; extended by other                                 25         resentation or a current representation group is used ,
   Representation -related types -- >
    < xs:complexType name= “ RepresentationBaseType " >                                        " used With ” may be used with a predetermined item of
      < xs:sequence >                                                                          the list. For example, a representation group for audio
         < xs :element name= " ContentProtection”
            type =" ContentDescriptorType ” minOccurs = “ 0 ”
                                                                                               description may be used with a specific representation
           maxOccurs = " unbounded " / >                                                        group of a video component. A value of “ used With ”
         < xs:element name= " Accessibility " type = " ContentDescriptorType "      30         may be a whitespace -separated list. Each item of the
            minOccurs = “ 0 ” maxOccurs = " unbounded ” >                                      whitespace - separated list may be identification of a
         < xs:element name =" Rating " type= " ContentDescriptorType"                          single representation group or a single representation .
            minOccurs = “ 0 ” maxOccurs = " unbounded " />                                     Identification of a representation group may be a value
         < xs :element name= " Viewpoint" type =" ContentDescriptorType "                      of attribute " group " or " adaptationSet.” Identification
           minOccurs = “ 0 ” maxOccurs = " unbounded " />
         < xs :element        name= "Multiple Views"
   type = "MultipleViewsType" minOccurs = " 0 " />
                                                                                    35         of a representation may have a format of attribute
         < xs :any namespace = “ # # other” processContents = " lax”                           " repid .” The attribute “ repid ” may be a value of attri
   minOccurs = “ 0 ” maxOccurs = " unbounded ” >                                               bute “ id ” of the representation .
      < xs :sequence >                                                                      " equivalent To ” may indicate a list of one or more repre
      <xs: attribute name= " group " type = " xs :unsignedInt" >                               sentations or representation groups. A current represen
      <xs: attribute name= " width ” type = " xs:unsignedInt" />                    40         tation may be used instead of a predetermined item of
      < xs: attribute name= " height" type = " xs :unsignedInt" />                             the list. For example , a representation group for a
      < xs:attribute name = " parx ” type = " xs:unsignedInt" >
      <xs: attribute name= " pary " type = " xs:unsignedInt" />                                subtitle may be used instead of a specific representation
      < xs:attribute name =" lang" type = " Lang VectorType" >                                 group of an audio component. The attribute " equiva
      <xs: attribute name= " mimeType" type = " xs:string" />                                 lentTo ” may have the same format as the attribute
      < xs: attribute name= " startWithRAP " type = " xs:boolean " />               45        " used With .”
      < xs:attribute name= " frameRate " type = " xs :double " />
      < xs:attribute name = "maximumRAPPeriod ” type = " xs:double " />                     The following Table 13 shows an XML syntax of the
      < xs:attribute name= “ numberOfChannels " type= " StringVectorType " />            elements " Group ”, “ AdaptationSet” , “ Representation ” or
      < xs : attribute name= " samplingRate ” type = " String VectorType" />             " SubRepresentation ” , to describe a relationship between
      < xs: attribute name= " use " type = " UseType" />                                 representations.
      < xs:any Attribute namespace = " # # other” process Contents = “ lax ” />
   < / xs :complexType >                                                            50
   < xs :simple Type name= " UseType" >                                                                                  TABLE 13
       < xs :restriction base = " xs :string" >
         < xs :enumeration value = " signLang" />                                        < ! -- RepresentationBase type; extended by other
         < xs :enumeration value = " subtitle" />                                        Representation-related types -- >
         < xs:enumeration value = " caption " />                                         < xs.complexType name=" RepresentationBase Type” >
         < xs:enumeration value = " description " />                                55     < xs:sequence >
         < xs :enumeration value = " plusDesc" >                                              < xs:element name= " ContentProtection ”
        < /xs:restriction >                                                                   type = " ContentDescriptorType"
    < /xs :simpleType >                                                                         minOccurs = " 0 " maxOccurs = "unbounded” >
    < !-- Generic named descriptive information about the content -- >                        < xs:element name= " Accessibility " type = " ContentDescriptorType"
    < xs :complexType name= " ContentDescriptorType" >                                         minOccurs = “ 0 ” maxOccurs = " unbounded” >
      < xs : sequence >                                                             60         < xs :element name= " Rating " type= " ContentDescriptorType "
         < xs :element minOccurs = " 0 " name = " SchemeInformation "                            minOccurs = “ 0 ” maxOccurs = " unbounded ” />
         type = " xs:string" />                                                                < xs :element name= " Viewpoint" type= " ContentDescriptorType "
         < xs :element minOccurs = “ 0 ” name = "MP21Access"                                      minOccurs =“ 0 ” maxOccurs = “unbounded ” >
        type = " xs:string” />                                                                 < xs :element name= "MultipleViews"
        < xs :any namespace = " # Hother” process Contents = " lax ”                     type = "MultipleViewsType” minOccurs = “ 0 ” />
   minOccurs = “ 0 ” maxOccurs = " unbounded " / >                                             < xs:any namespace = " # # other ” processContents = " lax ”
      < /xs :sequence >                                                             65 minOccurs = “ 0 ” maxOccurs = " unbounded” />
      < xs:attribute name=" schemeIdUri" type = " xs:anyURI” use = " required" />          < /xs:sequence >
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                              TABLE 13 -continued                                                                   TABLE 14 -continued
      < xs :attribute name= " group " type = " xs :unsignedInt" >                        < xs :anyAttribute namespace = “ #mother” processContents =" lax ” >
      <xs: attribute name= " width ” type = " xs:unsignedInt" />                     < xs: complex Type >
      < xs:attribute name =" height” type = " xs:unsignedInt" >                      < xs :simpleType name= " UseType" >
      < xs:attribute name = " parx ” type = " xs:unsignedInt" >                          < xs:restriction base = " xs:string" >
      < xs:attribute name= " pary ” type = " xs :unsignedInt" >                             < xs :enumeration value = " signLang" />
      < xs:attribute name= " lang " type =" LangVectorType" />                              < xs: enumeration value = " subtitle " >
      < xs :attribute name= "mimeType" type = " xs :string" />                              < xs: enumeration value = " caption " / >
      < xs:attribute name = “ startWithRAP" type = " xs:boolean " />                        < xs :enumeration value = " description " />
      < xs: attribute name= " frameRate " type = " xs:double " />                           < xs :enumeration value = " plusDesc " >
      <xs: attribute name= " maximumRAPPeriod " type = " xs:double” />          10      < /xs:restriction >
      < xs:attribute name = “ numberOfChannels” type = " StringVectorType" />      < / xs :simpleType>
                                                                                     V



      <xs: attribute name= " sampling Rate ” type = " String VectorType" >         < ! -- Generic named descriptive information about the content -- >
                                                                                     V




      < xs:attribute name= " usedWith ” type = " StringVectorType" />              < xs:complexType name= " ContentDescriptorType " >
                                                                                     V




      < xs :attribute name = " equivalentTo ” type = " String VectorType" />          < xs:sequence >
      < xs:anyAttribute namespace =" # # other” processContents = " lax " />             < xs:elementminOccurs = “ l " name= " SchemeInformation ”
    < /xs:complexType >                                                         15       type = " xs :string" />
   < !-- Type for space delimited list of strings -- >                                   < xs:element minOccurs = “ 0 ” name = "MP21Access"
   < xs:simpleType name=" String VectorType" >                                           type = " xs:string" />
       < xs:list itemType =" xs:string" />                                               <xs:any namespace = " # # other” processContents = “ lax”
   < /xs:simpleType >                                                                minOccurs = “ 0 ” maxOccurs = " unbounded " />
                                                                                         < /xs : sequence >
                                                                                         <xs:attribute name=" schemeIdUri” type =" xs:anyURI” use =" required” >
      Hereinafter , metadata for bit depth will be described .                  20       < xs:attribute ref = " xlink :href" />
      To select different representations for terminals having                           < xs :attribute ref= " xlink :actuate ” default= " onRequest” />
                                                                                         < xs:anyAttribute namespace = " # # other” process Contents = " lax " />
   different display bit depths, the following attributes for a                      </ xs:complexType >
   representation and a representation group may be used . A bit
   depth may refer to a number of bits used to represent a
   luma/ chroma sample of visual content.                                       25     Correspondingly, two attributes “ minBitDepth ” and
       Semantics of attributes for bit depth are described as                        “maxBitDepth ” may be added to elements “ Representation
   follows:                                                                          Group” or “ AdaptationSet " .
       To provide a bit depth , the elements "Group” , “ Adapta -                        Semantics of attributes to describe a maximum bit depth
   tionSet” , “ Representation ” or “ SubRepresentation ” may fur-              30
                                                                                      and a minimum bit depth are described as follows:
   ther include the following attributes:                                               To describe the maximum bit depth and the minimum bit
     “ bitDepth ” may indicate a number of bits used to repre -                      depth , the elements “ Representation Group ,” “Group ," or
        sent a luma/chroma sample of visual content.When the                         “ AdaptationSet" may further include the following attri
         bit depth varies, for example , in different video pic -                    butes :
         tures, a value of “ bitDepth ” may be a maximum value                  35
                                                                                        “xlink :href” may indicate a reference to external element
          of bit depths.                                                                   “ Group ” or element “ AdaptationSet” .
       The following Table 14 shows an XML syntax of the                                " xlink :actuate ” may provide processing instructions. The
   elements "Group ” , “ AdaptationSet ”, “ Representation ” or                            processing instructions may be either " onload " or
   “ SubRepresentation ” , to support a bit depth .                                        " onRequest" .
                                                                                40
                                                                                         “ minBitDepth ” may indicate a minimum bit depth value ,
                                      TABLE 14                                               in all representations in a group or an adaptation set .
    < !-- Representation Base type; extended by other
                                                                                         " maxBitDepth ” may indicate a maximum bit depth value,
   Representation -related types -- >                                                        in all representations in a group or an adaptation set .
    <xs.complexType name=" RepresentationBase Type” >                                     The following Table 15 shows an XML syntax of the
      < xs:sequence >
                                                                                45
                                                                                     elements “ Representation Group ” , “ Group " , or “ Adaptation
                                                                                   a ”,
        < xs :element name= " ContentProtection”                                * Set          to support the maximum bit depth value and the
        type = " ContentDescriptorType"
            minOccurs = “ 0 ” maxOccurs =“ unbounded ” >                             minimum bit depth value .
        < xs: element name= " Accessibility ” type = " ContentDescriptorType"
            minOccurs = “ 0 ” maxOccurs =" unbounded ” >                                                                     TABLE 15
         < xs :element name = “ Rating " type = " ContentDescriptorType"
          minOccurs = " 0 " maxOccurs = " unbounded " />                        50 < ! -- Group to contain information common to a group ;
         <xs:element name= " Viewpoint" type = " ContentDescriptorType"                extends RepresentationBase Type -- >
           minOccurs = “ 0 ” maxOccurs = " unbounded ” >                             <xs:complexType name= " GroupType" >
        < xs:element name= " MultipleViews"                                             < xs :complexContent>
   type= "MultipleViewsType" minOccurs = “ 0 ” />                                          < xs:extension base = " RepresentationBaseType " >
         < xs :any namespace= " # # other” processContents = " lax”                            < xs :sequence >
   minOccurs = “ 0” maxOccurs = " unbounded " />                                55                < xs :element name= " Representation ” type =" Representation Type”
     < / xs : sequence >                                                                             minOccurs =“ 0 ” maxOccurs = “unbounded ” >
      < xs:attribute name = " group" type = " xs:unsignedInt" >                                   < xs:element name= " SegmentInfoDefault ”
      < xs :attribute name = " width ” type = " xs :unsignedInt" />                  type = " SegmentInfoDefaultType” minOccurs = “ 0 ” />
      < xs:attribute name =" height” type =" xs:unsignedInt" >                                < /xs :sequence >
      < xs:attribute name = " parx ” type = " xs:unsignedInt" >                               < xs :attribute ref = " xlink :href" / >
      < xs:attribute name= " pary " type =" xs:unsignedInt" >                   60            < xs :attribute ref = " xlink :actuate ” default= " onRequest” />
      <xs: attribute name= " lang" type = " LangVectorType" />                                <xs:attribute name= " minBandwidth ” type = " xs :unsignedInt" >
      < xs :attribute name= " mimeType " type = " xs :string" />                              <xs:attribute name= " maxBandwidth ” type = " xs:unsignedInt" />
      < xs:attribute name = “ startWithRAP" type = " xs:boolean " />                           < xs:attribute name= " min Width ” type = " xs:unsignedInt" >
      <xs: attribute name= " frameRate " type = " xs:double" />                               < xs :attribute name = "maxWidth ” type = " xs:unsignedInt" >
      < xs:attribute name = "maximumRAPPeriod ” type = " xs:double" />                        < xs :attribute name= " minHeight” type= " xs:unsignedInt" >
      < xs: attribute name= " numberOfChannels" type= " String VectorType" />                 < xs :attribute name= " maxHeight” type = " xs :unsignedInt" />
      < xs :attribute name= " sampling Rate ” type = " String VectorType" />    65             <xs:attribute name= " minFrameRate " type = " xs :double” />
      < xs: attribute name= " use " type = " UseType" />                                      < xs :attribute name = " maxFrameRate " type = " xs :double " / >
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                                TABLE 15- continued                                         The terminal 200 may request the server 210 to transmit
           < xs :attribute name= "minBitDepth ” type= " xs:unsignedInt" >
                                                                                         a segment suitable for a specific period based on the pro
           <xs:attribute name= " maxBitDepth ” type = " xs:unsignedInt" />               cessed metadata . In other words, the requested segmentmay
             < xs:attribute    name = " subsegmentAlignment”                             be selected based on the metadata . The terminal 200 may
   type = " xs:boolean " default = " false" />
           < xs :attribute name=" segmentAlignmentFlag " type =" xs:boolean” />
                                                                                      5 perform the HTTP GET method , to request the server 210 to
           < xs :attribute name= "bitStreamSwitchingFlag" type = " xs:boolean ” />       transmit the segment.
           < xs :anyAttribute namespace = “ # # other” processContents = " lax ” />          The metadata may include an attribute " range” . The
          < /xs:extension >
       < xs : complexContent>
                                                                                         request may include a request for bytes of a resource
    < xs :complexType >                                                                  indicated by a URL that are designated by the attribute
                                                                                         " range."
                                                                                             The URL of the segment may be an absolute URL or a
       FIG . 2 is a signal flowchart illustrating a content process                      relative URL .
    ing method according to an embodiment of the present                                     The terminal 200 may select a period , an adaptation set,
   invention .                                             16 a representation , and the like , using an element or attribute
      A terminal 200 may be a DASH client described above . included in the metadata , and may select a segment to be
      The DASH client may be compatible with a client speci requested , based on an element or attribute of the selected
   fied in RFC 2616 .                                         period , the selected adaptation set, or the selected represen
      The DASH client may typically use an HTTP GET tation .
   method or an HTTP partial GET method, as specified in 20 For example , each of one or more representations
   RFC 2616 , to access segments or parts of segments .                                   included in a period may include information used to
       A server 210 may perform hosting on DASH segments.                                support disabled users who have difficulties in perceiving
   The server 210 may be compatible with a server specified in                           media content. A media component of each of the represen
   RFC 2616 .                                                                            tations may be enhanced to cope with a problem of a
       In operation 220 , the terminal 200 may receive metadata 25 disabled user. Enhancement of the media component may
   of media content from the server 210 . In other words , the                           include at least one of adjustment of a contrast and adjust
   server 210 may transmit the metadata of the media contentm entof colour. Additionally, information included in each of
   to the terminal 200 . The media contentmay include one or                             the representations may indicate an intended use of each of
   more periods.                                                                         the representations. The intended use may include at least
     Metadata may be an MPD .                                                         30 one of a sign language , a subtitle , a caption , and a descrip
      The MPD may provide sufficient information to the                                  tion . The information included in each of the representations
   terminal to provide a user with a streaming service by                                may include an attribute providing a reference to an external
   accessing segments through a protocol specified in a scheme                           MPEG - 21 DIA .
   of defined resources. The specified protocol may be an                                   For example , metadata may include an attribute describ
   HTTP / 1. 1 . The server 210 may provide an MPD delivery 35> ing
                                                                first
                                                                      a relationship between one or more representations. A
                                                                       representation among the representations may include
    function . The MPD may be generated based on DASH           an  attribute  indicating a list of a part of the representations.
   media presentation preparation .                             The first representation may be used together with a repre
      In operation 230 , the terminal 200 may process the sentation among the part of the representations. The first
   received metadata. In operation 230 , the terminal 200 may
                                                          may 2040 representation   may be a representation used for audio
                                                                   representation may
   extract information provided by the metadata , or informa       description , and each of the part of the representations may
   tion included in the metadata .                                 be a representation used for a video component. Addition
      In operations 240 through 250, the terminal 200 may       ally , a second representation among the representationsmay
   access a segment of the media content based on the infor - include an attribute indicating a list of a part of the repre
   mation provided by themetadata . The server 210 may be an 45 sentations , and a representation among the part of the
   HTTP server used to provide a DASH segment transfer                                   representations may be replaced by the second representa
    function .                                                                           tion .
      Each of the periods may include one or more groups, and       For example , each of one or more representations
   each of the groupsmay include one ormore representations included in a period may include a bit depth attribute used
   of the media content. In other words , each of the periods 50 to select different representations for terminals having dif
   may include the one or more representations of the media                              ferent display bit depths .
   content. Accordingly, each of the representations may start                              The bit depth attribute may indicate a number ofbits used
   from a beginning point of a period including each of the                              to represent a luma/chroma sample of visual content.
   representations , and may continue to an ending point of the                             In operation 245 , in several cases, the server 210 may
   period . Each of the representationsmay include one or more 55 need to parse media content ( for example , an MPEG layer
   segments .                                                                            4 (MP4 ) file for Scalable Video Coding (SVC )), and may
       In operation 240 , the terminal 200 may send a request for                        extract a data part suitable for the requested segment.
   a segment of the media content to the server 210 using a                                 In operation 250 , the server 210 may transmit, to the
   URL of the segment. The URL may be resolved with respect                              terminal 200 , segments suitable for each request from the
   to the above- described element “ BaseURL.” For example , 60 terminal 200 . The terminal 200 may receive the segments
   the URL of the segment may be generated based on the         from the server 210 .
   element “ BaseURL ."                                            In operation 260, the terminal 200 may perform decoding
      The MPD may provide the terminal 200 with sufficient and rendering on data of themedia content included in the
   information to provide a user with a streaming service, by 1)                         segment, to play back the media content.
   requesting the server 210 to transmit segments, and by 2 ) 65                            The terminal 200 may play back themedia content using
   demultiplexing , decoding , and rendering media streams                               the received segments by repeating operations 220 through
   included in a segment.                                                                260 .
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                                  27                                                                    28
      Technical information according to the embodiments of and only the interval-level information 420 may be periodi
   the present invention described above with reference to FIG . cally updated . Similarly , a single file containing the QoSInfo
   1 may equally be applied to the present embodiment. 430 may be used for different intervals and different con
   Accordingly , further description thereof will be omitted .   tents .
      FIG . 3 is a diagram illustrating categories of signaling 5 FIG . 5 is a diagram illustrating a configuration of a
    information according to an embodiment of the present terminal according to an embodiment of the present inven
   invention .                                                             tion.
      The signaling information (namely , metadata ) may be                   A structure of a terminal 100 may represent logical
   divided into the following categories 1) through 4 ): components of a conceptual DASH client model .
      1) General information 310 : may include common 10 The terminal 100 may include an access engine 510 , and
   description of content, and general description of each                 a media engine 520 .
   interval, such as a duration , and a start time.                           The access engine 510 may be a DASH access engine.
      2 ) Quality of Service ( QoS) information 320: may            The access engine 510 may receive metadata ( for
   describe characteristics of each alternative , such as a bitrate ,
                                                                  example , an MPD ) from a server 110 .
   a resolution , and a quality. In other words, the QoS infor- 15 The access engine 510 may form requests , and may issue
   mation describes characteristics of each of alternatives of             the formed requests to the server 110 .
   content.                                                                   The access engine 510 may receive content ( for example ,
      An alternative may be physical (namely, created in                   segments or parts of the segments ) from the server 110 .
   advance ), or may be virtual (namely, to be created on the                 The access engine 510 may provide the content to the
    fly ). Based on information of alternatives, the client may 20 media engine 520 .
   select a fragment of an appropriate alternative . Accordingly,            An output of the access engine 510 may includemedia (or
   adaptivity to contexts of terminals and networks may be                 a part of the media ) of an MPEG container ( for example , an
   supported .                                                             ISO /IEC 14492 -12 ISO base media file format, or an ISO /
      3 ) Mapping information 330 : may describe locations to              IEC 13818 - 2 MPEG - 2 transport stream ). Additionally , the
   retrieve content. Depending on specific cases, different 25 output of the access engine 510 may include timing infor
   alternatives may have the same or different locations .                 mation used to map internal timing of the media to a timeline
      4 ) Client request 340 : this type of signaling information          of a media presentation .
   may conform to a format of HTTP 1. 1 request message .                    Additionally , the access engine 510 may perform func
   Parameters requested by a client may be derived from the                tions of the terminal 200 that are described in operations 220
   information of categories 1 ) through 3 ) .                          30 through 260 of FIG . 2 .
     FIG . 4 is a diagram illustrating a hierarchy of content                 The media engine 520 may play back the provided
   division and levels of signaling information according to an            content. Specifically , the media engine 520 may output the
   embodiment of the present invention .                                   media using the media and the timing information that are
      Signaling of metadata according to an embodiment of the              output from the access engine 510 .
   present invention may be physically separated into content- 35 Technical information according to the embodiments of
   level information 410 , interval -level information 420 , QoS the present invention described above with reference to
   information 430 , and mapping information 440 . Linking of FIGS . 1 through 4 may equally be applied to the present
   related parts of the content-level information 410 , the inter -
                                                              embodiment. Accordingly, further description thereof will
   val-level information 420 , the QoS information 430, and the
                                                              be omitted .
   mapping information 440 may be performed by reference. 40 The method according to the above-described embodi
      These parts of signaling information may be combined in ments ofthe present invention may be recorded in computer
   different ways to support the flexibility .                readable media including program instructions to implement
      For example, when only the content -level information                various operations embodied by a computer . The media may
   410 and interval- level information 420 are sent to a client , also include, alone or in combination with the program
   all computations for deciding alternatives and resolving 45 instructions, data files , data structures , and the like . The
   locations may be performed by a server. Accordingly , when              program instructions recorded on the media may be those
   only the content-level information 410 and interval-level               specially designed and constructed for the purposes of the
   information 420 are sent to the client, a processing model embodiments , or they may be of the kind well-known and
   may be " server-based .”                                     available to those having skill in the computer software arts .
      When the content-level information 410 , the interval- 50 Examples of computer-readable media include magnetic
   level information 420 , and the QoS information 430 are sent media such as hard disks, floppy disks, and magnetic tape;
   to the client, all computations for deciding alternatives and           optical media such as CD ROM disks and DVDs; magneto
   resolving locations may be distributed and performed by the             optical media such as floptical disks; and hardware devices
   client and the server. Accordingly , when the content -level that are specially configured to store and perform program
   information 410 , the interval-level information 420 , and the 55 instructions , such as read -only memory (ROM ), random
   QoS information 430 are sent to the client, the model may         access memory (RAM ), flash memory , and the like.
   be " distributed .”                                               Examples of program instructions include both machine
      When all the signaling information (namely , the content -           code , such as produced by a compiler , and files containing
   level information 410 , the interval-level information 420 , higher level code that may be executed by the computer
   the QoS information 430 , and the mapping information 440 60 using an interpreter. The described hardware devices may be
   is sent to the client, the model may be client-based , because configured to act as one ormore software modules in order
   most (or all) processing ( namely, computations for deciding to perform the operations of the above - described embodi
   alternatives and resolving locations) is performed by the ments of the present invention , or vice versa .
   client.                                                          Although a few embodiments of the present invention
      The separation ofmetadata parts may enable efficiency in 65 have been shown and described , the present invention is not
   storage and delivery . For example , during a session , meta -          limited to the described embodiments . Instead , it would be
   data of the content-level information 410 may be sent once ,            appreciated by those skilled in the art that changes may be
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   made to these embodiments without departing from the                    wherein the adaptation set includes one or more attributes
   principles and spirit of the invention , the scope of which is             or elements that are common to each of the represen
   defined by the claims and their equivalents .                                tations and each of the segments for that adaptation set,
      The invention claimed is:                                                and
      1 . A method of providing media content performed by a 5              wherein the representation includes one or more attributes
   DASH (Dynamic Adaptive Streaming over HTTP ) client,                        or elements that are common to each of the segments
   the method comprising :                                                     for that representation .
     receiving a Media Presentation Description (MPD ) of a                 9 . The method of claim 8 . wherein the attribute included
       media content; and                                                at an MPD level is a suggestedPresentation Delay .
     accessing segments of the media content based on infor- 10 10 . Themethod of claim 8 , wherein the element included
       mation provided by the MPD ,                            at an MPD level is a SegmentTemplate .
     wherein the MPD includes one or more periods,
     wherein each of the periods includes one or more adap at an11 . adaptation
                                                                     The method of claim 8 , wherein the element included
                                                                                set level is a Segment Template .
        tation sets ,
                                                                    12 . The method of claim 8 , wherein the attribute included
     wherein each of the adaptation sets includes one or more 15 at an
       representations,                                                 adaptation set level is a subsegmentStartsWithSAP.
     wherein each of the representations includes one or more              13. The method of claim 8 , wherein the element included
        segments,                                                        at a representation level is a SegmentBase .
     wherein the MPD includes one or more attributes or                    14 . The method of claim 8 , wherein the element included
        elements that are common to each of the periods, each 20 at a representation level is a SegmentTemplate.
        of the adaptation sets, each of the representations, and    15 . A method of providing media contentperformed by a
        each of the segments ,                                   DASH (Dynamic Adaptive Streaming over HTTP ) client,
     wherein the period includes one or more attributes or               the method comprising:
        elements that are common to each of the adaptation                 receiving a Media Presentation Description (MPD ) of a
        sets , each of the representations, and each of the 25               media content; and
        segments for that period ,                                         accessing segments of the media content based on infor
     wherein the adaptation set includes one or more attributes              mation provided by the MPD ,
        or elements that are common to each of the represen                wherein the MPD includes one or more periods ,
        tations and each of the segments for that adaptation set,          wherein each of the periods includes one or more adap
       and                                                      30
                                                                              tation sets ,
     wherein the representation includes one or more attributes
        or elements that are common to each of the segments                wherein each of the adaptation sets includes one or more
          for that representation .                                           representations,
      2 . The method of claim 1, wherein the attribute included            wherein each of the representations includes one or more
   at an MPD level is a suggestedPresentation Delay .           35            segments,
      3 . The method of claim 1 , wherein the element included             wherein information on a location , availability or property
   at a period level is a SegmentTemplate .                                   for the one or more segments in a representation are
     4 . The method of claim 1 , wherein the element included          comprised in a SegmentBase element.
   at an adaptation set level is a SegmentTemplate .                16 . The method of claim 8 , wherein the SegmentBase
     5 . The method of claim 1, wherein the attribute included 40 element is included at a period level.
   at an adaptation set level is a subsegmentStartsWithSAP.                17. The method of claim 8 , wherein the SegmentBase
     6 . The method of claim 1 , wherein the element included            element is included at an adaptation set level .
   at a representation level is a SegmentBase .                             18 . The method of claim 8 , wherein the SegmentBase
      7 . The method of claim 1 , wherein the element included           element is included at a representation level.
   at a representation level is a Segment Template .                45     19 . A method of providing media content performed by a
      8 . A method of providing media content performed by a             DASH (Dynamic Adaptive Streaming over HTTP ) client,
   server or multiple servers , comprising :                             the method comprising:
      transmitting a Media Presentation Description (MPD ) of              receiving a Media Presentation Description (MPD ) of a
       a media content to a client;                                          media content; and
     receiving a request, from the client, for a segment of the 50         accessing segments of the media content based on infor
       media content;                                                        mation provided by the MPD
     transmitting the media content to the client,                         wherein the MPD includes one or more periods ,
     wherein the MPD includes one or more periods,                         wherein each of the periods includes one or more adap
     wherein each of the periods includes one or more adap                   tation sets ,
       tation sets ,                                                55     wherein each of the adaptation sets includes one ormore
     wherein each of the adaptation sets includes one ormore                 representations,
       representations,                                                    wherein each of the representations includes one or more
     wherein each of the representations includes one or more                 segments ,
        segments,                                                          wherein information on a location , availability or property
     wherein the MPD includes one or more attributes or 60                    for the one or more segments in a representation are
        elements that are common to each of the periods, each                 comprised in a Segment Template element.
        of the adaptation sets, each of the representations, and           20 . The method of claim 19 , wherein the Segment Tem
        each of the segments ,                                           plate element is included at a period level.
     wherein the period includes one or more attributes or       21 . The method of claim 19 , wherein the Segment Tem
        elements that are common to each of the adaptation 65 plate element is included at an adaptation set level.
       sets , each of the representations, and each of the       22 . The method of claim 19 , wherein the SegmentTem
        segments for that period ,                                       plate element is included at a representation level.
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                                31                                                                    32
      23 . The method of claim 19 , wherein a duration attribute           30 . The method of claim 25 , wherein when a Segment
   and a SegmentTimeLine element are included at a period                TimeLine element is absent, a duration attribute is com
   level, an adaptation set level, or a representation level.            prised in the SegmentList element .
      24 . The method of claim 19 , wherein when a Segment-                31 . A method of providing media content performed by a
    TimeLine element is absent, a duration attribute is com - 5 server or multiple servers, comprising:
   prised in the Segment Template element.                                 transmitting a Media Presentation Description (MPD ) of
      25 . A method of providing media content performed by a                a media content to a client;
   DASH (Dynamic Adaptive Streaming over HTTP ) client,                    receiving a request, from the client, for a segment of the
   the method comprising:                                                    media content ;
      receiving a Media Presentation Description (MPD ) of a 10            transmitting the media content to the client,
        media content; and                                                 wherein the MPD includes one or more periods,
      accessing segments of the media content based on infor               wherein each of the periods includes one or more adap
        mation provided by the MPD ,                                         tation sets,
      wherein the MPD includes one or more periods,                        wherein each of the adaptation sets includes one or more
      wherein each of the periods includes one or more adap - 15
        tation sets ,                                                        representations,
      wherein each of the adaptation sets includes one or more             wherein each of the representations includes one or more
        representations,                                                      segments, and
      wherein each of the representations includes one or more             wherein information on a location , availability or property
        segments ,                                                  20        for the one or more segments in a representation is
      wherein information on a location, availability or property            comprised in a SegmentList element.
         for the one or more segments in a representation are              32. The method of claim 31, wherein the SegmentList
         comprised in a SegmentList element.                           element is included at a period level .
      26 . The method of claim 25 , wherein the SegmentList             3 3. The method of claim 31 wherein the SegmentList
    element is included at a period level.                          25 element is included at an adaptation set level.
     27. The method of claim 25 , wherein the SegmentList               34 . The method of claim 31 , wherein the SegmentList
   element is included at an adaptation set level.                    element  is included at a representation level .
     28 . The method of claim 25 , wherein the SegmentList              35 . The method of claim 31 , wherein a duration attribute
   element is included at a representation level.
                                                       # tribute 3030 and
     29 . The method of claim 25 , wherein a duration attribute       and aa segment
                                                                             SegmentTimeLine
                                                                                      Time element are provided .
   and a SegmentTimeLine element are provided .
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                              EXHIBIT K
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                                    16016
                                                                                                                    US010277660B1

   (12) United     States Patent                                                               (10) Patent No.: US 10 ,277,660 B1
        Thang et al.                                                                           (45) Date of Patent:                         * Apr. 30 , 2019
   (54 ) APPARATUS AND METHOD FOR                                                         (58 ) CPC
                                                                                                Field ..of.....Classification   Search
                                                                                                                . .... .. HO4L 67/02; H04L 29/06027 ; H04L
           PROVIDING STREAMING CONTENT
                                                                                                                    65/4084; H04L 65 /607; H04L 65 /608 ;
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   ( * ) Notice : Subject to any disclaimer, the term of this                             JP                  2005020588 A        1/2005
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                             This patent is subject to a terminal dis                                            OTHER PUBLICATIONS
                             claimer.                                                     “ 3GPP TS 26 .cde V1.0.0 , 3rd Generation Partnership Project;
                                                                                            Technical Specification Group Services and System Aspects Trans
   (21) Appl.No.: 16 /228,097                                                             parent end -to -end Packet -switched Streaming Service (PSS); Pro
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                  Related U . S . Application Data                                        Primary Examiner — Jonathan A Bui
    (63 ) Continuation of application No. 16 /036 ,703, filed on                          (74 ) Attorney, Agent, or Firm — William Park &
          Jul. 16 , 2018 , which is a continuation of application                         Associates Ltd .
                             (Continued )
                                                                                            (57)                       ABSTRACT
   ( 30 )             Foreign Application Priority Data                                   A method and apparatus for an adaptive Hypertext Transfer
         Sep . 6 , 2011 (KR ) . ...................... 10 -2011-0089923                   Protocol (HTTP ) streaming service using metadata of con
                                                                                          tent are provided . The metadata may include one or more
   (51) Int. Ci.                                                                          BaseURL elements . Uniform Resource Locators (URLs) of
        G06F 15 / 16                       ( 2006 .01)                                      segments forming media may be generated based on the
           H04L 29 / 08                    ( 2006 .01 )                                   BaseURL elements . Additionally , a URL of a segment may
                                                                                          be generated by mapping a BaseURL element among the
                                    ( Continued )                                         BaseURL elements to a sourceURL attribute of the segment.
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         U .S. CI.........    H04L 67/02 (2013 .01) ; H04L 29 / 06027
                                                                                          Segments indicated by generated URLsmay be identical to
                                                                                          each other.
                                  (2013 .01) ; H04L 65 /4084 (2013 .01) ;
                                    (Continued )                                                               21 Claims, 6 Drawing Sheets

                                                                    100                                110

                                                                 TERMINAL
                                                                 TERMINAL

                                                                              METADATA 120
                                                                                                     SERVER



                                                           PROCESS METADATA 130
                                                                          REQUEST FOR SEGMENT 140
                                                                                    145 ~          PARSE MEDIA
                                                                               SEGMENTS 150
                                                           PERFORM DECODING         160
                                                             AND RENDERING
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                     100
                                                           WWWWWWWWWWWWWWWWW    *777777777777777777777777




                TERMINAL           w                   w
                                                                       SERVER
                                                                 wwwwwwwwwwww




                                       METADATA 120

         Ww PROCESSMETADATAL130
                           REQUEST FOR SEGMENT 140
                                                              PARSE MEDIA

                                       SEGMENTS 150

          PERFORM DECODING                  160
      WWW
            AND RENDERING
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                                                                                                 FIG 2

                                                                          210
                                General info
                      Content info , live or VoD , length ,
                                                              etc .
                                                                           220    AgroOQAAMOODOODALO0OODATA
                                                                                                                                     240
                                                                                                                          Client request
                   AAAA    A AAAQARDAR
            4°N
            49
            4




            4




            *




            UPAY
            *
            +
            4
                                          QoS- related info
                                  Alternatives: quality and
                                       characteristics                                                         ACDRMTOE   • Client-based
                                                                                                                          · Server- based
                                                                                                                          · Distributed
                                                                                                                            oooooooooooooo
                                                                                                                                             DELOVI
                                                                          230
                                         Data mapping info
                          Mapping alternative to physical
                                           data fragments
                                          22 . 22PP   . APP   .   211   - 222PPPPA + + + - 24444444444444422
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                                                                                                                                * *




                                                                            320                              330                          W            340
                       V                                                   + + + + + + + + +      +


                                                                                                                                info
                                                                                                                                QoS                   WOO




                           Oi-lCoenvtfenolt MAND
                                             WAO                       w         i-lInetvfreoal                                                        iManpfinog
                                                                                                                                                          LALALALE..




           3
           .
           FIG




                                                                with




                                                   2ndinterval
                                                                 the




                                                                                                                                                        2Alternative
                           Conte                                                                                                          pena




                                                                                                                    Fragments
                                                          4




                                                     interval
                                                     $
                                                     1
                                                                                                      With   A   WIN N ' AT           W          **         WWW
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                                            FIG 4
                                            ?




                                  Stream of TS packet

                                            ??
                           Offset= 1             First TS packet of
             TS packet with
                                                   new fragment
                                                Wwwwwwwwwwwwwwwwwwwwwwwww   W
               PCR field
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                                       FIG 5
                                        10

                            JS               ywwwal
                                                        S2{}

                   CONTROLLER                   TRANSCEIVER
                                                                ?
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                                                                 O-MUETDPIUAT
                                        620
                                                         MEDIA ENGI E
                      6
                      .
                      FIG


                                                                                MFOPREMAGT+TMIEDINAG
                                        610
                                                       )
                                                       DASH
                                                       (
                                                                 ACES ENGIE
                                               METAD
                                                             -




                                                       )
                                                       MPD
                                                       (     -




                                                             -
                                                                                   CMOENDTIA   )D(SEAGMTENAT
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                                                      US 10 , 277 ,660 B1
               APPARATUS AND METHOD FOR                                     Identical segments may be accessible atmultiple locations
           PROVIDING STREAMING CONTENT                                   indicated by URLs resolved with respect to the respective
                                                                         BaseURL elements .
                       TECHNICAL FIELD                                     A first BaseURL element among the BaseURL elements
                                                                5 may be used as a basic Universal Resource Indicator (URI),
      The present invention relates to a technology for provid    and BaseURL elements other than the first BaseURL ele
                                                          'Vid . ment may be used as alternative BaseURL elements .
   ing streaming content, and more particularly , to an apparatus           The metadata may selectively include a sourceURL attri
   and method for providing media content using adaptive                 bute of the segment. When the metadata selectively includes
   streaming                                                             the sourceURL attribute of the segment, a BaseURL element
                                                                   among the BaseURL elements may be mapped to the
                  BACKGROUND ART                                   sourceURL attribute , so that the URL may be generated .
                                                                       The metadata may be a Media Presentation Description
      Streaming is one of schemes for transmitting and playing     (MPD ) of the media .
   back multimedia content such as sounds, moving images .             The media may include a sequence of one or more
   and the like . A clientmay play back content while receiving 15 periods
                                                                   per .
                                                                       A BaseURL elementmay include one ormore MPD level
   the content through the streaming.                              BaseURL     elements of the MPD , and one or more period
      An adaptive streaming service refers to providing a level BaseURL              elements of the periods.
   streaming service employing a communication scheme with            AURL of a segment included in each of the periods may
   a request of a client and a response of a server in response 20 be resolved with respect to a period level BaseURL element.
   to the request.                                                     The period level BaseURL elements may be resolved with
      The client may request a media sequence suitable for an       respect to the MPD level BaseURL elements .
   environment of the client ( for example , a transmission           Each of the periods may include one or more groups.
   channel of the client), using the adaptive streaming service . The BaseURL element may further include one or more
   The server may provide a media sequence matched to the 25 group level BaseURL elements of the groups.
   request of the client among media sequences with various be Aresolved
                                                                    URL of a segment included in each of the groups may
                                                                         with respect to a group level BaseURL element.
   qualities that are included in the server.                       The group level BaseURL elements may be resolved with
      The adaptive streaming service may be provided based on respect   to the period level BaseURL elements .
   various protocols .                                              Each of the groups may include one or more representa
      A Hypertext Transfer Protocol (HTTP ) adaptive stream - 30 tions.
    ing service refers to an adaptive streaming service provided       Each of the representationsmay be a structured collection
   based on an HTTP protocol. A client of the HTTP adaptive         of one or more components of the media within a period .
   streaming service may receive content from a server using            The BaseURL element may further include one or more
   the HTTP protocol, and may transmit a request associated representation level BaseURL elements of the representa
   with a streaming service to the server .                      35 tions
                                                                       A URL of a segment included in each of the representa
                DISCLOSURE OF INVENTION                                  tions may be resolved with respect to a representation level
                                                                         BaseURL element.
                                                                    The representation level BaseURL elements may be
                          TechnicalGoals                      40 resolved with respect to the group level BaseURL elements
                                                                 or the period level BaseURL elements.
     An aspect of the present invention provides an apparatus      According to another aspect of the present invention ,
   and method that may interpret a Uniform Resource Locator              there is provided a terminal, including : an access engine to
   (URL ) of a segment using one or more BaseURL elements              receive metadata ofmedia , to send a request for a segment
   during playback of content.                                      25 of the media using a Uniform Resource Locator (URL ) of
      Another aspect of the present invention provides an                the segment, to receive the segment, and to decode data of
   apparatus and method thatmay generate a URL of a segment              the media that is included in the segment, the metadata
   by mapping a BaseURL element among one or more                        including one or more BaseURL elements , and the URL
                                                                         being resolved with respect to a BaseURL element; and a
   BaseURL elements to a sourceURL attribute of the segment.             media engine to receive the data of the media from the
                                                                    50   access engine, and to output the media .
                        Technical Solutions
     According to an aspect of the present invention , there is
                                                                                           Effect of the Invention
   provided a method for providing media , the method includ        According to embodiments of the present invention , it is
   ing : receiving metadata of media , the metadata including 55 possible to interpret a Uniform Resource Locator (URL ) of
   one or more BaseURL elements ; sending a request for a        a segment using one or more BaseURL elements during
   segment of the media using a Uniform Resource Locator playback of content.
   (URL ) of the segment, the URL being resolved with respect       Additionally , according to embodiments of the present
   to a BaseURL element; receiving the segment; and decoding invention , it is possible to generate a URL of a segment by
   and rendering data of the media that is included in the 60 mapping a BaseURL element among one ormore BaseURL
   segment .                                                             elements to a sourceURL attribute of the segment.
      The request may be sent using an HTTP GET method .
      The metadata may include a range attribute .                       BRIEF DESCRIPTION OF DRAWINGS
      The request may include a request for bytes of a resource
   indicated by the URL that are designated by the range 65 FIG . 1 is a diagram illustrating categories of signaling
   attribute .                                                  information according to an embodiment of the present
      The URL may be an absolute URL or a relative URL .        invention .
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                                                     US 10 , 277 ,660 B1
      FIG . 2 is a diagram illustrating categories of signaling            One or more intervals may be a basic unit . One or more
    information according to an embodiment of the present               intervals may be described by signaling metadata . In other
   invention .                                                          words, metadata may describe each of the one or more
      FIG . 3 is a diagram illustrating a hierarchy of content          intervals .
   division and levels of signaling information according to an 5         The metadata may be an MPD .
   embodiment of the present invention .                                  The MPD may define a format to announce resource
                                                                  identifiers for segments. The MPD may provide a context for
      FIG . 4 is a diagram illustrating detection of virtualbound identified
   aries in a Moving Picture Experts Group- 2 Transport Stream                  resources within the media presentation . The
   (MPEG -2 TS ) according to an embodiment of the present 10 tors (URLs). URLsmaymaybe HTTP
                                                                  resource    identifiers
                                                                                                be
                                                                                                      -Uniform Resource Loca
                                                                                                   restricted by a byte range
   invention .                                                    attribute .
      FIG . 5 is a diagram illustrating a configuration of a
   terminal 100 according to an embodiment of the present            Each interval may be divided into fragments .
                                                                           Fragments may be interchangeable with segments . The
   invention .                                                          term segmentmay be used as a term of 3GPP adaptive HTTP
      FIG . 6 is a diagram illustrating a configuration of! a 1515 streaming.
   terminal 100 according to an embodiment of the present            A segment may refer to an entity body of a response to an
   invention .                                                     HTTP / 1 . 1 GET request for an HTTP -URL , for example as
          BEST MODE FOR CARRYING OUT THE                                defined in RFC 2616 , (or a GET request for a part indicated
                                                              by a byte range ).
                         INVENTION                          20 A terminal may play back media content using received
                                                              bytes (namely, a segment).
     Reference will now be made in detail to embodiments of      A sub -segment may refer to a smallest unit within seg
   the present invention , examples of which are illustrated in ments that may be indexed by a segment index at the
   the accompanying drawings , wherein like reference numer      segment level.
   als refer to the like elements throughout. The embodiments 25 Two or more sets of fragments corresponding to a single
   are described below in order to explain the present invention interval may exist. Each of the sets may be called an
   by referring to the figures.                                  alternative.
      A Dynamic Adaptive Streaming over HTTP (DASH ) may           An alternative may be interchangeable with a represen
   specify formats that enable 1) delivery of media content tation (or an expression).
   from an HTTP server to an HTTP client, and enable 2 ) 30               Each period may include one or more groups.
   caching of content by standard HTTP cashes.                            Each group may include one or more representations of
      A media component may be an encoded version of                    the same media content.
   individual media types, such as audios, videos, or timed                A representation may refer to a structured collection of
   texts with specific attributes, for example bandwidths, lan 35       one or more media components within a single period . A
                                                                        representation may be one of alternative choices of the
   guages, or resolutions .                                             media content or a subset of the media content typically
      Media contentmay be a set of media components having              differing by the encoding choice, for example by a bitrate, a
   a common timeline , for example audios, videos, or timed
   texts . Additionally , media components may have relation resolution  , a language , a codec , and the like.
                                                                 An MPD (or an MPD element ) may provide descriptive
   ships on how the media components may be presented ( for 40 information that enables a client to select one or more
   example , individually , jointly , or mutually exclusive ) as        representations.
   programs or movies.                                                     A Random Access Point (RAP ) may be a specific location
     Media content and content may be used as interchange -             in a media segment. The RAPmay be identified as a location
   able terms.                                                          in which playback may be started continuously from a
      A media presentation (or media ) may be a structured 45 location of the RAP using only information included in a
   collection of data used to establish bounded or unbounded      media segment.
   presentation of media content including components of             Each representation may be formed of one or more
   continuous media .                                             segments
                                                                  Segue .. In other words, a representation may include one
      In other words, the media presentation may be a struc -     or more segments .
   tured collection of data that is accessible to a DASH client 50 An MPD may be a document including metadata required
   in order to provide a streaming service to a user.             to a DASH client to form appropriate HTTP -URLs in order
       A Media Presentation Description (MPD ) may be a for - to 1) access segments and to 2 ) provide a user with a
   malized description for a media presentation .                 streaming service . The HTTP -URLs may be absolute or
      The media presentation may be described by an MPD 55 The .MPD may be an Extensible Markup Language
                                                                  relative
   including possible updates of the MPD .
      Contentmay be content on demand , or live content.          (XML)-document.
      The contentmay be divided into one ormore intervals . In        The MPD may include an MPD element. The MPD may
                                                                  include only a single MPD element .
   other words, the contentmay include one or more intervals .       FIG . 1 is a signal flowchart illustrating a content process
      Intervals may be interchangeable with periods. The term
   period may be used as a term of 3rd Generation Partnership iny method according to an embodiment of the present
                                                      he term  60 ing
   Project (3GPP ) adaptive HTTP streaming.                          A terminal 100 may be a DASH client.
      A period may be an interval of a media presentation . A              The DASH client may be compatible with a client speci
   continuous sequence of all periods may constitute the media          fied in RFC 2616 .
   presentation .                                                  65     The DASH client may typically use an HTTP GET
      In other words, the media presentation may include a              method or an HTTP partial GET method , as specified in
   sequence of one or more periods.                                     RFC 2616 , to access segments or parts of segments .
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      A server 110 may perform hosting on DASH segments .                 The terminal 100 may play back the media using the
   The server 110 may be compatible with a server specified in received segments by repeating operations 120 through 160.
   RFC 2616 .                                                       Here, a BaseURL element may include an MPD level
      In operation 120 , the terminal 100 may receive metadata BaseURL element of an MPD , and a period level BaseURL
   of media (or content) from the server 110 . In other words , 5 element of each period . The period level BaseURL element
   the server 110 may transmit the metadata of the media to the        may refer to a BaseURL element applied to a period to
   terminal 100 .                                                      which the period level BaseURL element belongs. In other
      The metadata may include BaseURL elements . One or               words, a URL of a segment included in each period may be
   more BaseURL elements may be provided .                             resolved with respect to the period level BaseURL element.
      In operation 130 , the terminal 100 may process the                One or more MPD level BaseURL elements may be
   received metadata . In operation 130 , the terminal 100 may         provided , and one or more period level BaseURL elements
   extract information provided by the metadata , or informa-          may be provided .
   tion included in the metadata .                              Additionally, the BaseURL elementmay further include a
      In operations 140 through 150 , the terminal 100 may 15 group level BaseURL element of a group. A URL of a
   access a segment of the media based on the information     segment included in each group may be resolved with
   provided by the metadata .                                 respect to the group level BaseURL element. One or more
      Each period may include one or more groups, and each of group level BaseURL elements may be provided .
   the groups may include one or more representations of the              The BaseURL element may further include a representa
   media . Each ofthe representations may include one ormore 20 tion level BaseURL element of a representation . A URL of
   segments.                                                    a segment included in each representation may be resolved
      The metadata may describe a group element describing             with respect to the representation level BaseURL element.
   each of the groups.                                                    A BaseURL element of a specific level may be resolved
      In operation 140 , the terminal 100 may send a request for  with respect to a BaseURL element of a higher level. For
   a segment of the media to the server 110 using a URL of the 25 example , a period level BaseURL element may be resolved
   segment. The URL may be resolved with respect to one of             with respect to an MPD level BaseURL element. A group
   the above- described BaseURL elements. For example , the            level BaseURL element may be resolved with respect to a
   URL of the segment may be generated based on a BaseURL        period level BaseURL element. A representation level
   element.                                                      BaseURL element may be resolved with respect to a group
      The terminal 100 may request the server 110 to transmit 30 level BaseURL element or a period level BaseURL element.
   a segment suitable for a specific interval based on the               FIG . 2 is a diagram illustrating categories of signaling
   processed metadata . In other words, the requested segment          information according to an embodiment of the present
   may be selected based on the metadata . The request may be          invention .
   sent using the HTTP GET method .                                       The signaling information (namely, metadata ) may be
       The metadata may include a range attribute . The request 35 divided into the following categories 1 ) through 4 ):
   may include a request for bytes of a resource indicated by a        1 ) General information 210 : includes common description
   URL that are designated by the range attribute .                 of content, and general description of each interval , such as
       The URL of the segment may be an absolute URL or a           a duration , and a start time.
   relative URL .                                                      2 ) Quality of Service ( QoS) information 220: describes
       Identical segments may be accessible atmultiple locations 40 characteristics of each alternative , such as a bitrate , a reso
    indicated by URLs resolved with respect to the respective lution , and a quality . In other words, the QoS information
   BaseURL elements . In other words, identical segments may        describes characteristics of each of alternatives of content.
   be selectively accessible by the URLs provided by the   An alternative may be physical (namely , created in
   BaseURL elements .                                    advance ), or may be virtual ( namely , to be created on the
     Additionally, a first BaseURL element among the 45 fly ). Based on information of alternatives , the client may
   BaseURL elements may be used as a basic Universal                   select a fragment ofan appropriate alternative . Accordingly,
   Resource Indicator (URI), and BaseURL elements other adaptivity to contexts of terminals and networks may be
   than the first BaseURL element may be used as alternative supported .
   BaseURL elements.                                                3 ) Mapping information 230 : describes locations to
      The metadata may selectively include a sourceURL attri- 50 retrieve content. Depending on specific cases, different
   bute of the segment. When the metadata selectively includes         alternatives may have the same or different locations .
   the sourceURL attribute of the segment, a BaseURL element              4 ) Client request 240 : this type of signaling information
   among the BaseURL elements may be mapped to the                     may conform to a format of HTTP 1 . 1 request message . As
   sourceURL attribute , so that the URL of the segmentmay be          shown in FIG . 1 , parameters requested by the clientmay be
   generated .                                              55 derived from the information of categories 1 ) through 3 ) .
     In operation 145, in several cases, the server 110 may     F IG . 3 is a diagram illustrating a hierarchy of content
   need to parse content (for example , a Moving Picture               division and levels of signaling information according to an
   Experts Group (MPEG ) layer 4 (MP4 ) file for Scalable              embodiment of the present invention .
   Video Coding (SVC )), and may extract a data part suitable             Signaling of metadata according to an embodiment of the
   for the requested segment .                                    60   present invention may be physically separated into content
      In operation 150 , the server 110 may transmit , to the          level information 310 , interval-level information 320, QoS
   terminal 100 , segments suitable for each request from the          information 330 , and mapping information 340. Linking of
   terminal 100 . The terminal 100 may receive the segments            related parts of the content- level information 310 , the inter
   from the server.                                              val-level information 320 , the QoS information 330 , and the
      In operation 160 , the terminal 100may perform decoding 65 mapping information 340 may be performed by reference .
   and rendering on data of the media included in the segment.      These parts of signaling information may be combined in
   to play back the media .                                      different ways to support the flexibility .
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      For example, when only the content-level information                    (ISO ) base media file format and the like, and may be used
   310 and interval- level information 320 are sent to a client,              in non -XML clients . In particular , a profile of the pseudo
   all computations for deciding alternatives and resolving                   code syntax may employ a parsing module similar to a
   locations may be performed by a server. Accordingly, when                  parsing module of file- format parsing. To design the syntax
   only the content-level information 310 and interval- level 5 for the above purpose, a table of common elements may be
   information 320 are sent to the client, a processing model                 defined and elements in each format may be represented , in
   may be " server -based .”                                                  the following embodiments .
      When the content-level information 310, the interval-                      The proposed syntax may be represented by any other
   level information 320, and the QoS information 330 are sent languages .
   to the client, all computations for deciding alternatives and 10 Hereinafter, tables of general syntax elements will be
   resolving locations may be distributed and performed by the                described .
   client and the server. Accordingly , when the content-level                   In the following tables , the syntax elements may be
   information 310 , the interval-level information 320 , and the             described hierarchically. In other words, a child element
   QoS information 330 are sent to the client, the model may may be shown in a column on the right of a parent element
   be “ distributed .”                                          15 of the child element. “ Leaf” -level elements may be shown in
     When all the signaling information ( namely , the content - italic , and parent elements may be shown in bold letter. A
   level information 310 , the interval-level information 320 , parent element may be represented by a corresponding XML
   the QoS information 330 , and the mapping information 340 )                type and a file box .
   is sent to the client, the model may be client-based , because                In the column of occurrence, “ O . . . N ” may mean that the
   most (or all ) processing (namely , computations for deciding 20 number of instances of an occurrence element may be from
   alternatives and resolving locations) is performed by the                  Oto “ unbounded .” The minimum occurrence of O may mean
   client .                                                                   that an element may be optional ( namely , not present). A
      The separation ofmetadata parts may enable efficiency in               minimum occurrence equal to or greater than 1 may mean
   storage and delivery . For example , during a session , meta - that an element is mandatory in the syntax .
   data of the content - level information 310 may be sent once , 25 Occurrence may be interchangeable with cardinality .
   and only the interval- level information 320 may be periodi-           In a row of type, A indicates an attribute , and E indicates
   cally updated . Similarly, a single file containing the QoSInfo     an element. In a row of optionality , M indicates mandatory,
   330 may be used for different intervals and different con           and O indicates optional. For attributes, M indicates man
   tents .                                                             datory , O indicates optional, OD indicates optional with
      There are different ways to represent a set of metadata , for 30 default value , and CM indicates conditionally mandatory .
   example XML , pseudo -code , a Session Description Protocol For elements , elements may be represented as < min
   ( SDP ) , and the like.                                    Occurs > . . . <maxOccurs > . Here. N may be unbounded .
      In embodiments of the present invention , both XML and     The abovemeaning may equally be applied to other tables
   pseudo - code may be used to represent signaling syntax . in the present specification .
   XML syntax may be used for clients that support an XLM 35 Additionally , QoSInfo may be also called Adaptation Info
   profile based on an MPEG - 21 and similar schema. On the to make QoSInfo more specific . Moreover, a few elements
   other hand , pseudo -code syntax may be based on a “ lan - may be revised to increase flexibility of the syntax .
    guage” of an International Organization for Standardization                 The following Table 1 describes general information .
                                                                             TABLE 1
                                                                                                                   XML syntax         Pseudo-code
                                                                                                                   (based on          ( File format
                                                              Occurrence   Semantics                               MPEG - 21)         box )
                HttpStr                                       1            Describes the top -level element of     HttpStreamingType ‘htps ’
                                                                           signaling metadata for HTTP streaming                      box
                          GeneralInfo                         0 . .. N     Contains the general information of General Info Type      'geni ?
                                                                           the described content                                      box
                                        TimeScale             0 ... 1      Describes the number of time units      integer            unsigned
                                                                           in 1 second.                                               int(32)
                                                                           This value is used with time-related
                                                                           elements, when a time unit is not
                                                                           specified.
                                        LiveStartTime         0 ... 1      If LiveStartTime element is not         date Time          unsigned
                                                                           present, the content is of VoD type.                       int (64 )
                                                                            The presence of LiveStartTime
                                                                           element indicates a live content that
                                                                           is to be displayed at a time value of
                                                                           LiveStartTime.
                                                                           If LiveStartTime has a time value of
                                                                           0 , the display time is unknown.
                                        Duration              0 ... 1      If present, indicates duration of the   integer            unsigned
                                                                           content. Otherwise , the duration is                       int(32)
                                                                           unknown.
                                        DefaultIntDuration    0 ... 1      If present, indicates a default         integer            unsigned
                                                                           duration of each interval of the                           int(32)
                                                                           content.
                                        MinUpdate Time        0 ... 1      If present, indicates the minimum       integer            unsigned
                                                                           waiting time before requesting the                         int(32)
                                                                           main description file again .
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                                                             US 10 ,277 ,660 B1
                                                                                                                    10
                                                          TABLE 1 - continued
                                                                                                     XML syntax            Pseudo- code
                                                                                                     (based on             (File format
                                               Occurrence Semantics                                  MPEG -21)             box )
                       ConsistentQoSInfo       0 . .. 1      If true , indicates that Qos            boolean                flag of
                                                             information is the same as the                                the box
                                                             whole content duration .
                       DefaultContentLoc       0 ... 1        Provides a default location for the    anyURI                string
                                                             content.                                                      of URL
        IntervalsRef                           0 .. . N      Provides reference to description       Intervals              iref '
                                                             containing one ormore instances of      RefType               box
                                                             Interval element.
                                                             One or more instances of Interval
                                                             element represent a sequence of
                                                              consecutive interval(s ).
        Interval                               0 ... N       Provides information of an interval     IntervalType          ' inty ?
                                                             of content.                                                   box
                                                             The information of the interval may
                                                             be either included as an instance of
                                                             Interval element or referenced by
                                                              IntervalsRef element.
                       IntervalInfo            0 ... 1       Provides general information of an      IntervalInfoType      “inti '
                                                             interval.                                                     box
                       QoSInfoRef              0 ... 1        Provides reference to description
                                                             represented by QoSInfo element.
                                                                                                     dia :Reference Type   ‘qref
                                                                                                                           box
                                                              If OosInfoRef element is present,
                                                             QoSInfo element may not be
                                                             present at the same level.
                       QoSInfo                 0 . .. 1      Provides information about              QoSInfo Type           QoSi
                                                             alternatives of content, such as                              box
                                                             resource characteristics and
                                                             quality /utility.
                                                             If QoSInfo element is present,
                                                              QoSInfo Ref element may not be
                                                             present.
                       MappingInfo Ref         0 . .. 1       Provides reference to description      dia :Reference Type   “mref '
                                                             represented by MappingInfo                                    box
                                                             element.
                                                             If MappingInfo Ref element is
                                                             present, Mappinginfo element may
                                                             not be present at the same level.
                       MappingInfo             0 ... 1        Provides information about             MappingInfoType       “mapi’
                                                             locations of content alternatives.                            box
                                                             If the information is not provided ,
                                                             DefaultContentIntLoc element ( if
                                                             not, DefaultContentLoc ) can be
                                                             used to retrieve content.
                                                             If MappingInfo element is present,
                                                             MappingInfoRef element may not
                                                             be present.
                       NextIntervalsRef        0 ... 1       Provides reference to information of     Intervals            ' nref '
                                                             next interval(s ).                      RefType,may           box
                                                             The information of next interval(s)     be extended from
                                                             is description containing one or        dia :Reference Type
                                                             more instances of Interval element.
                                                              The information of next interval(s )
                                                             is description represented by
                                                              Interval element.
                                                             Using NextIntervalsRef element,
                                                             the client does not need to reload
                                                             the main description represented by
                                                             HttpStr element.
                                                             Within the current time window ,
                                                             only the final interval may contain
                                                             NextIntervalsRef element.
                       PreviousIntervals Ref   0 ... 1        Provides reference to information of   Intervals             ' nref '
                                                             previous interval( S ).                 RefType , may         box
                                                              The information of next interval(s )   be extended from
                                                              is description containing one or       dia :Reference Type
                                                             more instances of Interval element.
                                                              The information of next interval(s )
                                                             is description represented by
                                                              Interval element.
                                                             Using PreviousIntervalsRef
                                                              element, the client does not need to
                                                             reload the main description
                                                             represented by HttpStr element.
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                                                                US 10 ,277 ,660 B1
                                                                                                                              12
                                                            TABLE 1 - continued
                                                                                                                 XML syntax                  Pseudo -code
                                                                                                                 (based on                   (File format
                                                   Occurrence Semantics                                          MPEG - 21)                  box )
                                                              Within the current time window ,
                                                              only the first intervalmay contain
                                                                 NextIntervalsRef element.

                                                                                10
       The following Table 2 describes IntervalsRef , NextInter
   valsRef, Previous IntervalsRef, QoSInfoRef, MappingIn
   foRef a , and IntervalInfo .
                                                               TABLE 2
                                                                                                          XML                    Pseudo
                                                                                                          syntax                 code
                                                                                                        (based on                (File
                                                                                                        MPEG                     format
                                                Occurrence Semantics                                      21)                    box )
   QoSInfoRef,
   MappingInfo Ref
                          Index                             Indicates the order (starting from 1) of not                         unsigned
                                                            the referenced description or box             applicable             int(8 )
                                                            (Interval, QoSInfo , MappingInfo ) in the
                                                            description file referenced by the next
                                                            Location element.
                          Location                          Provides reference to description             uri                    string
                                                            represented by Interval, QoSInfo , or         element                ( representing
                                                            MappingInfo .                                 in                     url)
                                                                                                          dia : Reference Type
   IntervalInfo
                          TimeScale              0 ... 1    Describes the number of time units in         integer                unsigned
                                                            one second . This value is used with                                 int ( 32 )
                                                            time-related elements, when a time unit
                                                            is not specified .
                                                             TimeScale element, if present, overrides
                                                            the time scale provided by GeneralInfo.
                          StartTime              0 ... 1    Indicates the start time of the interval.
                          Duration               0 . .. 1   Indicates the duration of the interval.       integer                unsigned
                                                                                                                                 int(32)
                          DefaultFragDuration    0 . .. 1   Indicates the default duration of             integer                unsigned
                                                            fragments of the interval ( except the last                          int( 32 )
                                                            fragment).
                          DefaultContentIntLoc 0 . . . 1    Provides a default location for the           anyURI                 string
                                                            content interval.                             type
                          Last                   0 ... 1    If true , indicates the final interval of the boolean                by flag
                                                            content.
   IntervalsRef,
   PreviousIntervalsRef
   NextIntervalRef
                          startTime                         Indicates the start time of the referenced xs:duration
                                                            sequence of intervals/ periods relative to
                                                            the start time of the content
                                                            ( LiveStart Time for live content and 0
                                                            for on - demand content) .
                          Available              0 . .. 1   Indicates the time the description of the integer                    unsigned
                          Time                              next interval is available . The is the                              int(32)
                                                            relative time from the start time of the
                                                            content.
                          Index                             Indicates the order( starting from 1) of not                         unsigned
                                                            the referenced interval description (or applicable                   int( 8 )
                                                            box ) in the description file referenced by
                                                            the next Location element.
                          Location                          Provides reference to description file sx :anyURI                    string
                                                            that contains Interval descriptions.          type                   (representing
                                                                                                          or uri                 url)
                                                                                                          element
                                                                                                          in
                                                                                                          dia:Reference Type
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                                                                  US 10 ,277 ,660 B1
                                       13                                                                                       14
          The following Table 3 describes the QoSInfo element.
                                                                  TABLE 3
                                                                                                        XML syntax                   Pseudo - code
                                                                                                        (based on                    ( File format
                                               Occurrence Semantics                                     MPEG -21)                    box )
   QoSInfo                                                    Provides information about a list of QoSInfoType                        QoSi
                                                              content alternatives, such as         containing a                     box
                                                              resource characteristics and         Utility Function of
                                                              quality /utility.                    dia : AdaptiveQoSType
                Class SchemeRef                0 ... 1        Provides a list of classification         dia :Description             'csmr
                                                              schemes.                                  MetadataType                 box
                                                              The classification schemes provide
                                                              semantics for some terms or names.
                                      scheme 1 . . . N        Provides reference to a                   Attr. alias & href           a url
                                                              classification scheme.                     in dia :Description         string
                                                                                                        MetadataType
                Resource                       0 ... N        Each instance of Resource element         Element constraint           ‘ resi
                                                              describes, for a list of alternatives ,   of dia :UF                   box
                                                              characteristic values of a certain        DataType
                                                              resource type (e .g., bitrate ).          in DIA Utility
                                                                                                        Function Type
                Adaptation Operator            0 ... N        Each instance of                          dia :UF                      “ adpo '
                                                              Adaptation Operator element               Data Type                    box
                                                              describes, for a list of alternatives,
                                                              values of a certain adaptation type
                                                              ( e. g., remove temporal layers ).
                Utility                        0 ... N        Each instance of Utility element          dia :UF                      'util
                                                              describes, for a list of alternatives,    DataType                     box
                                                              values in a certain quality /utility
                                                              type (e.g ., MOS).
                Utility Rank                   0 ... 1        Describes the quality ranking for a       dia:Utility Rank             'utir
                                                              list of alternatives.                     Type                         box
                                      Value 1 . . . N         Indicates the quality /utility rank
                                                              of an alternative.
                                                                                                        integer                      unsigned
                                                                                                                                     int( 16 )
                                                              The number of instances of Value
                                                              element is equal to the number of
                                                              alternatives.


                                                                                   35
      The following Table 4 shows common semantics of ( 1)
   Resource, (2 ) Adaptation Operator, and (3 ) Utility of Table 3 .
                                                                    TABLE 4
                                                                                                           XML syntax                  Pseudo- code
                                                                                                          (based on                    (File format
                                                   Occurrence Semantics                                   MPEG -21)                    box )
   QoSInfo                                                         Provides information about a list       QoSInfo Type                      QoSi?
                                                                   of content alternatives, such as        containing a                box
                                                                   resource characteristics and            Utility Function of
                                                                   quality /utility.                       dia :AdaptiveQoSType
                Class SchemeRef                    0 ... 1         Provides a list of classification       dia : Description           ' csmr
                                                                   schemes .                               MetadataType                box
                                                                   The classification schemes provide
                                                                   semantics for some terms or
                                                                   names.
                                      scheme        1 ... N        Provides reference to a                 Attr. alias & href           a url
                                                                   classification scheme.                  in dia:Description           string
                                                                                                           MetadataType
   (1)          Resource                           0 . .. N        Each instance of Resource element Element constraint                 ‘ resi'
                                                                   describes, for a list of alternatives, of dia :UF                   box
                                                                   characteristic values of a certain DataType
                                                                   resource type (e. g., bitrate).          in DIA Uti
                                                                                                            Function Type
   ( 2)         Adaptation Operator                0 ... N         Each instance of                         dia :UF                     'adpo '
                                                                   Adaptation Operator element              Data Type                   box
                                                                   describes , for a list of alternatives ,
                                                                   values of a certain adaptation type
                                                                   (e .g ., remove temporal layers ).
   ( 3)         Utility                            0 ... N         Each instance of Utility element dia :UF                            ' util ?
                                                                   describes, for a list of alternatives , DataType                    box
                                                                   values in a certain quality/utility
                                                                   type (e. g., MOS).
                Utility Rank                       0 ... 1         Describes the quality ranking for a dia :Utility RankType            “utir
                                                                   list of alternatives.                                                box
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                                                                       US 10 ,277 ,660 B1
                                            15
                                                                   TABLE 4 - continued
                                           Value        1 ... N            Indicates the quality/utility rank of integer                  unsigned
                                                                           an alternative .                                               int( 16 )
                                                                           The number of instances of Value
                                                                           element is equal to the number of
                                                                           alternatives .
                Element                                                                                            XML syntax             Pseudo- code
                (1 ) , (2 ) ,                                                                                      (based on              (File format
                (3)                                                        Semantics                               MPEG -21 )             box )
                                           Name         1                  Describes an identifier for a           Att.                   unsigned
                                                                           certain type of the element.      “ iOPinRef', ref.            int( 32 )
                                                                           When the identifier is not        a CS term
                                                                           semantically defined by the above
                                                                           embodiment, next three elements
                                                                           are used to find semantics of the
                                                                           identifier in a classification
                                                                           scheme.
                                           CSref_ ind   0 ... 1            Indicates the reference index of a Not                         unsigned
                                                                           classification scheme in the list  applicable                  int( 16 )
                                                                           provided by Class SchemeRef
                                                                           element.
                                           LevelNum     0 . .. 1           Indicates the number of levels.         Not
                                                                                                                   applicable
                                                                                                                                          unsigned
                                                                                                                                          int( 16 )
                                           LevelIndex   1 .. . N           Each instance of LevelIndex             Not                    unsigned
                                                                           element represents an index value applicable                   int( 16 )
                                                                           at a level of the classification
                                                                           scheme.
                                           Value        1 ...N             Indicates the value of a resource       a component in         unsigned
                                                                           type (adaptation operator, or           dia : VectorDataType   int( 32 )
                                                                           utility) of an alternative .
                                                                           The number of instances of Value
                                                                           element is equal to the number of
                                                                           alternatives.


          The following Table 5 shows mapping information .
                                                             TABLE 5
                                                                                                      XML
                                                                                                      syntax
                                                                                                      (based         Pseudocode
                                                                                                      on             ( File
                                                                                                     MPEG            format
                                             Occurrence Semantics                                     21 )           box )
   Mapping                                   0 ... 1                                                 Mapping         'mapi’box
   Info                                                                                               InfoType
                AlterLoc                     0 . .. 1       Provides a location ID for each           dia :Integer “ aloc '
                ID                                          alternative described in QoSInfo .        Vector       box
                                                            If AlterLocID element is not              Type
                                                            present, the first location in the
                                                            location list may be used for all
                                                            alternatives.
                                Value        1 ... N        Indicates a location ID for an            integer        unsigned
                                                            alternative.                                             int( 16 )
                                                            The number of instances of this
                                                            element is equal to the number of
                                                            alternatives .
                                                            The nth instance of Value element
                                                            corresponds to the nth alternative
                                                            of QoSInfo description .
                ReqQos                       0 .. . N       Indicates a parameter of QoSInfo ReqQoS                  freqp
                Para                                        that may be put in the request (for ParaType             box
                                                            an alternative ) sent by the client to that
                                                            the server.                            extends
                                                            A parametermay be an instance of dia :Boolean
                                                            Resource, Adaptation Operator,            Vector
                                                            Utility , or Utility Rank elements. Type
                                RefIndex     1              Indicates instance index /reference represented unsigned
                                                            in the instance list of Resource ,  by          int ( 16 )
                                                            AdaptationOperator, Utility and attribute
                                                            Utility Rank elements.               iOPinRef
                                                                                                      that
                                                                                                      references
                                                                                                      an
                                                                                                      IOPin in
                                                                                                      QoSInfo
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                                                                       US 10 ,277 ,660 B1
                                        17
                                                     TABLE 5 -continued
                                                                                                 XML
                                                                                                 syntax
                                                                                                 (based          Pseudocode
                                                                                                 on              (File
                                                                                                 MPEG            format
                                         Occurrence Semantics                           21 )                   box )
                            All          1          If true , the parameter needs to be boolean                  flag
                                                    requested for all alternatives and
                                                    ReqFlag may be skipped .
                            ReqFlag 0 . . . N               Each instance of ReqFlag element component unsigned
                                                            corresponds to an alternative .      of              int( 8 )
                                                            If ReqFlag is true , the request for Boolean
                                                            the corresponding alternative has    Vector Type
                                                            the parameter identified above.
              Location                                      Provides a list of locations for   Location         locl'
              List                                          retrieving content alternatives    ListType        box
                            Location     1 .. . N           Provides information of a location Location         loca '
                                                                                                 Type          box


      Semantics of Location elements may be further provided 20
   as shown in Table 6 .
                                                                        TABLE 6
                                                                                                                        XML
                                                                                                                        syntax
                                                                                                                        (based         Pseudocode
                                                                   Occurrence Semantics                                 on DIA )       (MP4)
   Location                                                        0 ... N                                              Location       ' loca '
                                                                                                                        Type           box
              LocID                                                              Indicate an ID of an instance of integer              unsigned
                                                                                 Location element. Location                            int( 16 )
                                                                                 element is referred to by
                                                                                  AlterLocID .
              StrLocation                                          0 ... N       Provides location information          StrLocation    ' stlo '
                                                                                 of a stream of a content               Type           box
                                                                                 interval.
                                                                                  Each stream is provided by
                                                                                  either a stream URL or a
                                                                                 number of fragment URLs.
                              FragNum                              0 ... 1       Provides the number of                 integer        unsigned
                                                                                 fragments                                             int( 16 )
                              Stream                               0 . .. 1      Describes a URL of a stream            anyURI         string
                              Url                                                                                       type
                              Fragment                             0 ... N       Describes a URL of a fragment.         anyURI         string
                              Url                                                 The number of instances of            type
                                                                                 FragmentUrl element is the
                                                                                 number of fragments .
                              FragTime                             0 ... 1       Provides durations of                  dia : Vector    ' frtm '
                                                                                  fragments .                           Data Type      box
                                                    Value          1 .. . N       Indicates a duration of a     integer                unsigned
                                                                                 fragment.                                             int (32 )
                                                                                 The number of instances of
                                                                                 Value element is the number of
                                                                                 fragments .
                              RandAccess                           0 . .. 1      Describes fragments that       dia : Vector           'rdac '
                                                                                 support random access .                Data Type      box
                                                    Value          1 . .. N      Indicates the order of a random - integer             unsigned
                                                                                 access fragment.                                      int( 16 )
                              MP2TS                                0 ... 1       Describes additional parameters MP2TS                 ‘mp2p '
                              Para                                               (beside URL ) for locating a      ParaType            box
                                                                                 content/program in a MPEG - 2
                                                                                 TS.
                                                    PID            0 ... N       Describes values of PIDs of            integer        unsigned
                                                                                 content/program in a MPEG - 2                         int( 16 )
                                                                                  TS .
                              FragBoundaries                       0 ... 1        Describes boundaries of               FragBoundaries 'frbd'
                                                                                 ( virtual) fragments in a stream . Type               box
                                                                                 The number of instances of
                                                                                 FragBoundaries element is
                                                                                 equal to the number of
                                                                                 fragments of the stream .
                                                                                 Only one type of following
                                                                                 elements is present in a
                                                                                 FragBoundaries instance .
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                                                                US 10 ,277 ,660 B1
                                                                                                                          20
                                                          TABLE 6 -continued
                                                                                                             XML
                                                                                                             syntax
                                                                                                             (based            Pseudocode
                                                            Occurrence Semantics                             on DIA )          (MP4 )
                                              MP2TS         0 ...N          Describes parameters for      MP2TS                mp2b
                                              Boundary                      detecting (virtual) fragment  Boundary             box
                                                                            boundary in a MPEG - 2 TS .    Type
                                                                            If there are two instances of
                                                                            MP2TSBoundary element, the
                                                                            two instances are starting and
                                                                            ending boundaries of a
                                                                            fragment.
                                                                           If there is only one instance of
                                                                           MP2TSBoundary element, the
                                                                           instance is the starting
                                                                           boundary. The ending
                                                                           boundary is right before the
                                                                           starting boundary of the next
                                                                           fragment.
                                              ISOFile       1 ... 2        Describes parameters for         ISOFile             isfb '
                                              Boundary                      detecting (virtual) fragment    Boundary           box
                                                                           boundary in a file based on ISO Type
                                                                            base media file format.
                                                                            If there are two instances of
                                                                            ISOFileBoundary element, the
                                                                            two instances are starting and
                                                                            ending boundaries of a
                                                                            fragment. If there is only one
                                                                            instance of ISOFileBoundary
                                                                            element, the instance is the
                                                                            starting boundary. The ending
                                                                            boundary is right before the
                                                                            starting boundary of the next
                                                                            fragment.
                                              Byte Ranges 1                 Describes byte ranges that       Byte Ranges       brag
                                                                            identify a part/fragment of a    Type              box
                                                                            file .
                                                                            Parameters provided by
                                                                            ByteRanges element may be
                                                                            used for byte range options in
                                                                            an HTTP request.


     Semantics of MP2TSBoundary , ISOFileBoundary , and
   ByteRanges may be further provided as shown in Table 7 .
                                                         TABLE 7
                                                                                         XML
                                                                                         syntax              Pseudo
                                                                                         (based on           code
                                   Occurrence Semantics                                  DIA )               (MP4)
                                                                                                             ‘mp2b '
   MP2TSBoundary                                                                  MP2TSBoundary Type box
                   PCR _PID        1            Describes PID carrying PCR of the integer            unsigned
                                                concerned content/program .                                  int( 16 )
                   PCR base                    Describes a value of a PCR base           long                unsigned
                                               field                                                         int (40)
                   PCR _ ext  1                Describes a value of a PCR                integer             unsigned
                                               extension field .                                             int ( 16 )
                   Appearance 1                Describes the appearance order            integer             unsigned
                                               (e .g., 1st, 2nd , of the TS packet                           int( 16 )
                                               containing the PCR value identified
                                               by the above two elements .
                                               If there is resetting /discontinuity of
                                               PCR , a PCR value may appear
                                               more than once during an interval.
                   Media _ PID 1 . . . N       Describes PID of a media ( e. g .,        integer             unsigned
                                                video ) of a program .                                       int ( 16 )
                                                The number of instances of
                                                Media _ PID element is equal to the
                                                number ofmedia of the
                                                program /content.
                   Media _ Offset 1 . . . N     Describes the offset (in TS packets integer                  unsigned
                                                of the same media PID ) from the                             int ( 16 )
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                                                                  US 10 ,277 ,660 B1
                                      21
                                                  TABLE 7 -continued
                                                                                            XML
                                                                                            syntax                   Pseudo
                                                                                            (based on                code
                                     Occurrence Semantics                             DIA )                          (MP4 )
                                                above identified PCR packet to the
                                                first media packet of a fragment.
                                                The nth instance of Media _ Offset is
                                                associated with the nth instance of
                                                Media PID .

                                                                                                                     ‘isfb '
   ISOFileBoundary                                                                          ISOFileBoundary Type box
                       SequenceNo 1              Describes the sequence number              integer                 unsigned
                                                 provided in the mfhd box .                                          int ( 16 )
                                                 The mfhd box defines a fragment
                                                 of an MP4 file .
                                                 SequenceNo with a value of 0
                                                 indicates the beginning of the file .
                                                                                                                      brag '
   ByteRanges                                                                               ByteRanges Type         box

                       Start         1 . .. N    Describes the starting value of a          integer                  unsigned
                                                byte range.                                                          int( 32 )
                                                 A value of - 1 'means that this
                                                 value in the HTTP request
                                                 is missing .
                       End           1 ... N     Describes the ending value of a            integer                 unsigned
                                                 byte range.                                                        int ( 32 )
                                                 A value of ' - 1 ' means that this
                                                 value in the HTTP request is
                                                missing .
                                                 Start- End instances are
                                                 present in pair.
                                                 The nth instance of End is
                                                 associated with the nth instance
                                                 of Start.
                       Media _ PID   0 .. . N    Describes PID of a media (e .g .,          integer                  unsigned
                                                 video ) that needs to be extracted                                  int( 16 )
                                                 from the byte range of the above
                                                 pair of Start -End.
                                                Media _ PID element is used when
                                                the byte range is a segment of
                                                MPEG -2 TS , and all PIDs do not
                                                need to be delivered


      Hereinafter, a client request will be described .                                       In addition to the above parameters, the following QoS
       Signaling of metadata obtained by a client may include                              related parameters a ) through c) are defined in the query part
   different parts or levels of signaling information . Accord - 46 ( of the request in operation 140 ) to enable the client to
    ingly , a request from the client to a server may include                              request an appropriate alternative:
   parameters of different levels of details .                                                a ) “ alter " : Order value of an alternative . Based on the
      Main parameters of the client may be URIs , and may be                               order value of the alternative , the alternative may appear in
   associated with a query part.                                                           the QoS information .
      Three main scenarios are examined as follows:                                    0
                                                                                             b ) “ oper1” , “ oper2” , . . . , and “ operN ” : “ operi ” carries a
      1) Server -Based Scenario                                                            value of an ith adaptation operation that appears in the QoS
      In the server-based scenario , themetadata provided from                             information .
   the server to the client may include general content infor -                               c ) " res1 " , " res2 ” , . . . , " resN ” : “ resi” carries a value of an
   mation 310 and general interval information 320 .                                       ith resource that appears in the QoS information .
      For an URI of requested content, DefaultContentIntLoc                                    Only one of the above three options may be used in a
   (if not, DefaultContentIntLoc ) may be used . To enable the 55 single request.
   client to request a specific fragment of content, the following    With typical adaptation operators and resource types ,
   parameters a ) and b ) are defined in the query part (of the    specific parameter names for better intelligibility and
   request in operation 140 ):                                     interoperability may be defined .
       a ) “ fragno” : Order value of the fragment in the interval                           Adaptation operators are as the following a ) through e ).
      b ) " fragti ” : Start time of the fragment in the interval                     60     a ) audiolayers: indicates the number of scalable audio
      For example , a requestURImay be "HTTP :// server.com /      layers to be discarded .
    file .mp4 ? fragno = 5 ."                                         b ) temporallayers : indicates the number of temporal lay
       2 ) Distributed Scenario                                    ers of scalable video to be discarded .
      In the distributed scenario , the metadata provided from        c ) spatiallayers: indicates the number of spatial layers of
   the server to the client may include general content infor - 65 scalable video to be discarded .
   mation 310 , general interval information 320 , and QoS            d ) qualitylayers: indicates the number of quality layers of
    information 330 .                                              scalable video to be discarded .
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      e ) prioritylayers : indicates the number of priority layers of                                           TABLE 8 -continued
   scalable video to be discarded .                                                       < sequence > < complexContent>
     Resource types are as the following a ) through d ).                           < /complexType >
      a ) bitrate : indicates the average bitrate (in Kbps ) of the
   requested alternative.                                                              The following Table 9 shows syntax representation of
     b ) vertresolution : indicates the vertical resolution of the                  GeneralInfoType in the XML format.
   requested alternative.
      c) horiresolution : indicates the horizontal resolution of the                                                    TABLE 9
   requested alternative .
       d ) framerate : indicates the framerate of the requested 10 < complexType name= “GeneralInfo Type" >
   alternative.                                                       < complexContent>
      Using the pre -defined parameters, an example of a request         < extension base =" dia :DIADescription Type" >
                                                                                            < sequence >
   URI based on the bitrate may be " http :// server.com /                                    < element name = “ TimeScale “ type= " integer" minOccurs = " 0 " />
    file .mp4 ? fragno = 5 & bitrate = 550 ."                                                 < element name= " LiveStartTime" type = " dateTime"
        3 ) Client-Based Scenario                                              15             minOccurs = " 0 " />
        In the client-based scenario , the metadata provided from                              < element name = “ Duration “ type = " integer " minOccurs = " 0 " />
    the server to the client may include general content, general                              < element name= “ DefaultIntDuration “ type = " integer"
                                                                                              minOccurs = " 0 " />
    interval information , QoS information , and mapping infor                                 < element name= " MinUpdate Time" type = " integer"
   mation .                                                                                   minOccurs = " 0 " />
       The QoS-related parameters used in the request may be 20                                < element name = " ConsistentQoSInfo“ type = " boolean "
                                                                                   minOccurs = " 0 " />
   indicated by a ReqQoSPara part of QoSInfo metadata . For                        < element name= " DefaultContentLoc " type= " anyURI"
   example, when RefIndex of ReqQoSPara is 0 or null, the                          minOccurs = " 0 " />
   “ alter” parameter may be used instead of other options .                    < /sequence >
                                                                            < /extension >
       When ReqQoSPara is not present in the QoSInfo meta 25. < complexContent
   data, the QoS - related parameters may not be used . Alterna - 25 < / complexType > >
   tives in this case may be implied by locations of Mapping
    Info .
       AURIof contentmay be derived from rich description of                           The following Table 10 shows syntax representation of
   MappingInfo . When content/program is conveyed in an        intervalRefType in the XML format.
   MPEG - 2 TS , one or more PIDs may be used to locate the 30
   content in the stream .                                                             TABLE 10
      When additional information for detecting fragment                            < complexType name= " Intervals RefType " >
   boundaries are provided , the following parameters 1 )                              < complexContent >
   through 3 ) for the query part of the request in operation                             < extension base = "dia :Reference Type" >
                                                                               35        < sequence >
    140) may be used .                                                                      < element name="AvailableTime" type =" integer" minOccurs= " 0" />
      1) For an MPEG - 2 TS boundary . Appearance , PCR _ PID ,                          < /sequence >
   PCR base , PCR ext, Media PID , and Media Offset                                      < attribute name= " startTime" type= " xs :duration " use =" optional" />
     2 ) For an ISO media file boundary , SequenceNo                                     < /extension >
     3 ) For a file considered as a raw byte -sequence, Start and                      < /complexContent
                                                                                                ype >
                                                                                                        >
   End Semantics of the above parameters may be provided in 40 0
   semantics of a FragBoundaries element.
      Start-End pairs may be used by a range header of an               The following Table 11 shows syntax representation of
   HTTP request message. For example , if { (Start = 0 , End = 99 ); IntervalType in the XML format.
   (Start= 200 , End = 299 )} , the header may be “ Range :
   bytes = 0 - 99,200 - 299."                                                                TABLE 11
      Hereinafter , syntax representation in an XML formatwill < complexType name= " IntervalType " >
   be described . Representations of the above syntax elements         < complexContent>
   may be provided in the XML format. Semantics of each                                  < extension base = " dia :DIADescription Type" >
   element may be traced back in the above Tables 1 through                                 < sequence >
                                                                               50              < element name=" IntervalInfo" type = " Interval Info Type"
      Several elements may be extensions of several types                                     minOccurs = " 0 " />
                                                                                               < choice minOccurs = " 0 " >
   defined in an MPEG - 21 DIA . Several few elements may                                         < element name= " QoSInfo " type= " QoSInfoType" />
   take several types defined in the MPEG -21 DIA .                                               < element name = " QoSInfo Ref" type =" dia: ReferenceType " />
      The following Table 8 shows syntax representation of                                    < / choice >
   HTTPStreamingType in the XML format .                   55                                 < choice minOccurs = " 0 " >
                                                                                                  < element name= "MappingInfo" type="MappingInfoType"/>
                                                                                                  < element name= " MappingInfo Ref"
                                    TABLE 8                                                       type = " dia :ReferenceType" >
                                                                                               < / choice >
    < complexType name= " HTTPStreamingType" >                                                < element name = " PreviousIntervalsRef"
      < complexContent>                                                                       type= " IntervalsRefType"
        < extension base =" dia :DIADescription Type" >                             minOccurs = " 0 " />
           < sequence >                                                                        < element name= "NextIntervalsRef" type = " IntervalsRefType"
              <element name= "GeneralInfo " type ="GeneralInfoType"                 minOccurs = " 0 " />
             minOccurs = " 0 " />                                                          < /sequence >
             < choice minOccurs =" 0 " maxOccurs = " unbounded " >                        extension >
                < element name= " IntervalsRef" type= " IntervalsRefType" />           < complexContent >
                < element name= " Interval" type = " IntervalType " />         65 < / complexType>
             < choice >
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       The following Table 12 shows syntax representation of                               PCR value in an interval, an appearance order of PCR
    IntervallnfoType in the XML format.                                                    packets used as anchors may be indicated .
                                                                                              A sourceURL attribute may be changed from required to
                                       TABLE 12                                            optional. This is because baseURL already provides a com
   < complexType name= " IntervalInfoType " >                                         5 plete URL . The sourceURL may be unnecessary .
      < sequence >                                                                            The use ofmultiple byte rangesmay provide flexibility in
         < element name= " TimeScale“ type = " integer" minOccurs = " 0 " />               downloading “ virtual segments.” For example, a segment of
         < element name = " StartTime" type =" dateTime" minOccurs = " 0 " />              a low frame rate ( that is able to be used in a trickmode ) may
         < element name = " Duration " type = " integer " tninOccurs = " 0 " />
         < element name= " DefaultFragDuration“ type = " integer"                     10
                                                                                           be extracted on - the - fly from a stream or an original segment.
        minOccurs = " 0 " />                                                                  In addition , to support using multiple URLs for a Repre
         < element name= "DefaultContentIntLoc" type= " anyURI"                            sentation , the following modificationsmay be applied to the
        minOccurs = " 0 " />                                                               schema of 3GPP Adaptive HTTP Streaming.
         < element name= " Last “ typpe = " boolean " minOccurs = " 0 " / >
        </ sequence >                                                                      Hereinafter , multiple locations for the same resource /
    < /compleType >                                                                   is content will be described .
                                                                                            Each level of description (a top - level, a Period level, and
      The following Table 13 shows syntax representations of                             a Representation level )may provide only a single BaseURL
   ISOFileBoundary Type and ByteRanges Type in the XML                                   for building absolute URLs from the description .
   format.                                                                                 Multiple BaseURLs may be provided at each description
                                                                                      20 level . Multiple BaseURLs may signal availability of
                               TABLE 13                                                    resources at multiple locations.
                                                                                             Depending on an actual location of a client, the client may
   < complexType name=" ISOFileBoundaryType” >                                             select one or more BaseURLs in a process of retrieving
      < sequence >
        < element name= " SequenceNo" type = " integer"                                    resources .
        maxOccurs = " unbounded " >
      < /sequences
                                                                                      25     Such a modification may be implemented by different
    < / complexType >                                                                      ways . One way may be to use an additional attribute called
   < complexType name= " Byte Ranges Type” >                                               “ morebaseURLs," or an element called “ BaseURLs.”
      < sequence maxOccurs = "unbounded " >                                                   The attribute or element may be a string formed of
         < element name= " Start ” type = " integer" >                                   multiple (base ) URLs. The string may be separated by
         < element name= " End" type = " integer" />                                  30 several special characters, for example “ ;" (namely, a semi
          < element name= " Media _ PID " type= " integer" minOccurs = " 0 " />            colon and a space ).
      < / sequence >
    < /complexType >                                                                          For example , when a semicolon or space appears within
                                                                                           a URL , the semicolon or space may be encoded by the rules
                                                                                           of RFC 2616 .
      Hereinafter , syntax representation in an MP4 pseudo--code
                                                 P4 pseudo  code 3535                         The morebaseURLs
                                                                                             The  morehase        attribute ( or BaseURLs element) of a
    format will be described . Representation of the above syntax                          lower description level may override the same attribute ( or
   elements may be provided in the MP4 pseudo - code format.                               element) of the higher description level.
     The following Table 14 shows syntax representation of                                   For clarity, the morebaseURLs attribute and BaseURLs
   HTTPStreamingBox in the MP4 pseudo -code format.                                        element may be restricted to be mutually exclusive . In other
                                                                                      40 words, only a single type may exist in a whole description .
                                       TABLE 14 .                                          Another way may be to use a MoreBaseURL element of
                                   HTTPStreamingBox                                        any URI type with multiple instances, where each instance
                                                                                           provides a BaseURL .
            Box Type: 'htps'                                                                The different ways may be merely examples of ideas for
            Container: Signaling file                                                 45 providing multiple BaseURLs. The ideas may be imple
           Mandatory : Yes
            Quantity : One                                                                 mented in many other ways or even other languages.
               Aligned (8 ) class HTTPStrearningBox extends Box ('htps') {                   Hereinafter, multiple locations for resource / content com
                                                                                           ponents will be described .
                                                                       Resource /content may be divided into one or more com
       FIG . 4 is a diagram illustrating detecting of virtualbound streams/may
                                                                  50 ponents streams. Each of the one or more components/
                                                                                  be delivered from a location . The delivering
   aries in an MPEG -2 TS according to an embodiment of the may be supported by allowing multiple instances of an
   present invention .
      In a TS, PCR packets of a given program may be carried UrlTemplate
                                                                    Type .
                                                                                 element or a Url element set in SegmentInfo
                                                                                   A         modification         “ < xs :choice
   with fixed PIDs (namely , PCR _ PID ), and may be inserted at 55 maxOccurs = “ unbounded ” > " in SegmentInfo Type may be
   least every 100 ms.                                              used for the above purpose.
      The PCT packets (with increasing values ) may be con -           The appearance order of an UrlTemplate instance or a Url
   sidered as anchor points of the program . On the other hand,                            set instance may indicate importance of “ location / stream .” A
   each media of a program may be carried by packets of a                                  more important location may appear before a less important
   given PID (namely, Media _ PID ).                                                  60 location . For example , a video Representation may include
     Accordingly , a fragment boundary of a media stream may                               two streams ( for example , a spatial base layer, and a spatial
   be defined or identified by 1 ) a specific anchor point and 2 )                         enhancement layer ). Each of the two streamsmay be deliv
   an offset from the anchor to the packet at the boundary.                                ered from a location described by UrlTemplate . Subse
      The offset may be counted by the packets of the same                                 quently, the first instance of UrlTemplate may be a location
   Media _ PID .                                                                      65 for the spatial base layer.
       PCR values may be occasionally reset (discontinuity ). For                          Moreover , multiple instances of InitialisationSegmen
    example , when one or more PCR packets have the same                                   tURL may be allowed . An nth instance of InitialisationSeg
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   mentURL may correspond to an nth instance of a location
                                                                                                                                        28
                                                                                                                         TABLE 16 -continued
   (by either the UrlTemplate element or the Url element set ).                            type = " SegmentInfoDefaultType " />
     For example , when only a single instance of Initialisa                                     < xs :element maxOccurs = "unbounded " name= " Representation "
   tionSegmentURL exists, the instance may be used for all                                 type = " Representation Type" />
   locations.                                                                                    < xs :elementminOccurs =" 0" name= "PreviousPeriodsRef"
      The following Tables 15 through 19 show the schema of                                type =<"xsxs::element
                                                                                                         PeriodsRef "/>
                                                                                                                minOccurs = " 0 " name = " NextPeriods Ref "
   3GPP AdaptiveHTPStreaming .                                                                   type = " xs:PeriodsRef'/>
                                                                                                  < xs:any namespace = "#Hother" processContents =" lax "
                                  TABLE 15                                                      minOccurs = " 0 "
                                                                                      10 maxOccurs = " unbounded " / >
   < ?xmlversion =" 1.0" encoding = "UTF -8" ? >                                            < s :sequence >
   < xs:schema                                                                                < xs:attribute name = " start" type = " xs : duration " / >
   targetNamespace = " um :3GPP :ns:PSS : AdaptiveHTTPStreamingMPD :                          <xs:attribute default = " false" name = " segmentAlignmentFlag"
   2009"                                                                                     type = "xs:boolean " />
      attributeformDefault= " unqualified "                                                  < xs:attribute default= " false " name= "bitStreamSwitchingFlag"
      elementFormDefault= " qualified "                                               15     type = "xs:boolean " />
      xmlns:xs = " http ://www . w3.org /2001/XMLSchema"                                      < xs:attribute default = " false " name= " lastPeriodFlag"
      xmlns = "um : 3GPP :ns:PSS :AdaptiveHTTPStreamingMPD : 2009" >                          type = " xs:boolean " />
      <xs: annotation >                                                                        < xs :any Attribute namespace = " #Hother" processContents = " lax " />
          < xs:appinfo >Media Presentation Description < /xs:appinfo >                     </ xs:complex Type >
         < xs :documentation xml:lang = " en " >                                           < !-- Program information for a presentation -- >
             This Schema defines 3GPP Media Presentation Description !                     < xs:complexType name= " Program Information Type " >
         < / xs :documentation >                                                      20         < xs :sequence >
      < /xs:annotation > < !-- MPD : main element -- >                                           < xs :element minOccurs = " 0 " name= " Title " type = " xs :string" />
      < xs:element name= "MPD " type ="MPDtype"/>                                                < xs :elementminOccurs= " 0" name =" Source" type =" xs:string " >
   < !- -MPD Type-- >                                                                            < xs:element minOccurs = " 0 " name= " Copyright" type= " xs:string " >
   < xs:complexType name ="MPDtype" >                                                            < xs :any namespace = " # # other" processContents = " lax "
      < xs: sequence >
        < xs :element minOccurs =" 0 " name= " ProgramInformation "                   25        minOccurs = " 0 "
   type= " ProgramInformation Type " />                                                    maxOccurs = " unbounded " / >
        < xs :choice maxOccurs = " unbounded " >                                              < / xs: sequence >
             <xs:element name= " Period" type = " PeriodType" />                              < xs:attribute name = "more InformationtURL " type = " xs :anyURI" />
            < xs:element name= " PeriodsRef" type ="PeriodsRefType" />                        <xs:anyAttribute namespace =" # # other" processContents =" lax" />
         < /xs:choice >                                                                    < /xs :complexType >
         < xs:element minOccurs = " 0 " name= " BaseUrls " type = " xs :string " />   30
         <xs:elementminOccurs = " 0 " maxOccurs = " unbounded "
        name = "MoreBaseUrl"
   type = " xs :anyURI" / >                                                                                                 TABLE 17
         < xs :any namespace = " # Hother" process Contents = " lax "
        minOccurs = " 0 "                                                                < !-- Default Segment access information -- >
   maxOccurs = " unbounded " / >                                                      35 < xs :complexType name= " SegmentInfoDefaultType" >
      < /xs :sequence >                                                                      < xs :sequence >
      < xs:attribute default = " OnDemand " name= " type "                                      < xs :element minOccurs = " 0 " name= " BaseUrls " type = " xs:string" />
      type = " Presentation Type" />                                                             < xs :element minOccurs = " 0 " maxOccurs = "unbounded "
      < xs :attribute name= " availabilityStartTime" type = " xs:dateTime" />                   name = " MoreBaseUrl"
      < xs :attribute name= " availabilityEndTime" type = " xs :dateTime" />               type = " xs:anyURI" />
      < xs:attribute name= " mediaPresentationDuration " type = " xs:duration " >                < xs :any namespace = " # # other" processContents = " lax "
      < xs:attribute name= "minimumUpdatePeriodMPD "                                  40
                                                                                               minOccurs = " 0 "
      type = " xs :duration " />                                                           maxOccurs = " unbounded " />
      < xs :attribute name = " minBufferTime" type = "xs:duration"                            < / xs : sequence >
      use = "required " />                                                                   <xs:attribute name =" baseURL" type = " xs:anyURI" />
      < xs :attribute name= " timeShiftBufferDepth " type = " xs :duration " >               < xs:attribute name= "morebaseUrls " type = " xs:string" />
      < xs:attribute name= "baseUrl" type = " xs:anyURI" />                                  < xs:attribute name= " duration " type = " xs :duration" />
      < xs:attribute name= "morebaseUrls " type = " xs:string" />                     45 < xs:attribute name= " sourceUrlTemplate Period " type = " xs:string " >
        < xs :anyAttribute namespace = " #Hother " process Contents = " lax " />             < xs:any Attribute namespace = " # # other" process Contents = " lax" />
    < / xs :complexType >                                                                < /xs:complex : Type >
    < xs :complexType name =" PeriodsRefType " >                                         < !-- A Representation of the presentation content for a
      < xs : sequence >                                                                 specific Period -- >
             < xs :element name=" Location " type =" xs:anyURI" />                       < xs:complexType name= " Representation Type " >
      < /xs :sequence >                                                               50      <xs:sequence >
      < xs:attribute name= " startTime" type = " xs:duration " />                                <xs:element name= " SegmentInfo " type = " SegmentInfoType" />
      < xs:attribute name = "duration" type = " xs :duration " />                                <xs: elementminOccurs = " 0 " name= " ContentProtection "
      < xs :attribute name= " available Time" type = " xs:duration" />                     type= " ContentProtection Type" />
   < /xs : complexType >                                                                         < xs : elementminOccurs = " 0 " name= " TrickMode"
                                                                                           type= " TrickModeType " />
                                                                                      55         < xs: elementminOccurs = " 0 " maxOccurs = " unbounded "
                                                                                                name= " Quality "
                                       TABLE 16                                            type = " QualityType " />
                                                                                                 < xs :any namespace = " #Hother " process Contents = " lax "
   < !-- Type of presentation - live or on -demand -- >                                         minOccurs = " 0 "
   < xs :simple Type name= " Presentation Type " >                                         maxOccurs = " unbounded " />
      < xs: restriction base = " xs :string" >                                        60      < xs: sequence >
           < xs:enumeration value = " OnDernand" />                                           <xs:attribute name= "bandwidth " type =" xs:unsignedInt"
           < xs :enumeration value = " Live" />                                              use = " required" />
       < /xs:restriction >                                                                        < xs:attribute default = " 0 " name = " group " type= " xs:unsignedInt" >
   < /xs :simpleType >                                                                        <xs:attribute name= " width " type = " xs : unsignedInt" />
   < !-- Period of a presentation - - >                                                      < xs:attribute name = " height" type= " xs :unsignedInt" />
    < xs:complexType name= " PeriodType" >                                                   < xs :attribute name = " lang" type = " xs :string" />
       < xs:sequence >                                                                65      < xs :attribute name = "mimeType" type = " xs :string " use = " required " />
          < xs:elementminOccurs = " 0 " name = " SegmentInfoDefault "                         < xs :attribute default = " false " name= " startWithRAP "
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                                  TABLE 17-continued                                                                 TABLE 19-continued
      type = " xs :boolean " />                                                             < / xs : sequence >
      < xs:attribute name= " qualityRanking " type =" xs:unsignedInt" >                    < xs:attribute name = " sourceURL" type = " xs :anyURI" />
        < xs:attribute name= " requestPara " type = " xs : string" />                      < xs:attribute name= " id " type= " xs :string" >
         < xs:anyAttribute namespace = " #Mother" process Contents = " lax " />            < xs : attribute default = " 1 " name= " startIndex "
    < / xs :complexType >                                                                 type = " xs: unsignedInt" >
   < xs :complexType natne =" QualityType" >                                               < xs :attribute name = " endIndex " type = " xs :unsignedInt" />
      < xs:sequence >                                                                      < xs :any Attribute namespace = " # Hother" processContents = " lax " />
         < xs :any namespace = " # # other" process Contents = " lax "                 < xs:complexType >
        minOccurs = " 0 "                                                              < !-- Gives information about the content protection -- >
   maxOccurs = "unbounded " />                                                      10 < xs :complexType name= " ContentProtection Type" >
     < /xs :sequence >                                                                     < xs:sequence >
                                                                                               < xs : element minOccurs = " 0 " name= " SchemeInformation "
       < xs:attribute name = " name" type = " xs : Quality NameType" />                       type =" xs:string" >
       < xs:attribute name =" value" type = " xs :float" />                                    < xs:any namespace = " # # other" process Contents = " lax"
   < / xs: complexType >                                                                   minOccurs = " 0 "
                                                                                    15 maxOccurs = "unbounded" />
                                                                                           < xs :sequence >
                                                                                           < xs:attribute name = " schemeIdUri" type = " xs :anyURI" / >
                                         TABLE 18                                           < xs :any Attribute namespace = " #Hother" processContents = " lax " />
                                                                                         < xs :complexType >
    < xs:simple Type name= " Quality Name Type" >                                        < !-- Gives information about trick mode -- >
       < xs:restriction base = " xs :string" >                                           < xs :complexType name =" TrickModeType" >
         < xs :enumeration value = " PSNR " >                                       20      < xs:sequence >
         < xs :enumeration value = "MOS " / >                                                  < xs:any namespace = " #Hother" processContents = " lax "
         < xs :enumeration value = "ODG " >                                                  minOccurs = " 0 "
          < xs:enumeration value = " DI" / >                                             maxOccurs = " unbounded " >
      < /xs :restriction >                                                                 < xs:sequence >
    < / xs: simpleType >                                                                   < xs:attribute name= " altematePlayoutRate " type = " xs:string " />
   < !-- Segment access information -- >                                            25      <xs:any Attribute namespace = " #Hother" process Contents = " lax " />
   < xs:complexType name= " SegmentInfoType" >                                           < xs:complexType >
       < xs :sequence >                                                                  < /xs:schema>
         < xs :element minOccurs = " 0 " name= 'BaseUrls" type = " xs:string " />
         <xs:elementminOccurs = " 0 " maxOccurs = " unbounded "
        name= "MoreBaseUrl"
   type = " xs:anyURI" />
                                                                                         FIG . 5 is a diagram illustrating a configuration of the
         < xs :element minOccurs = " 0 " maxOccurs = " unbounded "                  30 terminal 100 according to an embodiment of the present
   name = " InitialisationSegmentURL " type = " UrlType" >                               invention .
         < xs : choice maxOccurs = " unbounded " >
            < xs :element minOccurs =" 0 " name= " Url Template "
                                                                                          A controller 510 may perform operations 130 and 140 .
            type =" UrlTemplate Type" />                                               Specifically , the controller 510 may process the metadata of
            < xs:sequence
               < xs:element maxOccurs = " unbounded " name= " Url "                 35 theA interval.
                                                                                             transceiver 520 that selects a fragment suitable for the
               type = "UrlType " />                                                      interval based on the processing may perform operations
               < xs :any namespace = " # # other" processContents = " lax "
               minOccurs = " 0 "                                                         120, 140 , and 150 . Specifically , the transceiver 520 may
   maxOccurs = " unbounded " />                                                          receive the metadata of the interval of the content from the
            < /xs :sequences                                                             server 110, may send a request for the fragment suitable for
            < xs :any namespace = " # # other" process Contents = " lax "                the interval to the server, and may receive the fragment from
           minOccurs = " 0 "
   maxOccurs = "unbounded " >                                                            the server.
           < /xs :choice >
      < / xs :sequence >
                                                                                            FIG . 6 is a diagram illustrating a configuration of the
      < xs:attribute name = " baseURL " type = " xs:anyURI" />                           terminal 100 according to an embodiment of the present
      < xs:attribute name= "morebaseUrls " type = " xs:string" />                   45 invention .
        < xs: attribute name= " duration" type = " xs :duration " />
        < xs :attribute name = " randAccess" type = "xs:string" />
                                                                                             The terminal 100 may include an access engine 610 , and
         < xs:any Attribute namespace = " #hother" process Contents = " lax " />         a media engine 620 .
    < / xs :complexType >                                                                    The access engine 610 may be a DASH access engine .
    < !-- A SegmentURL - - >                                                              The access engine 610 may receive metadata (for
   < xs :complexType name= " UrlType" >                                             50 example , an MPD ) from the server 110 .
      < xs:sequence >                                                                     The access engine 610 may form requests, and may issue
          < xs :any namespace = " # # other" process Contents = " lax "
         minOccurs = " 0 "                                                             the formed requests to the server 110 . The access engine 610
   maxOccurs = " unbounded " />                                                        may receive media (for example , segments or parts of the
      < /xs :sequence >                                                                segments ) from the server 110 . The access engine may
      < xs:attribute name= " sourceURL " type=" xs:anyURI" use = " optional" />     55 request a segment of the media using a URL of the segment .
      <xs: attribute name= " range" type= " xs.string" />
      < xs:anyAttribute namespace =" # # other" processContents =" lax" />                   The access engine 610 may receive segments of the media
   < /xs: complexType >                                                                  based on information provided by the metadata . Here, each
                                                                                         period may include one or more groups, and each of the
                                                                                         groups may include one or more representations of the
                                       TABLE 19                                     60 media . Each of the representationsmay include one or more
                                                                                      segments .
   < ! -- A URL template -- >                                                             The access engine 610 may provide the media to the
   < xs.complexType name="UrlTemplateType" >                                          media engine 620 . The access engine 610 may decode data
      < xs :sequence >                                                                of the media included in the segments .
         < xs :any namespace = " # # other" process Contents = " lax "
       minOccurs = " 0 "                                                            65 An output of the access engine 610 may include media (or
   maxOccurs = "unbounded " >                                                          a part of the media ) of an MPEG container ( for example , an
                                                                                       ISO /IEC 14492 - 12 ISO base media file format, or an ISO /
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                                    16040

                                                     US 10 ,277 ,660 B1
                                31                                                                   32
    IEC 13818 - 2 MPEG -2 TS ). Additionally, the output of the           3 . The method of claim 1, wherein the URL is an absolute
   access engine 610 may include timing information used to            URL or a relative URL .
   map internal timing of the media to a timeline of a media              4 . The method of claim 1, wherein the metadata of the
   presentation .                                               media content is a Media Presentation Description (MPD ),
      The media engine 620 may play back the provided media . 5 wherein the MPD is a formalized description of a media
   Specifically , the media engine 620 may receive data of the presentation related to the media content, wherein the media
   media from the access engine, and may output the media              presentation includes one or more periods, wherein the
    The media engine 620 may output the media using the data           period includes one or more groups, wherein the group
   of the media and the timing information that are output from    includes one or more representations , and wherein the
   the access engine 610 .                                      10 representation includes one or more segments of the media
      Technical information according to the embodiments of content.
   the present invention described above with reference to               5 . The method of claim 4 , wherein the multiple BaseURL
   FIGS. 1 through 5 may equally be applied to the present             elements are included at only the MPD level .
   embodiment. Accordingly , further description thereof will            6 . The method of claim 4 , wherein the multiple BaseURL
   be omitted .                                                   15   elements are included at only the period level.
      The method according to the above- described embodi-                7 . The method of claim 4 , wherein the multiple BaseURL
   ments of the present invention may be recorded in computer          elements are included at only the group level.
   readable media including program instructions to implement            8 . The method of claim 4 , wherein the multiple BaseURL
   various operations embodied by a computer. The media may         elements are included at only the representation level.
   also include , alone or in combination with the program 20 9 . The method of claim 4 , wherein the MPD includes
   instructions , data files , data structures , and the like. The multiple BaseURL elements at the MPD level and multiple
   program instructions recorded on the media may be those             BaseURL elements at the period level.
   specially designed and constructed for the purposes of the             10 . The method of claim 1 , further comprising :
   embodiments, or they may be of the kind well-known and                sending metadata of the media content to the client.
   available to those having skill in the computer software arts. 25      11 . A method of providing a media content performed by
   Examples of computer -readable media include magnetica                client, comprising:
   media such as hard disks , floppy disks, and magnetic tape :          transmitting, to a server, a request for a segment of the
   opticalmedia such as CD ROM disks and DVDs;magneto                       media content based on a metadata , wherein the meta
   optical media such as floptical disks: and hardware devices               data comprises multiple BaseURL elements and
   that are specially configured to store and perform program 30            wherein identical segments are accessible at locations
   instructions , such as read - only memory (ROM ), random                  indicated by URLs resolved with respect to the multiple
   access memory (RAM ), flash memory , and the like .                      BaseURL elements ; and
   Examples of program instructions include both machine                 receiving the requested segment of the media content
   code , such as produced by a compiler, and files containing               from the server,
   higher level code that may be executed by the computer 35             wherein the URL of the requested segment is generated
   using an interpreter. The described hardware devices may be              based on a selected BaseURL element among the
   configured to act as one or more software modules in order               multiple BaseURL elements .
   to perform the operations of the above -described embodi               12 . The method of claim 11, wherein the first BaseURL
   ments of the present invention , or vice versa .          element among the multiple BaseURL elements is used as a
      Although a few embodiments of the present invention 40 basic Universal Resource Indicator (URI), and BaseURL
   have been shown and described , the present invention is not        elements other than the first BaseURL element are used as
   limited to the described embodiments . Instead , it would be        alternative BaseURL elements.
   appreciated by those skilled in the art that changes may be        13 . The method of claim 11 , wherein the URL is an
   made to these embodiments without departing from the            absolute URL or a relative URL ,
   principles and spirit of the invention , the scope ofwhich is 45 14 . The method of claim 11 , wherein the metadata of the
   defined by the claims and their equivalents.                    media content is a Media Presentation Description (MPD ),
                                                                   wherein the MPD is a formalized description of a media
      The invention claimed is :                                   presentation related to themedia content , wherein the media
      1 . A method for providing a media content performed by    presentation includes one or more periods, wherein the
   a server or multiple servers , comprising :                50 period includes one or more groups, wherein the group
     receiving , from a client, a Uniform Resource Locator includes one or more representations, and wherein the
          (URL ) request for a segment of the media content representation includes one or more segments of the media
        based on metadata of the media content , wherein the           content.
        metadata comprises multiple BaseURL elements and                  15 . The method of claim 14 , wherein the multiple
        wherein identical segments are accessible at locations 55 BaseURL elements are included at only the MPD level.
        indicated by URLs resolved with respect to the multiple     16 . The method of claim 14 , wherein the multiple
        BaseURL elements ; and                                    BaseURL elements are included at only the period level.
      sending the requested segment of the media content to the     17 . The method of claim 14 , wherein the multiple
        client,                                              BaseURL elements are included at only the group level .
     wherein the URL of the requested segment is generated 60 18 . The method of claim 14 , wherein the multiple
        based on a selected BaseURL element among the BaseURL elements are included at only the representation
        multiple BaseURL elements.                                     level .
      2 . The method of claim 1 , wherein the first BaseURL             1 9 . The method of claim 14 , wherein the MPD includes
   element among the multiple BaseURL elements is used as a multiple BaseURL elements at the MPD level and multiple
   basic Universal Resource Indicator (URI), and BaseURL 65 BaseURL elements at the period level.
   elements other than the first BaseURL element are used as    20 . A method for providing a media content performed by
   alternative BaseURL elements .                            a server or multiple servers , comprising:
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                                                    US 10 ,277 ,660 B1
                                33                                       34
     receiving, from a client, a Uniform Resource Locator
       (URL ) request for a segment of the media content
       based on a metadata of the media content, wherein the
       metadata comprises a BaseURL element; and
     sending the requested segment to the client;
     wherein when the metadata does not comprise a sour
       ceURL attribute of the requested segment, the
       BaseURL element is used to replace the sourceURL
       attribute , so that the URL is generated .
     21 . A method for providing a media content performed by 10
   a server or multiple servers, comprising:
     receiving , from a client, a Uniform Resource Locator
        (URL ) request for a segment of the media content
        based on a metadata , wherein the metadata comprises
       multiple BaseURL elements ; and                          15
     sending the requested segment to the client;
       wherein when the metadata does not comprise a sour
         ceURL attribute of the requested segment, a
         BaseURL element among the multiple BaseURL
          elements is used to replace the sourceURL attribute , 20
          so that the URL is generated .
                        *   *   *    *   *
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                                    16042




                              EXHIBIT L
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                                    16043
                                                                                                     US010313414B2

   (12) United     States Patent
        Thang et al.
                                                                                 ( 10) Patent No.: US 10 ,313 ,414 B2
                                                                                 (45) Date of Patent:                         Jun . 4 , 2019
    (54 ) APPARATUS AND METHOD FOR
           PROVIDING STREAMING CONTENT USING
                                                                            (58) Field of Classification Search
                                                                                     CPC . HO4L 65 /601; H04L 65/ 4084; H04L 65 /602;
           REPRESENTATIONS                                                                           HO4N 21/23439; HO4N 21 /25825 ;
   (71) Applicant: Electronics and Telecommunications                                                   (Continued )
                      Research Institute, Daejeon (KR )                                              References Cited
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   ( 72 ) Inventors : Truong Cong Thang , Daejeon (KR);                                        U . S . PATENT DOCUMENTS
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                   patent is extended or adjusted under 35
                    U .S .C . 154 (b ) by 0 days.                                         FOREIGN PATENT DOCUMENTS
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          Oct. 24 , 2018 , which is a continuation of application                                       (Continued )
                             (Continued )                                   Primary Examiner - Melvin H Pollack
   ( 30 )          Foreign Application Priority Data                        (74) Attorney, Agent, or Firm — NSIP Law
      Mar. 16 , 2011 (KR ) ........................ 10 - 2011 - 0023271     (57)                   ABSTRACT
      Mar. 16 , 2012 (KR ) ........................ 10 - 2012 - 0026862      A method and apparatus for an adaptive Hypertext Transfer
    (51) Int. CI.                                                           Protocol (HTTP ) streaming service using metadata ofmedia
         G06F 15 / 16                (2006 . 01)                            content are provided . The media content may include a
         H04L 29 / 06                                                       sequence of one or more periods. Each of the periods may
                                     ( 2006 .01)                            include one or more representations. The metadata may
                              (Continued )                                  include information used to describe a relationship between
   (52) U . S . CI.                                                         the representations , and include information for terminals
        CPC ........ H04L 65/601 (2013 .01); H04L 65 /4084                  having different display bit depth .
                             ( 2013.01 ); H04L 65 /602 ( 2013.01);
                              (Continued )                                                 30 Claims, 5 Drawing Sheets
                                                     200                                 210

                                                   TERMINAL                            Server
                                                                                       SERVER

                                                                METADATA 220

                                          PROCESS METADATA 1230
                                                           REQUEST FOR SEGMENT 240
                                                                      245           PARSE MEDIA

                                                                 SEGMENT 2 .

                                          PERFORMDECODING           h 260
                                             AND RENDERING
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   ( 58 ) Field of Classification Search                                               KR           10 -0687730 B1             2 / 2007
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        9 ,699,486     B2 *    7 / 2017    Kwon ........ .... H04N 21/234327
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                                          FIG . 1
                                          MPD
                                         PERIOD
                                 ADAPTATION SET
                                REPRESENTATION
                                         SEGMENT


                                         SEGMENT

                                REPRESENTATION


                                 ADAPTATION SET


                                         PERIOD
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                                            FIG . 2

                     200                                         210

                  TERMINAL                                      SERVER
                                    METADATA 220
            PROCESS METADATA                1230
                           REQUEST FOR SEGMENT 240

                                              245 ~        PARSE MEDIA
                                      SEGMENT 250
            PERFORM DECODING 1260
              AND RENDERING
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                                           FIG . 3
                           N310
                     GENERAL INFO
           CONTENT INFO , LIVE OR VOD ,
                     LENGTH , ETC .
                             - 320                                      340
                QOS -RELATED INFO                            CLIENT REQUEST
             ALTERNATIVES : QUALITY                           · CLIENT- BASED
              AND CHARACTERISTICS                            · SERVER - BASED
                                                              · DISTRIBUTED
                             ~ 330
               DATA MAPPING INFO
            MAPPING ALTERNATIVE TO
           PHYSICAL DATA FRAGMENTS
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                                                                           430
                                                                                             QOSINFO
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       4
       .
       FIG




                                                 I2NTERVDAL                                            1ALTERN IVE 2ALTERNATIVE
                                   CONTE                                                                               A
                                                                                                                       .
                                                                                                                       7




                                                1INTSERTVAL                      FRAGMENTS
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                                                                    OMUETDPIA
                                               520
                                                ~
                                                               MEDIAENGI E
         5
         .
         FIG


                                                                                MFOPREAGT+TMIEDINAG
                                               510
                                                ~
                                                             )
                                                             DASH
                                                             (
                                                                    AC ES ENGIE
                                                     METAD
                                                         )
                                                         MPD
                                                         (
                                                                                  MEDIA)(SEGMENT
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                                    16050

                                                       US 10 ,313 ,414 B2
              APPARATUS AND METHOD FOR                                   using information of different representations for terminals
       PROVIDING STREAMING CONTENT USING                                 having different display bit depths.
                      REPRESENTATIONS
                                                                                              Technical Solutions
              CROSS -REFERENCE TO RELATED
                      APPLICATIONS                                          According to an aspect of the present invention , there is
                                                                         provided a method for providing media content, the method
                                                                         including: receiving metadata of media content, the meta
        This application is a Continuation of U . S. application Ser . data including one or more periods ; accessing segments of
   No. 16 / 168, 933 , filed on Oct . 24 , 2018 , which is a Continu
   ation of U . S . application Ser. No . 15 / 834,702, filed on Dec . 10 the media content based on information provided by the
   7 , 2017 , now U . S . Pat. No. 10 , 122 ,780 B2, issued on Nov . metadata
                                                                          content
                                                                                   ; and decoding and rendering data of the media
                                                                                  that is included in the segments , wherein each of the
   6 , 2018, which is a Continuation of U .S . application Ser.No.
    14 /004 ,644, filed on Sep . 11 , 2013 , now U .S . Pat. No.         periods includes one or more representations of the media
   9Stage
     , 860 , 293 B2, issued on Jan . 2, 2018 , which is a National content, and wherein each of the representations includes
              of International Application No. PCT/KR2012 / 15 information used to support disabled users who have diffi
   001922, filed Mar. 16 , 2012 and published as WO 2012/ culties          in perceiving the media content.
                                                                      A media component of each of the representations may be
   125006 on Sep . 20 , 2012 , which claims the benefit under 35
                                                                   enhanced to cope with a problem of a disabled user, and
   USC 119 (a ) and 365(b ) of Korean Patent Application No. enhancement
    10 -2012 -0026862, filed on Mar. 16 , 2012 , and Korean                       of the media component may include at least
   Patent Application No . 10 - 2011 - 0023271, filed on Mar. 16 . 20 one of adjustment of a contrast and adjustment of a colour.
   2011 , the respective entire disclosures of all of the above are      The information included in each of the representations
   incorporated herein by reference for all purposes .                may indicate an intended use of each of the representations,
                                                                      and the intended use may include at least one of a sign
                       TECHNICAL FIELD                                   language , a subtitle , a caption , and a description .
                                                                    25      The information included in each of the representations
      The present invention relates to a technology for provid -         may indicate an attribute providing a reference to an external
   ing streaming content, and more particularly , to an apparatus Moving Picture Experts Group (MPEG )- 21 Digital Item
   and method for providing media content using a represen          Adaptation (DIA ).
   tation of the media content.                                        According to another aspect of the present invention ,
                                                                 30 there is provided a method for providing media content,
                      BACKGROUND ART                                including: receiving metadata of media content, the meta
                                                                    data including one or more periods; accessing segments of
      Streaming is one of schemes for transmitting and playing the media content based on information provided by the
   back multimedia content such as sounds, moving images,                metadata ; and decoding and rendering data of the media
   and the like. A client may play back content while receiving 35 content that is included in the segments, wherein each of the
   the content through the streaming .                             periods includes one or more representations of the media
      An adaptive streaming service refers to providing a              content, and wherein the metadata includes an attribute
   streaming service using a communication scheme with a                 describing a relationship between the representations.
   request of a client and a response of a server in response to            first representation among the representations may
   the request .                                                    40 include an attribute indicating a list of a part of the repre
      The client may request a media sequence suitable for an            sentations, and may be used together with a representation
   environment of the client (for example, a transmission     among the part of the representations .
   channel of the client), using the adaptive streaming service .The first representation may be a representation used for
   The server may provide a media sequence matched to the     audio description .
   request of the client among media sequences with various 45 Each of the part of the representations may be a repre
   qualities that are included in the server.                 sentation used for a video component.
      The adaptive streaming service may be provided based on    A first representation among the representations may
   various protocols. A Hypertext Transfer Protocol (HTTP )   include an attribute indicating a list of a part of the repre
   adaptive streaming service refers to an adaptive streaming sentations .
   service provided based on an HTTP . A client of the HTTP 50 A representation among the part of the representations
   adaptive streaming service may receive content from a may be replaced by the first representation .
   server using the HTTP, and may transmit a request associ     According to still another aspect of the present invention,
   ated with a streaming service to the server .              there is provided a method for providing media content,
                                                                 including: receiving metadata of media content, the meta
                DISCLOSURE OF INVENTION                      55 data including one or more periods ; accessing segments of
                                                                the media content based on information provided by the
                         Technical Goals                        metadata ; and decoding and rendering data of the media
                                                                content that is included in the segments , wherein each of the
     An aspect of the present invention provides an apparatus periods includes one or more representations of the media
   and method that may play back media content using repre - 60 content, and wherein each of the representations includes a
   sentations including accessibility information .             bit depth attribute used to select different representations for
      Another aspect of the present invention provides an                terminals having different display bit depths .
   apparatus and method that may play back media content                    The bit depth attribute may indicate a number of bits used
   using information used to describe a relationship between             to represent a luma/chroma sample of visual content.
   representations of the media content .                           65      According to yet another aspect of the present invention ,
      Still another aspect of the present invention provides an          there is provided a terminal including : an access engine to
   apparatus and method that may play back media content                 receive metadata of media content, to receive segments of
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   the media content based on information provided by the               BEST MODE FOR CARRYING OUT THE
   metadata , and to decode data of the media content that is                           INVENTION
    included in the segments , the metadata including one or
   more periods; and a media engine to receive the data of the    Reference will now be made in detail to embodiments of
   media content from the access engine, and to output the 5 the present invention , examples of which are illustrated in
   media content, wherein each of the periods includes one or the accompanying drawings, wherein like reference numer
   more representations of the media content, and wherein each als refer to the like elements throughout. The embodiments
    of the representations includes information used to support are described below in order to explain the present invention
   disabled users who have difficulties in perceiving the media by referring to the figures .
   content.                                                                 The entire document “ Dynamic Adaptive Streaming over
      According to a further aspect of the present invention ,            HTTP (DASH ) — Part 1 : Media presentation description and
   there is provided a terminal including: an access engine to            segment format” of ISO /IEC DIS 23009 -1 published on
   receive metadata of media content, to receive segments of Aug. 30 , 2011 , will be cited as references in the present
   the media content based on information provided by the 15 application , and will used to describe the following embodi
   metadata , and to decode data of the media content that is             ments.
    included in the segments , the metadata including one or                Hereinafter, embodiments of the present invention willbe
   more periods ; and a media engine to receive the data of the further described with reference to the accompanying draw
   media content from the access engine, and to output the ings, however, there is no limitation to the embodiments of
   media content, wherein each of the periods includes one or 20 the present invention . Like reference numerals refer to the
   more representations of the media content, and wherein the like elements throughout.
   metadata includes an attribute describing a relationship          The terms“ specify,” “ indicate,” and “ mean ” used herein
   between the representations .                                  may have the samemeaning. Additionally, the terms “ Uni
      According to a further aspect of the present invention , form Resource Locator (URL )” and “Uniform Resource
   there is provided a terminal including: an access engine to 25 Identifier (URI)” used herein may have the samemeaning ,
   receive metadata of media content, to receive segments of              and may be interchangeable .
    the media content based on information provided by the                  When indexes for a specific element are from 1 to N , or
   metadata , and to decode data of the media content that is      from 0 to N , the number of specific elements may be one or
   included in the segments , the metadata including one or more . N may be an integer equal to or greater than 0 .
   more periods ; and a media engine to receive the data of the 30 Hereinafter , examples of terms used in embodiments will
   media content from the access engine, and to output the be described .
   media content, wherein each of the periods includes one or          DASH may specify formats that enable 1) delivery of
   more representations of themedia content, and wherein each            media content from an HTTP server to an HTTP client,
   of the representations includes a bit depth attribute used to         and enable 2 ) caching of content by standard HTTP
    select different representations for terminals having different 35   cashes. The formats may include, for example , an
    display bit depths.                                                  Extensible Markup Language (XML) format , or a
                        Effect of the Invention                          binary format.
                                                                       Media content may be a single media content period , or
       According to embodiments of the present invention , it is 40      a contiguous sequence of media content periods. Here
   possible to play back media content using representations              inafter, media content, media, and contentmay be used
   including accessibility information .                                 as interchangeable terms. Media content may be a set
       Additionally , according to embodiments of the present            ofmedia content components having a common time
    invention , it is possible to play back media content using           line , for example audios, videos, or timed texts . Addi
    information used to describe a relationship between repre - 45       tionally , media components may have relationships on
    sentations of the media content.                                     how the media components may be presented (for
      Furthermore, according to embodiments of the present               example, individually, jointly, ormutually exclusive ) as
   invention , it is possible to play back media content using                 programsor movies. Media content may be content on
   information of different representations for terminals having               demand, or live content.
   different display bit depths.                                 50         Content may be divided into one or more intervals . In
                                                                          other words , the contentmay include one or more intervals .
            BRIEF DESCRIPTION OF DRAWINGS                                 Hereinafter, an interval and a period may be used as inter
                                                                          changeable terms. The term period may be used as a term in
      FIG . 1 is a diagram illustrating a Dynamic Adaptive                3rd Generation Partnership Project ( 3GPP ) adaptive HTTP
   Streaming over HTTP (DASH ) high -level data model.                 55 streaming. In other words, a period may be an interval of a
      FIG . 2 is a signal flowchart illustrating a content process -      media presentation . A continuous sequence of all periods
   ing method according to an embodiment of the present                   may constitute the media presentation .
    invention .                                                             One or more intervals may be a basic unit . One or more
      FIG . 3 is a diagram illustrating categories of signaling           intervals may be described by signaling metadata . In other
   information according to an embodiment of the present 60 words, metadata may describe each of the one or more
   invention .                                              intervals . The metadata may be a Media Presentation
      FIG . 4 is a diagram illustrating a hierarchy of content  Description (MPD ) that will be described later.
   division and levels of signaling information according to an    A media content component may be a continuous com
   embodiment of the present invention .                             ponent ofmedia content with an assigned media com
      FIG . 5 is a diagram illustrating a configuration of a 65      ponent type . A media content component may be
   terminal according to an embodiment of the present inven           encoded individually into a media stream . A media
   tion .                                                                      component may be an encoded version of individual
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        media types, such as audios , videos, or timed texts with     Each intervalmay be divided into segments . Hereinafter,
        specific attributes, for example bandwidths, languages,     a segment and a fragment may be used as interchangeable
        or resolutions.                                             terms. The term segment may be used as a term of 3GPP
      A media stream may be an encoded version of a media           adaptive HTTP streaming.
        content component                                              A segment may mean an entity body of a response to an
      A media component type may be a single type of media          HTTP / 1. 1 GET request for an HTTP -URL , for example as
        content, such as audio , video , or text.                   defined in RFC 2616 , (or a GET request for a part indicated
      A media presentation may be a collection of data used to      by a byte range ).
        establish a bounded or unbounded presentation of               A terminalmay play back media content using received
        media content. The media presentation may be a col- 10 bytes (namely, a segment).
        lection of data that is accessible to a DASH client to         A sub - segment may mean a smallest unit within segments
        provide a streaming service to a user. An MPD may be             that may be indexed by a segment index at a segment
        described by an MPD . The media presentation may be              level.
        a collection of data that is accessible to a DASH client       A sub -representation may be a part of a representation
        to provide a streaming service to a user.                        described in an MPD that is present in the entire period .
      An MPD may be a formalized description for a media               A Random Access Point (RAP ) may be a specific location
        presentation to provide a streaming service . TheMPD             in a media segment. The RAP may be identified as a
        may be a document containing metadata required by a              location in which playback maybe started continuously
        DASH client, to provide a user with a streaming                from a location of the RAP using only information
        service , and to construct appropriate HTTP -URLs to 20       included in a media segment.
        access segments. The media presentation may be              The DASH may provide a media -streaming model for
        described by an MPD including possible updates of the delivery of media content. A client may exclusively control
        MPD .                                                    a session of the delivery. Clients may request data using the
      An MPD may be a document containing metadata HTTP protocol from standard web servers that do not have
   requested to a DASH client to construct appropriate HTTP - 25 DASH -specific capabilities. Accordingly , the DASH stan
   URLs in order to 1 ) access segments and to 2 ) provide a user   dard may focus on data formats used to provide a DASH
   with a streaming service . The HTTP -URLs may be absolute       media presentation .
   or relative. The MPD may be an XML-document.                        A collection of encoded and deliverable versions ofmedia
      The MPD may define a format to announce resource content, and an appropriate description of the versions may
   identifiers for segments . The MPD may provide a context for 30 form a media presentation . Media content may include one
   identified resources within the media presentation . The         or more contiguous media content periods in time. Each
   resource identifiers may be HTTP -URLs. URLs may be media content period may include one or more media
   restricted by a byte range attribute .                           content components , for example audio components in
      A period may be an interval of a media presentation . A       various languages and a video component. A media content
        continuous sequence of all periods may constitute the 35 component type may be assigned to each media content
        media presentation . In other words , the media presen -    component, and may include , for example , audio or video .
        tation may include one or more periods. Alternatively ,        Each media content component may have one or more
        the media presentation may include a sequence of one        encoded versions. An encoded version of a media content
        or more periods.                                            component may be referred to as a “ media stream ." Each
      A representation may be a collection and encapsulation of 40 media stream may inherit attributes of media content used to
        one or more media streams in a delivery format, and         encode media content, a media content period , or a media
        may be associated with descriptive metadata . The rep -     stream . Additionally , to each media stream , properties of an
        resentation may be a structured collection of one or        encoding process , such as sub -sampling , codec parameters ,
        more media components within a single period . In           encoding bitrate , and the like,may beassigned . Accordingly ,
        other words, the representation may be one of alterna - 45 metadata may be relevant for static and dynamic selection of
        tive choices of a complete set or subset of media           media content components and media streams.
        content components forming media content during a             FIG . 1 is a diagram illustrating a DASH high -level data
         defined period . The representation may include one or model.
        more media streams.                                            A DASH may be based on a hierarchical data model, as
       A representation may start at a beginning pointof a period 50 shown in FIG . 1 .
   ( namely, a period including the representation ), and may          A DASH media presentation may be described by an
    continue to an ending point of the period .                     MPD document . The MPD may describe a sequence of
      A representation may be one of alternative choices of the     periods in time. The sequence of the periods may form a
   media content or a subset of the media content typically media presentation . A period may typically represent a
   differing by the encoding choice , for example by a bitrate , a 55 media content period during which a consistent set of
   resolution, a language, a codec , and the like .                   encoded versions of media content is available . In other
      An MPD (or an MPD element) may provide descriptive words, during a single period , bitrates , languages, captions ,
    information that enables a client to select one or more subtitles , and the like , may not be changed .
   representations .                                                     A period may include one or more adaptation sets . An
     Hereinafter, a representation and a media representation 60 adaptation set may represent a set of interchangeable
   may be used as interchangeable terms.                         encoded versions of one or more media content components .
      Two or more sets of segments corresponding to a single        For example, an adaptation set for a main video component,
   intervalmay exist. Each of the sets may be called a repre        and a separate adaptation set for a main audio component
   sentation , or an alternative.                                   may exist. For example , when there are other available
      A segmentmay be a smallest addressable unit in an MPD 65      materials, for example captions or audio descriptions, the
        with a defined format. Hereinafter, a segment and a         other available materials may each have a separate adapta
        media segmentmay be used as interchangeable terms.          tion set.
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      An adaptation set may include one or more representa                                Table 1 shows an initial part of the XML schema of the
   tions. A representation may describe a deliverable encoded                         MPD . The initial part may include namespace and other
   version of one or more media content components. A                                 definitions .
   representation may include one or more media streams. A                               A mechanism for referencing remote elements from a
   single representation within an adaptation set may be suf- 5 local MPD may be defined. A subset of World Wide Web
   ficient to render the media content components included in       Consortium (W3C ) XLINK simple links may be defined ,
   the single representation . Typically, a clientmay switch from   consisting of 1) restricted syntax and semantics , and 2 ) a
   one representation to another representation during a period , processing model.
   in order to adapt to network conditions or other factors. The       XLINK attributes used in a part of ISO /IEC 23009 are
   client may also ignore representations that rely on codecs or 10 provided as follows:
   other rendering technologies that are not supported by the         “ xlink :type” may define a type of W3C XLINK that is
   client, or that are otherwise unsuitable.                                                being used .
     Within a representation , the content may be divided in                             “ xlink :href” may identify a remote element using a URI,
   time into segments. In other words, the representation may 16                             as defined in IETF RFC 3986 .
   include one or more segments . A segment may be a basic                               “ xlink :show ” may define a desired behaviour of a remote
   unit of data that is advertised in an MPD . A URL may be                                 element once dereferenced from within an MPD , as
   provided for each segment. The providing of the URL may                                  defined in W3C XLINK .
    indicate that a segment is the largest unit of data thatmay be                       “ xlink :actuate ” may define a desired timing of derefer
   retrieved with a single HTTP request . The MPD may include 20                            encing a remote element from within an MPD , as
   a byte range of the URL , with the URL . Accordingly , the                                defined in W3C XLINK .
   segment may be included in a byte range of other larger                                The following Table 2 shows an XML schema of XLINK .
   resources .
     Hereinafter, a relationship between components of the                                                                   TABLE 2
   above-described data model will be described .          25 - version = '1.0 ' encoding= 'UTF- 8"? >
     An MPD may include a sequence of one or more periods . <<xs? xml
                                                                   :schema xmlns:xs= " http ://www .w3. org /2001/XMLSchema"
      Each of the periods may include one or more adaptation                            targetNamespace = " http ://www .w3.org /1999/xlink "
          sets . When an adaptation set includes one or more                            xmlns:xlink = " http ://www .w3.org/1999/ xlink" >
         media content components , each of the media content                            < xs :attribute name = " type" type = " xs :token " fixed = " simple" />
                                                                                 30      <xs:attribute name= "href" type= "xlink :hrefType" />
        components may be individually defined .                                         < s:simple Type name = " hrefType" >
      Each of the adaptation sets may include one or more                                   < xs: restriction base = " xs :anyURI" />
                                                                                         < xs:simple Type >
        representations.                                                                 < xs :attribute name = " show " type = " xs:token " fixed = " embed " />
      Each of the representations may include one or more                                < xs :attribute name= " actuate" type =" xlink :actuateType"
          sub -representations .                                                      default = " onRequest" >
      Each of the representations may include one or more 35                             < s :simpleType name= "actuateType" >
          segments .                                                                        < xs:restriction base = " xs :token " >
                                                                                              < xs :enumeration value = " onLoad " / >
      Segments may include media data , and /or metadata to                                   < xs : enumeration value = " onRequest " />
         access, decode, and presentmedia content including the                            < /xs : restriction >
        segments .                                                    < / xs:simpleType >
      Adaptation sets, representations and sub -representations 40 </Xs:schema
        may share common attributes and elements .
      Each of the segments may include one or more subseg                               In the schema, a namespace , a name, a type , and a default
        ments .                                                                       value of each element or each attribute may be described .
      An MPD document indicating an MPD may include an - Additionally , a hierarchical relationship between elements
   element " MPD ."
      The following Table 1 shows an XML schema ofMPD . andRules
                                                             attributes may be described .
                                                                  applied to process URI references within the attri
                                        TABLE 1
                                                                                      bute “xlink: href" are provided as follows:
                                                                                         URI references to remote elements that cannot be
   < ?xmlversion = " 1. 0 " encoding = "UTF -8 " ? >                             50        resolved may be treated as invalid references , and may
   < xs:schema targetNamespace = " urn :mpeg :DASH :schema:MPD :2011 "                     invalidate the MPD .
     attribute FormDefault = " unqualified"
     elementFormDefault = " qualified"                                                   URI references to remote elements that are inappropriate
     xmlns :xs = " http ://www .w3.org /2001/XMLSchema"                                    targets for a given reference may be treated as invalid
     xmlns :xlink = " http ://www .w3. org /1999/xlink "                                     references, and may invalidate the MPD .
     xmlns =" urn :mpeg:DASH :schema:MPD :2011 " >                               55 URI references that directly or indirectly reference them
      < xs : import namespace = " http ://www .w3.org /1999 /xlink "
         schemaLocation =" http ://www .w3.org / 1999/ xlink. xsd " />                      selves may be treated as invalid circular references, and
     < xs:annotation >                                                                      may invalidate the MPD .
        < xs:appinfo >Media Presentation Description < /xs :appinfo >                    A reference to a remote elementmay be an HTTP -URL .
        < xs:documentation xml:lang = " en " >
           This Schema defines the Media Presentation                            60      When a URI reference is relative, a reference resolution
   Description for MPEG -DASH .
        < xs:documentation >
                                                                                           may be applied .
      < /xs :annotation >                                                                Semantics of the element “MPD ” are described as fol
     < ! - - MPD : main element - - >                                                 lows:
      < xs:element name= "MPD " type = "MPDtype " />                                1 ) The element “MPD ” may have the following attributes:
   < / xs :schema>                                                               65 " id ” may specify an identifier for a media presentation .
                                                                                             " id ” may be an identifier that is unique within a scope
                                                                                             in which the media presentation is published .
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       " type” may specify whether the MPD may be updated .                                        Periods may be classified into regular periods and early
       " mediaPresentationDuration ” may specify a duration of                                  available periods. Additionally, a PeriodStart time of a
          the entire media presentation . When “ media Presenta -                               regular period may be defined as follows:
          tionDuration ” is absent, the duration of the media                                     When attribute “ start” is included in the element “ Period” ,
           presentation may be unknown.                                                              a period may be a regular period , and the PeriodStart
       " maxSegmentDuration ” may specify a maximum dura                                               time may be equal to a value of the attribute " start” .
            tion of a segment in a representation in the media                                      When the attribute " start " is absent, but a previous ele
           presentation .                                                                             ment “ Period ” includes attribute " duration ” , a period
        2 ) The element “MPD ” may have the following elements :                                      may be a regular period . The start time of the period
       “ ProgramInformation ” may have an index of 0 to N , and                                       “ PeriodStart” may be a sum of a start time of a previous
          may specify descriptive information about a program .                                       period and a value of the attribute " duration ” of the
          Having an index of N may indicate that a number of            previous period .
        instances of an element may be unbounded . Having an        1 )    When the attribute " start” is absent, 2 ) when the
         index of 0 may indicate that an element may be 16              element     “ Period ” is the first in the MPD , and 3 ) when
        optional. Having an index of 1 may indicate that an              the  attribute  “ type ” of the MPD is “ static ,” the Period
         element is mandatory. In other words , a range of index         Start  time   may   be set to “ 0 .”
        may represent occurrence or cardinality .                   1 ) When the attribute " start" is absent, 2 ) when a previous
     " BaseURL " may have an index of 0 to N , andmay specify           element “ Period ” does not include attribute " duration ” ,
         a base URL that may be used for reference resolution 30         or when the element “ Period” is the first in the MPD ,
        and alternative URL selection .                                 and    3 ) when the attribute “ type ” of the MPD is
     “ Location ” may have an index of 0 to N , and may specify         " dynamic ,” a period may be an early available period .
        a location at which the MPD is available.                  Semantics of the element " Period ” are described as fol
     “ Period ” may have an index of 1 to N , and may specify lows1) : The element “ Period ” may have the following attri
         information of a period .
     “ Metrics” may have an index of 0 to N , and may specify 25 butes
                                                                   “
                                                                         :
                                                                     xlink   :href' may specify a reference to an external ele
        DASH metrics.                                                   ment    “ Period.”
      The following Table 3 shows an XML syntax of the             “ xlink   :actuate   ” may specify processing instructions .
   element “MPD ” .                                                                                    " link : actuate ” may have a value of either " onload " or
                                        TABLE 3
                                                                                           30          " onRequest.
                                                                                                    " id ” may specify an identifier of a period . “ id” may be a
   < !-- MPD Type -->                                                                                  unique identifier within a scope of a media presenta
   < xs:complexType name= "MPDtype" >                                                                  tion .
       <xs: sequence >                                                                              “ start” may specify a PeriodStart time of a period . The
         < xs : element name= " Program Information "                                      35
   type= " ProgramInformation Type "                                                                   PeriodStart timemay be used as an anchor to determine
   minOccurs = " 0 " maxOccurs = " unbounded " />                                                      an MPD start time of each media segment, as well as
          < xs:element name= " BaseURL" type =" BaseURLType" minOccurs =" 0"                           to determine a presentation time of each access unit in
   maxOccurs = "unbounded " >                                                                          a media presentation timeline .
          <xs:element name="Location " type= " xs:anyURI" minOccurs= " 0"                           " duration ” may specify a duration of a period to deter
   maxOccurs = "unbounded " >                                                              40
          < xs:element name =" Period " type =" PeriodType "                                           mine a PeriodStart time of a next period .
   maxOccurs = " unbounded " />                                                                   2 ) The element “ Period” may have the following ele
          < xs :element name= "Metrics" type = "Metrics Type" minOccurs = " 0 "                 ments:
   maxOccurs = " unbounded " />                                                                    “ BaseURL " may have an index of 0 to N , and may be
          < xs:any namespace = " # # other " process Contents = " lax" minOccurs = " 0 "
   maxOccurs = "unbounded " />                                                                         used for reference resolution and alternative URL
      < / xs :sequence >                                                                   45
                                                                                                       selection .
     < xs :attribute name = " id " type= "xs:string" />                                             “ AdaptationSet" may have an index of 1 to N , and may
      < xs: attribute name= "profiles" type = " xs:string" />
      <xs: attribute name= " type" type= " Presentation Type" default= " static " />                   specify information of an adaptation set .
      < xs:attribute name= " availabilityStartTime" type = " xs:dateTime" />                        “ Subset” may have an index of 0 to N , and may specify
      < xs: attribute name= " availabilityEndTime" type = " xs:date Time" />                            a subset .
       < xs:attribute name= "mediaPresentationDuration " type = " xs:duration "/>
      < xs:attribute name = "minimumUpdate Period" type = " xs:duration " />
                                                                                           50       The following Table 4 shows an XML syntax of the
      < xs :attribute name= " minBufferTime" type = " xs:duration "                             element “ Period .”
   use = " required " / >
      < xs:attribute name = " timeShiftBufferDepth " type = " xs:duration " />                                                     TABLE 4
      < xs: attribute name= " suggestedPresentation Delay " type = "xs: duration" />
      < xs:attribute name= "maxSegmentDuration " type = " xs: duration " />                55 < !- - Period -- >
       < xs :attribute name = "maxSubsegmentDuration " type = " xs :duration " />             <xs:complexType name= " PeriodType " >
        < xs:any Attribute namespace = " #Hother" processContents = " lax " />                    <xs:sequence >
   < / xs :complexType >                                                                              <xs:element name= " BaseURL " type = " BaseURLType"
   < !-- Presentation Type enumeration - ->                                                     minOccurs = " 0 " maxOccurs = " unbounded " />
   < xs:simple Type name= " Presentation Type" >                                                      < xs :element name= " SegmentBase " type =
      < xs:restriction base = " xs:string" >                                                    " SegmentBaseType " minOccurs = " 0 " />
         < xs :enumeration value = " static " >                                                       < xs:element name= " SegmentList" type = " SegmentListType"
          < xs:enumeration value = " dynamic " >                                                minOccurs = " 0 " />
      < /xs :restriction >                                                                            < xs:element name= " SegmentTemplate " type =
             </ xs:simpleType >                                                                 " SegmentTemplateType " minOccurs = " 0 " />
                                                                                                      < xs :element name= " AdaptationSet" type= " Adaptation SetType"
                                                                                                minOccurs = " 0 " maxOccurs = "unbounded " />
       A media presentation may include one or more periods. 65                                       < xs :element name = " Subset" type = " SubsetType" minOccurs = " 0 "
   Each of the periodsmay be defined by the element “ Period ”                                  maxOccurs = " unbounded " / >
   in the element “MPD .”
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                                               11                                                                               12
                                  TABLE 4 -continued                                         " lang " may declare language code(s ) of an adaptation set.
       < xs: any namespace = " # Hother" processContents = " lax" minOccurs = " 0 "
                                                                                                Syntax and semantics based on IETF RFC 5646 may be
   maxOccurs = " unbounded " />                                                                 used .
      < /xs :sequence >                                                                      " contentType” may specify a media content component
      < xs :attribute ref= "xlink :href" />                                                      type of an adaptation set. “ type” may be a content- type
      < xs: attribute ref= "xlink :actuate " default = " onRequest" />                           of top -level. " type” may be defined in RFC1521.
       < xs:attribute name= " id " type = " xs:string " />                                   “ par” may specify a picture aspect ratio . “ par” may
      < xs:attribute name = " start" type = " xs: duration " >
       < xs:attribute name= " duration " type = " xs :duration " / >                            include two integers. When “ par ” is present, attributes
       < xs:attribute name= " bitstreamSwitching" type = " xs:boolean "                         " width ” and “ height” for representations may also be
   default = " false " / >                                                            10        present.
      < xs :any Attribute namespace = " # Hother" processContents = " lax" />                "minBandWidth ” may specify a minimum value of the
   < / xs :complexType >
                                                                                                 attribute “ bandwidth ” in all representations in an adap
                                                                                                 tation set.
      Each period may include one or more adaptation sets .                                  " maxBandWidth ” may specify a maximum value of the
   Each of the adaptation sets may be described by element 15                                   attribute “ bandwidth ” in all representations in an adap
   “ AdaptationSet" included in the element “ Period.”                                           tation set.
      An adaptation setmay include alternate encodings of one                                “ min Width ” may specify a minimum value of the attribute
   or more media content components . Each of the alternate                                     " width ” in all representations in an adaptation set.
   encodings may be included in a representation . All repre                                 "max Width ” may specify a maximum value of the attri
   sentations included in a single adaptation set may represent 20                              bute " width " in all representations in an adaptation set.
   the samemedia content components, and may include one or                                  "minHeight” may specify a minimum value of the attri
   more media streams that are determined to be perceptually                                    bute “ height” in all representations in an adaptation set.
   equivalent.                                                                               "maxHeight” may specify a maximum value of the attri
        One or more representations may be arranged in an                                       bute “ height” in all representations in an adaptation set.
   adaptation set based on properties ofmedia content compo        " minFrameRate " may specify a minimum value of the
                                                                                      25


   nents present in the representations. The properties of the        attribute “ frameRate” in all representations in an adap
                                                                       tation set .
   media content components may include 1 ) a language             “ maxFrameRate ” may specify a maximum value of the
   described by attribute " lang " , 2 ) a media component type       attribute “ frameRate ” in all representations in an adap
   described by attribute “ contentType” , 3 ) a picture aspect 30     tation set.
   ratio described by attribute “ par” , 4 ) a role property                                  2) The element “ AdaptationSet" may have the following
   described by element “ Role ” , 5) an accessibility property                            elements:
   described by element “ Accessibility ” , 6 ) a viewpoint prop-                            “ Accessibility ” may have an index of 0 to N , and may
   erty as described by element “ ViewPoint” , 7 ) a rating                                     specify information on an accessibility scheme.
   property described by element “ Rating,” and the like.         35                         “ Role ” may have an index of 0 to N , and may specify
      The element “ AdaptationSet" may include default values                                   information on a role annotation scheme.
   for elements and attributes associated with one or more                                   “ Rating" may have an index of 0 to N , and may specify
   representations included in an adaptation set. Hereinafter, a                                 information on a rating scheme.
   list of possible present elements and attributes that are                                 “ Viewpoint” may have an index of 0 to N , and may
   common to the elements “ AdaptationSet” and “ Representa - 40                                 specify information on a viewpoint annotation scheme.
   tion ” will be described .                                                                " ContentComponent” may have an index of 0 to N , and
       The element “ AdaptationSet” may support description of                                  may specify properties of a media content component
   ranges for attributes “ bandwidth ," "width ," " height” and                                 included in an adaptation set.
   “ framerate ” that are associated with one or more represen                               “ BaseURL " may have an index of 0 to N , and may be
   tations included in an adaptation set. The description may                         45        used for reference resolution and alternative URL
   provide a summary of all values for all of the representations                               selection .
   included in the adaptation set. The representations included                              “ Representation ” may have an index of 0 to N , and may
                                                                                                 specify a representation . At least one representation
    in the adaptation set may not have values outside the ranges                                 element may be included in each adaptation set. “ Rep
   defined in the adaptation set.                                                     50         resentation " may be a part of a remote element.
       Adaptation sets may be classified into groups , using                                 The following Table 5 shows an XML syntax of the
   attribute “ group ” .                                                                   element " AdaptationSet.”
        Semantics of the element “ AdaptationSet" are described
   as follows:                                                                                                             TABLE 5
        1 ) The element “ AdaptationSet " may have the following 55 <–!-- Adaptation Set - - >
   attributes :                                                                            <xs:complexType name= " AdaptationSetType" >
       “ xlink:href” may specify a reference to external element                             < xs : complexContent>
          “ AdaptationSet.”                                                                     < xs:extension base = " RepresentationBaseType" >
       “ xlink :actuate” may specify processing instructions.                   <xs:sequence >
                                                                         min <=xs" 0:"element
           " link : actuate ” may have a value of either " onload" or 60 minOccurs               name=" Accessibility " type =" DescriptorType"
                                                                                           maxOccurs = "unbounded " />
           “ onRequest .                                                          < xs :element name= " Role" type =" DescriptorType "
       " id " may specify an identifier of an adaptation set in the minOccurs =" 0 " maxOccurs= " unbounded" />
           scope of the period . “ id ” may be a unique identifier                < xs :element name= " Rating" type=" DescriptorType"
           within a scope including the containing Period. "« ;id " minOccurs<=xs" 0:element
                                                                                         " maxOccurs = " unbounded " />
                                                                                                name= " Viewpoint" type= " DescriptorType"
          may not exist in a remote element.                          65 minOccurs = " 0 " maxOccurs = "unbounded " />
       “ group ” may specify an identifier ofa group that is unique               < xs :element name= " ContentComponent" type =
            in the scope of the period .
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                                  TABLE 5 -continued                                     “ Viewpoint” may have an index of 0 to N , and may
   " ContentComponentType" minOccurs = " 0 " maxOccurs = " unbounded " />
                                                                                              specify information on a viewpoint annotation scheme.
             < xs :element name= " BaseURL" type = "BaseURLType "                        The following Table 6 shows an XML syntax of the
   minOccurs = " 0 " maxOccurs = " unbounded" />                                       element " ContentComponent.”
            <xs:element name= " SegmentBase" type =" SegmentBaseType"            5
   minOccurs =" 0 " />                                                                                                     TABLE 6
            < xs:element name=" SegmentList " type= " SegmentListType"
   minOccurs = "0 " >                                                                  < !-- Content Component -- >
              < xs :element name = " Segment Template " type=                          <xs :complexType name= " ContentComponentType" >
   " Segment Template Type" minOccurs = " 0" />                                          <xs :sequence >
              < xs :element name= " Representation " type =                      10          < xs :element name=" Accessibility" type =" DescriptorType"
   " Representation Type " minOccurs = " 0 " maxOccurs = " unbounded " />             minOccurs = " 0 " maxOccurs = " unbounded " />
           < /xs:sequence >                                                                  < xs:element name= "Role" type =" DescriptorType" minOccurs =" 0 "
           < xs :attribute ref = " xlink :href" />                                    maxOccurs = " unbounded " />
           < xs :attribute ref =" xlink :actuate " default= " onRequest" />                  < xs:element name=" Rating " type = " DescriptorType" minOccurs= " 0 "
           < xs :attribute name= " id " type= " xs:unsignedInt" >                     maxOccurs = " unbounded " />
           < xs:attribute name= " group " type = " xs :unsignedInt" />           15          < xs:element name= " Viewpoint" type =" DescriptorType"
           < xs :attribute name= " lang " type = " xs:language " >                    minOccurs = " 0 " maxOccurs = " unbounded " />
           <xs:attribute name= " contentType" type = " xs :string" />                         < xs:any namespace = " # # other " process Contents =" lax"
           < xs :attribute name= " par" type = " xs :string " >                       minOccurs = " 0 " maxOccurs = " unbounded " />
           < xs :attribute name= "minBandwidth " type = " xs:unsignedInt" >              < / xs : sequence >
            <xs:attribute name= "maxBandwidth " type = " xs:unsignedInt" />              < xs:attribute name= " id " type = " xs:unsignedInt" />
           < xs:attribute name= "minWidth " type = " xs:unsignedInt" />          20      <xs:attribute name=" lang" type =" xs: language" />
           <xs:attribute name= "maxWidth " type= " xs: unsignedInt" />                   <xs :attribute name=" contentType" type = " xs:string" />
           < xs:attribute name= "min Height" type = "xs:unsignedInt" />                  < xs :attribute name="par" type= " xs: string " >
           < xs:attribute name= "maxHeight" type = " xs :unsignedInt" / >                < xs :any Attribute namespace = " # # other" processContents = " lax" />
           < xs:attribute name= "minFrameRate " type = " xs:string" />                </xs:complex Type >
           < xs:attribute name= "maxFrameRate " type = "xs:string" />
           < xs :attribute name= " segmentAlignment" type =
   " ConditionalUintType" default= " false" />                                   25
                                                                                         Representations may be described by the element “Rep
           < xs :attribute name= " subsegmentAlignment" type=
   " ConditionalUintType" default= " false" />                                        resentation .” The element “ AdaptationSet" may include one
           < xs :attribute name= " subsegmentStartsWithSAP " type =                   or more elements “ Representation .”
   " SAPType" default= " 0 " />                                                           A representation may be one of alternative choices of a
            < xs :attribute name= " bitstreamSwitching" type =" xs:boolean " >        complete set or subset ofmedia content components forming
         < /xs:extension >
      < / xs :complexContent>                                                         media content during a defined period .
    < /xs:complexType>                                                                   A representation may start at the start of the PeriodStart of
   < !-- Conditional Unsigned Integer (unsignedInt or boolean ) -- >                  a period , and may continue to the end of the period . In other
    < xs:simple Type name = "ConditionalUintType " >
        < xs:union memberTypes = " xs :unsignedInt xs :boolean " />                   words, the end of the period may be the start of a next period ,
   < /xs:simpleType >                                                            35 or the end of a media presentation .
                                                                                         Each representation may include one or more media
       An adaptation set may include one or more media content                        streams. Each of the media streams may be an encoded
   components. Properties of each of the media content com -                          version of a media content component.
   ponents may be described by the element “ ContentCom                                      representation may include one or more segments .
   ponet.” When a single media content component is included 40 Semantics of the element " Representation ” are described
   in an adaptation set, properties of the media content com - as follows:
   ponentmay be described directly by the element “ Adapta -                              1) The element “ Representation ” may have the following
   tionSet.”                                                                          attributes:
      Semantics of the element " ContentComponent” are                                   " id ” may specify an identifier of a representation . When
   described as follows:                                                         45          a representation is functionally different from another
      1 ) The element “ ContentComponent" may have the fol                                   representation within the same period , “ id ” may be
   lowing attributes :                                                                       unique within the scope of the period. “ id ” may not
     “ id may specify an identifier of a media component. “ id ”                              include whitespace characters.
          may be unique within a scope of an adaptation set.                              “ bandwidth ” may specify a bound on a data rate and data
      " lang" may declare language code(s ) of a media content 50                            rate variation of a representation .
         component. Syntax and semantics based on IETF RFC                               " quality Ranking ” may specify , a quality ranking of a
         5646 may be used .                                                                 representation , relative to other representations in the
      " contentType” may specify a type of a media content                                   same adaptation set.
         component. A value of the top -level content- type,                             “ dependencyID ” may specify all complementary repre
         namely “ type ” , may be defined in RFC1521.               55                       sentations that depend on in decoding and / or presen
      “ par” may specify a picture aspect ratio . “par” may                                  tation process . " dependencyID ” may be a whitespace
         include two integers . When “ par ” is present, attributes                          separated list of values of “ id ."
          " width ” and “ height” for representations may also be                       2 ) The element “ Representation ” may have the following
          present.                                                                    elements :
       2 ) The element “ ContentComponent” may have the fol - 60                         “ BaseURL " may have an index of 0 to N , and may be
   lowing elements :                                                                        used for reference resolution and alternative URL
     “ Accessibility ” may have an index of 0 to N , and may                                 selection .
        specify information on an accessibility scheme.                                  “ SubRepresentation ” may have an index of 0 to N , and
       “ Role ” may have an index of 0 to N , and may specify                                may specify information on a sub - representation that is
          information on a role annotation scheme.            65                             embedded in a representation . “ SubRepresentation "
      “ Rating ” may have an index of 0 to N , and may specify                               may be used for reference resolution and alternative
          information on a ration scheme.                                                    URL selection .
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      The following Table 7 shows an XML syntax of the                                                                  TABLE 8 - continued
   element " Adaptation Set.”                                                                        < xs:attribute name = " contentComponent" type =
                                                                                             " String VectorType" />
                              TABLE 7 .                                                           < /xs:extension >
                                                                                                 </ xs:complexContent>
    < !-- Representation -- >                                                                < /xs:complexType >
      < xs. complexType name=" Representation Type" >                                        < !-- Whitespace -separated list of unsigned integers -- >
         < xs:complexContent >                                                               < s :simple Type name= " UIntVectorType" >
            < xs:extension base =" RepresentationBaseType" >                                    <xs:list itemType = " xs:unsignedInt" >
               < xs :sequence >                                                              </ xs:simpleType >
               < xs:element name= "BaseURL" type = " BaseURLType"                       10
   minOccurs = " 0 " maxOccurs = "unbounded " />
                < xs:element name= " SubRepresentation " type=                                  Hereinafter, common attributes and elements of the ele
   " SubRepresentation Type" minOccurs = " 0 " maxOccurs = " unbounded "/>                   ments “ AdaptationSet,” “ Representation ,” and “SubRepre
                < xs :element name= " SegmentBase" type = " SegmentBaseType"
   minOccurs = " 0 " />
                  <xs:element name= " SegmentList" type =" SegmentListType"
                                                                                             sentation ” will be described .
   minOccurs = " 0" />                                                                          1 ) The elements “ AdaptationSet,” “ Representation ,” and
                < xs:element name= " Segment Template" type=                                 “ SubRepresentation " may have the following common attri
   " SegmentTemplateType" minOccurs = " 0 " >                                                butes:
               < xs: sequence >
               < xs:attribute name = " id" type = " xs :string " use =" required " />
                                                                                                " profile ” may specify a profile between associated repre
                < xs :attribute name= "bandwidth " type = " xs :unsignedInt"                        sentation (s) conforming to media presentation profiles.
   use = " required " />                                                                20          A value of " profile ” may be a subset of a value in a
               < xs :attribute name = " quality Ranking " type= " xs:unsignedInt" >                 predetermined higher level of a document hierarchy
               < xs :attribute name = "dependencyld " type = " StringVectorType " />               (representation , adaptation set, MPD ). When “ profile”
               <xs:attribute name= "mediaStreamStructureld " type=
   " StringVectorType" />                                                                          is absent, the value of “ profile” may be inferred to be
           < /xs:extension >
       < xs : complexContent >                                                                     the same as in a next higher level of the document
   < / xs :complexType >
                                                                                        25         hierarchy. For example , when “ profile ” is absent for a
   < !-- Whitespace -separated list of strings -- >                                                 representation , “ profile” at an adaptation set level may
    < xs :simple Type name= " StringVectorType " >                                                  be valid for the representation .
       < xs:list item Type = " xs:string" >                                                     " width ” may specify a horizontal visual presentation size
    < /xs:simpleType >
                                                                                        30
                                                                                                    of a video media type on a grid determined by the
                                                                                                    attribute " sat" When " sar” is absent, a width and height
      A sub -representation may be embedded in a regular                                           may be specified as if a value of " sar ” is “ 1 : 1."
   representation , and may be described by the element “ Sub                                   " height” may specify a vertical visual presentation size of
   Representation .” The element " Representation" may include                                      a video media type , on a grid determined by the
   the element “ SubRepresentation .” The element “ SubRepre                                        attribute “ sar.”
   sentation ” may describe properties of one or more   media 35
                                                    ore media                                   " sar ” may specify a sample aspect ratio of a video media
   content components that are embedded in a representation .                                       component type . “ sar ” may be in the form of a string
   A representation and sub - representation may share common                                       including two integers separated by “ :" . A first integer
   attributes and elements.                                                                        may specify a horizontal size of encoded video pixels
       Semantics of the element “ SubRepresentation ” are 40                                        in arbitrary units. A second integer may specify a
   described as follows:                                                                            vertical size of the encoded video pixels in arbitrary
       The element “ SubRepresentation ” may have the follow                                        units .
    ing attributes:                                                                             " frameRate ” may specify an output frame rate of a video
      " level” may specify a level of a sub -representation .                                      media type in a representation . For example , when a
       " dependency ” may specify a set of sub - representations 45                                 frame or field rate is changed , a value of “ frameRate ”
          within a representation in which sub -representations                                    may be an average frame or half an average field rate
          depend on in decoding and /or presentation process, as                                   over the entire duration of a representation .
          a whitespace - separated list of values of “ level.”                                  " audioSampleRate ” may be either a decimal integer value
       “ bandwidth ” may be identical to the attribute “band                                       specifying a sampling rate of an audio media compo
          width ” of the element “ Representation ,” but may be 50                                 nent type , or a whitespace separated pair of decimal
          applied to a sub -representation .                                                        integer values specifying a minimum sampling rate and
       " contentComponet” may specify a setof all media content                                    a maximum sampling rate of the audio media compo
          components that are included in a sub -representation ,                                  nent type. A value of “ audioSampleRate” may be in
          as a whitespace -separated list of values of “ id ” of the                               samples per second .
       element “ ContentComponent.”                   55                                        " mimeType” may specify a MIME type of a concatena
     The following Table 8 shows an XML syntax of the                                              tion of initialisation segment.
   element “ SubRepresentation .”                                                               " codecs” may specify codecs that are present within a
                                                                                                   representation .
                                         TABLE 8                                                2 ) The elements “ AdaptationSet,” “ Representation ,” and
    < !-- SubRepresentation -- >                                                        60 " SubRepresentation " may have the following common ele
    < xs:complexType name = " SubRepresentation Type" >                                    ments:
       < xs : complexContent>                                                                 “ FramePacking" may have an index of 0 to N , and may
          < xs :extension base = " RepresentationBaseType " >                                    specify frame-packing arrangement information of a
               < xs :attribute name= " level" type = " xs:unsignedInt" >                            video media component type.
               < xs:attribute name= " dependencyLevel" type =
   " UIntVectorType " / >                                                               65      “ AudioChannelConfiguration " may have an index of 0 to
               < xs :attribute name= " bandwidth " type= " xs :unsignedInt" />                      N , and may specify an audio channel configuration of
                                                                                                    an audio media component type.
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       “ Content Protection" elementmay have an index of 0 to N ,                       “ SegmentBase ,” “ SegmentTemplate” and “ SegmentList"
          and may specify information on content protection                             may be included in the element “ Period ” or “ Adaptation
           schemes used for associated representations.           Set.” When either “ Segment Template ” or “ SegmentList"
      The following Table 9 shows common XML syntax of the exists in a level of a hierarchy, the other elementmay not be
   elements “ AdaptationSet,” “ Representation,” and “ SubRep - 5 present on a lower hierarchy level. The elements “ Segment
   resentation ."                                                 Base,” “ Segment Template ” and “ SegmentList” may inherit
                                                                                        attributes and elements from the same element on a higher
                                           TABLE 9                                      level. When the same attribute or element is present on both
                                                                                        levels, an attribute or element on a lower level may have
   < !- - Representation base ( common attributes and elements ) -- >              10 precedence over the attribute or element on the higher level .
    < xs :complexType name= " Representation BaseType" >                                   The element “ SegmentBase ” may include information
       < xs :sequence >
           < xs :element name= " FramePacking" type= " DescriptorType "                 that is sufficient , when only a single media segment is
   minOccurs = " 0 " maxOccurs = " unbounded" />                                        provided per Representation and a media segment URL is
           < xs :element name= " AudioChannelConfiguration " type =                     included in the element “ BaseURL .” When multiple media
   " DescriptorType" minOccurs = " 0 " maxOccurs = " unbounded " />                15 segments are present, either the element “ SegmentList” or
         < xs :element name= " ContentProtection " type = " DescriptorType"             “ Segment Template ” may be used to share the multiple
   minOccurs = " 0 " maxOccurs = " unbounded " / >
         < xs :any namespace = " # # other" process Contents = " lax "                  segment base information .
   minOccurs = " 0 " maxOccurs = " unbounded " />
      < / xs:sequence >
                                                                                           When a representation includes one or more media seg
      < xs :attribute name = "profiles" type = " xs :string" />                         ments , either the attribute " duration ,” or element " Segment
      < xs: attribute name = "width " type= " xs :unsignedInt" />                  20 TimeLine” may be present.
      < xs:attribute name= " height" type= " xs:unsignedInt" />                            A segment list may be defined by one or more elements
      < xs: attribute name= " sar" type = "xs:string" />                                “ SegmentList” . Each of the elements " SegmentList" may
      <xs: attribute name= " frameRate " type = " xs :string" />                        include a list of elements “ SegmentURL " for a consecutive
      < xs:attribute name = " audioSamplingRate" type =" xs :string " />
      < xs:attribute name = "mimeType" type = " xs :string" />                        list of segment URLs. Each of the segment URLs may
      < xs:attribute name= " segmentProfiles" type = " xs : string" />             25 include a media segment URL , and a byte range . The
      < xs:attribute name= " codecs" type = " xs :string" />
      < xs:attribute name = "maximumSAPPeriod " type= " xs:double " />
                                                                                        element “ SegmentURL " may also include an index segment.
      < xs:attribute name = " startWithSAP " type = " SAPType" />                          A segment template may be defined by the element
      < xs: attribute name= "maxPlayoutRate " type = " xs :double " />                  " Segment Template .” To create a list of segments , specific
      < xs:attribute name = " codingDependency " type = " xs:boolean " />               identifiers that are substituted by dynamic values may be
      < xs:attribute name= " scanType" type = " Video ScanType " />                30 assigned to segments .
      < xs :any Attribute namespace = " # # other" process Contents =" lax " />            The segment information may provide the following
    < / xs :complexType >
    < ! -- Stream Access Point type enumeration -->                                     information :
    < xs :simple Type name= " SAPType" >                                                   Presence or absence of initialisation , index and bitstream
        < xs: restriction base = " xs :unsignedInt" >
            < xs :minInclusive value = " 0 " />
                                                                                             switching segment information .
          < xs:maxInclusive value = " 6 " />                                       35     HTTP -URL and possibly a byte range for each accessible
      < /xs:restriction >                                                                   segment in each representation .
    < /xs:simpleType >                                                                    All valid segment URLs declared by an MPD .
   < !-- Video Scan type enumeration -- >
   < xs:simpleType name=" Video ScanType" >                                               For services with attribute " type” of an MPD indicating
      < xs: restriction base = " xs :string" >                                              " dynamic ,” segment availability start time and segment
         < xs :enumeration value = " progressive " />                              40        availability end time of each segment.
         < xs:enumeration value = " interlaced " >                                         Approximate media presentation start time of each media
         < xs :enumeration value = " unknown " / >
      < /xs : restriction >
                                                                                             segment in a media presentation timeline within a
    < /xs:simpleType >                                                                       period.
                                                                 A segment element or a sub -element of the segment
                                                           45 element may include the following attributes:
      A segment may have a defined format , and may be the      " duration " may specify a constant approximate segment
   smallest addressable unit described by an MPD .                 duration . All segments within element “Representa
       A segmentmay be referenced by an HTTP-URL included                                    tion ” may have the same duration . However, a duration
    in the MPD . The HTTP -URL may be defined as an < abso                                   of a last segment within a period may be different from
   lute -URI> according to RFC 3986 . The HTTP -URL may 50                                   the other segments .
   have a fixed scheme of " http ://" or " https:// ,” and may be                          " sourceURL" may specify a source URL part. “ sour
   restricted by a byte range when attribute " range ” is provided                           ceURL " may be formatted either as an < absolute -URI>
   together with the URL . The byte range may be expressed as                                according to RFC 3986 . " sourceURL " may have a
   “ byte- range -spec ” as defined in RFC 2616 . The byte range                              fixed scheme of " http ://” or " https ://” or as a < relative
   may be restricted to a single expression identifying a con - 55                           ref> according to RFC 3986 . For example , when “ sour
   tiguous range of bytes .                                                                  ceURL " is absent, element “ BaseURL ” may be
       Segment information may be assigned to representations,                               mapped to the attribute " sourceURL .” Additionally ,
   through presence of elements “ BaseURL ,” “ SegmentBase,”                                 when “ sourceURL" is absent, attribute “ range ” may be
   " Segment Template ” and /or “ SegmentList.” The segment                                  provided .
    information may provide information on location , availabil- 60                        " range ” may specify a byte range restricting the HTTP
    ity and properties of all of one ormore segments included in                              URL . The byte range may be expressed and formatted
   a representation . In particular, information on the presence                             as a byte -range- spec as defined in RFC 2616 . For
   and location of initialisation, media , index and bitstream                               example , when " range" is absent, the elementmay refer
   switching segments may be provided .                               to the entire resource referenced in the attribute “ sour
       The elements " SegmentBase," " SegmentTemplate ” and 65        ceURL .”
   " SegmentList” may be included in the element “ Represen         The following Table 10 shows an XML syntax of infor
   tation.” In addition, to express default values, the elements mation associated with a segment.
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                                 TABLE 10                                                                             TABLE 11
   < !-- Segment information base -- >                                                urn :mpeg.mpegB ;dash :dash :mp21accessibility : < value >
    < xs:complexType name=" SegmentBaseType" >
      < xs: sequence >
            < xs:element name=" Initialisation " type ="URLType"                  5      The URImay be defined to indicate accessibility schemes
   minOccurs = " 0 " />
            < xs:element name=" RepresentationIndex" type ="URLType"                  based on accessibility description of ISO / IEC 21000 - 7.
   minOccurs = " 0 " / >                                                                 For example , when < value > is “ s0 ," an appropriate rep
           < xs:any namespace =" # Hother" processContents = " lax "                  resentation may be prepared in advance , and an associated
   minOccurs = " 0 " maxOccurs = " unbounded " />                                    accessibility description may be described by the element
        < xs :sequence >                                                          10 “ Accessibility .” Different ways may be used to convey the
           < xs :attribute name = " timescale " type = " xs:unsignedInt" >            description . For example , the accessibility description may
           < xs:attribute name= "presentation TimeOffset" type=
   " Xs:unsignedInt" />                                                               be either conveyed by element “ MP21Access,” or refer
           < xs:attribute name= " indexRange " type = " xs :string " />               enced by attribute “ xlink :href” that will be defined below .
           < xs:attribute name = " indexRange Exact " type = " xs:boolean " />           When < value > is “ s1,” a providermay somehow obtain an
        < xs:anyAttribute namespace = " # " other" process Contents =" lax" />        accessibility description of a disabled user, and may provide
    < /xs:complexType >
    < !-- Multiple Segment information base -- >                                      appropriate content to the disabled user.
    < xs :complexType name= " MultipleSegmentBaseType " >                                In the context of DASH , when a representation is asso
      < xs:complexContent >                                                           ciated with an accessibility description , the representation
        < xs :extension base = " SegmentBaseType" >                                   may be used for a disabled user whose specific symptoms
           < xs:sequence >
               < xs :element name= " SegmentTimeline" type =                      20 are described by the accessibility description . Usually,
   " SegmentTimeline Type" minOccurs = " 0 " />                                      media of the representation may be enhanced ( e . g. adjusting
               < xs: element name=" BitstreamSwitching " type= "URLType"             contrast or colour) to cope with a problem of the disabled
   minOccurs = " 0 " />                                                              user. In this instance , the enhancement of the media may
          < /xs : sequence >
          < xs:attribute name= " duration " type = " xs :unsignedInt" >              include , for example , adjustment of a contrast or adjustment
            < xs :attribute name= " startNumber" type =" xs:unsignedInt" >        25 of colour.
          < / xs :extension >
      < /xs : complexContent>
                                                                                          The above-described element “ Accessibility” may be
    < /xs:complexType >                                                               extended as follows. A new child element called
   < !- - Segment Info item URL /range -- >                                           " MP21Access ” may be used as a container for MPEG -21
   < xs :complexType name= "URLType" >                                                DIA accessibility description . Additionally , an optional attri
      < xs :sequence >                                                            30 bute “ xlink :href" may be added to the element “ Accessibil
         < xs :any namespace = " # Hother" process Contents = " lax "                ity ” to reference an external description including MPEG -21
   minOccurs = " 0 " maxOccurs = " unbounded " />
      < /xs: sequence >                                                               DIA accessibility elements .
      < xs: attribute name= " sourceURL " type = " xs :anyURI" >                         Furthermore , a new attribute called " use ” may be
      < xs: attribute name= " range" type= "xs:string" />                            employed as a hint to let a client know the intended use of
        < xs:anyAttribute namespace = "# # other" processContents =" lax "/>      35 a representation , for the purpose of accessibility . The above
    < /xs :complexType> <xs:enumeration value = " progressive " />
           < xs :enumeration value= " interlaced" />                                  new element and attributes may be applied to a representa
         < xs : enumeration value = " unknown " / >                                   tion group (or an adaptation set), a representation , and a
      < xs:restriction >                                                              sub -representation .
   < /xs:simpleType >                                                                    Semantics of elements and attributes to support accessi
                                                                   40 bility are described as follows:
      Hereinafter, an additional configuration to select a repre -        1) To support accessibility , the elements " Group” , “ Adap
   sentation based on a user characteristics and terminal char        tationSet” , “ Representation ” or “ SubRepresentation ” may
   acteristics will be described .                                     further include the following attributes :
       Based on the above - described solutions for DASH , rep                           " use " may indicate an intended use of representation ( s ).
   resentations may be described with variousmetadata . Char - 45                            The attribute " use” may have values " signLang ," " sub
   acteristics of representations may be mostly used to select                              title," " caption ," " description ," " plusDesc,” and the
   representations based on terminal characteristics , for                                   like. The value “ signLang” may indicate a use as a sign
   example a resolution , a connection bandwidth , and the like .                            language . The value “ subtitle " may indicate a use as a
     Accessibility features of a representation may be used to                               subtitle . The value " caption " may indicate a use as a
   support disabled users who have difficulties in perceiving 50                             caption , namely, a subtitle with additional description .
   multimedia content. The following embodiments to support                                  The value " description " may indicate a use as descrip
   accessibility may include 1) Moving Picture Experts Group                                 tion , for example audio description of a movie. The
    (MPEG ) -21 Digital Item Adaptation (DIA ) accessibility                                 value " plusDesc ” may indicate that content of a corre
   description and 2 ) several hints used to facilitate enhance                             sponding representation is enhanced with description ,
   ment/ replacement of content components . In essence , the 55                             for example , may indicate a sound track enhanced with
   MPEG -21 DIA accessibility description including elements                                 audio description .
   “ VisualImpairmentType" and/ or “ AuditoryImpairment                                  “ xlink :href” may provide a reference to an external
     Type” of ISO /IEC 21000 -7 may enable description of vari                              MPEG -21 DIA description with elements “ Auditory
   ous symptoms of visual and auditory impairments of a user.                                ImpairmentType” and /or “ VisuallmpairmentType ” of
    The visual and auditory impairments may include , for 60                                 ISO /IEC IS 21000 -7 . The representation or represen
   example , a colour deficiency or low vision .                                             tation group associated with the description may be
     The following rule may be applied to URIs to identify                                   suitable for disabled users whose problems are
   specific accessibility schemes. For example , the schemes                                 described by the description .
   may be included in the above -described element “ Accessi                             “ xlink :actuate” may provide processing instructions . The
   bility .                                                    65                           processing instructions may be either " onLoad " or
      For representations containing audio and / or visual con                              " onRequest. When “ xlink :href" is absent, “ xlink : actu
   tent, a URI may be defined as shown in Table 11 below .                                   ate” may not exist .
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      2 ) To support accessibility , the elements " Group ” , “ Adap                     Hereinafter, metadata describing a relationship between
   tationSet” , “ Representation ” or “ SubRepresentation ” may                        representations will be described .
   further include the following elements :                                               There is little metadata for describing a relationship
     " Accessibility ” may have an index of 0 to N , and may                           between representation groups . It is difficult for a client to
        provide information on an accessibility information 5 know , for example , which video stream is associated with a
          scheme.                                             given audio description . In several cases , two representation
      “MP21Access” may have an index of 0 to 1, and may groups may be semantically equivalent, and only a single
         include MPEG -21 DIA description with the elements   representation group may need to be selected based on a
        “ AuditoryImpairmentType" and /or “ VisualImpair      context. Hereinafter, two simple attributes are proposed for
        mentType ” of ISO /IEC 21000 - 7. Representations or 10 the above-described purpose . The metadata described here
         representation group associated with the description        inafter may be useful for accessibility as well as for adap
         may be suitable for disabled users whose problems are tivity in general.
         described by the description .                                 To describe the relationship between representations , the
       The following Table 12 shows an XML syntax of the             elements “ Group ” , “ AdaptationSet” , “ Representation " or
   elements “ Group ” , “ AdaptationSet ” , “ Representation ” or 15 “ SubRepresentation ” may further include the following
   “ SubRepresentation ” , to support accessibility .                attributes :
                                  TABLE 12                                                 “ used With ” may indicate a list of one or more represen
   < !-- RepresentationBase type; extended by other                                           tations or representation groups. When a current rep
   Representation -related types -- >                                                         resentation or a current representation group is used ,
    < xs:complexType name =" RepresentationBaseType " >                           20          " used With ” may be used with a predetermined item of
       < xs: sequence >                                                                       the list. For example , a representation group for audio
          < xs:element name =" Content Protection " type =
             " ContentDescriptorType" minOccurs =" 0 "                                        description may be used with a specific representation
             maxOccurs = " unbounded " />                                                      group of a video component. A value of “ used With ”
          < xs :element name = "Accessibility " type = "ContentDescriptorType"                may be a whitespace -separated list . Each item of the
             minOccurs = " 0 " maxOccurs = "unbounded " />
          < xs :element name = "Rating " type= " ContentDescriptorType "
                                                                                  25          whitespace -separated list may be identification of a
                                                                                              single representation group or a single representation .
             minOccurs = " 0 " maxOccurs = " unbounded " />                                   Identification of a representation group may be a value
          < xs :element name = " Viewpoint" type = " ContentDescriptorType "
             minOccurs = " 0 " maxOccurs = " unbounded " />                                    of attribute " group” or “ adaptationSet.” Identification
          < xs :element name= " MultipleViews" type= "MultipleViewsType"                       of a representation may have a format of attribute
   minOccurs = " 0 " />                                                           30           “ repid." The attribute “ repid ” may be a value of attri
          < xs:any namespace = " # Hother" processContents = " lax "                          bute " id " of the representation .
   minOccurs = " 0 " maxOccurs = " unbounded" />
      < /xs :sequence >                                                                    " equivalent To ” may indicate a list of one or more repre
      < xs:attribute name= " group " type =" xs:unsignedInt" >                                 sentations or representation groups . A current represen
      <xs: attribute name= " width " type = " xs:unsignedInt" >                                tation may be used instead of a predetermined item of
      <xs: attribute name= "height" type = " xs:unsignedInt" />                   35     the list. For example , a representation group for a
      <xs: attribute name= "parx " type = "xs:unsignedInt" />
      < xs:attribute name = " pary " type = " xs:unsignedInt" />                          subtitle may be used instead of a specific representation
      < xs:attribute name= " lang" type = " Lang VectorType " />                          group of an audio component. The attribute “ equiva
      < xs:attribute name = "mimeType" type = " xs :string" />                            lentTo ” may have the same format as the attribute
       <xs: attribute name= " startWithRAP" type= "xs:boolean " />                       " used With .”
       <xs: attribute name= " frameRate " type = " xs: double " />
       < xs: attribute name= "maximumRAPPeriod " type= " xs: double" />           40 The following Table 13 shows an XML syntax of the
       < xs:attribute name = " numberOfChannels" type =                              elements " Group ” , “ AdaptationSet” , “ Representation ” or
   " StringVectorType" />                                                           “ SubRepresentation ” , to describe a relationship between
      < xs:attribute name= " samplingRate " type = " String VectorType" />             representations.
      < xs:attribute name= " use " type ="UseType" />
      < xs :any Attribute namespace = " # # other" process Contents = " lax" />   45
   < /xs : complexType >                                                                                               TABLE 13
   < xs:simple Type name= "UseType" >
       < xs:restriction base = " xs:string" >                                          < !-- RepresentationBase type; extended by other
           < xs:enumeration value = " signLang" />                                     Representation -related types -- >
        < xs :enumeration value = " subtitle " >                                       < xs:complexType name= " RepresentationBaseType " >
        < xs :enumeration value = " caption " >                                           < xs:sequence >
           < xs :enumeration value = " description " />                           50         < xs: element name = " ContentProtection " type =
           < xs :enumeration value= " plusDesc " >                                               " ContentDescriptorType " minOccurs =" 0 "
       < /xs:restriction >                                                                       maxOccurs = " unbounded " >
   < /xs:simpleType >                                                                         < xs :element name= " Accessibility " type = " ContentDescriptorType"
   < !-- Generic named descriptive information about the content -- >                           minOccurs = " 0 " maxOccurs = " unbounded " />
   < xs:complexType name=" ContentDescriptorType" >                                          < xs :element name = " Rating" type= " Content DescriptorType"
      < xs:sequence >                                                             55             minOccurs = " 0 " maxOccurs = " unbounded " />
         < xs :element minOccurs = " 0 " name= " SchemeInformation "                          < xs :element name= " Viewpoint" type = " ContentDescriptorType "
   type= " xs:string" >                                                                         minOccurs = " 0 " maxOccurs = "unbounded" />
         < xs:elementminOccurs = " 0 " name = "MP21Access "                                  < xs:element name= "MultipleViews" type = "MultipleViews Type"
   type = " xs:string" />                                                              minOccurs = " 0 " / >
         < xs :any namespace = " # Hother" process Contents = " lax "                         < xs :any namespace = " # Hother" processContents = " lax "
   minOccurs = " 0 " maxOccurs = "unbounded " />
      < /xs :sequence >                                                           60 minOccurs   = " 0 " maxOccurs = " unbounded " />
                                                                                        < xs :sequence >
      <xs:attribute name= " schemeIdUri" type =" xs:anyURI"                               < xs:attribute name= " group " type = " xs :unsignedInt" />
   use = " required" />                                                                   < xs :attribute name = "width " type = " xs :unsignedInt" />
      < xs:attribute ref= " xlink :href" />                                               <xs:attribute name= "height" type = " xs:unsignedInt" />
      < xs :attribute ref= "xlink:actuate " default = "onRequest" />                      <xs:attribute name= "parx " type = " xs :unsignedInt" >
      < xs :anyAttribute namespace = " #Hother" process Contents = " lax " />              < xs :attribute name = "pary " type= " xs:unsignedInt" />
   < /xs:complexType>                                                             65       < xs :attribute name = " lang " type = " LangVectorType " />
                                                                                           < xs:attribute name = "mimeType" type = " xs :string" />
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                                              23                                                                                 24
                                 TABLE 13 - continued                                                               TABLE 14 - continued
      <xs: attribute name= " startWithRAP" type= "xs:boolean " />                           < xs :enumeration value = " description " >
      <xs: attribute name= " frameRate " type = " xs :double" />                            < xs:enumeration value = " plusDesc " >
      < xs: attribute name= "maximumRAPPeriod " type= " xs: double" />                < / xs: restriction >
      <xs: attribute name= "numberOfChannels" type = " StringVectorType" >      5 </ xs :simpleType >
      < xs:attribute name= " samplingRate " type= " String VectorType" / >            < !-- Generic named descriptive information about the content -- >
       < xs:attribute name = " usedWith " type = " StringVectorType" />              < xs :complexType name= " ContentDescriptorType" >
       < xs:attribute name= " equivalentTo" type = " StringVectorType " />               <xs:sequence >
       < xs:any Attribute namespace = " #Hother" processContents = " lax " />               < xs :elementminOccurs =" 0 " name= " SchemeInformation"
   < /xs:complexType >                                                             type = "xs:string" />
   < !-- Type for space delimited list of strings -- >                          10       < xs :elementminOccurs = " 0 " name = "MP21Access "
   < xs :simple Type name= " StringVectorType " >                                  type = " xs:string" />
       < xs:list itemType = " xs:string" />                                                 < xs :any namespace = " #hother" process Contents = " lax "
    < /xs:simpleType >                                                               minOccurs = " 0 " maxOccurs = " unbounded " />
                                                                                        < /xs:sequence >
                                                                                        < xs:attribute name= " schemeIdUri " type =" xs:anyURI"
       Hereinafter, metadata for bit depth will be described .                  15 use = " required " />
      To select different representations for terminals having                        < xs:attribute ref= " xlink :href" />
                                                                                      < xs:attribute ref= " xlink :actuate " default= " on Request" />
   different display bit depths , the following attributes for a                        <xs:anyAttribute namespace = " #Hother" processContents = " lax" />
   representation and a representation group may be used . A bit </xs:complexType >
   depth may refer to a number of bits used to represent a
   luma/ chroma sample of visual content.
      Semantics of attributes for bit depth are described as O " maxBitDepth
                                                                    Correspondingly, two attributes " minBitDepth ” and
                                                                                 ” may be added to elements “ Representation
    follows:                                                     Group ” or “ AdaptationSet" .
        To provide a bit depth , the elements "Group ” , “ Adapta -                  Group or Adaptation
   tionSet” , “ Representation ” or “ SubRepresentation " may fur                       Semantics of attributes to describe a maximum bit depth
   ther include the following attributes :                                           and a minimum bit depth are described as follows:
       “ bitDepth ” may indicate a number of bits used to repre                          To describe the maximum bit depth and the minimum bit
           sent a luma/ chroma sample of visual content. When the                    depth , the elements “ Representation Group ,” “Group ,” or
          bit depth varies , for example , in different video pic -                  “ AdaptationSet" may further include the following attri
          tures , a value of “bitDepth ” may be a maximum value                      butes :
          of bit depths.                                                        30       " xlink :href" may indicate a reference to external element
       The following Table 14 shows an XML syntax of the                                     "Group” or element" AdaptationSet” .
                                                                                         “ xlink :actuate ” may provide processing instructions. The
   elements “ Group ” , “ Adaptation Set ” , “ Representation ” or
   “ SubRepresentation ” , to support a bit depth .                                         processing instructions may be either " onLoad ” or
                                                                                            " onRequest" .
                              TABLE 14                                          35       " minBitDepth ” may indicate a minimum bit depth value,
                                                                                         in all representations in a group or an adaptation set.
   < !-- Representation Base type; extended by other                                 "maxBitDepth ” may indicate a maximum bit depth value,
   Representation -related types -- >                                                    in all representations in a group or an adaptation set.
   < xs :complexType name = " RepresentationBase Type" >
      <xs: sequence >                                                                 The following Table 15 shows an XML syntax of the
         < xs :element name= " Content Protection " type =                      to elements “ Representation Group ” , “Group ” , or “ Adaptation
           " ContentDescriptorType" minOccurs = " 0 "                              Set” , to support the maximum bit depth value and the
           maxOccurs = "unbounded " />                                               minimum bit depth value .
         < xs :element name= " Accessibility" type = " ContentDescriptorType"
            minOccurs = " 0 " maxOccurs = " unbounded " />
         < xs:element name =" Rating " type = " ContentDescriptorType"                                              TABLE 15
            minOccurs = " 0 " maxOccurs = "unbounded " />
         < xs:element name= " Viewpoint" type = " ContentDescriptorType "       45 < ! -- Group to contain information common to a group ;
            minOccurs = " 0 " maxOccurs = " unbounded " />                              extends RepresentationBase Type -- >
         < xs :element name="MultipleViews" type= "MultipleViewsType"                < xs :complexType name= "GroupType" >
   minOccurs = " 0 " />                                                                 < xs:complexContent>
        < xs:any namespace = " # Hother" processContents = " lax "                          <xs:extension base = " Representation BaseType " >
   minOccurs = " 0 " maxOccurs = " unbounded" />                                                < xs :sequence >
      < xs :sequence >                                                          50             <xs:element name= " Representation " type = " Representation Type"
      < xs: attribute name= " group " type = " xs: unsignedInt" />                               minOccurs = " 0 " maxOccurs = "unbounded" />
      <xs: attribute name= " width " type = " xs:unsignedInt" >                              < xs :element name= " SegmentInfo Default" type =
      < xs :attribute name= " height" type= " xs:unsignedInt" />                     " SegmentInfoDefaultType " minOccurs = " 0 " />
      < xs:attribute name =" parx " type =" xs:unsignedInt" />                                 < /xs :sequence >
      < xs: attribute name=" pary" type = " xs:unsignedInt" >                                  < xs:attribute ref= " xlink :href" />
      < xs:attribute name=" lang" type =" LangVectorType" />                    55             < xs : attribute ref= " xlink :actuate " default = " onRequ st " / >
      < xs: attribute name= "mimeType " type = "xs:string" />                                  < xs :attribute name= " minBandwidth " type = " xs :unsignedInt" />
      < xs:attribute name= " startWithRAP" type = " xs:boolean " />                            < xs :attribute name= " maxBandwidth " type= " xs: unsignedInt" />
      < xs:attribute name = " frameRate " type = " xs :double " />                             <xs:attribute name= "minWidth " type = " xs :unsignedInt" >
      <xs: attribute name= "maximumRAPPeriod" type= " xs:double" />                            < xs:attribute name= "maxWidth " type = " xs:unsignedInt" />
      <xs: attribute name= "numberOfChannels" type = " StringVectorType" />                    <xs:attribute name= "minHeight" type = " xs:unsignedInt" />
      < xs:attribute name= " samplingRate " type =" String VectorType" />       60
                                                                                               < xs :attribute name = "maxHeight" type = " xs:unsignedInt" />
      < xs:attribute name = " use " type = "UseType" />                                        <xs:attribute name= "minFrameRate " type = " xs :double " />
      <xs: any Attribute namespace = " # Hother" processContents = " lax" />                   <xs:attribute name= "maxFrameRate " type = " xs :double " />
   < /xs : complexType >                                                                       < xs:attribute name= " minBitDepth " type= " xs:unsignedInt" >
   < xs :simple Type name= "UseType" >                                                         < xs:attribute name = "maxBitDepth " type = " xs :unsignedInt" >
      < xs: restriction base = " xs :string" >                                                 < xs:attribute name= " subsegmentAlignment" type = "xs:boolean "
         < xs:enumeration value = " signLang" />                                     default = " false " / >
         < xs:enumeration value = " subtitle " / >                              65             < xs:attribute name=" segmentAlignmentFlag "
         < xs :enumeration value = " caption " >                                     type = " xs:boolean " />
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                                            25                                                                               26
                               TABLE 15 -continued                                             be selected based on the metadata . The terminal 200 may
                                                                                               perform the HTTP GET method , to request the server 210 to
           < xs:attribute name=" bitStreamSwitchingFlag"                                       transmit the segment.
   type = " xs :boolean " />
             < xs :any Attribute namespace = " # # other" processContents = " lax " />            The metadata may include an attribute " range” . The
          < xs:extension >                                                                   5 request may include a request for bytes of a resource
      < / xs:complexContent>                                                                   indicated by a URL that are designated by the attribute
   < /xs :complexType >                                                                        “ range."
                                                                                                   The URL of the segment may be an absolute URL or a
       FIG . 2 is a signal flowchart illustrating a content process                            relative URL.
   ing method according to an embodiment of the present 10 The terminal 200 may select a period , an adaptation set,
   invention .                                            a representation , and the like , using an element or attribute
       A terminal 200 may be a DASH client described above.                                    included in the metadata , and may select a segment to be
       The DASH clientmay be compatible with a client speci                                    requested , based on an element or attribute of the selected
    fied in RFC 2616 .                                                                   1
                                                                                               period, the selected adaptation set, or the selected represen
       The DASH client may typically use an HTTP GET                                             For example , each of one or more representations
   method or an HTTP partial GET method , as specified in
   RFC 2616 , to access segments or parts of segments .                                        included in a period may include information used to
                                                                                               support disabled users who have difficulties in perceiving
      A server 210 may perform hosting on DASH segments. media content. A media component of each of the represen
   The server 210 may be compatible with a server
                                               ver specified
                                                    specified inin 2020 tatie
                                                                        tations may be enhanced to cope with a problem of a
   RFC 2616 .                                                           disabled user. Enhancement of the media component may
      In operation 220 , the terminal 200 may receive metadata          include at least one of adjustment of a contrast and adjust
   of media content from the server 210 . In other words , the ment of colour. Additionally, information included in each of
   server 210 may transmit the metadata of the media content the representations may indicate an intended use of each of
   to the terminal 200 . The media contentmay include one or 25 the representations. The intended use may include at least
   more periods.                                                one of a sign language , a subtitle , a caption , and a descrip
     Metadata may be an MPD .                                   tion . The information included in each of the representations
      The MPD may provide sufficient information to the                                        may include an attribute providing a reference to an external
   terminal to provide a user with a streaming service by                                      MPEG -21 DIA .
   accessing segments through a protocol specified in a scheme 30                                 For example , metadata may include an attribute describ
   of defined resources . The specified protocol may be an                                     ing a relationship between one or more representations. A
   HTTP / 1 . 1 . The server 210 may provide an MPD delivery                                   first representation among the representations may include
    function . The MPD may be generated based on DASH                                          an attribute indicating a list of a part of the representations .
   media presentation preparation .                             The first representation may be used together with a repre
                                                               sentation
       In operation 230 , the terminal 200 may process the » representationamong the part of the representations . The first
   received metadata . In operation 230 , the terminal 200 may description, andmayeach
                                                                                       be a representation used for audio
                                                                                        of the part of the representations may
    extract information provided by the metadata , or informa be a representation used      for a video component. Addition
   tion included in the metadata .                             ally , a second representation among the representations may
       In operations 240 through 250 , the terminal 200 may 40 include an attribute indicating a list of a part of the repre
    access a segment of the media content based on the infor sentations, and a representation among the part of the
   mation provided by themetadata . The server 210 may be an representations may be replaced by the second representa
   HTTP server used to provide a DASH segment transfer                                         tion .
    function .                                                                                    For example, each of one or more representations
       Each of the periodsmay include one or more groups, and 45 included in a period may include a bit depth attribute used
   each of the groupsmay include one or more representations to select different representations for terminals having dif
   of the media content. In other words , each of the periods  ferent display bit depths .
   may include the one or more representations of the media       The bit depth attribute may indicate a number of bits used
   content. Accordingly, each of the representations may start to represent a luma/chroma sample of visual content.
   from a beginning point of a period including each of the 50 In operation 245 , in several cases, the server 210 may
   representations, and may continue to an ending point of the need to parse media content ( for example , an MPEG layer
   period . Each of the representationsmay include one or more 4 (MP4 ) file for Scalable Video Coding (SVC ), and may
   segments .                                                                                  extract a data part suitable for the requested segment.
       In operation 240, the terminal 200 may send a request for                                  In operation 250 , the server 210 may transmit , to the
   a segment of the media content to the server 210 using a 55 terminal 200 , segments suitable for each request from the
   URL of the segment. The URL may be resolved with respect terminal 200. The terminal 200 may receive the segments
   to the above - described element “ BaseURL .” For example , from the server 210 .
   the URL of the segment may be generated based on the                                          In operation 260 , the terminal 200 may perform decoding
   element “ BaseURL ."                                                                        and rendering on data of the media content included in the
       The MPD may provide the terminal 200 with sufficient 60 segment, to play back the media content.
   information to provide a user with a streaming service , by 1 )                                The terminal 200 may play back the media content using
   requesting the server 210 to transmit segments, and by 2 )                                  the received segments by repeating operations 220 through
   demultiplexing, decoding, and rendering media streams                                       260 .
   included in a segment.                                           Technical information according to the embodiments of
      The terminal 200 may request the server 210 to transmit 65 the present invention described above with reference to FIG .
   a segment suitable for a specific period based on the pro - 1 may equally be applied to the present embodiment.
   cessed metadata. In other words, the requested segment may A ccordingly, further description thereof will be omitted .
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      FIG . 3 is a diagram illustrating categories of signaling            FIG . 5 is a diagram illustrating a configuration of a
   information according to an embodiment of the present terminal according to an embodiment of the present inven
   invention.                                                 tion .
      The signaling information (namely , metadata ) may be      A structure of a terminal 100 may represent logical
   divided into the following categories 1 ) through 4 ):   5 components of a conceptual DASH client model.
      1 ) General information 310 : may include common                      The terminal 100 may include an access engine 510, and
   description of content, and general description of each               a media engine 520 .
    interval, such as a duration , and a start time.                        The access engine 510 may be a DASH access engine .
       2 ) Quality of Service (QoS ) information 320 : may                  The access engine 510 may receive metadata (for
   describe characteristics of each alternative , such as a bitrate , 10 example , an MPD ) from a server 110 .
    a resolution , and a quality . In other words, the QoS infor            The access engine 510 may form requests, and may issue
   mation describes characteristics of each of alternatives of the formed requests            to the server 110 .
    content.
      An alternative may be physical (namely, created in                    The access engine 510 may receive content (for example,
   advance ), or may be virtual (namely, to be created on the 15 segments or parts of the segments ) from the server 110 .
   fly ). Based on information of alternatives, the client may       The access engine 510 may provide the content to the
   select a fragment of an appropriate alternative. Accordingly, media engine 520.
   adaptivity to contexts of terminals and networks may be           An output of the access engine 510 may include media ( or
   supported .                                                    a part of themedia ) of an MPEG container ( for example, an
       3 ) Mapping information 330 : may describe locations to 20 ISO /IEC 14492 - 12 ISO base media file format, or an ISO /
   retrieve content. Depending on specific cases , different IEC 13818 - 2 MPEG - 2 transport stream ). Additionally, the
   alternatives may have the same or different locations.         output of the access engine 510 may include timing infor
      4 ) Client request 340: this type of signaling information        mation used to map internal timing of the media to a timeline
   may conform to a format of HTTP 1. 1 request message       of a media presentation .
   Parameters requested by a client may be derived from the 25 Additionally, the access engine 510 may perform func
    information of categories 1) through 3 ).                            tions of the terminal 200 that are described in operations 220
      FIG . 4 is a diagram illustrating a hierarchy of content           through 260 of FIG . 2 .
   division and levels of signaling information according to an             The media engine 520 may play back the provided
   embodiment of the present invention .                        content. Specifically , the media engine 520 may output the
      Signaling ofmetadata according to an embodiment of the 30 media using the media and the timing information that are
                  on may be physically separated into content - output from the access engine 510 .
   level information 410 , interval-level information 420 , QoS            Technical information according to the embodiments of
   information 430 , and mapping information 440. Linking of             the present invention described above with reference to
   related parts of the content-level information 410 , the inter -      FIGS. 1 through 4 may equally be applied to the present
   val-level information 420, the QoS information 430 , and the 35 embodiment. Accordingly , further description thereof will
   mapping information 440 may be performed by reference. be omitted .
       These parts of signaling information may be combined in         The method according to the above -described embodi
    different ways to support the flexibility.                      ments of the present invention may be recorded in computer
       For example, when only the content-level information readable media including program instructions to implement
   410 and interval- level information 420 are sent to a client, 40 various operations embodied by a computer. The media may
   all computations for deciding alternatives and resolving also include, alone or in combination with the program
   locations may be performed by a server. Accordingly , when            instructions, data files, data structures , and the like . The
   only the content-level information 410 and interval- level            program instructions recorded on the media may be those
   information 420 are sent to the client, a processing model            specially designed and constructed for the purposes of the
   may be " server -based .”                                          45 embodiments , or they may be of the kind well -known and
      When the content-level information 410 , the interval-             available to those having skill in the computer software arts .
   level information 420, and the QoS information 430 are sent           Examples of computer-readable media include magnetic
   to the client, all computations for deciding alternatives and media such as hard disks, floppy disks, and magnetic tape;
   resolving locationsmay be distributed and performed by the optical media such as CD ROM disks and DVDs; magneto
   client and the server. Accordingly, when the content-level 50 optical media such as floptical disks; and hardware devices
   information 410 , the interval-level information 420 , and the that are specially configured to store and perform program
   QoS information 430 are sent to the client , the model may            instructions, such as read -only memory (ROM ), random
   be “ distributed .”                                                   access memory (RAM ), flash memory , and the like.
     When all the signaling information ( namely , the content .         Examples of program instructions include both machine
   level information 410 , the interval-level information 420 , 55 code , such as produced by a compiler , and files containing
   the QoS information 430 , and the mapping information 440             higher level code that may be executed by the computer
   is sent to the client, the model may be client- based , because       using an interpreter. The described hardware devices may be
   most ( or all) processing ( namely, computations for deciding         configured to act as one ormore software modules in order
   alternatives and resolving locations) is performed by the             to perform the operations of the above - described embodi
   client.                                                     60 ments of the present invention , or vice versa .
      The separation ofmetadata parts may enable efficiency in      Although a few embodiments of the present invention
   storage and delivery . For example, during a session , meta -         have been shown and described , the present invention is not
   data of the content - level information 410 may be sent once ,        limited to the described embodiments. Instead , it would be
   and only the interval- level information 420 may be periodi-         appreciated by those skilled in the art that changes may be
   cally updated . Similarly , a single file containing the QoSInfo 65 made to these embodiments without departing from the
   430 may be used for different intervals and different con -           principles and spirit of the invention , the scope of which is
   tents .                                                               defined by the claims and their equivalents .
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                                                      US 10 ,313,414 B2
                                29                                                                    30
     The invention claimed is :                                            wherein each of the representations includes one or more
     1. A method of providing media content performed by a                    segments ,
   DASH (Dynamic Adaptive Streaming over HTTP ) client,                    wherein the MPD , the period , the adaptation set , the
   the method comprising:                                                     representation or the segments includes one or more
     receiving a Media Presentation Description (MPD ) of a 5           attributes or elements , and ,
       media content; and                                           wherein the adaptation set includes one or more attributes
     accessing segments of the media content based on infor             or elements that are common to each of the represen
       mation provided by the MPD ,                                     tations for that adaptation set .
     wherein the MPD includes one or more periods ,                 12  . The method of claim 11 , wherein the attribute
     wherein each of the periods includes one or more adap - 10 wherein theatmaxSegmentDuration
                                                              10 included         an MPD level is a maxSegmentDuration ,
                                                                                                        is a maximum duration of
        tation sets ,                                            a segment in a representation .
     wherein each of the adaptation sets includes one or more        13 . Themethod of claim 11 , wherein the element included
        representations ,                                        at  an   adaptation set level is an Accessibility, wherein the
     wherein each of the representations includes one or more 15         Accessibility specifies information on an accessibility
       segments,                                                         scheme.
     wherein the MPD , the period , the adaptation set, the                 14 . The method of claim 11 , wherein the attribute
       representation , or the segments includes one or more             included at an adaptation set level is an audioSampleRate ,
        attributes or elements , and                                     wherein the audioSampleRate specifies a sampling rate of an
     wherein the adaptation set includes one or more attributes 20 audio media component type .
        or elements that are common to each of the represen -               15 . The method of claim 11 , wherein the element included
         tations for that adaptation set.                                at an adaptation set level is an AudioChannelConfiguration,
     2 . The method of claim 1, wherein the attribute included           wherein the AudioChannelConfiguration specifies an audio
   at an MPD level is a maxSegmentDuration , wherein the                 channel configuration of an audio media component type.
   maxSegmentDuration is a maximum duration of a segment 25 16 . The method of claim 11 , wherein the attribute
    in a representation .                                  included at an adaptation set level is a contentType , wherein
      3 . The method of claim 1, wherein the element included the contentType specifies a type of a media content compo
   at an adaptation set level is an Accessibility , wherein the  nent .
   Accessibility specifies information on an accessibility          17 . The method of claim 11 , wherein the attribute
   scheme.                                                    30 included at an adaptation set level is a sample aspect ratio of
      4 . Themethod of claim 1, wherein the attribute included a video media component type.
   at an adaptation set level is an audioSample Rate , wherein              18 . The method of claim 11, wherein the attribute
   the audioSampleRate specifies a sampling rate of an audio             included at a representation level is an audioSampleRate ,
   media component type.                                                 wherein the audioSampleRate specifies a sampling rate of an
     5 . The method of claim 1 , wherein the element included 35 audio media component type.
   at an adaptation set level is an AudioChannelConfiguration ,             19 . The method of claim 11 ,wherein the element included
   wherein the AudioChannelConfiguration specifies an audio              at a representation level is an AudioChannelConfiguration ,
   channel configuration of an audio media component type.               wherein the AudioChannelConfiguration specifies an audio
     6 . The method of claim 1 , wherein the attribute included          channel configuration of an audio media component type.
   in an adaptation set level is a contentType, wherein the 40             20 . The method of claim        11, wherein the attribute
   contentType specifies a type of a media content component             included at a representation level includes a sample aspect
      7 . The method of claim 1, wherein the attribute included          ratio of a video media component type.
   at an adaptation set level is a sample aspect ratio of a video    21 . A method of providingmedia content performed by a
   media component type .                                          server or multiple servers , comprising :
      8 . The method of claim 1 , wherein the attribute included 45 transmitting a Media Presentation Description (MPD ) of
   at a representation level is an audioSampleRate, wherein the          a media content to a client;
   audioSampleRate specifies a sampling rate of an audio              receiving a request, from the client, for a segment of the
   media component type .                                                    media content;
      9 . The method of claim 1 , wherein the element included             transmitting the media content to the client,
   at a representation level is an AudioChannelConfiguration , 50          wherein the MPD includes one or more periods ,
   wherein the AudioChannelConfiguration specifies an audio                wherein each of the periods includes one or more adap
   channel configuration of an audio media component type.                    tation sets ,
      10 . The method of claim 1 , wherein the attribute included          wherein each of the adaptation sets includes one or more
   at a representation level is a sample aspect ratio of a video              representations,
   media component type.                                            55     wherein each of the representations includes one or more
      11 . A method of providing media content performed by a                 segments, and
   server or multiple servers , comprising:                                wherein information on a location , availability or property
      transmitting a Media Presentation Description (MPD ) of                 for the one or more segments in a representation is
         a media content to a client ;                                        comprised in a SegmentBase element.
     receiving a request, from the client, for a segment of the 6022 . The method of claim 21 , wherein the SegmentBase
       media content;                                             element is included at a period level.
     transmitting the media content to the client,                         23 . The method of claim 21, wherein the SegmentBase
     wherein the MPD includes one or more periods ,                      element is included at an adaptation set level.
     wherein each of the periods includes one or more adap -               24 . The method of claim 21, wherein the SegmentBase
        tation sets ,                                         65 element is included at a representation level.
     wherein each of the adaptation sets includes one or more      25 . A method of providing media content performed by a
        representations ,                                                server or multiple servers , comprising :
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                                                      US 10 ,313 ,414 B2
                                31
     transmitting a Media Presentation Description (MPD ) of
        a media content to a client;
     receiving a request, from the client, for a segment of the
       media content;
     transmitting the media content to the client,
     wherein the MPD includes one or more periods,
     wherein each of the periods includes one or more adap
        tation sets ,
     wherein each of the adaptation sets includes one or more
       representations,                                             10
     wherein each of the representations includes one or more
       segments , and
     wherein information on a location , availability or property
        for the one or more segments in a representation is
        comprised in a Segment Template element.                    15
     26 . The method of claim 25 , wherein the SegmentTem
   plate element is included at a period level.
     27 . The method of claim 25 , wherein the Segment Tem
   plate element is included at an adaptation set level.
     28 . The method of claim 25 , wherein the Segment Tem - 20
   plate element is included at a representation level.
      29 . The method of claim 25 , wherein a duration attribute
   and a SegmentTimeline element are provided .
      30 . The method of claim 25 , wherein when a Segment
   Timeline element is absent, a duration attribute is comprised 25
   in the SegmentList element.
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                                    16066




                              EXHIBIT M
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                                    16067
                                                                                                         US010356145B2

   (12) United     States Patent
        Thang et al.
                                                                                (10) Patent No.: US 10 , 356 ,145 B2
                                                                                (45) Date of Patent:                             * Jul. 16 , 2019
   (54 ) METHOD AND DEVICE FOR PROVIDING                                    (52 ) CPC
                                                                                  U .S . CI...........   H04L 65/60 (2013.01) ; H04L 65 /4084
         STREAMING CONTENT
                                                                                                  (2013.01); H04L 67/ 2804 ( 2013 .01 );
   (71) Applicant: IDEAHUB INC ., Seoul (KR )                                                       (Continued )
                                                                            (58 ) Field of Classification Search
   ( 72) Inventors: Truong Cong Thang, Daejeon ( KR);                             CPC combination set(s ) only .
                    Jin Young Lee, Daejeon (KR ); Seong                           See application file for complete search history .
                       Jun Bae , Daejeon (KR ); Jung Won
                       Kang , Daejeon (KR ); Soon Heung                     (56 )                         References Cited
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   ( 73 ) Assignee : IDEAHUB , INC ., Seoul (KR )                                                            (Continued )
   ( * ) Notice: Subject to any disclaimer, the term of this                               FOREIGN PATENT DOCUMENTS
                     patent is extended or adjusted under 35
                     U . S .C . 154 (b ) by 0 days .                       KR            1020050075633 A              7 /2005
                                                                           KR            1020080108568 A             12 /2008
                     This patent is subject to a terminal dis
                     claimer .                                                                    OTHER PUBLICATIONS
   (21) Appl. No.: 16/224,555                                              “ Universal Mobile Telecommunications System ; LTE ; Transparent
                                                                            end -to - end Packet -switched Streaming Service (PSS ); Protocols
   (22 ) Filed :       Dec . 18 , 2018                                      and codecs (3GPP TS 26 .234 version 9.3 .0 Release 9),” ETSI TS
                                                                            126 234 , V9.3 .0, Jun . 2010 , pp . 1 - 184 , ETSI, Sophia Antipolis
   (65)                  Prior Publication Data                             Valbonne , France .
          US 2019 /0124130 A1             Apr. 25 , 2019                                         (Continued )
                                                                            Primary Examiner — El Hadji M Sall
                   Related U .S . Application Data                          (74 ) Attorney, Agent, or Firm — One LLP
    (63) Continuation of application No . 15 /785 ,275 , filed on          (57)                    ABSTRACT
         Oct. 16 , 2017, now Pat. No. 10 , 178, 142 , which is a            A method and apparatus for an adaptive Hypertext Transfer
                          (Continued )                                     Protocol (HTTP ) streaming service using metadata of con
                  Foreign Application Priority Data                        tent are provided . The metadata of the content may be
   (30 )                                                                   efficiently divided for a purpose of use of a terminal based
       Sep . 1, 2010 (KR ) ........................ 10 - 2010 -0085527     on general media information or specific media information ,
                                                                           and may be transmitted to the terminal. A group may include
       Sep . 1 , 2011 (KR ) ........................ 10 -2011 -0088325     one or more representations of content. The metadata may
                                                                           include a group element, and the group element may provide
   (51) Int . Cl.                                                           a summary of attributes of one or more representations
          H04L 29 / 06               ( 2006 .01)                            included in the group .
          H04L 29 /08                ( 2006 .01)
                               (Continued )                                                    20 Claims, 7 Drawing Sheets

                                          100



                                                                                                    CLIENT
                                    SERVER                                                       ( TERMINAL )
                                  (PROVIDER
                                            WWWW                         annawanawinanong

                                                                     MPD FOR HDTV
                                                                         ?????




                                    120         GENERAL AR R     - MPD FOR PC                            134 130
                                                                       MPD FOR
                                                                     MOBILE PHONE
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                                                          US 10 ,Page
                                                                 356 ,2145 B2

                  Related U .S . Application Data                                            OTHER PUBLICATIONS
           continuation of application No. 13 /820 ,408 , filed as       “ Use cases for Rel- 10 adaptive HTTP Streaming,” 3GPP TSG
           application No . PCT/KR2011/006496 on Sep . 1,                SA4 # 60 , Aug . 16 -20 , 2010 , pp . 1-5 .
           2011 , now Pat . No. 9 , 794 ,312 .                           3Generation Partnership Project Organization Partner, “ Transparent
    (51 ) Int . Cl.                                                      end -to - end Packet -switched Streaming Service ( PSS ); Progressive
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                21/ 26258 ( 2013 .01); H04N 21/8456 ( 2013 .01) ;        Partial Representation Management, 3GPP TSG - SA4 Meeting #60,
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                                                                         R . Fielding et al., “ Hypertext Transfer Protocol - HTTP1. 1,” RFC
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     2012 /0013746 A1 *    1/2012 Chen ........... ...... G11B 27/034    13 , last line; p . 1, line 1 -p . 3 , last line.
                                                             348 / 180
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                                                       Sheet 1of7
                                                       Sheet 1 of 7              US 10 ,356 ,145 B2




                    CER
                          ww

                                                                         CLIENT
              SERVER                                                  ( TERMINAL )
             (PROVIDER )
                                                     - MPD FOR HDTV

              120         GENERAL           - -- -     MPD FOR PC         134 po130
                                                                                na


                               MPD
                               MPD
                                                      MOMPPFOR NET 136
                                                        MPD FOR
                                                      MOBILE PHONE
                                                                        herund
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                         WA
                                 TRANSMISSION REQUEST
                                      MESSAGE 210

         GENERATE SPECIFIC MPD 220
              LATARINA




                            SPECIFIC MPD 230                                    op




                                                   240              SELECT APPROPRIATE
                                                                          REPRESENTATION
                                                                wwwwwwwwwwww         wwwwwwwwwwwww



                                 REQUEST FOR CONTENT
                          CORRESPONDING TO SELECTED
                              REPRESENTATION 250
                                          .. www    wwwwwwwwwwwww   wwwwwwww




                                REQUESTED CONTENT 260
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                     TRANSMISSION
                            paan  REQUEST
                         MESSAGE 310
                        SPECIFIC MPD 320
                                  3304 SELECT SPECIFIC MPD
                     REQUEST FOR SELECTED
                        SPECIFIC MPD 340
                 REQUESTED SPECIFIC MPD 350
                     REQUEST FOR CONTENT
                     REPRESENTATION ( S ) 360
                      REQUESTED CONTENT
                     REPRESENTATION (S ) 370

                                  3804    SELECT APPROPRIATE
                                            REPRESENTATION

                     REQUEST FOR CONTENT
                 CORRESPONDING TO SELECTED
                     REPRESENTATION 390

                     REQUESTED CONTENT 395
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                                         FIG . 4

                                          100


                  W   CONTROLLER
                                  410                      420
                                                   TRANSCEIVER
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                                               110

                             N510                                                                                                                                    520                                 *




                                                                                                                                                                                                         *




                                                                                                                                                                                                         *




                                                                                                                                                                                                         *




                     CONTROLLER                                                 TRANSCEIVER                                                                                                              *




                                                                                                                                                                                                         *



                                                                                                                                                                                                         *




                                                                                                                                                                                                         *




                                                    .. * . . . . * . * . * . . . . . * . * . * . . . . . * . * . * . . . . . * . * . * . * . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
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                     TERMINAL                                 SERVER
                                     METADATA 610

              PROCESS METADATA 1620
                            REQUEST FOR SEGMENTS 630
                                                            PARSE MEDIA
                                         SEGMENTS 650

              PERFORM DECODING                  660
                 AND RENDERING
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                                                                   O-MUETDPIUAT
                                             N720 MEDIAENGI E
                  FIGHT                                                           MFOPREAGT+TMIEDINAG
                                                +




                                                +




                                                +




                                                +
                                                            )
                                                            DASH
                                                            (
                                                                   ACES ENGIE
                                                    METAD
                                                        )
                                                        MPD
                                                        (
                                                                                   MEDIA)(SEGMENT
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                                    16076

                                                        US 10 ,356 , 145 B2
        METHOD AND DEVICE FOR PROVIDING                                  ing : receiving metadata of media including one or more
                    STREAMING CONTENT                                     periods; accessing segments of the media based on infor
                                                                         mation provided by the metadata ; and decoding and render
                CROSS -REFERENCES TO RELATED                              ing data of the media that is included in the segments ,
                         APPLICATION                                   5 wherein each to of the periods includes one ormore groups ,
                                                                          each of the groups includes one or more representations of
      The present application is a Continuation of U . S . appli-         the media , and each of the representations is a structured
   cation Ser. No. 15 /785 ,275 , filed on Oct. 16 , 2017 , which is      collection ofone ormoremedia components within a period ,
   a Continuation of U . S . application Ser. No . 13 /820 ,408, filed and includes one or more segments .
   on Mar. 1 , 2013 , which is a national stage of PCT/KR2011/ 10 The metadata may be a Media Presentation Description
   006496 filed on Sep . 1, 2011, which claims priority to                 (MPD ) of the media .
   Korean application number 10 - 2010 -0085527 , filed on Sep .             The metadata may include a group element describing
    1 , 2010 , and Korean application number 10 - 2011 - 0088325 ,         each of the groups .
   filed on Sep . 1, 2011, in the Korean Intellectual Property                The group element may provide a summary of values of
   Office , which is incorporated herein by reference in to its           attributes of all representations within a group described by
   entirety .                                                             the group element.
                         TECHNICAL FIELD                                     The metadata may include an attribute indicating a mini
                                                                          mum value among bandwidth attributes of all representa
                                                            vid .- 2020 tions within a group , and an attribute indicating a maximum
      The present invention relates to a technology for provid
   ing streaming content, and more particularly, to an apparatus value among the bandwidth attributes .
   and method for providing media content using adaptive                   The metadata may include an attribute indicating a mini
   streaming.                                                           mum value among horizontal resolution attributes of all
                                                                        representations within a group , and an attribute indicating a
                     BACKGROUND ART                                25 maximum value among the horizontal resolution attributes.
                                                                           The metadata may include an attribute indicating a mini
      Streaming is one ofschemes for transmitting and playing             mum value among frame rate attributes of all representations
   back multimedia content such as sounds, moving images,                 within a group , and an attribute indicating a maximum value
   and the like. A clientmay play back content while receiving 30 According to another
                                                                                   rate

                                                                                          aspect of the present invention ,
   the content through the streaming.
      An adaptive streaming service refers to providing a there is provided a terminal, including : an access engine to
   streaming service employing a communication scheme with receive metadata ofmedia including one or more periods, to
   a request of a client and a response of a server in response  receive segments of the media based on information pro
   to the request.                                               vided by the metadata, and to output the media by decoding
      The clientmay request a media sequence suitable for an 35 data of the media that is included in the segments ; and a
   environment of the client ( for example , a transmission media engine to receive the data of the media from the
    channel of the client), using the adaptive streaming service .        access engine, and to output the media , wherein each of the
    The server may provide a media sequence matched to the     periods includes one or more groups , each of the groups
   request of the client among media sequences with various    includes one or more representations of the media , and each
   qualities that are included in the server.               40 of the representations is a structured collection of one or
      The adaptive streaming service may be provided based on             more media components within a period , and includes one
   various protocols .                                                    or more segments .
      A Hypertext Transfer Protocol (HTTP ) adaptive stream       According to still another aspect of the present invention ,
   ing service refers to an adaptive streaming service provided there is provided a method by which a terminal requests
   based on an HTTP protocol. A client of the HTTP adaptive 45 content through Hypertext Transfer Protocol (HTTP )
   streaming service may receive content from a server using              streaming to receive the content through the HTTP stream
   the HTTP protocol, and may transmit a request associated               ing , the method including : transmitting , to a server , a trans
   with a streaming service to the server.                                mission request message including attributes of the terminal;
                                                                          receiving, from the server, a specific Media Presentation
                  DISCLOSURE OF INVENTION                              50 Description (MPD ) suitable for the terminal, the specific
                                                                          MPD including descriptions of representations of the con
                         Technical Goals                                  tent; selecting an appropriate representation from among the
                                                                          representations in the specific MPD , based on the descrip
      An aspect of the present invention provides an apparatus            tions of the representations ; and requesting the server to
   and method that may efficiently divide and transmit media 55 transmit content corresponding to the selected representa
    information for a purpose of use of a terminal in an active tion .
   Hypertext Transfer Protocol (HTTP ) streaming, by using         The transmission request message may be an HTTP
   general media information and specific media information . request message , the attributes to may be transferred as
      Another aspect of the present invention provides an parameters of the HTTP request message , and the HTTP
   apparatus and method that may use a group element that 60 request message may transfer parameters representing the
   provides a summary of attributes of one or more represen               attributes to the server using a query of an HTTP .
   tations included in a group in an active HTTP streaming .                 The attributes may be transferred as parameters of the
                                                                          HTTP requestmessage , and the HTTP requestmessage may
                        Technical Solutions                               include the parameters in an HTTP header and may transfer
                                                                       65 the parameters representing the attributes to the server.
      According to an aspect of the present invention , there is             The attributes may include a capability of the terminal and
   provided a method for providing media , the method includ -            a preference of the terminal.
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                                                        US 10 , 356 , 145 B2
      The attributes may include a minimum bandwidth , a             The selecting of the specific MPD may include determin
   maximum bandwidth , and an average bandwidth of a net -        ing whether each of the one or more specific MPDs is
   work resource that are acceptable by the terminal, may suitable, based on the parameters .
   include a vertical resolution and a horizontal resolution of      The parameters may include a view identifier ( ID ) of
   the terminal, and may include a frame rate of the terminal. 5 multi-view video of the content, and may include a com
      The specific MPD may include Uniform Resource Iden - plexity and quality of audio /video of the content.
   tifiers (URIs) of the descriptions.                              The requesting for the one or more content representa
      The requesting may include requesting the server to tions may include requesting the server to transmit the one
   transmit the content corresponding to the selected represen - or more content representations of the content adapted to the
   tation , using a URI of the selected representation .                    use of the terminal, using the selected specific MPD , after a
      According to yet another aspect of the present invention ,            predetermined period of time elapses.
   there is provided a method for providing content through                    According to a further aspect of the present invention ,
   HTTP streaming, the method including: receiving , from a                 there is provided a method for providing content through
   terminal, a transmission request message including attri- 16 HTTP streaming, the method including : receiving a trans
   butes of the terminal; transmitting , to the terminal, a specific        mission request message from a terminal; transmitting a
   Media Presentation Description (MPD ) suitable for the                    general MPD to the terminal, the general MPD including
   terminal based on the attributes , the specific MPD including            parameters to describe each of one or more specific MPDs;
   descriptions of representations specific to a predetermined              receiving, from the terminal, a request for a specific MPD
   category of the terminal, and URIs of the specific represen - 20         selected from among the one or more specific MPDs, the
   tations ; receiving , from the terminal, a request for content           selected specific MPD including descriptions of representa
   corresponding to a representation selected by the terminal,              tions specific to a predetermined category of terminals and
   the content corresponding to the selected representation                 URIs of the specific representations ; transmitting the
   being requested via a URI of the selected representation in              selected specific MPD to the terminal ; receiving , from the
   the specific MPD ; and transmitting the content correspond - 25 terminal, a request for one or more content representations
   ing to the selected representation to the terminal through the  adapted to the use of the terminal among the specific
   HTTP streaming.                                                          representations; and transmitting the one or more content
     The method may further include analyzing the attributes                representations to the terminal.
   and generating the specific MPD suitable for the terminal.       The method may further include receiving , from the
      The specific MPD may be generated based on a general 30 terminal, a request for content corresponding to a represen
   MPD , and the general MPD may include descriptions of all tation selected from among the one or more content repre
   representations of the content, and URIs of all of the sentations , and transmitting, to the terminal, the content
   representations .                                             corresponding to the selected representation through the
      The method may further include analyzing the attributes 35 HTTP streaming .
   and selecting the specific MPD suitable for the terminal
   from among specific MPDs that are generated in advance .                       Effect of the Invention
      According to a further aspect of the present invention ,
   there is provided a method by which a terminal requests                     According to embodiments of the present invention , it is
   content through HTTP streaming to receive the content un possible to efficiently divide and transmit media information
   through the HTTP streaming, the method including : trans                 for a purpose of use of a terminal in an active Hypertext
   mitting a transmission request message to a server ; receiving           Transfer Protocol (HTTP ) streaming, by using general
   a generalMPD from the server, the generalMPD including                   media information and specific media information .
   parameters to describe each of one or more specific MPDs;                  Additionally , according to embodiments of the present
    selecting a specific MPD from among the one or more 45 invention , it is possible to use a group element that provides
   specific MPDs based on the parameters, the specific MPD   a summary of attributes of one or more representations
    including representations of the content; requesting the included in a group in an active HTTP streaming .
   server to transmit the selected specific MPD ; receiving the
   selected specific MPD from the server; requesting the server                      BRIEF DESCRIPTION OF DRAWINGS
   to transmit one or more content representations of the 50
   content adapted to the use of the terminal, using the selected             FIG . 1 is a diagram illustrating different types of Media
   specific MPD ; and receiving, from the server, the one or                Presentation Description (MPD ) according to an embodi
   more content representations.                                            ment of the present invention .
      The method may further include selecting an appropriate                  FIG . 2 is a flowchart illustrating a server -driven content
   representation from among the one or more content repre - 55 transmission negotiation method according to an embodi
   sentations , requesting the server to transmit content corre -           ment of the present invention .
   sponding to the selected representation using the selected                 FIG . 3 is a flowchart illustrating a terminal- driven content
   representation , and receiving, from the server, the content             transmission negotiation method according to an embodi
   corresponding to the selected representation through the                 ment of the present invention .
   HTTP streaming.                                                     60      FIG . 4 is a diagram illustrating a configuration of a server
      The method may further include receiving an update of                 100 according to an embodiment of the present invention .
   the specific MPD from the server.                                          FIG . 5 is a diagram illustrating a configuration of a
      The parameters may include a Uniform Resource Locator                 terminal 110 according to an embodiment of the present
    (URL ) indicating a location of the specific MPD .           invention .
      The requesting for the selected specific MPD may include 65 FIG . 6 is a signal flowchart illustrating a method for
   requesting the server to transmit the selected specific MPD              providing media according to an embodiment of the present
   using a URL of the selected specific MPD .                               invention .
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                                                     US 10 ,356 ,145 B2
      FIG . 7 is a diagram illustrating a configuration of the        write theMPD of the media presentation , and the server and
   terminal 110 according to an embodiment of the present             the terminal need to perform negotiation for transmission of
   invention .                                                        the MPD .
                                                                         The MPD may define a format to announce resource
           BEST MODE FOR CARRYING OUT THE                           5 identifiers for segments . The MPD may provide a context for
                     INVENTION                                        identified resources within the media presentation . The
                                                                      resource identifiers may be HTTP -Uniform Resource Loca
     Reference will now be made in detail to embodiments of tors (URLs). URLs may be restricted by a byte range
   the present invention , examples of which are illustrated in attribute .
   the accompanying drawings, wherein like reference to 10 Each intervalmay be divided into fragments .
   numerals refer to the like elements throughout. The embodi-     Fragments may be interchangeable with segments . The
   ments are described below in order to explain the present term segmentmay be used as a term of 3GPP adaptive HTTP
   invention by referring to the figures.                       streaming.
      A Dynamic Adaptive Streaming overHTTP (DASH )may                  A segment may refer to an entity body of a response to an
   specify formats that enable 1) delivery of media content           HTTP / 1. 1 GET request for an HTTP -URL , for example as
   from an HTTP server to an HTTP client, and enable 2 )              defined in RFC 2616 , (or a partial GET request for a part
   caching of content by standard HTTP cashes .                  indicated by a byte range ).
       A media component may be an encoded version of               A sub -segment may refer to a smallest unit within seg
   individual media types, such as audios , videos, or timed 20 ments that may be indexed by a segment index at the
   texts with specific attributes, for example bandwidths, lan - segment level.
   guages, or resolutions .                                         Two or more sets of fragments corresponding to a single
      Media content may be a set ofmedia components having interval may exist. Each of the sets may be called an
   a common timeline, for example audios, videos, or timed alternative.
   texts. Additionally, media components may have relation - 25 An alternative may be interchangeable with a represen
   ships on how the media components may be presented ( fortation .
   example , individually , jointly , or mutually exclusive ) as    Each period may include one or more groups.
   programs or movies .                                            Each group may include one or more representations of
     Media content and content may be used as interchange        are same media content.
   able terms.                                                30    A representation may refer to a structured collection of
      A media presentation may be a structured collection of one or more media components within a single period . A
   data used to establish bounded or unbounded presentation of representation may be one of alternative choices of the
   media content including components of continuous media .           media content or a subset of the media content typically
      In other words, the media presentation may be a struc - of differing by the encoding choice , for example by a bitrate , a
   tured collection of data that is accessible to a DASH client » resolution , a language, a codec , and the like . In other words ,
   in order to provide a streaming service to a user.             the representation may represent a combination of video ,
      A Media Presentation Description (MPD ) may be a for -          audio , languages, and the like that may constitute media .
   malized description for a media presentation . The MPD may            An MPD ( or an MPD element) may provide descriptive
   be an MPD of a “ Dynamic Adaptive HTTP Streaming of 40 information that enables a client to select one or more
   MPEG (DASH ) ."                                        representations .
      The media presentation may be described by an MPD     Each representation may be formed of one or more
   including possible updates of the MPD .                segments. In other words, a representation may include one
      Content may be content on demand , or live content.          or more segments .
      The content may be divided into one or more intervals . In 45 An MPD may be a document including metadata required
   other words, the contentmay include one ormore intervals . to a DASH client to form appropriate HTTP -URLs in order
   Intervals may be interchangeable with periods . The term        to 1) access segments and to 2 ) provide a user with a
   period may be used as a term of 3rd Generation Partnership      streaming service . The HTTP -URLs may be absolute or
   Project ( 3GPP ) adaptive HTTP streaming .                      relative .
      A period may be an interval of a media presentation . A 50 The MPD may be an Extensible Markup Language
   sequence of all periods may constitute themedia presenta - (XML )-document.
   tion .                                                          The MPD may include an MPD element. The MPD may
      In other words , themedia presentation may include one or include only a single MPD element.
   more periods ,                                                FIG . 1 illustrates different types of MPD according to an
     One or more intervals may be a basic unit. One or more 55 embodiment of the present invention .
    intervals may be described by signaling metadata . In other          The server 100 may transfer an MPD as a single large file
   words , metadata may describe each of the one or more               to the terminal 110 .
   intervals .                                                    Generally , only a few representations among MPDs pro
      The metadata may be an MPD .                              vided by the server 100 may be suitable for the terminal 110.
      The MPD may include description of a representation (or 60 Accordingly , for transmission of a file in the entire
   an expression ) of all possible media to be transmitted to all     session , a network resource ( for example, a bandwidth , and
   types of clients . In other words, the MPD may include             the like ) may be wasted . Additionally , the terminal 110 may
   description of combinations of video , audio , languages, and      waste processing power to search for an available media
   the like that may be used by all types of clients. To provide representation (for example , a client needs to at least parse
   an adaptive streaming service employing an HTTP , a server 65 the entire description file ). Therefore , there is a need for a
   needs to transmit an MPD of a media presentation to a method that may efficiently transmit a list file to minimize
   terminal 110 . To transmit the MPD , a server 100 needs to    resource waste .
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                                                          US 10 , 356 , 145 B2
      The server 100 (namely , a provider ) may generate (in                                    TABLE 1 - continued
   advance , or on the fly ) differentMPDs for different catego
   ries of the terminal 110 (namely, a client).                         Name         Description
      The first type ofMPD may be a “ generalMPD 120 ." The             averBand     Average bandwidth of a network resource acceptable by
   general MPD 120 may be called a first MPD .                          width
                                                                                     a terminal (in Mbps)
                                                                                     Horizontal resolution of a terminal screen (in pixels)
      The general MPD 120 may include description of all                height       Vertical resolution of a terminal screen (in pixels )
   representations of content, and Uniform Resource Identifiers          framerate   Maximum video frame rate supported by a terminal
   (URIs) of all of the representations.                                lang         Language code ofmedia content supported by a
      Additionally , the provider 100 may include “ specific                         terminal (language code may conform to RFC 5646 )
   MPD ( s ) 130” as the second type . Thee specific MPD 130 may 10     mime         Multipurpose Internet Mail Extensions (MIME) type
                                                                                     supported by a terminal.
   include only descriptions of representations specific to a                         The MIME type may include codec parameters for all
   certain category of the terminal 110 , and URIs of the specific                   media types.
   representations.                                                                  Codec parameters may include profile and level
                                                                                     information .
      For example , the provider 100 may have three specific 15          –
   MPDs 132 , 134 , and 136 for three categories of the terminal
    110 (namely, a High -Definition TeleVision (HDTV ) , a Per             Parameters other than the parameters of Table 1 may be
    sonal Computer (PC ), and a mobile phone). The specific             added, to support features of content (for example, a view
   MPD 132 , 134 , or 136 may be called a second MPD .                  identifier ( ID ) of a multi -view video , a complexity and
      Clearly, no mobile phone may take into consideration 20            quality of audio /video , and the like).
   representations used for an HDTV.                                         Based on the specific attributes, the server 100 may
      Actually , the provider 100 may have a specific description       transmit, to the terminal, the specific MPD 130 suitable for
   that provides hints so that to thee terminal
                                       terminal 110
                                                 110 may select
                                                            select      the terminal 110 .
   appropriate representations from an MPD ( in particular, the        In operation 220 , the server 100 may generate the specific
   generalMPD 120).                                              25
      In particular, the description may provide a list of com specific130attributes
                                                                    MPD         suitable for the terminal 110 by analyzing the
                                                                                       of the terminal 110 . The server 100 may
   positions. Each of the compositions may indicate represen generate the specific         MPD 130 based on the general MPD
   tations (or groups of a representation ) that may be used for    120  .
   a given purpose (for example , for a French -speaking user
   using a mobile phone ).                                       30 Alternatively, the server 100 may analyze the specific
      FIG . 2 is a flowchart illustrating a server- driven content      attributes of the terminal 110 , to and may select a specific
   transmission negotiation method according to an embodi               MPD 130 suitable for the terminal 110 from among specific
   ment of the present invention .                                      MPDs 130 that are generated in advance .
      The server- driven content transmission negotiation                 In operation 230 , the server 100 may transmit , to the
   method may be based on a general server -driven transmis - 35 terminal 110 , the specific MPD 130 that is generated or
   sion negotiation scheme according to an HTTP / 1 . 1 technol - selected .
   ogy .                                                                 In operation 240 , the terminal 110 may select an appro
      In operation 210 , the terminal 110 may transmit , to the priate
   server 100 , a transmission request message including several within representation       from among representations of content
                                                                              the specific MPD 130 . In other words, the terminal
   specific attributes (for example , capabilities and preferences 40 110 may select a content version based on descriptions of
   of the terminal 110 ).                                             representations.
      The transmission request message may be an HTTP
   requestmessage . Additionally, the specific attributes may be         In operation 250 , the terminal 110 may send , to the server
   transferred as parameters of the HTTP request message .          100 , a request for content corresponding to the selected
      The HTTP request message may transfer parameters 45 representation , using a URI of the selected representation
   representing the specific attributes to the server 100 , using a (namely , a URL associated with the selected representation ).
   query of an HTTP.                                                       In operation 260, the server 100 may transmit, to the
       The HTTP requestmessage may include parameters in an             terminal 110 , the content corresponding to the selected
   HTTP header, and may transfer parameters representing the representation through HTTP streaming.
   specific attributes to the server 100 .                           50
                                                                           FIG . 3 is a flowchart illustrating a terminal -driven content
       The specific attributes (namely, parameters ) included in transmission negotiation method according to an embodi
   the transmission requestmessage may enable the server 100 ment of the present invention .
   to verify capabilities and preferences of the terminal 110 .
       Table 1 shows examples of specific attributes (namely , 55 method   The terminal -driven content transmission negotiation
   parameters)                                                                   may be based on a general terminal-driven trans
                                                                        mission negotiation scheme according to the HTTP /1 . 1
                                  TABLE 1                               technology.
   Name         Description
                                                                           In operation 310, the terminal 110 may transmit , to the
                                                                        server 100 , a basic transmission request message .
   capability Information associated with a capability of a terminal 60 In operation 320 , the server 100 may transmit the general
   preference Information associated with a preference of a terminal    MPD 120 to the terminal 110 .
                or a user of a terminal
   minBand Minimum bandwidth of a network resource acceptable              The terminal 110 may retrieve the general MPD 120, and
               by a terminal (namely ,minimum bandwidth of network      may use the general MPD 120 to immediately receive
               connection of a terminal) (in Mbps )                  65 appropriate content lists .
   maxBand     Maximum bandwidth of a network resource acceptable
               by a terminal (in Mbps)                                     The general MPD 120 may be a parameter to describe
                                                                        each of the specific MPDs 130 .
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                                                          US 10 , 356 , 145 B2
                                                                                                                       10
      Parameters used to describe the specific MPD 130 may be                                                  TABLE 2 - continued
   represented in an XML format. The parameters may be                                             Description
   represented by a “ SpecificMPD element.” The SpecificMPD                      Name
   element may be of a “ SpecificMPDType ” type .                                component          The group of parameters may have a plurality of
      Table 2 shows an example of the SpecificMPD element                        representations   instances. In other words, the group of parameters
                                                                                                   may appear several times in the general MPD 120 .
                                                                                                   Each of the plurality of instances corresponds to a group
                              TABLE 2                                                              of MPD .
                                                                                                   The group of parameters may be represented in the XML
   Name         Description                                                                        by a " ComponentRepresentations” element, as shown in
                                                                           10                       Table 3 below .
   URL          Indicates location of specific MPD 120 .
                Each specific MPD 120 may be associated with the URL                The following Table 3 showsattributes of a group element
                indicating the location of the specific MPD 120 .             as an example of parameters about component representa
                If specific MPD 120 is not generated in advance               tions.
                parameter may be absent.
                                                           yance,, aa URL
                                                                      URL 1515 The MPD may include a group element describing a
                                                                                 group . The group elementmay provide a summary of values
   parameters   Parameters about component representations correspond            of attributes of all representations within a group described
   about        to a group of parameters.                                        by the group element. The above - described parameters may
                                                                                 include attributes of a group element described in Table 3 .
                                                                                                           TABLE 3
                                                              Parameter Name
                                                               (or Attribute )       Occurrence Description                              XML representation
                                                               group                                 Indicates an ID of a group.         unsignedInt
                                                               replDs                0 ... 1         Indicates a list of                 string
                                                                                                     representation IDs.                 including a list
                                                                                                                                         of
                                                                                                                                         representation
                                                                                                                                         IDs that are
                                                                                                                                         separated by
                                                                                                                                         white spaces
                                                              minBandwidth           0 ... 1         Indicates a minimum value           unsignedInt
                                                                                                     among bandwidth attributes of
                                                                                                     all representations in a group .
                                                              maxBandwidth           0 ... 1         Indicates a maximum value           unsignedInt
                                                                                                     among bandwidth attributes of
                                                                                                     all representations in a group.
                                                              minWidth               0 . .. 1        Indicates a minimum value           unsignedInt
                                                                                                     among horizontal resolution
                                                                                                     attributes of all representations
                                                                                                     in a group. The horizontal
                                                                                                     resolution may be counted in
                                                                                                     pixels .
                                                              maxWidth               0 ... 1         Indicates a maximum value         unsignedInt
                                                                                                     among horizontal resolution
                                                                                                     attributes of all representations
                                                                                                     in a group.
                                                              minHeight              0 . .. 1        Indicates a minimum value           unsignedInt
                                                                                                     among minimum height
                                                                                                     attributes of all representations
                                                                                                     in a group. The vertical
                                                                                                     resolution may be counted in
                                                                                                     pixels.
                                                              maxHeight              0 ... 1         Indicates a maximum value           unsignedInt
                                                                                                     among maximum height
                                                                                                     attributes of all representations
                                                                                                     in a group.
                                                              minFrameRate           0 ... 1         Indicates a minimum value      unsignedInt
                                                                                                     among frame rate attributes of
                                                                                                     all representations in a group .
                                                              maxFrameRate           0 ... 1         Indicates a maximum value           unsignedInt
                                                                                                     among frame rate attributes of
                                                                                                     all representations in a group .
                                                              lang                   0 . .. 1        Declares language code(s ) of a     string
                                                                                                     corresponding representation .
                                                                                                     Language code may conform
                                                                                                     to Request for Comments
                                                                                                     (RFC ) 5646 .
                                                              mimeType               0 ... 1         Gives MIME type of a group .        string
                                                                                                      The MIME type may include
                                                                                                     codec parameters for allmedia
                                                                                                     types.
                                                                                                     Codec parameters may include
                                                                                                     profile and level information .
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                                                           US 10 , 356 , 145 B2
                                   11                                                                                12
     A group (or a representation group )may correspond to the                  Later on , the terminal 110 may receive, from the server
   specific MPD 130 . In other words, “ representations in a                  100 , an update of only the specific MPD 130 , not the general
   group (or one or more representations included in a group )”               MPD 120 . Periods where the update is performed may be
   may refer to " representations included in the specific MPD                called second periods or backend periods.
    130.”                                                                5
                                                                                 In operation 380, the terminal 110 may select an appro
      When the specific MPD 130 includes one or more periods ,                priate representation from among the requested content
   a minimum parameter (or a maximum parameter) may be a                      representation (s ).
   minimum value (or a maximum value ) across the periods.
       The parameters of Table 3 may be extended to support 10 100In, operation
                                                                           a request
                                                                                     390, the terminal 110 may send, to the server
                                                                                      for content corresponding to the selected
   other features of content (for example , a view ID of a representation , using           a URL of the selected representation .
   multi- view video , a complexity and quality of audio / video ,
   and the like ). In the XML format, syntax elements “ xs:             In operation 395 , the server 100 may transmit , to the
   any Attribute ” and “ xs :any ” may be used to support the terminal 110, the content corresponding to the selected
   scalability.                                                      representation through HTTP streaming.
        The SpecificMPD elementmay be used in different places          The following Table 4 shows an example of a location of
   ( or different parts ).                                           the ‘SpecificMPD ' element, ' ComponentRepresentation
       For example, the Specific MPD element may be used in sType' complexType , ‘MPDtype ' complexType , and the
   the general MPD 120 . In this example , a Specific MPDs SpecificMPDs element in the general MPD 120 .
   element may include a plurality of instances of the Specific - 20
   MPD element.                                                                                                  TABLE 4
     Additionally, the Specific MPDs elementmay be added as
   a direct child element of the general MPD 120 .                            < ?xml version = " 1.0 " encoding= "UTF - 8" ?>
                                                                              < xs :schema
     Each of the instances of the SpecificMPD elementmay be                   targetNamespace =" urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009 ”
   used to reference the specific MPD 130 .                              25     attribute Form Default = " unqualified
      Additionally, each of the instances of the SpecificMPD                    elementFormDefault =" qualified ”
   elementmay be used to select an appropriate representation                   xmlns:xs= " http ://www .w3. org /2001/XMLSchema"
                                                                                xmlns= " urn : 3GPP:ns :PSS :Adaptive HTTPStreamingMPD : 2009" >
   from the general MPD 120 . For example , when repID exists                   <xs:annotation >
   in an instance , the terminal 110 may go directly to repre                      < xs:appinfo >Media Presentation Description </ xs :appinfo >
   sentations described by the instance of the SpecificMPD 30                      < xs:documentation xml: lang = " en" >
   element.                                                                           This Schema defines 3GPP Media Presentation Description !
                                                                                   < / xs :documentation >
     The server 100 may transmit, to the terminal 110, the                       </xs:annotation >       < ! -- MPD : main element -- >
   generalMPD 120 including only the SpecificMPDs element.                       < xs:element name= "MPD " type = "MPDtype" />
   Here , the terminal 110 may need to first receive the specific                <xs: element name=" SpecificMPD " type =" SpecificMPDType" />
   MPD 130 to obtain information regarding specific represen - 35                < / xs :complexType >
   tations .                                                                     <xs:complexType name =" ComponentRepresentations Type” >
      The SpecificMPD elementmay be used in other places (or
   parts). The SpecificMPD elementmay be used in a separate                      < /xs:complexType >
   description of typical combinations of representations ( for                  < !-- MPD Type -- >
   example , composition description ). Here , each composition 40               < xs:complexType name=" MPDtype” >
   may be associated with the specific MPD 130 (for example ,                    </ xs:complexType >
   the SpecificMPD element is used as a child element of a                       <xs:complexType name= " SpecificMPDsType” >
   combination element).
      In operation 330 , the terminal 110 may select the specific                </xs :complex Type >
   MPD 130 .                                                             45 "
      The terminal 110 may decide whether the related specific                </xs:schema >
   MPD 130 is suitable for the terminal 110 , based on the
   parameters about component representations, and may select
   the specific MPD 130 based on the decision .                                   Table 5 shows syntax of the SpecificMPD element.
      In operation 340 , the terminal 110 may send , to the server 50
   100 , a request for the selected specific MPD 130 .                                                     TABLE 5
      The terminal 110 may request the server 100 to transit the
   selected specific MPD 130 , using a URL of the selected                    <xs:element name=" SpecificMPD ” type =" SpecificMPDType" />
   specific MPD 130 .                                                 < !-- Information about specific MPD -- >
                                                                      <xs.complexType name= " SpecificMPDType” >
      In operation 350 , the server 100 mayy transmit
                                             transmit the selected 55
                                                      the selected "      <xs:sequence>
   specific MPD 130 to the terminal 110 .                                  <xs:element minOccurs = “ 0 ” name= "MPDURL " type = " xs :anyURI” >
       The terminal 110 may receive the selected specific MPD                     < xs:element           minOccurs = “ 0 ”
                                                                              name= " ComponentRepresentations”
                                                                                                                                maxOccurs = " unbounded ”
    130 from the server 100 .                                                 type= " xs:ComponentRepresentations Type " />
     In operation 360, after a predetermined period of time ( for       < xs:any namespace = " #Hother”
   example , a duration or first period of the general MPD 120 ) 60 processContents =“ lax” minOccurs =“ 0 ”
   elapses, the terminal 110 may send , to the server 100, a                  maxOccurs = " unbounded " />
   request for content representation ( s ) adapted to use of the                < xs :sequence >
                                                                                  <xs:anyAttribute namespace = “ # other” processContents =“ lax ” />
   terminal, by using the specific MPD 130 .                                  < /xs:complexType >
      In operation 370 , the server 100 may transmit, to the
   terminal 110 , the requested content representation (s ). 65
      The terminal 110 may receive the content represe                            Table 6 shows syntax of ComponentRepresentations Type
   ntation (s) from the server 100 .                                          complexType.
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                                                                             US 10 , 356 , 145 B2
                                             13                                                                            14
                                         TABLE 6                                                 The transceiver 420 may receive , from the terminal 110 ,
                                                                                              a requestmessage , a request for a specific MPD , a request
    < xs:complexType name= " ComponentRepresentations Type” >                                 for content representations, a request for content, and the
      < xs :sequences
        < xs :any namespace = “ # # other” process Contents =" lax ”                          like, to and may transmit , to the terminal 110 , the general
   minOccurs = " 0 " maxOccurs = " unbounded " >                                              MPD 120 , the specific MPD 130 , a representation of con
      < /xs :sequence >                                                                       tent, and content corresponding to a selected representation .
      <xs:attribute name=" group " type = " xs:unsignedInt" >                                    Technical information according to the embodiments of
      < xs : attribute name= " replDs" type = " xs :string" />
      < xs:attribute name = " minBandwidth "          CE            edInt"                    the present invention described above with reference to
     use = " required" >                                                                    FIGS. 1 through 3 may equally be applied to the present
      <xs: attribute name= " maxBandwidth ” type = " xs:unsignedInt"                     10 embodiment. Accordingly , further description thereof will
     use = " required” >                                                                    be omitted .
      <xs: attribute name= " minWidth ” type= " xs :unsignedInt" />                           FIG . 5 is a diagram illustrating a configuration of the
      <xs: attribute name= " maxWidth ” type = " xs:unsignedInt" >
      < xs:attribute name = "minHeight” type = " xs:unsignedInt" />                         terminal 110 according to an embodiment of the present
      < xs:attribute name= " maxHeight ” type = " xs :unsignedInt" />                         invention .
      < xs: attribute name= " minFramerate " type = " xs:unsignedInt" />                 15      The server 100 may include a controller 510 , and a
      < xs:attribute name="maxFramerate” type =" xs:unsignedInt" />                           transceiver 520 .
      < xs:attribute name =" lang" type = " xs :string " />
      < xs:attribute name= " mimeType" type = " xs:string” use = " required " />                 The controller 510 may perform processing in response to
      < xs:anyAttribute namespace = " # # other” process Contents = " lax ” >                 a request from the server 100 , and may generate an indi
   < /xs:complexType >                                                                        vidual that is to be transmitted to the server 100 .
                                                                                         20      The controller 510 may generate a transmission request
       Table 7 shows syntax ofMPDtype complexType.                                            message , and may perform processing, analyzing, and
                                                                                              selecting of the general MPD 120 , the specific MPD 130 , a
                                         TABLE 7                                              representation of content, and the like that are received from
   < xs :complexType name= "MPDtype” >
                                                                                              the server 100 .
      < xs :sequence >
                                                                                         25     The transceiver 520 may transmit, to the server 100 , a
        < xs:element         minOccurs =“ 0”            name= “ Program Information ”         request message , a request for a specific MPD , a request for
   type= " ProgramInformation Type” >                                                         content representations , a request for content, and the like ,
            < xs :element
   type = " SpecificMPDsType" />
                                    minOccurs =“ 0 ”        name= " SpecificMPDs”             and may receive , from the server 100 , the generalMPD 120 ,
           < xs :element maxOccurs = " unbounded ” name= " Period ”                      the specific MPD 130 , a representation of content, and
           type= " PeriodType" />                                                     30 content corresponding to a selected representation .
            < xs :any namespace = " # # other ” processContents = " lax ”                   Technical information according to the embodiments of
   minOccurs = “ 0 ” maxOccurs = " unbounded ” />                                        the present invention described above with reference to
       < /xs:sequence >                                                                  FIGS. 1 through 4 may equally be applied to the present
        < xs :attribute default = " OnDemand” name= " type "
       type = " Presentation Type" />                                                    embodiment. Accordingly, further description thereof will
       < xs:attribute name= " availabilityStartTime” type = " xs :dateTime" />        35 be omitted .
        < xs:attribute name = " availabilityEndTime” type = " xs:dateTime" />               FIG . 6 is a signal flowchart illustrating a method for
        < xs:attribute name= " mediaPresentationDuration ” type = " xs :duration " />    providing media according to an embodiment of the present
        < xs:attribute name = "minimumUpdatePeriodMPD " type =" xs:duration " />
        < xs:attribute name = "minBufferTime” type = " xs:duration "                     invention .
       use = " required " >                                                                 In operation 610 , the terminal 110 may receive , from the
        < xs:attribute name= " timeShiftBufferDepth ” type = " xs :duration " >       40 server  100 , 1 ) metadata ofmedia ( or content), or 2 ) metadata
        < xs:attribute name= " baseUrl" type = " xs :anyURI” >                           of a specific period (or a specific interval) of the media . In
        < xs:any Attribute namespace =“ # # other” process Contents = " lax " />
    < /xs:complexType>                                                                   other words, the server 100 may transmit, to the terminal
                                                                                              110 , 1 ) the metadata of the media , or the metadata of the
       Table 8 shows syntax of the SpecificMPDs element.                                      specific period of the media . Themedia may include one or
                                                                                         45 more periods, and the specific period may indicate a cur
                                                                                              rently processed period among the one or more periods of
                                        TABLE 8                                               the media .
        < xs :complexType name= " SpecificMPDsType" >                                            The metadata may be media information .
           <xs:sequence >                                                                      In operation 620 , the terminal 110 may process the
             < xs:element      maxOccurs = “ unbounded”                                  50 metadata of the specific period . In operation 620 , the ter
        name =" SpecificMPD " type = " xs :SpecificMPDType" />                                minal 110 may extract information provided by the meta
             <xs:any namespace =“ # # other” processContents = " lax ”
        minOccurs = “ 0” maxOccurs = " unbounded ” >                                          data .
           < / xs : sequence >
           < xs :any Attribute namespace = " # # other ” processContents = " lax " / >
                                                                                                 In operations 630 through 650 , the terminal 110 may
        < /xs :complexType >
                                                                                              access segments of the media , based on the information
                                                                                         55 provided by the metadata . Here, each of the periods may
                                                                                              include one or more groups , and each of the groups may
      FIG . 4 is a diagram illustrating a configuration of the                                include one or more representations of the media . Each of
   server 100 according to an embodiment of the present                                       the representations may include one or more segments.
   invention .                                                                                   The metadata may describe a group element describing a
       The server 100 may include a controller 410 , and a 60 group .
   transceiver 420 .                                            In operation 630 , the terminal 110 may send , to the server
      The controller 410 may perform processing in response to                                100 , a request for segments. The terminal 110 may request
   a request from the terminal 110 , and may generate an                                      the server 100 to transmit segments suitable for the specific
   individual that is to be transmitted to the terminal 110 .                                 period based on the processed metadata . In other words, the
      The controller 410 may generate the general MPD 120 , 65 requested segments may be selected based on themetadata .
   the specific MPD 130 , a representation of content, and the   In operation 640 , in several cases , the server may need to
   like.                                                                                      parse media ( for example , an MPEG layer 4 (MP4 ) file for
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                                                       US 10 , 356 , 145 B2
                                  15                                                                    16
   Scalable Video Coding (SVC )), and to extract a data part             opticalmedia such as CD ROM disks and DVDs; magneto
   suitable for the requested segments .                                 optical media such as optical discs; and hardware devices
      In operation 650, the server 100 may transmit, to the              that are specially configured to store and perform program
   terminal 110 , segments suitable for each request from the ins
                                                              instructions, such as read -only memory (ROM ), random
   terminal 110 . The terminal 110 may receive the segments 5 access memory (RAM ), flash memory , and the like.
   from the server.                                                      Examples of program instructions include both machine
      In operation 660, the terminal 110 may perform decoding            code , such as produced by a to compiler, and files containing
   and rendering on data of the media included in the segments ,         higher level code that may be executed by the computer
   to play back the media .                                   using an interpreter. The described hardware devices may be
      The terminal 110 may play back the media using the 10 configured to act as one or more software modules in order
   received segments by repeating operations 610 through 660. to perform the operations of the above - described embodi
      Technical information according to the embodiments of              ments of the present invention , or vice versa .
   the present invention described above with reference to                 Although a few embodiments of the present invention
   FIGS. 1 through 5 may equally be applied to the present               have been shown and described , the present invention is not
    embodiment. Accordingly , further description thereof will 15 limited to the described embodiments . Instead , it would be
   be omitted .                                                          appreciated by those skilled in the art that changes may be
     FIG . 7 is a diagram illustrating a configuration of the           made to these embodiments without departing from the
   terminal 110 according to an embodiment of the present                principles and spirit of the invention , the scope of which is
   invention .                                                  defined by the claims and their equivalents .
      The terminal 110 may include an access engine 710 , and 20 The invention claimed is :
   a media engine 720 .                                            1 . A method of providing media content performed by a
      The access engine 710 may be a DASH access engine .                server or multiple servers , the method comprising :
      The access engine 710 may receive metadata ( for                     receiving a request for the media content from a client
   example , an MPD ) from the server 100 .                                   based on a media presentation description (MPD ) with
      The access engine 710 may form requests , and may issue 25              respect to the media content; and
   the formed requests to the server 100 . The access engine 710           providing a segment of media content through streaming
   may receive media (for example , segments or parts of the                  to the client in response to the request,
   segments ) from the server 100 .                                        wherein the MPD includes one or more periods,
      The access engine 710 may receive segments of the media              wherein the period includes one or more groups,
   based on information provided by the metadata . Here, each 30           wherein the group includes one or more representations ,
   period may include one or more groups, and each of the                  wherein the representation includes one or more seg
   groups may include one or more representations of the                     ments,
   media . Each of the representations may include one or more             wherein the group includes one or more group elements
   segments.                                                                  for each of the groups, and
      The access engine 710 may provide the media to the 35                wherein a group element provides a summary of values of
   media engine 720 . The access engine 710 may decode data                    all representations with a group .
   of the media that is included in the segments.                          2 . The method of claim 1, wherein the group element
      An output of the access engine 710 may include media (or           includes at least one of ( i) an ID of the group , ( ii ) a
   parts of the media ) of an MPEG container ( for example , an         minBand Width indicating a minimum value among band
    ISO /IEC 14492 -12 ISO base media file format, or an ISO / 40 width attributes of all representations in the group, (iii ) a
   IEC 13818 - 2 MPEG - 2 TS ). Additionally, the output of the         maxBandwidth indicating a maximum value among band
   access engine 710 may include timing information used to             width attributes of all representations in the group , (iv ) a
   map internal timing of the media to a timeline of a media            min Width indicating a minimum value among width attri
   presentation .                                                butes of all representations in the group , (v ) a max Width
      The media engine 720 may play back the provided media . 45 indicating a maximum value among width attributes of all
   Specifically , the media engine 720 may receive data of the representations in the group , (vi) a minHeight indicating a
   media from the access engine , and may output the media . minimum value among height attributes of all representa
    The media engine 720 may output the media using the data            tions in the group , (vii ) a maxHeight indicating a maximum
   of the media and the timing information that are output from          value among height attributes of all representations in the
   the access engine 710 .                                            50 group , (viii ) a minFrameRate indicating a minimum value
      Technical information according to the embodiments of              among frame rate attributes of all representations in the
   the present invention described above with reference to               group, ( ix ) a maxFrameRate indicating a maximum value
   FIGS. 1 through 6 may equally be applied to the present               among frame rate attributes of all representations in the
   embodiment. Accordingly , further description thereof will            group , (x ) a language attribute indicating the language of all
   be omitted .                                                       55 representations in the group , (xi) a mimeType attribute
      The method according to the above-described embodi-                indicating the mime type for all representation in the group ,
   ments of the present invention may be recorded in computer -          and (xii) a codec indicating a codec that is used for all
   readable media including program instructions to implement            representations in the group .
   various operations embodied by a computer. The media may                 3 . A method of providing media content performed by a
   also include, alone or in combination with the program 60 client, the method comprising :
    instructions , data files , data structures , and the like. The        transmitting a request for the media content to a server
   program instructions recorded on the media may be those                    based on a media presentation description (MPD ) with
   specially designed and constructed for the purposes of the                 respect to the media content; and
   embodiments , or they may be of the kind well-known and                 receiving a segment of media content through streaming
   available to those having skill in the computer software arts . 65         from the sever in response to the request,
   Examples of computer -readable media include magnetic                   wherein the MPD includes one or more periods ,
   media such as hard disks, floppy disks, and magnetic tape ;             wherein the period includes one or more groups ,
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                                                        US 10 , 356 , 145 B2
                                 17                                                                      18
     wherein the group includes one or more representations,                 9 . The method of claim 8 , wherein the terminal is one of
     wherein the representation includes one or more seg                   a high -definition television (HDTV ) , a personal computer,
        ments ,                                                            and a mobile phone.
      wherein the group includes one or more group elements             10 . The method of claim 5 , wherein the group element is
          for each of the groups, and                              5 related to a summary of values of attributes of all represen
      wherein a group element provides a summary of values of tations within the group , wherein the attribute of the group
         all representations within a group .                        includes at least one of ( i) minBandwidth for indicating a
      4 . The method of claim 3, wherein the group element tations in value
                                                                     minimum           among bandwidth attributes of all represen
                                                                                 the group , (ii) maxBandwidth for indicating a
    includes at least one of (i ) an ID of the group , ( ii ) a 10 maximum
   minBandWidth indicating a minimum value among band sentations invalue            a
                                                                                        among bandwidth attributes of all repre
                                                                                      group , ( iii ) minWidth for indicating a mini
   width attributes of all representations in the group , ( iii) a
   maxBandwidth indicating a maximum value among band mum                    value among horizontal resolution attributes of all
                                                                     representations in a group , (iv ) maxWidth for indicating a
   width attributes of all representations in the group , (iv ) a maximum        value among horizontal resolution attributes of all
   minWidth indicating a minimum value among width attri 15 representations           in a group , (v ) minHeight for indicating a
   butes of all representations in the group , ( v ) a max Width minimum value among minimum height attributes of all
    indicating a maximum value among width attributes of all representations in a group , ( vi) maxHeight for indicating a
   representations in the group , (vi) a minHeight indicating a            maximum value among maximum height attributes of all
   minimum value among height attributes of all representa         representations in a group, ( vii) minFrameRate for indicat
   tions in the group , (vii ) a maxHeight indicating a maximum 20 ing a minimum value among frame rate attributes of all
   value among height attributes of all representations in the             representations in a group, and ( viii) maxFrameRate for
   group , ( viii) a minFrameRate indicating a minimum value               indicating a maximum value among frame rate attributes of
   among frame rate attributes of all representations in the               all representations in a group .
    group, (ix ) a maxFrameRate indicating a maximum value                   11 . A method of providing content performed by a server
   among frame rate attributes of all representations in the 25 or multiple servers , the method comprising :
   group , (x ) a language attribute indicating the language of all          receiving , from a client, a transmission requestmessage
   representations in the group , (xi) a mimeType attribute                     from the client;
    indicating the mime type for all representation in the group ,           transmitting, to the client, a specific Media Presentation
   and (xii ) a codec indicating a codec that is used for all                  Description (MPD ) suitable for the client, the specific
   representations in the group .                                     30       MPD comprising descriptions of representations suit
      5 . A method of providing content performed by a client,                 able for the client;
   the method comprising:                                                    receiving , from the client, a request for content corre
      transmitting, to a server, a transmission request message                 sponding to a representation in the specific MPD
         from the client;                                                       selected by the client, and
                                                                      35     transmitting the content corresponding to the selected
      receiving , from the server, a specific Media Presentation                representation in the specific MPD to the client,
        Description (MPD ) suitable for the client, the specific             wherein the specific MPD includes one or more periods,
        MPD comprising descriptions of representations of the                wherein the period includes one or more groups ,
         content suitable for the client;                                    wherein the group includes one or more representations,
      selecting an appropriate representation from among the 40              wherein the representation includes one or more seg
         representations in the specific MPD based on the                      ments ,
         descriptions of the representations; and                            wherein the specific MPD includes one or more group
      requesting the server to transmit content corresponding to                elements for each of the groups, and
        the selected representation ,                                        wherein the group element is related to a summary of
      wherein the specific MPD includes one or more periods , 45                values of attributes of all representations within the
     wherein the period includes one or more groups,                            group .
      wherein the group includes one or more representations,                12 . The method of claim 11, wherein the transmission
      wherein the representation includes one or more seg                  request message from the client includes specific attributes
        ments ,                                                            of the client including at least one of (i) capability, ( ii )
      wherein the specific MPD includes one or more group 50 preference , ( iii ) minBand , (iv ) maxBand , (v ) averBand , ( vi )
         elements for each of the groups , and               width , (vii ) height, ( viii ) framerate , ( ix ) lang, (x ) mime, (xi)
      wherein the group element is related to a summary of                 a view identifier ( ID ) of a multi -view video , and (xii) a
        values of attributes of all representations within the             complexity and quality of audio or video .
        group.                                                               13 . The method of claim 11 , wherein the specific MPD is
      6 . The method of claim 5, wherein the transmission 55 selected among multiple specific MPDs that are generated in
   request message from the client includes specific attributes advance .
   of the client including at least one of (i) capability , ( ii )            14 . The method of claim 11 , wherein the representations
   preference , ( iii) minBand , (iv ) maxBand , (v ) averBand , (vi) in the specific MPD are specific to a predetermined category
   width , (vii ) height, (viii) framerate , (ix ) lang , (x ) mime, ( xi) of a terminal.
   a view identifier (ID ) of a multi- view video , and ( xii ) a 60 15 . The method of claim 14 , wherein the terminal is one
   complexity and quality of audio or video .                              of a high -definition television (HDTV ), a personal com
      7 . The method of claim 5 , wherein the specific MPD is puter, and a mobile phone .
   selected amongmultiple specific MPDs that are generated in                 16 . The method of claim 14 , wherein the group element
   advance.                                                                is related to a summary of values of attributes of all
      8 . The method of claim 5 , wherein the representations in 65 representations within the group , wherein the attribute of the
   the specific MPD are specific to a predetermined category of group includes at least one of (i) minBandwidth for indi
   a terminal.                                                             cating a minimum value among bandwidth attributes of all
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                                                     US 10 ,356 ,145 B2
                                19                                                                  20
   representations in the group , (ii) maxBandwidth for indicat     wherein the group element is related to a summary of
   ing a maximum value among bandwidth attributes of all               values of attributes of all representations within the
   representations in a group, ( iii) minWidth for indicating a        group .
   minimum value among horizontal resolution attributes of all      18 . The method of claim 17 , wherein the representations
   representations in a group, (iv ) maxWidth for indicating a 5 in the specific MPD are specific to a predetermined category
   maximum value amonghorizontal resolution attributes of all of a terminal.
   representations in a group, (v ) minHeight for indicating a      19. A method of providing content performed by a server
                                                                                                                       server
   minimum value among minimum height attributes of all                 or multiple servers, the method comprising :
   representations in a group , (vi) maxHeight for indicating a           receiving , from a client, a transmission request message
   maximum value among maximum height attributes of all 10
   representations in a group, (vii) minFrameRate for indicat                from the client;
   ing a minimum value among frame rate attributes of all                 transmitting, to the client, a specific Media Presentation
   representations in a group , and (viii) maxFrameRate for                 Description (MPD ) suitable for the client, the specific
    indicating a maximum value among frame rate attributes of               MPD comprising descriptions of representations suit
   all representations in a group .                                15        able for the client;
      17. A method of providing content performed by a client,            receiving, from the client , a request for content corre
   the method comprising :                                                   sponding to a representation in the specific MPD
      transmitting, to a server, a transmission request message              selected by the client, and
        from the client;                                                  transmitting the content corresponding to the selected
      receiving , from the server, a specific Media Presentation 20   representation in the specific MPD to the client,
        Description (MPD ), the specific MPD comprising a           wherein the specific MPD includes one or more periods,
        subset of all representations in a generalMPD that are      wherein the period includes one or more groups,
         suitable for the client;                                   wherein the group includes one or more representations ,
      selecting an appropriate representation from among the        wherein the representation includes one or more seg
        representations in the specific MPD , based on the 25               ments ,
        descriptions of the representations ; and                         wherein the specific MPD includes one or more group
      requesting the server to transmit content corresponding to             elements for each of the groups , and
        the selected representation ,                                     wherein the group element is related to a summary of
      wherein the specific MPD includes one or more periods,                 values of attributes of all representations within the
     wherein the period includes one or more groups,         30               group .
     wherein the group includes one or more representations,               20 . The method of claim 19 , wherein the representations
      wherein the representation includes one or more seg               in the specific MPD are specific to a predetermined category
        ments ,
      wherein the specific MPD includes one or more group               of a terminal.
        elements for each of the groups, and
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                              EXHIBIT N
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                                    16087
                                                                                                    US010362130B2

   (12) United     States Patent
        Thang et al.
                                                                                  ( 10) Patent No.: US 10 , 362, 130 B2
                                                                                  (45) Date of Patent:    * Jul.23, 2019
   (54 ) APPARATUS AND METHOD FOR                                            (51) G06F
                                                                                  Int. CI15. / 16
           PROVIDING STREAMING CONTENTS                                                                       ( 2006 .01)
                                                                                    H04L 29/ 08               (2006 .01)
    (71 ) Applicants :Electronics and Telecommunications                                                (Continued )
                      Research Institute , Daejeon (KR );                    (52 ) U .S . CI.
                      INDUSTRY-UNIVERSITY                                           CPC ... H04L 67/2804 ( 2013 .01); H04L 29/ 06027
                      COOPERATION FOUNDATION                                                            (2013.01 ); H04L 47 /30 (2013.01 );
                      KOREA AEROPSACE                                                                  (Continued )
                      UNIVERSITY , Goyang -si,                               (58 ) Field of Classification Search
                     Gyeonggi- do (KR )                                             CPC ........... HO4N 21/2401; H04N 21 /2353; HO4N
                                                                                                                21/23805 ; HO4N 21 /44004 ;
   ( 72) Inventors: Truong Cong Thang, Daejeon ( KR);                                                     (Continued )
                    Jin Young Lee, Daejeon (KR ) ; Seong
                    Jun Bae, Daejeon (KR ); Jung Won                     (56 )                         References Cited
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                      (KR ); Jae Gon Kim , Goyang -si (KR )                        7 ,512 ,665 B1     3/ 2009 Cragun
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   (73 ) Assignee : IDEAHUB INC ., Seoul (KR )                                                          (Continued )

   ( * ) Notice: Subject to any disclaimer , the term of this                            FOREIGN PATENT DOCUMENTS
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                      U . S .C . 154 (b ) by 0 days .                        JP            2005020588 A          1 /2005
                       This patent is subject to a terminal dis                                        (Continued )
                      claimer.
                                                                                                OTHER PUBLICATIONS
   ( 21) Appl. No.: 15/069,443                                           “ 3GPP TS 26 .cde V1.0 .0, 3rd Generation Partnership Project;
   (22 ) Filed :     Mar. 14 , 2016                                       Technical Specification Group Services and System Aspects Trans
                                                                         parent end -to -end Packet -switched Streaming Service (PSS ); Pro
   (65 )               Prior Publication Data                            gressive Download and Dynamic Adaptive Streaming over HTTP
                                                                             (3GP-DASH ) (Release 10 )” , Aug. 2010 , Valbonne , France .
           US 2016 /0198013 A1 Jul. 7 , 2016                                                          (Continued )
               Related U . S . Application Data                              Primary Examiner - Zarni Maung
   (63 ) Continuation of application No. 13 /811,376 , filed as              (74 ) Attorney , Agent, or Firm — William Park &
           application No. PCT/KR2011/005357 on Jul. 20 ,                    Associates Ltd .
           2011, now Pat. No. 9, 325 ,558 .                              (57)                         ABSTRACT
                           (Continued )                                      A method and apparatus for an adaptive Hypertext Transfer
   (30 )           Foreign Application Priority Data                     Protocol (HTTP) streaming service using metadata of con
                                                                         tent are provided . The metadata may include a minBuffer
       Jul. 19, 2011 (KR ) ....................... 10-2011-0071671                                (Continued )

                                                   100                                   110

                                                 CLIENT                               SERVER

                                                            METADATA 120

                                          PROCESS METADATA _ _ 130
                                                         REQUEST FRAGMENT 140
                                                                     145 ~        PARSE CONTENT
                                                         TRANSMIT FRAGMENT 150
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                                                               US 10De
                                                                    , 362, 130 B2
                                                                       Page 2

    Time attribute indicating a minimum amount of initially                         8 , 533 ,310 B2     9 / 2013   Huang et al.
   buffered media content. A terminalmay receive content from                       8 ,635, 360 B2      1/2014     Brase et al.
   a server before playback of the content, and may buffer the                      8 ,645 , 562 B2     2 /2014    Thang et al .
                                                                                    8 ,909,805 B2      12/2014     Thang et al.
   content by at least the minimum amount. The metadata may                         9 , 264,069 B2 2 /2016      Watson et al.
   include a range attribute that designates a range of a target                    9 , 281 ,847 B2  3 /2016    Stockhammer et al.
   indicated by a Uniform Resource Locator (URL ). The                              9 ,319 ,448 B2 4 /2016      Chen et al.
   terminalmay receive bytes designated by the range attribute                       9 ,325,558 B2 * 4 /2016    Tháng ...... ........... H04L 65/4092
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   from the URL , and may play back the content using the                       2002 /0105951 AL 8 /2002        Hannuksela et al.
   received bytes.                                                              2003/ 0093790 Al        5/ 2003 Logan et al.
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    (60 ) Provisional application No. 61/434 ,036 , filed on Jan .              2005 /0203927    Al     9 / 2005   Sull et al.
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                                        FIG . 1

                      100                                   110
                     CLIENT                               SERVER
                                 METADATA 120

            PROCESS METADATA - 130
                            REQUEST FRAGMENT 140
                                         145        PARSE CONTENT
                            TRANSMIT FRAGMENT 150
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                                           FIG . 2 .

                            w210
                       General info
           Content info, live
                          etc .
                               or VoD , length,
                               220                                 ~ 240
                                                            Client request
                   QoS -related info                        · Client-based
               Alternatives: quality and                    · Server-based
                      characteristics                       • Distributed
                                 230
                     Data mapping info
            Mappingdata
                    alternative to physical
                        fragments
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                                                                             QoSinfo

                           i-lCoenvtenolt                                                             iManptinog
                                                         i




                     3
                     .
                     FIG
                                                             F   rr




                           Conte
                                            20interval
                                                             rPIF                      1Alternative 2
                                                                                               w
                                                                                                    Alternative

                                            interval         rF Fragments                            -
                                                                                                     )
                                                                                                     IT


                                                                                                     (
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                                             FIG . 4
                                   Stream of TS packet




                          Offset= 1            First TS packet of
                                                 new fragment
            TS packet with
              PCR field
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                                        FIG . 5
                                          100

                             - 510                        N520
                     CONTROLLER                   TRANSCEIVER
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                                                          OMaUEuTDtPIoUArT

                                                                                                         ?
                           6
                           FIG                                                       TMIEDNAG
                                                )
                                                DASH
                                                (
                                                                ACES ENGIE                               M




                                                   ??
                                                   ????
                                                   ???
                                                   ?




                                        METAD      ???
                                                   ??



                                                   ?????? ? ?
                                                                             CMOENDTIA   )D(SBAGMTENAT
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                                                       US 10 , 362, 130 B2
              APPARATUS AND METHOD FOR                                    Each of the periods may include one ormore represen
          PROVIDING STREAMING CONTENTS                                  tations of the media content. Each of the representations may
                                                                        be a structured collection of one ormore media components
                         TECHNICAL FIELD                                within a period .
                                                                           The bandwidth attribute may be an attribute of each of the
      The present invention relates to a technology for provid -        representations.
   ing streaming content, and more particularly , to an apparatus          The bandwidth attribute may describe a minimum band
   and method for providing media content using adaptive        width of a hypothetical constant bitrate channel over which
   streaming                                                    each of the representations are able to be continuously
                                                                delivered after the client buffers each of the representations
                   BACKGROUND ART                               for at least minBufferTime.
                                                                   Each of the representations may include one or more
      Streaming is one of schemes for transmitting and Playing
                                                        playing segments.
   back multimedia content such as sounds, moving images, 1 According to another aspect of the present invention ,
    and the like. A clientmay play back content while receiving there is provided a terminal for providing media content
   the content through the streaming.                           including one or more periods, the terminal including: an
                                                                inciua
      An adaptive streaming service refers to providing a access engine to receive metadata of the media content, to
   streaming service employing a communication scheme with         receive the media content from the server, and to buffer the
   a request of a client and a response of a server in response 20 received media content by at least a minimum amount
   to the request.                                                 indicated by a minBufferTime attribute , themetadata includ
      The client may request a media sequence suitable for an      ing the minBufferTime attribute indicating the minimum
   environment of the client (for example , a transmission              amount of initially buffered media content that is required to
   channel of the client ), using the adaptive streaming service .      ensure playout of the media content; and a media engine to
    The server may provide a media sequence matched to the 25 receive the media content from the access engine , and to
   request of the client among media sequences with various             play back the media content.
   qualities that are included in the server.                             According to still another aspect of the present invention ,
      The adaptive streaming service may be provided based on           there is provided a method by which a client provides media
   various protocols .                                           content including one or more periods , the method includ
      A Hypertext Transfer Protocol (HTTP ) adaptive stream - 30 ing: receiving metadata of the media content from a server,
   ing service refers to an adaptive streaming service provided         themetadata including a Uniform Resource Locator (URL )
   based on an HTTP protocol. A client of the HTTP adaptive             attribute and a range attribute; receiving bytes designated by
   streaming service may receive content from a server using            the range attribute from a URL indicated by the URL
   the HTTP protocol, and may transmit a request associated             attribute ; and playing back the media content using the
   with a streaming service to the server .                          35 received bytes.
                                                                           The bytes designated by the range attributemay designate
                DISCLOSURE OF INVENTION                                 segments of the media content.
                                                                           The range attribute may indicate multiple byte ranges.
                      Technical Goals                               The bytes may be received by a partial HTTP GET
                                                               40 command for the URL instructed by the byte range .
      An aspect of the present invention provides an apparatus      According to yet another aspect of the present invention ,
   and method that may designate a minimum amount of                    there is provided a terminal for providing media content
   initially buffered media during playback of content.                 including one or more periods, the terminal including : an
      Another aspect of the present invention provides an               access engine to receive metadata of the media content, and
   apparatus and method that may receive bytes within a 45 to receive bytes designated by a range attribute from a URL
   specific range from a target indicated by a Uniform Resource indicated by a URL attribute , the metadata including the
   Locator (URL ), and may play back content.                           URL attribute and the range attribute ; and a media engine to
                                                                        play back the media content using the received bytes.
                       Technical Solutions                                 Thebytes designated by the range attribute may designate
                                                                     50 segments of the media content.
      According to an aspect of the present invention , there is           The range attribute may indicate multiple byte ranges .
   provided a method by which a client provides media content              The bytes may be received by a partial HTTP GET
   including one ormore periods, themethod including: receiv -          command for the URL instructed by the byte range .
   ing metadata of the media content from a server, the meta         According to a further aspect of the present invention ,
   data including a minBufferTime attribute indicating a mini- 55 there is provided a method by which a client processes
   mum amount of initially buffered media content that is               content including one or more intervals , the method includ
   required to ensure playout of the media content; receiving           ing: receiving metadata of an interval of the content from a
   the media content from the server, and buffering the received        server; processing the metadata and sending, to the server, a
   media content by at least the minimum amount; and playing            request for a fragment suitable for the interval based on the
   back the media content.                                60 processed metadata ; and receiving the fragment from the
     The metadata may be a Media Presentation Description    server.
   (MPD ) of the media content.                                 The content may be content on demand, or live content.
      The minBufferTime attribute may indicate the minimum                 The metadata may include general information , and the
   amount of the initially buffered media content that is               general information may include a general description of the
   required to ensure playout of the media content when the 65 content, and a general description of the interval.
   media content is continuously delivered at or above a value    The general description of the content may include at least
   of a bandwidth attribute of the metadata .                  one of a duration and a start time.
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      The metadata may include Quality of Service (QoS )                     interval, and to receive the fragment from the server ; and a
   information , and the QoS information may describe char                   controller to process themetadata , and to select the fragment
   acteristics of each of alternatives of the content.                       suitable for the interval based on the processed metadata .
        The characteristics may include at least one of a bitrate ,
   a   resolution , and a quality .                                                             Effect of the Invention
        Each of the alternatives may be physical, or virtual.
        The fragment may be selected based on information of the               According to embodiments of the present invention , it is
   alternatives .                                                            possible to designate a minimum amount of initially buff
        The metadata may include mapping information , and the               ered media during playback of content.
   mapping information may describe locations to retrieve the 10                Additi
                                                                               Additionally   , according to embodiments of the present
   content.                                                                  invention , it is possible to receive bytes within a specific
      The metadata may include content-level information , and               range from a target indicated by a Uniform Resource Loca
   interval-level information , and all computations for deciding            tor (URL ) , and to play back content.
   alternatives and resolving locations may be performed by
   the server.                                                          15            BRIEF DESCRIPTION OF DRAWINGS
      The request may define an order value of the fragment in
   the interval, and a start time of the fragment in the interval.             FIG . 1 is a diagram illustrating categories of signaling
      The metadata may include content -level information ,                  information according to an embodiment of the present
   interval- level information , and QoS information , and all
   computations for deciding alternatives and resolving loca - 20 invention .
                                                                     FIG . 2 is a diagram illustrating categories of signaling
   tions may be distributed and performed by the client and the              inf.
   server.                                                                   information   according to an embodiment of the present
        The request may include one of an order value of an                  invention .
   alternative that appears in the QoS information based on the         FIG . 3 is a diagram illustrating a hierarchy of content
   order value , values of adaptation operators that appear in the 25 division and levels of signaling information according to an
   QoS information , and values of resources that appear in the       embodiment of the present invention .
   QoS information .                                                    FIG . 4 is a diagram illustrating detection of virtual bound
        The adaptation operators may include at least one of a               aries in a Moving Picture Experts Group- 2 Transport Stream
   number of scalable audio layers to be discarded , a number (MPEG -2 TS ) according to an embodiment of the present
   of temporal layers of a scalable video to be discarded , a 30 invention .
   number of spatial layers of a scalable video to be discarded ,              FIG . 5 is a diagram illustrating a configuration of a client
   a number of quality layers of a scalable video to be dis-                 100 according to an embodiment of the present invention .
   carded , and a number of priority layers of a scalable video       FIG . 6 is a diagram illustrating a configuration of a client
   to be discarded .                                                100 according to an embodiment of the present invention .
      A type of the resources may include at least one of an 35
   average bitrate of the alternative, a vertical resolution of the        BEST MODE FOR CARRYING OUT THE
   alternative , a horizontal resolution of the alternative , and a                          INVENTION
   frame rate of the alternative .
       The metadata may include content -level information ,
                                                                    1 Reference
   interval- level information , QoS information , and mapping 40 +the  present
                                                                                  will now be made in detail to embodiments of
                                                                                invention  , examples of which are illustrated in
   information , and all computations for deciding alternatives    the  accompanying    drawings   , wherein like reference numer
   and resolving locations may be performed by the client.         als refer to the like elements throughout. The embodiments
       The request may include at least one of a parameter for
   Moving Picture Experts Group - 2 Transport Stream               are described below in order to explain the present invention
   (MPEG -2 TS ) boundary, a parameter for International Orga - 45 by Areferring
                                                                         DynamictoAdaptive
                                                                                     the figures .
                                                                                              Streaming   overHTTP (DASH ) may
   nization for Standardization (ISO ) media file boundary , and Sper
                                                                   specify formats that enable 1) transferring ofmedia content
   parameters for a file considered as a raw byte - sequence .
      The metadata may be physically separated into content        from an HTTP server to an HTTP client, and 2 ) caching of
   level information , interval-level information , QoS informa content by standard HTTP cashes.
   tion , and mapping information , and linking of related parts 50 FIG . 1 is a signal flowchart illustrating a content process
   of the content-level information , the interval-level informa - ing method according to an embodiment of the present
   tion, the QoS information , and the mapping information may invention .
   be performed by reference .                                         A media component may be an encoded version of
      According to a further aspect of the present invention, individual media types, such as audios, videos, or timed
   there is provided a method by which a server provides 55 texts that have specific attributes , for example bandwidths ,
   content including one or more intervals , the method includ -             languages , or resolutions.
   ing: transmitting metadata of an interval of the content to a               Media contentmay be a set of media components having
   client; receiving a request for a fragment from the client, the           a common timeline , for example audios, videos, or timed
   fragment being selected based on the metadata and being                   texts . Additionally , media components may have relation
   suitable for the interval; parsing the content, and extracting 60 ships showing how to present the media components as
   a data part suitable for the fragment; and transmitting the               programs or movies (for example , individually, jointly , or
   fragment to the client.                                                   mutually exclusive ).
       According to a further aspect of the present invention ,                Media content and contentmay be used as interchange
   there is provided a client for processing content including               able terms.
   one or more intervals , the client including: a transceiver to 65            A media presentation may be a structured collection of
   receive metadata of an interval of the content from a server,             data used to establish bounded or unbounded presentation of
   to send, to the server , a request for a fragment suitable for the        media content including consecutive media components.
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                                                     US 10 , 362 ,130 B2
      In other words, the media presentation may be a struc               Each representation may be formed of one or more
   tured collection of data enabling access to a DASH client in         segments . In other words, a representation may include one
   order to provide a streaming service to a user.                      or more segments.
      A Media Presentation Description (MPD ) may be a for -              An MPD may be a document including metadata required
   malized description of a media presentation .                 5 to a DASH client to form appropriate HTTP -URLs in order
      The media presentation may include possible updates of to 1) access segments and to 2 ) provide a user with a
   the MPD , and may be described by the MPD .                      streaming service . The HTTP -URLs may be absolute or
      Content may be content on demand , or live content.           relative .
      The contentmay be divided into one or more intervals . In        The MPD may be an Extensible Markup Language
   other words, the content may include one or more intervals1 . 10 (XML )- document.
                                                                     The MPD may include an MPD element. The MPD may
       Intervals may be interchangeable with periods. The term    include only a single MPD element .
   period may be used as a term of 3rd Generation Partnership        A client 100 may be a DASH client.
   Project (3GPP ) adaptive HTTP streaming.
        A period may be an interval of a media presentation . 15 fiedThein DASH  client may be compatible with a client speci
                                                                           REC 2016
   Consecutive sequences of all periods may form a media             The DASH client may typically use an HTTP GET
   presentation .                                                method or an HTTP partial GET method , as specified in
       In other words, themedia presentation may include one or RFC 2616 , to access segments or parts of segments .
   more periods.                                                     A server 110 may perform hosting on DASH segments .
      One or more intervals may be a basic unit . One ormore 20 The server 110 may be compatible with a server specified in
    intervals may be described by signaling metadata . In other RFC 2616 .
   words, metadata may describe each of the one or more             In operation 120 , the client 100 may receive , from the
   intervals .                                                          server 110 , 1) metadata of content, or 2 ) metadata of a
      The metadata may be an MPD .                               specific interval of the content. In other words, the server
      The MPD may define a format to notify resource identi - 25 110 may transmit, to the client 100, 1 ) the metadata of the
   fiers for segments . The MPD may provide a context regard            content, or 2 ) the metadata of the specific interval of the
   ing resources identified in the media presentation . The             content. The specific interval may indicate a currently pro
   resource identifiers may be HTTP -Uniform Resource Loca              cessed interval among one or more intervals forming the
   tors (URLs). URLs may be restricted by a byte range                  content.
   attribute .                                                     30     In operation 130 , the client 100 may process themetadata
      Each interval may be divided into fragments .               of the specific interval.
      Fragments may be interchangeable with segments . The           In operation 140 , the client 100 may send a request for a
   term segment may be used as a term of 3GPP adaptive HTTP       fragment to the server 110 . The client 100 may request the
   streaming .                                                    server 110 to transmit fragments suitable for the specific
      A segmentmay refer to an entity body of a response to an 35 interval based on the processed metadata . In other words, the
   HTTP /1.1 GET request for an HTTP -URL , for example as requested fragments may be selected based on the metadata .
   defined in RFC 2616 , (or a GET request for a part indicated      In operation 145 , in several cases, the server may need to
   by a byte range ). The metadata may include a URL attribute , parse content ( for example, a Moving Picture Experts Group
   and a range attribute . A client may receive bytes designated (MPEG ) layer 4 (MP4 ) file for Scalable Video Coding
   by the range attribute from a URL indicated by the URL 40 (SVC )) , and to extract a data part suitable for the requested
   attribute . In other words, the bytes may be received by a fragment.
   partial HTTP GET command for the URL instructed by the                 In operation 150, the server 110 may transmit, to the client
   byte range . The bytes designated by the range attribute may         100 , a fragment suitable for each request from the client 100 .
   represent the above - described segment.                             The client 100 may receive the fragment from the server.
      The range attribute may indicate multiple byte ranges . 45 Subsequently , the entire process may be executed from
      The client may play back media content using the          the beginning. In other words , operation 120 may be
   received bytes (namely , the segment ).                              repeated on the next interval to the specific interval.
      A sub - segment may refer to a smallest unit in segments             The client 100 may play back content using fragments
   that may be indexed by a segment index in a segment level. received when operations 120 through 150 are repeated .
      Two or more sets of fragments corresponding to a single 50 FIG . 2 is a diagram illustrating categories of signaling
    interval may exist. Each of the sets may be called an               information according to an embodiment of the present
   alternative .                                                        invention .
      An alternative may be interchangeable with a represen                The signaling information (namely , metadata ) may be
   tation (or an expression ).                                          divided into the following categories 1) through 4 ):
      Each period may include one or more groups .         55 1 )General information 210 : includes common description
      Each group may include one or more representations of of content , and general description of each interval, such as
   the same media content.                                   a duration , and a start time.
      The representation may refer to a structured collection of          2 ) Quality of Service ( QoS ) information 220 : describes
   one or more media components in a single period .                    characteristics of each alternative , such as a bitrate , a reso
      An MPD (or an MPD element) may provide descriptive 60 lution , and a quality . In other words, the QoS information
   information that enables a client to select one or more  describes characteristics of each of alternatives of content.
   representations .                                           An alternative may be physical namely , created in
      A Random Access Point (RAP ) may be a specific location           advance ), or may be virtual (namely, to be created on the
   in a media segment. The RAP may be identified as a location fly ). Based on information of alternatives, the client may
   in which playback may be started continuously from a 65 select a fragment of an appropriate alternative . Accordingly ,
   location of the RAP using only information included in a    adaptivity to contexts of terminals and networks may be
   media segment.                                                       supported .
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                                                         US 10 , 362 , 130 B2
      3 ) Mapping information 230 : describes locations to              cally updated . Similarly , a single file containing the QoSInfo
   retrieve content. Depending on specific cases, different             330 may be used for different intervals and different con
   alternatives may have the same or different locations.         tents .
      4 ) Client request 240 : this type of signaling information    There are differentways to represent a set ofmetadata , for
   may conform to a format of HTTP 1.1 request message. As 5 exampl
                                                                  example XML ,pseudo -code, a Session Description Protocol
   shown in FIG . 1, parameters requested by the clientmay be (SDP), and the like.
   derived from the information of categories 1 ) through 3 ).
      Objectives of signaling are in the following 1) through 4 ): mayXML     may be a general language for description . XML
                                                                        provide rich tools to describe almost everything XML
      1) Support for different media storage/delivery
   approaches : the signaling information may be general 10 may         also be very well-structured , and be suitable for build
   enough to support typical cases (also various cases ) of data size and. However
                                                                   ing database               , XML may have disadvantages ofbig
                                                                                     complexity. In particular , description in XML
   storage and delivery, such as MPEG - 2 Transport Stream
   ( TS ), MP4 file including Advanced Video Coding (AVC ) may           require special software (for example , a Document
   SVC alternatives . Additionally, multi -channel delivery may 15 InterfaceModel
                                                                   Object             (DOM ), or Simple Application Programming
   be required for advanced scenarios ( for example , an SVC data . XML may be(SAX
                                                                                 for XML         )), to parse and process the meta
                                                                                              often  used for syntax of bitstream
   layer in a single HTTP connection ).
      2 ) Support for different cases of decision -making for      (MPEG     - 1 , MPEG  - 2 video  bitstream , and file formats ). An
                                                                        advantage of the above approach may be compactness of
   adaptivity : the signaling information may be flexible to
   support different locations of decision making, such as a 20 description , but it may not be very flexible to describe
                                                                 various types of syntax element.
   client-based case , a distributed case , and a server-based case .
                                                                    In embodiments of the present invention , both XML and
      3 ) Efficiency : the format of signaling information may          pseudo -code may be used to represent signaling syntax .
   allow a small data size and easy handling (for example , XML syntax may be used for clients that support an XLM
   parsing , or modifying ).
      4 ) Compatibility with a standard HTTP request: the es25 PAprofilehand
                                                                         based on an MPEG -21 and similar schema. On the
   signaling information may provide appropriate description other           , pseudo -code syntax may be based on a “ lan
                                                               guage ” of an International Organization for Standardization
   items so that request parameters may be put in an HTTP 1 . 1
   requestmessage , without requiring extensions (for example ,         (ISO ) base media file format and the like , and may be used
   new header fields).                                                  in non - XML clients . In particular, a profile of the pseudo
                                                                   code syntax may employ a parsing module similar to a
      FIG . 3 is a diagram illustrating a hierarchy of content 30Cparsing module of file - format parsing . To design the syntax
   division and levels of signaling information according to an for the above
   embodiment of the present invention .                                        purpose , a table of common elements may be
      Signaling ofmetadata according to an embodiment of the defined and elements in each format may be represented , in
   present invention may be physically separated into content the following embodiments.
   level information 310, interval -level information 320 , QOS 35 The proposed syntax may be represented by any other
   information 330 , and mapping information 340 . Linking of languages .
   related parts of the content-level information 310 , the inter -       Hereinafter, tables of general syntax elements will be
   val -level information 320 , the QoS information 330, and the        described .
   mapping information 340 may be performed by reference.
                                                                     In the following tables , the syntax elements may be
      These parts of signaling information may be combined in 40 described
   different ways to support the flexibility .                                hierarchically. In other words , a child element
                                                                 may   be  shown
      For example , when only the content- level information of the child element  in a column on the right of a parent element
                                                                                        . “ Leaf” -level elementsmay be shown in
   310 and interval- level information 320 are sent to a client, italic , and parent elements
   all computations for deciding alternatives and resolving parent element may be represented    may be shown in bold letter. A
   locationsmay be performed by a server. Accordingly, when 45 type and a file box.                       by a corresponding XML
   only the content-level information 310 and interval-level
   information 320 are sent to the client, a processing model       In the column of occurrence, “ o . . . N ” may mean that the
   may be " server-based .”                                      number of instances of an occurrence element may be from
      When the content-level information 310 , the interval - Oto “ unbounded .” The minimum occurrence of O may mean
   level information 320 , and the QoS information 330 are sent 50 that an element may be optional ( namely , not present ). A
   to the client, all computations for deciding alternatives and minimum occurrence equal to or greater than 1 may mean
   resolving locationsmay be distributed and performed by the that an element is mandatory in the syntax .
   client and the server. Accordingly, when the content -level        Occurrence may be interchangeable with cardinality .
   information 310 , the interval-level information 320 , and the    In a row of type , A indicates an attribute , and E indicates
   OoS information 330 are sent to the client, the model may 55 an element. In a row of optionality . M indicates mandatory .
   be “ distributed .”                                             and O indicates optional. For attributes , M indicates man
      When all the signaling information (namely, the content      datory , O indicates optional, OD indicates optional with
   level information 310 , the interval-level information 320 ,
   the QoS information 330 , and the mapping information 340 ) default      value, and CM indicates conditionally mandatory .
                                                                   For elements, elements may be represented as
   is sent to the client, the model may be client-based , because 60 <minOccurs
                                                                       m
   most (or all) processing ( namely, computations for deciding      unbounded > . . . <maxOccurs > . Here, N may be
   alternatives and resolving locations ) is performed by the            The abovemeaning may equally be applied to other tables
   client.
      The separation ofmetadata parts may enable efficiency in       in the present specification .
   storage and delivery. For example , during a session , meta - 65 Additionally , QoSInfo may be also called Adaptation Info
   data of the content -level information 310 may be sent once ,     to make QoSInfo more specific . Moreover, a few elements
   and only the interval- level information 320 may be periodi- may be revised to increase flexibility of the syntax .
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                                                            US 10 , 362 ,130 B2
                                                                                                                 10
      The following Table 1 describes general information .
                                                          TABLE 1
                                                                                                       XML syntax            Pseudo -code
                                                 Occurrence Semantics                             (based on MPEG -21) (File format box )
   HttpStr                                                  Describes the top - level element of  HttpStreamingType htps
                                                            signaling metadata for HTTP streaming                     box
             GeneralInfo                         0 . .. N   Contains the general information of GeneralInfoType       ' geni
                                                               the described content                                         box
                            TimeScale            0 . .. 1      Describes the number of time units      integer               unsigned
                                                               in 1 second .                                                 int (32 )
                                                               This value is used with time-related
                                                               elements , when a time unit is not
                                                               specified .
                            LiveStart Time       0 ... 1       If LiveStart Time element is not        date Time             unsigned
                                                               present, the content is of VoD type .                         int (64)
                                                               The presence of LiveStartTime
                                                               element indicates a live content that
                                                               is to be displayed at a time value of
                                                               LiveStartTime.
                                                               If LiveStartTime has a time value of
                                                               0 , the display time is unknown.
                            Duration             0 ... 1       If present, indicates duration of the   integer               unsigned
                                                               content. Otherwise , the duration is                          int( 32 )
                                                               unknown.
                            DefaultIntDuration   0 ... 1       If present, indicates a default         integer               unsigned
                                                               duration of each interval of the                              int(32)
                                                               content.
                            MinUpdate Time       0 ... 1       If present, indicates the minimum       integer               unsigned
                                                               waiting time before requesting the                            int (32 )
                                                               main description file again .
                            ConsistentQoSInfo    0 ... 1       If true , indicates that Qos            boolean               flag of
                                                               information is the same as the                                the box
                                                               whole content duration .
                            DefaultContentLoc      ... 1       Provides a default location for the     anyURI                string
                                                               content.                                                      of URL
             IntervalsRef                          ...N         Provides reference to description      Intervals             ‘iref
                                                               containing one ormore instances of      RefType               box
                                                               Interval element.
                                                               One or more instances of Interval
                                                               element represent a sequence of
                                                               consecutive interval( s).
             Interval                            0 ...N        Provides information of an interval     IntervalType          ‘ intv '
                                                               of content.                                                   box
                                                               The information of the interval may
                                                               be either included as an instance of
                                                               Interval element or referenced by
                                                               IntervalsRef element .
                            IntervalInfo         0 ... 1       Provides general information of an      IntervalInfo Type     “ inti'
                                                               interval.                                                     box
                            QoSInfoRef           0 ... 1       Provides reference to description       dia :Reference Type     qref
                                                               represented by QoSInfo element.                               box
                                                               If QosInfoRef element is present,
                                                               QoSInfo elementmay not be
                                                               present at the same level.
                            QoSInfo              0 ... 1       Provides information about              QoSInfo Type            QoSi
                                                               alternatives of content, such as                              box
                                                               resource characteristics and
                                                               quality /utility .
                                                               If QoSInfo element is present,
                                                               QoSInfoRef element may not be
                                                               present.
                            MappingInfoRef       0 ... 1       Provides reference to description       dia :Reference Type   “mref
                                                               represented by Mapping Info                                   box
                                                               element.
                                                               If MappingInfo Ref element is
                                                               present, MappingInfo element may
                                                               not be present at the same level.
                            MappingInfo          0 ... 1       Provides information about              Mapping InfoType      ‘mapi?
                                                               locations of content alternatives.                            box
                                                               If the information is not provided ,
                                                               DefaultContentIntLoc element (if
                                                                not, DefaultContentLoc ) can be
                                                               used to retrieve content.
                                                                If MappingInfo element is present,
                                                               MappingInfoRef element may not
                                                               be present.
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                                                                US 10 , 362 ,130 B2
                                                                 TABLE 1 - continued
                                                                                                               XML syntax            Pseudo- code
                                                     Occurrence     Semantics                                  (based on MPEG -21) (File format box )
                          NextIntervalsRef           0 ... 1       Provides reference to information of        Intervals             înref'
                                                                   next interval(s ).                          RefType,may           box
                                                                    The information of next interval(s )       be extended from
                                                                   is description containing one or            dia :Reference Type
                                                                   more instances of Interval element.
                                                                    The information of next interval(s )
                                                                   is description represented by
                                                                    Interval element.
                                                                   Using NextIntervalsRef element,
                                                                   the client does not need to reload
                                                                   the main description represented by
                                                                   HttpStr element.
                                                                   Within the current time window ,
                                                                    only the final intervalmay contain
                                                                    NextIntervalsRef element.
                          PreviousIntervalsRef       0 .. . 1       Provides reference to information of       Intervals             ‘nref '
                                                                    previous interval(s ).                     RefType, may          box
                                                                    The information of next interval(s )       be extended from
                                                                   is description containing one or            dia :Reference Type
                                                                   more instances of Interval element.
                                                                   Using PreviousIntervalsRef
                                                                    element, the client does not need to
                                                                   reload the main description
                                                                   represented by HttpStr element.
                                                                   Within the current time window ,
                                                                   only the first interval may contain
                                                                    NextIntervalsRef element.


      The following Table 2 describes IntervalsRef, NextInter
   valsRef, PreviousIntervalsRef, QoSInfo Ref, MappingIn - 30
   foRef a , and IntervalInfo .
                                                                       TABLE 2
                                                                                                             XML syntax              Pseudo- code
                                                 Occurrence         Semantics                             (based on MPEG - 21 )      (File format box )
    QoSInfoRef,           Index                  1                 Indicates the order (starting from 1 ) not                        unsigned
   MappingInfo Ref                                                 of the referenced description or box applicable                   int(8 )
                                                                   ( Interval, QoSInfo , Mappinginfo ) in
                                                                   the description file referenced by the
                                                                   next Location element.
                          Location                                 Provides reference to description     uri element in              string
                                                                   represented by Interval, QoSInfo , or dia :Reference Type         (representing
                                                                   MappingInfo .                                                     url)
   IntervalInfo           TimeScale              0 ... 1           Describes the number of time units in integer                     unsigned
                                                                    one second . This value is used with                             int(32)
                                                                    time-related elements , when a time
                                                                    unit is not specified .
                                                                     TimeScale element, if present,
                                                                   overrides the time scale provided by
                                                                   GeneralInfo .
                          StartTime              0 . .. 1           Indicates the start time of the
                                                                    interval.
                          Duration               0 . .. 1           Indicates the duration of the interval. integer                  unsigned
                                                                                                                                     int(32)
                          DefaultFragDuration    0 ... 1            Indicates the default duration of     integer                    unsigned
                                                                    fragments of the interval (except the                            int(32)
                                                                    last fragment).
                          DefaultContentIntLoc 0 . . . 1            Provides a default location for the      anyURItype              string
                                                                   content interval.
                          Last                   0 .. . 1           If true, indicates the final interval of boolean                 by flag
                                                                   the content.
   IntervalsRef,          startTime                                 Indicates the start time of the          xs:duration
   PreviousIntervalsRef                                             referenced sequence of
   NextIntervalRef                                                 intervals/periods relative to the start
                                                                   time of the content (LiveStartTime
                                                                   for live content and 0 for on -demand
                                                                   content).
                          Available Time         0 .. . 1           Indicates the time the description of integer                    unsigned
                                                                    the next interval is available . The is                          int( 32 )
                                                                    the relative time from the start time
                                                                    of the content.
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                                                                      US 10,362, 130 B2
                                         13                                                                                          14
                                                                       TABLE 2 -continued
                                                                                                                        XML syntax                    Pseudo- code
                                                         Occurrence       Semantics                                     (based on MPEG - 21 )         (File format box )
                              Index                                       Indicates the order (starting from 1) not                                   unsigned
                                                                          of the referenced interval description applicable                           int (8 )
                                                                          (or box ) in the description file
                                                                          referenced by the next Location
                                                                          element.
                              Location                                    Provides reference to description file sx :anyURI                           string
                                                                          that contains Interval descriptions.          type or                       (representing
                                                                                                                        uri element in                url)
                                                                                                                        dia :Reference Type


       The following Table 3 describes the QoSInfo element.
                                                                       TABLE 3
                                                                                                             XML syntax          Pseudo-code
                                               Occurrence Semantics                                          (based on MPEG -21) (File format box )
   QoSInfo                                                     Provides information about a list of          QoSInfoType                   QoSi
                                                               content alternatives, such as                 containing a                 box
                                                               resource characteristics and                  Utility Function of
                                                               quality /utility .                            dia :Adaptive QoSType
               Class SchemeRef                 0 ... 1         Provides a list of classification             dia : Description            'csmr'
                                                               schemes .                                     MetadataType                 box
                                                                The classification schemes provide
                                                               semantics for some terms or names.
                                      scheme 1 . . . N         Provides reference to a                     Attr . alias & href            a url
                                                               classification scheme.                        in dia :Description          string
                                                                                                           MetadataType
               Resource                        0 ... N         Each instance of Resource element             Element constraint           'resi
                                                               describes , for a list of alternatives,       of dia :UFData Type          box
                                                               characteristic values of a certain            in DIA Utility
                                                               resource type (e. g., bitrate ).              Function Type
               AdaptationOperator              0 .. . N        Each instance of                              dia:UFDataType               ‘adpo '
                                                               Adaptation Operator element                                                box
                                                               describes, for a list of alternatives,
                                                               values of a certain adaptation type
                                                               ( e . g ., remove temporal layers ).
               Utility                         0 ... N         Each instance of Utility element              dia :UFDataType              ' util '
                                                               describes, for a list of alternatives,                                     box
                                                               values in a certain quality /utility
                                                               type (e . g ., MOS ).
               Utility Rank                 0 ... 1            Describes the quality ranking for a           dia :UtilityRankType         “utir '
                                                               list of alternatives.                                                      box
                                      Value 1 . . . N          Indicates the quality/utility rank            integer                      unsigned
                                                               of an alternative.                                                         int( 16 )
                                                               The number of instances of Value
                                                               element is equal to the number of
                                                               alternatives.



      The following Table 4 shows common semantics of ( 1)
   Resource , (2 ) AdaptationOperator, and ( 3 ) Utility of Table 3 .
                                                      TABLE 4
                                                                                              XML syntax                   Pseudo - code
                                 Occurrence    Semantics                                      (based on MPEG - 21 ) (File format box )
   Element (1 ), Name            1             Describes an identifier for a                  Att .                 unsigned
   (2 ), (3)                                   certain type of the element.                   'iOPinRef ',                 int(32)
                                               When the identifier is not                     ref. a CS
                                               semantically defined by the above              term
                                               embodiment, next three elements
                                               are used to find semantics of the
                                               identifier in a classification
                                               scheme.
                  CSref _ ind 0 . . . 1        Indicates the reference index of a             Not                          unsigned
                                               classification scheme in the list              applicable                   int ( 16 )
                                               provided by ClassSchemeRef element.
                  LevelNum       0 ... 1       Indicates the number of levels.                Not                         unsigned
                                                                                              applicable                  int(16)
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                                                                         US 10 , 362 ,130 B2
                                         15                                                                                            16
                                                            TABLE 4 - continued
                                                                                                  XML syntax               Pseudo -code
                                 Occurrence Semantics                                            (based on MPEG -21) (File format box )
                 LevelIndex      1 . .. N         Each instance of LevelIndex                    Not                 unsigned
                                                  element represents an index value              applicable                int( 16 )
                                                  at a level of the classification
                                                  scheme.
                 Value           1 ... N          Indicates the value of a resource              Component in              unsigned
                                                  type (adaptation operator, or                   dia : VectorDataType     int(32)
                                                  utility ) of an alternative.
                                                  The number of instances of Value
                                                  element is equal to the number of
                                                  alternatives.


      The following Table 5 shows mapping information .
                                                                           TABLE 5
                                                                                                         YMI syntax
                                                                                                         XML syntax                     Pseudo - code
                                              Occurrence          Semantics                              (based on MPEG -21)            (File format box )
   MappingInfo                                0 . .. 1                                                   MappingInfoType                ‘mapi'box
                 AlterLocID                   0 ... 1             Provides a location ID for each        dia: IntegerVectorType          aloc
                                                                  alternative described in QoSInfo .                                   box
                                                                  If AlterLocID element is not
                                                                  present, the first location in the
                                                                  location list may be used for all
                                                                  alternatives .
                                 Value        1 ... N             Indicates a location ID for an         integer                        unsigned
                                                                  alternative .                                                         int( 16 )
                                                                  The number of instances of this
                                                                  element is equal to the number of
                                                                  alternatives .
                                                                   The nth instance of Value element
                                                                  corresponds to the nth alternative
                                                                  of QoSInfo description .
                 ReqQoSPara                   0 ... N             Indicates a parameter of QoSInfo Req QoSPara Type                     *reqp '
                                                                  that may be put in the request (for that extends                      box
                                                                  an alternative) sent by the client to dia :Boolean VectorType
                                                                  the server.
                                                                   A parameter may be an instance of
                                                                  Resource , AdaptationOperator,
                                                                  Utility , or UtilityRank elements .
                                 RefIndex     1                   Indicates instance index /reference    represented by                 unsigned
                                                                  in the instance list of Resource ,     attribute                      int( 16 )
                                                                  Adaptation Operator, Utility and        iOPinRef' that
                                                                  Utility Rank elements .                references an
                                                                                                         IOPin in QoSInfo
                                 All          1                   If true , the parameter needs to be    boolean                        flag
                                                                  requested for all alternatives and
                                                                  ReqFlag may be skipped .
                                 ReqFlag 0 . . . N                Each instance of ReqFlag element component of                         unsigned
                                                                  corresponds to an alternative .      Boolean VectorType               int( 8 )
                                                                  If ReqFlag is true , the request for
                                                                  the corresponding alternative has
                                                                  the parameter identified above.
                 Location List                                    Provides a list of locations for       LocationListType               " locl'
                                                                  retrieving content alternatives                                       box
                                 Location     1 .. .              Provides information of a location Location Type                      ' loca
                                                                                                                                        box



     Semantics of Location elements may be further provided
   as shown in Table 6 .
                                                                                   TABLE 6
                                                                                                                           XML syntax                   Pseudo -code
                                                                       Occurrence Semantics                                (based on MPEG -21) (File format box )
   Loca                                                                 1... N                                             Location Type       ' loca '
   tion                                                                                                                                        box
           LocID                                                                       Indicate an ID of an in             integer             unsigned
                                                                                       stance of Location element.                                      int( 16 )
                                                                                       Location element is refer
                                                                                       red to by AlterLocID .
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                                                          US 10 , 362 ,130 B2
                                  17
                                                            TABLE 6 -continued
                                                                                                     XML syntax              Pseudo -code
                                                         Occurrence Semantics                        (based on MPEG - 21) (File format box )
        StrLocation                                      0 .. . N   Provides location infor          StrLocation Type        'stlo '
                                                                    mation of a stream of a                                  box
                                                                    content interval.
                                                                    Each stream is provided by
                                                                    either a stream URL or a
                                                                    number of fragment URLs.
                      FragNum                            0 . .. 1   Provides the number of           integer                 unsigned
                                                                    fragments                                                int( 16 )
                      StreamUrl                          0 .. . 1   Describes a URL of a             anyURI type             string
                                                                    stream
                      FragmentUrl                        0 ...N     Describes a URL of a             anyURI type             string
                                                                    fragment.
                                                                    The number of instances of
                                                                    FragmentUrl element is the
                                                                    number of fragments .
                      FragTime                           0 ... 1    Provides durations of            dia : VectorDataType     frtm '
                                                                    fragments .                                              box
                                       Value             1 ... N    Indicates a duration of a        integer                 unsigned
                                                                    fragment.                                                int(32)
                                                                    The number of instances of
                                                                     Value element is the number
                                                                    of fragments .
                      Rand Access                        0 ... 1    Describes fragments that         dia : VectorData Type   ‘ rdac ?
                                                                    support random access.                                   box
                                       Value             1...N      Indicates the order of a         integer                 unsigned
                                                                    random -access fragment.                                 int( 16 )
                      MP2TSPara                          0 . .. 1   Describes additional             MP2TSParaType           #mp2p '
                                                                    parameters (beside URL ) for                             box
                                                                    locating a content/program
                                                                    in a MPEG - 2 TS.
                                       PID               1 ... N    Describes values of PIDs of      integer                 unsigned
                                                                    content/ program in a                                int(16 )
                                                                    MPEG - 2 TS .
                      FragBoundaries                     0 ... 1    Describes boundaries of          FragBoundaries Type ' frbd
                                                                    (virtual) fragments in a                                 box
                                                                    stream .
                                                                    The number of instances of
                                                                    FragBoundaries element is
                                                                    equal to the number of
                                                                    fragments of the stream .
                                                                    Only one type of following
                                                                    elements is present in a
                                                                    FragBoundaries instance .
                                       MP2TSBoundary 0 . . . N      Describes parameters for         MP2TSBoundary Type ‘mp2b '
                                                                    detecting ( virtual) fragment                            box
                                                                    boundary in a MPEG -2 TS .
                                                                    If there are two instances of
                                                                    MP2TSBoundary element, the
                                                                    two instances are starting
                                                                    and ending boundaries of a
                                                                    fragment.
                                                                    If there is only one instance
                                                                    of MP2TSBoundary element, the
                                                                    instance is the starting
                                                                    boundary. The ending boundary
                                                                    is right before the starting
                                                                    boundary of the next fragment.
                                       ISOFileBoundary 1 . . . 2    Describes parameters for       ISOFileBoundary Type “isfb '
                                                                    detecting (virtual) fragment                        box
                                                                    boundary in a file based on
                                                                    ISO base media file format .
                                                                    If there are two instances of
                                                                    ISOFileBoundary element, the
                                                                    two instances are starting
                                                                    and ending boundaries of a
                                                                    fragment.
                                                                    If there is only one instance
                                                                    of ISOFileBoundary element,
                                                                    the instance is the starting
                                                                    boundary . The ending boundary
                                                                    is right before the starting
                                                                    boundary of the next fragment.
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                                                                US 10 , 362 ,130 B2
                                     19                                                                                  20
                                                                    TABLE 6 -continued
                                                                                                                  XML syntax            Pseudo- code
                                                               Occurrence Semantics                               (based on MPEG -21) (File format box )
                                           Byte Ranges         1          Describes byte ranges that              ByteRanges Type     'brag
                                                                              identify a part/fragment                                 box
                                                                              of a file .
                                                                              Parameters provided by
                                                                              ByteRanges elementmay be
                                                                              used for byte range options
                                                                              in an HTTP request.

     Semantics of MP2TSBoundary , ISOFileBoundary, and
   ByteRanges may be further provided as shown in Table 7 .
                                                              TABLE 7
                                                                                               XML syntax             Pseudo - code
                                     Occurrence     Semantics                                  (based on DIA )        (MP4 )
   MP2TSBoundary                                                                               MP2TSBoundaryType ‘mp2b ?
                                                                                                                      box
                     PCR _ PID       1              Describes PID carrying PCR of the integer                         unsigned
                                                    concerned content/program .                                       int(16)
                     PCR base         1             Describes a value of a PCR base            long                   unsigned
                                                    field                                                             int(40)
                     PCR ext          1             Describes a value of a PCR                 integer                unsigned
                                                    extension field .                                                 int (16 )
                     Appearance       1             Describes the appearance order             integer                unsigned
                                                    (e. g., 1st, 2nd) of the TS packet                                int( 16 )
                                                    containing the PCR value identified
                                                    by the above two elements .
                                                    If there is resetting /discontinuity of
                                                   PCR , a PCR value may appear more
                                                   than once during an interval.
                     Media _ PID      1 ... N       Describes PID of a media (e.g.,            integer                unsigned
                                                   video ) of a program .                                             int(16 )
                                                    The number of instances of
                                                   Media _ PID element is equal to the
                                                   number of media of the
                                                   program /content.
                     Media _ Offset 1 . . . N      Describes the offset ( in TS packets integer                       unsigned
                                                   of the same media PID ) from the                                   int( 16 )
                                                   above identified PCR packet to the
                                                    first media packet of a fragment.
                                                    The nth instance of Media _ Offset is
                                                   associated with the nth instance of
                                                   Media _ PID .
   ISOFileBoundary                                                                             ISOFileBoundary Type ' isfb '
                                                                                                                      box
                     SequenceNo       1            Describes the sequence number       integer                        unsigned
                                                   provided in the mfhd box .                                         int(16 )
                                                    The mfhd box defines a fragment of
                                                    an MP4 file .
                                                    SequenceNo with a value of 0
                                                    indicates the beginning of the file .
   ByteRanges                                                                                  Byte Ranges Type        brag' box
                     Start
                     Start            1 .. . N      Describes the starting value of a          integer                unsigned
                                                   byte range .                                                       int(32 )
                                                    A value of ' - 1 ' means that this value
                                                    in the HTTP request is missing.
                     End              1... N        Describes the ending value of a byte integer                      unsigned
                                                    range .                                                           int(32)
                                                    A value of - 1 ' means that this value
                                                    in the HTTP request is missing .
                                                    Start- End instances are present in
                                                    pair.
                                                    The n 'h instance of End is associated
                                                   with the nth instance of Start.
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                                                                  US 10 , 362 ,130 B2
                                       21                                                                             22
                                                        TABLE 7 - continued
                                                                                               XML syntax           Pseudo - code
                                        Occurrence Semantics                                   (based on DIA )      (MP4 )
                      Media _ PID       0 .. . N   Describes PID of a media (e .g.,            integer              unsigned
                                                      video ) that needs to be extracted                            int(16)
                                                      from the byte range of the above
                                                      pair of Start -End .
                                                      Media _ PID element is used when
                                                      the byte range is a segment of
                                                      MPEG - 2 TS , and all PIDs do not
                                                      need to be delivered .


      Hereinafter, a Client Request Will be Described .          Resource types are as the following a ) through d ).
      Signaling of metadata obtained by a client may include 15 a ) bitrate : indicates the average bitrate (in Kbps ) of the
   different parts or levels of signaling information . Accord requested alternative.
   ingly , a request from the client to a server may include
   parameters of different levels of details .                   b ) vertresolution : indicates the vertical resolution of the
     Main parameters of the client may be Uniform Resource requested alternative.
    Identifiers (URIs ), and may be associated with a query part . 20 c) horiresolution : indicates the horizontal resolution of the
       Three main scenarios are examined as follows:                 requested alternative.
       1) Server- Based Scenario                                                           d ) framerate : indicates the framerate of the requested
      In the server-based scenario , themetadata provided from                         alternative .
   the server to the client may include general content infor.                            Using the pre-defined parameters, an example of a request
   mation 310 and general interval information 320 .                                   URI based on the bitrate may be " http ://server.com /
       For an URI of requested content, DefaultContentIntLoc                           file .mp4 ?fragno = 5 & bitrate = 550 .”
   ( if not, DefaultContentIntLoc ) may be used . To enable the            3 ) Client-Based Scenario
   client to request a specific fragment of content, the following
   parameters a ) and b ) are defined in the query part (of the            In the client-based scenario , the metadata provided from
   request in operation 140 ):                                     30 the server to the client may include general content, general
       a ) " fragno” : Order value of the fragment in the interval interval information , QoS information , and mapping infor
       b ) " fragti” : Start time of the fragment in the interval     mation .
       For example, a request URImay be “ HTTP :// server .com /           The QoS - related parameters used in the request may be
   file.mp4 ?fragno = 5 .”                                            indicated by a ReqQoSPara part of QoSInfo metadata . For
        2 ) Distributed Scenario                                   35 example , when RefIndex of ReqQoSPara is 0 or null, the
        In the distributed scenario , the metadata provided from       " alter ” parameter may be used instead of other options.
   the server to the client may include general content infor
   mation 310 , general interval information 320 , and QoS dataWhen                ReqQoSPara is not present in the QoSInfo meta
                                                                             , the QoS -related parameters may not be used . Alterna
   information 330.
        In addition to the above parameters , the following QoS - 40 tives in this case may be implied by locations of Mapping
   related parameters a ) through c ) are defined in the query part Info.
   ( of the request in operation 140) to enable the client to              A URI of content may be derived from rich description of
   request an appropriate alternative :                               MappingInfo . When content/program is conveyed in an
      a ) “ alter" : Order value of an alternative . Based on the MPEG - 2 TS, one or more PIDs may be used to locate the
   order value of the alternative , the alternative may appear in 45 content in the stream .
   the QoS information .                                                                 When additional information for detecting fragment
       b ) “ oper1” , “ oper2 ” , . . . , and “ operN ” : “ operi” carries a           boundaries are provided , the following parameters 1 )
   value of an i'" adaptation operation that appears in the QoS                        through 3 ) for the query part (of the request in operation
   information .                                                                       140 ) may be used .
       c ) “ res 1” , “ res2 ” , . . . , “ resN ” : “ resi” carries a value of an 50      1 ) For an MPEG - 2 TS boundary, Appearance , PCR _ PID ,
   ith resource that appears in the QoS information .                                  PCR _ base , PCR _ ext, Media _ PID , and Media _ Offset
       Only one of the above three options may be used in a
   single request.                                                                        2 ) For an ISO media file boundary , SequenceNo
       With typical adaptation operators and resource types ,                             3) For a file considered as a raw byte -sequence, Start and
   specific parameter names for better intelligibility and 55                          End
   interoperability may be defined .                                   Semantics of the above parameters may be provided in
      Adaptation operators are as the following a ) through e ).
      a ) audiolayers : indicates the number of scalable audio       semantics   of a FragBoundaries element.
   layers to be discarded .                                            Start - End pairs may be used by a range header of an
      b ) temporallavers : indicates the number of temporal lay - 60 HTTP request message . For example , if {Start = 0 , End = 99 ) ;
   ers of scalable video to be discarded .                                             (Start= 200 , End = 299 )}, the header may be “ Range :
      c ) spatiallayers: indicates the number of spatial lavers of                     bytes = 0 -99, 200 -299 ."
   scalable video to be discarded .                                                      Hereinafter, syntax representation in an XML format will
      d ) qualitylayers : indicates the number of quality layers of                    be described . Representations of the above syntax elements
   scalable video to be discarded .                                   65               may be provided in the XML format. Semantics of each
      e ) prioritylayers : indicates the number of priority layers of                  element may be traced back in the above Tables 1 through
   scalable video to be discarded .
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                                                                         US 10 ,362, 130 B2
                                           23                                                                             24
     Several elements may be extensions of several types                                           The following Table 10 shows syntax representation of
   defined in an MPEG -21 DIA . Several few elements may                                        IntervalRefType in the XML format.
   take several types defined in the MPEG -21 DIA .
       The following Table 8 shows syntax representation of                                                                          TABLE 10
   HTTPStreamingType in the XML format .                                                        < complexType name = " IntervalsRefType" >
                                                                                                   <complexContent>
                                       TABLE 8                                                       < extension base = " dia :ReferenceType" >
                                                                                                          < sequence >
   < complex Type name=" HTTPStreamingType” >                                                                < element name= " Avaliable Time” type = " integer" minOc
      < complexContent>                                                                   10 curs=“ 0 <”//sequence
                                                                                                          >
                                                                                                                   >
         < extension base = " dia :DIADescription Type” >                                                Kattribute name = ' startTime" type = " xs :duration ” use = " optional" / >
           < sequence >
               < element name=" GeneralInfo" type =" GeneralInfoType "                                 < / extension >
              minOccurs = “ 0 ” / >                                                                < / complexContent>
               < choice minOccurs = “ 0 ” maxOccurs = " unbounded ” >                           </ complexType >
                  < element name=" IntervalsRef" type =" IntervalsRefType" >             15
                  < element name= " Interval” type = “ IntervalType" />
               < / choice >                                                                         The following Table 11 shows syntax representation of
                                                                                                 IntervalType in the XML format.
                                                                                                                       TABLE 11
                                                                              < complexType name=" IntervalType" >
                                                                                 < complexContent>
                                                                                    < extension base =" dia :DIADescription Type” >
                                                                                       < sequence >
                                                                                          < element name=" IntervalInfo " type= " IntervalInfoType” minOccurs =“ 0 " />
                                                                                         < choice minOccurs = “ 0 ” >
                                                                                            < element name= " QoSInfo " type =" QoSInfoType" />
                                                                                              < element name= “ QoS InfoRef" type = " dia :Reference Type" />
                                                                                         </ choice >
                                                                                         < choice minOccurs = “ 0 ” >
                                                                                            < element name= "MappingInfo ” type = " MappingInfoType" />
                                                                                              < element name= "MappingInfoRef" type = " dia:Reference Type” />
                                                                                      < /choice >
                                                                                     < element          name= " PreviousIntervals Ref"
                                                                                    type = " IntervalsRefType"
                                                                             minOccurs = “ 0 ” />
                                                                                      < element          name= " NextIntervalsRef                          type= " IntervalsRefType ”
                                                                             minOccurs = “ 0 ” />
                                                                                      < / sequence >
                                                                                  < /extension >
                                                                                 < / complexContent >
                                                                              < /complexType >

                                 TABLE 8 - continued                                               The following Table 12 shows syntax representation of
        < /sequence > < /complexContent>
                                                                                                IntervalInfoType in the XML format.
   < /complexType >                                                                                                                  TABLE 12
                                                                                          45      complexType name = " Intervallnfolype" >
       The following Table 9 shows syntax representation of                                          < sequence >
   GeneralInfo Type in the XML format.                                                                  < element name= “ TimeScale” type = " integer" minOccurs = “ 0” />
                                                                                                        < element name = " StartTime” type = "dateTime” minOccurs = “ 0 ” />
                                 TABLE 9                                                                  < element name= " Duration ” type = " integer" minOccurs = “ 0 ” />
                                                                                         50
                                                                                                          < element name=" DefaultFragDuration ” type = " integer"
   < complexType name= " GeneralInfo Type” >                                                            minOccurs = " 0 " / >
      < complexContent>                                                                                   < element name= " DefaultContentIntLoc" type= " anyURI”
        < extension base= " dia:DIADescription Type” >                                                   minOccurs = " 0 " / >
           < sequence>                                                                                    < element name=“ Last” type=" boolean ” minOccurs =“ 0” />
                                                                                                   </ sequence >
               < element name =" TimeScale” type = " integer" minOccurs =“ 0 ” />
               < element name= " LiveStartTime” type= " date Time”
                                                                                         55
                                                                                                </complex
                                                                                                  complexType >
              minOccurs = “ 0 ” / >
               < element name= “ Duration ” type = " integer" minOccurs = “ 0 ” />
              < element name= “ DefaultIntDuration ” type =" integer"                               The following Table 13 shows syntax representation of
              minOccurs = “ 0 ” />
              < element name= "MinUpdateTime” type = " integer”                                 QoSInfoType in the XML format.
             minOccurs = " 0 " />
              < element name=" ConsistentQoSInfo” type= " boolean ”                                                                  TABLE 13
             minOccurs = “ 0 ” / >
              < element name= “ DefaultContentLoc " type = " anyURI”                            < complexType name= “ QoSInfoType” >
              minOccurs = " 0 " />                                                                 < complexContent >
           < / sequence >                                                                             < extension base =" dia: DIADescription Type” >
         < / extension >                                                                                  < sequence >
      < /complexContent >                                                                                    < element
    < / complexType >                                                                    65                                      name= " DescriptionMetadata "
                                                                                                type= “ dia : DescriptionMetadataType” minOccurs = “ 0 ” />
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                                                                         US 10 , 362 ,130 B2
                                            25                                                                                            26
                                 TABLE 13 -continued                                                                          TABLE 16 -continued
              < element name=" Description” type =" dia:AdaptationQoSType" />                                          maxOccurs = " unbounded " />
           < /sequence >
           < /extension >                                                                                              < /sequence >
       < / complexContent>                                                                                          </complexType >
    < /complexType >

      The following Table 14 shows syntax representation of                                          The following Table 17 shows syntax representation of
   MappingInfoType in the XML format.                                                           Location Type in the XML format.
                                                 TABLE 14
        < complexType name=" MappingInfoType" >
           < complexContent>
              < extension base = " dia :DIADescription Type" >
                < sequence >
                   < element              name = " AlterLocIDs"      type = " Integer VectorType"
        minOccurs= “ 0 ” />
               < element name= " ReqQoS Para” type= " ReqQoSParaType ” minOccurs =“ 0”
        maxOccurs = " unbounded " / >
               < element name= " Location List" type =" LocationListType " />
                < / sequence >
                < /extension >
             < /complexContent>
         < /complexType >


     The following Table 15 shows syntax representation of 25                               TABLE 17
   ReqQoSParaType in the XML format.                          < complexType name= " Location Type” >
                                                                 < sequence >
                                       TABLE 15                                                       < element            name= " StrLocation ”          type = " StrLocation Type "
                                                                                                maxOccurs = " unbounded " / >
        < complexType name= " ReqQoSParaType " >                                           30      < / sequence >
           < complexContent>                                                                       < attribute name= " locID " type = " integer” use =" required ” />
              < extension base = " dia : BooleanVectorType " >                                  < /complex Type >
                < attribute name= " all" type ="boolean” use= " optional” />
                < attribute name=" OPinRef" type =" anyURI” use= " required ” >
              < extension >                                                                        The following Table 18 shows syntax representation of
                                                                                                StrLocation Type in the XML format.
                                                                                                                 TABLE 18
                                                                                   < complexType name= " StrLocation Type” >
                                                                                      < sequence >
                                                                                         < element name= " FragNum ” type =" integer" minOccurs =" 0 " />
                                                                                         < choice >
                                                                                            < element name= " StreamUrl" type= " anyURI” >
                                                                                             < element name= " FragmentUrl" type= " anyURI” maxOccurs = " unbounded ” >
                                                                                        < / choice >
                                                                                        < element name= " FragTime” type = “ dia:IntegerVectorType" minOccurs = “ 0 ” />
                                                                                        < element name= " RandAccess " type = " dia:IntegerVectorType” minOccurs= “ 0 ” >
                                                                                        < element name= " MP2TSPara ” type= "MP2TSParaType” minOccurs= “ 0 ” />
                                                                                         < element         name=" FragBoundaries”                     type = " FragBoundariesType”
                                                                                   maxOccurs = " unbounded " />
                                                                                      < /sequence >
                                                                                   < /complexType>


                                 TABLE 15 -continued                                              The following Table 19 shows syntax representation of
                                                                                                MP2TSParaType in the XML format.
           < /complexContent>                                                              55
        < /complexType >                                                                                                               TABLE 19

       The following Table 16 shows syntax representation of                                    < complexType name= " MP2TSParaType" >
                                                                                                     < sequence >
   LocationListType in the XML format.                                                     60            < element name=" PID " type =" integer" maxOccurs = “ unbounded " />
                                       TABLE 16                                                      < /sequence >
                                                                                                < /complexType>
                   < complexType name= “ LocationListType” >
                       < sequence>                                                         65
                           < element name = " Location ” type = " Location Type”                  The following Table 20 shows syntax representation of
                                                                                                FragBoundaries Type in the XML format.
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                                                                       US 10 , 362 ,130 B2
                                          27                                                                                   28
                                               TABLE 20
        < complex Type name= " FragBoundariesType” >
           < sequence >
              < choice >
                 < element      name= "MP2TSBoundary”                  type =" MP2TSBoundaryType "
        maxOccurs = “ 2 " / >
                 < element name=" ISOFileBoundary"             type =“ ISOFileBoundaryType"
       maxOccurs = “ 2" />
                 <element name=" ByteRanges” type =“ ByteRanges Type” />
              < /choice >
           < /sequence >
        < /complexType >

       The following Table 21 shows syntax representation of
   MP2TSBoundary Type in the XML format.
                              TABLE 21
   < complexType name= "MP2TSBoundaryType " >
      < sequence >
        < element name=" PCR _ PID ” type = " integer" />
        < element name= "PCR _ base" type = " long" />
           < element name= " PCR _ ext” type= " integer" />
            < element name = " Appearance” type = “ integer" />
           < element name= "Media _ PID " type = " integer ” maxOccurs = "unbounded ” >
           < element name= "Media _ Offset" type = " integer " maxOccurs = "unbounded ” />
       < / sequence >
   < / complexType >


      The following Table 22 shows syntax representations of
   ISOFileBoundary Type and ByteRanges Type in the XML
   format.
                                               TABLE 22
    < complexType name= “ ISOFileBoundaryType" >
      < sequence >
        < element name=" SequenceNo” type =" integer” maxOccurs ="unbounded ” >
      < /sequence >
   < / complexType >
   < complexType name = “ ByteRanges Type ” >
       < sequence maxOccurs = " unbounded ” >
           < element name = " Start ” type = " integer" />
           < element name= " End " type= " integer" />
           < element name=" Media _ PID " type =" integer" minOccurs = “ 0” />
       < /sequence >
   < /complexType >

                                                                                       45
      Hereinafter, syntax representation in an MP4 pseudo -code                                                    TABLE 23 -continued
   format will be described . Representation of the above syntax
   elements may be provided in the MP4 pseudo -code format.                                                           HTTPStreamingBox
      The following Table 23 shows syntax representation of
   HTTPStreamingBox in the MP4 pseudo - code format.                                   50 Mandatory: Yes
                                                                                             Quantity : One
                                     TABLE 23                                                  Aligned(8) class HTTPStreamingBox extends Box (" htps') {
                                 HTTPStreamingBox
   Box Type : 'htps '
   Container: Signaling file                                                                    The following Table 24 shows syntax representation of
                                                                                             GeneralInfoBox in the MP4 pseudo -code format.
                                                                                                           TABLE 24
                                                                 GeneralInfoBox
                                                                 Box Type : ' geni'
                                                                 Container: ' htps '
                                                                 Mandatory : No
                                                                  Quantity : One
                                                                    Aligned (8 ) class GeneralInfoBox extends Box(' geni') {
                                                                      bit( 1 )          consistentQoSInfo _ flag;
                                                                      bit ( 1)         timescale _ flag;
                                                                      bit (1)          live _ start _ time _ flag;
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                                                                           US 10 , 362, 130 B2
                                             29                                                                                                  30
                                              TABLE 24 -continued
        bit ( 1)         duration _ flag ;
        bit(1)           default _ interval_ duration _ flag ;
        bit( 1 )         min _ update _ time_ flag ;
        bit ( 1)         default_ content_ loc _ flag;
        bit( 1 )         reserved;
        if ( timescale _ flag = = 1) { unsigned int(32)                               timescale ; }
        if (live _ start_time_ flag = = 1) { unsigned int(64 )                        live _ start_ time; }
        if (duration _ flag = = 1) { unsigned int(32)                                   duration ; }
        if                (default _ interval_ duration _ flag = = 1)                      (unsigned            int(32 )
        default_ interval_ duration; }
        if (min _ update _time= = 1) {unsigned int (32 )                         min _ update _ time; }
        if (default _ content_ loc _ ref = = 1 ) {string default _ content_ loc _ ref; }

                                                                                               15
     Hereinafter , interval-level information will be described .                                                                          TABLE 27
      The following Table 25 shows syntax representation of
   IntervalBox in the MP4 pseudo-code format.                                                                                            QoSInfo RefBox
                                                                                                              Box Type : ' qref
                                       TABLE 25                                                20              Container: “ intv
                                                                                                              Mandatory : No
                                        IntervalBox                                                            Quantity : Zero or more
   Box Type: ' intv                                                                                              Aligned (8 ) class QoSInfoRef extends Box (" qref') {
   Container: 'htps                                                                                                unsigned int(8 ) index;
   Mandatory: No                                                                                                    string                                   location;
    Quantity : One or more                                                                     25
      Aligned (8 ) class IntervalBox extends Box (“intv ') {
                                                                                                       The following Table 28 shows syntax representation of
      The following Table 26 shows syntax representation of                                         MappingInfoRefBox in the MP4 pseudo- code format.
   IntervalRefBox in the MP4 pseudo - code format.                                             30
                                                                                                                           TABLE 28
                                       TABLE 26                                                                                       MappingInfoRefBox
            IntervalRefBox                                                                                Box Type: “mref '
           Box Type : ‘iref"                                                                   35         Container: ' intv
           Container : " htps '                                                                           Mandatory : No
           Mandatory : No
            Quantity : One ormore                                                                         Quantity : Zero ormore
              Aligned ( 8 ) class IntervalRefBox extends Box (‘ iref') {                                       Aligned (8 ) class Mapping InfoRef extends Box (“mref') {
                 unsigned int( 8 ) index ;                                                                       unsigned int(8 ) index ;
                 string                                                                                          string                                 location ;
                                                  location;                                    40



       The following Table 27 shows syntax representation of                                            The following Table 29 shows syntax representation of
    QoSInfoRefBox in the MP4 pseudo - code format .                                                   IntervalInfoBox in the MP4 pseudo - code format .
                                                                                                                                TABLE 29
                                                                                                                              IntervalInfoBox
                                                                             Box Type : ' inti '
                                                                              Container: 'intv ?
                                                                             Mandatory : No
                                                                             Quantity : Zero or more
                                                                                Aligned (8 ) class IntervalInfoBox extends Box ('geni') {
                                                                                   bit ( 1)     last_ flag;
                                                                                   bit( 1 )     timescale _ flag ;
                                                                                   bit( 1 )     start_ time_ flag ;
                                                                                   bit ( 1 )    duration _ flag;
                                                                                   bit (1 )     default _ frag _duration _ flag ;
                                                                                   bit (1) default _ content_interval_ loc _ flag;
                                                                                   bit (2 )    reserved ;
                                                                                   if (timescale _ flag = = 1) {unsigned int( 32) timescale;}
                                                                                   if (start_ time_ flag = = 1 ) {unsigned int(32 ) start_ time; }
                                                                                   if (duration _ flag = = 1 ) {unsigned int(32 ) duration ;}
                                                                                   if (default_ frag _ duration = = 1) {unsigned int(32 ) default _ frag _ duration ; }
                                                                                                          (default _ content_ interval_ loc _ flag = = 1 )        { string
                                                                             default_ content_ interval_ loc ; }
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                                                  US 10 , 362 ,130 B2
                              31                                                                                     32
       The following Table 30 shows syntax representation of                                          TABLE 30 - continued
   NextIntervalRefBox in the MP4 pseudo - code format.
                                                                                                        NextIntervalRefBox
                               TABLE 30                                     Aligned (8 ) class NextIntervalRef extends Box (*nref') {
                                                                              unsigned int( 32 )                    available _time;
                            NextIntervalRefBox                                 unsigned int(8 )            index ;
                                                                               string                                            location ;
   Box Type: ‘nref
   Container : " intv
   Mandatory : No                                                  10       Hereinafter , QoS information will be described .
   Quantity : Zero ormore                                                   The following Table 31 shows syntax representation of
                                                                          QoSInfoBox in the MP4 pseudo -code format.
                                                                                                     TABLE 31
                                                                                                      QoSInfoBox
                                                         Box Type: QoSi?
                                                         Container: ‘intv ' or ' htps'
                                                         Mandatory : No
                                                       Quantity : Zero or more
                                                     Note : when a QoSi' box is stored separately from other signaling metadata , it will stay
                                                     directly in ' htps' box for the purpose of easy referencing .
                                                          Aligned (8 ) class QoSInfoBox extends Box (" QoSi') {

                                                                   25
                                                                            The following Table 32 shows syntax representation of
                                                                          ClassSchemeRefBox in the MP4 pseudo-code format .
                                                                                                              TABLE 32
                                                                   30                                     ClassSchemeRefBox
                                                                      Box Type : 'csmr'
                                                                      Container: QoSi?
                                                                     Mandatory : No
                                                                      Quantity : Zero or more
                                                                   35 Aligned (8) class Class SchemeRef extends Box (*csmr') {
                                                                           unsigned int(32 )                       entry _ count;
                                                                           for (i = 1; i < = entry _ count ; i + + )
                                                                                   string           scheme;                                     / /URL


                                                                   40

                                                                            The following Table 33 shows syntax representation of
                                                                          ResourceBox in the MP4 pseudo -code format.
                                                                                          TABLE 33
                                                                                                    ResourceBox
                                                   Box Type: ' resi
                                                    Container: “ QoSi?
                                                   Mandatory : No
                                                   Quantity : Zero ormore
                                                                       class ResouceBox extends Box
                                                         unsigned int(32 )                  name;
                                                   (name= =“ 1000" ||name= = “ r001 "||name = =“ r002" ||name = = “ r003 " |name= =“ r004” ||
                                                   name= =“ 1005"|| name= =" 1006"||name= =“ 1007"||name= =“ 1008 "||name= = “1009 ” )
                                                            unsigned int( 16 )                      csref_ ind ;
                                                            unsigned int( 16 )                      level_ num ;
                                                            for (i = 1 ; i < = level_ num ; i + + )                   {
                                                              unsigned int( 32 )                       level_ index ;

                                                         for (i= 1 ;        ; i+ + )        {
                                                            unsigned int( 32)                   value ;


                                                     We define some typical names of resource types as follows
                                                          bitr 'means average bitrate of the content
                                                         “ frar” means frame rate of video content
                                                         " verr” means vertical resolution of video frame
                                                         " horr ” means horizontal resolution of video frame
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                                                                           US 10 , 362 ,130 B2
                                           33                                                      34
                                          TABLE 33 -continued
                                             ResourceBox
     When a resource type defined in some Classification Scheme should be used , the
   resource takes a " dummy name” among {*r000 ', ‘r001', ....,-r009 '} and some special
   parameters (csref_ind , level_ num , level_ index ) are used to associate that " dummy
   name” with a term of semantics in the Classification Scheme.


      The following Table 34 shows syntax representation of
   AdaptationOperatorBox in the MP4 pseudo -code format.
                                 TABLE 34
                                                AdaptationOperatorBox
      Box Type: ' adpo '
      Container : QoSi?
     Mandatory: No
      Quantity : Zero or more
           Aligned( 8 ) class Adaptation OperatorBox extends Box(" adpo ') {
             unsigned int( 32 )             name;

   (name= = " 2000" ||name= = “ a001" ||name= = " a002" ||name= = “ 2003" ||name= = “ a004 " ||
   name = = " a005" ||name= = " a006 " ||name= = " a007" ||name= = " a008” ||name= = “ 2009 ” )
                unsigned int(16 )                         csref _ind ;
               unsigned int ( 16 )                        level_ num ;
                for (i= 1; i < = level_num ; i+ +)
                   unsigned int( 32 )                          level_ index ;

             for (i= 1 ;       ; i+ + )
                unsigned int(32 )                    value ;

           We define some typical names of adaptation operator types as follows
            'spals' means the number of spatial layers to be discarded , from the highest
   one .
           ' quls ' means the number of quality layers to be discarded , from the highest
   one .
           ' tmls ' means the number of temporal layers to be discarded , from the highest
   one .
         When a adaptation operator type defined in some Classification Scheme (outside
   this standard ) should be used , the operator takes a " dummy name” among {'a000 ',
    a001', ..., "a009 '} and some special parameters (csref_ind , level_num , level_ index ) are
   used to associate that " dummy name” with a term of semantics in the Classification
   Scheme.


       The following Table 35 shows syntax representation of
   Utility Box in the MP4 pseudo -code format.
                                                   TABLE 35
                                                     Utility Box
      Box Type : ' util
       Container: QoSi?
      Mandatory: No
       Quantity : Zero or more
         Aligned (8 ) class Utility Box extends Box ( util ') {
           unsigned int( 32 )                name;
            if
   ( name = = “ u000 "||name = = “ _ 001 "||name= =" u002"||name = =" u003"||name = =“ u004 " ||
   name= = "u005 "||name= = "u006 "||name= = “ 007" ||name = = “ u008" ||name = = “ u009" )
               unsigned int( 16 )                    csref_ind ;
               unsigned int( 16 )                    level_num ;
                for (i= 1; i < = level_ num ; i+ + )
                  unsigned int(32 )                       level_ index ;

             for (i= 1 ;     ; i+ + )       {
               unsigned int(32 ) value;

           We define some typical names of utilities as follows
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                                                                     US 10 , 362 ,130 B2
                                          35                                                                                  36
                                        TABLE 35 -continued
                                                  Utility Box
          ‘psnr
          ‘mos '
       When a utility type defined in some Classification Scheme (outside this standard )
   should be used , the operator takes a " dummy name” among {" u000 ', 'u001’, ..., 'u009' }
   and some special parameters (csrefind, level_ num , level_ index) are used to associate
   that “ dummy name” with a term of semantics in the Classification Scheme.


      The following Table 36 shows syntax representation of                                                      TABLE 39 -continued
   UtilityRankBox in the MP4 pseudo -code format.
                                                                                                                       ReqQoSParaBox
                                    TABLE 36                                      15
                                                                                                    Aligned (8 ) class ReqQoSParaBox extends Box (*reqp ') {
                                   Utility RankBox                                                     bit( 1) all_ flag ;
                   Box Type : “utir '                                                                  bit ( 7 ) reserved ;
                    Container: QoSi?                                                                   unsigned int( 32 ) refindex ;
                   Mandatory: No                                                                        if ( all_ flag = = 0 ) {
                                                                                  20
                   Quantity : Zero ormore                                                                   for (i= 1 ; ; i+ +) {
                     Aligned (8 ) class Utility RankBox extends Box (?utir ') {                               unsigned int(8 ) req _ flag ;
                        for (i= 1 ; ; i + + ) {
                          unsigned int(32)         value;
                                                                                                       ??
                                                                                  25              ??

     Hereinafter, mapping information will be described .
      The following Table 37 shows syntax representation of                              The following Table 40 shows syntax representation of
   MappingInfoBox in the MP4 pseudo -code format.                                      ReqQoSParaBox in the MP4 pseudo -code format.
                                              TABLE 37
                                            MappingInfo Box
       Box Type : 'mapi
       Container: ‘intv ' or 'htps ’
       Mandatory : No
       Quantity : Zero ormore
         Note : when a ‘mapi’ box is stored separately from other signaling metadata , it will
       stay directly in ‘htps 'box for the purpose of easy referencing.
          Aligned ( 8 ) class Mappinginfo Box extends Box("mapi') {


     The following Table 38 shows syntax representation of                                                              TABLE 40
   AlterLocIDBox in the MP4 pseudo -code format.                                                                       ReqQoSParaBox
                                                                                  45
                         TABLE 38                                                                Box Type: 'locl
                                                                                                 Container: 'mapi
                                    AlterLocIDBox                                                Mandatory : No
                                                                                                 Quantity : Zero or more
                   Box Type : ‘ aloc'                                                               Aligned (8 ) class Location ListBox extends Box ("locl') {
                   Container: ‘mapi
                   Mandatory : No                                                 50
                    Quantity : Zero or more
                     Aligned (8 ) class AlterLocIDBox extends Box (*aloc') {              The following Table 41 shows syntax representation of
                       for (i= 1; ; i+ + ) {                                           LocationBox in the MP4 pseudo - code format.
                          unsigned int(32 )        value ;
                                                                                                                         TABLE 41
                                                                                                                     LocationBox
       The following Table 39 shows syntax representation of
   ReqQoSParaBox in the MP4 pseudo - code format.                                                      Box Type : 'loca ?
                                                                                                       Container: ' locl
                                                                                  60                   Mandatory : Yes
                                    TABLE 39                                                            Quantity : One or more
                                                                                                          Aligned (8 ) class LocationBox extends Box ("loca ') {
                                  ReqQoSParaBox                                                             unsigned int( 16 ) frag_ num ;
                                                                                                             unsigned int( 16 ) locID ;
               Box Type : ‘reqp ?
               Container: ‘mapi'
               Mandatory : No
                Quantity : Zero or more                                                  The following Table 42 shows syntax representation of
                                                                                       FragTimeBox in the MP4 pseudo -code format.
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                                                                US 10 ,362 , 130 B2
                                       37                                                                               38
                                  TABLE 42                                                                          TABLE 46
                                  FragTimeBox                                                                   FragBoundariesBox
              Box Type: ' frtm ?                                                            Box Type : 'frbd '
              Container: 'loca '                                                            Container : 'loca ?
              Mandatory : No
                                                                                            Mandatory: No
                                                                                             Quantity : Zero or more
              Quantity : Zero ormore                                                           Aligned ( 8 ) class FragBoundariesBox extends Box ("frbd ') {
                 Aligned (8 ) class FragTimeBox extends Box (*frtm ') {
                   for (i = 1 ; ; i+ + ) {
                     unsigned int(32) value;                                 10
                                                                                    The following Table 47 shows syntax representation of
                                                                                  MP2TSBoundaryBox in the MP4 pseudo - code format.
                                                                                                                  TABLE 47
     The following Table 43 shows syntax representation of 15                                                  MP2TSBoundaryBox
   RandAccessBox in the MP4 pseudo -code format.                                          Box Type: 'mp2b '
                                  TABLE 43                                               Container: ‘ frbd
                                                                                         Mandatory : No
                                                                                          Quantity : Zero or more
                                  RandAccess Box                             20
                                                                             20             Aligned (8 ) class MP2TSBoundaryBox extends Box (“mp2b ') {
                                                                                              unsigned int( 16 ) appearance ;
            Box Type : 'rdac '                                                                unsigned int( 16 ) PCR _ ID ;
            Container : ' loca'                                                               unsigned int( 40 ) PCR _ base ;
            Mandatory : No                                                                     unsigned int( 16 )      PCR _ ext;
            Quantity : Zero or more
               Aligned (8 ) class RandAccessBox extends Box (*rdac ') {                        for (i= 1; ; i+ + ) {
                 for (i= 1 ; ; i + + ) {                                     25                  unsigned int( 16 ) media _ PID ;
                    unsigned int( 16 ) value ;                                                 for (i= 1; ; i+ + ) {
                                                                                                  unsigned int ( 16 ) media _ offset;

      The following Table 44 shows syntax representation of 30
   StrLocationBox in the MP4 pseudo -code format.                                   The following Table 48 shows syntax representation of
                                                                                  ISOFileBoundaryBox in the MP4 pseudo -code format.
                                   TABLE 44
                                                                                                                    TABLE 48
                                  StrLocationBox                             35
                                                                                                               ISOFileBoundaryBox
              Box Type: 'stlo '
              Container: 'loca                                                            Box Type: ‘isfb '
              Mandatory : Yes                                                             Container : ‘ frbd
               Quantity : One or more                                                     Mandatory : No
                 Aligned (8 ) class StrLocationBox extends Box ('stlo ') {   40           Quantity : Zero or more
                   bit( 1 ) stream _ url_ flag;                                             Aligned ( 8 ) class ISOFileBoundaryBox extends Box [" isfb ') {
                   bit(7 ) reserved;                                                           unsigned int( 16 )      sequence _ no ;
                   if (stream _ url _ flag = = 1 ) {
                      string stream _ url;
                   } else {
                       for (i= 1 ; ; i+ + ) {                                        The following Table 49 shows syntax representation of
                          string fragment_ url;                              43 ISOFileBoundaryBox in the MP4 pseudo - code format.
                                                                                                                    TABLE 49
                                                                                                                 ByteRangesBox
                                                                             50
      The following Table 45 shows syntax representation of -                               Box Type: ' isfb '
   MP2TSParaBox in the MP4 pseudo -code format.                                             Container : ‘frbd
                                                                                            Mandatory : No
                                                                                            Quantity : Zero or more
                                  TABLE 45                                                     Aligned (8 ) class ByteRangesBox extends Box ("brag ') {
                                                                                                 for (i= 1; ; i+ + ) {
                              MP2TSParaBox                                                          unsigned int(32)         start;
           Box Type : 'mp2p
                                                                                                    unsigned int(32) end ;
           Container: 'loca '
           Mandatory : No
           Quantity : Zero or more
               Aligned (8 ) class MP2TSParaBox extends Box (“mp2p ') {       60      FIG . 4 is a diagram illustrating detecting of virtual bound
                 for (i= 1 ; ; i+ + ) {                                           aries in an MPEG - 2 TS according to an embodiment of the
                    unsigned int( 16 ) PID ;                                      present invention .
                                                                                     In a TS , PCR packets of a given program may be carried
                                                                                  with fixed PIDs (namely, PCR _PID ), and may be inserted at
                                                                             65   least every 100 ms.
     The following Table 46 shows syntax representation of                           The PCT packets (with increasing values ) may be con
   FragBoundariesBox in the MP4 pseudo -code format.                              sidered as anchor points of the program . On the other hand,
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                                                                      US 10 , 362 ,130 B2
                                          39                                                                             40
   each media of a program may be carried by packets of a                                                   TABLE 51 -continued
    given PID ( namely , Media _ PID ).                                                                are a name and value of a corresponding attribute .
       Accordingly, a fragment boundary of a media stream may                                          For example , if the string is “ 2 3” and the second and
   be defined or identified by 1 ) a specific anchor point and 2 )                                     third attributes of the Representation are [ . . .
   an offset from the anchor to the packet at the boundary. 5                                          with = " 320 " height = " 240" . . . ), the query part may
                                                                                                       be “ with = 320 & height = 240 .” If the string starts
       The offset may be counted by the packets of the same                                            with “ ?," an exact query string for a request of
   Media _ PID .                                                                                       the given Representation may be provided , for
       PCR values may be occasionally reset (discontinuity ). For                                      example , " bandwidth = 1000 & with = 320 & height = 240 ."
   example , when one or more PCR packets have the same                                                URL encoding ( as defined in RFC 2616 ) may be
                                                                                                       applied here to support special characters. Several
   PCR value in an interval, an appearance order of PCR 10                                             special characters that will be defined below may be
   packets used as anchors may be indicated .                                                          also used in the text string.
     Accordingly , a fragment boundary of a media stream in a rand Access                              Equivalent to RandAccess element in the syntax .
   MPEG - 2 TS may be identified by the following parameters                                           The randAccess attribute is a text string
                                                                                                       that is formed of a sequence of values separated
   in Table 50 .                                                                                       by spaces. Each value indicates the order of a
                                                                                  15
                                                                                                       segment of the Representation.
                                     TABLE 50                                                          Segments identified by the rand Access attribute may
                                                                                                       support random access .
   PCR _ PID        Describes a PID carrying a PCR of a concerned content/
                    program .
   PCR _ base       Describes a value of a PCR base field                         20
                                                                                         Furthermore , the semantics of the range attribute of
   PCR ext          Describes a value of a PCR extension field                    20 UrlType may be extended to support multiple byte ranges,
   Appearance Describes the appearance order (e.g., 1st, and 2nd ) of the TS         for example , " O -500 , 1000 - 1500 .” Such a modification may
              packet including the PCR value identified by the above two         enable the range attribute to be equivalent to ByteRanges
                    elements .
                If there is resetting /discontinuity of PCR , a PCR value may    element of the above syntax .
                appear more than once during an interval.                           Additionally, a sourceURL attribute may be changed from
   Media PID Describes a PID of a media (e.g., video ) of a program .         25 required to optional. This is because baseURL already
   Media _ Off- Describes an offset (in TS packets of the same Media _ PID )     provides a complete URL . The sourceURL may be unnec
   set          from the above identified PCR packet to the firstmedia           essary.
                packet of a fragment.
                                                                                          The use ofmultiple byte ranges may provide flexibility in
                                                              downloading “ virtual segments .” For example, a segment of
      Hereinafter, Mapping and Extension of Several Syntax 30 a low frame rate (that is able to be used in a trickmode ) may
   Elements in 3GPP Adaptive HTTP Streaming Schema Will                                be extracted on -the-fly from a stream or an original segment.
   be Described .                                                                        In addition , to support using multiple URLs for a Repre
      The 3GPP has enabled standardization of a standard forsentation , the following modificationsmay be applied to the
   adaptive HTTP streaming Mapping of several syntax ele -  schema of 3GPP Adaptive HTTP Streaming
   ments described above into the schema of 3GPP adaptive 35 Hereinafter, Multiple Locations for the Same Resource /
   HTTP streaming is shown.                                 Content Will be Described .
      Several other different syntax may be used to represent                             Each level of description (a top - level, a Period level, and
   ideas in the following embodiment.                           a Representation level) may provide only a single base URL
      In the above schema, the term “ period ” may be equal to  for building absolute URLs from the description .
   the term “ interval” discussed above . Semantics of added 40 Multiple base URLs may be provided at each description
   elements/ attributes are provided in Table 51.              level. Multiple base URLs may signal availability of
                                                               resources at multiple locations.
                             TABLE 51                              Depending on an actual location of a client, the clientmay
   PeriodsRef            Equivalent to IntervalsRef element in the syntax .            select one or more base URLs in a process of retrieving
                         Child elements (Location , startTime, and                45 resources.
                         availableTime) are already defined in the table .               Such a modification may be implemented by different
                         To make it consistent with change of Period 's start /        ways . One way may be to use an additional attribute called
                         duration attributes , the same duration attribute of
                         Period may be used in PeriodsRef.                             “ morebaseURLs," or an element called " BaseURLs.”
   NextPeriodRef         Equivalent to PreviousIntervalsRef in the syntax.              The attribute or element may be a string formed of
   Previous              Equivalent to PreviousIntervalsRef in the syntax.        50 multiple (base ) URLs. The string may be separated by
   PeriodsRef                                                                        several special characters, for example “ ;" (namely, a semi
   lastPeriodFlag        Equivalent to Last element in the syntax .
   Quality               Equivalent to Utility element of AdaptationInfo             colon and a space ).
                         (or QoSInfo ) in the syntax .                                  For example , when a semicolon or space appears within
                         Quality element has the following two attributes:
                         1) name: describes a quality type (e.g.,MOS,
                                                                                     a URL , the semicolon or space may be encoded by the rules
                                                                                  55 of RFC 2616 .
                         and PSNR). The name attribute has the type of                  The morebaseURLs attribute (or BaseURLs element) of a
                         QualityNameType. Semantics of quality names
                         listed in Quality NameType are defined by                     lower description level may override the same attribute (or
                         classification scheme AdaptationQoSCS of                      element) of the higher description level.
                        MPEG - 21 DIA .                                                  For clarity , the morebaseURLs attribute and BaseURLS
                         2 ) value : describes a quality value.                   60 elementmay be restricted to be mutually exclusive . In other
   request Para          Equivalent to ReqQoS Para element in
                         the syntax . The requestPara attribute is a text            words, only a single typemay exist in a whole description .
                         string with the format defined as follows.                     Another way may be to use a MoreBaseURL element of
                         If the string does not start with “ ?," the string may      any URI type with multiple instances, where each instance
                         be formed of a sequence of values separated by              provides a base URL .
                         spaces. Each value indicates the order of an
                         attribute of Representation that is used as a parameter 65       The different ways may be merely examples of ideas for
                         in a query. A name and value of a query parameter             providing multiple base URLs. The ideas may be imple
                                                                                       mented in many other ways or even other languages .
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                                                                          US 10 , 362 ,130 B2
                                                                                                                                          42
      Hereinafter, Multiple Locations for Resource /Content                                                                  TABLE 52 -continued
   Components Will be Described .
     Resource /content may be divided into one or more com                                        < s :sequence >
   ponents/streams. Each of the one or more components /                                            < xs:element name= " Location " type =" xs:anyURI” >
                                                                                                  < / xs: sequence >
   streams may be delivered from a location . The delivering 5                                    < xs :attribute name = " startTime” type = " xs :duration " />
   may be supported by allowing multiple instances of an                                          < xs:attribute name = " duration " type = " xs : duration " / >
   UrlTemplate element or a Url element set in SegmentInfo                                         < xs :attribute name = " available Time” type= " xs:duration " >
    Type.                A             modification                    " < xs:choice           </ xs:complexType > >
   maxOccurs = " unbounded” > ” in SegmentInfoType may be
   used for the above purpose .                                                           10
      The appearance order of a UrlTemplate instance or a Url                                               TABLE 53
   set instance may indicate importance of “ location /stream .” A
   more important location may appear before a less important < !-- Type of presentation - live or on - demand -- >
   location . For example , a video Representation may include e < xs<:xssimpleType       name =“ PresentationType " >
                                                                              :restriction base = " xs :string" >
    two streams ( for example , a spatial base layer, and a spatial 15      < xs:enumeration value = " OnDemand " />
    enhancement layer ). Each of the two streams may be deliv                < xs:enumeration value = " Live " />
    ered from a location described by UrlTemplate . Subse < /xs< :xssimpleType :restriction >
                                                                                           >
    quently, the first instance of UrlTemplate may be a location < !-- Period of a presentation           -- >
   for the spatial base layer.                                         < xs:complexType name= " PeriodType" >
      Moreover, multiple instances of InitialisationSegmen - 2020 <xs:sequence >
   tURL may be allowed . An nth instance of InitialisationSeg                <xs:element minOccurs =“ 0 ” name= " SegmentInfoDefault”
   mentURL may correspond to an nth instance of a location             type =" SegmentInfoDefaultType" />
   (by either the UrlTemplate element or the Url element set). type =<"xsRepresentation
                                                                                 :elementmaxOccurs =" unbounded ” name = " Representation ”
                                                                                               Type " />
      For example , when only a single instance of Initialisa                                       < xs :elementminOccurs = “ 0 ” name= " PreviousPeriodsRef":
   tionSegmentURL exists, the instance may be used for all 25                                        type = " xs :PeriodsRef" >
   locations .                                                                                      < xs:element minOccurs = “ 0 ” name = " NextPeriodsRef"
      The following Tables 52 through 55 show the schema of                                         type = " xs: PeriodsRef />
                                                                                                     < xs :any namespace = " #Hother ” processContents = " lax”
   3 GPP AdaptiveHTTPStreaming.                                                                    minOccurs = “ 0 ”
                                                                                               maxOccurs = " unbounded " / >
                                           TABLE 52                               30      < /xs:sequence >
                                                                                          < xs:attribute name = " start" type = " xs :duration " />
   < ? xmlversion =" 1.0 " encoding =" UTF -8" ?>                                         < xs :attribute default= " false " name= " segmentAlignmentFlag"
   < xs:schema                                                                           type = " xs:boolean " />
   targetNamespace = " urn :3GPP:ns:PSS:AdaptiveHTTPStreamingMPD :2009 ”                  < xs :attribute default= " false " name= "bitStreamSwitchingFlag"
      attribute FormDefault = " unqualified "                                            type = " xs:boolean " />
      elementFormDefault= " qualified ”                                           35 type < xs :attribute default =" false " name= " lastPeriodFlag"
       xmlns :xs= " http ://www .w3. org/ 2001/XMLSchema”                                        = " xs :boolean" />
       xmlns = " urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009" >                     < xs :anyAttribute namespace = “ # # other” processContents = " lax ” />
       < xs : annotation >                                                            < xs:complexType >
            < xs :appinfo >Media Presentation Description < /xs:appinfo >             < !-- Program information for a presentation -- >
            < xs:documentation xml:lang = " en " >                                    <xs:complexType name=" ProgramInformationType" >
                 This Schema defines 3GPP Media Presentation Description !        40
                                                                                          < xs :sequence >
            < / xs : documentation >                                                          < xs :element minOccurs = " 0 " name = " Title " type = " xs:string" />
       < / xs :annotation > < !-- MPD : main element -- >                                     < xs:element minOccurs = “ 0 ” name= " Source" type = " xs:string " >
       < xs:element name= " MPD " type =" MPDtype " >                                         < xs :element minOccurs = “ 0 ” name= " Copyright” type = " xs :string" />
   < !-- MPD Type -- >                                                                        < xs : any namespace = " # Hother” processContents = " lax ”
   < xs:complex Type name= "MPDtype >                                                        minOccurs = " 0 "
       < xs:sequence >                                                               maxOccurs = " unbounded " / >
            < xs :elementminOccurs= “ 0 ” name= “ ProgramInformation”             45 < / xs: sequence >
   type = " ProgramInformation Type" />                                                   < xs:attribute name = "moreInformationURL " type= "xs:anyURI” />
            < xs:choice maxOccurs = “ unbounded ” >                                       < xs:anyAttribute namespace = " # # other” processContents = " lax ” >
                 < xs :element name= " Period ” type = " PeriodType " />              </ xs :complexType >
                 < xs :element name = " PeriodsRef" type = " PeriodsRefType" />
            < /xs :choice >
            <xs:elementminOccurs = “ 0 ” name= " BaseUrls" type = " xs:string" /> 50
            < xs:elementminOccurs = " 0 " maxOccurs = " unbounded ”                                                          TABLE 54
           name ="MoreBaseUrl"
   type = " xs:anyURI” >                                                              < !-- Default Segment access information -- >
        < xs :any namespace = " # # other” process Contents = " lax ” minOccurs = " 0 "        <xs:complexType name=" SegmentInfoDefaultType" >
   maxOccurs = " unbounded ” />                                                                   <xs:sequence >
      < /xs:sequence >                                                                    55        < xs: elementminOccurs = “ 0 ” name= " BaseUrls " type = " xs: string" / >
      < xs: attribute default= " OnDemand” name= " type"                                            < xs:element minOccurs = " 0 " maxOccurs = " unbounded ”
     type = " Presentation Type " />                                                                name = "MoreBaseUrl"
     < xs:attribute name =" availabilityStartTime" type= " xs:date Time” />        type = " xs :anyURI” />
     < xs:attribute name = " availabilityEndTime” type = " xs:date Time” >                < xs:any namespace = “ # # other” processContents = " lax ”
     < xs:attribute name = "media PresentationDuration ” type = " xs:duration " >        minOccurs = " 0 "
     < xs :attribute name = "minimumUpdatePeriodMPD " type = " xs:duration " > 60 maxOccurs =" unbounded ” >
      < xs :attribute name= "minBufferTime” type = " xs :duration ”                   < / xs:sequence >
     use = " required " />                                                            < xs:attribute name= " baseURL " type =" xs :anyURI” >
      < xs :attribute name= " timeShiftBufferDepth " type = " xs:duration " >         < xs:attribute name= " morebaseUrls" type = " xs:string" />
      < xs : attribute name= " baseUrl" type = " xs:anyURI” >                                     < xs:attribute name = " duration ” type= " xs :duration " >
      < xs :attribute name = "morebaseUrls" type = " xs:string" />                                <xs:attribute name= " sourceUrlTemplate Period " type = " xs:string" / >
      < xs:any Attribute namespace = " # # other” process Contents = “ lax ” />                    < xs :any Attribute namespace = “ #Hother” processContents = " lax " />
    < / xs :complexType >                                                                 65 < /xs:complexType >
    <xs:complexType name = " PeriodsRefType" >                                                 < !-- A Representation of the presentation content for a
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                                                                           US 10 , 362 ,130 B2
                                                43                                                                                 44
                                   TABLE 54 -continued                                                                  TABLE 55 -continued
   specific Period -- >                                                                       < xs :anyAttribute namespace = “ #mother” processContents =" lax ” >
   < xs:complexType name=" Representation Type” >                                          < xs:complex Type >
      < xs :sequence >                                                                     < ! -- A Segment URL -- >
         < xs :element name= " SegmentInfo" type= " SegmentInfoType" />               5 <xs:complexType name = "Url Type” >
         < xs :element minOccurs = “ 0 ” name = " Content Protection ”                    < xs:sequence >
   type = " ContentProtection Type" />                                                       < xs:any namespace =“ #Hother” processContents = " lax”
         < xs :element minOccurs = “ 0 ” name = " TrickMode "                                   minOccurs = " 0 "
         type = " TrickModeType" />                                                        maxOccurs = " unbounded " />
          < xs :element minOccurs = “ 0 ” maxOccurs =" unbounded ”                            < / xs: sequence >
        name = " Quality "                                                            10      < xs :attribute name= " sourceURL " type = " xs:anyURI”
   type = " Quality Type" />                                                                 use = " optional" />
         < xs :any namespace = " # # other” processContents = " lax ”                         < xs:attribute name = " range” type =" xs:string" />
        minOccurs = “ 0 ”                                                                     < xs:anyAttribute namespace = “ # # other” processContents = “ lax " />
   maxOccurs = " unbounded " / >                                                           < xs: complex Type >
      < /xs :sequence >
      < xs:attribute name= " bandwidth ” type =" xs :unsignedInt"                     15
     use = " required" >
         < xs :attribute default =" 0 " name =" group " type = " xs:unsignedInt" />                                           TABLE 56
      < xs: attribute name= " width " type = " xs :unsignedInt" />
      <xs: attribute name= " height” type = " xs:unsignedInt" />                           < !-- A URL template -- >
      < xs:attribute name = " lang" type = " xs :string " >                                < xs.complexType name=" UrlTemplateType" >
      < xs:attribute name= " mimeType" type = " xs:string” use = " required " />      20      <xs:sequence >
      < xs:attribute default= " false " name= " start WithRAP "                                  < xs:any namespace =“ # # other” process Contents = " lax ”
      type = " xs :boolean " / >                                                                minOccurs = “ 0 ”
      < xs:attribute name=" qualityRanking ” type = " xs:unsignedInt" />                   maxOccurs = " unbounded " />
        < xs:attribute name= " request Para ” type = " xs:string" >                           < xs :sequence >
       < xs:any Attribute namespace =" # Hother” processContents = " lax " />                 < xs:attribute name = “ sourceURL " type = " xs :anyURI” />
   < / xs:complexType >                                                                      < xs:attribute name= " id " type= " xs :string" />
   < xs:complexType name= " QualityType" >                                            25      <xs:attribute default= " 1" name= " startIndex":
      <xs: sequence >                                                                        type = " xs :unsignedInt" >
        < xs :any namespace = “ # # other ” process Contents = " lax”                         < xs :attribute name = " endIndex ” type =" xs:unsignedInt" >
        minOccurs = “ 0 ”                                                                     < xs :any Attribute namespace = "    other"
   maxOccurs = " unbounded " / >                                                               processContents = " lax " />
      < / xs :sequence >                                                                   < / xs :complexType >
      < xs:attribute name= " name" type = " xs: QualityNameType" />                   30 < ! -- Gives information about the content protection -- >
       < xs: attribute name= " value " type = " xs :float" />                            <xs:complexType name= " ContentProtection Type" >
   < / xs:complexType >                                                                       <xs:sequence >
                                                                                                 < xs :element minOccurs = " 0 " name = " SchemeInformation "
                                                                                                type = " xs:string" >
                                                                                                < xs : any namespace = " # Hother” process Contents = " lax ”
                                                                                      35       minOccurs = " 0 "
                                   TABLE 55                                                maxOccurs = " unbounded " / >
                                                                                              < /xs:sequence >
   < xs :simpleType name= " QualityNameType” >                                                < xs :attribute name = " schemeIdUri” type = " xs:anyURI” >
      < xs:restriction base = " xs :string" >                                                 <xs:anyAttribute namespace = “ #Hother ”
         < xs:enumeration value = " PSNR " / >                                               processContents = " lax ” />
         < xs:enumeration value = " MOS” />                                           40. < /xs: complexType >
         < xs :enumeration value = " ODG " / >                                            < !-- Gives information about trick mode -- >
         < xs :enumeration value = " DI" / >                                               < xs :complexType name =" TrickModeType " >
       < /xs :restriction >                                                                   < xs:sequence >
   < /xs :simpleType >                                                                            < xs:any namespace =“ #Hother” processContents = " lax”
   < !-- Segment access information -- >                                                        minOccurs = “ 0 ”
   < xs :complexType name= " SegmentInfoType" >                                            maxOccurs = " unbounded " / >
      < xs: sequence >                                                                45      < xs:sequence >
        < xs: elementminOccurs = “ 0 ” name = " BaseUrls "                                    < xs :attribute name = " alternatePlayoutRate" type= " xs:string” />
        type = " xs:string" >                                                                 < xs:anyAttribute namespace = " # Hother ”
        < xs :element minOccurs = “ 0 ” maxOccurs = “ unbounded ”                            processContents = " lax" />
        name = "MoreBaseUrl"                                                               < xs :complexType>
   type= " xs :anyURI” />                                                                  < /xs :schema>
       < xs :element minOccurs = “ 0 ” maxOccurs =" unbounded ”                       50
   name =" InitialisationSegmentURL " type= " UrlType " />
       < xs:choice maxOccurs = " unbounded ” >                                               Hereinafter, Several Other Options of a PeriodsRef Ele
           <xs:elementminOccurs = “ 0 ” name= " UrlTemplate"                               ment Will be Described .
          type = "UrlTemplateType" />                                                        XInclude may be a World Wide Web Consortium (W3C )
            < xs:sequence>
                < xs :element maxOccurs = " unbounded ” name= " Url"                       technology that provides an inclusion mechanism used to
               type = "UrlType" />                                                      merge XML documents .
               < xs:any namespace =“ # # other” processContents = " lax ”                  The above PeriodsRef and XInclude may be similar in
               minOccurs = “ 0 ” .                                                      using any URI type (with the Location element and href
   maxOccurs = " unbounded ” />                                                         attribute ) to refer to a resource / description . However, there
            < / xs :sequence >
            < xs :any namespace = “ # # other ” processContents = " lax”                are major differences between the above two approaches .
            minOccurs = " 0 "                                                         60 XInclude may be used to merge XML documents . In other
   maxOccurs = “ unbounded ” >                                                          words , the merged documents may need to be obtained
       < /xs :choice >
      < /xs: sequence >
                                                                                        before being optionally further processed . Conversely, Peri
      < xs:attribute name = " baseURL " type = " xs:anyURI” >                           odsRef may be used to refer to past or future periods. The
      < xs:attribute name= " morebaseUrls" type = ' xs:string " />                         past or future periods may not always need to be merged .
      <xs: attribute name= " duration ” type = " xs: duration" />                     65 The intention of PeriodsRef may be to allow a user to
      < xs:attribute name = " randAccess" type = " xs :string" />                        retrieve appropriate period information only when the user
                                                                                           wants .
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                                                                    US 10 , 362 ,130 B2
                                      45                                                                                         46
      In association with specific attributes/elements, startTime                             TABLE 57-continued
   and availableTimeofPeriodsRefmay be unique for retrieval type = " fallbackType” >
   of period information . Among the attributes/ elements of           < xs :any namespace = " #Hother ” processContents = " lax” minOccurs = “ 0 ”
   XInclude ,“ fallback ” and “ xpointer ” may be used to improve maxOccurs    = " unbounded ” />
   functionality of PeriodsRef, while “ parse” , “ encoding” , 5 </ xs:choice>
   “ accept”, and “ accept-language ” may be unnecessary for        < xs:attribute name = " ids” type = " xs:string" >
                                                                                         <xs:attribute name= " location ” type = " xs:anyURI” >
   PeriodsRef.                                                                           <xs:attribute name= " xpointer" type = " xs :string" />
      Based on the above description , two additional options for                          < xs :attribute name = " startTime” type = " xs :duration " />
   referencing periodsmay be proposed : 1) enhanced Period                                 < xs:attribute name= " available Time” type =" xs:duration " />
                                                                                           <xs:anyAttribute namespace =" # # other” processContents = " lax " />
   sRef, and 2 ) XInclude -extending PeriodsRef.                10
                                                                                       < xs :complexType >
     Enhanced PeriodsRef : enables enhancement of existing                             < xs:complexType name= " fallback Type” >
   PeriodsRef by the fallback element and xpointer attribute of                            < xs:choice minOccurs = “ 0” maxOccurs = " unbounded ” >
   XInclude. This option may have an advantage of simplicity                                   <xs:element name= " PeriodsRef" type = " Periods RefType" />
   in syntax and processing . The syntax ofmodified PeriodsRef                                 < xs:any namespace = " # Hother” process Contents = " lax” />
                                                                                          < / xs : choice >
   may be provided in Table 57 below .                                         15
                                                                                           <xs:anyAttribute namespace = " # # other” process Contents = " lax " />
     XInclude -extending PeriodsRef: enables building of Peri                          </ xs :complexType >
   odsRef by simply extending XInclude with startTime and
   availableTime attributes. This option may have an advantage
   of the use of the standard XInclude. To avoid always                                                                    TABLE 58
   merging documents initially , the semantics of PeriodsRef 20
   may need to mandate that “ clients are allowed to decide                            < xs:schema
   whether merging needs to be completed .” The syntax of
   PeriodsRef may be provided in Table 58 below .                    xmlns:xi=" http://www .w3.org /2001/XInclude”
      In the above syntax, an ids attribute may be added to        <xs :complexType name= " PeriodsRefType" >
   indicate ids of referenced Periods used in the current media 25 < xs:complexContent >
   presentation . Additionally , to have consistency with a href         < xs :extension base = " xi:includeType" >
   attribute of XInclude, the Location elementmay be changed                                   < xs :attribute name = " ids" type = " xs :string" />
                                                                                                   < xs :attribute name = " startTime” type = " xs :duration " >
   to an optional location attribute .                                                         < xs :attribute name= " availableTime” type= " xs:duration " />
                                                                                                   < xs :any Attribute namespace = " # # other” processContents =" lax ” >
                                  TABLE 57                                        30          < / xs :extension >
                                                                                          < / xs:complexContent>
    < xs:complexType name= " PeriodsRefType " >                                        </ xs:complex Type >
      < xs:choice minOccurs= “ 0” maxOccurs =" unbounded ” >
        <xs:elementminOccurs = “ 0 ” maxOccurs = " unbounded ”
        name= " fallback "                                                                The semantics of the above elements /attributes may be
                                                                                       provided as shown in Table 59.
                                                                                                              TABLE 59
                                                                 Element      Type
                                                               or             (Attribute
                                                               Attribute      or              Cardi- Option
                                                                 Name         Element) nality             ality       Description
                                                               MPD            E               1           M           Describes a root element that carries a Media
                                                                                                                      Presentation Description (MPD ) for a Media
                                                                                                                      Presentation .
                                                                 Period       E               1 . . .NO               Provides information of Period .
                                                                 PeriodsRef                   1 . . .NO               Provides reference to description containing one
                                                                                                                      or more instances of Period element. One or
                                                                                                                     more instances of Period element represent a
                                                                                                                     sequence of consecutive Period (s ). The
                                                                                                                      information of Period may be either included as
                                                                                                                      an instance of Period element or referenced by
                                                                                                                      PeriodsRef element.
                                                               ids                                                    Provides id (s) of referenced Period (s ). When
                                                                                                                     multiple consecutive Periods are referenced , the
                                                                                                                      id 's conveyed by this string are separated by
                                                                                                                      semicolon .
                                                                 locatoin                                             Provides reference to description of Period (s ).
                                                                 xpointer                                             Provides an XPointer to identify a portion of the
                                                                                                                      referenced description . If xpointer attribute is
                                                                                                                      absent, location attribute needs to be present.
                                                                 start Time                   0 .. . 1 0.             Indicates the start time of the referenced
                                                                                                                      sequence of Periods, relative to the start time of
                                                                                                                      content. Start Time elementmay help a client to
                                                                                                                      determine whether referenced information needs
                                                                                                                      to be retrieved .
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                                                                 US 10 , 362, 130 B2
                                     47                                                                                      48
                                     TABLE 59 -continued
   Element        Type
   or             ( Attribute
   Attribute     or             Cardi- Option
   Name           Element) nality        ality Description
   available Time A             0 . .. 1 0.    Indicates the time the description of referenced
                                                  Period( s) is available . The time is the relative
                                                  time from the start time of content. If
                                                  available Time attribute is absent, the description
                                                  is already available.

      Hereinafter, Period Timeline Will be Described .         and syntax of the PeriodTimeline element may be provided
      Each period may have a start attribute indicating a startin Tables 60 through 62 below .
   time of a period . However, the above approach may not be 15 Using PeriodTimeline , description of a Period may be
   flexible in modifying a timeline of periods .               independent of a presentation time. Accordingly, a Period
      For example , to insert an advertisement period into an may be reused ( fully or partially ) in the same media pre
   MPD for VOD , start times of all periods after the inserted  sentation or in another media presentation . To modify the
   period need to be modified . Furthermore , when the same presentation time, only the Period Timeline needs to be
   advertisement period is played repeatedly (for example , 20 changed .
   every 1 hour), the period may be continuously inserted. In                                In addition , the PartialPlay elementmay allow ( re )play of
   the same manner, when one or more periods are removed one or more parts of a Period . For example , after an
   from an MPD , start times of remaining periods after periods      advertisement Period is presented , a part of the advertise
   are removed in space time may be modified .                       ment Period (denoted by beginning and ending ) may be
      In the embodiment, for flexibility of period management, 25 occasionally repeated during the whole session .
   the following modifications may be proposed :                        The PeriodTimeline element may impose an explicit
       1) Add a new attribute called “ duration ” to a Period        timeline of Periods . Without the PeriodTimeline element,
      2 ) Change a current start attribute of a Period to optional the implicit timeline of Periods may be inferred from the
      3 ) Add a new element called PeriodTimeline to the MPD         ordered sequence of Periods. To support the replay of a
   type                                                           30 Period in the case of implicit timeline, the PartialPlay
       The PeriodTimeline element may provide information            element may also be provided as a child element of the
   about presentation of periods based on a timeline . Semantics Period element .
                                                                                                            TABLE 60
                                                        Element            Type
                                                        or                 ( Attribute
                                                        Attribute         or             Cardin - Option
                                                        Name               Element) ality           ality     Description
                                                       MPD                 E             1          M         Describes a root element that carries a Media
                                                                                                              Presentation Description (MPD ) for a Media
                                                                                                              Presentation .
                                                        Period Timeline E                0 .. . 1 0           Provides the presentation timeline of Periods of
                                                                                                              the Media Presentation .
                                                        Periods Time                     1 . . .NO            Provides time information for presenting Period.
                                                                                                              Indicates an id of Period of the Media Presentation .
                                                                                                              This value is equal to the value of the id attribute
                                                                                                              of Period , if the id attribute of Period is present.
                                                                                                              If no id attributes are present, this value is equal to
                                                                                                              the appearance order of Period in the MPD .
                                                        start                                                 Provides accurate start time of Period relative to
                                                                                                              the value of the attribute availabilityStart time of
                                                                                                              the Media Presentation .
                                                                                                              The start attribute overrides start attribute of
                                                                                                              corresponding Period (i.e., an instance of Period
                                                                                                              element). The start attribute may be present for
                                                                                                              the first Period of the timeline . For other Periods,
                                                                                                              if information about presentation duration of
                                                                                                              previous Periods is available, this value may be
                                                                                                              deduced and the attribute may be absent.
                                                        PartialPlay        E             0 . . .NO.           Provides information for presenting a (temporal)
                                                                                                              part of Period .
                                                       beginning                                              Indicates a beginning point of a part of Period.
                                                                                                              This time value is relative to the beginning of the
                                                                                                              Period .
                                                        ending                                                Indicates an ending point of a part of Period.
                                                                                                              This time value is relative to the beginning of the
                                                                                                              Period .
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                                                                           US 10 , 362, 130 B2
                                                 49                                                                                      50
                                                     TABLE 60 -continued
   Element                 Type
   or                       ( Attribute
   Attribute               or             Cardin - Option
   Name                    Element) ality            ality   Description
   Period                                 1 ... N M          Provides information of Period .
   start
   id                                                        Indicates an ID of Period. When the Period is a
                                                             (partial) repeat of another Period, the value of id
                                                             attribute is equal to an ID or an appearance order
                                                             of a referred Period.
   duration                                                  Indicates duration of Period. If start attribute is
                                                             absent, duration attribute may be present. Also ,
                                                             for the last Period of a Media Presentation , if
                                                             availabilityEndTime and SegmentTimeline are not
                                                             available, the duration attribute of the Period may
                                                             be present.
   PartialPlay                            0 . . .NO.         Provides information for presenting a (temporal)
                                                             part of Period .
   beginning                                                 Indicates a beginning point of a part of Period.
                                                              This time value is relative to the beginning of the
                                                             Period .
   ending                  ?                                 Indicates an ending point of a part of Period.
                                                              This time value is relative to the beginning of the
                                                             Period .
   Representation E                       0 . .. N           Representation element contains description of
                                                             Representation .


                                           TABLE 61                                                                         TABLE 61- continued
    < ?xml version = " 1.0 " encoding= " UTF -8 " ? >                                              <xs:sequence >
   < xs:schema
   targetNamespace = " urn :3GPP :ns:PSS :                                                 30        < xs :element maxOccurs = " unbounded ” name= " PeriodTime”
   AdaptiveHTTPStreamingMPD :2009”                                                              type = " Period TimeType " />
        attributeFormDefault = " unqualified ”
       elementFormDefault=" qualified ”                                                              < xs:any namespace =“ # # other” process Contents =" lax”
      xmlns:xs =" http ://www.w3.org/2001/XMLSchema"                                                minOccurs = “ 0 ”
      xmlns= " urn : 3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009 " >                           maxOccurs =" unbounded " />
                                                                                           35      < / xs:sequence >
   < !-- MPD Type -- >
   < xs:complexType name= "MPDtype" >                                                              < xs :any Attribute namespace = “ #Hother” processContents = " lax " />
      < xs :sequence >                                                                          </xs:complexType >
          < xs :element minOccurs =“ 0 ” name = " ProgramInformation"
   type = " ProgramInformationType" />
          < xs :element minOccurs = “ 0 ” name= " PeriodTimeline"                          40
   type = " PeriodTimeline Type" />
          < xs :element maxOccurs = “ unbounded” name= “ Period ”                                                                   TABLE 62
         type = " PeriodType " />
         < xs :any namespace = “ # # other” processContents = " lax ”                           < xs:complexType name= " PeriodTimeType" >
          minOccurs = “ 0 ”                                                                        < xs: sequence >
   maxOccurs = " unbounded " / >                                                                      < xs:element minOccurs = " 0 " maxOccurs = " unbounded ”
                                                                                           45        name= “ PartialPlay”
      < /xs : sequence >
        <xs: attribute default = " OnDemand” name= " type"                                      type = " PartialPlayType " />
        type = " Presentation Type” />                                                               < xs:any namespace = “ # # other” processContents = " lax ”
        < xs: attribute name= " availabilityStartTime"                                               minOccurs = " 0 "
        type = " xs :date Time" />                                                              maxOccurs = " unbounded " / >
        < xs:attribute name = " availabilityEndTime”                                               < /xs:sequence >
        type = " xs:date Time" />                                                          50      < xs :attribute name = " id " type = " xs:string” use = " required " />
        < xs:attribute name= " mediaPresentationDuration "                                         <xs:attribute name= " start" type = " xs :duration " />
        type = " xs:duration " / >                                                                 < xs :anyAttribute namespace = “ # # other” processContents = " lax ” />
        < xs:attribute name= " minimumUpdatePeriodMPD "                                         < xs :complex Type >
        type = " xs :duration " / >                                                              <xs.complexType name= " PartialPlayType” >
        < xs:attribute name = “minBufferTime” type = " xs:duration ”                               <xs:sequence >
        use = " required” >                                                                55        < xs:any namespace = " # # other” processContents =" lax ”
        < xs: attribute name=" timeShiftBufferDepth” type =" xs:duration" />                          minOccurs = " 0 "
        < xs:attribute name= " baseUrl" type = " xs:anyURI” >                                   maxOccurs = " unbounded " />
       < xs :any Attribute namespace = “ # # other” processContents =“ lax” />                     < /xs:sequence >
   < / xs:complexType >                                                                            < xs :attribute name=" beginning" type =" xs:duration " >
   < !-- Type of presentation - live or on - demand -- >                                           < xs:attribute name = " ending " type= " xs :duration " />
   < xs:simple Type name= "-Presentation Type ” >                                          60 </xs< xs  :anyAttribute namespace = " # Hother” process Contents =" lax ” />
                                                                                                     :complexType >
        < xs :restriction base = " xs:string" >                                               < ! -- Period of a presentation -- >
            < xs :enumeration value= " OnDemand " >                                           < xs :complexType name= " PeriodType" >
            < xs:enumeration value = " Live" />                                                    < s:sequence >
        < /xs:restriction >                                                                        < xs :element minOccurs =“ 0 ” name = " SegmentInfoDefault”
    < /xs:simple Type >
    < !-- Period Timeline -- >                                                             65
                                                                                                type= " SegmentInfoDefaultType " />
                                                                                                type
                                                                                                     < xs :element minOccurs = “ 0 ” maxOccurs = “ unbounded ”
   < xs :complexType name= " PeriodTimeline Type” >                                                  name = " PartialPlay ”
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                                                                           US 10 ,362 , 130 B2
                                             51                                                                                              52
                                TABLE 62 - continued                                                 Each supplementary item may be provided for the highest
   type = " PartialPlayType" />                                                                   resolution of content. For example , when content is down
         < xs:element minOccurs = “ 0 ” maxOccurs = " unbounded ”                                scaled to several small terminals, a supplementary item and
        name= “ Representation ”                                                                 location parameters (xOffset, and yoffset) of the supple
   type = " Representation Type" />                                                              mentary item may also be downscaled proportionally.
         < xs :any namespace = " # # other” processContents = " lax ”                                Semantics and syntax of SupplementaryInfo may be pro
                                                                                                 vided in Tables 63 through 65 .
                                                                                                            TABLE 63
                                                                             Type
                                                     Element or              ( Attribute
                                                     Attribute               Or
                                                     Name                    Element ) Cardinality            Optionality      Description
                                                     MPD                                                      M                Describes a root element that carries a Media
                                                                                                                               Presentation Description (MPD ) for a Media
                                                                                                                               Presentation .

                                                     SupplementaryInfo E                   0 . .. 1         O                  Provides supplementary information and
                                                                                                                               presentation of the supplementary information for
                                                                                                                               the Media Presentation .
                                                      SupplementaryItem E                  1 ... N          E                  Provides a supplementary item and presentation
                                                                                                                               of the supplementary item for the Media
                                                                                                                               Presentation .
                                                     itemURL                                                                   Provides a URL of the supplementary item .
                                                     mime                                                   oo
                                                                                                            o                  Provides MIME type of the item .
                                                     Presentation                          0 . .. N                            Provides information for presenting the item . If
                                                                                                                               both On and Off elements are absent, the item is
                                                                                                                               always presented. The On and Off elements
                                                                                                                               may appear alternatively.
                                                      On                                   0...N                               Indicates time duration where the supplementary
                                                                                                                               item is presented .
                                                     Off                                   0 . .. N                            Indicates time duration where the supplementary
                                                                                                                               item is not presented.
                                                      xOffset                                                                  Indicates a horizontal location of the item on a
                                                                                                                               screen of a client. The horizontal location is
                                                                                                                               counted in pixels, and is relative to the top left
                                                                                                                               corner.
                                                     yOffset                                                                   Indicates a vertical location of the item on a
                                                                                                                               screen of a client. The vertical location is
                                                                                                                               counted in pixels, and is relative to the top left
                                                                                                                               corner .
                                                     transparency                                                              Indicates the transparency degree (% ) of the
                                                                                                                               supplementary item .

                                                                                           40
                                TABLE 62- continued                                                                                       TABLE 64
        minOccurs = " 0 "                                                                        < ?xml version =" 1.0 " encoding = "UTF -8" ?>
   maxOccurs = " unbounded " / >                                                                 < xs:schema
      < / xs : sequence >                                                                        targetNamespace = " urn :3GPP:ns :PSS :
      < xs :attribute name= " start" type = " xs:duration " / >                             45 AdaptiveHTTPStreamingMPD :2009 "
      < xs: attribute name= " duration " type = " xs: duration" />                               attribute FormDefault= " unqualified ”
      < xs:attribute name = " id " type = " xs:string" >                                         elementFormDefault = " qualified ”
      < xs:attribute default =" false" name= "segmentAlignmentFlag":                             xmlns:xs = " http ://www .w3.org/2001/XMLSchema”
      type = " xs :boolean " />                                                                  xmlns= " urn : 3GPP :ns:PSS :
      < xs:attribute default = " false" name= " bitStreamSwitchingFlag"                               AdaptiveHTTPStreamingMPD :2009" >
       type = " xs :boolean " />                                                           50 "
        < xs :any Attribute namespace = “ #Hother” process Contents = " lax " />                 < !-- MPD Type -- >
   < / xs : complexType >                                                                        < xs:complexType name= " MPDtype" >
                                                                                                      < xs:sequence >
                                                                                                         < xs:element minOccurs =“ 0 ” name =" ProgramInformation ”
   < /xs :schema>                                                                                     type = " ProgramInformation Type” >
                                                                                                      “ ProgramInformation”
                                                                                            55           <xs:element minOccurs =“ 0 ” name=“ SupplementaryInfo"
      As no a repeated Period needs to contain representation                                         type = " SupplementaryInfoType" />
   description again , the minimum number of Representation                                              < xs :elementmaxOccurs = " unbounded ” name= " Period”
   instances may also be changed to 0 .                                                                  type = " PeriodType" />
      Rather than using the id attribute directly, a special                                             < xs :any namespace =" # Hother” process Contents =“ lax”
                                                                                                        minOccurs = " 0 "
   attribute indicating an id value of a previous Period to be 60 maxOccurs = unbounded ” >
   repeated may be used .                                                                                < /xs: sequence >
      Hereinafter , Supplementary Info Will be Described .                                               < xs :attribute default = “ OnDemand” name= " type"
       To provide a professional service , a provider may need                                          type = " Presentation Type” >
                                                                                                        < xs :attribute name= " availabilityStartTime"
   clients to present supplementary information (together with                                          type = " xs :date Time" />
   main content), such as a provider ' s logo or advertisement 65                                        < xs:attribute name= " availabilityEndTime"
   banners . The supplementary information may be indepen                                               type = " xs: date Time" />
   dent of the timeline of the Period .
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                                                                           US 10 , 362 ,130 B2
                                            53                                                                                             54
                                TABLE 64 -continued                                                                           TABLE 65 -continued
         < xs:attribute name= "mediaPresentationDuration ”                                    maxOccurs = " unbounded" />
         type = " xs:duration " >                                                                     < /xs :choice >
         < xs:attribute name= "minimumUpdatePeriodMPD”                                             < s :sequence >
         type =" xs:duration " >                                                                   < xs:attribute name = " xOffset" type= " xs:unsignedInt" />
         < xs:attribute name= “minBufferTime” type =" xs:duration ”                                < xs:attribute name = " yOffset" type = " xs:unsignedInt" />
        use = " required” >                                                                        < xs:attribute name= " transparency ”
         < xs:attribute name=" timeShiftBufferDepth ”                                              type = " xs :unsignedInt" >
         type = " xs :duration " />                                                                < xs :anyAttribute namespace = " # Hother”
         < xs :attribute name =" baseUrl" type = " xs:anyURI” >                                    process Contents = " lax " />
         < xs :any Attribute namespace = “ # Hother”                                     10 < /xs:complexType >
         process Contents = " lax " / >                                                       < !-- Period of a presentation -- >
      < /xs : complexType >                                                                   < xs :complexType name= " PeriodType" >
      < !-- Type of presentation - live or on - demand -- >                                        <xs:sequence >
      < xs: simple Type name= " Presentation Type” >                                              < xs :element minOccurs = “ 0 ”
         < xs:restriction base = " xs:string" >                                                   name = " SegmentInfoDefault ”
             < xs:enumeration value = " OnDemand" >                                      15 type = " SegmentInfoDefaultType" >
               < xs:enumeration value = " Live" >                                                 < xs:elementmaxOccurs =“ unbounded ”
          < / xs :restriction >                                                                   name= " Representation "
      < /xs :simple Type >                                                                  type = " Representation Type" />
      < !- - Supplementary Info -- >                                                              < xs:any namespace = “ #Hother”
      < xs:complexType name= " SupplementaryInfo Type” >                                         processContents = " lax ” minOccurs = “ 0 ”
         < xs : sequence >                                                                  maxOccurs = " unbounded " / >
            < xs :element maxOccurs = " unbounded ”                                      20 < xs :sequence >
           name= " Supplementary Item ”                                                            < xs :attribute name = " start" type = " xs :duration " / >
     type = " Supplementary Item Type" />                                                          < xs :attribute name = " duration " type = " xs :duration " />
            < xs :any namespace = " # # other” processContents = " lax ”                           < xs:attribute name= " id " type= " xs :string" />
           minOccurs = " 0 "                                                                       < xs :attribute default= " false"
     maxOccurs = " unbounded " />                                                                  name= " segmentAlignmentFlag” type =" xs:boolean ” />
        < /xs :sequence >                                                                25        < xs:attribute default = " false "
         < xs :any Attribute namespace = " # # other”                                            name = “ bitStreamSwitchingFlag" type = " xs:boolean " />
         process Contents = " lax" / >                                                            < xs:anyAttribute namespace = " # # other"
      < /xs :complexType>                                                                        processContents = " lax" />
                                                                                              < /xs:complex Type >
                                                                                         30 . ..
                                          TABLE 65                                            </ xs :schema>
   < xs:complexType name=“ SupplementaryItem Type” >                                               Hereinafter , Definitions of a Buffering Amount Will be
      < xs: sequence >
         < xs :element minOccurs = “ 0 ” name =" Presentation"                             Described .
         type = " PresentationType" />                                                   35 A minimum amount of initially buffered media of a client
         < xs :any namespace = " # # other” process Contents = " lax ”                        may be defined in time unit. In several cases , it is difficult for
        minOccurs = “ 0 ”                                                                     a client to make sure a temporal duration of buffered media
   maxOccurs = " unbounded ” >                                                                is enough . Another option may be provided to enable the
      < /xs :sequence >
      < xs:attribute name = " itemURL " type = " xs:anyURL " >                                initially buffered media to be specified in data size unit.
      < xs:attribute name = "mime" type = " xs :string" />                               40         For example, when two options (namely , the time unit ,
      < xs : any Attribute namespace = " #Hother”                                             and the data size unit) are provided at the same time, a
      processContents = " lax " / >
    < / xs : complexType >                                                                    provider may specify a priority for each of the two options.
    < xs :complexType name = " Presentation Type" >                                           The client may select an option from the two options .
       <xs: sequence >                                                                         The above idea may be implemented by adding another
         < xs :choice minOccurs = “ 0 ” maxOccurs =" unbounded " >                       45 optional attribute called minBufferSize to the MPD , as
            < xs :element name= “ On” type = " xs :duration " />                            shown in Tables 66 and 67 below . At least one of the two
            < xs :element name= " Off" type = " xs :duration " >
            < xs:any namespace = “ #Hother”                                                 attributes (minBufferTime, and minBufferSize ) may need to
            process Contents = " lax ” minOccurs = " 0 "                                    be present.
                                                                                                    Table 66 shows semantics of minBufferSize .
                                                                                                                TABLE 66
                                                                         Element or
                                                                         Attribute Name Use                Description
                                                                         MPD                               Describes a root element that carries a Media Presentation
                                                                                                           Description (MPD ) for a Media Presentation .

                                                                         minBufferTime    Optional Provides the minimum amount of initially buffered media that is
                                                                                                   needed to ensure smooth playout provided that each
                                                                                                   Representation is delivered at or above a bandwidth value of the
                                                                                                   Representation . The bandwidth value of the Representation
                                                                                                           corresponds to this amount of buffered media . The value of this
                                                                                                           attribute is represented in time duration .
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                                                                          US 10 , 362, 130 B2
                                           55                                                                                 56
                                           TABLE 66 - continued
   Element or
   Attribute Name           Use      Description
   minBufferSize            Optional Provides the minimum amount of initially buffered media that is
                                     needed to ensure smooth playout provided that each
                                     Representation is delivered at or above a bandwidth value of the
                                     Representation . The bandwidth value of the Representation
                                     corresponds to this amount of buffered media . The value of this
                                     attribute is represented in datasize (kilo byte ).


                                       TABLE 67                                                                     TABLE 67-continued
   < ? xmlversion =" 1.0 " encoding =" UTF -8" ?>                                         < /xs:complexType >
   < xs:schema                                                                        15 ...
   targetNamespace = " urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009 "                 < xs:schema >
      attributeFormDefault = " unqualified "
      elementFormDefault= " qualified”
      xmlns:xs = " http ://www .w3.org/2001 /XMLSchema”                                        Hereinafter, Bandwidth Information for Different
      xmlns = " urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD : 2009 " >                  Amounts of Initially Buffered Media Will be Described .
                                                                                      20 Bandwidth information of each representation may be
      < xs:complexType name=" MPDtype” >                                                  provided for a given minimum amount of initially buffered
         < s :sequence >
            < xs :element name = " Program Information ”                                  media. However, different clients may have different pre -set
            type =" Program Information Type”                                             amounts of initially buffered media , and accordingly differ
   minOccurs = “ 0 ” />                                                                   ent bandwidth information may be required for different
            < xs :element name=" Period ” type = "PeriodType”                         25 clients .
           maxOccurs = " unbounded " >
            < xs : element name = " BaseURL " type = " BaseURLType "                           Hereinafter, Different Bandwidth Values Corresponding
           minOccurs = " 0 "                                                              to DifferentMinimum Amounts of Initially Buffered Media
   maxOccurs = " unbounded " / >
            < !-- NEW : Alternate base URL specifications -->                              Will be Described for Each Representation .
            < xs :any namespace = " # # other”                                             An advantage of such a solution may be that multiple
            processContents = " lax” minOccurs = “ 0 ” process                        30 MPDs corresponding to multiple minimum amounts of
   maxOccurs = " unbounded ” />                                                           initially buffered media are not required .
         < xs :sequence >                                                                  Accordingly, a schema of MPEG DASH may be changed
         < xs :attribute name= " type " type =" Presentation Type”                        as follows:
         default = " OnDemand " / >
         < xs :attribute name= " availabilityStartTime" type = " xs :date Time" />         1) More values may be added to the MPD for minimum
         < xs :attribute name= " availability EndTime" type = " xs :date Time" />
         < xs :attribute name= " mediaPresentationDuration ”
                                                                                      35 amounts of initially buffered media . As described above, the
         type = " xs: duration " / >
                                                                                          amount of buffering may be either in the time unit or data
         < xs:attribute name="minimumUpdatePeriodMPD”                                     size unit .
         type = " xs: duration" />                                                          2 ) For each representation , bandwidth values correspond
         < xs:attribute name= “minBufferTime” type =" xs:duration ”                      ing to the minimum amounts of initially buffered media may
        use = " optional” >                                                           40 be provided .
         < xs :attribute name= "minBufferSize” type= " xs:unsignedInt"                        The above changes may be implemented by the MinBuf
        use = " optional” />
         < xs :attribute name= " timeShiftBufferDepth ” type = " xs:duration " >           fer      element      in     MPDtype        or     the
         < xs:attribute name= " baseURL " type = " xs :anyURI” >                          BandwidthInfo @ repBandwidth element in Representation
         < xs :any Attribute namespace = " # # other” processContents =" lax ” />         Type .
                                                                                             Table 68 shows semantics of MinBuffer.
                                                                                                                   TABLE 68
                                                                         Element or
                                                                         Attribute Name Use          Description
                                                                        MPD                          Describes a root element that carries a Media Presentation
                                                                                                     Description (MPD ) for a Media Presentation .
                                                                         BaseURL        0 ...N       Describes a URL that may be used on the MPD level, instead of
                                                                                                   baseURL attribute , or in addition to baseURL attribute .
                                                                        MinBuffer      0 ...N        Provides a minimum amount of initially buffered media that is
                                                                                                     needed to ensure smooth playout.
                                                                        id                           Provides an ID ofMinBuffer element. The value of this
                                                                                                     attribute may be greater than 0 .
                                                                        minBufferTime Optional Provides the minimum amount of initially buffered media that is
                                                                                                   needed to ensure smooth playout provided that each
                                                                                                   Representation is delivered at or above a bandwidth value of the
                                                                                                     Representation . The bandwidth value of the Representation
                                                                                                     corresponds to this amount of buffered media . The value of this
                                                                                                     attribute is represented in time duration.
                                                                        minBufferSize Optional Provides the minimum amount of initially buffered media that is
                                                                                                   needed to ensure smooth playout provided that each
                                                                                                     Representation is delivered at or above a bandwidth value of the
                                                                                                     Representation . The bandwidth value of the Representation
                                                                                                     corresponds to this amount of buffered media . The value of this
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                                             57                                                                                              58
                                            TABLE 68 -continued
   Element or
   Attribute Name Use                  Description
                                       attribute is represented in datasize (kilo byte ).
                                       At least one attribute among minBufferTime and minBufferSize
                                       may be present in MinBuffer element.


         Table 69 shows semantics of BandwidthInfo
                                                    TABLE 69
   Element or
   Attribute Name Use                  Description
   Representation M                    Representation element contains description of Representation .
   SegmentInfo                1         Provides Segment access information .
   BandwidthInfo              0 . . . N Provides bandwidth information corresponding to a specific
                                       amount of initially buffered media .
   id                       M          Indicates an ID of MinBuffer element of the MPD . If the value
                                       of this attribute is 0 , the value corresponds to the minimum
                                       amount of initially buffered media provided by minBufferTime or
                                      minBufferSize of the MPD .
   repBandwidth                        Provides a bandwidth value for the representation corresponding
                                       to the minimum amount of initially buffered media provided in
                                       the associated MinBuffer element.
                                       The repBandwidth attribute may be absent if the value of id
                                       attribute is 0 .


         Tables 70 and 71 show XML syntax of Bandwidth Info
                                                        nfo..30                                                               TABLE 70 -continued
                                         TABLE 70                                                      < xs :any namespace = “ # # other” processContents = " lax ”
    < ?xml version = " 1.0 " encoding = " UTF -8 " ? >                                                minOccurs= “ 0 ”
   < xs:schema                                                                                 maxOccurs = " unbounded ” />
   targetNamespace = " urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009”                 35
                                                                                                   < / xs :sequence >
        attribute FormDefault = " unqualified "                                                     < xs :attribute name= " id " type= " xs:string” use = " required " />
        elementFormDefault= " qualified ”                                                           < xs :attribute name= " minBufferTime” type= " xs:duration " />
        xmlns:xs = " http ://www .w3.org/ 2001/XMLSchema”
        xmlns= " urn : 3GPP :ns:PSS : AdaptiveHTTPStreamingMPD :2009 " >                             < xs:attribute name = "minBufferSize” type= " xs:unsignedInt" >
                                                                                                     < xs:any Attribute namespace = “ # other ” process Contents = " lax ” />
      < xs:complexType name= “MPDtype” >                                                           </xs :complexType >
         < xs:sequence >                                                                  40
            < xs:element name=“ Program Information ”
            type =" Program Information Type”
   minOccurs = “ 0 ” />
            < xs :element name=" Period ” type = "PeriodType”
             maxOccurs = " unbounded " />
              < xs : element name = " BaseURL " type = " BaseURLType "                    45
                                                                                                                                       TABLE 71
             minOccurs = “ 0 ”                                                                    <xs:complexType name = " Representation Type” >
   maxOccurs = " unbounded " / >                                                                    < xs :complexContent>
          < xs :element name =" MinBuffer" type = " MinBufferType "                                    < xs :extension base = " RepresentationBaseType" >
         minOccurs = “ 0 ”                                                                                 < xs :sequence >
   maxOccurs = " unbounded ” >                                                                                < xs :element name= " SegmentInfo " type = " SegmentInfoType" />
          < xs :any namespace = “ # # other” processContents =" lax ”                     50                  <xs:elementminOccurs = “ 0 ” maxOccurs = " unbounded ”
         minOccurs = " 0 "                                                                     name =" BandwidthInfo ” type= " BandwidthInfo Type ” />
   maxOccurs = " unbounded " >                                                                                < xs:element name= “ TrickMode” type =" TrickModeType"
           < /xs:sequence >                                                                    minOccurs = “ 0 ” />
           <xs:attribute name= " type" type = " Presentation Type"                                         < /xs :sequence >
          default = " OnDemand " / >                                                                       < xs :attribute name=" id " type = " xs :string ” use = " required " />
          < xs :attribute name= " availabilityStartTime” type = " xs: date Time" />                        < xs :attribute name= " bandwidth” type =" xs :unsignedInt"
          < xs :attribute name= " availabilityEndTime” type = " xs: date Time" />                         use = " required " />
           < xs :attribute name = "mediaPresentationDuration ” type= " xs:duration " />                    < xs :attribute name= " quality Ranking ” type = " xs:unsignedInt" >
          < xs :attribute name= " minimumUpdate PeriodMPD ”                                                < xs :attribute name= " depid " type =" StringVectorType" />
          type = " xs:duration" />                                                                          < xs :attribute name= " default” type = " xs:boolean " />
           < xs :attribute name="minBufferTime” type =" xs:duration ”                                   < / xs :extension >
          use = " optional" >                                                                    < /xs :complexContent>
           < xs:attribute name= "minBufferSize ” type= " xs :unsignedInt"                 60 </ xs:complexType >
          use = " optional" />                                                               < !-- Bandwidth Info -- >
           < xs :attribute name = " timeShiftBufferDepth ” type = " xs:duration " />         <xs:complex Type name= " Bandwidth InfoType" >
           < xs :attribute name =" baseUrl" type = "xs:anyURI” >                                   <xs:sequences
            < xs:any Attribute namespace = “ # # other” processContents =“ lax ” />                < xs :any namespace = " # Hother” processContents = " lax ” minOccurs = “ 0 ”
        < /xs :complexType>                                                                    maxOccurs = " unbounded " />
        < xs: complexType name = " MinBufferType" >                                       65      < / xs : sequence >
           < xs:sequences                                                                         < xs : attribute name = " id " type = " xs :string" / >
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                                                                          US 10 , 362 ,130 B2
                                                   59                                                                                    60
                                    TABLE 71 -continued                                                                     TABLE 73 -continued
        < xs:attribute name =" repBandwidth” type = " xs:unsignedInt" />                                < xs:any namespace =“ # # other”
        < xs:anyAttribute namespace = " # # other” process Contents = " lax ” >
   < / xs:complexType >                                                                                process Contents = " lax ” minOccurs = " 0 "
   < /xs :schema>                                                                                         maxOccurs = " unbounded " />
                                                                                                     < /xs : choice >
        Hereinafter , a Segment Bandwidth Will be Described.                                         < xs :element minOccurs = “ 0 ” name= " SegmentBandwidths "
         A bandwidth attribute may be provided for each repre                                  type = " SegmentBandwidthsType " />
   sentation over the whole duration of a period . However, for                                   < /xs:sequence >
                                                                                          10      <xs:attribute name= " baseURL " type = " xs:anyURI” >
   quality consistence , the bitrate of encoded video may usu
   ally have busty characteristics. A bitrate of one segmentmay                                   <xs:attribute name= " duration ” type =" xs:duration " />
   be several times higher than a bitrate of another segment.                                     < xs:attribute default =“ 1" name =" startIndex ” type =" xs :unsignedInt" />
   Bandwidth information of each segment may be additionally                                      < xs :anyAttribute namespace = “ # # other” process Contents = " lax" />
   provided , so that a client may more efficiently adapt to                                   </xs :complexType >
   network variations .
      Table 72 describes semantics of SegmentBandwidth .
                                                             TABLE 72
   Element                     Type
   or                          ( Attribute
   Attribute                   or
   Name                        Element) Cardinality Optionality Description
   MPD                          ?              1             ?             Describes a root element that carries a
                                                                           Media Presentation Description (MPD ) for
                                                                           a Media Presentation .
   Representation
   SegmentInfo
   SegmentBandwidth E                          0 ... 1                     Provides bandwidth information for
                                                                           segments of a representation .
   Range                        E              1... N        M.
                                                             M .           Provides bandwidth information for a range
                                                                           of consecutive segments of a
                                                                           representation . The first range may start
                                                                           from the first segment of the representation .
   offset                                                                  Indicates a difference between a
                                                                           representation bandwidth and a segment
                                                                           bandwidth . A negative ( non - negative )
                                                                            value means the segment bandwidth
                                                                           smaller (higher ) than the representation
                                                                           bandwidth . A bandwidth of a segment is
                                                                           the sum of an offset value and a
                                                                           representation bandwidth .
   repeat                                                                  Indicates the number of consecutive
                                                                           segments that have the same bandwidth .

         Tables 73 and 74 show syntax of SegmentBandwidth .                                                                       TABLE 74
                                                                                          45
                                     TABLE 73                                                  < !-- Segment Bandwidths -- >
                                                                                               < xs:complex Type name= " SegmentBandwidthsType " >
   < ?xml version =" 1.0 " encoding = "UTF -8" ? >                                                < xs:sequence >
   < xs :schema                                                                                        < xs:elementmaxOccurs =" unbounded ”
   targetNamespace = " urn :3GPP:ns :PSS :                                                             name= " Range ” type= " RangeType " />
   AdaptiveHTTPStreamingMPD : 2009"                                                       50
                                                                                                     < xs :any namespace = “ #Hother ”
     attributeFormDefault = "unqualified”                                                           processContents = " lax ” minOccurs = " 0 "
         elementFormDefault =" qualified ”                                                     maxOccurs = " unbounded " / >
         xmlns:xs =" http ://www .w3.org /2001/XMLSchema"                                         < xs: sequence >
         xmlns = " urn :3GPP:ns:PSS :AdaptiveHTTPStreamingMPD : 2009" >                          < xs : anyAttribute namespace = " # Hother”
   .. . . . .
                                                                                                  processContents = " lax " />
    < !-- Segment access information -- >                                                      < /xs :complexType >
    < xs :complexType name= " SegmentInfoType" >                                          55 < xs :complexType name= " RangeType " >
        < xs : sequence >                                                                       < s :sequence >
          < xs :element minOccurs = “ 0 ” name= " InitialisationSegmentURL"                         < xs:any namespace = " # # other”
   type= " UrlType " />                                                                             processContents = " lax ” minOccurs = " 0 "
           < xs : choice minOccurs = " 0 " >                                                   maxOccurs = " unbounded ” >
             < xs :element minOccurs = “ 0 ” name = "Url Template "                               < / xs:sequence >
             type =" UrlTemplateType " />                                                 60      <xs:attribute name= " offset" type = " xs:integer" />
              <xs:sequence >                                                                     <xs:attribute name= " repeat” type = " xs :unsignedInt" >
                 < xs : element maxOccurs = " unbounded ”                                        < xs :anyAttribute namespace = " # Hother”
                name= " Url" type = "UrlType" />                                                 process Contents = " lax " />
                 < xs :any namespace = “ # # other ”                                           < /xs:complex Type >
                processContents = “ lax” minOccurs = “ 0 ”
                maxOccurs =“ unbounded " />                                               65 </xs:schema>
             < xs :sequence >
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                                     61                                                                                          62
      When a long segment causes large fluctuations of a                                                                   TABLE 75 -continued
   bandwidth within a duration of the segment, it is necessary
   to describe sub -segment bandwidths . The above description                               Element or
                                                                                             Attribute
   may be implemented by changing the repeat attribute to the                                Name                 Use          Description
   duration attribute (type = " xs:duration ” ), to indicate an inter - 5 id                                      M          Indicates an ID of MinBuffer element of the
   val of sub -segments instead of segments.                                                                                 MPD . If the value of this attribute is 0 , the
       The above idea may be represented in a more general way                                                               value corresponds to the minimum amount
                                                                                                                             of initially buffered media provided by
   using the IntervalBandwidth element, as described below .                                                                 minBufferTime or minBufferSize attributes
   An advantage of the way may be that an interval is unnec 10                                                               of the MPD .
   essarily aligned with segment boundaries . In the following width      repBand                                 0          Provides a bandwidth value for the
                                                                                                                               representation corresponding to the minimum
   syntax , multiple values ofminimum initialbuffering may be                                                                  amount of initially buffered media provided
   taken into account.                                                                                                         in MinBuffer element. The repBandwidth
          Table 75 shows syntax of IntervalBandwidth .                                                                         attribute may be absent if the value of id
                                                                                        15                                  attribute is 0 .
                                                                                             Interval             0 . . . N Provides bandwidth information for an interval
                              TABLE 75                                                       Bandwidth                      of the representation. The bandwidth
                                                                                                                            information corresponds to the minimum
   Element or                                                                                                                  amount of initially buffered media identified
   Attribute                                                                                                                 by the id attribute. The first intervalmay start
   Name             Use      Description                                                                                     from the beginning of the representation .
                                                                                        20 offset                            Indicates a difference between a representation
   Represen         M        Representation element contains description                                                     bandwidth and a segment bandwidth . A
   tation                    of Representation .                                                                             negative (non -negative) value means the
                                                                                                                               segment bandwidth smaller (higher ) than the
   Segment-         1        Provides Segment access information .                                                             representation bandwidth . A bandwidth of
   Info                                                                                                                        a segment is the sum of an offset value and
                                                                                       25                                      a representation bandwidth .
   Bandwidth        0 . . . N Provides bandwidth information
   Info                      corresponding to a specific amount of initially                 duration             M            Indicates duration of the interval.
                            buffered media .
                                                                                                 Table 76 shows syntax of IntervalBandwidth .
                                                                                                                      TABLE 76
                                                                < ?xml version = " 1 . 0 " encoding = "UTF - 8 " ? >
                                                                < s:schema targetNamespace = " urn :MPEG :ns:DASH "
                                                                  attributeFormDefault= " unqualified"
                                                                  elementFormDefault= " qualified "
                                                                  xmlns.xs =" http://www.w3. org/2001 /XMLSchema"
                                                                  xmlns.xlink = " http ://www .w3.org /1999/ xlink "
                                                                  xmlns = " urn :MPEG :ns:DASH " >
                                                                   <xs:complexType name= "Representation Type" >
                                                                      <xs:complexContent >
                                                                         < xs: extension base =" RepresentationBaseType" >
                                                                           < xs :sequence >
                                                                              < xs :element name = "SegmentInfo " type= " SegmentInfoType " />
                                                                         < xs :element           minOccurs = " 0 "              maxOccurs = " unbounded "
                                                               name= " BandwidthInfo " type = " BandwidthInfoType" />
                                                                              < xs:element              name = " TrickMode "                   type = " TrickMode Type"
                                                               minOccurs = " 0 " / >
                                                                            < /xs :sequences
                                                                            < xs:attribute name= "id" type = " xs:string" use= " required" />
                                                                            <xs:attribute name= "bandwidth " type = " xs:unsignedInt" use = " required " >
                                                                            < xs:attribute name= " qualityRanking" type = " xs:unsignedInt" >
                                                                           < xs:attribute name= " depid " type =" StringVectorType"/>
                                                                            < xs :attribute name= " default" type = " xs:boolean " / >
                                                                        < /xs : extension >
                                                                        < / xs : complexContent >
                                                                    < / xs :complexType >
                                                                < !-- Bandwidth Info , taken from the above Section                 -- >
                                                                < xs :complexType name= " BandwidthInfoType" >
                                                                   < xs:sequence >
                                                                      < xs: element                       minOccurs = " 0 "                  maxOccurs = " unbounded "
                                                               name= " IntervalBandwidth " type =" IntervalBandwidthType" />
                                                                    < xs :any      namespace = " # # other "                 processContents = " lax "        minOccurs = " 0 "
                                                               max Occurs = " unbounded " / >
                                                                  < /xs:sequence >
                                                                  < xs:attribute name = " id " type = " xs :string" />
                                                                   <xs:attribute name= " repBandwidth " type = " xs:unsignedInt" />
                                                                   < xs:anyAttribute namespace = "# Hother" processContents = " lax " />
                                                                < xs :complexType >
                                                                < xs:complexType name= " IntervalBandwidthType" >
                                                                   < xs:sequence >
                                                                      <xs:any          namespace = " # # other"         processContents = " lax"         minOccurs = " 0 "
                                                               maxOccurs =" unbounded " />
                                                                   < xs :sequence >
                                                                   < xs:attribute name= " offset" type = " xs : integer" / >
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                                                                        US 10 , 362, 130 B2
                                           63                                                                                     64
                                           TABLE 76 - continued
      < xs:attribute name= " duration " type = " xs :unsignedInt" />
      < xs:any Attribute namespace = " #hother" process Contents = " lax " />
   < /xs:complexType >
   < /xs:schema>

      Hereinafter, Extension to Support Virtual Segments Will                                 used to identify virtual segments. Additionally , different
   be Described .                                                                        10 techniques may be used to reduce an increased metadata size
      Media may be prepared before delivery. In particular, an                                caused by using multiple byte ranges.
   original media file may be segmented , and several in -band    Semantics of UrlType of the MPD may be changed as
   metadata may be inserted into media data .                  follows.
     Description may be given of " virtual segments " that       range attribute : [ . . . ]. A format of this string may support
   describe different representations, so that a demand for 15 multiple byte ranges. ( for example , “ 0 -500 , 1000 - 1500" )
   media manipulation may be minimized A virtual segment                                         When decoding a representation obtained by byte ranges ,
   may be defined as a set of data part (s) inside a stream ( or a                            several parts ofmedia header boxes (for example , moov or
   segment ) .                                                                                moof boxes ) may include information that is different from
      Goals ofvirtual segments may include the following goals representation description . Here , the information may be
    1 ) and 2 ):                                            20 ignored.
       1 ) Ease in creation and management of media files :       To represent the byte ranges in a compact way , a new
   obviously using virtual segments, the number of physical                                   element called More AddressingInfo may be added . Meta
   files may be reduced . Additionally , original media files may                             data fragmentation may be applied to the MoreAddressing
   remain unchanged , and may be augmented by out-of-band                                     Info element, to reduce a size of an initial MPD .
   signaling metadata .                                                                  25      To support the feature that there is no need to modify
      2 ) Flexibility in segment provisioning: different types of                             original media file ( s ), the segment index boxes ( and other
   segments may be obtained from a stream .                                                   related boxes, for example , a box corresponding to a Ranges
      In the MPEG DASH , a media segment to be requested by                                   element) may be conveyed out- of- band . Accordingly, the
   a clientmay be addressed by a URL and a byte range . The                                   More AddressingInfo elementmay also include information
   addressing may be rather limited , since a media segment 30 that includes a URL and byte ranges , for addressing segment
   may be formed of different parts of a media stream , in     index boxes of each media segment.
   particular when a media stream includes different represen     The SegmentInfo element improved by the MoreAd
   tations inside . The URL with multiple byte ranges may be dressingInfo element is described as shown in Table 77 .
                                                                                 TABLE 77
                                                                          Element or Attribute
                                                                          Name                   Use Description
                                                                           SegmentInfo            M      Provide Segment access information .
                                                                          UrlList                 0 ... N Provides a list of explicit URL (s ) for Segments .
                                                                          More AddressingInfo 0 ... 1    Provides more addressing information for different
                                                                                                         representations that may be extracted from the segments
                                                                                                         identified by the above UrlTemplate , Urls, or UrlList.
                                                                          baseURL                 O      Provides the base URL for more addressing information .
                                                                          xlink :href            O       Provides reference to external More AddressingInfo element.
                                                                          ByteRanges             0 ... 1 Provides byte ranges of different representations.
                                                                          xlink :href                    Provides reference to external ByteRanges element.
                                                                          sameRep                        If sameRep is true , indicates that each Ranges element
                                                                                                         contains byte ranges of different segments of a representation .
                                                                                                         If sameRep is false , indicates that each Ranges element
                                                                                                         contains byte ranges of segments having the same segment
                                                                                                         order of different representations. The ordering of
                                                                                                         segments /representations is the same as that in corresponding
                                                                                                         representation description.
                                                                                                         If sameRep attribute is absent, which indicates that each
                                                                                                         Ranges element contains byte ranges for a segment of a
                                                                                                         representation. The ordering of segments/representations is
                                                                                                         the same as that in corresponding representation description .
                                                                                                         When the first representation needs no byte ranges ,
                                                                                                         corresponding Ranges elements for the representation may be
                                                                                                         absent.
                                                                          Ranges                         Provides byte ranges of representations (possibly consisting of
                                                                                                         multiple segments ). Ranges element is based on string type
                                                                                                         representing a sequence of byte ranges. A byte range is
                                                                                                         denoted by " x -y " where x and y are a start value and an end
                                                                                                         value . Byte ranges of different segments ( if any ) are
                                                                                                         separated by semicolon character (" ;") , while different byte
                                                                                                         ranges within a segment are separated by comma character
                                                                                                         (";" ) .
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                                      65                                                                                         66
                                     TABLE 77 -continued
   Element or Attribute
   Name                   Use Description
                              When two or more byte ranges corresponding to the same
                              segment order have the same x /y values , one or more x /y
                              values may be absent and then referred from a corresponding
                              value that is present.
   xlink :href                Provides reference to external ByteRanges element.
   IdxBoxes                   Provide address of segment index boxes of segments .
                              IdxBoxes element is based on string type representing a
                              sequence of byte ranges. A byte range is denoted by " x - y "
                              where x and y are a start value and an end value. Byte ranges
                              for different segments (if any ) are separated by semicolon
                              character (" ;" ), while different byte ranges for a segment are
                              separated by comma character (" ," ).
                                When a segment index box is used out-of-band (i. e ., not in a
                                media segment ), the reference _ offset value of the index box
                                may be referenced from the first byte of the segment.
   idxFileUrl             O     Provides URL of a file containing the index boxes of the
                                 segments .

                                                                                    20.
     Here , conditions may be hold only when xlink :href is not                              Elements are bold , and attributes are non -bold .
   used . When linking is used , all elements may be “ optional,”                             Tables 78 and 79 show XML syntax of More Addressing
   and <minOccurs = 0 > .                                                                 Info .
                                                                                                              TABLE 78
                                                            < !-- Segment access information -- >
                                                            < xs:complexType name=" SegmentInfoType" >
                                                               < xs:sequence >
                                                                  < xs:element              name= " Initialisation Seg entURL "                    type =" UrlType"
                                                           minOccurs =" 0 " />
                                                                < xs :element name= " BaseURL"                   type = " BaseURLType"          minOccurs = " O "
                                                           maxOccurs = " unbounded" />
                                                                 < xs:element               name= "SegmentTimeline"               type = " SegmentTimelineType "
                                                           minOccurs = " 0 " />
                                                                 < xs : choice minOccurs = " 0 " >
                                                                    < xs :element name = "UrlTemplate " type = "UrlTemplateType " minOccurs = " 0 " />
                                                                    < s:sequence >
                                                                       < xs: element name="Url" type= " UrlType" maxOccurs =" unbounded" />
                                                                       < xs: any namespace = " #Hother" process Contents = " lax" minOccurs = " 0 "
                                                                         maxOccurs = " unbounded " / >
                                                                    < / xs :sequence >
                                                                    < xs:element name= "UrlList" type= "UrlListType" minOccurs = " 0" />
                                                                    < xs:any namespace = " # # other" processContents = " lax " minOccurs = " 0 "
                                                                      maxOccurs = " unbounded " >
                                                                 < xs: choice >
                                                                 < xs:element         name="MoreAddressingInfo"                   type = "More AddressingInfoType "
                                                           minOccurs = " 0 " />
                                                               < xs:sequence >
                                                               < xs :attributeGroup ref= " SegmentInfoAttrGroup " />
                                                               < xs :any Attribute namespace = " #Hother" processContents = " lax " />
                                                            < xs :complexType>
                                                            <xs:complexType name="More AddressingInfoType" >
                                                              < s :sequence >
                                                                 < xs:element name=" ByteRanges" type= " ByteRangesType" minOccurs =" 0 "/>
                                                                  < xs:element name = " IdxBoxes " type = " IdxBoxes Type " minOccurs = " 0 " />
                                                               < xs :sequence >
                                                               <xs:attribute ref = "xlink :href" />
                                                               < xs:attribute ref = " xlink :actuate" default = " onRequest" />
                                                               < xs:attribute name = " baseURL " type = " xs:anyURI" />
                                                               < xs :anyAttribute namespace = " # # other" processContents = " lax " />
                                                            < xs :complexType>
                                                            < xs:complexType name = " Byte RangesType" >
                                                               < xs:sequence >
                                                                 <xs:element              name= " Ranges"              type =" Ranges Type"          minOccurs = " 0 "
                                                           maxOccurs = " unbounded " />
                                                               < xs :sequence >
                                                              < xs:attribute ref = " xlink :href" />
                                                               <xs:attribute ref= " xlink :actuate " default= " on Request" />
                                                               < xs :attribute name = " sameRep " type = "xs:boolean " />
                                                               <xs:any Attribute namespace = "# Hother" processContents =" lax " />
                                                            < /xs:complexType >
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                                               TABLE 79
                                                                                                                                                68
                                                                                                                                    TABLE 80 - continued
    < xs :complexType name =" Ranges Type" >                                                                         for ( k = 0 ; k < range _ count; k + + )
       < xs.simpleContent >                                                                                             unsigned int(32 ) end ;
           < xs :extension base = " xs :string " >                                                 5        ?
              < xs :attribute ref =" xlink :href" >                                                       ??
             < xs :attribute ref = " xlink :actuate " default = " onRequest " / >
             < xs :any Attribute namespace = " # # other" processContents = " lax " />                  ??
         < /xs :extension >
      < xs.simpleContent>
   < /xs:complexType >                                                                             10     Here , same_ rep indicates whether each sequence of byte
   < xs:complexType name= " IdxBoxes Type " >                                                           ranges below is for segments of the same representation or
      < xs. simpleContent>                                                                              segments having the same order in differentrepresentations.
         < xs:extension base = " xs:string " >                                                             segment _ count indicates the number of segments in each
            < xs:attribute name= " idxFileUrl" type = " xs:anyURI" />                                   representation .
             < xs :any Attribute namespace =" # # other" processContents =" lax" />                15       rep _ count indicates the number of representations.
           < /xs :extension >                                                                               range _ count indicates the number of byte ranges .
       < /xs.simpleContent>                                                                                 start and end indicate a start value and an end value of
    < /xs:complexType >                                                                                 each of byte ranges.
                                                                                                          same_ start indicates whether the following set of byte
                                                                                                        ranges has the same start values as a previous set of byte
      To further reduce the size of the More Addressing Info 20 rangesdescribe
                                                                       .
   element, the More AddressingInfo element may be repre theToMore              characteristics of representations provided by
                                                                           AddressingInfo   element, different ways may be
   sented by the pseudo -code format.                           used . Hereinafter, two typical ways will be described : 1 )
     An example of representing the ByteRanges element in using representations of a representation group and 2) using
   the pseudo -code format is shown in the following Table 80 . 25 sub-representations of a representation .
                                                                     Using Representations of Representation Group
                           TABLE 80                                  SegmentInfoDefaultType of a RepresentationGroup ele
                                                                                                      ment may be directly extended from the SegmentInfoType,
   aligned (8 ) class ByteRangesBox extends FullBox ('brgb', 0 , 0 ) {                                as shown in the following Table 81 . When a SegmentInfo
      bit( 1 )
                                                                                                   30 Default  element of the RepresentationGroup element is used
                                                  same _ rep ;
      unsigned int(31 )                  segment_ count ;                                             to convey addressing information of segments , the Seg
      unsigned int(8 )                   rep _ count;
                                                                                                      mentInfo element in the Representation element may be
   if (same_ rep ) {                                                                                  absent. Each representation of the representation group may
      for ( i = 0 ; i < rep _ count; i + + )                                                          have the same identifier value as an ( corresponding) iden
          for ( j= 0 ; j < segment_ count; j + + ){
            unsigned int( 8 ) range _ count;                                                          tifier value indicated by the Ranges element of MoreAd
             for ( k = 0 ; k < range _ count; k + + ) {                                            35 dressingInfo .
                 unsigned int(32 ) start;
                 unsigned int(32) end ;                                                                                                    TABLE 81
                 }
                                                                                                        < xs:complexType name= " SegmentInfoDefaultType" >
                                                                                                            < xs:complexContent >
                                                                                                   40         < xs:extension base = " SegmentInfoType" >
      if (!same_ rep ){                                                                                          < xs :attribute name = " sourceURLTemplate Period" type = " xs:string " >
         for( i= 0 ; i < segment_ count; i+ + )                                                               < /xs:extension >
            unsigned int( 32) segment_ offset ;                                                            < xs: complexContent>
            for ( i = 0 ; j < rep _ count; j + + ) {                                                    < xs :complexType >
                 unsigned int(7 ) range _ count ;
                 bit(1 ) same_ start ;                                                             45
                 if (!same _ start ) {                                                                      Using Sub -Representations in Representation
                    for ( k = 0 ; k < range _ count; k + + ) {                                             A new element called SubReps may be used to describe
                       unsigned int ( 32) start;                                                        different (sub - ) representations of a (parent ) representation .
                       unsigned int(32 ) end ;
                                                                                                        The SegmentInfo element of a parent representation (as
                                                                                                      described above) may be used to convey the addressing
                 if (same_ start ) {                                                               50 information .
                                                                                                             Table 82 describes semantics of SubReps .
                                                                                                                                 TABLE 82
                                                                                     Element or Attribute
                                                                                     Name                    Use Description
                                                                                     Representation                  Provid           ent access information .
                                                                                     SegmentInfo             1       Provides Segment access information . (revised as above )
                                                                                     SubReps                 0 ... 1 Provides information about sub- representations of a
                                                                                                                     representation.
                                                                                     SubRep                  0 ...N Provides information about a sub -representation of a
                                                                                                                     representation . SubRep element is of Representation Type.
                                                                                                                     An identifier of the sub - representation may be equal to an
                                                                                                                     identifier of corresponding RepRanges in SegmentInfo
                                                                                                                     element.
                                                                                                                     Attributes of a sub-representation (if present) may override
                                                                                                                     attributes of the parent representation .
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       Table 83 shows XML syntax of the SubReps element.
                                              TABLE 83
    < xs :complexType name =" Representation Type " >
         < xs:complexContent >
           < xs:extension base =" RepresentationBaseType" >
              < s :sequence >
                 <xs:element name= " SegmentInfo " type=" SegmentInfoType" />
                 < xs :element        name=" TrickMode"           type = " TrickModeType"
   minOccurs = " 0 " />
                < xs:element name= " SubReps" type =" SubRepsType" minOccurs= " 0" />
            < xs :sequence >
            < xs :attribute name= " id " type = " xs: string" use = " required " />
            < xs :attribute name= "bandwidth " type = " xs :unsignedInt" use = " required " />
              < xs:attribute name = " quality Ranking" type = " xs:unsignedInt" >
              <xs:attribute name= "depid " type = " String VectorType" />
              < xs :attribute name= "default" type = " xs :boolean " />
           < / xs :extension >
         < /xs :complexContent>
      < /xs :complexType >
      < xs:complexType name=" SubRepsType" >
         <xs:sequence >
           < xs:element name = " SubRep " type =" Representation Type "              minOccurs = " 0 "
   maxOccurs = " unbounded " />
       < /xs:sequence
         < xs:any Attribute namespace =" # # other" process Contents =" lax " />
      </xs:complexType >

                                                                                           25
     Hereinafter , an Adaptation Hint Will be Described .           tionHint may be a child element of Period or Subset. When
      In several cases ,measuring quality values may be expen       AdaptationHint is used in SubSet, AdaptationHintmay only
   sive . Accordingly, instead of explicitly providing quality consider representations that belong to the SubSet.
   information , a provider may provide a few hints in selecting      In practice , a clientmay use AdaptationHint not only to
   different representations .                                   30 select representations in described context, but also to infer
      Hereinafter, an adaptation hint that suggests selected
   representations in a given context ( for example, at a band ( for example, interpolate ) representations in other possible
   width constraint of 1 Mbps) is described . Elements and contexts.
   semantics of the adaptation hint are shown below . Adapta                                        Table 84 shows semantics of Adaptation Hint.
                                                                                                                 TABLE 84
                                                                           Element or Attribute
                                                                           Name                      Use Description
                                                                           Period                     M       Provides information of Period .
                                                                            Adaptation Hint           0 ... 1 Provides hint to select representations for supporting
                                                                                                              adaptivity . The hint includes a list of nodes , each
                                                                                                              describing a given set of constraints ( e.g ., bandwidth and
                                                                                                              display size ) and the corresponding selected
                                                                                                             representations.
                                                                           xlink : href                      Provides reference to external AdaptationHint element
                                                                           Node                       1 ...N Describes a given context (e.g., bandwidth and display size )
                                                                                                             and the corresponding selected representations.
                                                                           bandwidth                  O      Describes the bandwidth constraint
                                                                           width
                                                                           height
                                                                            frameRate
                                                                            SelectedRep
                                                                                                     OO
                                                                                                      O
                                                                                                      O
                                                                                                             Describes the width constraint
                                                                                                             Describes the height constraint
                                                                                                             Describes the frame rate constraint
                                                                                                      1 ... N Describes a selected representation .
                                                                                                      M      Describes an identifier of a selected representation .
                                                                           Subset                     0 ... N Subset element contains a description of Subset.
                                                                            Adaptation Hint           O      Provides hint to select representations for adaptivity . The
                                                                                                             hint includes a list of nodes, each describing 1 ) a given set
                                                                                                             of constraints (e. g., bandwidth and display size ) and 2 ) the
                                                                                                             corresponding selected representations within SubSet.

                                                                                                    Tables 85 and 86 show syntax of Adaptation Hint.
                                                                                                              TABLE 85
                                                     < ? xml version = " 1.0 " encoding = "UTF -8 " ? >
                                                     < xs :schema
                                                     targetNamespace = " urn : 3GPP :ns:PSS :AdaptiveHTTPStreamingMPD : 2009"
                                                       attribute FormDefault= " unqualified "
                                                       elementForm Default = " qualified"
                                                       xmln :xs =" http ://www.w3.org/2001/XMLSchema"
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                                                       TABLE 85 - continued
      xmlns =" urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009" >
      < ! -- Period of a presentation -- >
      < xs:complexType name=" PeriodType" >
         < xs: sequence >
          < xs :element        name= " SegmentInfoDefault"                             type =" SegmentInfoDefaultType"
   minOccurs = " 0 " />
          < xs: element            name = " Representation "                                  type =" RepresentationType"
   minOccurs = " 1 " maxOc -curs = "unbounded" />
            < xs :element        name = "RepresentationGroup "                          type =" RepresentationGroup Type"
   minOccurs = " 0 " maxOc- curs = " unbounded " />
         < xs : element          name = " Subset"           type =" SubsetType "          minOccurs = " 0 "
   maxOccurs = " unbounded " / >
         < xs : element                     name=" AdaptationHint"               type = " Adaptation HintType"
   minOccurs = " 0 " />
            < xs :any        namespace = " # # other"             processContents = " lax "          minOccurs = " 0 "
   maxOccurs = " unbounded " / >
         < /xs:sequence >
         < xs:attribute ref= " xlink :href" />
         < xs:attribute ref = " xlink :actuate " default = " onRequest" />
         < xs : attribute name = " start " type = " xs :duration " >
         < xs :attribute name= " id " type = " xs:string " />
         < xs :attribute name = "duration " type = " xs:duration " />
        < xs :attribute                           name=" segmentAlignmentFlag"                        type = " xs:boolean "
   default = " false" / >
         < xs:attribute                           name= " bitStreamSwitchingFlag "                    type = " xs:boolean "
   default= " false" />
          < xs :any Attribute namespace = " #Hother" process Contents = " lax" />
      < /xs :complexType >
      < xs :complexType name= " SubsetType" >
         < xs:sequences
            < xs:element
   maxOccurs = "unbounded" />
                                          name=" Contains"              type ="ContainsType"         minOccurs =" 1"
          < xs : element                name= " Adaptation Hint"            type =" AdaptationHintType "
   minOccurs = " 0 " />
          < xs :any namespace = " # # other"          process Contents = " lax "         minOccurs= " 0 "
   maxOccurs = " unbounded " / >
         < /xs:sequence >
         < xs:any Attribute namespace = " # # other" processContents = " lax " />
      < /xs:complexType >
    < !-- Adaptation Hint - - >
    < xs :complexType name= " Adaptation HintType" >
      < xs:sequence >
         < xs :element name= "Node" type = " NodeType" maxOccurs = " unbounded " / >
           < xs :any         namespace = " # # other "        process Contents = " lax "             minOccurs = " 0 "
   maxOccurs = " unbounded " />
       < /xs : sequence >
       < xs :any Attribute namespace = " #Hother" process Contents = " lax " />
   < /xs:complexType>



                                                      TABLE 86
   < ! -- Node      -->
    < xs :complex Type name = " NodeType" >
      < xs :sequence >
         < xs :element                name = " SelectedRep "                 type = " SelectedRepType "
   maxOccurs = " unbounded " />
         < xs :any          namespace = "# # other " processContents = " lax "             minOccurs = " 0 "
   maxOccurs = " unbounded " >
     < /xs :sequence >
      < xs:attribute name = " bandwidth " type= " xs:unsignedInt" />
      < xs:attribute name = " width " type= " xs :unsignedInt" />
      < xs:attribute name = " height" type = " xs :unsignedInt" />
      < xs:attribute name= " frameRate " type= " xs :double " />
      < xs :any Attribute namespace = " # # other" process Contents = " lax " />
    < /xs:complexType >
    < !-- Selected Rep  -- >
    < xs :complexType name= " SelectedRepType" >
      < xs: sequence >
             < xs:any          namespace = " # Hother" processContents = " lax"           minOccurs = " 0 "
   maxOccurs = "unbounded " />
         < /xs:sequence >
         <xs: attribute name= " id " type= " xs:string" use = " required" />
         < xs :any Attribute namespace = " #Hother" process Contents = " lax" />
    < / xs :complexType >
    < / xs: schema>
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     Hereinafter, a Bandwidth Range for a Group of Sub -                                provided at the MPD level. However, it may be unclear
   Representations will be Described .                                                 whether minBufferTime is applied only to the beginning of
        Scalable content may be more and more popular due to                            the media presentation , or to any RAPs .
   flexibility in extracting sub -streams to meet various con       Semantics of minBufferTime at the MPD level may be
   straints of user devices . A file format may also provide a 5 revised  to one of the following options:
   wide variety of tools to extract sub -streams from a full
   ( scalable ) stream . To support scalable content in DASH , a    1) to provide the minimum amount of initially buffered
   new attribute called bandwidthRange for a Representation                            media (at the beginning of the media presentation ) that is
   may be proposed . The bandwidthRange attribute may pro -        needed to ensure smooth playout provided that each Rep
   vide bandwidth values of sub - streams (or sub -representa - 10 resentation is delivered at or above the value of the band
    tions) that are extractable from the full stream /representa -                      width attribute of the Representation .
   tion .                                                                                  2 ) to provide the minimum amount of initially buffered
      To download the segments of the full representation , a
   clientmay use only URLs provided together with represen media           (at the beginning of any Period of the media presen
   tation description . However, to download segments of a 15 tation ) that is needed to ensure smooth playout provided that
   sub - representation , the client may include a query parameter each Representation is delivered at or above the value of the
   called “bandwidth ” to each URL (For example, " ?band bandwidth attribute of the Representation .
   width = 1000 ” ).                                                  3) to provide the minimum amount of initially buffered
        Table 87 describes semantics of bandwidthRange .                               media (at any RAPs of themedia presentation ) that is needed
                                           TABLE 87
   Element or Attribute
   Name                   Use Description
   Representation         ?     Representation element contains description of Representation .
   id                     M    Describes a unique identifier for Representation within Period .
                                The string may only contain characters permitted to form a
                               valid http-URL according to RFC1738 . For scalable content,
                               the string may contain a list of ids (separated by semicolon
                               character ";") corresponding to the sub -representations whose
                               bandwidth values are provided in bandwidthRange attribute .
                                The first id of the list may be an id of the (full) representation .
   bandwidth                   Describes a minimum bandwidth of a hypothetical constant
                               bitrate channel in bits per second (bps) over which the
                               Representation (i.e ., the collection of all Segments of a
                               Representation ) may be delivered such that a client, after
                               buffering for exactly minBufferTime may be assured of having
                                enough data for continuous playout .
   bandwidth Range        O    Describes a string containing a list of bandwidth values
                               (separated by semicolon character " ;") of sub -representations
                                extractable from the representation. To request a sub
                               representation , a client may include in the request a query
                               parameter called " bandwidth . " A value of " bandwidth " is a
                               bandwidth value of the required sub-representation .

     bandwidthRange may be used for RepresentationGroup to ensure smooth playout provided that each Representation
   as well. Here , the sub -representations may become repre - is delivered at or above the value of the bandwidth attribute
   sentations of RepresentationGroup.                          55 of the Representation .
      Similarly to the bandwidth , other attributes , such as
   resolution , or frame rate , may be augmented by correspond      minBufferTime at Period Level
   ing resolutionRange and framerateRange .                         For example, when the minBufferTime attribute at the
      Hereinafter, Bandwidth Information will be Additionally MPD level is specific to the starting point of the presenta
   Described .                                                 60
      Description related to a bandwidth and initial buffering tion , minBufferTime may be added to each Period . The
   delay may be improved to enable flexibility and accuracy in     adding minBufferTime to each Period may override a value
   supporting adaptivity .                                         of minBufferTime at the MPD level. The overriding may
        minBufferTime at MPD Level
        A bandwidth value of each representation may be defined 65 enable appropriate initial buffering before starting a Period .
   with respect to a certain minimum initial buffering time                                First,minBufferTime at the MPD level may be changed to
   value (minBufferTime). The initial buffering time may be                             an " optional attribute ” as shown in Table 88 .
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           Table 88 describes minBufferTime.
                                                                                                                               76
                                                     TABLE 88
   Element or
   Attribute Name Use Description
   MPD                Describes a root element that carries a Media Presentation
                      Description (MPD ) for a Media Presentation .
   minBufferTime                   Provides the minimum amount of initially buffered media that is
                                  needed to ensure smooth playout provided that each
                                  Representation is delivered at or above the value of bandwidth
                                   attribute of the Representation .


           Semantics and syntax of the minBufferTime attribute at
   the Period level are shown in Tables 89 and 90 .
                                                     TABLE 89
   Element or
   Attribute Name Use Description
   Period
   . . .
                          1        Provides information of Period .
   minBufferTime 0                 Options of semantics :
                                   1 ) Provides the minimum amount of initially buffered media (at
                                   the beginning of the current Period ) that is needed to ensure
                                   smooth playout provided that each Representation of the current
                                   Period is delivered at or above the value of the bandwidth
                                   attribute of the Representation . If present, minBufferTime
                                   attribute overrides the minBufferTime attribute at MPD level.
                                    1) Provides the minimum amount of initially buffered media (at
                                   any RAPs within the current Period ) that is needed to ensure
                                   smooth playout provided that each Representation of the current
                                   Period is delivered at or above the value of the bandwidth
                                   attribute of the Representation. If present, minBufferTime
                                   attribute overrides the minBufferTime attribute at MPD level.




                                                     TABLE 90
    < ! -- Period of a presentation - - >
       < xs:complexType name=“ PeriodType" >
            < s :sequence >
          < xs:element name=" SegmentInfoDefault" type =" SegmentInfoDefaultType "
   minOccurs = “ 0 ” />
          < xs :element name=" Representation ” type =" Representation Type”
   minOccurs = “ 1” maxOccurs = " unbounded ” >
          < xs:element name=" RepresentationGroup” type = "Representation Group Type”
   minOccurs = “ 0” maxOccurs = " unbounded " />
          < xs :element name= “ Subset" type =" SubsetType” minOccurs= “ 0 ”
   maxOccurs = " unbounded " >
               < xs :any namespace = " # # other” processContents = " lax ” minOccurs = “ 0 ”
   maxOccurs = " unbounded " >
            < / xs :sequence >
            < xs:attribute ref= " xlink :href" >
            < xs :attribute ref = " xlink :actuate " default= " onRequest" />
            < xs :attribute name= " start" type = " xs :duration " />
            < xs :attribute name= " id " type = " xs :string” I>
            < xs:attribute name= " duration" type =" xs :duration " />
               < xs:attribute name= "minBufferTime” type = " xs :duration ” use = " optionar >
         <xs:attribute name= " segmentAlignmentFlag"                 type =" xs:boolean ”
   default =" false " />
         <xs:attribute name= “ bitStreamSwitchingFlag"               type =" xs: boolean ”
   default= " false" />
        < xs:any Attribute namespace = " # # other” process Contents= “ lax” />
       < /xs :complexType >


     Hereinafter , Revised Definition of the Bandwidth Will be                                   is no guarantee that representation (s ) in the next Period ( if
   Described .                                                                                   any ) will be sufficiently buffered before representations start.
                                                                65                               To support continuous playout across Periods, semantics of
      The definition of the bandwidth may guarantee continu -                                    the bandwidth attribute may be changed as shown in Table
   ous playout of a representation in a Period . However, there                                  91.
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                                          TABLE 91
   Element or Attribute
   Name                   Use Description
   Representation         M . Representation element contains description of
                              Representation.
   id                     M . Describes a unique identifier for Representation within
                              Period .
                               The string may only contain characters permitted to form a
                                valid http -URL according to RFC1738.
   bandwidth              M     Describes a minimum bandwidth of a hypothetical constant
                                bitrate channel in bits per second (bps) over which the
                                Representation (i.e ., the collection of all Segments of a
                                Representation )may be delivered such that a client, after
                                buffering for exactly minBufferTimemay be assured of
                                having enough data for continuous playout. Also , the value
                                of bandwidth may enable 1) transparent splicing between
                                the
                                 current Period and the next Period and 2 ) continuous play
                                out
                                in the next Period.

                                                                                  20
      All media data of the current Period may be received well will be described . An advantage of such a solution may be
   before the start of the next Period . Accordingly , all media that multiple MPDs corresponding to multiple values of
   data of the next Period may be sufficiently buffered (for minBufferTime are not required .
   continuous playout ) before the start of the next Period .      Accordingly, the schema of MPEG DASH may be
      Hereinafter, Multiple Pairs of Bandwidth -minBufferTime 25 changed as follows:
   Will be Described .                                              1) More values for minimum initial buffering delay may
     Different devices , receiving the same MPD , may respect                          be added to the MPD .
   minBufferTime in the MPD . However, differentdevices may                              2 ) For each representation , bandwidth values correspond
   require different amounts of initially buffered media (or ing to values of the minimum initialbuffering delays may be
   different minimum initial buffering delays ).                                  30 provided .
      For example , one device may prefer low delay (at the cost                               The above changes may be implemented by 1) MinBuf
   of high bandwidth ), while another device with low -band                                ferTime elements at the MPD level and Period level, and by
   width connection may accept a large delay .                                             2 ) the BandwidthInfo element in a Representation .
     Having multiple pairs of bandwidth -minBufferTime may                                     Other pairs of bandwidth -minBufferTime may be inter
   provide a great flexibility in selecting QoS levels .      35 polated from the provided pairs of bandwidth -minBuffer
     Hereinafter, 1) different values/ instances of minBuffer     Time.
    Time and 2 ) different bandwidth values (for each represen -                          Table 92 shows semantics of MinBufferTime at the MPD
   tation ) that correspond to different values ofminBufferTime                        level.
                                                                                                               TABLE 92
                                                                     Element or
                                                                    Attribute Name Use           Description
                                                                    MPD                          Describes a root element that carries a Media Presentation
                                                                                                  Description (MPD ) for a Media Presentation .
                                                                    BaseURL            0 . . . N Describes a URL that may be used on the MPD level, instead of
                                                                                            or in addition to baseURL attribute.
                                                                    minBufferTime 0 . . . N Provides a minimum amount of initially buffered media that is
                                                                                                 needed to ensure smooth playout.
                                                                    id                 M         Provides an ID of MinBuffer element. The value of id attribute
                                                                                                 may be greater than 0 .
                                                                    vaule              0          1) Provides the minimum amount of initially buffered media (at
                                                                                                 the beginning of the media presentation ) that is needed to ensure
                                                                                                 smooth playout provided that each Representation is delivered at
                                                                                                 or above the value of the bandwidth attribute of the
                                                                                                 Representation .
                                                                                                 2 ) Provides the minimum amount of initially buffered media (at
                                                                                                 the beginning of any Period of the media presentation ) that is
                                                                                                 needed to ensure smooth playout provided that each
                                                                                                 Representation is delivered at or above the value of the
                                                                                                 bandwidth attribute of the Representation.
                                                                                                 3 ) Provides the minimum amount of initially buffered media (at
                                                                                                 any RAPs of the media presentation ) that is needed to ensure
                                                                                                 smooth playout provided that each Representation is delivered at
                                                                                                 or above the value of the bandwidth attribute of the
                                                                                                 Representation .
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                               79                                                                       80
      Table
   level.
            93 shows semantics ofMinBufferTimeat the Period
                                                 TABLE 93
   Element or
   Attribute Name Use              Description
   Period               1          Provides information of Period .
   minBufferTime 0 . . . N Provides the minimum amount of initially buffered media that is
                                  needed to ensure smooth playout. When MinBufferTime is
                                   present, MinBufferTime elements at MPD level are ignored .
   id                              Provides an ID ofMinBufferTime element. The value of id
                                   attribute may be greater than 0 .
   vaule                0          Provides the minimum amount of initially buffered media that is
                                   needed to ensure smooth playout provided that each
                                   Representation is delivered at or above the value of the
                                   bandwidth attribute of the Representation.


         Table 94 shows semantics of BandwidthInfo
                                                 TABLE 94
   Element or
   Attribute Name       Use        Description
   Representation       M          Representation element contains description of Representation .
   SegmentInfo          01         Provides Segment access information .
   BandwidthInfo       0 . . . N Provides bandwidth information corresponding to a specific
                                 amount of initially buffered media (provided by minBuffer Time
                                 attribute or MinBufferTime element).
                       01 Indicates an ID ofMinBufferTime element of the MPD . If the
                                 value of id attribute is 0 , id attribute corresponds to the mini
                                  mum
                                  amount of initially buffered media provided by minBufferTime
                                  attribute .
   repBandwidth         0 . . . N Provides a bandwidth value for the representation corresponding
                                   to the minimum amount of initially buffered media provided in
                                   associated MinBufferTime element. If the value of the id
                                   attribute is 0 , the bandwidth attribute of the Representation may
                                  be used instead of repBandwidth attribute .


         Tables 95 through 97 show syntax ofMinBufferTime and
   BandwidthInfo
                                           TABLE 95
   < ?xmlversion = " 1.0" encoding = "UTF -8" ? >
    < xs:schema
   targetNamespace = " urn : 3GPP:ns:PSS:AdaptiveHTTPStreamingMPD : 2009"
        attributeFormDefault = " unqualified "
        elementFormDefault = " qualified ”
        xmlns:xs = " http ://www .w3.org/2001 /XMLSchema”
        xmlns =" urn :3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009" >
      < xs:complexType name =" MPDtype " >
         < xs:sequence >
             < xs :element name= “ Program Information ” type = “ Program Information Type”
   minOccurs = “ 0” />
             < xs:element name= " Period ” type = " PeriodType” maxOccurs = " unbounded ” >
             < xs :element name= " BaseURL" type = " BaseURLType ” minOccurs = “ 0 ”
   maxOccurs = " unbounded " / >
             < xs :element name= " MinBufferTime” type = " MinBufferTimeType”
   minOccurs = " 0 " maxOccurs = " unbounded” />
             < xs:any namespace = " # # other ” processContents = " lax ” minOccurs = “ 0 ”
   maxOccurs =" unbounded " />
         < /xs:sequence>
         < xs :attribute name = " type " type = " Presentation Type” default= " OnDemand " />
           < xs :attribute name= " availabilityStartTime” type = " xs:date Time" />
           < xs:attribute name = " availabilityEndTime" type = " xs:date Time" />
           < xs :attribute name= " mediaPresentationDuration ” type = " xs:duration " >
           < xs:attribute name= " minimumUpdate PeriodMPD " type = " xs :duration " />
           < xs :attribute name = " minBufferTime” type= " xs :duration ” use = " optional” >
           < xs :attribute name= " timeShiftBufferDepth " type = " xs:duration " />
           < xs:attribute name= " baseUrl" type = " xs :anyURI” />
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                                                                            US 10 , 362 ,130 B2
                                                   81                                                  82
                                           TABLE 95 - continued
          < xs :any Attribute namespace =“ # # other” processContents = " lax" />
      < /xs :complexType >
       <xs: complexType name=" MinBufferTimeType” >
          < xs :sequence >
         < xs :any namespace = " # Hother” processContents = " lax " minOccurs = “ 0 ”
   maxOccurs = " unbounded " / >
         < /xs:sequence >
          < xs:attribute name= " id " type = " xs:string " use = " required ” >
          < xs :attribute name = " value ” type= " xs :duration " />
           < xs :any Attribute namespace = " # # other” processContents =" lax ” />
      < / xs :complexType >



                                                    TABLE 96
    < !-- Period of a presentation -- >
       < xs:complexType name = " PeriodType " >
          < xs:sequence >
         < xs:element name=" SegmentInfoDefault” type= " SegmentInfoDefaultType”
   minOccurs = " 0 " / >
          < xs:element name= "MinBufferTime” type = "MinBufferTime Type”
   minOccurs = " 0 " maxOccurs = " unbounded " / >
          < xs:element name=“ Representation ” type= " Representation Type”
   minOccurs = " 1" maxOccurs = " unbounded " />
         < xs :element name =" RepresentationGroup ” type = " RepresentationGroup Type”
   minOccurs = “ 0 ” maxOccurs = " unbounded " />
          < xs:element name =" Subset" type = " SubsetType ” minOccurs =“ 0 ”
   maxOccurs = " unbounded ” >
            xs:any namespace = " #Hother” processContents = " lax” minOccurs = “ 0 ”
   maxOccurs = " unbounded " / >
         < xs :sequence >
         < xs :attribute ref = " xlink :href" />
         < xs :attribute ref =" xlink :actuate ” default= " onRequest " >
         < xs : attribute name= " start " type= " xs:duration " >
         < xs:attribute name=" id " type = " xs:string " />
         < xs :attribute name= " duration" type = " xs :duration " />
            < xs :attribute name= "minBufferTime” type = " xs :duration ” use = " optional" />
         < xs:attribute             name= " segmentAlignmentFlag"          type =" xs :boolean ”
   default= " false " />
         <xs:attribute               name=“ bitStreamSwitchingFlag"             type =" xs:boolean ”
   default= " false " />
          < xs:any Attribute namespace = " # # other ” processContents = " lax " / >
      < /xs :complexType >
      < xs: complexType name = " Representation Type ” >
         < xs:complexContent >
            < xs:extension base =" RepresentationBase Type” >
                <xs:sequence >
                < xs:element name = " SegmentInfo ” type =" SegmentInfo Type " />
                <xs:element           minOccurs = “ 0 ”           maxOccurs =" unbounded ”
   name = “ Bandwidth Info ” type = “ BandwidthInfoType" >
                   < xs :element        name= " TrickMode"                    type =“ TrickModeType"
   minOccurs = " 0 " />
                < xs :sequence >
               < xs :attribute name= " id " type = " xs:string” use = " required " />
               <xs:attribute name= "bandwidth” type = " xs:unsignedInt" use = " required" />
               < xs:attribute name = " quality Ranking” type = " xs :unsignedInt" >
               < xs :attribute name= " depid " type = " String VectorType " />
                <xs:attribute name= " default ” type = " xs :boolean ” >
            < /xs:extension >
          < /xs :complexContent>
      < / xs :complexType >



                                                    TABLE 97
   < !-- Bandwidth Info -- >
       < xs:complexType name =" BandwidthInfoType " >
       < xs :sequence >
          < xs :any namespace = “ # Hother ” processContents = " lax” minOccurs = “ 0 ”
   maxOccurs = " unbounded ” />
      < /xs :sequence >
     < xs:attribute name = " id " type = " xs:string" />
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                                                                         US 10 , 362 ,130 B2
                                           83                                                                                              84
                                        TABLE 97-continued
      < xs:attribute name = " repBandwidth ” type= " xs :unsignedInt" >
      < xs:any Attribute namespace =“ # # other” process Contents = " lax " />
      < /xs :complexType >
    < /xs:schema >


      Hereinafter, Multiple Pairs ofBandwidth -minBuffer Time     information may enable a client to buffer enough initial data
    for Each RAP Will be Described .                              before playing the initial data from a RAP ( for example , in
      In general, each RAP of a representation may be provided 10 the case of random accessing ).
   with multiple pairs of bandwidth -minBufferTime. Such             Table 98 describes semantics of RAPInfo .
                                                                                  TABLE 98
                                                                      Element or Attribute Name Use                    Description
                                                                      Representation                       M           Representation element contains description of
                                                                                                                       Representation .
                                                                      SegmentInfo                            1         Provides Segment access information .
                                                                     RAPInfo                                 0 ... 1   Provides information about bandwidth and initial delay at
                                                                                                                       RAPs of the representation.
                                                                     xlink :href                             0         Provides reference to external RAPInfo element.
                                                                     RAPPoint                                1 . . . N Provides pairs ofbandwidth and initial delay at a RAP
                                                                      timePoint                              M         Provides the time point of the RAP. The time point is
                                                                                                                       relative to the beginning of the representation .
                                                                      Bandwidth DelayPair                    1 . . . N Provides a pair of bandwidth and initial delay of the RAP.
                                                                     id                                      M         Provides the id of the pair.
                                                                     delay                                 M           Provides a possible initial delay before playout from the
                                                                     bandwidth                               M         RAP.
                                                                                                                       Provides bandwidth corresponding to the above delay
                                                                                                                       value .

                                                                                             30

                                                                                                        Tables 99 and 100 describe syntax of RAPInfo .
                                                                                                                      TABLE 99
                                                                           < ? xmlversion= " 1.0 " encoding = "UTF - 8" ?>
                                                                             < s :schema
                                                                           targetNamespace = " urn :3GPP :ns:PSS : AdaptiveHTTPStreamingMPD :2009 "
                                                                               attribute Form Default =" unqualified ”
                                                                               elementFormDefault= " qualified ”
                                                                              xmlns ? xs = " http ://www .w3.org/ 2001/XMLSchema"
                                                                              xmlns= " urn : 3GPP :ns:PSS :AdaptiveHTTPStreamingMPD :2009" >
                                                                               < xs : complexType name= " Representation Type” >
                                                                                   < xs : complexContent >
                                                                                      <xs:extension base =" RepresentationBaseType" >
                                                                                         < xs:sequence >
                                                                                        < xs:element name= " SegmentInfo ” type =" SegmentInfoType" />
                                                                                        < xs:element minOccurs = “ 0 ” maxOccurs = " unbounded ”
                                                                           name= “ BandwidthInfo " type= " BandwidthInfoType " />
                                                                                        < xs:element name= " TrickMode” type = " TrickMode Type”
                                                                           minOccurs = “ 0”"/>
                                                                                        <xs:element name= " RAPInfo " type = " RAPInfo Type ” minOccurs = “ 0 ” />
                                                                                         < /xs :sequence >
                                                                                         < xs :attribute name= " id" type =" xs: string ” use = " required ” >
                                                                                         < xs:attribute name = "bandwidth ” type = " xs:unsignedInt" use = " required ” >
                                                                                         < xs:attribute name= " qualityRanking” type = " xs:unsignedInt" >
                                                                                         < xs :attribute name = " depid " type = " String VectorType" />
                                                                                         < xs:attribute name= " default" type = " xs :boolean " />
                                                                                      < /xs:extension >
                                                                                     < /xs :complexContent >
                                                                                 < /xs:complexType >


                                                                                                                     TABLE 100
                                                                                 < xs :complexType name= " RAPInfoType" >
                                                                                      < s :sequence >
                                                                                         < xs:element name= “RAPPoint" type = "RAPPointType” minOccurs =“ 0”
                                                                              maxOccurs = " unbounded " / >
                                                                                      < / xs :sequence >
                                                                                      < xs: attribute ref= " xlink :href" />
                                                                                   < /xs :complexType >
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                                                                         US 10 , 362 ,130 B2
                                           85                                                                                         86
                                      TABLE 100 - continued
      < xs: complexType name= "RAPPointType " >
        < xs:sequence >
           < xs:element name=" BandwidthDelayPair ” type= “ BandwidthDelayPairType":
   maxOccurs = " unbounded" />
       < /xs:sequence>
        < xs :attribute name =" timePoint” type = " xs:duration " />
          < xs:any Attribute namespace= “ # # other” processContents = " lax ” />
      < /xs: complexType>
      < !-- Bandwidth -Delay Pair -- >
      < xs:complexType name= “ Bandwidth DelayPairType" >
      <xs: sequence >
        < xs :any namespace = " # # other” processContents = " lax ” minOccurs = " 0 "
   maxOccurs = " unbounded " />
      < / xs: sequence >
      < xs:attribute name = " id " type = " xs:string" >
      < xs :attribute name = "bandwidth ” type = " xs :unsignedInt" />
      < xs :attribute name = " delay " type = " xs :duration " />
      < xs :any Attribute namespace = “ # # other” processContents =“ lax ” />
      < /xs :complexType >
   < /xs :schema>

                                                                                            20
       The RAPInfo element and child elements of the RAPInfo m ation of a playout curve of a representation . When the
   element may be converted to pseudo - code format/boxes for                                     playout curve ( or the approximation of the playout curve ),
   compactness . Furthermore , the pseudo - code boxes of the
   RAPInfo element and child elements of the RAPInfo ele and a selected bandwidth (corresponding to a specific initial
   ment may be stored separately or inserted into a media 25 delay ) are known, an initial delay at each RAP may be easily
   bitstream (for example , in front of each RAP ).            computed as a time offset of a playout curve and a curve
      Hereinafter, Playout Curve Will be Described .           representing the selected bandwidth .
      Providing bandwidth -delay information for each RAP
   may be costly . Another solution is to represent an approxi    Table 101 describes semantics of AppPlayoutCurve .
                                                                                 TABLE 101
                                                                                 Element or Attribute
                                                                                 Name                   Use       Description
                                                                                 Representation         M.        Representation element contains description of
                                                                                                                  Representation .
                                                                                 : : :
                                                                                 SegmentInfo            0 . . . N Provides Segment access information .
                                                                                 AppPlayoutCurve        0 . . . 1 Provides a piece -wise approximation curve of the playout
                                                                                                                  curve (i.e ., cumulative data size vs . time) of the
                                                                                                                  representation .
                                                                              xlink :href               o
                                                                                                                  Provides reference to external AppPlayoutCurve element.
                                                                              shift                               Provides the starting time of the approximation curve .
                                                                                                                  The
                                                                                                                  starting time is relative to the start of the actual playout
                                                                                                                  curve .
                                                                                 Interval               1 . . . N Describes an interval of the approximation curve .
                                                                                 datasize               M         Describes the increased data size of the interval.
                                                                                 duration               M         Indicates the duration of the interval.


                                                                                                     Table 102 shows syntax of IntervalBandwidth .
                                                                                                                TABLE 102
                                                              < ?xml version = " 1.0 " encoding = "UTF - 8" ?>
                                                              < xs:schema targetNamespace = " urn :MPEG :ns:DASH ”
                                                                 attribute FormDefault = " unqualified ”
                                                                elementForm Default = " qualified ”
                                                                xmlns :xs = " http ://www .w3.org /2001/XMLSchema”
                                                                xmlns :xlink = " http ://www .w3.org / 1999/xlink ”
                                                                xmlns = " urn :MPEG :ns:DASH ” >
                                                                 <xs.complexType name=" Representation Type ” >
                                                                   <xs:complexContent >
                                                                      <xs .extension base = " Representation Base Type” >
                                                                         < xs:sequence >
                                                                          < xs:element name= " SegmentInfo ” type = " SegmentInfoType " />
                                                                          < xs :element name = " AppPlayoutCurve ” type = " AppPlayoutCurve Type”
                                                             minOccurs = “ 0 ” />
                                                                            < xs:element name=" TrickMode” type = “ TrickModeType":
                                                             minOccurs = “ 0 ” / >
                                                                         < xs :sequence >
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                                             87                                                                             88
                                                 TABLE 102 -continued
               < xs :attribute name= " id " type = " xs:string” use = " required ” >
               < xs :attribute name= " bandwidth ” type= " xs :unsignedInt" use = " required " />
               < xs :attribute name= " quality Ranking" type = " xs: unsignedInt" >
               < xs :attribute name= " depid " type = " String VectorType" />
                   <xs:attribute name= " default" type = " xs :boolean " />
               < xs:extension >
           < / xs :complexContent>
      < / xs :complexType >
    < xs :complexType name= " AppPlayoutCurveType " >
       < xs :sequence >
           < xs :element name= " Interval" type= " IntervalType” maxOccurs = " unbounded " />
           < xs :any        namespace = " # # other” processContents = " lax ”      minOccurs = “ 0 ”
   maxOccurs = " unbounded ” />
      < / xs: sequence >
      <xs: attribute ref=" xlink :href"" >
      < xs : attribute name = " shift " type = " xs:duration " />
      < xs:any Attribute namespace = “ # # other ” processContents = " lax " />
    < / xs :complexType >
   < xs :complexType name=" IntervalType” >
      < xs:sequence >
         < xs :any           namespace =“ # # other” processContents = " lax”           minOccurs = “ 0 ”
   maxOccurs = " unbounded " / >
      < /xs: sequence >
      < xs: attribute name= " datasize " type = " xs :unsignedInt"'/>
      < xs:attribute name= " duration " type = " xs:duration " />
         < xs :any Attribute namespace = “ #mother” processContents =" lax ” >
    < /xs :complexType>
    < / xs: schema>


      FIG . 5 is a diagram illustrating a configuration of the FIGS. 1 through 4 may equally be applied to the present
   client 100 according to an embodiment of the present embodiment. Accordingly, further description thereof will
   invention .                                                2030 be omitted .
      A controller 510 may perform operations 130 and 140 .           The method according to the above -described embodi
   Specifically , the controller 510 may process the metadata of                               ments of the present invention may be recorded in computer
   the interval.                                                      readable media including program instructions to implement
      A transceiver 520 that selects the fragment suitable for the    various operations embodied by a computer. The media may
   interval based on the processing may perform operations      ns 35 also include, alone or in combination with the program
   120, 140 , and 150 . Specifically , the transceiver 520 may instructions , data files , data structures , and the like . The
   receive the metadata of the interval of the content from the program instructions recorded on the media may be those
                                                                                                specially designed and constructed for the purposes of the
   server 110 , may send the request for the fragment suitable
   for the interval to the server , and may receive the fragment                                embodiments, or they may be of the kind well-known and
   from the server .                                                                       40 available to those having skill in the computer software arts.
      FIG . 6 is a diagram illustrating a configuration of the                                Examples of computer-readable media include magnetic
   client 100 according to an embodiment of the present                                        media such as hard disks , floppy disks, and magnetic tape;
   invention .                                                                                 optical media such as CD ROM disks and DVDs; magneto
       The client 100 may include an access engine 610 , and a                                 optical media such as optical discs ; and hardware devices
   media engine 620 .                                                                          that are specially configured to store and perform program
        The access engine 610 may be a DASH access engine .                                     instructions , such as read - only memory (ROM ), random
      The access engine 610 may receive metadata ( for                                         access memory (RAM ), flash memory , and the like .
    example , an MPD ) from the server 110 .                                                   Examples of program instructions include both machine
      The access engine 610 may form requests, and may issue                                   code, such as produced by a compiler, and files containing
   the formed requests to the server 110 .                       so higher level code that may be executed by the computer
                                                                 50
       The access engine 610 may receive content (for example , using an interpreter. The described hardware devices may be
   segments or parts of the segments ) from the server 110 .        configured to act as one or more software modules in order
       The access engine 610 may provide the content to the to perform the operations of the above - described embodi
   media engine 620 .                                               ments of the present invention , or vice versa .
       An outputof the access engine 610 may include media (or 55 haveAlthough a few embodiments of the present invention
    a part of the media ) of an MPEG container (for example , an         been shown and described , the present invention is not
                                                                limited to the described embodiments . Instead , it would be
   ISO /IEC 14492 - 12 ISO base media file format, or an ISO / appreciated
   IEC 13818 -2 MPEG -2 TS). Additionally , the output of the               by those skilled in the art that changes may be
   access engine 610 may include timing information used to so made    to these embodiments without departing from the
                                                                principles and spirit of the invention , the scope of which is
   map internal timing of the media to a timeline of a media 60 defined
                                                                P        by the claims and their equivalents .
   presentation .
      The media engine 610 may play back the provided              The invention claimed is :
   content. Specifically, the media engine 610 may output          1. A method for providing media content performed by a
   media using the media and the timing information that are processor in a server, the method comprising:
   output from the access engine 610 .                      65 receiving a request for the media content from a client;
       Technical information according to the embodiments of                                        transmitting the media to the client based on a Media
   the present invention described above with reference to                                            Presentation Description (MPD ) of the media content,
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     wherein the MPD comprises one or more periods,                         one or more processor configured to :
     wherein the period comprises one or more groups,                       receive a request for the media content from a client;
     wherein the group comprises one or more representations,               transmit the media to the client based on a Media Pre
     wherein the representation comprises one or more seg                      sentation Description (MPD ) of the media content ,
       ments ,                                                              wherein the MPD comprises one or more periods ,
     wherein the representation includes bandwidth attribute                wherein the period comprises one or more groups ,
                                                                            wherein the group comprises one or more representations ,
       related to bandwidth for a hypothetical constant bitrate             wherein the representation comprises one or more seg
        channel in bits per second (bps ),                                    ments ,
     wherein the client is assured of having enough data                    wherein the representation includes bandwidth attribute
        continuously playout after buffering for minbuffertime,               related to bandwidth for a hypothetical constant bitrate
       when the representation is delivered to the client,                     channel in bits per second (bps ),
     wherein the segment includes sub- segments indexed by                  wherein the client is assured of having enough data
        segment index ,                                                        continuously playout after buffering for minbuffertime,
                                                                               when the representation is delivered to the client,
     wherein the MPD includes at least one of (i) frame rate , 15 . wherein the segment includes sub -segments indexed by
        or ( ii) timescale describing the number of timeunits in      segment index ,
       one second                                                   wherein the MPD includes at least one of (i) frame rate ,
      2 . The method of claim 1 , wherein each of the represen                 or ( ii ) timescale describing the number of time units in
   tations starts from a start time of the period and continues to             one second
   an ending point of the period .                                   20     5 . The server of claim 4 , wherein each of the represen
      3 . The method of claim 2 , wherein the start time of the           tations starts from a start time of the period and continues to
   period is determined below methods,                                 an ending point of the period .
      i) when a start attribute exists in a first period element of      6 . The server of claim 5 , wherein the start time of the
         the first period , a start time of the first period is equal period is determined below methods ,
         to the start attribute ,                                    25 i) when a start attribute exists in a first period element of
     ii) when a start attribute does not exist in the first period          the first period , a start time of the first period is equal
                                                                              to the start attribute ,
         element of the first period, and when a second period              ii ) when a start attribute does not exist in the first period
          element of the second period includes a duration attri              element of the first period , and when a second period
         bute , the start time of the first period is determined by           element of the second period includes a duration attri
         adding the duration attribute of the second period 30                bute , the start time of the first period is determined by
          element to a start time of the second period ,                       adding the duration attribute of the second period
      iii) when a start attribute does not exist in the first period           element to a start time of the second period ,
         element of the first period, and when the first period is          iii) when a start attribute does not exist in the first period
         the first of the one or more periods, the start time of the 25         element of the first period , and when the first period is
         first period is set to 0 ,                                             the first of the one or more periods , the start time of the
     wherein the second period is previous period with respect                 first period is set to 0 ,
         to the first period .                                              wherein the second period is previous period with respect
     4 . A server for providing media content, the server com                  to the first period .
   prising :
